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                                                                                                                                        Served via First-Class Mail




                             Name                                 Attention                             Address 1                                    Address 2                           Address 3                    City         State       Zip           Country

    IG IGLOO HOLDINGS INC DBA INSIGHT GLOBAL LLC                                        PO BOX 198226                                                                                                ATLANTA                 GA            30384-8226
    IGNACIO SANDOVAL JIMENEZ                                                            ADDRESS ON FILE
    IGS ENERGY                                                                          PO BOX 936613                                                                                                ATLANTA                 GA            31193-6613
    IHA LLC                                                                             1 CITY BLVD W STE 1900                                                                                       ORANGE                  CA            92868

    IIA TIDEWATER CHAPTER                          C O DARREN PADILLA                   CITY OF CHESAPEAKE AUDIT SERVICES DEPT PO BOX 15225                                                          CHESAPEAKE              VA            23322
    IIS INVESTIGATIONS                                                                  67 WALL ST STE 2211                                                                                          NEW YORK                NY            10005
    IKON CAPITAL                                                                        PO BOX 44048                           GARSIDE POSTAL OUTLET                                                 EDMONTON                AB            T5V 1N6      CANADA
    IKON DO NOT USE                                                                     PO BOX 532568                                                                                                ATLANTA                 GA            30353-2568
    IKON DOCUMENT SERVICES DO NOT USE              SOUTHEAST DISTRICT                   PO BOX 532568                                                                                                ATLANTA                 GA            30353-2568
    IKON OFFICE SOLUTIONS                                                               16011 116TH AVE                                                                                              EDMONTON                AB            T5M 3Y1      CANADA
    IKON OFFICE SOLUTIONS                                                               NE DISTRICT BPI                        PO BOX 827164                                                         PHILADELPHIA            PA            19182-7164
    IKON OFFICE SOLUTIONS                          LDS WESTERN DISTRICT SAC             PO BOX 31001 0743                                                                                            PASADENA                CA            91110-0743
    ILC AND SWELL REALTY LLC                                                            1441 KAPIOLANI BLVD 1915                                                                                     HONOLULU                HI            96814
    ILLINOIS AMERICAN WATER                                                             PO BOX 3027                                                                                                  MILWAUKEE               WI            53201-3027
    ILLINOIS DEPARTMENT OF REVENUE                                                      PO BOX 19006                                                                                                 SPRINGFIELD             IL            62794-9006
    ILLINOIS DEPARTMENT OF REVENUE                                                      PO BOX 19028                                                                                                 SPRINGFIELD             IL            62794-9028
    ILLINOIS DEPARTMENT OF REVENUE                                                      PO BOX 19035                                                                                                 SPRINGFIELD             IL            62794-9035
    ILLINOIS IOLTA TRUST ACCOUNTS DBA SULAIMAN
    LAW GROUP LTD TRTEE                                                                 2500 S HIGHLAND AVE                      STE 200                                                             LOMBARD                 IL            60148
    ILLINOIS SECRETARY OF STATE                                                         501 S 2ND ST                                                                                                 SPRINGFIELD             IL            62756-5510
    ILLINOIS SECRETARY OF STATE                    DEPARTMENT OF BUSINESS SERVICES      501 S SECOND ST                                                                                              SPRINGFIELD             IL            62756
    ILLINOIS SHOPPING CENTER                                                            4323 W ILLINOIS                          STE 204                                                             DALLAS                  TX            75211
    ILLINOIS STATE TREASURER UNCLAIMED
    PROPERTY                                       UNCLAIMED PROPERTY DIVISION          PO BOX 19496                                                                                                 SPRINGFIELD             IL            62794-9496
    ILWU CREDIT UNION                                                                   PO BOX 7629                                                                                                  LONG BEACH              CA            90807
                                                   C O INVESTMENT MANAGEMENT ASSOCIATES
    IMA CALUSA LLC                                 INC                                  2151 S LE JEUNE RD STE 202                                                                                   CORAL GABLES            FL            33134
    IMAGE AND COLOR AM DE AMARILLO                                                      1516 N HAYES                                                                                                 AMARILLO                TX            79107
    IMAGES BY RICHARD                                                                   937 DANIEL MALONEY DR                                                                                        VIRGINIA BEACH          VA            23464
    IMAGITAS INC                                   ATTN JIM PUNTONI                     PO BOX 83070                                                                                                 WOBURN                  MA            01813-3070
    IMAN PROMOTIONS AND SPECIALISTS                                                     2305 BRAGG ST                                                                                                VIRGINIA BEACH          VA            23454
                                                                                        ARGENTINA 12 ESQ DONCELES COLONIA
    IME INSTITUTO DE LOS MEXICANOS                                                      CENTRO                                                                                                       DELEGARCION CUAUHTEMA                 06010        MEXICO, D.F., C.P.
    IMMEUBLES ROA REALITIES INC 2010                                                    4920 BOUL DE MAISONNEUVE OUEST       STE 107                                                                 WESTMOUNT               QC            H3Z 1N1      CANADA
    IMMPRENEUR                                                                          30 COLDS SPRING RD                                                                                           CALIFON                 NJ            07830
    IMPACT DATASOURCELLC                                                                4709 CAP ROCK DR                                                                                             AUSTIN                  TX            78735
    IMPACT MAGAZINE                                                                     2340 TAGGART RD                      1                                                                       RAPID CITY              SD            57701
    IMPACT MOBILE SIGNS                                                                 740 BEAVERDALE RD 3A                                                                                         CAMBRIDGE               ON            N3C 2V3      CANADA
    IMPACT PLANNING GROUP LLC                                                           11 GRUMMAN HILL RD                                                                                           WILTON                  CT            06897
    IMPACT SIGN WORKS                                                                   12 N MAIN ST                                                                                                 RED LION                PA            17356
    IMPACT VIRGINIALLC                                                                  325 HAMILTON AVE                                                                                             PORTSMOUTH              VA            23707-1620
    IMPERIAL COFFEE AND SERVICES INC                                                    12 KODIAK CRESCENT                                                                                           TORONTO                 ON            M3J 3G5      CANADA
    IMPERIAL DATA SUPPLY CORP                                                           8 22935 LOUGHEED HWY                                                                                         MAPLE RIDGE             B.C. CANADA   V2X 2W1      CANADA
    IMPRESSIONS IN PRINT                                                                3750 VIRGINIA BEACH BLVD                                                                                     VIRGINIA BEACH          VA            23452
    IMPRESSIONS IN PRINT INC                                                            753 VOYAGER CT                                                                                               VIRGINIA BEACH          VA            23452
    IMPRESSIONS IN PRINT INC GM ACCOUNT                                                 3750 VIRGINIA BEACH BLVD             STE G                                                                   VIRGINIA BEACH          VA            23452
    IN FOCUS INVESTIGATIONS AGENCY                 ATTN CLIFF SWANK                     398 N HARBOUR CITY BLVD A                                                                                    MELBOURHNE              FL            32935-6779
    INA SERVICES COMPANY                                                                319 E 5TH ST                                                                                                 DES MOINES              IA            50309
    INBOUNDPROSPECT INC                                                                 1301 DOVE ST                         STE 830                                                                 NEWPORT BEACH           CA            92660
    INC MAGAZINE                                                                        250 GREENWICH ST                                                                                             NEW YORK                NY            10007
    INCENTIVE MARKETING LLC                                                             275 MADISON AVE                      STE 609                                                                 NEW YORK                NY            10016
    INCENTIVE MARKETING LLC                        DBA SUNRISE PREMIUMS                 300 E 75TH ST 17G                                                                                            NEW YORK                NY            10021
    INCHECK INC                                                                         7500 W STATE ST                      STE 200                                                                 WAUWATOSA               WI            53213
    INCORP SERVICES INC                                                                 PO BOX 94438                                                                                                 LAS VEGAS               NV            89193-4438
    INCORPORATED VILLAGE OF FREEPORT                                                    MUNICIPAL WATER SERVICE              46 N OCEAN AVE                                                          FREEPORT                NY            11520
                                                                                        545 PROMENAADE DU CENTROPOLIS BUREAU
    INCYCLE SOFTWARE INC                                                                220                                                                                                          LAVAL                   QC                         CANADA
    INDEED INC                                                                          MAIL CODE 5160                       PO BOX 660367                                                           DALLAS                  TX            75266-0367
    INDEPENDENT LIGHTING CORP                                                           PO BOX 2585                                                                                                  VIRGINIA BEACH          VA            23450
    INDEPENDENT NEWSPAPER INC                                                           PO BOX 7013                                                                                                  DOVER                   DE            19903
    INDIANA DEPARTMENT OF REVENUE                                                       PO BOX 7226                                                                                                  INDIANAPOLIS            IN            46207-7226
    INDIANA DEPARTMENT OF REVENUE                                                       PO BOX 7228                                                                                                  INDIANAPOLIS            IN            46207
    INDIANA DEPARTMENT OF REVENUE                  CORPORATE TAX DIVISION               PO BOX 7228                                                                                                  INDIANAPOLIS            IN            46207-7228
    INDIANA DEPT OF REVENUE WITHHOLDING                                                 PO BOX 1028                                                                                                  INDIANAPOLIS            IN            46206-1028
    INDIANA NEWSPAPERS INC                                                              PO BOX 145                                                                                                   INDIANAPOLIS            ID            46206-0145
    INDIANAPOLIS EMPLOYMENT GUIDE                                                       PO BOX 68359                                                                                                 INDIANAPOLIS            IN            46268-1711
    INDIANAPOLIS POWER AND LIGHT CO                                                     PO BOX 110                                                                                                   INDIANAPOLIS            IN            46206-0110
    INDIANAPOLIS WATER COMPANY                     INDPLS DEPT OF PUBLIC WORKS          PO BOX 1990                                                                                                  INDIANAPOLIS            IN            46206
    INDIO CHAMBER                                                                       82921 INDIO BLVD                                                                                             INDIO                   CA            92201
    INDUSTRIAL CHEMICAL CARRIERS LTD                                                    200 9906 102 ST                                                                                              FORT SASKATCHEWAN       AB            T8L 2C3      CANADA
    INFINET COMPANY                                                                     PO BOX 281697                                                                                                ATLANTA                 GA            30384-1697
    INFINET COMPANY COBRA PAYMENTS                                                      740 DUKE ST                                                                                                  NORFOLK                 VA            23510
    INFINISOURCE                                                                        15 E WASHINGTON ST                                                                                           COLDWATER               MI            49036
    INFINITI LEO HOLDINGS DBA BUSINESS FUND IN
    SOURCE                                                                              1249 BROOKDALE AVE                                                                                           BAY SHORE               NY            11706
    INFINITY PRINTING                                                                   2554 E HASTINGS ST                                                                                           VANCOUVER               BC            V5K 1Z3      CANADA
    INFINITY RADIO HOLDINGS INC                                                         1520 S BLVD                              STE 300                                                             CHARLOTTE               NC            28203
    INFINITY RADIO INC                                                                  1717 GRAND AVE                                                                                               KANSAS CITY             MO            64112
    INFINITY RADIO INC                                                                  23012 NETWORK PL                                                                                             CHICAGO                 IL            60673
    INFLUENTIAL RESOURCES                                                               1002 GEORGIA ST 101                                                                                          HUNTINGTON BEACH        CA            92648
    INFO FRANCHISE NEWS INC                                                             728 CTR ST                               PO BOX 826                                                          LEWISTON                NY            14092
    INFO TE MULTIMEDIA                                                                  PO BOX 1254                                                                                                  VERNON                  BC            V1T 6N6      CANADA
    INFO USA MARKETING INC                         MID MARKETS DIVISION                 PO BOX 3603                                                                                                  OMAHA                   NE            68103-0603
    INFOEDGE                                                                            PO BOX 391619                                                                                                CAMBRIDGE               MA            02139
    INFOGROUP INC DBA INFO U S A SALES
    SOLUTIONS                                                                           PO BOX 957742                                                                                                ST LOUIS                MO            63195-7742
    INFORMATION SERVICES CORPORATION               CORPORATE REGISTRY 200               1871 SMITH ST                                                                                                REGINA                  SK            S4P 4W5      CANADA


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                         Name                                   Attention                               Address 1                                   Address 2                           Address 3                    City          State       Zip          Country
    INFOSOFT GROUPINC                           DBA DCJOBSCOM                           23811 NETWORK PL                                                                                            CHICAGO                  IL            60673-1238
    INFOSYSTEMS INC                                                                     4071 S ACCESS RD                        STE 105                                                             CHATTANOOGA              TN            37406
    INFOTEC LLC                                                                         100 CONSTITUTION DR                                                                                         VIRGINIA BEACH           VA            23462
    INFRENZY MEDIA LLC                                                                  44661 MILL RUN CT                                                                                           TEMECULA                 CA            92592
    INGENIUS SOFTWARE INC                                                               100 340 LEGGET DR                                                                                           KANATA                   ON            K2K 1Y6      CANADA
    INGHAM COUNTY FRIEND OF THE COURT                                                   PO BOX 30350                                                                                                LANSING                  MI            48909-7850
    INGLES SIMPLY CLEAN LLC                                                             111 DINAH DR                                                                                                AURORA                   IN            47001
    INK AND TONER REFILL FACTORY                                                        22 BROOKING ST                                                                                              BOWANVILLE               ON            L1C 5J3      CANADA
    INKCORPORATE INC                                                                    5400 TOMKEN RD                                                                                              MISSISSAUGA              ON            L4W 1P2      CANADA
    INLAND AMERICAN RETAIL MANAGEMENT LLC                                               13977 COLLECTIONS CTR DR                                                                                    CHICAGO                  IL            60693
    INMAGINE CORPORATION LLC                                                            2650 FOUNTAINVIEW STE 332                                                                                   HOUSTON                  TX            77057
    INMARK MEDIA LLC                                                                    145 PALISADE ST                         STE 412B                                                            DOBBS FERRY              NY            10522
    INNERWORKINGS INC                                                                   DEPT LA 22802                                                                                               PASADENA                 CA            91185-2802
    INNISFIL AIR CONDITIONING LTD                                                       565 WELHAM RD                                                                                               BARRIE                   ONTARIO       L4N 8Z6      CANADA
    INNISFIL WINTERHAWKS MAJOR BANTAM                                                   920 BOOTH AVE                                                                                               INNISFIL                 ON            L9S 0A5      CANADA

    INNISFIL WINTERHAWKS MIDGET A HOCKEY TEAM                                           PO BOX 7175                                                                                                 INNISFIL                 ON            L9S 1A9      CANADA
    INNOPURE                                                                            3918 WALKER RD                                                                                              WINDSOR                  ON            N8W 3T3      CANADA
    INNOVATIVE DATABASE SOLUTIONS                                                       PO BOX 5025                                                                                                 DENVER                   CO            80217
    INNOVATIVE DIGITAL MARKETING SOLUTIONS LLC
    DBA ROBERT BERG                                                                     9532 SCOTLAND HALL CT                                                                                       CHARLOTTE                NC            28277
    INNOVATIVE FUNDING SOLUTIONS INC                                                    133 VIA PALACIO                                                                                             PALM BEACH GARDENS       FL            33418
    INNOVATIVE STRATEGIES INCORPORATED                                                  3200 KIRBY DR STE 800                   DBA THE ALEXANDER GROUP                                             HOUSTON                  TX            77098
    INNOVATIVE SYSTEMS AND SOLUTIONS INC       T A ABS TECHNOLOGY ARCHITECTS            5500 GREENWICH RD                                                                                           VIRGINIA BEACH           VA            23462
    INNPOWER CORPORATION                                                                7251 YONGE ST                                                                                               INNISFIL                 ON            L9S 0J3      CANADA
    INQUISITOR INC                                                                      364 S FRONT ST                                                                                              MEMPHIS                  TN            38103
    INSIDE BUSINESS                                                                     150 W BRAMBLETON AVE                                                                                        NORFOLK                  VA            23510-2075
    INSIDEUP INC                                                                        9245 ACTIVITY RD                        STE 105                                                             SAN DIEGO                CA            92126
    INSIGHT MEDIA ADVERTISING                                                           2911 ENTERPRISE DR                                                                                          ANDERSON                 IN            46013
    INSIGHT SECURITY AND INVESTIGATIONS                                                 313 WHITE WATER DR                                                                                          ROCK HILL                SC            29732
    INSPIRED CREATIVE                                                                   1691 PICKERING PKWY                     STE 205                                                             PICKERING                ON            L1V 5L9      CANADA
    INSTANT CAPITAL CORP                                                                1111 BROADHOLLOW RD                     STE 306                                                             FARMINGDALE              NY            11735
    INSTANT FURNITURE RENTAL INC                                                        DEPT 77 2954                                                                                                CHICAGO                  IL            60678-2954
    INSTITUTE OF INTERNAL AUDITORS                                                      PO BOX 31280                                                                                                TAMPA                    FL            33631-3280
    INSTORAGE                                                                           110 GUIDED CT                                                                                               ETOBICOKE                ON            M9V 4K6      CANADA
    INSURANCE OFFICE OF AMERICA INC                                                     1855 W STATE RD 434                                                                                         LONGWOOD                 FL            32750
    INSURANCENEWSNETCOM INC                                                             275 GRANDVIEW AVE                       STE 100                                                             CAMP HILL                PA            17011
    INTACT INSURANCE                                                                    1200 321 6TH AVE SW                                                                                         CALGARY                  AB            T2P 3H3      CANADA
    INTECH SERVICES                                                                     3307 BONNEVILLE CIR                                                                                         CHATTANOOGA              TN            37419
    INTEGRA BUSINESS SYSTEMS INC                                                        701 ENTERPRISE RD E                     STE 800                                                             SAFETY HARBOR            FL            34695
    INTEGRA INVESTIGATIONS                     C O DANIEL JERIN                         1817 WESTHILL BLVD                                                                                          WESTLAKE                 OH            44145
    INTEGRATED ASSET GROUP LLC                                                          12923 SHAKER BLVD                       STE 102                                                             CLEVELAND                OH            44120
    INTEGRATED IMPRESSIONS INC                                                          23232 PERALTA DR                        STE 212                                                             LAGUNA HILLS             CA            92653
    INTEGRATED LOGISTICS 2000 LLC                                                       PO BOX 8372                                                                                                 VIRGINIA BEACH           VA            23450-8372
    INTEGRATED MANAGEMENT GROUP LLC                                                     520 S INDEPENDENCE BLVD                                                                                     VIRGINIA BEACH           VA            23452
    INTEGRITY CONSULTING AGENCY                                                         500 WINDERLEY PL                        STE 220                                                             MAITLAND                 FL            32751
    INTEGRITY INVESTIGATIONS LLC                                                        1991 CROCKER RD                         STE 600                                                             WESTLAKE                 OH            44145
    INTELEPEER                                                                          DEPT LA 24295                                                                                               PASADENA                 CA            91185-4295
    INTELLESALECOM                                                                      PO BOX 711620                                                                                               CINCINNATI               OH            45271-1620
    INTELLIGENT DIRECT INC                                                              PO BOX 119                              10 FIRST ST                                                         WELLSBORO                PA            16901
    INTER STATE INVESTIGATIVE SERVICES                                                  34 W FRANKLIN ST                                                                                            TUCSON                   AZ            85717
    INTERACTIVE MEDIA A SUBSIDARY OF THE
    VIRGINIAN PILOT                                                                     PO BOX 1254                                                                                                 NORFOLK                  VA            23501-1254
    INTERACTYX AMERICAS INC                                                             27499 RIVERVIEW CTR BLVD                STE 415                                                             BONITA SPRINGS           FL            34134
    INTERLAKE PUBLISHING                                                                486 MAIN ST                             BOX 190                                                             STONEWALL                MN            R0C 2Z0
    INTERLINK INVESTMENTS                                                               1874 E MAIN ST                                                                                              SPARTANBURG              SC            29307
    INTERNAL REVENUE SERVICE                                                            713 EVERGREEN CT                                                                                            BURLESON                 TX            76028
    INTERNAL REVENUE SERVICE                                                            DISCLOSURE PROGRAMS OFFICE              1111 CONSTITUTION AVE NW RM 1621                                    WASHINGTON               DC            20224
    INTERNAL REVENUE SERVICE NY                                                         2 METRO TECH 6TH FL                     S LAURENCE                                   100 MYRTLE AVE         BROOKLYN                 NY            11201-0000
    INTERNATIONAL CARIBBEAN FESTIVAL                                                    PO BOX 10004                                                                                                NORFOLK                  VA            23513

    INTERNATIONAL COUNCIL OF SHOPPING CENTERS                                           2005 SPRING TRADE EXPOSITION            PO BOX 26958                                                        NEW YORK                 NY            10087-6958

    INTERNATIONAL ENVIRONMENTAL MANAGEMENT                                              24516 NETWORK PL                                                                                            CHICAGO                  IL            23454
    INTERNATIONAL FRANCHISE ASSOCIATION                                                 1900 K ST NW                            STE 700                                                             WASHINGTON               DC            20006
    INTERNATIONAL FRANCHISE PROFESSIONALS
    GROUP INC                                                                           499 ERNSTON RD STE B9                                                                                       PARLIN                   NJ            08859

    INTERNATIONAL REAL ESTATE DEVELOPMENT LLC C O NICK AZOUZ                            5100 BREAKERS LN                                                                                            LAS VEGAS                NV            89113
    INTERNET ESCROW SERVICE INC               DBA ESCROWCOM                             30318 ESPERANZA                                                                                             RANCHO SANTA MARGARITA   CA            92688
    INTERNET MARKETING GROUP                  DBA WE CARECOM                            330 OLD COUNTRY RD                      STE 206                                                             MINEOLA                  NY            11501
    INTIMATE INTERACTIVE ADVERTISING                                                    10 225 THE E MALL                       STE 1110                                                            ETOBICOKE                ON            M9B 0A9      CANADA
    INTOUCH CREDIT UNION                                                                5640 DEMOCRACY DR                                                                                           PLANO                    TX            75024
    INTRADO DIGITAL MEDIA LLC                                                           11808 MIRACLE HILLS DR                                                                                      OMAHA                    NE            68154
    INTRADO ENTERPRISE COLLABORATION INC                                                PO BOX 281866                                                                                               ATLANTA                  GA            30384

    INTRIG MANAGEMENT CO                        DBA RIVERSIDE COMPUTING INC DBA AGIL IT 8613 N DIXIE DR                                                                                             DAYTON                   OH            45414
    INTRUST                                     MELISSA MCALISTER                       PO BOX 1                                                                                                    WICHITA                  KS            67201
    INTUIT CANADA                                                                       10423 101 ST NW                         UNIT 2200                                                           EDMONTON                 AB            T5H 0E7      CANADA
    INTUIT CANADA PARTNERSHIP                                                           400 138 4 AVE SE                                                                                            CALGARY                  AB            T2G 4Z6      CANADA
    INTUIT CANADA ULC                                                                   10423 101 ST NW                         UNIT 2200                                                           EDMONTON                 AB            T5H 0E7      CANADA
    INTUIT INC                                  ATTN MIKE SILVA                         5601 HEADWUARTERS DR                                                                                        PLANO                    TX            75024
    INVERNESS ASSOCIATES LTD                                                            3109 STIRLING RD STE 200                                                                                    FT LAUDERDALE            FL            33312
    INVESHARE INC                                                                       PO BOX 568                                                                                                  ALPHARETTA               GA            30009-0568
    INVESTIGATIVE SERVICES INC                                                          PO BOX 45143                                                                                                OMAHA                    NE            68145-0143
    INVESTIGATORS GROUP INC THE                                                         2061 MCCOWAN RD STE 2                                                                                       TORONTO                  ON            M1S 3Y6      CANADA
    INVESTOPEDIA LLC                            BANK OF AMERICA                         PO BOX 745810                                                                                               LOS ANGELES              CA            90074-5810
    INVESTORS BUSINESS DAILY                                                            12655 BEATRICE ST                       PO BOX 66485                                                        LOS ANGELES              CA            90099-5983



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                             Name                           Attention                          Address 1                                    Address 2                           Address 3                     City        State       Zip          Country
                                              CENTRE CORP MANAGEMENT SERVICES
    INVESTORS GROUP TRUST CO LTD              LEASE 7702                        328 14127 23RD AVE                                                                                          EDMONTON                 AB           T6R 0G4      CANADA
    INVOCA INC                                                                  DEPT 75217                              350 N ORLEANS ST                             STE 800                CHICAGO                  IL           60654
    IOVATION INC                                                                555 SW OAK ST                           STE 300                                                             PORTLAND                 OR           97204
    IOWA AMERICAN WATER                                                         PO BOX 3027                                                                                                 MILWAUKEE                WI           53201-3027
    IOWA CITY PRESS CITIZEN                                                     1725 N DODGE ST                                                                                             IOWA CITY                IA           52245
    IOWA DEPARTMENT OF REVENUE                                                  HOOVER STATE OFFICE BUILDING            PO BOX 10471                                                        DES MOINES               IA           50306-0471
    IOWA WORKFORCE DEVELOPMENT                                                  TAX BUREAU                              1000 E GRAND AVE                                                    DES MOINES               IA           50319-0209
    IPMG INC                                                                    2380 NW KINGS BLVD                      STE 301                                                             CORVALLIS                OR           97330
    IPS INVESTIGATIONS                                                          2231 HOLLYWOOD BLVD                                                                                         HOLLYWOOD                FL           33020
    IQV SERVICING LLC                                                           5165 EMERALD PKWY                       STE 160                                                             DUBLIN                   OH           43017
    IRA KEOGH SERVICES CO                                                       2000 S LOGAN ST                                                                                             DENVER                   CO           80210
    IRINA SCOTT                                                                 ADDRESS ON FILE
    IRIS DATA SERVICES INC                                                      1050 PARKDALE DR                                                                                            FAIRVIEW                 TX           75069
    IRISTEL                                   C O T10084                        PO BOX 10000 STN A                                                                                          TORONTO                  ON           M5W 2B1      CANADA
    IRITA LAUERMAN                                                              ADDRESS ON FILE
    IRON CAPITAL GROUP                                                          52 PARK AVE                             STE B3                                                              PARK RIDGE               NJ           07656
    IRON MOUNTAIN CANADA OPERATIONS ULC       DBA IRON MOUNTAIN CANADA          PO BOX 3527 STATION A                                                                                       TORONTO                  ON           M5W 3G4      CANADA
    IRON MOUNTAIN INC                                                           PO BOX 915004                                                                                               DALLAS                   TX           75391-5004
                                              DBA IRON MOUNTAIN INFORMATION
    IRON MOUNTAIN INC                         MANAGEMENT LLC                    PO BOX 27128                                                                                                NEW YORK                 NY           10087-7128
    IRON MOUNTAIN INTELLECTUAL PROPERTY MGT                                     PO BOX 27131                                                                                                NEW YORK                 NY           10087-7131
    IRONWORKS CONSULTING LLC                                                    4121 COX RD                             STE 205                                                             GLEN ALLEN               VA           23060
    IRS                                                                         PO BOX 219236                                                                                               KANSAS CITY              MO           64121-9236
    IRS FOIA REQUEST                          ATTN HQ DPO STOP 211              2980 BRANDYWINE RD                                                                                          CHAMBLEE                 GA           30341

    IRS NATIONAL TAX FORUMS CONFERENCE OFFICE C O TERRACOM                      1010 WISCONSIN AVE NW 650                                                                                   WASHINGTON               DC           20007
                                              C O ENTERPRISE SERVICES AND
    IRS NATIONWIDE TAX FORUMS                 TECHNOLOGY                        1010 WAYNE AVE STE 420                                                                                      SILVER SPRINGS           MD           200910
    IRSCOM                                                                      3300 NE 188TH ST                        STE 415                                                             AVENURA                  FL           33180
    ISABEL RODRIGUEZ                                                            ADDRESS ON FILE
    ISAN LLC DBA BUSINESS FINANCE SOLUTIONS                                     285 IMPERIAL HWY                        STE 204                                                             FULLERTON                CA           92835
    ISELA CAMACHO MARTINEZ                                                      ADDRESS ON FILE
    ISERVICES INC                                                               1106 HARVEST GROVE LN                                                                                       CONYERS                  GA           30013
    ISLAND COUNTY TREASURER                                                     PO BOX 699                                                                                                  COUPEVILLE               WA           98239-0699
    ISLAND PROPERTY LLC A CALIFORNIA LIMITED
    LIABILITY COMPANY                         C O RUBY MANAGEMENT COMPANY       11845 W OLYMPIC BLVD STE 1200                                                                               LOS ANGELES              CA           90064
    ISLAND RADIO THE WAVE 1023FM                                                4550 WELLINGTON RD                                                                                          NANAIMO                  BC           V9T 2H3      CANADA
    ISMA LLC                                  DBA LIBERTY TAX SERVICE           1609 JAMES ISLAND AVE                                                                                       NORTH MYRTLE BEACH       SC           29582
    ISMAEL ALVAREZ                                                              ADDRESS ON FILE
    ISOMER GROUP INC                                                            211 COMMERCE DR                                                                                             MEDINA                   OH           44256
    ISPOTOWER                                                                   7 HAPELECH 7 6816727                                                                                        TEL AVIV                                           ISRAEL
    ISRAEL FAMILY REALTY COLLC                                                  46 12 QUEENS BLVD                       210                                                                 SUNNYSIDE                NY           11104
    ISREYALE HARMON                                                             ADDRESS ON FILE
    ISTOCKPHOTO LP                                                              STE 200 1240 20TH AVE SE                                                                                    CALGARY                  ALBERTA      T2G 1M8      CANADA
    ISYNERGY WEBDESIGN                        ATTN RICHARD LEE                  1153 BORDEAUX DR ST 203                                                                                     SUNNYVALE                CA           94089
    IT MANAGEMENT SOLUTIONS                                                     225 BROADWAY ST                         STE 206                                                             METHURN                  MA           01844
    IT1SOURCE LLC                                                               1860 W UNIVERSITY DR                    STE 100                                                             TEMPE                    AZ           85281
    ITEXT SOFTWARE CORP                                                         2150 PORTOLA AVE                        STE D 239                                                           LIVERMORE                CA           94551
    ITS INC                                                                     2134 L ST NW                                                                                                WASHINGTON               DC           20037
    ITSM ACADEMY INC                                                            100 W CYPRESS CREEK RD                  SUTIE 890                                                           FORT LAUDERDALE          FL           33309
    IUKA MINI STORAGE                         JOE R BARLOW DDS                  PO BOX 361                                                                                                  IUKA                     MS           38852
    IV4 INC                                                                     344 W GENESEE ST                        STE 103                                                             SYRACUSE                 NY           13202
    IVANESSE LOPEZ RAMOS                                                        ADDRESS ON FILE
    IVANHOE CAMBRIDGE II INC                                                    2525 36 ST NE                                                                                               CALGARY                  AB           T1Y 5T4      CANADA
    IVANHOE CAMBRIDGE II INC                                                    METROTOWN CENTRE                        604 4720 KINGSWAY                                                   BURNABY                  BC           V5H 4N2      CANADA
    IVANHOE CAMBRIDGE II INC                  ATTN HEATHER KANE                 2525 36TH ST NE                                                                                             CALGARY                  AB           T1Y 5T4      CANADA
    IVANHOE CAMBRIDGE INC                                                       901 64TH AVE NE                                                                                             CALGARY                  AB           T2E 7P4      CANADA
    IVANKA RANDALL                                                              ADDRESS ON FILE
    IVERSON JAY                                                                 ADDRESS ON FILE
    IVEST 360 LLC                                                               95 JAMES WAY                            STE 113                                                             SOUTHAMPTON              PA           18966
    IXI CORPORATION                                                             PO BOX 105835                                                                                               ATLANTA                  GA           30348-5835
    IZHAK SUYONOV                                                               ADDRESS ON FILE
    J A OSTER AND COMPANY INC                                                   704 MILL ST                                                                                                 WEST MONROE              LA           71291
    J AND L YANKEE INC                        DBA YANKEE TAVERN                 72 E 161 ST                                                                                                 BRONX                    NY           10451
    J AND M COMMERCIAL CLEANING SERVICES INC                                    2224 SHINGLEWOOD WAY                                                                                        VIRGINIA BEACH           VA           23456
    J AND M TAX SERVICE LLC                                                     46301 CORDOBA DR                                                                                            NOVI                     MI           48374
    J AUSTIN HEATING AND COOLING INC                                            2618 WYLIE RIDGE RD                                                                                         WEIRTON                  WV           26062
    J CHRISTIAN DE LA VERGNE                                                    ADDRESS ON FILE
    J ELLIOT DORE                                                               ADDRESS ON FILE
    J ERIC KING                                                                 ADDRESS ON FILE
    J F WHITLOW JR AND SONS INC                                                 PO BOX 7038                                                                                                 PORTSMOUTH               VA           23707-0038
    J HAROLD JR AND SONS MOVERS                                                 5900 BURTON STATION RD                                                                                      VIRGINIA BEACH           VA           23455
    J HUGHES PAINTING LLC                                                       1340 N GREAT NECK RD 1272 119                                                                               VA BEACH                 VA           23454
    J LUX FUNDING LLC                                                           330 MAIN ST                                                                                                 HARTFORD                 CT           06106
    J MACK AGENCY LLC                                                           956 HARCOURT                                                                                                GROSSE POINTE PARK       MI           48230
    J R CONTRACTORS INC                                                         7616 SEWELLS POINT RD                   STE 5                                                               NORFOLK                  VA           23513
    J SIMKO PLAZA                                                               267 B 10 800 STEELES AVE W                                                                                  THORNHILL                ON           L4J 7L2      CANADA
    J3 CAPITAL SOLUTIONS INC                                                    4275 EXECUTIVE SQUARE                   STE 200                                                             LA JOLLA                 CA           92037
    JAAR LLC                                                                    500 GRAPEVINE HWY STE 402                                                                                   HURST                    TX           76054-2785
    JAAR LLC                                                                    PO BOX 237168                                                                                               NEW YORK                 NY           10023-0031
    JAB PROMOTIONS INC                                                          17 PL BUSSANG                                                                                               LORRAINE                 QUEBEC       J6Z 4M6      CANADA
    JACK AND MILDRED FELLERS                                                    ADDRESS ON FILE
    JACK IVEY SIGNS INC                                                         1704 WESTTOWN RD                                                                                            ALBANY                   GA           31706
    JACK RABBIT STORAGE                                                         189 S ROSEMONT RD                                                                                           VIRGINIA BEACH           VA           23452
    JACK STUMPF AND ASSOCIATES INC                                              1700 CENTRAL BLVD                                                                                           HARVEY                   LA           70058
    JACKIE EASLEY                                                               ADDRESS ON FILE
    JACKS CASH LTD                                                              189 VICTORIA AVE                                                                                            BELLEVILLE               ON           K8N 2B9      CANADA
    JACKSON BROADCASTING COMPANY                                                WJSG FM                                 180 AIRPORT RD                                                      ROCKINGHAM               NC           28379


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    JACKSON CHRISTINA                                                                ADDRESS ON FILE
    JACKSON COUNTY PUBLIC WATER SUPPLY
    DISTRICT 1                                                                       13015 15TH ST                           PO BOX 650                                                          GRANDVIEW               MO           64030-0650
    JACKSON EMC                                                                      PO BOX 100                                                                                                  JEFFERSON               GA           30549-0100
    JACKSON ENTERPRISES LTD                                                          PO BOX 12053                                                                                                NORFOLK                 VA           23502
    JACKSON HOLDINGS GROUP LLC                                                       PO BOX 249                                                                                                  HAVELOCK                NC           28532
    JACKSON KELLY PLLC                                                               PO BOX 11276                                                                                                CHARLESTON              WV           25339
    JACKSON LEWIS LLP                                                                ONE N BROADWAY                                                                                              WHITE PLAINS            NY           10601
    JACKSON LEWIS PC                                                                 PO BOX 416019                                                                                               BOSTON                  MA           02241-6019
    JACKY ALVAREZ                                                                    ADDRESS ON FILE
    JACOB PAYNE                                                                      ADDRESS ON FILE
    JACQUELINE CARLISTO                                                              ADDRESS ON FILE
    JACQUELINE M PARKER                                                              ADDRESS ON FILE
    JADE WEST CEDARVIEW LLC                                                          8451 SE 68TH ST STE 200                                                                                     MERCER ISLAND           WA           98040
    JAFFE WEBSTER PROPERTIES INC                                                     PO BOX 38                                                                                                   HARTSDALE               NY           10530-0038
    JAG GENERAL CONTRACTOR INC                                                       610 JACK RABBIT RD                      1 AND 2                                                             VIRGINIA BEACH          VA           23451
    JAHCO OKLAHOMA PROPERTIES I LLC                                                  1008 E HEFNER RD                                                                                            OKLAHOMA CITY           OK           73131
    JAKE MARSHALL SERVICE INC                                                        PO BOX 4324                                                                                                 CHATTANOOGA             TN           37405
    JAKE NICHOLSON                                                                   ADDRESS ON FILE
    JAM ASSOCIATES LLC                            DBA THE MORGAN GROUP               41 W PUTNAM AVE                         3RD FL                                                              GREENWICH               CT           06830
    JAM ASSOCIATES LLC                            DBA THE MORGAN GROUP LLC           41 W PUTNAM AVE                                                                                             GREENWICH               CT           06830
    JAMAICA REALTY NYC LLC                                                           71 FERNWOOD LN                                                                                              ROSLYN                  NY           11576
    JAMAICA TWINS REALTY INC                                                         44 15 COLLEGE POINT BLVD                                                                                    JAMAICA                 NY           11432
    JAMAL ESFAHANI                                                                   ADDRESS ON FILE
    JAMAN SALES COMPANY                                                              4806 AVE N                                                                                                  BROOKLYN                NY           11234
    JAMES A DICKOVER                                                                 ADDRESS ON FILE
    JAMES AND LINDA WRIGHT FAMILY LP                                                 1601 W HENDERSON                                                                                            CLEBURNE                TX           76033
    JAMES BOARMAN                                                                    ADDRESS ON FILE
    JAMES CITY COUNTY TREASURER                                                      PO BOX 8701                                                                                                 WILLIAMSBURG            VA           23187-8701
    JAMES DUDLEY DBA VEYRON CAPITAL LLC                                              1678 MONTGOMERY HWY                     STE 104                                                             VESTAVIA HILLS          AL           35216
    JAMES E DOSCHADIS                                                                ADDRESS ON FILE
    JAMES F WHITMER PRIVATE INVESTIGATIONS                                           BOX 132                                                                                                     WATERLOO                IA           50704
    JAMES K ERICKSON                                                                 ADDRESS ON FILE
    JAMES L DICKERSON                                                                ADDRESS ON FILE
    JAMES M PACI TTEE PACI FAMILY IRREVOCABLE
    TRUST DATED 7 13 2018                                                            11 BEACH RD                                                                                                 HUNTINGTON              NY           11743-1100
    JAMES M SWEENEY AND ASSOCIATES INC                                               320 LECLAIRE ST                                                                                             DAVENPORT               IA           52801
    JAMES MADISON UNIVERSITY                                                         821 S MAIN ST                           ANTHONY SEEGER HALL G1 MSC6805                                      HARRISONBURG            VA           22807
    JAMES MATT                                                                       ADDRESS ON FILE
    JAMES MORROW                                                                     ADDRESS ON FILE
    JAMES P LOMBARD                                                                  ADDRESS ON FILE
    JAMES R HUESING                                                                  ADDRESS ON FILE
    JAMES RIVER SIGNS INC                                                            724 CITY CTR BLVD STE A                                                                                     NEWPORT NEWS            VA           23606
    JAMES ROGERS                                                                     ADDRESS ON FILE
    JAMES RYAN SHELKEY                                                               ADDRESS ON FILE
    JAMES TAX SERVICE INC                                                            72 MAIN ST                                                                                                  HARTFORD                CT           06702
    JAMES Y GER AND JANICE E GER                                                     ADDRESS ON FILE
    JAMISON RONALD                                                                   ADDRESS ON FILE
    JAMN 945 WJMN                                                                    10 CABOT RD STE 302                                                                                         MEDFORD                 MN           02155
    JAMS INC                                                                         PO BOX 512850                                                                                               LOS ANGELES             CA           90051-0850
    JAMS INC                                                                         PO BOX 845402                                                                                               LOS ANGELES             CA           90084
    JAMWOOD DEVELOPMENTS INC                                                         1450 OCONNOR DR                         UNIT 103 BLDG 2                                                     TORONTO                 ON           M4B 2T8      CANADA
    JAN BROWN AND ASSOCIATES                                                         476 JACKSON ST 2ND FL                                                                                       SAN FRANCISCO           CA           94111
    JAN J MAURICE                                                                    ADDRESS ON FILE
    JANA ANDRADE                                                                     ADDRESS ON FILE
    JANA GOOD                                                                        ADDRESS ON FILE
    JANA KIM MEDLIN                                                                  ADDRESS ON FILE
    JANAF SHOPPING CENTER LLC                                                        PO BOX 713828                                                                                               CINCINNATI              OH           45271-3828
    JANET A WINN                                                                     ADDRESS ON FILE
    JANET PROVINCIAL KILLEEN                                                         1062 ALEXANDRA AVE                                                                                          MISSISSAUGA             ON           L5E 1Z8      CANADA
    JANI KING                                                                        ADDRESS ON FILE

    JANICE D RUSSELL TRUSTEE OF FARM HILL TRUST                                      8 THOMAS CIR                                                                                                STONEHAM                MA           02180
    JANICE S BAKER AND ASSOCIATES INC                                                PO BOX 1649                                                                                                 JONESBORO               GA           30237
    JAPANESE AUTO MASTERS                                                            1324 LONDON BRIDGE RD                                                                                       VIRGINIA BEACH          VA           23456
                                                  DBA MR HANDYMAN OF FT WASHINGTON
    JARDCO INC                                    AND CLINTON                        15912 CRAIN HWY                         STE B432                                                            BRANDYWINE              MD           20613
    JARED AND AMANDA HAFEMANN                                                        ADDRESS ON FILE
    JARED M WAGONER                                                                  ADDRESS ON FILE
    JARLAND LLC                                   C O CARLOS JARAMILLO               7320 OLD SAUK RD                                                                                            MADISON                 WI           53717
    JARRETT F GOLD                                                                   ADDRESS ON FILE
    JASON ALLARD                                                                     ADDRESS ON FILE
    JASON BUSSE                                                                      ADDRESS ON FILE
    JASON DMATTES                                                                    ADDRESS ON FILE
    JASON OGLE                                                                       ADDRESS ON FILE
    JASON PORT                                                                       ADDRESS ON FILE
    JASON S VENTURELLI DBA JSV CAPITAL                                               324 PKWY DR                                                                                                 CLARK                   NJ           07066
    JASON STALLKNECHT                                                                ADDRESS ON FILE
    JASON STALLKNECHT                                                                ADDRESS ON FILE
    JASON W JU                                                                       ADDRESS ON FILE
    JAW INTERNATIONAL MEDIA LLC                                                      20003 PERGOLA BEND LN                                                                                       TAMPA                   FL           33647
    JAY CHARLES HAMMOND HAMMOND BUSINESS
    FORMS                                                                            117 HYDE PARK RD                                                                                            PENSACOLA               FL           32503-5831
    JAY MBAINJEWEL                                                                   ADDRESS ON FILE
    JAYDEE VENTURES LLC DBA 1 WEST FINANCE                                           132 HAWTHORNE CT                                                                                            ROCKAWAY                NJ           07866
    JBSP TAX SERVICES OF OHIO INC                                                    1514 MORSE RD                                                                                               COLUMBUS                OH           43229-6601
    JC1                                                                              2809 S LYNNHAVEN RD                     STE 120                                                             VIRGINIA BEACH          VA           23452
    JCL CAPITAL SOLUTIONS LLC                                                        3818 W N LN                                                                                                 PHOENIX                 AZ           85051
    JCP SERVICES                                                                     1137 CUMBERLAND CT                                                                                          CHESAPEAKE              VA           23320


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                        Name                                  Attention                              Address 1                               Address 2                           Address 3                    City        State       Zip          Country
    JCS STORAGE COMPANY                                                              1496 PEMBROKE ST W                                                                                      PEMBROKE                ON           K8A 7A6      CANADA
    JCY MANAGEMENT                            ATTN CHUCK CHOI                        11205 S MICHIGAN AVE                                                                                    CHICAGO                 IL           60628
    JD AND SONS LLC DBA PELICAN CAPITAL                                              5 UPER NEWPORT PLZ                                                                                      NEWPORT BEACH           CA           92660
    JD AND SONS LLC DBA PELICAN CAPITAL                                              5 UPPER NEWPORT PLZ                                                                                     NEWPORT BEACH           CA           92660
    JD MERCHANT CAPITAL LLC                                                          1 CONGRESS ST                       2ND FL                                                              HARTFORD                CT           06114
    JD POWER                                                                         33053 COLLECTION CTR DR                                                                                 CHICAGO                 IL           60693-0330
    JDRF INTERNATIONAL                                                               26 BROADWAY FL 14                                                                                       NEW YORK                NY           10004-1838
    JDS RIDC                                                                         180 GAMMA DR                                                                                            PITTSBURGH              PA           15238
    JEA                                                                              21 W CHURCH ST                                                                                          JACKSONVILLE            FL           32202-3139
    JEAN M BIRCH                                                                     ADDRESS ON FILE
    JEAN PIERRE ITURRALDLE                                                           ADDRESS ON FILE
    JEFF BORSCHOWA PROFESSIONAL CORP                                                 11012 MACLEOD TRAIL SE              STE 295                                                             CALGARY                 AB           T2J 6A5      CANADA
    JEFF CROCKETT                                                                    ADDRESS ON FILE
    JEFF DOSSETT CIA LLC                                                             6650 RIVERS AVE                     STE 1427                                                            CHARLESTON              SC           29406
    JEFF HOFFMAN DBA A J SNACKS                                                      2211 COYOTE TRAIL                                                                                       GRAND PRAIRIE           TX           75052
    JEFF REED INVESTIGATIONS                                                         56925 YUCCA TRAIL PMB 322                                                                               YUCCA VALLEY            CA           92284
    JEFF STEWART                                                                     ADDRESS ON FILE
    JEFF WELLCOME                                                                    ADDRESS ON FILE
    JEFFERSON COUNTY TREASURER                                                       100 JEFFERSON COUNTY PKWY 2520                                                                          GOLDEN                  CO           80419-2520
    JEFFERY A BRYNING                                                                ADDRESS ON FILE
    JEFFERY SCOTT                                                                    ADDRESS ON FILE
    JEFFREY A STEHLIN                                                                ADDRESS ON FILE
    JEFFREY D SCHUBERT                                                               ADDRESS ON FILE
    JEFFREY D STEPHENSON                                                             ADDRESS ON FILE
    JEFFREY EUGENE WILKERSON                                                         ADDRESS ON FILE
    JEFFREY G WILSON                                                                 ADDRESS ON FILE
    JEFFREY HIRSHBERG CPA                                                            ADDRESS ON FILE
    JEFFREY L JAMIESON                                                               ADDRESS ON FILE
    JEFFREY L RIDDLE                                                                 ADDRESS ON FILE
    JEFFREY LEON DENNY                                                               ADDRESS ON FILE
    JEFFREY T STIMPSON                                                               ADDRESS ON FILE
    JEFFRIES JACQUELINE                                                              ADDRESS ON FILE
    JELLYFISH ONLINE MARKETING US LTD                                                250 S PRESIDENT ST                  STE 10                                                              BALTIMORE               MD           21202
    JEMD REALTY LLC                                                                  3370 COMMANDER SHEPARD BLVD                                                                             HAMPTON                 VA           23666
    JEMEZ MOUNTAINS ELECTRIC COOP INC                                                PO BOX 2999                                                                                             ESPANOLA                NM           87532
    JENKENS AND GILCHRIST                                                            PO BOX 842552                                                                                           DALLAS                  TX           75284-2552
    JENKINS BUSINESS EQUIPMENT                                                       875 WILSON RD S UNIT 2                                                                                  OSHAWA                  ON           L1H 8B1      CANADA
    JENNIFER ANDERSON                                                                ADDRESS ON FILE
    JENNIFER CASE                                                                    ADDRESS ON FILE
    JENNIFER D DENNY                                                                 ADDRESS ON FILE
    JENNIFER FICUCIELLO                                                              ADDRESS ON FILE
    JENNIFER M FATH                                                                  ADDRESS ON FILE
    JENNIFER TOMPKINS                                                                ADDRESS ON FILE
    JENNIFER WOLAK                                                                   ADDRESS ON FILE
    JENNY AND SONS HOME IDEAS AND IMPROVEMENT
    INC                                       D B A JSI                              PO BOX 65125                                                                                            VIRGINIA BEACH          VA           23467
    JENNYLYN GABANA                                                                  ADDRESS ON FILE
    JERALD K LEESCH TRUST                     C O 26TH ST CROSSING                   PO BOX 90110                                                                                            SIOUX FALLS             SD           57109
    JERALD TENENBAUM                                                                 ADDRESS ON FILE
    JEREL TOMASELLO                                                                  ADDRESS ON FILE
    JEREMY MCCAY SERVICES INC                                                        15621 OPUS ONE DR                                                                                       BAKERSFIELD             CA           93314
    JEREMY SMITH DBA SMITH CAPITAL GROUP LLC                                         1314 OCEAN PKWY                     4F                                                                  BROOKLYN                NY           11230

    JEREMY TOWNSEND AND STEPHENIE TOWNSEND                                           ADDRESS ON FILE
    JEREMY VARIAS                                                                    ADDRESS ON FILE
    JERMAINE MONTGOMERY                                                              ADDRESS ON FILE
    JERRY LEE WOODLIEF JR DBA JMS SERVICES                                           214 PACKETS CT                                                                                          WILLIAMSBURG            VA           23185
    JERRY ROZENEKS PAINTING SERVICE                                                  401 ASHBURN LN                                                                                          DURHAM                  NC           27703
    JESSICA BYRON                                                                    ADDRESS ON FILE
    JESSICA DHILLON                                                                  ADDRESS ON FILE
    JESSICA EDGELL                                                                   ADDRESS ON FILE
    JESSICA STANELL                                                                  ADDRESS ON FILE
    JESSICA WEIMER                                                                   ADDRESS ON FILE
    JESSIE CASIANO                                                                   ADDRESS ON FILE
    JESSIE HAYDEN                                                                    ADDRESS ON FILE
    JESSIE SANCHEZ                                                                   ADDRESS ON FILE
    JESSIE SEAMAN                                                                    ADDRESS ON FILE
    JESSTALK SPEAKNG SERVICES LLC                                                    8550 W CHARLESTON BLVD              STE 102                                                             LAW VEGAS               NV           89117
    JETER AND KRUPP CONSULTING LLC                                                   3201 GRIFFIN RD                                                                                         FT LAUDERDALE           FL           33312
    JEWEL F YAUGHN INC                                                               PO BOX 26369                                                                                            MACON                   GA           31221
    JFK HOLDINGS INC                                                                 182 WHISPERWOOD AVE                                                                                     LONDON                  ON           N6K 4G7      CANADA
    JFRCO LLC                                                                        2000 SO COLORADO BLVD2 640                                                                              DENVER                  CO           80222
    JFT TYPEWRITERS AND OFFICE EQUIPMENT                                             2179 PORTAGE AVE                                                                                        WINNIPEG                MB           R3J 0L7      CANADA
    JG NORTH RALEIGH LLC                                                             25425 CTR RIDGE RD                                                                                      CLEVELAND               OH           44145

    JHJ INC                                    FOR PIGGLY WIGGLY C O DANIELLE SATAWA 5910 AIRLINE HWY                                                                                        BATON ROUGE             LA           70805
    JIGSAW COM SALESFORCECOM                                                         PO BOX 203141                                                                                           DALLAS                  TX           75320-3141
    JILL FRIEDMAN                                                                    ADDRESS ON FILE
    JILL RYAN ANGLIN                                                                 ADDRESS ON FILE
    JILOR LLC                                                                        8942 PATTY LN                                                                                           ORLAND PARK             IL           60462
    JIM AND JOHN REALTY III LLC                                                      212 OVERLOOK CIR                    STE 207                                                             BRENTWOOD               TN           37027
    JIM MITCHELL                                                                     ADDRESS ON FILE
    JIM PATTISON BROADCAST GROUP CJXX FM                                             202 9817 101 AVE                                                                                        GRANDE PRAIRIE          AB           T8V 0V6      CANADA
    JIM STUBBS MIAMI COUNTRY TREASURER                                               201 W MAIN ST                                                                                           TROY                    OH           45373-3239
    JIMI MITCHELL                                                                    ADDRESS ON FILE
    JIMMY H SMITH                                                                    ADDRESS ON FILE
    JIN GUN SUH                                                                      ADDRESS ON FILE
    JINESH TALSANIA                                                                  ADDRESS ON FILE
    JIVE COMMUNICATIONS INC                                                          PO BOX 412252                                                                                           BOSTON                  MA           02241-2252


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                        Name                                Attention                      Address 1                                Address 2                              Address 3                     City        State       Zip          Country
    JJ AND J CONSTRUCTION                                                  3017 LYNNHAVEN DR                                                                                            VIRGINIA BEACH          VA           23451
    JJ BARNICKE MANAGEMENT                                                 STE 2650 PARK PL                     666 BURRARD ST                                                          VANCOUVER               BC           V6C2X8       CANADA
    JJM PARTNERS                                                           6119 VILLAGE OAKS DR                                                                                         PENSACOLA               FL           32504
    JJM PARTNERS LLC                                                       9700 SAN FRANCISCO RD NE                                                                                     ALBUQUERQUE             NM           87122
    JJT CMPUTING                                                           PO BOX 1001                                                                                                  HAWKINS                 TX           75765
    JK HARRIS AND COMPANY LLC                                              208 SAINT JAMES AVE                  STE A                                                                   GOOSE CREEK             SC           29445-2994
    JKS HOLDING COMPANY                                                    2610 POTTERS RD                                                                                              VIRGINA BEACH           VA           23452
    JLAP INC DBA CENTRAL CAPITAL GROUP                                     445 CENTRAL AVE                      348                                                                     CEDARHURST              NY           11516
    JLB SYSTEMS                                                            PO BOX 82                                                                                                    FAIRPORT                NY           14450
    JLT ASSOCIATES                                                         2100 MCCOMAS WAY 606                                                                                         VIRGINIA BEACH          VA           23456
    JM LENDING LLC DBA JM FUNDING GROUP                                    16 E40TH ST                          STE 700                                                                 NEW YORK                NY           10016
    JM RECONSTRUCTION SERVICES INC                                         13060 CO RD 483                                                                                              LAVON                   TX           75166
    JMJ PRINTING PARTNERS LLC                                              85 WASHINGTON AVE                                                                                            BELLEVILLE              NJ           07109
    JMS GLOBAL ENTERPRISES INC                                             24 WEISS PL                                                                                                  DEER PARK               NY           11729
    JMS TAX INC                                                            509 LONDON BRIDGE RD                                                                                         VIRGINIA BEACH          VA           23454
    JN FUNDING INC                                                         141 BAYSHORE AVE                                                                                             LONG BEACH              CA           90803
    JNB TEK LLC                                                            73 MAIN ST                                                                                                   MAYSVILLE               NC           28555
    JOAN E DUDEK                                                           ADDRESS ON FILE
    JOAN E LORING ESQ                         ATTORNEY AT LAW              280 MAPLE AVE                                                                                                HAMBURG                 NY           14075
    JOAN FLOWERS                                                           ADDRESS ON FILE
    JOANNA P CHOI                                                          ADDRESS ON FILE
    JOANNA ROSARIO ROCHA                                                   ADDRESS ON FILE
    JOANNE E VETTER                                                        ADDRESS ON FILE
    JOANNE VETTER                                                          ADDRESS ON FILE
    JOAO A FERREIRA                                                        ADDRESS ON FILE
    JOBETE MUSIC CO INC                                                    STONE AGATE MUSIC                    810 SEVENTH AVE                                                         NEW YORK                NY           10019
    JOBPOSTINGS                                                            25 IMPERIAL ST                       STE 100                                                                 TORONTO                 ONTARIO      M5P 1B9      CANADA
    JOBS AND CAREERS                                                       1480 ODDSTAD DR                                                                                              REDWOOD CITY            CA           94063-2607
    JODIES MOBILE AUTO DETAILING                                           5768 RED DUCK CT                                                                                             VIRGINIA BEACH          VA           23462
    JODY L ELLIOTT CPA                                                     ADDRESS ON FILE
    JODY STEWART CRR RMR                      OFFICIAL US COURT REPORTER   600 GRANBY ST                        STE 217                                                                 NORFOLK                 VA           23510
    JOE H WOODS SR                                                         ADDRESS ON FILE
    JOE JOHN MARTINEZ                                                      ADDRESS ON FILE
    JOE NICOLOSI DBA STARCADE CAPITAL LLC                                  7791 E OSBORN RD 45 E                                                                                        SCOTTSDALE              AZ           85251
    JOE SCHMITT AND SONS PLBG AND HGT LLC                                  500 ALTA AVE                         PO BOX 237                                                              ENGLEWOOD               OH           45322
    JOEL GREENBERG TAX COLLECTOR LICENSE      SEMINOLE COUNTY              PO BOX 630                                                                                                   SANFORD                 FL           32772-0630
    JOEL P KERSTETTER                                                      ADDRESS ON FILE
    JOEY YOUNG PROPERTIES LLC                                              PO BOX 2020                                                                                                  CROWLEY                 LA           70526
    JOHN A WEBB                                                            ADDRESS ON FILE
    JOHN ALBARRAN                                                          ADDRESS ON FILE
    JOHN ALBARRAN                                                          ADDRESS ON FILE
    JOHN ALDRIDGE WEBB                                                     ADDRESS ON FILE
    JOHN ALDRIDGE WEBB TRUST                                               1501 E 660 RD                                                                                                LAWRENCE                KS           66049
    JOHN BALKHI                                                            ADDRESS ON FILE
    JOHN BARBATO CONSULTANT DBA BLUE
    ELEPHANT CAPITAL                                                       35 HILLSTREAM RD                                                                                             NEWARD                  DE           19711
    JOHN BOITO                                                             ADDRESS ON FILE
    JOHN CODY DBA TEAPOT MEDIA INC                                         16501 VENTURA BLVD                   STE 400                                                                 ENCINO                  CA           91436
    JOHN DIMARCO                                                           ADDRESS ON FILE
    JOHN E CONNOR AND ASSOCIATES INC                                       1860 ONE AMERICAN SQUARE             BOX 82020                                                               INDIANAPOLIS            IN           46282
    JOHN E REGISTER                                                        ADDRESS ON FILE
    JOHN E SIRINE AND ASSOCIATES LTD                                       PO BOX 61666                                                                                                 VIRGINIA BEACH          VA           23466
    JOHN EVERETT PI SERVICES INC                                           PO BOX 1304                                                                                                  OCALA                   FL           33478
    JOHN FULLER OR SANDRA FULLER                                           ADDRESS ON FILE
    JOHN GAREL                                                             ADDRESS ON FILE
    JOHN GRAEFSER DBA GRAEFSER ELECTRIC                                    105 GROVE ST                                                                                                 BUFFALO                 NY           14207
    JOHN H FOUST                                                           ADDRESS ON FILE
    JOHN HARDY JONES                                                       ADDRESS ON FILE
    JOHN HENRY CHAPMAN DBA STARK LENDING                                   1520 WILLOUGHBY WAY                                                                                          LITTLE ELM              TX           75068
    JOHN KATIS                                                             ADDRESS ON FILE
    JOHN KEHRLOTIS                                                         ADDRESS ON FILE
    JOHN L CRANDELL                                                        ADDRESS ON FILE
    JOHN LEE BROWN                                                         ADDRESS ON FILE
    JOHN LEWTER DBA DOMINION COMMERCIAL
    FINANCE LLC                                                            7591 EASTON CLUB DR                                                                                          EASTON                  MD           21601
    JOHN M BOWEN AND ASSOCIATES                                            1930 COMMERCE TOWER                  911 MAIN ST                                                             KANSAS CITY             MO           64105
    JOHN MARSHALL                                                          ADDRESS ON FILE
    JOHN PEREA                                                             ADDRESS ON FILE
    JOHN R AMES CTA                                                        ADDRESS ON FILE
    JOHN R CHAITE                                                          ADDRESS ON FILE
    JOHN R NERAD AND THERESE NERAD AS CO                                   OF THE NERAD LIVING TRUST DATED
    TUSTEES                                                                DECEMBER                             12TH 1967 AS AMENDED                         301 S SHERMAN ST STE 100   RICHARDSON              TX           75081
    JOHN REILLY                                                            ADDRESS ON FILE
    JOHN ROBERSON INVESTIGATIONS                                           246 OUTBACK RIDGE TRAIL                                                                                      JASPER                  GA           30143
    JOHN SCOTT STEED                                                       ADDRESS ON FILE
    JOHN SCOTT WRIGHT                                                      ADDRESS ON FILE
    JOHN SEAL                                                              ADDRESS ON FILE
    JOHN T BURKE JR                                                        ADDRESS ON FILE
    JOHN VLECK                                                             ADDRESS ON FILE
    JOHN W MORIARTY LIVING TRUST                                           PO BOX 705                                                                                                   BROOKINGS               SD           57006
    JOHN WILEY AND SONS INC                                                PO BOX 34587                                                                                                 NEWARK                  NJ           07189-4587
    JOHNNY A RUEDA PEREZ                                                   ADDRESS ON FILE
    JOHNNY E RUEDA                                                         ADDRESS ON FILE
    JOHNNY VO                                                              ADDRESS ON FILE
    JOHNS BROTHERS SECURITY INC                                            1384 INGLESIDE RD                                                                                            NORFOLK                 VA           23502
    JOHNSON ERIC                                                           ADDRESS ON FILE

    JOHNSON POPE BOKOR RUPPEL AND BURNS LLP                                403 E MADISON ST                     STE 400                                      PO BOX 1100                TAMPA                   FL           33602



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                             Name                            Attention                              Address 1                                    Address 2                           Address 3                    City        State       Zip          Country

    JOHNSON SMITH HIBBARD WILDMAN LAW FIRM LLP                                       PO DRAWER 5587                                                                                              SPARTANBURG             SC           29304-5587
    JOHNSON TORY                                                                     ADDRESS ON FILE
    JOLARON IV INVESTMENTS LLC                 ATTN KEITH H BUDNER MANAGER           4323 CRANBROOK CIR                                                                                          LAS VEGAS               NV           89103
    JON BROOKS                                                                       ADDRESS ON FILE
    JON C SCHIEFER                                                                   ADDRESS ON FILE
    JONAH CABRAL                                                                     ADDRESS ON FILE
    JONATHAN BOYA CLIENT SUPPORT GROUP
    SOCIETY                                    ATTN DAWN BURSEY EXECUTIVE DIRECTOR   497 THIRD AVE                                                                                               PRINCE GEORGE           BC           V2L 3C1      CANADA
    JONATHAN BREEDLOVE                                                               ADDRESS ON FILE
    JONATHAN MUSSER                                                                  ADDRESS ON FILE
    JONATHAN RAGUINDIN CAROLINO                                                      ADDRESS ON FILE
    JONATHAN STRONG DBA STRONG CAPITAL
    FUNDING                                                                          2464 GERANIUM ST                                                                                            SAN DIEGO               CA           92109
    JONATHAN WILLIAMS                                                                ADDRESS ON FILE
    JONATHIN COUSE                                                                   ADDRESS ON FILE
    JONES 95 LLC                               C O GREAT AMERICAN CAPITAL            8350 W SAHARA AVE STE 210                                                                                   LAS VEGAS               NV           89117
    JONES CHARLIE                                                                    ADDRESS ON FILE
    JONES COCHENOUR AND CO                                                           125 W MULBERRY ST                                                                                           LANCASTER               OH           43130
    JONES JR GEORGE I                                                                ADDRESS ON FILE
    JONES JR JOHNNIE F                                                               ADDRESS ON FILE
    JONES LANG LASALLE AMERICAS                                                      GREENBRIER MALL OFFICE                  1401 GREENBRIER PKWY S                                              CHESAPEAKE              VA           23320-2890
    JONES ONSLOW EMC                                                                 259 WESTERN BLVD                                                                                            JACKSONVILLE            NC           28546-5736
    JONES TONY                                                                       ADDRESS ON FILE
    JORDAN FONDA                                                                     ADDRESS ON FILE
    JORDAN SNOW                                                                      ADDRESS ON FILE
    JORDANA GILDEN DBA LAW OFFICE OF JORDANA
    GILDEN                                                                           PO BOX 8211                                                                                                 NEWPORT BEACH           CA           92658
    JORDEX MANAGEMENT INC                      C O JORDEX MANAGEMENT INC             PO BOX 503                                                                                                  RODEO                   CA           94572
    JORGE CRUZ                                                                       ADDRESS ON FILE
    JOSE AYALA                                                                       ADDRESS ON FILE
    JOSE B AYALA                                                                     ADDRESS ON FILE
    JOSE L GRANADOS                                                                  ADDRESS ON FILE
    JOSE LEON                                                                        ADDRESS ON FILE
    JOSE R MARTINEZ DBA MISSION CITY YOUTH
    SOCCER ORGANIZATION                                                              1546 W MAGNOLIA AVE                                                                                         SAN ANTONIO             TX           78201
    JOSE SANTIAGO                                                                    ADDRESS ON FILE
    JOSEPH A ISADORE                                                                 ADDRESS ON FILE
    JOSEPH A LEONETTE DBA LEONETTI PROMOS                                            2922 E GREENHEDGE AVE                                                                                       ANAHEIM                 CA           92806
    JOSEPH A WELLS                                                                   ADDRESS ON FILE
    JOSEPH DITTUS DBA OMNI BUSINESS SOLUTIONS
    LLC                                                                              2178 E DESERT INN RD                                                                                        LAS VEGAS               NV           89169
    JOSEPH G VANDERHOOF                                                              ADDRESS ON FILE
    JOSEPH J KORONA                                                                  ADDRESS ON FILE
    JOSEPH J PATTERSON DBA LIGHTHOUSE
    VENTURES GROUP LLC                                                               1837 RICHMOND AVE                                                                                           STATEN ISLAND           NY           10314
    JOSEPH LTD BAKER LLC                                                             20945 SAMUELS RD                                                                                            ZACHARY                 LA           70791
    JOSEPH LUSTBERG DBA UPWISE CAPITAL LLC                                           316 E WALNUT ST                                                                                             LONG BEACH              NY           11561
    JOSEPH M ARACICH                                                                 ADDRESS ON FILE
    JOSEPH ROBERT AND COLLEEN                                                        ADDRESS ON FILE
    JOSEPH T FITZPATRICK                                                             ADDRESS ON FILE
    JOSEPH VOORHEES                                                                  ADDRESS ON FILE
    JOSH ROBISON                                                                     ADDRESS ON FILE
    JOSHEP BELLANTOUNO DBA TRINITY CAPITAL
    MERCHANT SERVICES                                                                88 GOOSE HILL RD                                                                                            COLD SPRING HARBOR      NY           11724
    JOSHUA DALE PHELPS                                                               ADDRESS ON FILE
    JOSHUA HAMRELL DBA LIRA FUNDING LLC                                              28632 ROADSIDE DR                       STE 210                                                             AGOURA HILLS            CA           91301
    JOSHUA KLAAS DBA AMERICAP COMMERCIAL
    FUNDING LLC                                                                      208 E MINERAL ST                                                                                            MONTFORT                WI           53569
    JOSHUA M YUDIN DBA SEEKPEEK LLC                                                  4572 CHARDONNAY CT                                                                                          ATLANTA                 GA           30338-5516
    JOSHUA TRIPLETT DBA VIP CAPITAL FUNDING                                          222 NORTHWOOD CT                                                                                            LEXINGTON               NC           27295
    JOSIAS GONZALEZ                                                                  ADDRESS ON FILE
    JOSPEH HARROZ                                                                    ADDRESS ON FILE
    JOSS NYC LLC                                                                     303 E 83RD 9B                                                                                               NEW YORK                NY           10028
    JOURNAL BROADCAST GROUP                                                          4200 N OLD LAWRENCE RD                                                                                      WICHITA                 KS           67219
    JOURNAL MULTIMEDIA CORPORATION             DBA BEST COMPANIES GROUP              1500 PAXTON ST                                                                                              HARRISBURGH             PA           17104
    JOURNALISTIC INC                                                                 101 EUROPA DR                           STE 150                                                             CHAPEL HILL             NC           27517
    JOYCE JORDAN                                                                     ADDRESS ON FILE
    JOYCE JR JOHN J                                                                  ADDRESS ON FILE
    JOYNERS MECHANICAL INC                                                           PO BOX 1705                                                                                                 CHESAPEAKE              VA           23327-1705
    JOYWALLET LLC                                                                    300 VESEY ST                            12TH FL                                                             NEW YORK                NY           10282
    JP ELECTRICAL INC                                                                5 GILL ST                               PO BOX 781                                                          COLDWATER               ON           L0K 1E0      CANADA
    JP HOME MANAGEMENT                                                               8509 S BROADWAY                                                                                             ST LOUIS                MO           63111
    JP STROM JRPA DBA STROM LAWN FIRM LLC                                            2110 BELTLINE BLVD                                                                                          COLUMBIA                SC           29204
    JP YANCEY REALTY CO INC                                                          809 MAIN ST                                                                                                 NEWPORT NEWS            VA           23605
    JPDL QUEBEC                                                                      189 RUE SAINT PAUL                                                                                          QUEBEC                  QC           G1K 3W2      CANADA
    JPMORGAN CHASE CITIGATE                                                          277 PARK AVE 22ND FL                                                                                        NEW YORK                NY           10172
    JPS CONSULTING DBA CITY VIEW CAPITAL                                             320 FROG POND RD                                                                                            LITTLE EGSS HARBOR      NJ           08087
    JR FAIRFIELD                                                                     67 GLENTHORNE CRES                                                                                          WINNIPEG                MB           R2M 4C8      CANADA
    JR PROPERTY MAINTENANCE                                                          162 RIDGE RD                                                                                                WELLAND                 ON           L3B 5N7      CANADA

    JRC LLC                                   C O THALHIMER CUSHMAN AND WAKEFIELD    PO BOX 5160                                                                                                 GLEN ALLEN              VA           23058-5160
    JS JACOBS INC                                                                    PO BOX 1754                                                                                                 GASTONIA                NC           28053
                                              C O PALMETTO BAY REALTY MANAGEMENT
    JSI WOODRUFF LLC                          LLC                                    PO BOX 699                                                                                                  FOUNTAIN INN            SC           29644
    JTH FINANCIAL                                                                    1716 CORPORATE LANDING PKWY                                                                                 VIRGINIA BEACH          VA           23454
    JTH FINANCIAL SUNTRUST                                                           1716 CORPORATE LANDING PKWY                                                                                 VIRGINIA BEACH          VA           23454
    JTH TAX INC                                                                      1716 CORPORATE LANDING PKWY                                                                                 VIRGINIA BEACH          VA           23454
    JTH TAX INC BANK OF AMERICA MASTER ACCT                                          1716 CORPORATE LANDING PKWY                                                                                 VIRGINIA BEACH          VA           23454


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    JTH TAX LLC                                                                  2387 LIBERTY WAY                                                                                              VIRGINIA BEACH            VA           23456
    JTI INC                                                                      2568 PRECISION DR                                                                                             VIRGINIA BEACH            VA           23454
    JUAN ARREOLA GALLEGOS                                                        ADDRESS ON FILE
    JUAN CARDONA VELEZ                                                           ADDRESS ON FILE
    JUAN PEREZ                                                                   ADDRESS ON FILE
    JUAN SANTANA                                                                 ADDRESS ON FILE
    JUANITA FIRS ASSOCIAES LP                   C O KOEHLER AND COMPANY          1601 FIFTH AVE STE 1700                                                                                       SEATTLE                   WA           98101
    JUANITA JANE WESTBROOK                                                       ADDRESS ON FILE
    JUDITH LYNN REDINGTON                                                        ADDRESS ON FILE
    JUDY GAFFNEY                                                                 ADDRESS ON FILE
    JUG MEDIA NETWORK                                                            1300 S BRISTOL ST                         STE 228                                                             SANTA ANA                 CA           92704
    JULIE A FINK                                                                 ADDRESS ON FILE
    JULIE CHU                                                                    ADDRESS ON FILE
    JULIE SORENSEN DBA EXCALIBUR ATTORNEY
    SERVICE AND SMALL CLAIM ASS                                                  231 E ALESSANDRO BLVD                     STE A368                                                            RIVERSIDE                 CA           92508
    JULIEANN DERBY KRANS                                                         ADDRESS ON FILE
    JULIET DIIORIO                                                               ADDRESS ON FILE
    JULIETA FRANCO                                                               ADDRESS ON FILE
    JULIO CESAR LOYA ARELLANCES DBA SMART
    BUSINESS FINANCE LLC                                                         3816 N 83RD AVE 1074                                                                                          PHOENIX                   AZ           85033
    JULIWU INVESTMENTS LLC                                                       10573 W PICO BLVD                         821                                                                 LOS ANGELES               CA           90064
    JUMP FOR JOY                                ATTN HOLLY LAW                   3701 HUNTMASTERS CT                                                                                           RICHMOND                  VA           23233
    JUNCTION INTERNATIONAL LLC                                                   9760 ROCHE PL                                                                                                 WEST PALM BEACH           FL           33414
    JUNETEENTH FESTIVAL CO                                                       PO BOX 7832                                                                                                   PORTSMOUTH                VA           23707
    JUNIPER CENTRE INC                                                           108 NELSON RD                                                                                                 THOMPSON                  MANITOBA     R8N 0B6      CANADA
    JUNK OUTPOST HAULING AND JUNK REMOVAL                                        13652 FLAGSTONE LN                                                                                            DALLAS                    TX           75240
    JUST JUNK GRAND RIVER                                                        133 WEBER ST N                            STE 3 307                                                           WATERLOO                  ON           N2J 3G9      CANADA
    JUST SOLUTIONS INC                                                           PO BOX 118                                                                                                    FAIRPORT                  NY           14450
    JUSTICE BRYAN                                                                ADDRESS ON FILE
    JUSTIFI CAPITAL INC                                                          3109 HEWLETT AVE                                                                                              MERRICK                   NY           11566
    JUSTIN A THORNTON ATTORNEY AT LAW                                            ONE THOMAS CIR NW                         STE 1100                                                            WASHINGTON                DC           20005

    JUSTIN BAJGROWICZ DBA BAGZ CONSULTING LLC                                    9545 E VIA DEL SOL CALIENTE                                                                                   TUCSON                    AZ           85748
    JUSTIN NATHANIEL HIRSCH                                                      ADDRESS ON FILE
    JUSTIN STRICKLAND                                                            ADDRESS ON FILE
    JVC HOLDINGS LLC                                                             1807 S CHURCH ST STE 108 309                                                                                  SMITHFIELD                VA           23430
    JVO ENTERPRISES INC                       DBA MR HANDYMAN OF THE WOODLANDS   6700 WOODLANDS PKWY STE 230 241                                                                               THE WOODLANDS             TX           77382
    JW ASSOCIATES INC                                                            5403 WINDSOR LN                                                                                               FAIRWAY                   KS           66208
    JWJ INVESTMENTS                                                              PO BOX 16384                                                                                                  LITTLE ROCK               AR           72231
    JY 332 LLC                                                                   1803 3RD AVE                                                                                                  OAKLAND                   CA           94606
    K 9 KAR WASH                                                                 216 N AVE                                 STE 10                                                              GRAND JUNCTION            CO           81501
    K AND K LOCKSMITHS                                                           632 TALBOT ST                                                                                                 ST THOMAS                 ON           N5PC8        CANADA
    K AND M ELECTRIC INC                                                         111 7TH ST SE                                                                                                 FORT PAYNE                AL           35967
    K AND M PEBBLE CREEK LLC                  ATTN JOHN MARTINEZ                 19651 BRUCE B DOWNS BLVD A1 2 3                                                                               TAMPA                     FL           33647-2445

    K AND P ENTERPRISES OF HENDERSONVILLE LLC                                    373 KENMURE DR                                                                                                FLAT ROCK                 NC           28731
    K AND R DISTRIBUTORS                        DBA AQUA FALLS BOTTLED WATER     PO BOX 98                                                                                                     ENON                      OH           45323
    K D MOVING AND STORAGE INC                                                   23 ARLINGTON ST                                                                                               ROCHESTER                 NY           14607
    K MART MANAGEMENT CORPORATION                                                3100 W BIG BEAVER RD                                                                                          TROY                      MI           48084-4163
    K MART RESOURCE CENTER                      ATTN DAVE SCHUVIE S220           3100 W BIG BEAVER RD                                                                                          TROY                      MI           48084
    K PROMOTIONS LTD                                                             105 BRISBANE RD                           UNIT 1                                                              TORONTO                   ON           M3J 2K6      CANADA
    K VA T FOOD STORES INC                                                       PO BOX 1158                                                                                                   ABINGDON                  VA           24212
    KA ELIE LLC                                                                  851 BURLWAY RD                            STE 700                                                             BURLINGAME                CA           94010
    KA EQUITIES LLC DBA BUSINESS CAPITAL MART                                    3 GOLF CTR                                STE 253                                                             HOFFMAN ESTATES           IL           60169
    KAISER PERMANENTE                                                            ONE KAISER PLZ 17L                                                                                            OAKLAND                   CA           94612
    KAISER PERMANENTE                                                            PO BOX 741562                                                                                                 LOS ANGELES               CA           90074-1562
    KALA GROUP LLC                                                               1250 S CAPITAL OF TEXAS HWY               BLDG 3 STE 400                                                      AUSTIN                    TX           78746
    KALMON PRODUCTIONS LLC                                                       825 MINSTERWORTH DR                                                                                           ALPHARETTA                GA           30022
    KAMEHAMEHA SCHOOLS BISHOP ESTATE                                             PO BOX 30070                                                                                                  HONOLULU                  HI           96820-0070
    KAMLOOPS DAILY NEWS                                                          393 SEYMOUR ST                                                                                                KAMLOOPS                  BC           V2C 6P6      CANADA
    KAMLOOPS OFFICE SYSTEMS                                                      1406 LORNE ST                                                                                                 KAMLOOPS                  BC           V2C 1X4      CANADA
    KAMPO HOLDINGS                              C O LEGENDS REAL ESTATE GROUP    4728 MAIN ST                                                                                                  VANCOUVER                 BC           V5V 3R7      CANADA
    KAMRYN TSUI                                                                  ADDRESS ON FILE
    KANDELA EDDIE                                                                ADDRESS ON FILE
    KANDELA RICHARD                                                              ADDRESS ON FILE
    KANE JAMES                                                                   ADDRESS ON FILE
    KANSAS CITY POWER AND LIGHT                                                  PO BOX 219330                                                                                                 KANSAS CITY               MO           64121-9330
    KANSAS CORPORATE TAX                                                         915 SW HARRISON ST                                                                                            TOPEKA                    KS           66612-1588
    KANSAS CORPORATE TAX                        KANSAS DEPARTMENT OF REVENUS     PO BOX 750680                                                                                                 TOPEKA                    KS           66675-0680
    KANSAS CORPORATE TAX KANSAS DEPARTMENT
    OF REVENUE                                                                   PO BOX 750260                                                                                                 TOPEKA                    KS           66699-0260
    KANSAS DEPARTMENT OF REVENUE                                                 120 SE 10TH AVE                           PO BOX 3506                                                         TOPEKA                    KS           66625-3506
    KANSAS DEPARTMENT OF REVENUE                                                 PO BOX 3506                                                                                                   TOPEKA                    KS           66625-3506
    KANSAS GAS SERVICE                                                           PO BOX 219046                                                                                                 KANSAS CITY               MO           64121-9046
    KANSAS SECRETARY OF STATE                                                    MEMORIAL HALL 1ST FL                      120 SW 10TH AVE RM 100                                              TOPEKA                    KS           66612-1594
    KANSAS UNCLAIMED PROPERTY                   ATTN HOLDER SERVICES             900 SW JACKSON                            STE 201                                                             TOPEKA                    KS           66612-1235
    KANSASA CITY ST PAT PARADE                                                   KCSPDPC                                   7539 BALTIMORE                                                      KANSAS CITY               MO           64114
    KARABELAS AND PAPAGIANOPOULOS LLP                                            31 10 37TH AVE STE 301                                                                                        LONG ISLAND CITY          NY           11101
    KAREN HELEN PECK                                                             ADDRESS ON FILE
    KAREN REDDING LLC                                                            PO BOX 5723                                                                                                   FREDERICKSBURG            VA           22403
    KAREN RENNOLDS SILVA                                                         ADDRESS ON FILE
    KARI E SUMMERS                                                               ADDRESS ON FILE
    KARINA CABALLERO                                                             ADDRESS ON FILE
    KARLA ALEJANDRA ALFARO FIGUEROA                                              ADDRESS ON FILE
    KARNAGE ASADA                                                                ADDRESS ON FILE
    KARNES TAMI                                                                  ADDRESS ON FILE
    KAROLINA GAVILAN                                                             ADDRESS ON FILE
    KASHOO CLOUD ACCOUNTING INC                                                  302 343 RAILWAY ST                                                                                            VANCOUVER                 BC           V6A 1A4      CANADA
    KASI BREWER                                                                  ADDRESS ON FILE


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    KASKADE SATYA GRACE                                                            ADDRESS ON FILE
    KASOWITZ BENSON TORRES LLP                                                     1633 BROADWAY                                                                                                 NEW YORK                NY           10019
    KAST REALTY ENTERPRISES                                                        601 THOROUGHBRED LN                                                                                           ELIZABETHTOWN           KY           42701
    KATHERINE VONESSA CARDENAS                                                     ADDRESS ON FILE
    KATHLEEN DONOVAN                                                               ADDRESS ON FILE
    KATHY M JACKSON                                                                ADDRESS ON FILE
    KATIE LOVELACE                                                                 ADDRESS ON FILE
    KATIE POTTER                                                                   ADDRESS ON FILE
    KATTEN MUCHIN ROSENMAN LLP                                                     2900 K ST NW                            N TOWER STE 200                                                       WASHINGTON              DC           20007-5118
    KATTY NGUYEN                                                                   ADDRESS ON FILE
    KATZ RADIO NEW YORK                                                            125 W 55TH ST                                                                                                 NEW YORK                NY           10019
    KAUFMAN AND CANOLES                                                            PO BOX 3037                                                                                                   NORFOLK                 VA           23514
    KAUFMAN PA                                                                     31 SAMANA DR                                                                                                  MIAMI                   FL           33133
    KAY ELENA                                                                      ADDRESS ON FILE
    KAYLA FERRE                                                                    ADDRESS ON FILE
    KAYLA RENEE BRANSCUM                                                           ADDRESS ON FILE
    KAYSEY HOLDINGS MANAGEMENT INC                                                 15529 CARDAMON WAY                                                                                            TUSTIN                  CA           92782
    KAZR FM                                                                        1416 LOCUST ST                                                                                                DES MOINES              IA           50309
    KCAL FM                                                                        1940 ORAGNGE TREE LN                    STE 200                                                               REDLANDS                CA           92374
    KCAP COBOURG INC                                                               STE 1001                                45 ST CLAIR AVE W                                                     TORONTO                 ON           M4V 1K9      CANADA
    KCOM CORPORATION                                                               PO BOX 29960                                                                                                  HONOLULU                HI           96820
    KCP AND L                                                                      PO BOX 219330                                                                                                 KANSAS CITY             MO           64121-9330
    KDI PANAMA MALL LLC                                                            PO BOX 931162                                                                                                 ATLANTA                 GA           31193-1162
    KDLO                                                                           921 9TH AVE SE                                                                                                WATERTOWN               SD           57201
    KDM BUSINESS CONSULTING                                                        4 SKYGATE                                                                                                     ALISO VIEO              CA           92656
    KDVA TV60                                                                      6234 SAN PEDRO                                                                                                SAN ANTONIO             TX           78216
    KEANE INC                                                                      PO BOX 4201                                                                                                   BOSTON                  MA           02211
    KEANE INC COBRA BILLING                   COBRA BILLING AETNA US HEALTH        151 FARMINGTON AVE                                                                                            HARTFORD                CT           06156
    KECHELLE HADLEY                                                                ADDRESS ON FILE
    KEEL AND COMPANY LLC                                                           1032 BELLS RD                           STE 101                                                               VIRGINIA BEACH          VA           23451
    KEEPSAFE PROTECTION SERVICES                                                   PO BOX 299                                                                                                    MARKHAM                 ONTARIO      L3P 3J7      CANADA
    KEITER STEPHENS HURST GARY AND SHREAVES
    PC                                        DBA KEITER                           4401 DOMINION BLVD                                                                                            GLEN ALLEN              VA           23060
    KEITH N YUNG ATTORNEY AT LAW                                                   138 20 38TH AVE STE 11G                                                                                       FLUSHING                NY           11354
    KEITH TURNER DBA QUICKSILVER FUNDING
    SOLUTIONS                                                                      10130 MALLARD CREEK RD                                                                                        CHARLOTTE               NC           28214
    KEKST AND COMPANY INC DBA KEKST CNC                                            437 MADISON AVE                         37TH FL                                                               NEW YORK                NY           10022
    KELEIGH KEOLANI MILLIORN                                                       ADDRESS ON FILE
    KELLAM MECHANICAL                                                              2536 HORSE PASTURE RD                                                                                         VIRGINIA BEACH          VA           23453
    KELLAM PHILIP J                                                                ADDRESS ON FILE
    KELLER AND HECKMAN LLP                                                         1001 G ST NW                            STE 500 W                                                             WASHINGTON              DC           20001
    KELLER ELECTRIC LIMITED                                                        513 CARYNDALE DR                                                                                              KITCHENER               ON           N2R 1K8      CANADA
    KELLEY BLUE BOOK INC                                                           PO BOX 935634                                                                                                 ATLANTA                 GA           31193-5634
                                              C O PICERNE REAL ESTATE COMMERCIAL
    KELLY AND PICERNE INC                     DEPT                                 75 LAMBERT LIND HWY                                                                                           WARWICK                 RI           02886
    KELLY SERVICES INC                                                             999 W BIG BEAVER RD                                                                                           TROY                    MI           48084
    KELSEY ROBINSON                                                                ADDRESS ON FILE
    KELSON DEVELOPMENT                                                             203 1811 VICTORIE ST                                                                                          PRINCE GEORGE           BC           V2L 2L6      CANADA
    KELSWOOD PROPERTIES INC                                                        MCCOR MANAGEMENT                        300 2550 12TH AVE                                                     REGINA                  SK           S4P 3X1      CANADA
    KELVINGTON ESQ M JOANNA                                                        ADDRESS ON FILE
    KEMPSITY PHIL                                                                  ADDRESS ON FILE
    KEMPSVILLE LIONS CLUB                                                          5117 STRATFORD CHASE DR                                                                                       VIRGINIA BEACH          VA           23464
    KEMPSVILLE ROOFING INC                                                         1147 HARMONY RD                         STE 11                                                                NORFOLK                 VA           23502
    KEN FISK                                                                       ADDRESS ON FILE
    KEN JOURNAGAN                                                                  ADDRESS ON FILE
    KEN REID INC                                                                   5713 THURSTON AVE                       PO BOX 5669                                                           VIRGINIA BEACH          VA           23455
    KENAI PENINSULA BOROUGH                                                        ADDRESS ON FILE
    KENAI PLAZA GENERATIONS LLC               FINANCIAL ASSOCIATES                 411 W CONGRESS                                                                                                TUCSON                  AZ           85701
    KENDALL CENTER MANAGEMENT LLC                                                  7171 SW 62ND AVE 4TH FL                                                                                       S MIAMI                 FL           33143
    KENDALL ROBINSON                                                               ADDRESS ON FILE
    KENDALL SIGN INC                                                               2750 BURLINGAME AVE                                                                                           WYOMING                 MI           49509
    KENDALLVILLE PUBLISHING CO EVENING STAR                                        PO BOX 39                                                                                                     KENDALLVILLE            IN           46755-0039
    KENDRICK PROPERTIES INC                   C O CARLISLE INTEREST INC            PO BOX 7270                                                                                                   DALLAS                  TX           75209
    KENILWORTH MEDIA INC                                                           15 WERTHEIM CT STE 710                                                                                        RICHMOND HILL           ON           L4B 3H7      CANADA
    KENMORE CAPITAL CORPORATION                                                    1010 LAKE ST                            STE 200                                                               OAK PARK                IL           60301
    KENNEDY BOBBY                                                                  ADDRESS ON FILE
    KENNEDY RON                                                                    ADDRESS ON FILE
    KENNER PC III LLC                         ATTN STACY RAMBOW                    900 TOWN AND COUNTRY LN 210                                                                                   HOUSTON                 TX           77024
    KENNETH L MAUN TAX ACCESSOR COLLECTOR                                          COLLIN COUNTY TAX OFFICE                PO BOX 8046                                                           MCKINNEY                TX           75071-8046
    KENNETH MANESSE DBA DIRECT FUNDING NOW
    LLC                                                                            18100 VON KARMAN AVE                    STE 850                                                               IRVINE                  CA           92612
    KENNETH MARK YOUNG                                                             ADDRESS ON FILE
    KENNETH PIERRE LOUIS                                                           ADDRESS ON FILE
    KENNETH R BRYAN                                                                ADDRESS ON FILE
    KENNETH R KRING                                                                ADDRESS ON FILE
    KENNETH WOODS                                                                  ADDRESS ON FILE
    KENT POWELL                                                                    ADDRESS ON FILE
    KENTON COUNTY                                                                  FISCAL CT                               PO BOX 706237                                                         CINCINNATI              OH           45270
    KENTUCKY INTELLIGENCE SERVICE                                                  1217 MAN O WAR DR                                                                                             FRANKFORT               KY           40601
    KENTUCKY STATE TREASURER                                                       KENTUCKY DEPARTMENT OF REVENUE                                                                                FRANKFORT               KY           40620
    KENTUCKY STATE TREASURER                                                       KENTUCKY DEPT OF REVENUE                                                                                      FRANKFORT               KY           40620-0021
    KENTUCKY STATE TREASURER                                                       PATRICIA 3945                           DEPARTMENT OF REVENUE STATION 52             PO BOX 181               FRANKFORT               KY           40601
    KENTUCKY STATE TREASURER UNCLAIMED
    PROPERTY                                  UNCLAIMED PROPERTY DIVISION          1050 US HWY 127 S                       STE 100                                                               FRANKFORT               KY           40601
    KENTUCKY UTILITIES                                                             PO BOX 14242                                                                                                  LEXINGTON               KY           40512-4242
    KENTWOOD SPRINGS                                                               PO BOX 660579                                                                                                 DALLAS                  TX           75266-0579
    KEQ PROPERTIES LLC                                                             263 PARK RD                                                                                                   RIVERHEAD               NY           11901
    KERRVILLE DAILY TIMES                                                          429 JEFFERSON ST                                                                                              KERRVILLE               TX           78028
    KETTLER USA                                                                    1355 LONDON BRIDGE RD                                                                                         VIRGINIA BEACH          VA           23453


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                        Name                                 Attention                          Address 1                                Address 2                           Address 3                     City        State       Zip          Country
    KEVIN AYER                                                                ADDRESS ON FILE
    KEVIN C REILLY                                                            ADDRESS ON FILE
    KEVIN DUSZA                                                               ADDRESS ON FILE
    KEVIN HAMMOND                                                             ADDRESS ON FILE
    KEVIN JAMES FINNERAN                                                      ADDRESS ON FILE
    KEVIN M ROSS                                                              ADDRESS ON FILE
    KEVIN MCNEILL STATE MARSHALL                                              ADDRESS ON FILE
    KEVIN REED                                                                ADDRESS ON FILE
    KEVIN STEINMETZ                                                           ADDRESS ON FILE
    KEVIN T AND VALERIE A BYRNE                                               ADDRESS ON FILE
    KEVIN W AND NANCY M WHITE                                                 ADDRESS ON FILE
    KEY BUSINESS SOLUTIONS                                                    575 VIRGINIA DR                         STE E                                                              FORT WASHINGTON          PA           19034
    KEY LEASE CANADA LTD                                                      1745 VICTORIA ST                                                                                           PRINCE GEORGES           BC           V2L 2L6      CANADA
    KEYSER AVE PROPERTIES LLC                SAM NEIKEN JR                    317 KEYSER AVE                                                                                             NATCHITOCHES             LA           71457
    KEYWEST LOCK AND SAFE                                                     4291 HOLLAND RD                         STE 113                                                            VIRGINIA BEACH           VA           23452
    KFDX TV                                                                   PO BOX 4888                                                                                                WICHITA FALLS            TX           76308
    KFG WVC INVESTMENTS LTD                                                   74 E 500 S STE 200                                                                                         BOUNTIFUL                UT           84010
    KG ADVANCES INC                                                           2082 UTICA AVE                                                                                             BROOKLYN                 NY           11234
    KG ENTERPRISES                                                            79 DAILY DR                                                                                                CAMARILLO                CA           93010
    KG VENTURES                                                               26395 SIENIC RD                                                                                            CARMEL                   CA           93923
    KH FOOD INDUSTRY LTD                                                      771 DAVIE ST                                                                                               VANCOUVER                BC           V6Z 2S7      CANADA
    KHAN RAHAT                                                                ADDRESS ON FILE
    KHOA PHAN                                                                 ADDRESS ON FILE
    KHTT FM                                                                   7030 S YALE AVE 711                                                                                        TULSA                    OK           74136
    KIDD CHARLIE                                                              ADDRESS ON FILE
    KIDS IN MOTION                                                            202 9637 45 AVE                                                                                            EDMONTON                 AB           T6E 5Z8      CANADA
    KIDS SAFE                                                                 202 9637 45 AVE                                                                                            EDMONTON                 AB           T6E 5Z8      CANADA
    KIFI TV                                                                   PO BOX 2148                                                                                                IDAHO FALLS              ID           83403-2148
    KILDON PLACE PROMOTION FUND                                               1555 REGENT AVE W                                                                                          WINNIPEG                 MANITOBA     R2C 4J2      CANADA
    KILDONAN PLACE                                                            1555 REGENT AVE W                       W WINNIPEG                                                         MANITOBA                 MANITOBA     R2C 4J2      CANADA
    KILDONAN VILLAGE LIMITED                                                  5TH FL 305 BROADWAY                                                                                        WINNIPEG                 MANITOBA     R3C 3J7      CANADA
    KILDONAN VILLAGE LTD                                                      5TH FL 305 BROADWAY AVE                                                                                    WINNIPEG                 MANITOBA     R3C 3J7      CANADA
    KILLEEN MALL MEMBERS LLC                 DBA KILLEEN MALL LLC             124 JOHNSON FERRY RD NE                                                                                    ATLANTA                  GA           30328
    KILLINGSWORTH DONNA                                                       ADDRESS ON FILE
    KIM B PETERSON                                                            ADDRESS ON FILE
    KIM CAMARATA                                                              ADDRESS ON FILE
    KIM HOAN LLC                                                              ADDRESS ON FILE
    KIM MOODY                                                                 ADDRESS ON FILE
    KIM R ROSSITER                                                            ADDRESS ON FILE
    KIMBALL OFFICE SUPPLY                                                     901 MAIN ST                                                                                                KIMBALL                  TN           37347
    KIMBALL THOMAS R                                                          ADDRESS ON FILE
    KIMBERLY J HUSTED CHAPTER 7 TRUSTEE                                       11230 GOLD EXPRESS DR                   STE 310 411                                                        GOLD RIVER               CA           95670
    KIMBERLY PINEDA                                                           ADDRESS ON FILE
    KIMBERLY S PIERCE                                                         ADDRESS ON FILE
    KIMBERLY STONE                                                            ADDRESS ON FILE
    KIMBLE DEVELOPMENT OF BAKER LLC DO NOT
    USE                                                                       10606 COURSEY BLVD STE B                                                                                   BATON ROUGE              LA           70816
    KIMCO REALTY CORP 3333                                                    NEW HYDE PARK RD STE 100                PO BOX 5020                                                        NEW HYDE PARK            NY           11042
    KIMCO REALTY CORPORATION                                                  PO BOX 30344                                                                                               TAMPA                    FL           33630
    KIMMEL AND SILVERMAN PC                                                   30 E BUTLER PIKE                                                                                           AMBLER                   PA           19002
    KIMS MANAGEMENT INC                                                       1919 METROPOLITAN PKWY SW                                                                                  ATLANTA                  GA           30315
    KINETO VAN LINES                                                          4161 RANEY CRESCENT                                                                                        LONDON                   ONTARIO      N6L 1C4      CANADA
    KING CHRIS                                                                ADDRESS ON FILE
    KING COUNTY TREASURER                                                     500 4TH AVE                             600                                                                SEATTLE                  WA           98104-2340
    KING OF SIGNS LLC                                                         205 HYDE PARK LN                                                                                           FORT MILL                SC           29708
    KING RESTORATION LLC                                                      1200 RIVER AVE UNIT 10C                                                                                    LAKEWOOD                 NJ           08701
    KINGDOM WORK                                                              7104 HANNA CIR                                                                                             THE COLONY               TX           75056
    KINGS MOVING LLC                                                          PO BOX 11042                                                                                               NORFOLK                  VA           23517
    KINGS VICTORIAN INN                                                       PO BOX 795                                                                                                 HOT SPRINGS              VA           24445
    KINGSPORT TIMES NEWS                                                      701 LYNN GARDEN DR                      PO BOX 479                                                         KINGSPORT                TN           37662
    KINGSTON FRONTENAC HOCKEY CLUB                                            PO BOX 665                                                                                                 KINGSTON                 ON           K7L 4P1      CANADA
    KINKOS GA PO BOX 105522                  CUSTOMER ADMIN SERVICES          PO BOX 105522                                                                                              ATLANTA                  GA           30348-5522
    KINKOS TX 672085                         CUSTOMER ADMINISTRATIVE SERVIC   PO BOX 672085                                                                                              DALLAS                   TX           75267-2085
    KIPLING REALTY MANAGEMENT INC                                             10080 JASPER AVE STE 712                                                                                   EDMONTON                 ALBERTA      T5J 1V9      CANADA
    KIPLINGER TAX LETTER                                                      PO BOX 3299                                                                                                HARLAN                   IA           51593-0479
    KIPLINGER TAX LETTER                                                      SUBSCRIPTION SERVICE CTR                PO BOX 10106                                                       DES MOINES               IA           50340-0106
    KIRBY MARKETING SOLUTIONS INC                                             3327 TEMPE DR                                                                                              HUNTINGTON BEACH         VA           92649
    KIRKE SZAWRONSKI                                                          ADDRESS ON FILE
    KIRKLAND AND ELLIS LLP                                                    601 LEXINGTON AVE                                                                                          NEW YORK                 NY           10022
    KIRKPATRICK KEVIN                                                         ADDRESS ON FILE
    KIS COMPUTERS                                                             PO BOX 8413                                                                                                VIRGINIA BEACH           VA           23452
    KISS 1027                                                                 102 PARKWOOD CIR                                                                                           CARROLLTON               GA           30117
    KISSIMMEE UTILITY AUTHORITY                                               PO BOX 850001                                                                                              ORLANDO                  FL           32885-0096
    KITCH DRUTCHAS WAGNER VALITUTTI                                           ADDRESS ON FILE
    KITCHENER MEMORIAL AUDITORIUM COMPLEX                                     400 E AVE                                                                                                  KITCHENER                ON           N2H 126      CANADA
    KITCHENER RANGERS JR A HOCKEY CLUB                                        PO BOX 43013                            EASTWOOD SQUARE                                                    KITCHENER                ON           N2H 6S9      CANADA
    KITCHENER UTILITIES                                                       CITY HALL 200 KING ST W                 PO BOX 1113                                                        KITCHENER                ON           N2G 4R6      CANADA
    KITCHENER VICTORIA HOLDINGS INC                                           214 MERTON ST                           UNIT 300                                                           TORONTO                  ON           M4S 1A6      CANADA
    KITCHENER WILMOT HYDRO INC                                                301 VICTORIA ST S                       PO BOX 9021                                                        KITCHENER                ON           N2G 4P1      CANADA
    KITCHENERCLEAN                                                            565 LANDGREN CT                                                                                            KITCHENER                ON           N2A 0G8      CANADA
    KITCHENS SUZANNE                                                          ADDRESS ON FILE
    KITSAP COUNTY                            C O REID PROPERTY MANAGEMENT     9564 SILVERDALE WAY STE 200                                                                                SILVERDALE               WA           98383
    KIZZ                                                                      937 FM                                  PO BOX 847158                                                      DALLAS                   TX           75284-7158
    KJE COMPUTER SOLUTIONS LLC                                                1730 NEW BRIGHTON BLVD                  PMB 111                                                            MINNEAPOLIS              MN           55413
    KJJY FM                                                                   4143 109TH ST                                                                                              URBANDALE                IA           50322
    KJMZ                                                                      1525 SE FLOWERMOUND RD                                                                                     LAWTON                   OK           73501
    KJTL FOX 18                                                               PO BOX 4888                                                                                                WICHITA FALLS            TX           76308
    KKFR                                                                      4745 N 7TH ST                           410                                                                PHOENIX                  AZ           85014



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                       Name                                    Attention                                Address 1                                 Address 2                           Address 3                     City        State         Zip          Country
    KLCT FM                                                                            PO BOX 47432                                                                                               WICHITA                  KS             67201
    KLDISCOVERY ONTRACK LLC                                                            8201 GREENSBORO DR                      STE 300                                                            MCLEAN                   VA             22102
    KLEIN HALEY                                                                        ADDRESS ON FILE
    KLEIN HALEY                                                                        ADDRESS ON FILE
    KLINE PATRICIA A                                                                   ADDRESS ON FILE
    KLM WINDOW CLEANERS                                                                67 HIGHLAND PARK MOBILE ESTATE                                                                             BRANDON                  MANITOBA       R7C 0A8      CANADA
    KLONDIKE BROADCASTING                                                              203 4103 4TH AVE                                                                                           WHITEHORSE               YK             Y1A 1H6      CANADA
    KLPR                                                                               700 WELLINGTON HILLS RD                                                                                    LITTLE ROCK              AR             72211
    KLQL RADIO                                                                         1140 150TH AVE                                                                                             LUVERNE                  MN             56156
    KLS DIRECT MARKETING                                                               6199 REMINGTON PARK                                                                                        LITHONIA                 GA             30058
    KLS MEDIA GROUP                                                                    6199 REMINGTON PARK                                                                                        LITHONIA                 GA             30058
    KLSL REALTY LLC                                                                    655 WARREN ST                                                                                              DORCHESTER               MA             02121
    KLTI FM                                                                            1416 LOCUST ST                                                                                             DES MOINES               IA             50309
    KLUR CUMULUS BROADCASTING                                                          PO BOX 643243                                                                                              CINCINNATI               OH             45264-3243
                                                C O KM REALTY ADVISORS LLC ATTN STEVAN
    KM EQYPT CROSSING LP                        STONE                                  6363 WOODWAY DR STE 650                                                                                    HOUSTON                  TX             77057
    KM REALTY MANAGEMENT LLC                                                           6363 WOODWAY                            STE 650                                                            HOUSTON                  TX             77057
                                                ATTN FINANCE MANAGER LICENSED
    KMART CORPORATION                           BUSINESS                               3333 BEVERLY RD MAIL STATION A2 384B                                                                       HOFFMAN ESTATES          IL             60179
    KMITCHELL INC DBA SPEAK                                                            2229 MARIPOSA AVE                                                                                          BOULDER                  CO             80302
    KMXA                                                                               999 FM                                  PO BOX 847158                                                      DALLAS                   TX             75284-7158
    KMXV FM                                     C O BANK ONE                           23014 NETWORK PL BOX 23014                                                                                 CHICAGO                  IL             60673
    KNIFFEN FAMILY FINANCIAL SERVICE LLC                                               7685 MCLAUGHLIN RD 170                                                                                     PEYTON                   CO             80831
    KNILA TECHNOLOGIES LLC                                                             2725 VISTA BLUFF BLVD                                                                                      LEWISVILLE               TX             75067
    KNOWBE4 INC                                                                        33 N GARDEN AVE                         STE 1200                                                           CLEARWATER               FL             33755
    KNOWLEDGE BUREAU INC                                                               187 ST MARYS RD                                                                                            WINNIPEG                 MB             REH 1J2      CANADA
    KNOWLEDGE FRONT                                                                    8932 OLD CEDAR AVE S                                                                                       BLOOMINGTON              MN             55425
    KNOWLES JOSEPH                                                                     ADDRESS ON FILE
    KNOWLES W F BILL                                                                   ADDRESS ON FILE
    KNOX COUNTY CLERK                                                                  PO BOX 1566                                                                                                KNOXVILLE                TN             37901
    KNOX SERVICES LLC                                                                  2250 FOURTH AVE                                                                                            SAN DIEGO                CA             92101-2124
    KNOXVILLE MAYNARDVILLE LLC                  DBA KNOXVILLE MAYNARDVILLE LLC         6332 BAUM DR                                                                                               KNOXVILLE                TN             37919
    KO FAMILY SQUARE                                                                   553 DOLLY PARTON PKWY                                                                                      SEVIERVILLE              TN             37862
    KOEHLER AND COMPANY                                                                1601 FIFTH AVE                          STE 1700                                                           SEATTLE                  WA             98101
    KOETH RAYMOND                                                                      ADDRESS ON FILE
    KOFAX INC                                                                          PO BOX 748127                                                                                              LOS ANGELES              CA             90074-8127
    KOGER ANNETTE                                                                      ADDRESS ON FILE
    KOHR ROYER GRIFFITH                                                                ADDRESS ON FILE
    KOHR ROYER GRIFFITH INC                                                            1480 DUBLIN RD                                                                                             COLUMBUS                 OH             43215

    KOLBACH AND ASSOICATES INVESTIGATIONS INC                                          PO BOX 1411                                                                                                RAPID CITY               SD             57709
    KOMARA TODD                                                                        ADDRESS ON FILE
    KOMMOORI SRINIVAS                                                                  ADDRESS ON FILE
    KONAT PETER                                                                        ADDRESS ON FILE
    KONICA MINOLTA BUSINESS                                                            3450 SUPERIOR CT UNIT 1                                                                                    OAKVILLE                 ON             L6L 0C4      CANADA
    KONICA MINOLTA BUSINESS SOLUTIONS CANADA
    LTD                                                                                PO BOX 4563 TORONTO STATION A                                                                              TORONTO                  ON             M5W 0H1      CANADA
    KOONS ROBERT                                                                       ADDRESS ON FILE
    KOOTENAI COUNTY TREASURER                                                          451 GOVERNMENT WAY                                                                                         COEUR DALENE             ID             83814
    KOPY COPY                                                                          825 DENISON ST UNIT 15                                                                                     MARKHAM                  ON             L3R 5E4      CANADA
    KOREM CORPORATION                           DBA PRIMUS GEOGRAPHICS INC             7000 E BELLEVIEW AVE STE 260                                                                               GREENWOOD VILLAGE        CO             80111
    KORN FERRY                                                                         ADDRESS ON FILE
    KORONA ALBERT                                                                      ADDRESS ON FILE
    KOTTKE ISABELLE                                                                    ADDRESS ON FILE
    KOUROS HOLDINGS LTD                                                                2302 9TH AVE N                                                                                             REGINA                   SASKATCHEWAN   S4R 8C5      CANADA
    KOVEL FULLER LLC                                                                   9925 JEFFERSON BLVD                                                                                        CULVER CITY              CA             90232
    KP AND SONS LLC PRABIN SHRESTHA                                                    701 RUSSELL AVE F 203                                                                                      GAITHERSBURG             MD             20877
    KP REALTY SERVICES INC                                                             2005 MUD LAKE RD                                                                                           PLANT CITY               FL             33566
    KPK PROPERTIES LLC                                                                 KUN KIM                                 616 GOLFVIEW DR                                                    PEACHTREE CITY           GA             30269
    KPK RENTALS LLC                             C O KEN KLEINRICHERT                   1028 HANNAH ST STE C                                                                                       TRAVERSE CITY            MI             49686
    KPMG                                                                               PO BOX 4348 STATION A                                                                                      TORONTO                  ON             M5W 7A6      CANADA
    KPMG CANADA                                                                        PO BOX 4348 STATION A                                                                                      TORONTO                  ON             M5W 7A6      CANADA
    KPMG LLP 416094                                                                    PO BOX 416094                                                                                              BOSTON                   MA             02241-6094
    KPMG LLP DALLAS                                                                    DEPT 0522                               PO BOX 120522                                                      DALLAS                   TX             75312-0522
    KPMG LLP DOMINION TOWER                                                            2100 DOMINION TOWER                     999 WATERSIDE DR                                                   NORFOLK                  VA             23510
    KPMG LLP NJ                                 ATTN ALICJA WIDELSKI                   PO BOX 23331                                                                                               NEWARK                   NJ             07189
    KPMG LLP TX INACTIVE                        C O KRISTI SUTTON                      717 N HARWOOD ST STE 3100                                                                                  DALLAS                   TX             75104
    KQQQ 921 FM KQQT 1063 FM                    RADIO LATINO                           1707 N MAYS                                                                                                ROUND ROCK               TX             78664
    KQRC RADIO                                                                         PO BOX 803921                                                                                              KANSAS CITY              MO             64180-3921
    KRAMONT REALTY TRUST                        C O KRAMONT REALTY TRUST               580 W GERMANTOWN PIKE 200                                                                                  PLYMOUTH MEETING         PA             19462
    KRANZ W PATRICK                                                                    ADDRESS ON FILE
    KRATT COMMERCIAL PROPERTIES                                                        102 N CASCADE AVE                       STE 250                                                            COLORADO SPRINGS         CO             80903
    KRESSLY PARTNERSHIP                                                                10415 NW 7TH AVE                                                                                           MIAMI                    FL             33150
    KRF COMMERCE CITY LLC                                                              1509 YORK ST STE 201                                                                                       DENVER                   CO             80206
    KRG INC                                     C O KOHR ROYER GRIFFITH INC            1480 DUBLIN RD                                                                                             COLUMBUS                 OH             43215
    KRISLEN MANAGEMENT CORPORATION                                                     1500 WHITE PLAINS RD                                                                                       BRONX                    NY             10462
    KRISPY KREME DOUGHNUT CORPORATION 465                                              3615 E LAKE AVE                                                                                            TAMPA                    FL             33610
    KRISTI JO SHERMAN                                                                  ADDRESS ON FILE
    KRISTIN M PETERSON                                                                 ADDRESS ON FILE
    KRISTOF TSANG                                                                      ADDRESS ON FILE
    KRISTOF TSANG DBA ALVETA CONSULTING LLC                                            1242 DUXBURY CR                                                                                            CORONA                   CA             92882
    KRLA                                                                               4201 W ALAMEDA AVE                                                                                         BURBANK                  CA             91505
    KROHN AND MOSS LTD                                                                 1112 OCEAN DR                           STE 301                                                            MANHATTAN BEACH          CA             90266
    KROLOFFBELCHER SMART PERRY AND
    CHRISTOPHERSON                                                                     7540 SHORELINE DR                                                                                          STOCKTON                 CA             95219
    KROMA PRINTING                                                                     875 AVE OF THE AMERICAS                                                                                    NEW YORK                 NY             10001
    KRUG AND SONS INC                                                                  5706 ROTH WAY                                                                                              KNOXVILLE                TN             37918
    KRYSSI CONTRERAS                                                                   ADDRESS ON FILE
    KSAT 12                                                                            1408 N ST MARYS ST                                                                                         SAN ANTONIO              TX             78215


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                         Name                                  Attention                           Address 1                                  Address 2                           Address 3                      City        State       Zip          Country
    KSEY TEJANO 1230 AM                                                             700 8TH ST                             STE 210                                                            WICHITA FALLS             TX           76301
    KSG DEVELOPMENT LLP                                                             16800 W CLEVELAND AVE                                                                                     NEW BERLIN                WI           53151
    KSK ENTERPRISE LLC                                                              1701 WINDSOR PL                                                                                           NICHOLS HILLS             OK           73116
    KTL SOLUTIONS INC                                                               7309C GROVE RD                                                                                            FREDERICK                 MD           21704
    KTS                                                                             85 TIMBERS CIR                         STE 2                                                              MARKHAM                   ON           L3S 1V7      CANADA
    KUJICHAGULIA ACADEMY AFRIKAN AMER FAMILY
    DAY                                                                             598 LIBERTY ST                                                                                            CHESAPEAKE                VA           23324
    KULLMAN INDUSTRIES                                                              ONE CORPORATE CAMPUS                                                                                      LEBANON                   NJ           08833
    KULRAJ PLAZA                                                                    7420 149TH ST                                                                                             SURREY                    BC           V3S0T9       CANADA
    KULT JEFF                                                                       ADDRESS ON FILE
    KULWINDER AND JASBIR RAI                                                        ADDRESS ON FILE
    KVL AUDIO VISUAL SYSTEMSQ                                                       466 SAW MILL RIVER RD                                                                                     ARDS EY                   NY           10502-2112
    KWOA FM                                                                         28779 COUNTY HWY 35                                                                                       WORTHINGTON               MN           56187
    KXHT RADIO                                                                      6080 MT MORIAH                                                                                            MEMPHIS                   TN           38115
    KXPK FM LOTUS ENTRAVISION REPS                                                  220 MIRACLE MILE S 205                                                                                    CORAL GABLES              FL           33134
    KYCK FM                                                                         PO BOX 3638                                                                                               GRAND FORKS               ND           58208
    KYLE PHILIP KIMBLE WINTER                                                       ADDRESS ON FILE
    KYLIE ANDERSON                                                                  ADDRESS ON FILE
    KYOKO M HAWKINS                                                                 ADDRESS ON FILE
    KYU SIK LEE                                                                     ADDRESS ON FILE
    KYYX                                                                            971 FM                                 PO BOX 847158                                                      DALLAS                    TX           75284-7158
    KZFM MALKAN BROADCASTING                                                        PO BOX 9757                                                                                               CORPUS CHRISTI            TX           78469
    KZPR                                                                            1053 FM                                PO BOX 847158                                                      DALLAS                    TX           75284-7158
    L AND M MASTER FUND SERIES LLC SERIES WEST
    HARLEM                                       DBA WEST HARLEM OWNER LLC          1865 PALMER AVE STE 203                                                                                   LARCHMONT                 NY           10835
    L E BALLANCE ELECTRICAL SERVICE                                                 PO BOX 2336                                                                                               CHESAPEAKE                VA           23327
    L LAYCOCK                                                                       8139 NORTHWOOD                                                                                            HALFMON BAY               BC           V0N 1Y1      CANADA
    L3 FUNDING LLC                                                                  201 S BISCAYNE BLVD                    28TH FL                                                            MIAMI                     FL           33131
    LA CROSSE CITY TREASURER                                                        400 LA CROSSE ST                                                                                          LA CROSSE                 WI           54601-3396
    LA CUADRA LLC                                                                   PO BOX 7537                                                                                               OMAHA                     NE           68107
    LA DE LLC                                                                       PO BOX 757                                                                                                SILOAM SPRINGS            AR           72761
    LA MEGA MEDIA INC                                                               5151 REED RD STE 211A                                                                                     COLUMBUS                  OH           43220
    LA MOVIDITA                                                                     4015 BROWNSBORO RD 200                                                                                    WINSTON SALEM             NC           27106
    LA OLA LATINO AMERICANO                                                         PO BOX 22056                                                                                              INDIANAPOLIS              IN           46222-0056
    LA PRO LLC                                                                      555 ZOOT ENTERPRISES LN                                                                                   BOZEMAN                   MT           59718
    LA QUINTA 0644 DENVER NORTH GLENN                                               345 120TH AVE W                                                                                           WESTMINISTER              CO           80234
    LA QUINTA INN 0647 SAN DIEGO CHULA                                              150 BONITA RD                                                                                             CHULA VISTA               CA           91910
    LA QUINTA INN AND SUITES                                                        6619 TRANSIT RD                                                                                           WILLIAMSVILLE             NY           14221

    LA QUINTA INN AND SUITES CHICAGO DOWNTOWN                                       ONE S FRANKLIN ST                                                                                         CHICAGO                   IL           60606
    LA QUINTA INN AND SUITES NEW BRITAIN                                            65 COLUMBUS BLVD                                                                                          NEW BRITAIN               CT           06051
    LA REINA PROPERTIES LP                                                          10919 LAKEWOOD BLVD 100                                                                                   DOWNEY                    CA           90241
    LA TREMENDA RADIO NETWORK                                                       4801 E INDEPENDENCE BLVD               STE 803                                                            CHARLOTTE                 NC           82812
    LA X DE MEXICO LLC                                                              74 S 4TH ST                                                                                               COLUMBUS                  OH           43215
    LAB COM SYSTEM INC                                                              PO BOX 501                                                                                                VEGA ALTA                 PR           00692
    LABELESS LLC DBA AXIOM FINANCIAL                                                7700 N KENDALL DR                      STE 602                                                            MIAMI                     FL           33156
    LABOR READY 614034                                                              PO BOX 614034                                                                                             PITTSBURGH                PA           15264-1034
    LABOR READY 641034                                                              BRANCH 713 YOUNGSTOWN OH               PO BOX 641034                                                      PITTSBURGH                PA           15264-1034
    LABOR READY 820145                                                              PO BOX 820145                                                                                             PHILADELPHIA              PA           19182-0145
    LABOR READY INC SOUTHWEST                                                       PO BOX 3708                                                                                               SEATTLE                   WA           98124-3708
    LABOR READY MIDWEST INC                                                         1002 SOLUTIONS CTR                                                                                        CHICAGO                   IL           60677
    LABOUR READY                                                                    2105 MIDLAND AVE UNIT 1                                                                                   SCARBOROUGH               ON           M1P 3E3      CANADA
    LACEY TOWN SQUARE LLC                     C O PRIME LOCATIONS                   4160 6TH AVE SE STE 200                                                                                   LACEY                     WA           98503
    LACKEY THOMAS                                                                   ADDRESS ON FILE
    LACROIX GWENDA                                                                  ADDRESS ON FILE
    LAD REPORTING COMPANY INC                                                       7654 STANDISH PL                                                                                          ROCKVILLE                 MD           20855
    LADCO LEASING                                                                   555 ST CHARLES DR                      STE 200                                                            THOUSAND OAKS             CA           91360-3985
    LAE SHON WISE                                                                   ADDRESS ON FILE
    LAFAYETTE CONSOLIDATED GOVERNMENT                                               PO BOX 4024                                                                                               LAFAYETE                  LA           70502
    LAFAYETTE PARISH TAX COLLECTOR                                                  PO BOX 92590                                                                                              LAFAYETE                  LA           70509-2590
    LAFRANCE AND DECOEUR INC                  C O THE LAW OFFICES OF LEFABVRE       32 MAIN ST SOUTHPO BOX 519                                                                                ALEXANDRIA                ON           K0C1A0       CANADA
    LAGUNA GRAPHIC ARTS INC                                                         16782 REDHILL AVE                      STE A                                                              IRVINE                    CA           92606-4821
    LAJ LC                                                                          2000 PROGRESS DR                                                                                          HIAWATHA                  IA           52233
    LAKE ARBOR PLAZA LLC                                                            1700 BROADWAY STE 650                                                                                     DENVER                    CO           80290
    LAKE ARBOR PLAZA LLC A DELAWARE LIMITED
    LIABILITY COMPANY                                                               1700 BROADWAY                          STE 404                                                            DENVER                    CO           80290
    LAKE CITIES BROADCASTING CORP WLKI                                              PO BOX 999                                                                                                ANGOLA                    IN           46703
    LAKE FOREST BANK AND TRUST COMPANY NA     DBA FIRST INSURANCE FUNDING           450 SKOKIE BLVD                        STE 1000                                                           NORTHBROOK                IL           60062-7917
    LAKE GENEVA CITY TREASURER                                                      626 GENEVA ST                                                                                             LAKE GENEVA               WI           53147
    LAKE HAVASU CITY BUSINESS LICENSE         ADMIN SERVICE BUSINESS LICENSE        2330 MCCULLOCH BLVD N                                                                                     LAKE HAVASU CITY          AZ           86403
    LAKE SIMCOE GLASS AND MIRROR SERVICES                                           20 BELL FARM RD                        UNIT 2                                                             BARRIE                    ON           L4M 6E4      CANADA
    LAKE STREET HOLDINGS LLC                  DBA LAKE STREET CAPITAL MARKETS LLC   920 2ND AVE STE 700                                                                                       MINNEAPOLIS               MN           55402
    LAKEEMA CRAWFORD                                                                ADDRESS ON FILE
    LAKEFOREST ASSOCIATES LLC                                                       PO BOX 404574                                                                                             ATLANTA                   GA           30384-4564
    LAKEFOREST OWNER LLC                                                            PO BOX 404574                                                                                             ATLANTA                   GA           30384-4574
    LAKEFRONT UTILITY SERVICES INC                                                  207 DIVISION STPO BOX 577                                                                                 COBOURG                   ONTARIO      K9A 4L3      CANADA
    LAKELAND ASSOCIATES LP                    C O FLAG WHARF INC                    197 EIGHTH ST STE 800                                                                                     BOSTON                    MA           02129
    LAKESHA COLLIER                                                                 ADDRESS ON FILE
    LAKESHORE VILLAGE                                                               5025 WINTERS CHAPEL RD                 STE M                                                              ATLANTA                   GA           30360
    LAKOTA COUNTRY TIMES                                                            PO BOX 386                                                                                                MARTIN                    SD           57551
    LAKOTA INC                                                                      4694 E ROBERTSON RD                                                                                       CROSS PALINS              TN           37049
    LAKOTA MEDIA INC                                                                PO BOX 31                                                                                                 FLANDREAU                 SD           57028
    LAKY SC LLC                                                                     PO BOX 1424                                                                                               ELKTON                    MD           21921
    LAMAR ASST MGMT RLTY FOCUS                                                      365 S ST                                                                                                  MORRISTOWN                NJ           07960
    LAMAR DUNN AND ASSOCIATES INC                                                   3305 MALONEY RD                                                                                           KNOXVILLE                 TN           37920
    LAMAR TRANSIT LLC                                                               PO BOX 96030                                                                                              BATON ROUGE               LA           70896
    LANCASTER BARBARA                                                               PO BOX 6474                                                                                               DOUGLASVILLE              GA           30154
    LANCASTER COUNTY TAX COLLECTOR                                                  PO BOX 1809                                                                                               LANCASTER                 SC           29721-1809
    LANCASTER COUNTY TREASURER                                                      PO BOX 729                                                                                                LANCASTER                 SC           29721-0729


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                         Name                                  Attention                       Address 1                                Address 2                           Address 3                     City        State       Zip          Country
    LANCE SURETY BOND ASSOCIATES INC                                           4387 SWAMP RD 287                                                                                        DOYLESTOWN               PA           18902
    LAND TREK PROPERTY MANAGEMENT                                              901 HACIENDA DR                                                                                          VISTA                    CA           92081
    LANDLORD                                                                   1419 POINDEXTER ST                                                                                       CHESAPEAKE               VA           23324
    LANDLORD CAMP INVESTMENTS                    BOB WILSON PARADISE LANES     3411 17 AVE SE                                                                                           CALGARY                  AB           T2A 0R3      CANADA
    LANDMARK CONTRACTING AND DEVELOPMENT                                       3001 JAMES ST                                                                                            SYRACUSE                 NY           13206
    LANDMARK MEDIA ENTERPRISES LLC                                             PO BOX 773007                                                                                            CHICAGO                  IL           60677-3007
    LANDMARK MEDIA ENTERPRISES LLC                                             PO BOX 775523 DEPT 200                                                                                   CHICAGO                  IL           60677
    LANDRITH AND KULESZ LLP                                                    601 W ABRAM ST                                                                                           ARLINGTON                TX           76010
    LANG INVESTIGATIONS LLC                                                    5401 BANNON CROSSINGS DRVIE                                                                              LOUISVILLE               KY           40218
    LANGE NICOLE T                                                             ADDRESS ON FILE
    LANGFORD RICHARD                                                           ADDRESS ON FILE
    LANGLEY CHAPTER AIR FORCE ASSOCIATION        AIRPOWER OVER HAMPTON ROADS   108 CARRS HILL RD                                                                                        WILLIAMSBURG             VA           23185
    LANHAM ROBERT DENNIS                                                       ADDRESS ON FILE
    LANIER WORLDWIDE INC                                                       PO BOX 105533                                                                                            ATLANTA                  GA           30348-5533
    LANSING STATE JOURNAL                                                      120 E LENAWEE                                                                                            LANSING                  MI           48919
    LANTAGNE LEGAL PRINTING                                                    PO BOX 2472                                                                                              RICHMOND                 VA           23219-2472
    LANZA GROUP                                                                1710 DEFOOR AVE                       PENTHOUSE 2                                                        ATLANTA                  GA           30318-7530
    LAP LIEN PLAZA LLC                                                         4433 CORPORATE LN                     STE 250                                                            VIRGINIA BEACH           VA           23462
    LAQUINTA INN AND SUITES LAKEWOOD                                           11751 PACIFIC HWY SW                                                                                     LAKEWOOD                 WA           98499
    LAQUINTA INN VIDOR 6114                                                    165 E COURTLAND ST                                                                                       VIDOR                    TX           77662
    LAQUINTA INNS 0103 TAMPA US HWY 301                                        4811 US HWY 301 N                                                                                        TAMPA                    FL           33610
    LAQUINTA INNS 0167 COLISEUM                                                4900 S TRYON ST                                                                                          CHARLOTTE                NC           28217
    LAQUINTA INNS 0169 FREMONT                                                 46200 LANDING PKWY                                                                                       FREMONT                  CA           94538
    LAQUINTA INNS 0170 ONTARIO AIRPORT                                         3555 INLAND EMPIRE BLVD                                                                                  ONTARIO                  CA           91764
    LAQUINTA INNS 0171 ORLANDO                                                 7160 N FRAONTAGE RD                                                                                      ORLANDO                  FL           32812
    LAQUINTA INNS 0172 HAYWOOD                                                 65 W ORCHARD PARK DR                                                                                     GREENVILLE               SC           29615
    LAQUINTA INNS 0173 NORTHWEST TECH CENTER                                   7101 CASCADE VALLEY CT                                                                                   LAS VEGAS                NV           89128
    LAQUINTA INNS 0175 PRIMACY PKWY                                            1236 PRIMACY PKWY                                                                                        MEMPHIS                  TN           38119
    LAQUINTA INNS 0183 CHAPEL HILL                                             4414 DURHAM CHAPEL HILL BLVD                                                                             DURHAM                   NC           27707
    LAQUINTA INNS 0186 AUSTIN AIRPORT                                          7625 E BEN WHITE BLVD                                                                                    AUSTIN                   TX           787141
    LAQUINTA INNS 0221 LAFAYETTE                                               2100 NE EVANGELINE THRUWAY                                                                               LAFAYETTE                LA           70501
    LAQUINTA INNS 0476 LONGVIEW                                                502 S ACCESS                                                                                             LONGVIEW                 TX           75602
    LAQUINTA INNS 0477 SOUTH                                                   6225 S PADRE ISLAND DR                                                                                   CORPUS CHRISTI           TX           78412
    LAQUINTA INNS 0507 AIRPORT                                                 6140 GATEWAY E                                                                                           EL PASO                  TX           79905
    LAQUINTA INNS 0516 WICHITA FALLS AIRPORT                                   1128 N CENTRAL FWY                                                                                       WICHITA FALLS            TX           76306
    LAQUINTA INNS 0532 TOWNE EAST MALL                                         7700 E KELLOGG                                                                                           WICHITA                  KS           67207
    LAQUINTA INNS 0534 AIRPORT                                                 5316 W SOUTHERN AVE                                                                                      INDIANAPOLIS             IN           46241
    LAQUINTA INNS 0541 ORANGE COUNTY DRIVE                                     1515 S COAST DR                                                                                          COSTA MESA               CA           92626
    LAQUINTA INNS 0544                                                         3501 W LAKE DR                                                                                           ABILENE                  TX           79601
    LAQUINTA INNS 0545 RENO AIRPORT                                            4001 MARKET ST                                                                                           RENO                     NV           89502
    LAQUINTA INNS 0549 COLUMBUS                                                3201 MACON RD                                                                                            COLUMBUS                 GA           31906
    LAQUINTA INNS 0550 COLUMBUS AIRPORT                                        2447 BRICE RD                                                                                            REYNOLDSBURG             OH           43068
    LAQUINTA INNS 0551 ORANGE PARK                                             8555 BLANDING BLVD                                                                                       JACKSONVILLE             FL           32244
    LAQUINTA INNS 0553 CHAMPAIGN                                               1900 CTR DR                                                                                              CHAMPAIGN                IL           61820
    LAQUINTA INNS 0557 AURORA                                                  1011 S ABILENE ST                                                                                        AURORA                   CO           80012
    LAQUINTA INNS 0562 CHICAGO SCHAUMBURG                                      1730 E HIGGINS RD                                                                                        SCHAUMBURG               IL           60173
    LAQUINTA INNS 0566 SKY HARBOR AIRPORT                                      911 S 48TH ST                                                                                            TEMPE                    AZ           85281
    LAQUINTA INNS 0567 MARKET SQUARE                                           900 DOLOROSA                                                                                             SAN ANTONIO              TX           78207
    LAQUINTA INNS 0570 SAN BERNARDINO                                          205 E HOSPITALITY AVE                                                                                    SAN BERNARDINO           CA           92408
    LAQUINTA INNS 0574 BATON ROUGE                                             2333 S ACADIAN THRUWAY                                                                                   BATON ROUGE              LA           70808
    LAQUINTA INNS 0575 AIRPORT                                                 2745 AIRWAYS BLVD                                                                                        MEMPHIS                               38132
    LAQUINTA INNS 0578 NORTH                                                   4100 E MCCAIN BLVD                                                                                       NORTH LITTLE ROCK        AR           72117

    LAQUINTA INNS 0579 NEW ORLEANS WEST BANK                                   50 TERRY PKWY                                                                                            GRETNA                   LA           70056
    LAQUINTA INNS 0580 VETERANS                                                5900 VETERANS BLVD                                                                                       METAIRIE                 LA           70003
    LAQUINTA INNS 0583 VIRGINIA BEACH                                          192 NEWTOWN RD                                                                                           VIRGINIA BEACH           VA           23462
    LAQUINTA INNS 0584 CHICAGO OAKBROOK                                        1 S 666 MIDWEST RD                                                                                       OAKBROOK TERRACE         IL           60181
    LAQUINTA INNS 0594 AUGUSTA                                                 3020 WASHINGTON RD                                                                                       AUGUSTA                  GA           30907
    LAQUINTA INNS 0595 SOUTH                                                   12525 E 52ND ST S                                                                                        TULSA                    OK           74146
    LAQUINTA INNS 0597 AIRPORT                                                 4730 W SPRUCE ST                                                                                         TAMPA                    FL           33607
    LAQUINTA INNS 0598 PENSACOLA                                               7750 N DAVID HWY                                                                                         PENSACOLA                FL           32514
    LAQUINTA INNS 0625 STOCKTON                                                2710 W MARCH LN                                                                                          STOCKTON                 CA           95219
    LAQUINTA INNS 0627 AIRPORT                                                 8507 UNIVERSITY BLVD                                                                                     MOON TOWNSHIP            PA           15108
    LAQUINTA INNS 0630 GARDEN OF THE GODS                                      4385 SINTRON RD                                                                                          COLORADO SPRINGS         CO           80907
    LAQUINTA INNS 0634 CHICAGO OHARE                                           1900 OAKTON ST                                                                                           ELK GROVE VILLAGE        IL           60007

    LAQUINTA INNS 0638 PINELLAS PK CLEARWATER                                  7500 HWY 19 N                                                                                            PINELLAS PK              FL           33781
    LAQUINTA INNS 0646 BAKERSFIELD                                             3232 RIVERSIDE DR                                                                                        BAKERSFIELD              CA           93308
    LAQUINTA INNS 0648 WEST                                                    7377 SIX FLAGS DR                                                                                        AUSTELL                  GA           30168
    LAQUINTA INNS 0650 FRESNO YOSEMITE                                         2926 TULARE ST                                                                                           FRESNO                   CA           93721
    LAQUINTA INNS 0651 SOUTH                                                   2850 APALACHEE PKWY                                                                                      TALLAHASSE               FL           32301
    LAQUINTA INNS 0655 VENTURA                                                 5818 VALENTINE RD                                                                                        VENTURA                  CA           93003
    LAQUINTA INNS 0658 DEERFIELD BEACH                                         351 W HILLSBORO BLVD                                                                                     DEERFIELD BC             FL           33441

    LAQUINTA INNS 0659 S SAN FRANCISCO AIRPORT                                 20 AIRPORT BLVD                                                                                          S SAN FRANCISCO          CA           94080-6515
    LAQUINTA INNS 0660 SANTA FE                                                4298 CERRILLOS RD                                                                                        SANTA FE                 NM           87507
    LAQUINTA INNS 0667 AIRPORT NORTH                                           7401 NW 36TH ST                                                                                          MIAMI                    FL           33166
    LAQUINTA INNS 0674 WESTPORT                                                11805 LACKLAND RD                                                                                        ST LOUIS                 MO           63146
    LAQUINTA INNS 0675 SEA TAC INTERNATIONAL                                   2824 S 188TH ST                                                                                          SEATTLE                  WA           98188
    LAQUINTA INNS 0676 KIRKLAND                                                10530 NE NORTHUP WAY                                                                                     KIRKLAND                 WA           98033-7911
    LAQUINTA INNS 0679 ARLINGTON HEIGHTS
    CHICAGO                                                                    1415 W DUNDEE RD                                                                                         ARLINGTON HEIGHTS        IL           60004
    LAQUINTA INNS 0697 TULSA OK                                                10829 E 41ST ST                                                                                          TULSA                    OK           74146
    LAQUINTA INNS 0700 I AND SDENVER TECH CTR                                  9009 E ARAPAHOE RD                                                                                       GREENWOOD VILLAGE        CO           90112
    LAQUINTA INNS 0714 AIRPORT                                                 5781 CAMPUS CT                                                                                           HAZELWOOD                MO           63042
    LAQUINTA INNS 0720 MARIETTA                                                2170 DELK RD                                                                                             MARIETTA                 GA           30067
    LAQUINTA INNS 0722 RESEARCH PARK                                           4870 UNIVERSITY DR                                                                                       HUNTSVILLE               AL           35816
    LAQUINTA INNS 0739 DETROIT AIRPORT                                         7680 MERRIMAN RD                                                                                         ROMULUS                  MI           48174
    LAQUINTA INNS 0784 CORPUR CHRISTI AIRPORT                                  546 S PADRE ISLAND DR                                                                                    CORPUS CHRISTI           TX           78405


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    LAQUINTA INNS 0785 ORLANDO WINTER PARK                  626 LEE RD                                                                                             ORLANDO                FL           32810
    LAQUINTA INNS 0804 MOBILE                               816 W I 65 SERVICE RD S                                                                                MOBILE                 AL           36609
    LAQUINTA INNS 0806 LITTLE ROCK                          200 S SHACKLEBORD RD                                                                                   LITTLE ROCK            AR           72211
    LAQUINTA INNS 0809 CHEYENNE                             2410 W LINCOLNWAY                                                                                      CHEYENNE               WY           82007
    LAQUINTA INNS 0811 OMAHA                                3330 N 104TH AVE                                                                                       OMAHA                  NE           68134
    LAQUINTA INNS 0816 ALBUQUERQUE NM                       2116 YALE BLVD SE                                                                                      ALBUQUERQUE            NM           87106
    LAQUINTA INNS 0819 FORT MYERS                           4850 S CLEVELAND                                                                                       FT MYERS               FL           33907
    LAQUINTA INNS 0856 WILSONVILLE                          8815 SOUTHEWEST SUN PL                                                                                 WILSONVILLE            OR           97070
    LAQUINTA INNS 0859 CROWLEY                              9565 EGAN HWY                                                                                          CROWLEY                LA           70526
    LAQUINTA INNS 0866 COVINGTION                           200 NORD DU LAC                                                                                        COVINGTON              LA           70433
    LAQUINTA INNS 0881 SALIDA                               4909 SISK RD                                                                                           SALIDA                 CA           95368
    LAQUINTA INNS 0905 ROUND ROCK                           2004 N IH 35                                                                                           ROUND ROCK             TX           78681
    LAQUINTA INNS 0908 NORTH                                2510 W GREENWAY RD                                                                                     PHOENIX                AZ           85023
    LAQUINTA INNS 0910 NEW ORLEANS SLIDELL                  794 E 1 10 SERVICE RD                                                                                  SLIDELL                LA           70461
    LAQUINTA INNS 0914 SACRAMENTO DOWNTOWN                  200 JIBBOOM ST                                                                                         SACRAMENTO             CA           95817
    LAQUINTA INNS 0918 AIRPORT                              2345 ATRIUM WAY                                                                                        NASHVILLE              TN           37214
    LAQUINTA INNS 0924 AIRPORT                              3970 S PARADISE RD                                                                                     LAS VEGAS              NV           89109
    LAQUINTA INNS 0925 CORAL SPRINGS                        3701 UNIVERSITY DR                                                                                     CORAL SPRINGS          FL           33065
    LAQUINTA INNS 0929 SAN MARCOS                           1619 I 35 N                                                                                            NAS MARCOS             TX           78666
    LAQUINTA INNS 0931 CHATTANOOGA                          7015 SHALLOWFORD RD                                                                                    CHATTANOGGA            TN           37421
    LAQUINTA INNS 0933 BRISTOL                              1014 OLD AIRPORT RD                                                                                    BRISTOL                VA           24201
    LAQUINTA INNS 0935 KINGSPORT                            10150 AIRPORT PKWY                                                                                     KINGSPORT              TN           37663
    LAQUINTA INNS 0937 MOPAC NORTH                          11901 N MOPAC                                                                                          AUSTIN                 TX           78759
    LAQUINTA INNS 0938 GALLERIA AREA                        14925 LANDMARK BLVD                                                                                    DALLAS                 TX           75254
    LAQUINTA INNS 0940 AIRPORT                              800 S MERIDAN                                                                                          OKLAHOMA CITY          OK           73108
    LAQUINTA INNS 0942 CYPRESS CREEK I 95                   999 W CYPRESS CREEK RD                                                                                 FT LAUDERDALE          FL           33309
    LAQUINTA INNS 0945 AIRPORT                              7001 S TUCSON BLVD                                                                                     TUCSON                 AZ           85706
    LAQUINTA INNS 0946 DENVER TECH CTR                      7077 S CLINTON ST                                                                                      GREENWOOD VILLAGE      CO           80112
    LAQUINTA INNS 0946 TECH CENTER                          7077 S CLINTON ST                                                                                      GREENWOOD VILLAGE      CO           80112
    LAQUINTA INNS 0948 SCOTTSDALE                           8888 E SHEA BLVD                                                                                       SCOTTSDALE             AZ           85260
    LAQUINTA INNS 0949 BIRMINGHAM HOMEWOOD                  60 STATE FARM PKWY                                                                                     HOMEWOOD               AL           35209
    LAQUINTA INNS 0951 MYRTLE BEACH                         1561 21ST AVE N                                                                                        MYRTLE BEACH           SC           29577
    LAQUINTA INNS 0956 PARK 10                              15225 KATY FWY                                                                                         HOUSTON                TX           77094
    LAQUINTA INNS 0958 SALT LAKE CITY AIRPORT               4905 W WILEY POST WAY                                                                                  SALT LAKE CITY         UT           84116
    LAQUINTA INNS 0959 CRABTREE                             2211 SUMMIT PARK LN                                                                                    RALEIGH                NC           27612
    LAQUINTA INNS 0961 ALEXANDRIA                           6116 W CALHOUN DR                                                                                      ALEXANDRIA             LA           71313
    LAQUINTA INNS 0963 GALLERIA AREA                        1625 W LOOP S                                                                                          HOUSTON                TX           77027
    LAQUINTA INNS 0964 ALPHARETTA                           1350 N POINT DR                                                                                        ALPHARETTA             GA           30022
    LAQUINTA INNS 0965 TAMPA BRANDON                        310 GRAND REGENCY BLVD                                                                                 BRANDON                FL           33510
    LAQUINTA INNS 0966 RALEIGH CARY                         191 CRESCENT COMMONS                                                                                   CARY                   NC           27511
    LAQUINTA INNS 0968 DALLAS PLANO WEST                    4800 W PLANO PKWY                                                                                      PLANO                  TX           75093
    LAQUINTA INNS 0969 BUTLER BLVD                          4686 LENOIR AVE S                                                                                      JACKSONVILLE           FL           32216
    LAQUINTA INNS 0971 CONYERS                              1184 DOGWOOD DR                                                                                        CONYERS                GA           30012
    LAQUINTA INNS 0972 PUEBLE                               4801 N ELIZABETH ST                                                                                    PUEBLO                 CA           81008
    LAQUINTA INNS 0974 TAMPA LAKELAND                       1024 CREVASSE ST                                                                                       LAKELAND                            33809
    LAQUINTA INNS 0977 USF                                  3701 E FOWLER AVE                                                                                      TAMPA                  FL           33612
    LAQUINTA INNS 0978 AIRPORT DIA                          6801 TOWER RD                                                                                          DENVER                 CO           80249
    LAQUINTA INNS 0980 AIRPORT WEST                         8730 NW 27TH ST                                                                                        MIAMI                  FL           33172
    LAQUINTA INNS 0982 PLANTATION                           8101 PETERS RD                                                                                         PLANTATION             FL           33324
    LAQUINTA INNS 0983 CENTRAL BUSINESS DIST                301 CAMP ST                                                                                            NEW ORLEANS            LA           70130
    LAQUINTA INNS 0985 FT LAUDERDALE                        2620 N 26TH AVE                                                                                        HOLLYWOOD              FL           33020
    LAQUINTA INNS 1027 SPRINGDALE                           12150 SPRINGFIELD PIKE                                                                                 SPRINGDALE             OH           45246
    LAQUINTA INNS 1050 MIAMI CUTLER RIDGE                   10821 CARIBBEAN BLVD                                                                                   MIAMI                  FL           33189
    LAQUINTA INNS 2005 LOS ANGELES LAX                      5249 W CENTURY BLVD                                                                                    LOS ANGELES            CA           90045
    LAQUINTA INNS 4034 EL PASO GATEWAY EAST                 7944 GATEWAY E                                                                                         EL PASO                TX           79915
    LAQUINTA INNS 6062                                      36756 I 10                                                                                             BOERNE                 TX           78006
    LAQUINTA INNS 6126 CARTER LAKE                          1201 AVE H                                                                                             CARTER LAKE            IA           51510
    LAQUINTA INNS 771 WEST PALM BEACH                       1910 PALM BEACH LAKES BLVD                                                                             WEST PALM BEACH        FL           33409
    LAQUINTA INNS 7710 NAPLES                               1555 5TH AVE S                                                                                         NAPLES                 FL           34102
    LAQUINTA INNS AND SUITES 0907                           300 E 11TH ST                                                                                          AUSTIN                 TX           78701
    LAQUINTA INNS ASHLAND                                   434 VALLEY VIEW RD                                                                                     ASHLAND                OR           97520
    LAQUINTA INNS CLEARWATER                                21338 US HWY 19 N                                                                                      CLEARWATER             FL           33765
    LAQUINTA INNS COEUR DALENE                              280 W APPLEWAY                                                                                         COEUR DALENE           ID           83814
    LAQUINTA INNS EUGENE OREGON                             155 DAY ISLAND RD                                                                                      EUGENE                 OR           97401
    LAQUINTA INNS INDIANAPOLIS N PYRAMIDS                   3880 W 92ND ST                                                                                         INDIANAPOLIS           IN           46268
    LAQUINTA INNS KISSIMMEE FL                              7769 W IRLO BRONSON                                                                                    KISSIMMEE              FL           34747
    LAQUINTA INNS LAFAYETTE                                 1015 W PINHOOK RD                                                                                      LAFAYETTE              LA           70503
    LAQUINTA INNS LAKESIDE                                  7769 W IRLO BRONSON                                                                                    KISSIMMEE              FL           34747
    LAQUINTA INNS LAS VEGAS TROPICANA                       4975 S VALLEY VIEW                                                                                     LAS VEGAS              NV           89118
    LAQUINTA INNS LEXINGTON KY                              1919 STANTON WAY                                                                                       LEXINGTON              KY           40511
    LAQUINTA INNS LOUISVILLE                                4125 PRESTON HWY                                                                                       LOUISVILLE             KY           40213
    LAQUINTA INNS MUSIC CITY CENTRE                         1835 W HWY 76                                                                                          BRANSON                MO           65616
    LAQUINTA INNS OAKLAND                                   8465 ENTERPRISE WAY                                                                                    OAKLAND                CA           84621
    LAQUINTA INNS RICHMOND KY                               1751 LEXINGTON RD                                                                                      RICHMOND               KY           40475
    LAQUINTA INNS RICHMOND VA                               6910 MIDLOTHIAN TURNPIKE                                                                               RICHMOND               VA           23225
    LAQUINTA INNS ROSWELL HOLCOMB BRIDGE                    575 OLD HOLCOMB BRIDGE RD                                                                              ROSWELL                GA           30076
    LAQUINTA INNS SAN ANTONIO AIRPORT                       850 HALM BLVD                                                                                          SAN ANTONIO            TX           78216
    LAQUINTA INNS SAN FRANSISCO DOWNTOWN                    1050 VAN NESS AVE                                                                                      SAN FRANCISCO          CA           94109
    LAQUINTA INNS SD OLD TOWN                               2380 MOORE ST                                                                                          SAN DIEGO              CA           92110
    LAQUINTA INNS SPOKANE                                   3808 N SULLIVAN 34                                                                                     SPOKANE                WA           99216
    LAQUINTA INNS SPRINGFIELD                               1610 E EVERGREEN                                                                                       SPRINGFIELD            MO           65803
    LAQUINTA INNS SUITES 505                                4015 SW FRWY HWY 59                                                                                    HOUSTON                TX           77027
    LAQUINTA INNS TULSA CENTRAL                             6030 E SKELLY DR                                                                                       TULSA                  OK           74135
    LAQUINTA INNS WEST PALM BEACH                           5981 OKEECHOBEE BLVD                                                                                   WEST PALM BEACH        FL           33417
    LARACY TAX LTD                                          665 KING ST                                                                                            HAMILTON               ON                     CANADA
    LARAMIE ABINGDON LP                                     301 N ELM ST                        STE 230                                                            GREENSBORO             NC           27401
    LARAMIE COUNTY SCHOOL DISTRICT 1                        2810 HOUSE AVE                                                                                         CHEYENNE               WY           82001
    LARCHE COMMUNICATIONS INC                               60 ELM ST                                                                                              SUDBURY                ON           P3C 1R8   CANADA



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    LARKIN HOFFMAN DALY AND LINDGREN LTD                                           8300 NORMAN CTR DR                       STE 1000                                                           MINNEAPOLIS             MN           55437
    LARRY BRANDY                                                                   ADDRESS ON FILE
    LARRY C MARTIN                                                                 ADDRESS ON FILE
    LARRY C MARTIN DO NOT USE                                                      ADDRESS ON FILE
    LARRY CORRIDON                                                                 ADDRESS ON FILE
    LARRY DENTON                                                                   ADDRESS ON FILE
    LARRY JONES DBA APE CAPITAL TEAM                                               415 E LYNX WAY                                                                                              CHANDLER                AZ           85249
    LARRY KRAMER                                                                   ADDRESS ON FILE
    LARRYS SUV                                                                     ADDRESS ON FILE
    LARS LARSON                                                                    ADDRESS ON FILE
    LAS VEGAS DETECTIVES                                                           PO BOX 95455                                                                                                LAS VEGAS               NV           89193
    LAS VEGAS EMPLOYMENT GUIDE                                                     3655 S DECATUR BLVD                      14 127                                                             LAS VEGAS               NV           89103
    LAS VEGAS REVIEW JOURNAL LAS VEGAS SUN                                         PO BOX 920                                                                                                  LAS VEGAS               NV           89125-0920
    LASALA DELOS SUENOS INC                                                        PO BOX 2203 5TN MAIN                                                                                        WIMIPEG                 MB           R3C 3R5      CANADA
    LASER CARTRIDGE SERVICES INC                                                   850 BROCK RD UNIT 1                                                                                         PICKERING               ON           L1W 1Z8      CANADA
    LASER DOCTOR                                                                   PO BOX 227                                                                                                  DELAWARE                OH           43015
    LASER PLUS RECYCLING                                                           1150 CENTRAL AVE N                                                                                          SWIFT CURRENT           SK           S9H 4C8      CANADA
    LASER SOFT INFOSYSTEMS LTD                                                     147 AND 148 TIRUPATHI NAGAR              SRIDEVI DARGEN RD VALASARAVAKKAM           CHENNAI 600 087         TAMILNADU                                         INDIA
    LASERSPEED INC                                                                 1450 LODESTAR RD                         UNIT 12                                                            NORTH YORK              ON           M3J 3C1      CANADA
    LAST CHANCE FUNDING DBA THE LCF GROUP                                          411 HEMPSTEAD TURNPIKE                                                                                      WEST HEMPSTEAD          NY           11552
    LASTAND INC                              DBA FISH WINDOW CLEANING              PO BOX 1713                                                                                                 VICTORIVILLE            CA           92393
    LASTAR                                                                         DEPT 717                                                                                                    COLUMBUS                OH           43265-0717
    LAT SPORTS                                                                     1023 HOMEVIEW CT                                                                                            LONDON                  ON           N6C 6C1      CANADA
    LATHAN AND WATKINS LLP                                                         555 W 5TH ST                                                                                                LOS ANGELES             CA           90013-1021
    LATIN VISION MEDIA INC                                                         PO BOX 376                               CHURCH ST STATION                                                  NEW YORK                NY           10008
    LATINO COMMUNICATIONS INC                                                      PO BOX 12876                                                                                                WINSTON SALEM           NC           27117
    LATINO LEADERSHIP COUNCIL                C O SONIA SAMANIEGO                   2945 BELL RD 274                                                                                            AUBURN                  CA           95603
    LATINO TAX PROFESSIONALS ASSOCIATION                                           1588 MOFFETT ST                          STE F                                                              SALINAS                 CA           93905
    LATOYIA DENNIS AND COMPANY                                                     5712 SOUTHERN HILLS DR                                                                                      NORTH RICHLAND HILLS    TX           76180
    LAU FU LLC                                                                     PO BOX 577                                                                                                  CASPER                  NY           82601
    LAU JOE                                                                        ADDRESS ON FILE
    LAUCKS AND SPAULDING INC                                                       350 S ALBEMARIE ST                                                                                          YORK                    PA           17403
    LAURA AVILES CARRO                                                             ADDRESS ON FILE
    LAURA BURRELL DBA WORKING FINANCIAL
    SOLUTIONS                                                                      39 25 61ST 771114                                                                                           WIIDSUDE                NY           11377
    LAURA CHASE                                                                    ADDRESS ON FILE
    LAURA R JEANNOTTE                                                              ADDRESS ON FILE
    LAURA SOLORZANO                                                                ADDRESS ON FILE
    LAURASTEEN JONES                                                               ADDRESS ON FILE
    LAUREL ELECTRONICS                                                             PO BOX 3776                                                                                                 DELAND                  FL           32723-3776

    LAURELHURST APARTMENT COMPANY            DBA POULSBO VILLAGE SHOPPING CENTER   19351 8TH AVE NE STE 183                                                                                    POULSBO                 WA           98370
    LAURELHURST APARTMENT COMPANY DO NOT
    USE                                      DBA POULSBO VILLAGE SHOPPING CENTER   19351 8TH AVE STE 151                                                                                       POULSBO                 WA           98370
    LAUREN HUDASH DBA FIDELITY BUSINESS
    ADVISORS LLC                                                                   436 ALAMEDA BLVD                                                                                            CORONADO                CA           92118
    LAURIE LASHBROOK                                                               ADDRESS ON FILE
    LAURINBURG SHOPS LLLP                                                          270 W NEW ENGLAND AVE                                                                                       WINTER PARK             FL           32789
    LAV TY                                   C O CEO POWER LLC                     1500 W EL CAMINO AVE 410                                                                                    SACRAMENTO              CA           95833
    LAW OFFICE OF CHRISTINE N FAILEY PA                                            3902 HENDERSON BLVD                      STE 201                                                            TAMPA                   FL           33629
    LAW OFFICE OF ERIC SAPIR                                                       11500 OLYMPIC BLVD                       STE 400                                                            LOS ANGELES             CA           90064
    LAW OFFICES OF ANDREW BECKER PLC                                               PO BOX 8915                                                                                                 VIRGINIA BEACH          VA           23450
    LAW OFFICES OF CARL KHALIL AND SADA
    SHELTON                                                                        2000 GENERAL BOOTH BLVD                  STE 201                                                            VIRGINIA BEACH          VA           23454
    LAW OFFICES OF DAVID W BRODY APC                                               1350 COLUMBIA ST                         STE 403                                                            SAN DIEGO               CA           92101
    LAW OFFICES OF JENNER AND BLOCK LLP                                            353 N CLARK ST                                                                                              CHICAGO                 IL           60654-3456
    LAW OFFICES OF KEVIN MURPHY                                                    512 SUMNER AVE                                                                                              SPRINGFIELD             MA           01108
    LAW OFFICES OF MAX STORY PA                                                    328 SECOND AVE N                                                                                            JACKSONVILLE BEACH      FL           32250
    LAW OFFICES OF NATALIE LUTZ CARDIELLO                                          107 HURON DR                                                                                                CARNEGIE                PA           15105
    LAW OFFICES OF TODD M FRIEDMAN PC                                              21550 OXNARD ST                          STE 780                                                            WOODLAND HILLS          CA           91367
    LAWANNA HASSAN                                                                 ADDRESS ON FILE
    LAWRENCE HANDYMAN SERVICE                                                      60 COVINGTON CRES                                                                                           KITCHENER               ON           N2N 2X2      CANADA
    LAWRENCE LEBRON                                                                ADDRESS ON FILE
    LAWRENCE MILLER LARRY                                                          ADDRESS ON FILE
    LAWRENCE SIGN                                                                  ADDRESS ON FILE
    LAWYERS STAFFING INC                                                           PO BOX 11194                                                                                                RICHMOND                VA           23230
    LAWYERS TITLE INSURANCE CORPORATION                                            WORLD TRADE CTR STE 1100                 PO BOX 3296                                                        NORFOLK                 VA           23514
    LAWYERS USA                                                                    SUBSCRIPTION SERVICES                    SDS 12 2632                                PO BOX 86               MINNEAPOLIS             MN           55486-2632
    LAWYERS WEEKLY INC                                                             SDS 12 2632                              PO BOX 86                                                          MINNEAPOLIS             MN           55486-2632
    LAWYERS WEEKLY INC DO NOT USE                                                  41 W ST                                                                                                     BOSTON                  MA           02111
    LAYNE CAPITAL PARTNERS LLC                                                     36424 DUTCHTOWN GARDENS AVE                                                                                 GEISMAR                 LA           70734
    LAZELLE MINI STORAGE LTD                                                       4833 LAZELLE AVE                                                                                            TERRACE                 BC           V8G 1T5      CANADA
    LAZERSON SCOTT                                                                 ADDRESS ON FILE
    LB RADIO OF CHATTANOOGA                                                        PO BOX 9170                                                                                                 CHATTANOOGA             TN           37412
    LBC CAPITAL                              C O LBEL INC                          PO BOX 4094 STATION A                                                                                       TORONTO                 ON           M5W 3T1      CANADA
    LBD PROPERTIES LLC                                                             PO BOX 91                                                                                                   MERIDIAN                MS           39302
    LBMC GROUP LLC                                                                 701 E BRIDGER ST                         STE 120                                                            LAS VEGAS               NV           89101
    LBS FINANCILA CREDIT UNION                                                     PO BOX 4860                                                                                                 LONG BEACH              CA           90804
    LC DORTCH ENTERPRISES LLC                                                      8487 RETREAT DR                                                                                             GRAND BLANC             MI           46439
    LC ORIGINAL BUILD                                                              200 25 IMPERIAL ST                                                                                          TORONTO                 ON           M5P 1B9      CANADA
    LCS CAPITAL LLC                                                                6782 S POTOMAC ST                        STE 100                                                            CENTENNIAL              CO           80112
    LCS SIGN CREATIONS                                                             179 MAIN ST W                                                                                               SHELBURNE               ON           L0N 1S0      CANADA
    LD LOWER HOLDINGS INC                    DBA LDISCOVERY LLC                    10521 ROSEHAVEN ST                       STE LL150                                                          FAIRFAX                 VA           22030
    LDC ENTERPRISES LLC                                                            2001 SPRING ROSE ST                                                                                         LAS VEGAS               NV           89134
    LE CAPITAL                                                                     195 ROUTE 46                                                                                                TOTAWA                  NJ           07512
    LEAD FINANCE LLC                                                               15 SECOND ST                             STE 414                                                            GUAYNABO                PR           00968
    LEAD FLASH LLC                                                                 6700 BROKEN SOUND PKWY NW                                                                                   BOCA RATON              FL           33487
    LEAD SCIENTIST LLC                       DBA EASYWAY LEADS                     3000 ROUTE 97 STE 176                                                                                       GLENWOOD                MD           21738
    LEADER NEWS                                                                    PO BOX 148                                                                                                  LYTLE                   TZ           78052


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                        Name                                 Attention                    Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    LEADPOINT INC                                                        11801 MISSISSIPPI AVE                  STE 100                                                            LOS ANGELES             CA           90025
    LEADS2RESULTS INC                                                    1700 S DIXIE HWY                       STE 303                                                            BOCA RATON              FL           33432
    LEADSMARKETCOM LLC                                                   21600 OXNARD ST                        STE 400                                                            WOODLAND HILLS          CA           91367
    LEADSRX INC                                                          5200 SW MACADAM AVE                    STE 310                                                            PORTLAND                OR           97239
    LEAF CHRONICLE                                                       PO BOX 31029                                                                                              CLARKSVILLE             TN           37040-0018
    LEAMON F COUCH JR                                                    ADDRESS ON FILE
    LEAMON F COUCH JR FAMILY LLC                                         3554 MAYFAIR ST                                                                                           DURHAM                  NC           27707
    LEANDRO FATTORI                                                      ADDRESS ON FILE
    LEAP THEORY LLC                                                      11726 SAN VINCENTE BLVD                STE 600                                                            LOS ANGELES             CA           90049
    LEAPFROG INTERACTIVE                                                 10200 LINN STATION RD 250                                                                                 LOUISVILLE              KY           40223
    LEARNING TREE INTERNATIONAL                                          PO BOX 930756                                                                                             ATLANTA                 GA           31193-0756
    LEASE FLORIDA HIALEAH LLC                                            5901 NW 151 ST 126                                                                                        MIAMI LAKES             FL           33014
    LEASEFLORIDA LINDO LLC                                               5901 NW 151ST ST 126                                                                                      MIAMI BEACH             FL           33014
    LEBCON ASSOCIATES                                                    2100 HAMILTON PL BLVD                  STE 100                                                            CHATTANOOGA             TN           37421
    LECLAIR RYAN                                                         ADDRESS ON FILE
    LEE AND TRAN RE JTH V TRAVELERS                                      333 S GRAND AVE 42ND FL                                                                                   LOS ANGELES             CA           90071
    LEE COUNTY TAX COLLECTOR                                             PO BOX 1549                                                                                               FORT MYERS              FL           33902-1549
    LEE COUNTY TAX COLLECTOR                                             PO BOX 1609                                                                                               FORT MYERS              FL           33902-1609
    LEE COUNTY TAX COLLECTOR PPT                                         PO BOX 1968                                                                                               SANFORD                 NC           27331-1968
    LEE ENTERPRISES OF MADISONVILLE                                      4263 HWY 411 N UNIT 2                                                                                     MADISONVILLE            TN           37354
    LEE FAIN                                                             ADDRESS ON FILE
    LEE H LONGSTREET JR                                                  ADDRESS ON FILE
    LEE HECHT HARRISON                                                   ADDRESS ON FILE
    LEE MECHANICAL INC                                                   2915 60TH ST                                                                                              KENOSHA                 WI           53140
    LEE RICK                                                             ADDRESS ON FILE
    LEE TRAN AND LIANG                                                   ADDRESS ON FILE
    LEES TAX CITY                                                        5901 E 38TH ST                                                                                            INDIANAPOLIS            IN           46218
    LEGACY LIMOUSINE AND LUXURY COACHES LLC    DBA LEGACY COACH          305 COMMERCE DR                                                                                           ELIZABETH CITY          NC           27909
    LEGAL DOC MGMT INC                                                   2025 VISTA CREST DR                                                                                       CARROLLTON              TX           75007
    LEGAL EAGLE                                                          3600 W PIONEER PKWY                    STE 6                                                              ARLINGTON               TX           76003
    LEGAL LOCKSMITH                                                      201 MARION ST                                                                                             WINNIPEG                MB           R2H 0T5      CANADA
    LEGAL PRIVATE DETECTIVES                                             7360 SW 11TH ST                                                                                           MIAMI                   FL           33144
    LEGAL SHIELD                                                         PO BOX 2629                                                                                               ADA                     OK           74821
    LEGENDS HOSPITALITY LLC                                              61 BROADWAY STE 2400                                                                                      NEW YORK                NY           100006
    LEGENDS MUSIC LLC                                                    400 BROADACRES DR                      STE 260                                                            BLOOMFIELD              NJ           07003
    LEIGHTON BROADCASTING                                                PO BOX 13638                                                                                              GRAND FOLKS             ND           58208-3638
    LEIGHTON ENTERPRISES INC                                             PO BOX 1458                                                                                               ST CLOUD                MN           56302
    LEISINGER LAW LLP                                                    118 N CITRUS AVE STE B                                                                                    COVINA                  CA           91723
    LEMBERG LAW LLC                                                      43 DANBURY RD                                                                                             WILTON                  CT           06897
    LEMKE MEDIATION                                                      515 S FLOWER ST                        STE 1800                                                           LOS ANGELES             CA           90071
    LENDBERRY INC                                                        1069 MAIN ST                           STE 160                                                            HOLBROOK                NY           11741
    LENDEAVOR INC                                                        505 MONTGOMERY ST                      STE 625                                                            SAN FRANCISCO           CA           94111
    LENDEREDGE INC                                                       710 CLIFF DR                                                                                              LAGUNA BEACH            CA           92651
    LENDEREDGE LLC                                                       23 CORPORATE PLZ DR                    STE 100                                                            NEWPORT BEACH           CA           92660
    LENDERS CHOICE ESCROW                                                ONE CITY BLVD W                        STE 1610                                                           ORANGE                  CA           92868
    LENDING EXPRESS INC                                                  400 CONCAR DR                          STE 3 107                                                          SAN MATEO               CA           94402
    LENDING ISLAND INC                                                   757 3RD AVE FL 20                                                                                         NEW YORK                NY           10017
    LENDING SCIENCE DM INC DBA O2 CONSULTING
    INC                                                                  PO BOX 210475                                                                                             BEDFORD                 TX           76095
    LENDING VALLEY INC                                                   244 KINGS HWY 3 FL                                                                                        BROOKLYN                NY           11223
    LENDINGTREE LLC                                                      PO BOX 840470                                                                                             DALLAS                  TX           75284-0470
    LENDIO INC                                                           10235 S JORDAN GATEWAY                 STE 410                                                            SOUTH JORDAN            UT           84095
    LENDIT CONFERENCE LLC                                                DEPT CH 19942                                                                                             PALATINE                IL           60055-9942
    LENDNESSE LLC                                                        2445 NW 132ND ST                                                                                          MIAMI                   FL           33167
    LENHART FRAUENBERG PARTNERSHIP LLP                                   1209 HILL RD N 124                                                                                        PICKERINGTON            OH           43147
    LEO CAPITAL GROUP LLC                                                1820 NE 163RD ST                       STE 204                                                            MIAMI                   FL           33162
    LEO CECANTI                                                          ADDRESS ON FILE
    LEON G COOPERMAN                                                     ADDRESS ON FILE
    LEONARDO LUCIER                                                      ADDRESS ON FILE
    LEOPOLDO ROCHA                                                       ADDRESS ON FILE
    LEPCO HOME IMPROVEMENTS                                              2216 S PASTURES LN                                                                                        VIRGINIA BEACH          VA           23456
    LEPKOWSKI MIKE                                                       ADDRESS ON FILE
    LEPKOWSKI STEVEN                                                     ADDRESS ON FILE
    LERCO ELECTRIC LLC                                                   370 E 146 ST                                                                                              BRONX                   NY           10455
    LERMA ADVERTISING LLC                                                409 N HOUSTON ST STE 500                                                                                  DALLAX                  TX           75202
    LEROY SEBASTIAN SMIKLE MITCHELL                                      ADDRESS ON FILE
    LES LEV CORP                                                         4907 18TH AVE                                                                                             BROOKLYN                NY           11204
    LESKO JOHN                                                           ADDRESS ON FILE
    LESLIE EDMONDS                                                       ADDRESS ON FILE
    LESLIE GAIL TRENSHAW                                                 ADDRESS ON FILE
    LEUNG MARGARITA                                                      ADDRESS ON FILE
    LEVERAGE POINT LLC                                                   141 NE 3RD AVE                         5TH FL                                                             MIAMI                   FL           33132
    LEVI SMITH                                                           ADDRESS ON FILE
    LEVINCENT SUTTON                                                     ADDRESS ON FILE
    LEVINE AND LEVINE                                                    ADDRESS ON FILE
    LEVINE ANDREA                                                        ADDRESS ON FILE
    LEVINSKY ELECTRIC INC                                                704 PINETREE DR                                                                                           VIRGINIA BEACH          VA           23452
    LEVITES REALTY MANAGEMENT LLC                                        270 MADISON AVE                        STE 1503                                                           NEW YORK                NY           10016-6204
    LEVY PETER                                                           ADDRESS ON FILE
    LEVY ROBERT                                                          ADDRESS ON FILE
    LEVY SHOW SERVICE                                                    1160 SILVERSMITH PL                                                                                       RICHMOND                BC           V7A 5E4      CANADA
    LEWIS BRISBOIS BISGAARD AND SMITH LP                                 221 N FIGUEROA ST                      STE 1200                                                           LOS ANGELES             CA           90012
    LEWIS C JAMES                                                        ADDRESS ON FILE
    LEWIS FREDERICK DBA PREMIER CREDIT
    SERVICES LLC                                                         1720 DUTCH FORK RD 74                                                                                     BALLENTINE              SC           29002
    LEWIS HAYNE BEVERLY                                                  ADDRESS ON FILE
    LEWIS KING KRIEG AND WALDROP PC                                      PO BOX 2425                                                                                               KNOXVILLE               TN           37901
    LEWIS ROCA ROTHGERBER CHRISTIE LLP                                   201 E WASHINGTON ST                    STE 1200                                                           PHOENIX                 AZ           85004
    LEWIS SAM                                                            ADDRESS ON FILE


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                        Name                                   Attention                               Address 1                                  Address 2                           Address 3                     City        State       Zip          Country
    LEWIS WEATHERL                                                                     ADDRESS ON FILE
    LEXACOM                                                                            PO BOX 35993                                                                                               RICHMOND                 VA           23235-0993
    LEXADIGM SOLUTIONS INC                                                             2855 44TH ST SW STE 120                                                                                    GRANDVILLE               MI           49418
    LEXINGTON FAYETTE URBAN COUNTY
    GOVERNMENT                                  DIVISION OF REVENUE                    PO BOX 3204                                                                                                LEXINGTON                KY           40588
    LEXIS NEXIS RISK DATA MANATEMENT INC                                               28330 NETWORK PL                                                                                           CHICAGO                  IL           60673-1283
    LEXIS PUBLISHING                                                                   PO BOX 7247 0353                                                                                           PHILADELPHIA             PA           19170-0353
    LEXISNEXIS DOCUMENT SOLUTIONS                                                      PO BOX 2861                                                                                                SPRINGFIELD              IL           62708-2861
    LEXISNEXIS INC                                                                     PO BOX 7247 7090                                                                                           PHILADELPHIA             PA           19170-7090
    LF2 COMMERCE CITY LP                                                               7373 N SCTTSDALE RD A200                                                                                   SCOTTSDALE               AZ           85253
    LG AND E01                                                                         PO BOX 9001960                                                                                             LOUISVILLE               KY           40290-1960
    LGB PROPERTIES LLC                                                                 326 W CEDAR ST                                                                                             KENNETT SQUARE           PA           19348

    LH HOLDINGS ONTARIO LTD                     C O HOPEWELL REAL ESTATE SERVICES LP   410 2020 4 ST SW                                                                                           CALGARY                  AB           T2S 1W3      CANADA
    LHLEVY INVESTIGATIONS INC                                                          PO BOX 5880                                                                                                BALTIMORE                MD           21282
    LIAO AND ASSOCIATES                                                                523 PINE ST                             STE 205                                                            SEATTLE                  WA           98101
    LIB A AND M LLC ROBERT MELGAR                                                      15881 FM 529 RD STE C                                                                                      HOUSTON                  TX           77449
    LIBERTY ALARMS                                                                     1521 S COMMERCE 100                                                                                        LAS VEGAS                NV           89102
    LIBERTY BOWL FESTIVAL ASSOCIATION           D B A AUTOZONE LIBERTY BOWL            959 RIDGEWAY LOOP RD STE 101                                                                               MEMPHIS                  TN           38120
    LIBERTY CAPITAL GROUP INC                                                          1011 CAMINO DEL RIO S                   STE 440                                                            SAN DIEGO                CA           92108
    LIBERTY COUNTY TAX COMMISSIONER                                                    100 MAIN ST                             STE 1545                                                           HINESVILLE               GA           31313
    LIBERTY DIXON CENTER LTD                                                           45 FAIRFIELD AVE                                                                                           BELLEVUE                 KY           41073
    LIBERTY HEALTH EXCHANGE                                                            6939 SUNRISE BLVD                       SUITE120                                                           CITRUS HEIGHTS           CA           95610
    LIBERTY LANDHOLDINGS LLC                                                           631 N STEPHANIE ST 351                                                                                     HENDERSON                NV           89014
    LIBERTY TAX SERVICE                                                                101 33031 1ST                                                                                              MISSION                  BC           V2V 1G2      CANADA
    LIBERTY TAX SERVICE                                                                1432 LINDA SUE LN                                                                                          ENCINITAS                CA           92024
    LIBERTY TAX SERVICE                                                                18 800 DENISON ST                                                                                          MARKHAM                  ON           L3R 5M9      CANADA
    LIBERTY TAX SERVICE                                                                2387 LIBERTY WAY                                                                                           VIRGINIA BEACH           VA           23456
    LIBERTY TAX SERVICE                                                                253 MONTREAL RD                                                                                            OTTAWA                   ON           K1L 6C4      CANADA
    LIBERTY TAX SERVICE 3958                    C O CONNIE MOORE                       3705 TIMAHOE CIR                                                                                           BALTIMORE                MD           21236
    LIBERTY TAX SERVICE 4128                                                           3312 SW 35TH BLVD                                                                                          GAINESVILLE              FL           32608
    LIBERTY TAX SERVICE CAPITAL ONE                                                    1716 CORPORATE LANDING PKWY                                                                                VIRGINIA BEACH           VA           23454
    LIBERTY TAX SERVICE FRANK GRIM              FRANK GRIM                             706 TABB LAKES DR                                                                                          YORKTOWN                 PA           23693-4210
    LIBERTY TAX SERVICE JAMES BURKE                                                    924 W NEW HAVEN AVE                                                                                        MELBOURNE                FL           32901
    LIBERTY TAX SERVICE KATHY PONTE             C O KATHY PONTE                        1701 LASKIN RD                                                                                             VIRGINIA BEACH           VA           23454
    LIBERTY TAX SERVICE MCCARTNEY                                                      283 GEORGE ST N                                                                                            PETERBOROUGH             ONTARIO      K9J 3H3      CANADA
    LIBERTY TAX SERVICE NET SPEND ACCT                                                 1716 CORPORATE LANDING PKWY                                                                                VIRGINIA BEACH           VA           23454
    LIBERTY TAX SERVICE OF NEW MEXICO                                                  2617 N WHITE SANDS BLVD                 STE E                                                              ALAMOGORDO               NM           88310
    LIBERTY TAX SERVICE RAY NOLMAN                                                     UNIT 2 2727 PORTAGE AVE                                                                                    WINNIPEG                 MB           R3J 0R2      CANADA
    LIBERTY TAX SERVICE SANDRA HENRY                                                   1345 PEMBINA HWY                                                                                           WINNIPEG                 MANITOBA     R3T 2B6      CANADA

    LIBERTY TAX SERVICE SCOTT AND NAOMI BLACK                                          855 E LITTLE CREEK RD                                                                                      NORFOLK                  VA           23518
    LIBERTY TAX SERVICE SCOTT SHRADER                                                  2501 MOUNT HOLLY RD 220                                                                                    BURLINGTON               NK           08016
    LIEBERT GLOBAL SERVICES                                                            PO BOX 70474                                                                                               CHICAGO                  IL           60673
    LIFE INSURANCE COMPANY OF NORTH AMERICA
    CIGNA                                                                              PO BOX 780110                                                                                              PHILADELPHIA             PA           19178-0110
    LIFE MATTERS INTERNATIONAL INC                                                     2950 BALTIC AVE 303                                                                                        VIRGINIA BEACH           VA           23451
    LIFECARE                                                                           2 ARMSTRONG RD                                                                                             SHELTON                  CT           06484
    LIFELOCK INC                                                                       PO BOX 748674                                                                                              LOS ANGELES              CA           90074-8674
    LIFESTYLE 360 INC                                                                  101 NE 3RD AVE 15TH FL                                                                                     FORT LAUDERDALE          FL           33301
    LIFESTYLE MEDIA WORLDWIDE                                                          245 N OCEAN BLVD                        STE 300                                                            DEERFIELD BEACH          FL           33441
    LIFT CAPITAL VENTURES LLC                                                          18601 GREEN VALLEY RANCH BLVD           STE 108 222                                                        DENVER                   CO           80249
    LIG INTERNATIONAL LLC DBA OCEAN FINANCING                                          423 NE 23RD ST                          UNIT 606                                                           MIAMI                    FL           33137
    LIGHTHOUSE LIST COMPANY                                                            27 SE 24TH AVE                                                                                             POMPANO BEACH            FL           33062
    LIGHTHOUSE SERVICES INC                                                            1710 WALTON RD                          STE 204                                                            BLUE BELL                PA           19422
    LIGHTS OF LAS VEGAS INC                                                            4420 S ARVILLE                          39                                                                 LAS VEGAS                NV           89103
    LILCRIS INDUSTRIES LIMITED                                                         16610 BAYVIEW AVE STE 212                                                                                  NEW MARKET               ON           L2X 1X3      CANADA
    LILLIAN VELASQUEZ HILLMAN                                                          ADDRESS ON FILE
    LILLY KOVACEVIC                                                                    ADDRESS ON FILE
    LIMELIGHT COMMUNICATIONS GROUP INC                                                 650 PORTLAND ST                                                                                            DARTMOUTH                NS           B2W 6A0      CANADA
    LIN ANDY                                                                           ADDRESS ON FILE
    LIN PLAZA LLC                                                                      1900 W DR MARTIN LUTHER KING JR BLVD                                                                       TAMPA                    FL           33607
    LIN TELEVISION CORPORATION                  DBA WANE TV                            90357 COLLECTION CTR DR                                                                                    CHICAGO                  IL           60693

    LINCOLN FINANCIAL MEDIA GROUP OF COLORADO                                          7800 E ORCHARD RD                       STE 400                                                            GREENWOOD VILLAGE        CO           80111
    LINCOLN PLAZA ASSOCIATES LLC                                                       6735 TELEGRAPH RD STE 110                                                                                  BLOOMFIELD HILLS         MI           48301-3143
    LINCOLN SUNRISE LLC                                                                696 NE 1235 ST                                                                                             MIAMI                    FL           33161
    LINDA A BURNS                                                                      ADDRESS ON FILE
    LINDA D JOLLY                                                                      ADDRESS ON FILE
    LINDA E KWOUN                                                                      ADDRESS ON FILE
    LINDA HUGHES                                                                       ADDRESS ON FILE
    LINDA KWOUN AND YOUNG JA KWOUN                                                     ADDRESS ON FILE
    LINDA MAY WILLIAMS                                                                 ADDRESS ON FILE
    LINDA WILLIAMS                                                                     ADDRESS ON FILE
    LINDENMEYR MUNROE                         DBA LINDENMEYR EXPRESS                   814 GREENBRIER CIR                      STE D                                                              CHESAPEAKE               VA           23320
    LINDMARK OUTDOOR ADVERTISING                                                       306 LINDMARK AVE                                                                                           PURCELL                  OK           73080
    LINDRELL RICHARD DAVIS DBA MULTI CHANNEL
    PROCESSING GROUP                                                                   1868 STEWART DR                                                                                            CARROLLTON               TX           75010
    LINDSEY AND PORSHA BLEASDILLE                                                      M1 L1 07 AV URANO                       DUKE R08 A45 LONG ISLAND                   SM329 BENITO JUAREZ     QUINTANA ROO                          77560        MEXICO
    LINDSEY BREUBEL                                                                    ADDRESS ON FILE
    LINGOTEK INC                                                                       3400 N ASHTON BLVD                      STE 150                                                            LEHI                     UT           84043
    LINK SYSTEMS INC                                                                   PO BOX 418429                                                                                              BOSTON                   MA           02241-8429
    LINKEDIN CORPORATION                                                               2029 STIERLIN CT                                                                                           MOUNTAIN VIEW            CA           94043
    LINKEDIN CORPORATION                                                               62228 COLLECTIONS CTR DR                                                                                   CHICAGO                  IL           60693-0622
    LINN COUNTY TAX COLLECTOR                                                          PO BOX 309                                                                                                 ALBANY                   OR           97321
    LINNENBRINK CONSTRUCTION                                                           7500 COLLEGE BLVD STE 500                                                                                  OVERLAND PARK            KS           66210
    LINWOOD SHOPPING CENTER INITIATIVE LLC                                             12120 STATE LINE RD                     STE 171                                                            LEAWOOD                  KS           66209
    LION CAPITAL FUNDING GROUP LLC DBA KEVIN
    HARMS                                                                              948 NE 26TH AVE                                                                                            POMPANO BEACH            FL           33062


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                         Name                                    Attention                               Address 1                                 Address 2                           Address 3                  City          State       Zip          Country
    LION CREDIT AND CAPITAL                                                              11801 PIERCE ST                       SECOND FL                                                           RIVERSIDE             CA             92505
    LIONS BALL HOCKEY CLUB                                                               436 6655 178 ST                                                                                           EDMONTON              AB             T5T 4J5      CANADA
    LIONS PATH LLC                                                                       1650 PACIFIC COAST HWY                STE 200                                                             SEAL BEACH            CA             90740
    LIONSTING INC                               DBA IMAGE 360 DTC                        8775 E ORCHARD RD STE 815                                                                                 GREENWOOD VILLAGE     CO             80111
    LIPARI RENTALS                                                                       2506 KRAMER DR                                                                                            NEW IBERIA            LA             70560
    LIPKIN MOLINAR LLC                          DBA CORSIC ANA MARKET PLACE              PO BOX 2294                                                                                               OCEAN SHORES          WA             98569
    LIPSON MANAGEMENT                                                                    1514 W MINERAL KING                                                                                       VISALIA               CA             93291
    LISA BAKER                                                                           ADDRESS ON FILE
    LISA ERICKSON DBA LHE ADVERTISING                                                    9153 MEADOW RUN PL                                                                                        SAN DIEGO             CA             92129
    LISA H RAFTER DBA R AND W PUBLISHING
    ASSOCIATES                                                                           919 CONESTOGA RD BLDG 3               STE 213                                                             BRYN MAWR             PA             19010
    LISA HALL                                                                            ADDRESS ON FILE
    LISA K COPE                                                                          ADDRESS ON FILE
    LISA LIGHTFOOT                                                                       ADDRESS ON FILE
    LISTK LLC                                                                            1200 ABERNATHY RD STE 1700                                                                                ATLANTA               GA             30328
    LITE WAY ELECTRIC LTD                                                                524 16TH ST W                                                                                             PRINCE ALBERT         SASK           S6V 3V8      CANADA
    LITHERLAND WILLIAM                                                                   ADDRESS ON FILE
    LITORGICAL PUBLICATONS INC                                                           PO BOX 510817                                                                                             NEW BERLIN            WI             53151
    LITTLE DARREN                                                                        928 GENERAL BEAUREGARD DR                                                                                 VIRGINIA BEACH        VA             23454
    LITTLE FIVE POINTS COMMUNITY CENTER                                                  1083 AUSTIN AVE                                                                                           NE ATLANTA            GA             30307
    LITTLE LAKE LENDING                                                                  2770 MISSION RANCHERIA RD                                                                                 LAKEPORT              CA             95453
    LITTLE ROCK INSURANCE AGENCY INC                                                     100 N RODNEY PARHAM STE 31                                                                                LITTLE ROCK           AR             72205
    LITTLE ST GEORGE                            C O SUE ORTMAN                           403 ST GEORGE                                                                                             GONZALES              TX             78629

    LIVE NATION WORLDWIDE INC                   DBA FARM BUREAU LIVE AT VIRGINIA BEACH   DEPT LA 23616                                                                                             PASADENA              CA             91185-3616
    LIVEPERSON INC                                                                       27260 NETWORK PL                                                                                          CHICAGO               IL             60673-1272
    LIVING WATER FIRE PROTECTION LLC                                                     1160 MCKENZIE RD                                                                                          CANTONMENT            FL             32533
    LIVING WATER RESORTS                                                                 19 KEITH AVE                          RR 4                                                                COLLINGWOOD           ON             L9Y 4T9      CANADA
    LIVINGSTON SHARON                                                                    103 EL ROSA RD                                                                                            MOORESVILLE           NC             28115
    LIZCANO LLC                                                                          1730 W BROADWAY                                                                                           PRINCETON             IN             47670
    LJ BROBST RENOVATIONS                                                                1333 WHITE MARLIN LN                                                                                      VIRGINIA BEACH        VA             23464
    LKMT ENTERPRISES INC                                                                 7820 PORTLAND AVE SO                                                                                      PORTLAND              MN             55420
    LLORENS ALFREDA J                                                                    ADDRESS ON FILE
    LLOYD AND TAYLOR MORTGAGE LLC                                                        1445 WESTBANK EXPRESSWASY STE 5E                                                                          WESTWEGO              LA             70094
    LLOYD FRYHOVER                                                                       ADDRESS ON FILE
    LM COMMUNICATION OF WV LLC                                                           100 KANAWHA TERRACE                                                                                       ST ALBANS             WV             25177
    LMB AUTO FINANCE LLC                                                                 12181 BLUFF CREEK DR                  STE 250                                                             PLAYA VISTA           CA             90094
    LMVISUALS LLC                                                                        705 FULTON ST W                                                                                           GRAND RAPIDS          MI             49504
    LOAN EXCHANGE LLC                                                                    333 CITY BLVD W                       STE 1700                                                            ORANGE                CA             92868
    LOAN SUPPLY COMPANY                                                                  310 BRONZE                                                                                                IRVINE                CA             92618
    LOAN SUPPLY COMPANY LLC                                                              310 BRONZE                                                                                                IRVINE                CA             92618
    LOANCALL CALIFORNIA LLC                                                              21600 OXNARD ST                       STE 400                                                             WOODLAND HILLS        CA             91367
    LOANRY LLC                                                                           23 CORPORATE PLZ                      STE 100                                                             NEWPORT BEACH         CA             92660
    LOCAL INTERNET LEADS                                                                 6250 BONO CT                                                                                              DUBLIN                OH             43016
    LOCAL PAGES OF OHIO LLC                                                              4910 W AMELIA EARHART DR              STE 1                                                               SALT LAKE CITY        UT             84116
    LOCK AND GO SELF STORAGE INC                                                         1050 FREEDOM CRIDER RD                                                                                    FREEDOM               PA             15042
    LOCKHART INDUSTRIES INC                                                              9610 SKILLMAN ST                                                                                          DALLAS                TX             75243
    LODEROCK ADVISORS INC                                                                ONE TORONTO ST                        STE 202                                                             TORONTO               ON             M5C 2V6      CANADA
    LOEB AND LOEB LLP                                                                    10100 SANTA MONICA BLVD               STE 2200                                                            LOS ANGELES           CA             90067
    LOGAN CROSSING LLC                                                                   855 BROAD ST                          STE 300                                                             BOISE                 ID             83702
    LOGAN CROSSINGLLC                                                                    855 BROAD ST 300                                                                                          BOISE                 ID             83702-7154
    LOGAN POWELL                                                                         ADDRESS ON FILE
    LOGICIEL DR TAX SOFTWARE INC                                                         3333 GRAHAM BLVD                      STE 222                                                             MONTREAL              QC             H3R 3L5      CANADA
    LOGMEIN INC                                                                          500 UNICORN PARK DR                                                                                       WOBURN                MA             01801
    LOGO2GO                                                                              17045 BELLFLOWER BLVD                                                                                     BELLFLOWER            CA             90706
    LOGOS REAL ESTATE MANGEMENT LLC                                                      2801 LEPRECHAUN LN                                                                                        PALM HARBOR           FL             34683
    LOGUE JR EDWARD                                                                      ADDRESS ON FILE
    LOKEY VENTURES INC                          ATTTN KEITH WORDEN                       7575 OAK SCHOOL RD                                                                                        ORONO                 ON             L0B 1M0      CANADA
    LOLLY SKELDON                                                                        ADDRESS ON FILE
    LOMA VISTA ASSOCIATES LLC                   C O GJ REALY MANAGEMENT                  49 W 37TH ST                          9TH FL                                                              NEW YORK              NY             10016-4328
    LONDON DISTRICT ENERGY LP                                                            333 BAY ST                            STE 710                                                             TORONTO               ON             M5H 2R2      CANADA
    LONDON DRUGS LTD                                                                     UNIT 1 900 GIBSONS WAY                                                                                    GIBSONS               BC             V0N 1V7      CANADA
    LONDON HYDRO                                                                         111 HORTON ST                         PO BOX 3060                                                         LONDON                ON             N6A 4J8      CANADA
    LONDON KNIGHTS HOCKEY                                                                99 DUNDAS ST                                                                                              LONDON                ON             N6A 6K1      CANADA
    LONDON SQUARE SPECIALTY FINANCE LLC                                                  18300 VON KARMAN AVE                  STE 410                                                             IRVINE                CA             92612
    LONE STAR SIGNS                                                                      1008 E FLORIDA                        PO BOX 3793                                                         MIDLAND               TX             79702
    LONESTAR PROPERTIES                                                                  3065 N JOSEY LN 10                                                                                        CARROLLTON            TX             75007
    LONG AND FOSTER REAL ESTATE                                                          PO BOX 222006                                                                                             CHANTILLY             VA             20153
    LONG ISLAND WEB PAGE DESIGN DBA BIG STEPS
    MARKETING                                                                            14460 NEW FALLS OF NEUSE              STE 314                                                             RALEIGH               NC             27614
    LONG MICHAEL                                                                         ADDRESS ON FILE
    LONGEVITY FIRST INC                                                                  39 NEWARK AVE                                                                                             STATEN ISLAND         NY             10302
    LONGFIELD CONSULTING LLC                                                             113 MOSLE RD                                                                                              FAR HILLS             NJ             07931
    LONGFIELD ROSS                                                                       113 MOSLE RD                                                                                              FAR HILLS             NJ             07931
    LONGSHIP CAPITAL LLC                        DBA DOBYS BRIDGE                         4600 PARK RD STE 370                                                                                      CHARLOTTE             NC             28209
    LOOK COMMUNICATIONS INC TELNET
    COMMUNICATIONS                                                                       MCLAUGHLIN SQUARE                     50 RICHMOND ST E STE 107                                            OSHAWA                ON             L1G 7C7      CANADA
    LOOK SIGNS                                                                           555 EDWARD AVE                        UNIT 17                                                             RICHMOND HILL         ON             L4C 5K6      CANADA
    LOPEZ ENID                                                                           ADDRESS ON FILE
    LORE VONMINNIGERODE                                                                  2 40 CENTRE ST N                                                                                          HUNSTVILLE            ON             P1H 1X4      CANADA
    LORENA MENDOZA                                                                       ADDRESS ON FILE
    LORMAN EDUCATION SERVICES                                                            PO BOX 509                                                                                                EAU CLAIRE            WI             54702-0509
    LORRAINE GOMEZ                                                                       ADDRESS ON FILE
    LOS ANGELES BUSINESS JOURNAL                                                         5700 WILSHIRE BLVD STE 170                                                                                LOS ANGELES           CA             90036-3659
    LOS ANGELES CONVENTION CENTER                                                        1201 S FIGUEROA ST                                                                                        LOS ANGELOS           CA             90015
    LOS ANGELES COUNTY SHERIFFS DEPARTMENT                                               PO BOX 843580                                                                                             LOS ANGELES           CA             90084
    LOS ANGELES COUNTY TAX COLLECTOR                                                     PO BOX 54027                                                                                              LOS ANGELES           CA             90054-0027

    LOS ANGELES COUNTY WATERWORKS DISTRICTS                                              PO BOX 512150                                                                                             LOS ANGELES           CA             90051-0150


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                       Name                                Attention                              Address 1                                 Address 2                           Address 3                     City        State       Zip          Country
    LOS ANGELES DEPARTMENT OF WATER AND
    POWER                                                                          PO BOX 30808                                                                                             LOS ANGELES              CA           90030-0808
    LOS ANGELES REGISTRAR RECORDER COUNTY
    CLERK                                   BUSINESS FILINGS ROOM 1201             12400 IMPERIAL HWY                                                                                       NORWALK                  CA           90650
    LOS ANGELES TIMES                                                              FILE 54221                                                                                               LOS ANGELES              CA           90074-4221
    LOS KITOS                                                                      1833 E 17TH ST                        STE 210                                    ATTN MARTHA MONTOYA     SANTA ANA                CA           92705
    LOSCALZO ASSOCIATES LLC                 DBA LOSCALZO INSTITUTE                 1151 BROAD ST STE 214                                                                                    SHREWSBURY               NJ           07702
    LOTENBERG STANLEY                                                              ADDRESS ON FILE
    LOTT AND FRIEDLAND PA                                                          PO BOX 141098                                                                                            CORAL GABLES             FL           33114-1098
    LOTUS RADIO CORP RENO                                                          2900 SUTRO ST                                                                                            RENO                     NV           89512
    LOUD CONSULTING INC                                                            1887 B MADISON CT                                                                                        LANGLEY AFB              VA           23665
    LOUIS SULLIVAN                                                                 ADDRESS ON FILE
    LOUISANA DEPARTMENT OF REVENUE                                                 PO BOX 201                                                                                               BATON ROUGE              LA           70821-0201
    LOUISIANA DEPARTMENT OF REVENUE                                                PO BOX 201                                                                                               BATON ROUGE              LA           70821-0201
    LOUISIANA DEPARTMENT OF REVENUE                                                PO BOX 751                                                                                               BATON ROUGE              LA           70821-0751
    LOUISIANA DEPARTMENT OF TREASURY UCP    UNCLAIMED PROPERTY DIVISION            PO BOX 91010                                                                                             BATON ROUGE              LA           70821-9010
    LOUISIANA SECRETARY OF STATE            CMMERCIAL DIVISION                     PO BOX 94125                                                                                             BATON ROUGE              LA           70804-9125
    LOUISIANNA PRESS ASSOCIATION                                                   404 EUROPE ST                                                                                            BATON ROUGE              LA           70802
    LOUISVILLE METRO REVENUE COMMISSION                                            PO BOX 35410                                                                                             LOUISVILLE               KY           40232-5410
    LOUISVILLE WATER                                                               PO BOX 32460                                                                                             LOUISVILLE               KY           40232
    LOURDES MIRAMONTES                                                             ADDRESS ON FILE
    LOVEJOT SINGH                                                                  4775 ARMOURTY ST                                                                                         NIAGARA FALLS            ON           L2E 1S7      CANADA
    LOVELAND PUBLISHING CORP                                                       PO BOX 59                                                                                                LOVELAND                 CO           80539-0059
    LOVERS ATWORK OFFICE FURNITURE INC                                             200 ADELAIDE ST S                                                                                        LONDON                   ON           N5Z 3L1      CANADA
    LOW COST SIGNS                                                                 54057 RR 212                                                                                             ARDROSSAN                AB           T8G 2C2      CANADA
    LOWE MARTIN COMPANY INC                                                        BOX 9702                                                                                                 OTTAWA                   ON           K1G4E9       CANADA
    LOWENSKY CORTORREAL                                                            12827 AUBURN GROVE LN                                                                                    HOUSTON                  TX           77041

    LOWER DEMUNDS PROPERTY MANAGEMENT LLC                                          2414 MEMORIAL HWY                                                                                        DALLAS                   PA           18612
    LOWERY HERNDON FELICIA                                                         ADDRESS ON FILE
    LOYD D GULARTE INC                                                             780 TRANCAS ST                                                                                           NAPA                     CA           94558
    LPR GROUND TRANSPORATION                                                       PO BOX 10067                                                                                             NORFOLK                  VA           23513
    LRP PUBLICATIONS                                                               PO BOX 980                                                                                               HORSHAM                  PA           19044-0980
    LRP PUBLICATIONS FL                                                            DEPT 170 F                            PO BOX 24668                                                       WEST PALM BEACH          FL           33416-4668
    LS SECURITY SYSTEMS                                                            2903 DEWDNEY AVE                                                                                         REGINA                   SK           S4T 0Y1      CANADA

    LTS HOLDINGS ALBERTA LTD                C O HOPEWELL REAL ESTATE SERVICES LP   410 2020 4 ST SW                                                                                         CALGARY                  AB           T2S 1W3      CANADA
    LU LI                                                                          LWR 4579 JEPSON ST                                                                                       NIAGRA FALLS             ON           L2E 1J5      CANADA
    LUBBERS PROPERTIES INC                  C O COMMUNITY RESOURCE BANK            4070 GOLFVIEW DR                                                                                         JORDAN                   MN           55352
    LUCCA PROPERTIES LLC DO NOT USE                                                311 MARSTON LN                                                                                           RICHMOND                 VA           23221
    LUCCA PROPERTIESLLC                                                            311 MARSTON LN                                                                                           RICHMOND                 VA           23221
    LUCID SOFTWARE INC                                                             10355 S JORDON GATEWAY                STE 300                                                            SOUTH JORDON             UT           84095
    LUCKY BAMBOO SHOP                                                              720 WILLOW BROOK                                                                                         CHESAPEAKE               VA           23320
    LUCKY GROUP INVESTMENTS LLC                                                    1028 MISSION ST                                                                                          SAN FRANCISCO            CA           94103
    LUCKY STRIKE                                                                   ADDRESS ON FILE
    LUFKIN GKD PARTNERS LP                                                         303 E MAIN ST STE 201                                                                                    BARRINGTON               IL           60010
    LUIS CELAYA                                                                    ADDRESS ON FILE
    LUIS RIVERA                                                                    ADDRESS ON FILE
    LUISE ROSPERICH                                                                ADDRESS ON FILE
    LUMIN ART SIGNS INC                                                            4320A S ADAMS ST                                                                                         TACOMA                   WA           98409-2921
    LUMOS NETWORKS                                                                 PO BOX 580062                                                                                            CHARLOTTE                NC           28258-0062
    LUNAMETRICS LLC                                                                24 S 18TH ST STE 100                                                                                     PITTSBURGH               PA           15203
    LUNDY DAPHNE                                                                   ADDRESS ON FILE
    LUONG LY AND TRINH LY                                                          ADDRESS ON FILE
    LUTHER BURNEY ROY MEADERS AND JAMES J
    DAVIDSON III                                                                   PO BOX 2908                                                                                              LAFAYETTE                LA           70502
    LUTHER W LONG                                                                  ADDRESS ON FILE
    LUX MARKETING SOLUTIONS LTD                                                    BOX 11084                                                                                                LLOYDMINSTER             AB           T9V 3B4      CANADA
    LUXOR MANAGEMENT                                                               289 CEDAR ST                          STE 200                                                            SUDBURY                  ON           P3B 1M8      CANADA
    LUXOR MANAGEMENT INC                                                           200 289 CEDAR ST                                                                                         SUDBURY                  ON           P3B 1M8      CANADA
    LUXURIOUS PROPERTIES                                                           2355 WESTWOOD BLVD STE 426                                                                               LOS ANGELES              CA           90064
    LUZ D VAZQUEZ                                                                  ADDRESS ON FILE
    LVM ELECTRONICS LLC                                                            PO BOX 128                                                                                               BROOKVILLE               OH           45309
    LYALL DESIGN INC                                                               420 WORLD TRADE CTR                                                                                      NORFOLK                  VA           23510
    LYFT CAPITAL INC                                                               PO BOX 526825                                                                                            MIAMI                    FL           33152
    LYLE DAVIS                                                                     ADDRESS ON FILE
    LYNCEN LLC                                                                     2960 FAIRVIEW DR                                                                                         OWENSBORO                KY           42303
    LYNCH BERNARD                                                                  ADDRESS ON FILE
    LYNCH BERNARD                                                                  ADDRESS ON FILE
    LYNCH KEN                                                                      ADDRESS ON FILE
    LYNCH PHILIP                                                                   ADDRESS ON FILE
    LYNN PROPERTIES LLC                                                            9525 BLUE HERON DR                                                                                       MIDDLETON                WI           53562
    LYNN Y CONNORS                                                                 ADDRESS ON FILE
    LYNNE FARRAR                                                                   ADDRESS ON FILE
    LYNX FINANCIALS LLC                                                            900 W TEMPLE ST                       APT 404                                                            LOS ANGELES              CA           90012
    LYON COUNTY TREASURER                                                          27 S MAIN ST                                                                                             YERINGTON                NV           89447
    LZ AD SALES LLC                                                                616 NE ROSSETTI LN                                                                                       BOCA RATON               FL           33487
    M 4 LLC                                 AUBURN CENTER C O KIDDER MATHEWS       PO BOX 34860                                                                                             SEATTLE                  WA           98124-1860
    M AND A LAWN CARE                                                              691 KALE ADAMS RD                                                                                        LEAVITTSBURG             OH           44430
    M AND M SERVICES INC                                                           3903 BRUSH HILL RD                                                                                       NASHVILLE                TN           37216
    M AND MS                                                                       ONE SUNSET WAY                                                                                           HENDERSON                NV           89014
    M AND N HALL LLC                                                               8431 N SHADOW WASH WAY                                                                                   TUCSON                   AZ           85743
    M AND O ELECTRICAL CORP                                                        920 VENTURES WAY                      STE 4                                                              CHESAPEAKE               VA           23320
    M CO TULSA LLC                                                                 5201 JOHNSON DR                       STE 450                                                            MISSION                  KS           66205
    M ELIE LLC                                                                     PO BOX 280148                                                                                            SAN FRANCISCO            CA           94128-0148
    M ETA TRABING                                                                  739 COPPER CREEK DR                                                                                      KATY                     TX           77450
    M LEO STORCH DEVELOPMENT CORP                                                  25 HOOKS LN STE 312                                                                                      BALTIMORE                MD           21208
    M M LLC                                 C O 645 BERGEN AVE REALTY LLC          6420 E MAIN ST 202                                                                                       REYNOLDSBURG             OH           43068
    M PICCIONI                                                                     1010 80 AVE                                                                                              LASALLE                  QC           H8R 4B7      CANADA


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    M W SCHOFIELD                                                                  ADDRESS ON FILE
    MA OPERATING INC                          DBA PAYDAYPERX                       132 N HIGH ST STE A                                                                                      GAHANNA                   OH           43230
    MAAGERO RAY                                                                    ADDRESS ON FILE
    MAC 3 LLC                                                                      5209 COBBLER CT                                                                                          PERRY HALL                MD           21128
    MAC MURRAY AND SHUSTER LLP                                                     6525 W CAMPUS OVAL                   STE 210                                                             NEW ALBANY                OH           43054
    MACDONALD BROADCASTING WHZZ FM                                                 600 W CAVANAUGH                                                                                          LANSING                   MI           48910
    MACERICH CITADEL LIMITED PARTNERSHIP                                           750 CITADEL DR E                     STE 3114 ATTN DAWN ROWLEY                                           COLORADO SPRINGS          CO           80909
    MACH PROPERTIES INC                                                            206 W CAMP ST                                                                                            E PEORIA                  IL           61611
    MACK PEST ELIMINATORS                                                          PO BOX 2066                                                                                              GREENVILLE                SC           29602
    MACKENZIE GRANT AND BRIDGET                                                    ADDRESS ON FILE
    MACKIE QHP OFFICE SERVICES LTD                                                 933 BLOOR ST W                                                                                           OSHAWA                    ON           L1J 5Y7      CANADA
    MACLAREN PROPERTY MAINTENANCE             ATTN JORGE BURTITICA                 155 LOUTH ST APT 302                                                                                     ST CATHERINES             ON           L2S 2R4      CANADA
    MACON HOCKEY LLC                                                               200 COLISEUM DR                                                                                          MACON                     GA           31217
    MACON TAX COMMISSIONER                                                         PO BOX 4503                                                                                              MACON                     GA           31208-4503
    MACON WATER AUTHORITY                                                          PO BOX 108                                                                                               MACON                     GA           31202-0108
    MAD DOG CRESTING                                                               BOX 14                                                                                                   FAIRVIEW                  AB           T0H 1L0      CANADA
    MADELINE MOORE                                                                 ADDRESS ON FILE
    MADERA DEVELOPMENT                        C O ASSETS MANAGEMENT INC            585 E LOS ANGELES AVE STE F                                                                              SIMI VALLEY               CA           93065
    MADISON JANA                                                                   ADDRESS ON FILE
    MADISON MAIN                                                                   ADDRESS ON FILE
    MADISON MIKE                                                                   ADDRESS ON FILE
    MADISON MOBILE MEDIA                                                           8 PLEASANT ST                                                                                            REVERE                    MA           02151
    MADISON PARKER INC                                                             1393 VETERANS HWY                                                                                        HAUPPAUGE                 NY           11788

    MADMAC INC                                DBA MR HANDYMAN OF GREATER PORTLAND 190 US ROUTE 1 STE 2                                                                                      FAIMOUTH                  ME           04105
    MADRIVO MEDIA LLC                                                             10300 W CHARLESTON BLVD               STE 13 196                                                          LAS VEGAS                 NV           89135
    MAEGAN SAVAGE                                                                 ADDRESS ON FILE
    MAELI A LEE                                                                   ADDRESS ON FILE
    MAFIZA RUSTAMOVA                                                              ADDRESS ON FILE
    MAG IV INC                                                                    110 SE K ST                                                                                               GRANTS PASS               OR           97526
    MAGIERSKI ALICE                                                               ADDRESS ON FILE
    MAGNETISIGNS WINDSOR NORTH                                                    2365 NORMAN RD                                                                                            WINDSOR                   ON           N8T 1S6      CANADA
    MAGNETSIGNS ADVERTISING INC CAMROSE                                           4225 38 ST                                                                                                CAMROSE                   AB           T4V 3Z3      CANADA
    MAGNETSIGNS CALGARY INC                                                       8 7139 40 ST SE                                                                                           CALGARY                   AB           T2C 2H7      CANADA
    MAGNETSIGNS LONDON                                                            70355 RD 164                          BOX 32                                                              KIRKTON                   ON           N0K 1K0      CANADA
    MAGNETSIGNS OSHAWA                                                            1424 TOWNLINE RD N                                                                                        OSHAWA                    ON           L1H 8L7      CANADA
    MAGNETSIGNS SE EDMONTON                                                       1018715 ALBERTA LTD O A               42 22148 S COOKING LAKE RD                                          SHERWOOD PARK             ALBERTA      T8E 1G9      CANADA
    MAGNETSIGNS SE EDMONTON                                                       42 22146 S COOKING LAKE RD                                                                                SHERWOOD PARK             ALBERTA      T8E 1G9      CANADA
    MAGNETSIGNS ST CATHARINES INC                                                 BOX 417                                                                                                   NIAGARA FALLS             ON           L2E 6T8      CANADA
    MAGNETSIGNS SUDBURY                                                           2348 SANFRANCISCO ST                                                                                      SUDBURY                   ON           P3A 2G7      CANADA
    MAGNETSIGNS VAUGHAN                                                           3651 MAJOR MACKENZIE DR W             STE 316                                                             VAUGHAN                   ON           L4H 0A2      CANADA
    MAGNETSIGNS WATERLOO                                                          19 190 GRULKE ST                                                                                          KITCHENER                 ON           N2A 1T1      CANADA
    MAGNOLIA ENTERPRISE LLC                                                       PO BOX 1385                                                                                               WINDERMERE                FL           34786
    MAGNOLIA PLUMBING INC                                                         600 GALLATIA ST NE                                                                                        WASHINGTON                DC           20017
    MAGNUM CAPITAL GROUP LLC                                                      11282 WASHINGTON BLVD                 STE 103                                                             CULVER CITY               CA           90230
    MAGNUM SECURITY AND INVESTIGATION INC                                         4048 N MILWAUKEE AVE                                                                                      CHICAGO                   IL           60641
    MAIDELYN ACEVEDO                                                              ADDRESS ON FILE
    MAIL BOXES ETC                                                                1809 W MAIN                                                                                               CARBONDALE                IL           62901
    MAIL CENTER HEAVEN                                                            1949 114 LYNNHAVEN PKY                                                                                    VIRGINIA BEACH            VA           23456
    MAIL MARKETING SYSTEMS                                                        9420 GERWIG LN                                                                                            COLUMBIA                  MD           21046
    MAIL PRINT INC                                                                8300 NE UNDERGROUND DR                PILLAR 122                                                          KANSAS CITY               MO           64161
    MAILFINANCE INC                                                               478 WHEELERS FARMS RD                                                                                     MILFORD                   CT           06461
    MAILFINANCE INC DBA PRIORITY NEOPOST                                          DEPT 3689                             PO BOX 123689                                                       DALLAS                    TX           75312-3689
    MAIN HOCKEY PARTNERS                                                          ONE LASALLE SQUARE                                                                                        PROVIDENCE                RI           02903
    MAIN STREET FINANCE GROUP LLC                                                 4485 STIRLING RD                      STE 109                                                             DANIA BEACH               FL           33314
    MAIN STREET PIQUA INC                                                         PO BOX 1703                                                                                               PIQUA                     OH           45356
    MAIN STREET SUBSIDIZERS LLC                                                   1830 S OCEAN DR 1202                                                                                      HALLANDALE BEACH          FL           33009
    MAIN VENTURES LLC DBA MCCLENDON CAPITAL                                       82 FERRY ST                           UNIT 1                                                              JERSEY CITY               NJ           07307
    MAINE REVENUE SERVICES                                                        PO BOX 9101                                                                                               AUGUSTA                   ME           04332-9101
    MAINE SECRETARY OF STATE                  DIVISION OF CORP UCC AND COMMISSION 101 STATE HOUSE STATION                                                                                   AUGUSTA                   ME           04333-0101
    MAJESTIC LAKE FINANCIAL INC                                                   635 E HWY                             20 K                                                                UPPER LAKE                CA           95485
    MAJID SHEHZAD                                                                 ADDRESS ON FILE
    MAJOR LEAGUE CAPITAL LLC                                                      3615 NE 207TH ST                      APT 3206                                                            AVENTURA                  FL           331880
    MAJORFRANCHISESCOM                                                            100 KING ST W                         37TH FL                                                             TORONTO                   ONTARIO      M5X 1C9      CANADA
    MAKOSHRED LLC                                                                 PO BOX 3717                                                                                               FLAGSTAFF                 AZ           86003
    MALAIKA CHAMBERS                                                              ADDRESS ON FILE
    MALDONADOALCAL GABRIELA                                                       ADDRESS ON FILE
    MALEH BROTHERS LLC                                                            346 AVE W                                                                                                 BROOKLYN                  NY           11223
    MALEY MICHELLE                                                                ADDRESS ON FILE
    MALKAN BROADCASTING                                                           PO BOX 9757                                                                                               CORPUS CHRISTI            TX           78469
    MALL 1 BAY PLAZA LLC                                                          546 5TH AVE 15TH FL                                                                                       NEW YORK                  NY           10036
    MALLARD DONNIE                                                                ADDRESS ON FILE
    MALON D MIMMS                                                                 ADDRESS ON FILE
    MALONE DISPLAYS                                                               5403 DIVIDEND DR                                                                                          DECATUR                   GA           30035
    MANAGECAMP                                                                    1 EVES DR SUTIE 148                                                                                       MARLTON                   NJ           08053
    MANAGED NETWORK SYSTEMS INC                                                   3363 TECUMSEH RD E                                                                                        WINDSOR                   ON           N8W 1H4      CANADA
    MANAGED PHARMACY PROGRAMS                                                     10860 N MAVINEE DR                                                                                        ORO VALLEY                AZ           85737
    MANAGEMENT 2000                                                               PO BOX 941419                                                                                             HOUSTON                   TX           77094-8419
    MANAGER OF FINANCE                                                            WELLINGTON WEBB BUILDING              201 W COLLEGE AVE MC 405                    DEPT 1009               DENVER                    CO           80202
    MANATT PHELPS AND PHILLIPS LLP                                                2049 CENTERY PARK E                   SUTE 1700                                                           LOS ANGELES               CA           900067-310
    MANBIR SINGH                                                                  ADDRESS ON FILE
    MANCHESTER SIGNS PRINTING AND GRAPHICS                                        2 1812 BYLAND RD                                                                                          WEST KELOWNA              BC           V1Z 1A9      CANADA
    MANCHESTER TOWNSHIP                       JEAN STAMBAUGH                      3204 FARMTRAIL RD                                                                                         YORK                      PA           17406
    MANCON COMMERCIAL SALES                                                       1961 DIAMOND SPRINGS RD                                                                                   VIRGINIA BEACH            VA           23455
    MANGEAC DANIEL                                                                ADDRESS ON FILE
    MANGOS TROPICAL CAFE                      ATTN FELIX VEGA                     900 OCEAN DR                                                                                              MIAMI BEACH               FL           33139
    MANIFOLD DATA MINING INC                                                      501 ALLIANCE AVE                      STE 205                                                             TORONTO                   ON           M6H 3J3      CANADA
    MANITOBA CURLING ASSOCIATION INC                                              309 145 PACIFIC AVE                                                                                       WINNIPEG                  MB           R3B 2Z6      CANADA



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    MANITOBA HYDRO                                                               PO BOX 7900 STN MAIN                                                                                      WINNIPEG                MB           R3C 5R1      CANADA
    MANN AND ALPERT RENTALS LLP                                                  2602 N SLAPPEY BLVD                                                                                       ALBANY                  GA           31701-1014
    MANRON LLC                                                                   23388 MAYPOLE RD                                                                                          LEONARDTOWN             MD           20650
    MANSFIELD EVIE                              MODELING AND TALENT AGENCY       712 HILLINGDON CT H                                                                                       VIRGINIA BEACH          VA           23462
    MANTA MEDIA INC                                                              8760 ORION PL                          STE 100                                                            COLUMBUS                OH           43240
    MANUEL MUNOZ                                                                 ADDRESS ON FILE

    MANUEL PEREZ JR DBA MASTER TRUST FINANCE                                     1000 5TH ST                                                                                               MIAMI BEACH             FL           33139
    MANULIFE FINANCIAL                                                           PO BOX 1627                                                                                               WATERLOO                ON           N2J 4P4      CANADA
    MANZANO BAND BOOSTERS                                                        11 EXPRESS BLVD                                                                                           SANDIA PARK             NM           87047-4605
    MAPLE CITY MINI STORAGE                                                      7690 QUEENS LINE                       PO BOX 955                                                         CHATHAM                 ON           N7M 5L3      CANADA
    MAPLE CITY MINI STORAGE                                                      PO BOX 955                                                                                                CHATHAM                 ON           N7M 5L3      CANADA
    MAPLE DRIVE PARTNERS LLC                                                     3151 MAPLE DR NE                                                                                          ATLANTA                 GA           30305
    MAPLETOWN REALTY LLC                                                         150 GREAT NECK                         NY STE 304                                                         GREAT NECK              NY           11021
    MAPLETOWN REALTY LLC                                                         150 GREAT NECK RD STE 304              C O NAMDAR REALTY GROUP LLC                                        GREAT NECK              NY           11021
    MARATHON CONSULTING LLC                                                      4876 188 PRINCESS ANNE RD              PMB 310                                                            VIRGINIA BEACH          VA           23462
    MARBONITA LLC                               C O GC TRUSTED AGENTS INC        2668 N LAS VEGAS BLVD STE 104                                                                             NORTH LAS VEGAS         NV           89030
    MARC DEL PRIORE DBA TRADEMARC GLOBAL                                         2337 OTTS RD                                                                                              PENNSBURG               PA           18073
    MARC MANAGEMENT                                                              17600 YONGE ST                         PO 21584                                                           NEW MARKET              ON           L3Y 8J1      CANADA
    MARC S GIOVINSKY DPM LLC                                                     3939 HOUMA BLVD BLDG 6 STE 224                                                                            METAIRIE                LA           70006
    MARC S GIOVINSKY DPM LLC                                                     3939 HOUMA BLVD BLDG 6 STE 224                                                                            METARIE                 LA           70006
    MARC WARING VENTURES LLC                    ATTN MARC PROSSER                262 4TH AVE STE 4                                                                                         BROOKLYN                NY           11215
    MARCA GLOBAL LLC                            DBA INTERNET REPUTATION          7100 E BELLEVIEW AVE STE 310                                                                              GREENWOOD VILLAGE       CO           80111

    MARCEL FREUND DBA GOTHAM CITY CAPITAL LLC                                    1914 NEW YORK AVE                                                                                         BROOKLYN                NY           11210

    MARCEL MARIANO DBA BUSINESS LOAN FUNDING                                     3333 S CONGRESS AVE                    STE 303                                                            DELRAY BEACH            FL           33444
    MARCELLA N BECKUM                                                            ADDRESS ON FILE
    MARCH OF DIMES                                                               10 OVERLEA BLVD                                                                                           TORONTO                 ON           M4H 1A4      CANADA
    MARCH OF DIMES                           ATTN KRISTIN WALSH OR SUSAN SMITH   860 GREENBRIER CIR STE 502                                                                                CHESAPEAKE              VA           23320
    MARCH OF DIMES NATIONAL OFFICE                                               1275 MAMARONECK AVE                                                                                       WHITE PLAINS            NY           10605
    MARCHAND AND ASSOCIATES LTD              R E APPRAISERS AND CONSULTANTS      4525 RHODES DR STE 200                                                                                    WINDSOR                 ON           N8W 5R8      CANADA
    MARCIA C TEAGLE PARKER                                                       ADDRESS ON FILE
    MARCO AND WENDIE AYALA                                                       ADDRESS ON FILE
    MARCUM LLP                                                                   750 THIRD AVENURE 11TH FL                                                                                 NEW YORK                NY           10017
    MARCUS INVESTMENTS LLC                                                       1207 TOWNSEND CT                                                                                          DOUGLAS                 WY           82633
    MARCUS T JOHNSON                                                             ADDRESS ON FILE
    MARCUSE OHM DBA ASSURANCE 832                                                3044 PASEO HILLS WAY                                                                                      HENDERSON               NV           89052
    MARDEN TIM                                                                   ADDRESS ON FILE
    MARGARET KINLEY                                                              ADDRESS ON FILE
    MARGARET NAVARRO DBA NORTH STAR BUSINESS
    SERVICES LLC                                                                 60 BAY ST                              STE 701                                                            STATEN ISLAND           NY           10301
    MARGARITA LEUNG                                                              ADDRESS ON FILE
    MARGUERITE R GROVE DBA WIZARD CAPITAL                                        11503 CORLYN DR                                                                                           ST LOUIS                MO           63138
    MARGUERITE SALMEN DBA BRIDGE FUNDING
    PARTNERS                                                                     4649 MAC ARTHUR CT                     STE 1100                                                           NEWPORT BEACH           CA           92660
    MARIA DEL PILAR MARTINEZ                                                     ADDRESS ON FILE
    MARIA GUEVARA                                                                ADDRESS ON FILE
    MARIA SOLIS                                                                  ADDRESS ON FILE
    MARIA SOTO                                                                   ADDRESS ON FILE
    MARIA WARD                                                                   ADDRESS ON FILE
    MARIAN WALTERS                                                               ADDRESS ON FILE
    MARICAR SYED AND SRINIVASAN SRIVIDYA                                         ADDRESS ON FILE
    MARIE FLETCHER                                                               ADDRESS ON FILE
    MARIELLE LOECHER                                                             ADDRESS ON FILE
    MARIETTA DAILY JOURNAL                                                       580 S FAIRGROUND ST SE                                                                                    MARIETTA                GA           30060
    MARIETTA DRAPERY AND WINDOW COVERINGS CO
    INC                                                                          3640 REED DR SW                                                                                           MARIETTA                GA           30061-0569
    MARILEN INVESTMENTS LTD                                                      117 442 MILEN RD                                                                                          STONE CREEK             ON           L8E 6H2      CANADA
    MARILYN WALLACE DBA THE FLAVOR TABLE                                         2812 W FLORENCE AVE                                                                                       LOS ANGELES             CA           90043
    MARIN SILVIA                                                                 ADDRESS ON FILE
    MARINA SHORES LTD                                                            2100 MARINA SHORES DR                                                                                     VIRGINIA BEACH          VA           23451
    MARINER MARKETPLACE LLC                                                      2829 RUCKER AVE                                                                                           EVERETT                 WA           98201
    MARINO ULISES                                                                ADDRESS ON FILE
    MARION RATLEY DBA BUDDY RATLEY SIGNS                                         2207 DAYTON BLVD                                                                                          CHATTANOOGA             TN           37415
    MARK A BOLING                                                                ADDRESS ON FILE
    MARK A HOLLIS                                                                ADDRESS ON FILE
    MARK A WINGO DBA NEW BEGINNING FINANCIAL
    GROUP LLC                                                                    3330 CUMBERLAND BLVD                   STE 500                                                            ATLANTA                 GA           30339
    MARK ANTHONY AYERS DBA A1 FINANCIAL USA                                      2516 PINECONE WAY                                                                                         ONTARIO                 CA           91761
    MARK ASPILI DBA 5 DAY FUNDING                                                253 3RD ST                             STE 2D                                                             HOBOKEN                 NJ           07030
    MARK ASPILI DBA MI INNOVATIONS LLC                                           30 WALL ST 8TH FL                                                                                         NEW YORK                NY           10005
    MARK BANSCHBACH                                                              ADDRESS ON FILE
    MARK BOLING                                                                  ADDRESS ON FILE
    MARK BRAYLEY BLISS                                                           ADDRESS ON FILE
    MARK COLE                                                                    ADDRESS ON FILE
    MARK DUNNING INDUSTRIES INC                                                  699 JACK MILLER BLVD                                                                                      CLARKSVILLE             TN           37042
    MARK GADEMSKY                                                                ADDRESS ON FILE
    MARK GAREMSKY                                                                ADDRESS ON FILE
    MARK MYERS                                                                   ADDRESS ON FILE
    MARK R CASTO                                                                 ADDRESS ON FILE
    MARK THENE DBA TWC                                                           1040 N BATAVIA ST                      UNIT E                                                             ORANGE                  CA           92867
    MARK W BARFIELD CPA                                                          113 BARTRAM LN                                                                                            COLLEYVILLE             TX           76034
    MARK W ROWE                                                                  ADDRESS ON FILE
    MARK W STEPHENS AND ASSOCIATES LLC                                           PO BOX 2482                                                                                               HOUSTON                 TX           77252
    MARK YABLONOVICH                                                             ADDRESS ON FILE
    MARKET BULLET LLC                                                            53 PALMERAS ST                         STE 601                                                            SAN JUAN                PR           00901
    MARKET FORCE INFORMATION                                                     DEPT 0320                              PO BOX 120320                                                      DALLAS                  TX           75312-0320
    MARKET MAPS                                                                  10 FIRST ST                                                                                               WELLSBORO               PA           16901


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                        Name                                 Attention                          Address 1                               Address 2                           Address 3                   City            State       Zip          Country
    MARKET SQUARE PROPERTIES CORP                                               3921 ALTON RD STE 463                                                                                   MIAMI BEACH                FL           33140
    MARKET TOWN LLC                                                             1600 TENNESSEE ST                                                                                       VALLEJO                    CA           94590
    MARKET VIEW LLC DBA DEBTTRADER                                              2470 ST ROSE PKWY                    STE 114                                                            HENDERSON                  NV           89074
    MARKETPLACE STATION LLC                                                     11501 NORTHLAKE DR                                                                                      CINCINNATI                 OH           45249
    MARKETWIRE INC                                                              100 N SEPULVEDA BLVD STE 325                                                                            EL SEGUNDO                 CA           90245
    MARKHAM TROPHY INC                                                          522 HOOD RD                                                                                             MARKHAM                    ON           L3R 5M1      CANADA
    MARKIT ACCOUNTING SERVICES LTD           DBA KITRINA LUCUK                  5502 ASPEN DR                                                                                           COUNTRY OF GRAND PRAIRIE   AB           T8W 0H3      CANADA
    MARKOS BANOS                                                                ADDRESS ON FILE
    MARKS WEATHERSEALS                       C O ANGELO MARKS                   400 FRANKLIN ST                                                                                         BUTLER                     PA           16001
    MARKUS GEORGE                                                               ADDRESS ON FILE
    MARLENE D LARSON AND JOHN D LARSON                                          ADDRESS ON FILE
    MARLIN BUSINESS BANK                                                        300 FELLOWSHIP RD                                                                                       MOUNT LAUREL               NJ           08054
    MARLOWE INVESTIGATIONS INC                                                  4400 N FEDERAL HWY                   STE 210                                                            BOCA RATON                 FL           33431
    MARLOWE YEOMAN LIMITED                                                      1500 701 W GEORGIA ST                                                                                   VANCOUVER                  BC           V7Y 1C6      CANADA
    MARLOWE YEOMAN LTD                                                          610 938 HOWE ST                                                                                         VANCOUVER                  BC           V6Z 1N9      CANADA
    MAROGIL FAMILY LLC                                                          PO BOX 6673                                                                                             GRAND RAPIDS               MI           49516
    MAROGIL FAMILY LLC                       ATTN DAVE ZEEMERING CCIM           333 BRIDGE ST NW STE 1010                                                                               GRAND RAPIDS               MI           49504-5320
    MARQUISE FACILITIES CORPORATION                                             1273 13351 COMMERCE PKWY                                                                                RICHMOND                   BC           V6V 2X7      CANADA
    MARQUISE LEASING AND FUNDING LLC                                            3824 N HULLEN ST                                                                                        METAIRIE                   LA           70002
    MARRERO LAND AND IMPROVEMENT ASSOCIATION
    LTD                                                                         5201 WESTBANK EXPRESS WAY            STE 400                                                            MARRERO                    LA           70072
    MARRIOTT CALGARY                                                            110 9TH AENUE SE                                                                                        CALGARY                    AB           T2G 5A6      CANADA
                                                                                                                     DBA GAYLORD TEXAN RESORT AND
    MARRIOTT HOTEL SERVICES INC                                                 1501 GAYLORD TRAIL                   CONVENTION CTR                                                     GRAPEVINE                  TX           76051
                                              DBA GAYLORD OPRYLAND RESORT AND
    MARRIOTT INTERNATIONAL INC                CONVENTION CTR                    2800 OPRYLAND DR                                                                                        NASHVILLE                  TN           37214
    MARSH CANADA LIMITED                                                        120 BREMNER BLVD                     STE 800                                                            TORONTO                    ON           M5J 0A8      CANADA
    MARSH USA INC                                                               1166 AVE OF THE AMERICAS                                                                                NEW YORK                   NY           10036
    MARSH USA INC                                                               PO BOX 846015                                                                                           DALLAS                     TX           75284
    MARSH USA INC                                                               PO BOX 846015                                                                                           DALLAS                     TX           75284-6015
    MARSH USA INC DBA MARSH AND MCLENNAN
    AGENCY                                                                      PO BOX 846015                                                                                           DALLAS                     TX           75284-6015
    MARSHAL AND ASSOCIATES INC                                                  PO BOX 498789                                                                                           CINCINNATI                 OH           45249-8789
    MARSHALL AND STERLING                                                       300 ROUTE 23B                                                                                           LEEDS                      NY           12451
    MARSHALL HOLMAN                                                             ADDRESS ON FILE
    MARSHALL K KELSAY                                                           ADDRESS ON FILE
    MARTCO                                                                      1025 STACEYWOOD CT                                                                                      VIRGINIA BEACH             VA           23452-4601
    MARTCO LLC                                                                  1025 STACEYWOOD CT                                                                                      VIRGINIA BEACH             VA           23452-4601
    MARTHA MARSHALL                                                             ADDRESS ON FILE
    MARTHA SMITH DECLARATION OF TRUST                                           2255 JFK RD                          STE 16                                                             DUBUQUE                    IA           52002
    MARTIN AND BONTRAGER APC                                                    4605 LANKERSHIM BLVD                 STE 535                                                            TOLUCA LAKE                CA           91602
    MARTIN AND BONTRAGER APC                                                    6464 W SUNSET BLVD                   STE 960                                                            LOS ANGELES                CA           90028
    MARTIN AND MARTIN LLC                     C O AVISON YOUNG 700 12TH AVE S   STE 302                                                                                                 NASHVILLE                  TN           37203
    MARTIN BRAZIL DBA IN PRO PER PROCESS
    SERVICES                                                                    PO BOX 1048                                                                                             LOS GATOS                  CA           95031-1048
    MARTIN CHRIS                                                                ADDRESS ON FILE
    MARTIN CUNNINGHAM                                                           ADDRESS ON FILE
    MARTIN GOLD                                                                 ADDRESS ON FILE
    MARTIN J JENNINGS JR ESQ                                                    ADDRESS ON FILE
    MARTIN LUTHER KING JR PARADE FOUNDATION                                     PO BOX 20294                                                                                            HOUSTON                    TX           77225-0294
    MARTIN O MOAD                                                               ADDRESS ON FILE
    MARTINELLI INVESTIGATINS INC              C O ROBERT MARTINELLI             2350 POTOMAC VIEW CT                                                                                    GRAYSON                    GA           30017
    MARTINETTE THOMAS                                                           ADDRESS ON FILE
    MARTINEZ KAREN L                                                            ADDRESS ON FILE
    MARTINS CUSTOM DESIGNS INC                DBA SCOTTY SIGNS                  5948 JEFFERSON AVE                                                                                      NEWPORT NEWS               VA           23605
    MARTY WHITE MAINTENANCE AND REPAIR                                          309 FAIRWAY BLVD                                                                                        COLUMBUS                   OH           43213
    MARTZ PLUMBING AND CONSTRUCTION LLC                                         1403 LARKVIEW DR                                                                                        VIRGINIA BEACH             VA           23454
    MARVIN A GORODENSKY PC                                                      45 ST CLAIR AVE W                    STE 908                                                            TORONTO                    ON           M4V 1K9      CANADA
    MARVIN CHRISTIAN                                                            ADDRESS ON FILE
    MARVISTEL LLC                                                               21301 S TAMIAMI TRAIL                STE 320 105                                                        ESTERO                     FL           33928
    MARVISTEL LLC DBA LEAD TORO                                                 21301 S TAMIAMI TRAIL                STE 320 PMB 105                                                    ESTERO                     FL           33928
    MARY A FELICIAN                                                             ADDRESS ON FILE
    MARY BANDUKWALA                                                             ADDRESS ON FILE
    MARY GRACE MASON JOHNSON                                                    ADDRESS ON FILE
    MARY GREUBEL                                                                ADDRESS ON FILE
    MARY KATHERINE BRATTON                                                      ADDRESS ON FILE
    MARY MENDOZA                                                                ADDRESS ON FILE
    MARY PARK                                                                   ADDRESS ON FILE
    MARYANN BRUCE                                                               ADDRESS ON FILE
    MARYIA JONES                                                                ADDRESS ON FILE
    MARYLAND COAST DISPATCH                                                     PO BOX 467                                                                                              BERLIN                     MD           21811
    MARYLAND COMPTROLLER OF THE TREASURY      UNCLAIMED PROPERTY UNIT           COMPTROLLER OF MARYLAND              PO BOX 17161                                                       BALTIMORE                  MD           21297-1161
    MARYLAND HIGHER EDUCATION COMMISSION                                        PLANNING AND ACADEMIC AFFAIRS        16 FRANCIS ST                                                      ANNAPOLIS                  MD           21401
    MARYLAND SECRETARY OF STATE                                                 301 W PRESTON ST RM 801                                                                                 BALTIMORE                  MD           21201
    MARYLAND UNEMPLOYMENT INSURANCE FUND                                        PO BOX 1683                                                                                             BALTIMORE                  MD           21203-1683
    MARYS KITCHEN                                                               PO BOX 4247                                                                                             ORANGE                     CA           92863
    MASINO REALTY ELYSIAN FIELDS LLC                                            2800 HESSMER AVE STE A                                                                                  METAIRIE                   LA           70002
    MASS CAPITAL ACCESS                                                         40810 NW 85TH DR                                                                                        HOLLYWOOD                  FL           33024
    MASSACHUSETTS DEPT OF REVENUE                                               PO BOX 7033                                                                                             BOSTON                     MA           02204-7033
    MASSACHUSETTS LATINO CHAMBER OF
    COMMERCE                                                                    1655 MAIN ST                                                                                            SPRINGFIELD                MA           01103
    MASSACHUSETTS STATE TREASURERS OFFICE     UNCLAIMED PROPERTY DIVISION       ONE ASHBURTON PL 12TH FL                                                                                BOSTON                     MA           02108-1608
    MASSACHUSETTS TAX PARTNERS LLC                                              17 NIMITZ CIR                                                                                           NATICK                     MA           01760
    MASSEY GREG                                                                 ADDRESS ON FILE
    MASSIE CLARKE DEVELOPMENT CO                                                PO BOX 22224                                                                                            OWENSBORO                  KY           42304
    MASTER BOWLERS ASSOCIATES                                                   176 SHOWRON CRES                                                                                        WINNIPEG                   MB           R3W 1N6      CANADA
    MASTER BOWLERS ASSOCIATION OF MANITOBA
    INC                                                                         432 145 PACIFIC AVE                                                                                     WINNIPEG                   MB           R2B 2Z6      CANADA
    MASTER LOCKSMITH SERVICES INC                                               450 7TH ST SW                                                                                           SALMON ARM                 BC           V1E 1S9      CANADA


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    MASTER RISK INC                                                          110 MAIN ST                                                                                              POUGHKEEPSIE            NY           12601
    MASTERFILE CORPORATION                                                   175 BLOOR ST E                        S TOWER 2ND FL                                                     TORONTO                 ON           M4W 3R8      CANADA
    MATHEWS CONSTRUCTION INC                                                 PO BOX 15097                                                                                             CHATTANOOGA             TN           37415
    MATHIS MICHAEL                                                           ADDRESS ON FILE
    MATRIX RESOURCES LLC                                                     400 PERIMETER CTR TERRACE STE 300                                                                        ATLANTA                 GA           30346
    MATSUMOTO ALAN                                                           ADDRESS ON FILE
    MATSUMOTO ROBIN                                                          ADDRESS ON FILE
    MATT BILDERBACK                                                          ADDRESS ON FILE
    MATT CHAVEZ                                                              ADDRESS ON FILE
    MATT HANSSEN                                                             ADDRESS ON FILE
    MATT MCCANDLESS DBA COMMON INVESTMENTS
    LLC                                                                      3269 S MAIN ST                                                                                           SALT LAKE CITY          UT           84115
    MATT STUNKEL                                                             ADDRESS ON FILE
    MATTEO NAPOLI                                                            ADDRESS ON FILE
    MATTES SEAFOOD INC                                                       921 OLD PHILADELPHIA RD                                                                                  ABERDEEN                MD           21001
    MATTES SEAFOOD INC                       ATTN MICHAEL SNYDER             400 ALLEGHENY AVE                                                                                        TOWSON                  MD           21204
    MATTHEW A PARSLEY                                                        ADDRESS ON FILE
    MATTHEW AVRIL                                                            ADDRESS ON FILE
    MATTHEW B WILSON                                                         ADDRESS ON FILE
    MATTHEW BENDER AND COMPANY INC           DBA LEXISNEXIS MATTHEW BENDER   ATTN CUSTOMER SUPPORT                 9443 SPRINGBORO PIKE                                               MIAMISBURG              OH           45342
    MATTHEW BENDER LEXISNEXIS                                                ADDRESS ON FILE
    MATTHEW FEIT DBA HIGH POWER ENTERPRISE
    CORP                                                                     109 MCCABE AVE                        APT 109                                                            BRADLEY BEACH           NJ           07720
    MATTHEW JACKSON                                                          ADDRESS ON FILE
    MATTHEW JAMES DEMOSS                                                     ADDRESS ON FILE
    MATTHEW SCOTT LESMEISTER                                                 ADDRESS ON FILE
    MATTIE RHODES MEMORIAL SOCIETY           ATTN FINANCIAL CONTROLLER       1740 JEFFERSON ST                                                                                        KANSAS CITY             MO           64108
    MATTILA PAUL TRUSTEE                                                     PO BOX 2751                                                                                              MEMPHIS                 TN           38101-2751
    MAUI PROCESS SERVERS LLC                                                 208 LUAKAHA CIR                                                                                          KIHEI                   HI           96753
    MAULDING DEVELOPMENT LLC                                                 2005 APPLETON DR                                                                                         SPRINGFIELD             IL           62707
    MAURICE ELEY II DBA ALBURTON LLC                                         40 W ST                                                                                                  NYACK                   NY           10960
    MAURICE H SOLOMON                                                        ADDRESS ON FILE
    MAURICE WILLIAMS                                                         ADDRESS ON FILE
    MAURICIO CASTRO                                                          ADDRESS ON FILE
    MAURY KROLL LOCKSMITH INC                                                2109 GRANBY ST                                                                                           NORFOLK                 VA           23517
    MAVERICK LENDING LLC                                                     25115 CULLMAN AVE                                                                                        LITTLE NECK             NY           11362-2309
    MAX RADIO                                                                324 BROADWAY                                                                                             CAPE GIRARDEAU          MO           63701
    MAX RECOVERY GROUP LLC                                                   55 BROADWAY 3RD FL                                                                                       NEW YORK                NY           10006
    MAXDECISIONS INC                                                         200 SPECTRUM CTR DR                   STE 300                                                            IRVINE                  CA           92618
    MAXDECISIONS INC                                                         5000 LEGACY DR                        STE 330                                                            PLANO                   TX           75024-3112
    MAXEY CONSULTING GROUP LLC                                               11207 HIXSON CT                                                                                          RICHMOND                VA           23236
    MAXIMUM SECURITY SHREDDERS                                               UNIT 11 1 FISHER CRES                 PO BOX 486                                                         OKOTOKS                 AB           T1S 1A7      CANADA
    MAXIMUS CAPITAL FUNDING INC DBA SAMSON
    FUNDING                                                                  90 JOHN TREET STE 410                                                                                    NEW YORK                NY           10038
    MAYBELLE HOLDINGS CORP                   C O BIN MANAGEMENT              598 FALCONBRIDGE RD UNIT 1A                                                                              SUDBURY                 ON           P3A 5K6      CANADA
    MAYFAIR JOINT VENTURE                                                    480 3RD ST                                                                                               OAKLAND                 CA           94607
    MAYFLOWER EMERALD SQUARE LLC                                             EMERALD SQUARE                        999 S WASHINGTON ST                                                NORTH ATTLEBOROUGH      MA           02760
    MAYFLOWER TRANSIT LLC                                                    22262 NETWORK PL                                                                                         CHICAGO                 IL           60673-1222
    MAYKEE INC                                                               400 W 145TH ST PLP                                                                                       NEW YORK                NY           10031
    MAYORS FUND TO ADVANCE NYC                                               42 BROADWAY                           8TH FL                                                             NEW YORK                NY           10004
    MBC GRAND BROADCASTING INC                                               1360 E SHERWOOD DR                                                                                       GRAND JUNCTION          CO           81501
    MBDPROPERTIES INC                                                        2485 N COLUMBIA ST                    PO BOX 81612                                                       CHAMBLEE                GA           30366
    MBEC COMMUNICATIONS LP                                                   1115 N SERVICE RD UNIT 1                                                                                 OAKVILLE                ON           L6M 2V9      CANADA
    MBH MERCEDES BENZ HEADQUARTERS                                           635 VIRGINIA BEACH BLVD                                                                                  VIRGINIA BEACH          VA           23451
    MBI INC                                                                  555 POYNTZ AVE STE 255                                                                                   MANHATTAN               KS           66502
    MBS RADIO                                                                5 PRINCE ST                                                                                              CHARLOTTETOWN           PE           C1A 4P4      CANADA
    MC SIGN LLC                              DBA MC SIGN COMPANY             8959 TYLER BLVD                                                                                          MENTOR                  OH           44060
    MCA MARKETING AND SALES LLC DBA WISCO
    CAPITAL                                                                  150 E 61ST ST                         STE 12AB                                                           NEW YORK                NY           10065
    MCA RESELLERS INC                                                        8689 W SAHARA AVE                     STE 250                                                            LAS VEGAS               NV           89117
    MCAGENCY PRIVATE INVESTIGATIONS                                          6834 CANTRELL RD                      PMB 177                                                            LITTLE ROCK             AR           72207
    MCALEER AMANDA                                                           ADDRESS ON FILE
    MCALEER TONY                                                             ADDRESS ON FILE
    MCALLISTER HYBERG WHITE COHEN AND MANN
    PC                                                                       2111 NEW RD STE 105                                                                                      NORTHFIELD              NJ           08225
    MCAN LLC DBA BIZBLOOM                                                    131 SUNNYSIDE BLCS                    108                                                                PLAINVIEW               NY           11803
    MCAP LEASING                                                             5575 N SERVICE RD                     STE 300                                                            BURLINGTON              ON           L7L 6M1      CANADA
    MCB TRUST SERVICES                                                       PO BOX 46546                                                                                             DENVER                  CO           80201
    MCBEE ELAINE                                                             ADDRESS ON FILE
    MCCAIN CHARLES W                                                         ADDRESS ON FILE
    MCCARTHY BURGESS AND WOLFF                                               ADDRESS ON FILE
    MCCLANAN GLENN B                                                         ADDRESS ON FILE
    MCCLURE GLEN                                                             ADDRESS ON FILE
    MCCORKLE SIGN COMPANY INC                                                PO BOX 11384                                                                                             DURHAM                  NC           27703
    MCCORMICK MONICA                                                         ADDRESS ON FILE
    MCCORMICK WYNNE W                                                        ADDRESS ON FILE
    MCCRACKEN COUNTY SHERIFF                                                 301 S 6TH ST                                                                                             PADUCAH                 KY           42003
    MCCRUMS OFFICE FURNISHINGS                                               5310 1ST ST SW                        BAY 3                                                              CALGARY                 AB           T2H 0C8      CANADA
    MCCULLOCH WILLIAM                                                        ADDRESS ON FILE
    MCDANIEL DEBRA                                                           ADDRESS ON FILE
    MCDERMOTT STEVE                                                          ADDRESS ON FILE
    MCDERMOTT WILL AND EMERY LLP                                             PO BOX 6043                                                                                              CHICAGO                 IL           60680-6043
    MCDONALD HOPKINS BURKE AND HABER                                         ADDRESS ON FILE
    MCDONALD HOPKINS LLC                                                     600 SUPERIOR AVE E                    STE 2100                                                           CLEVELAND               OH           44114
    MCDOUGAL MOSES                                                           ADDRESS ON FILE
    MCDOWELL ELLEN                                                           ADDRESS ON FILE
    MCDOWELL RICE SMITH AND BUCHANAN                                         ADDRESS ON FILE
    MCEB LLC                                                                 1416 MADISON ST                                                                                          TUSTIN                  CA           92782
    MCENROE MCCARTHY AND GOTSDINER PC                                        WESTOWN BUSINESS CTR 1                1701 48TH ST STE 100                                               WEST DES MONES          IA           50266-6723


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                       Name                                 Attention                               Address 1                                  Address 2                           Address 3                     City        State       Zip          Country
    MCFARMER INC                                                                    633 E WILTSHIRE DR                                                                                         WALLINGFORD              PA           19086
    MCGEHEE LEWIS                                                                   ADDRESS ON FILE
    MCGILL INVESTIGATION AGENCY                                                     24 LUPINE LN                                                                                               QUEENSBURY               NY           12804
    MCGLINCHEY STAFFORD                                                             DEPT 5200                               PO BOX 2153                                                        BIRMINGHAM               AL           35287-5200
    MCGRATH HIGHLANDS I LP                    ATTN MICHELLE RENAUD                  4855 RUFFNER ST STE B                                                                                      SAN DIEGO                CA           92111
    MCGRATH INVESTIGATIVE SERVICES LLC                                              POB 1356                                                                                                   SEABROOK                 NH           03874

    MCGRAW HILL GLOBAL EDUCATION HOLDINGS LLC                                       WELLS FARGO BANK NA LOCKBOX 6167        PO BOX 8500                                                        PHILADELPHIA             PA           19178-6167
    MCGRIFF                                                                         130 THEORY STE 200                                                                                         IRVINE                   CA           92617
    MCGRIFF INSURANCE SERVICES INC                                                  PO BOX 890978                                                                                              CHARLOTTE                NC           28289-0978
    MCGRIFF INSURANCE SERVICES INC            DBA PRECEPT INSURANCE SOLUTIONS LLC   3605 GLENWOOD AVE                       STE 201                                                            RALEIGH                  NC           27612
    MCGUIRE DETECTIVE AGENCY                                                        3921 11TH ST NE                                                                                            HICKORY                  NC           28601
    MCGUIRE REVOCABLE TRUST SHARE B           ATTN STAN JACKSON                     PO BOX 1260                                                                                                DEMING                   NM           88031
    MCGUYVER SIGN AND DESIGN                                                        155 TARTAN DR                                                                                              JOHNSTOWN                CO           80534
    MCHALE JAY                                                                      ADDRESS ON FILE
    MCI WORLDCOM                                                                    PO BOX 85059                                                                                               LOUISVILLE               KY           40285-5059
    MCI WORLDCOM                                                                    PO BOX 856053                                                                                              LOUISVILLE               KY           40285-6053
    MCINTIRE SCHOOL OF COMMERCE FOUNDATION    ATTN ALLISON TEWELES                  PO BOX 400173                                                                                              CHARLOTTESVILLE          VA           22904
    MCINTOSH STATE BANK                       ATTN TERRY ELLINGTON                  134 S OAK ST                                                                                               JACKSON                  GA           30233
    MCINTYRE GROUP OFFICE SERVICES                                                  9040 SHAUGHNESSY ST                                                                                        VANCOUVER                BC           V6P 6E5      CANADA
    MCINTYRE RALPH                                                                  ADDRESS ON FILE
    MCKEE CLEAR SERVICE SOLUTIONS INC                                               PO BOX 16888                                                                                               WICHITA                  KS           67216
    MCKELVEY REALTY CO                        C O MCKELVEY PROPERTIES               17280 N OUTER 40 RD STE201                                                                                 CHESTERFIELD             MO           63005
    MCKENZIE CONSTRUCTION CORP                                                      1711 MEDITERRANEAN AVE                                                                                     VIRGINIA BEACH           VA           23451
    MCKINLEY FREEWAY CENTER II INC                                                  6892 S YOSEMITE CT                      STE 2 105                                                          CENTENNIAL               CO           80112
    MCKINNEY KELLY K                                                                ADDRESS ON FILE
    MCKNIGHT MARCUS                                                                 ADDRESS ON FILE
    MCLAUGHLIN HOLDINGS LLC                                                         14856 PERCH POINT RD                                                                                       CHESTER                  VA           23836
    MCLEAN NAKIA                                                                    ADDRESS ON FILE
    MCLEAN SUSAN                                                                    ADDRESS ON FILE
    MCLENDON KOGUT REPORTING SERVICE                                                1800 AEGON CTR                          400 W MARKET ST                                                    LOUISVILLE               KY           40202-3352
    MCMAHON PARATER FOUNDATION FOR
    EDUCATION                                                                       7800 CAROUSEL LN                                                                                           RICHMOND                 VA           23294
    MCMANUS PAUL L RMR FCRR                   UNITED STATES COURT REPORTER          600 GRANBY ST RM 217                                                                                       NORFOLK                  VA           23510
    MCMICHAEL JERRY S                                                               ADDRESS ON FILE
    MCNAMEE III WILLIAM F                                                           ADDRESS ON FILE
    MCNAMEE WILLIAM                                                                 ADDRESS ON FILE
    MCNEAL DEBORAH J                                                                ADDRESS ON FILE
    MCNICHOLAS ASSOCIATES INC                                                       1187 BROAD ST                                                                                              BRIDGEPORT               CT           06604
    MCNULTY THOMAS                                                                  ADDRESS ON FILE
    MCP TALENT                                                                      407 CHOTEM RISE                                                                                            SASKATOON                SK           S7N 4M4      CANADA
    MCPHEETERS CONFIDENTIAL SERVICES                                                PO BOX 3007                                                                                                SHAWNEE                  KS           66203-0007
    MCPHERSON WILLIAM                                                               ADDRESS ON FILE
    MCPHILLIPS ROBERTS AND DEANS                                                    ADDRESS ON FILE
    MCPHILLIPS ROBERTS AND DEANS DO NOT USE                                         ADDRESS ON FILE
    MCRARY GLEN A                                                                   ADDRESS ON FILE
    MD INVESTMENTS OF NC LLC                                                        4201 CONGRESS ST                        STE 170                                                            CHARLOTTE                NC           28209
    MD PARTNERS CAPITAL INC                                                         65 ENTERPRISE                                                                                              ALISO VIEJO              CA           92656
    MDB CONSULTING INC                                                              2169 WEBSTER CT                                                                                            ABBOTSFORD               BC           V2T 6L7      CANADA
    MDS FUNDING LLC                                                                 PO BOX 610074                                                                                              BAYSIDE                  NY           11361
    MEADOWBROOK CENTER LLC                                                          4460 CORPORATE LN STE 300                                                                                  VIRGINIA BEACH           VA           23462
    MECHANICAL ELECTRICAL AND PLUMBING
    PARTNERS LLC                                                                    7221 NATHAN CT                                                                                             MANASSAS                 VA           20109
    MECKLENBURG COUNTY TAX COLLECTOR PPT                                            PO BOX 71063                                                                                               CHARLOTTE                NC           28272-1063
    MEDHAT ABBIS DBA ABBIS ADVISORY                                                 20800 CORK CIR                                                                                             YORBA LINDA              CA           92886
    MEDIA ACCOUNTABILITY GROUP                C O PHILIP GABBARD                    720 WILLOW GLEN                                                                                            EL PASO                  TX           79922
    MEDIA CITY PUB INC                                                              69 YORKVILLE AVE                        STE 304                                                            TORONTO                  ON           M5R 1B8      CANADA
    MEDIA EAST INC                                                                  800 SEAHAWK CIR STE 132                                                                                    VIRGINIA BEACH           VA           23452
    MEDIA GENERAL                                                                   FLORIDA NEWSPAPERS                      PO BOX 85000                                                       RICHMOND                 VA           23285-5000
    MEDIA X PRESENTATIONS INC                                                       2258 ST MARSHALL DR                                                                                        VIRGINIA BEACH           VA           23454
    MEDIACOM                                                                        PO BOX 71222                                                                                               CHARLOTTE                NC           28272-1222
    MEDIACOM 105487                                                                 PO BOX 105487                                                                                              ATLANTA                  GA           30348-5487
    MEDIACOM 5744                                                                   PO BOX 5744                                                                                                CAROL STREAM             IL           60197-5744
    MEDIANT COMMUNICATIONS INC                                                      PO BOX 29976                                                                                               NEW YORK                 NY           1087--9976
    MEDIANT COMMUNICATIONS INC                                                      PO BOX 75185                                                                                               CHICAGO                  IL           60675-5185
    MEDIAZOD LLC DBA LEADZOD                                                        3418 STOCKTIE RD                                                                                           CHARLOTTE                NC           28210
    MEDUGORJE LLC                                                                   270 CORNERSTONE DR                      STE 101                                                            CARY                     NC           27519
    MEE FUNDING LLC                                                                 10142 FREEPORT CT                                                                                          SAN DIEGO                CA           92129
    MEGA CONNECT LLC                                                                1607 AVE PONCE DE LEON COBIANS PLZ      GM 06                                                              SAN JUAN                 PR           00909
    MEGA OFFICE FURNITURE                                                           801 N MILITARY HWY                                                                                         NORFOLK                  VA           23502
    MEGACITY FIRE AND SECURITY INC                                                  8210 EXPANSION WAY                                                                                         DAYTON                   OH           45424
    MEGAN CLEVENGER                                                                 ADDRESS ON FILE
    MEGASOURCE                                                                      5368 DIXIE HWY                                                                                             WATERFORD                MI           48329
    MEGHAN ROTH                                                                     ADDRESS ON FILE
    MEKORMA                                                                         5757 W CENTURY BLVD                     STE 685                                                            LOS ANGELES              CA           90045
    MELADIE D CROY                                                                  ADDRESS ON FILE
    MELBOURNE R RICHARD JR                                                          ADDRESS ON FILE
    MELINDA UNDERWOOD DBA NATIONAL BUSINESS
    ALLIANCE LLC                                                                    7541 W COMET AVE                                                                                           PEORIA                   AZ           85345
    MELISSA B WILLIAMS                                                              ADDRESS ON FILE
    MELISSA CHRISTOPHER                                                             ADDRESS ON FILE
    MELISSA DATA CORPORATION                                                        22382 AVENIDA EMPRESA                                                                                      RANCHO SANTA MARGARITA   CA           92688-2112
    MELISSA DUQUE                                                                   ADDRESS ON FILE
    MELISSA FROST                                                                   ADDRESS ON FILE
    MELISSA L ALMAN                                                                 ADDRESS ON FILE
    MELSHEIMER SUSAN                                                                ADDRESS ON FILE
    MELTWATER NEWS US INC                                                           465 CALIFORNIA ST FL 11                                                                                    SAN FRANCISCO            CA           94104
    MELVA CARPENTER                                                                 ADDRESS ON FILE
    MEMEGUANS ESHKAWKOGAN                                                           58 62 MISSISSAUGA ST                                                                                       ORILLIA                  ON           L3V 1V5      CANADA


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    MEMORIAL AT DAIRY ASHFORD CENTER LTD                                      8811 WESTHEIMER RD                   STE 200                                                            HOUSTON                   TX           77063
    MEMPHIS JOINT VENTURE                                                     PO BOX 1000                          DEPT 72                                                            MEMPHIS                   TN           38148-0072
    MEMPHIS LIGHT GAS AND WATER DIVISION                                      PO BOX 430                                                                                              MEMPHIS                   TN           38101
    MEN FOR HOPE                                                              PO BOX 1559                                                                                             NORFOLK                   VA           23501-1559

    MENDELSON AND ASSOCIATES ADVERTISING LLC   DBA LAPRENSA LATINA            PO BOX 770869                                                                                           MEMPHIS                   TN           38177-0869
    MENELAOS INC                                                              491 S MASON ST                                                                                          HARRISONBURG              VA           22801
    MEPT TREE SUMMIT VILLAGE LLC                                              PO BOX 935291                                                                                           ATLANTA                   GA           31193-5291
    MERCEL ENTERPRISES DBA MERCEL PAINTING                                    3610 N 44TH ST                       STE 230                                                            PHOENIX                   AZ           85018
    MERCHANT CAPITAL NOW LLC DBA POP CASH                                     634 OAK DR                                                                                              FAIR ROCKAWAY             NY           11691
    MERCHANT INDUSTRY LLC                                                     36 36 33RD ST                        STE 306                                                            LONG ISLAND CITY          NY           11106
    MERCHANT MONEY COMPANY LLC                                                511 S HARBOR BLVD                    STE B                                                              LA HABRA                  CA           90631
    MERCHANT ONE SOLUTIONS LLC DBA TWINFOLD
    CAPITAL                                                                   315 W 9TH ST                         STE 402                                                            LOS ANGELES               CA           90015
    MERCHANT RAPID FUNDING LLC                                                782 MILLER RUN                                                                                          ATLANTA                   GA           30349
    MERCHANT REFI LLC                                                         1222 AVE M                           STE 501                                                            BROOKLYN                  NY           11230
    MERCHANT SOURCE INC                                                       110 JERICHO TRPK 212                                                                                    FLORAL PARK               NY           11001
    MERCHANTS CASH PARTNERS LLC                                               2913 AVE W 2A                                                                                           BROOKLYN                  NY           11229
    MERCHANTS CORNER LP                                                       PO BOX 12489                         C O GRAHAM CORPORATION                                             KNOXVILLE                 TN           37912
    MERCURI URVAL INC                                                         1655 N FORT MYER DR                  STE 800                                                            ARLINGTON                 VA           22209
    MERCURY CARD                                                              PO BOX 70168                                                                                            PHILADELPHIA              PA           19176
    MERCY PILE                                                                670 TOWN CTR DR                      UNIT 208                                                           NEWPORT NEWS              VA           23606
    MERIDIAN MALL LIMITED PARTNERSHIP                                         1982 W GRAND RIVER AVE                                                                                  OKEMOS                    MI           48864
    MERIDIAN WASTE                                                            PO BOX 580205                                                                                           CHARLOTTE                 NC           28258-0205
    MERLINS PARTY BOUNCERS                                                    855 WESTNEY RD S                                                                                        AJAX                      OM           L1S 3M4      CANADA
    MERRELL AND ASSOCIATES INC                                                200 RIDGECREST AVE                                                                                      CARROLLTON                GA           30117
    MERRILL COMMUNICATIONS LLC                                                CM 9638                                                                                                 ST PAUL                   MN           55170-9638
    MERRILL HANCE                                                             ADDRESS ON FILE
    MERRILL LYNCH                                                             ADDRESS ON FILE
    MERRIT PRESS                                                              700 TIDEWATER DR                                                                                        NORFOLK                   VA           23504
    MERRITT PROPERTIES                         C O VISION REAL ESTATE LLC     5544 FRANKLIN RD STE 200                                                                                NASHVILE                  TN           37220
    MERV PARABOO                                                              21074 83B AVE                                                                                           LANGLEY                   BC           V2Y 0B9      CANADA
    MESSORE THOMAS J AND MARY A                                               ADDRESS ON FILE
    MET ED                                                                    PO BOX 3687                                                                                             AKRON                     OH           44309-3687
    MET LIFE GROUP BENEFITS                                                   PO BOX 804466                                                                                           KANSAS CITY               MO           64180-4466
    MET LOCK AND KEY CO                                                       6156 E VIRGINIA BEACH BLVD                                                                              NORFOLK                   VA           23502
    META BANK                                                                 5501 S BROADBAND LN                                                                                     SIOUX FALLS               SD           57108
    META PAYMENT SYSTEMS                       ATTN ACCOUNTS RECEIVABLE       5501 S BROADBAND LN                                                                                     SIOUX FALLS               SD           57108
    METALWORKS INC                                                            PO BOX 3337                                                                                             SHAWNEE                   KS           66203
    METC                                                                      111 RICHMOND ST W                    STE 112                                                            TORONTO                   ON           M5H 2G4      CANADA
    METEJEMEL LLC                                                             3411 LAS VEGAS BLVD S                                                                                   LAS VEGAS                 NV           89109
    METLIFE LEGAL PLANS INC                                                   DEPT 781523                          PO BOX 78000                                                       DETROIT                   MI           48278-1523
    METLIFE SMALL BUSINESS CENTER                                             PO BOX 804466                                                                                           KANSAS CITY               MO           64180-4466
    METRO ATLANTA FRANCHISE EXPO LLC                                          2208 MILL GARDEN PL                                                                                     BUFORD                    GA           30519
    METRO CLERK AND MASTER                                                    1 PUBLIC SQUARE                      STE 308                                                            NASHVILLE                 TN           37201
    METRO COURIER                                                             YELLOW CAB INC                       4673 BOXFORD RD                                                    VIRGINIA BEACH            VA           23456
    METRO DETECTIVE AGENCY                                                    32059 UTICA RD                                                                                          FRASER                    MI           48026
    METRO INFORMATION SERVICES                                                PO BOX 277031                                                                                           ATLANTA                   GA           30384-7031
    METRO PROCESS AND LITIGATION SERVICES                                     9 LAKEVIEW CIR                                                                                          GREENBELT                 MD           20770
    METRO PRODUCTIONS METRO COMMICATIONS                                      48 W QUEENS WAY                                                                                         HAMPTON                   VA           23669
    METROBANK NA                               C O LINDA WOOTEN               9600 BELLAIRE STE 205A                                                                                  HOUSTON                   TX           77036
    METROLAND COMMUNITY NEWSPAPERS                                            3125 WOLFEDALE RD                                                                                       MISSISSAUGA               ON           L5C 1W1      CANADA
    METROLAND DIGITAL                                                         400 WELLINGTON ST N                  UNIT 1                                                             HAMILTON                  ON           L8L 5B1      CANADA
    METROLAND MEDIA GROUP LTD                                                 PO BOX 300                                                                                              HAMILTON                  ON           L8N 3G3      CANADA
    METROLAND MEDIA GROUP SHARED SERVICES                                     PO BOX 300                                                                                              HAMILTON                  ON           L8N 3G3      CANADA
    METROPLEX ECONOMIC DEVELOPMENT CORP                                       6777 W KIEST BLVD                                                                                       DALLAS                    TX           75236
    METROPOLITAN EXPOSITION                                                   115 MOONACHIE AVE                                                                                       MOONACHIE                 NJ           07074
    METROPOLITAN EXPOSITION SERVICES INC                                      455 WASHINGTON AVE                                                                                      CARLSTADT                 NJ           07072
    METROPOLITAN POLICE NEWS                                                  617 YONGE ST 54                                                                                         TORONTO                   ON           M4Y 2A6      CANADA
    METROPOLITAN ST LOUIS SEWER DISTRICT                                      PO BOX 437                                                                                              ST LOUIS                  MO           63166-0437
    METTER GARY                                                               ADDRESS ON FILE
    METZER ROBERT                                                             ADDRESS ON FILE
    MEYERS RODBELL AND ROSENBAUM PA                                           BERKSHIRE BUILDING                   6801 KENILWORTH AVE STE 400                                        RIVERDALE                 MD           20737-1385
    MEYTRES LLC                                                               933 BROOKMERE AVE                                                                                       TOP CITY                  OH           45371
    MEZ DESERT PROPERTIES LLC                  C O MAS REAL ESTATE SERVICES   4750 N ORACLE RD STE 210                                                                                TUCSON                    AZ           85705
    MFS                                        ATTN CORP FINANCE 9TH FLOOR    PO BOX 269                                                                                              BOSTON                    MA           02117
    MFV EXPOSITIONS LLC                                                       208 HARRISTOWN RD STE 102                                                                               GLEN ROCK                 NJ           07452
    MG TRUST COMPANY                           ATTN TPA 000227                700 17TH ST STE 100                                                                                     DENVER                    CO           80202
    MHOG                                                                      2911 DORR RD                                                                                            BRIGHTON                  MI           48116
    MI GENTE MAGAZINE                                                         418 N MICHIGAN AVE                                                                                      SAGINAW                   MI           48602
    MI HELLE GOULD                                                            1235 ASHGROVE CRES                                                                                      OSHAWA                    ON           LIK 3A4      CANADA
    MI TAM PROPERTY ACCOUNT MANAGER                                           1010 4950 YONGE ST                                                                                      TORONTO                   ON           M2M 6K       CANADA
    MIACHAEL W WALLING                                                        ADDRESS ON FILE
    MIAMI DADE COUNTY TAX COLLECTOR            BUSINESS TAX                   200 NW 2ND AVE                                                                                          MIAMI                     FL           33128
    MIAMI POWER TEAM FOUNDATION INC                                           7501 SW 117 AVE                      83 0921                                                            MIAMI                     FL           33289-0921
    MIAMI SYSTEMS CORP                                                        3134 RELIABLE PKWY                                                                                      CHICAGO                   IL           60686
    MICAELA SAENZ                                                             ADDRESS ON FILE
    MICHAEIF TRAINOR                                                          ADDRESS ON FILE
    MICHAEL A CALHOON                                                         ADDRESS ON FILE
    MICHAEL A CAMPANA JR                                                      ADDRESS ON FILE
    MICHAEL A FORD                                                            ADDRESS ON FILE
    MICHAEL ADAMS                                                             ADDRESS ON FILE
    MICHAEL BASS                                                              ADDRESS ON FILE
    MICHAEL BLYTHE                                                            ADDRESS ON FILE
    MICHAEL BRENT TURNER                                                      ADDRESS ON FILE
    MICHAEL BRENT TURNER DO NOT USE                                           ADDRESS ON FILE
    MICHAEL CALLAGHAN                                                         ADDRESS ON FILE
    MICHAEL CAMARRO                                                           ADDRESS ON FILE
    MICHAEL CHIANG                                                            ADDRESS ON FILE


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                             Name                            Attention                           Address 1                                Address 2                           Address 3                     City        State       Zip          Country
    MICHAEL DEMPSEY                                                               ADDRESS ON FILE
    MICHAEL DUFFY                                                                 ADDRESS ON FILE
    MICHAEL EDWARD                                                                ADDRESS ON FILE

    MICHAEL EVANS DBA SPRINGWEST CAPITAL CORP                                     4910 MERRICK RD                      UNIT 331                                                           MASSAPEQUA PARK          NY           11762
    MICHAEL FREDETTE                                                              ADDRESS ON FILE
    MICHAEL GLEN WADE LLC                     DBA LIBERTY TAX SERVICE             2210 BASHFORD MANOR LN                                                                                  LOUISVILLE               KY           40218
    MICHAEL GRIGG                                                                 ADDRESS ON FILE
    MICHAEL HELD                                                                  ADDRESS ON FILE
    MICHAEL HUANG                                                                 ADDRESS ON FILE
    MICHAEL J HOUSTON                                                             ADDRESS ON FILE
    MICHAEL J PETERSEN                                                            ADDRESS ON FILE
    MICHAEL J ROCHE                                                               ADDRESS ON FILE
    MICHAEL J SAWYER                                                              ADDRESS ON FILE
    MICHAEL J SAWYER                                                              ADDRESS ON FILE
    MICHAEL J WARD                                                                ADDRESS ON FILE
    MICHAEL LEE                                                                   ADDRESS ON FILE
    MICHAEL LEON DUKES                                                            ADDRESS ON FILE
    MICHAEL MEANS                                                                 ADDRESS ON FILE
    MICHAEL NEMEC                                                                 ADDRESS ON FILE
    MICHAEL PIPER                                                                 ADDRESS ON FILE
    MICHAEL Q LE                                                                  ADDRESS ON FILE
    MICHAEL S COOPERMAN WRA TRUST                                                 500 GRAPEVINE HWY STE 402                                                                               HURST                    TX           76054-2785
    MICHAEL S PIPER                                                               ADDRESS ON FILE
    MICHAEL VILLAGE LLC                                                           PO BOX 252451                                                                                           W BLOOMFIELD             MI           48325-2451
    MICHAEL WALKER                                                                ADDRESS ON FILE
    MICHAEL WOOD                                                                  ADDRESS ON FILE
    MICHELE JUBILEE                                                               ADDRESS ON FILE
    MICHELLE COX                                                                  ADDRESS ON FILE
    MICHELLE D MCBRIDE                                                            ADDRESS ON FILE
    MICHELLE D MCBRIDE                                                            ADDRESS ON FILE
    MICHELLE E CLARK                                                              ADDRESS ON FILE
    MICHELLE FLORES                                                               ADDRESS ON FILE
    MICHELLE HELMER                                                               ADDRESS ON FILE
    MICHELLE LINK                                                                 ADDRESS ON FILE
    MICHIGAN ATTORNEY GENERAL                                                     670 LAW BUILDING                                                                                        LANSING                  MI           48913
    MICHIGAN DEPARTMENT OF LICENSING AND
    REGULATORY AFFAIRS                                                            2501 WOODLAKE CIR                                                                                       OKEMOS                   MI           48864
    MICHIGAN DEPARTMENT OF TREASURY                                               PO BOX 30324                                                                                            LANSING                  MI           48909-7824
    MICHIGAN DEPARTMENT OF TREASURY                                               PO BOX 30774                                                                                            LANSING                  MI           48909-8274
    MICHIGAN DEPARTMENT OF TREASURY SALES AND
    USE                                       DEPARTMENT 78172                    PO BOX 78000                                                                                            DETROIT                  MI           48278-0172
    MICHIGAN DEPARTMENT OF TREASURY UCP       UNCLAIMED PROPERTY DIVISION         ATTN HOLDER PROCESSING               7285 PARSONS DR                                                    DIMONDALE                MI           48821
    MICHIGAN DEPT OF CONSUMER AND INDUSTRY
    SVCS                                      CORP DIVISION                       PO BOX 30702                                                                                            LANSING                  MI           48909-8202
                                              AFFAIRS BUREAU OF COMMERCIAL
    MICHIGAN DEPT OF LICENSING AND REGULATORY SERVICES                            PO BOX 30054                                                                                            LANSING                  MI           48909
    MICRO VISION SOFTWARE                                                         140 FELL CT                                                                                             HAUPPAUGE                NY           11788
    MICRO WAREHOUSE                                                               7077 COLLECTION CTR DR                                                                                  CHICAGO                  IL           60693-0072
    MICROAGE                                                                      142 1ST AVE NW                                                                                          SWIFT CURRENT            SK           S9H 0M7      CANADA
    MICROSOFT AD CENTER                                                           ONE MICROSOFT WAY                                                                                       REDMOND                  WA           98052
    MICROSOFT CERTIFIED PARTNER PROGRAM                                           PO BOX 998                                                                                              SANTA CLARITA            CA           91380-9098
    MICROSOFT CORPORATION TECHNOLOGY          C O BANK OF AMERICA                 1950 N STEMMONS FWY STE 5010         LB 842467                                                          DALLAS                   TX           75207
    MICROSOFT LICENSING GP                    ATTN LOCKBOX 842467                 1950 N STEMMONS FWY                  STE 5010 LB 842467                                                 DALLAS                   TX           75207
    MICROSOFT ONLINE INC                                                          6100 NEIL RD                         STE 100                                                            NENO                     NV           89511
    MICROSOFT ONLINE INC BING ADS                                                 6100 NEIL RD                                                                                            RENO                     NV           89511
    MICROSOFT SERVICES                                                            PO BOX 844510                        BANK OF AMERICA DALL                                               DALLAS                   TX           75284-4510
    MICROTEC SECURI T                                                             PO BOX 3600 MALTON CSC                                                                                  MISSISSAUGA              ON           L4T 4C2      CANADA
    MICROTEK                                                                      PO BOX 10428                                                                                            CHICAGO                  IL           60610
    MID ATLANTIC BUSINESS COMMUNICATIONS                                          701 PORT CTR PKWY                                                                                       PORTSMOUTH               VA           23704
    MID ATLANTIC GLASS CORPORATION                                                2516 SQUADRON CT                                                                                        VIRGINIA BEACH           VA           23453
    MID ATLANTIC NETWORK                                                          925 WINC FM                          520 N PLEASANT VALLEY RD                                           WINCHESTER               VA           22601
    MID ATLANTIC NOTARY SUPPLIES                                                  4 PROFESSIONAL DR                    STE 113                                                            GAITHERSBURG             MD           20879
    MID SOUTH FUNDG LLC                                                           5419 PECAN GROVE LN                                                                                     MEMPHIS                  TN           38120
    MID WEST FAMILY BROADCASTING              ATTN SYDNEY PORTER                  730 RAYOVAC DR                                                                                          MADISON                  WI           53711
    MID WEST REAL ESTATE AND APPRAISAL GROUP
    INC                                       DBA MIDWEST APPRAISAL GROUP         106 S FIFTH AVE                                                                                         PRINCETON                IN           47670
                                              C O THE MID AMERICA MANAGEMENT
    MIDAMCO                                   CORPORATION                         3333 RICHMOND RD STE 350                                                                                BEACHWOOD                OH           44122
    MIDAMERICAN ENERGY COMPANY                                                    PO BOX 8020                                                                                             DAVENPORT                IA           52808-8020
    MIDCONTINENT RADIO OF SOUTH DAKOTA INC                                        500 S PHILLIPS AVE                                                                                      SIOUX FALLS              SD
    MIDDLE TENNESSEE NATURAL GAS                                                  PO BOX 720                                                                                              SMITHVILLE               TN           37166-0720
    MIDLAND FINANCIAL SERVICES                                                    10851 MASTIN STE 300                                                                                    OVERLAND PARK            KS           66210
    MIDLAND LOAN SERVICES INC                 C O BANK OF OKLAHOMA LOCKBOX 2585   6242 E 41ST ST                                                                                          TULSA                    OK           74135
    MIDLAND PARK                                                                  4511 N MIDKIFF DR                                                                                       MIDLAND                  TX           79705
    MIDLAND POWER UTILITY CORPORATION                                             16984 HWY 12 BOX 820                                                                                    MIDLAND                  ON           L4R 4P4      CANADA
    MIDLAND PRESS                                                                 214 N MAIN ST                                                                                           ABERDEEN                 SD           57401
    MIDLANDS MEDIA GROUP LLC                  DBA WWNQ FM COLA DAILYCOM           1010 GERVAIS ST STE 100                                                                                 COLUMBIA                 SC           29201
    MIDTOWN DEVELOPMENT CORPORATION                                               7461 N SHORE RD                                                                                         NORFOLK                  VA           23505
    MIDTOWN PLAZA LC                          ATTN SUSAN GRAHAM                   324 N MAIN ST                                                                                           DAVENPORT                IA           52801
    MIDWAY BROADCASTING COMPANY                                                   6803 S FEDERAL HWY                                                                                      PORT ST LUCIE            FL           34988
    MIDWEST COMMUNICATIONS WIXX                                                   PO BOX 23333                                                                                            GREEN BAY                WI           54305-3333
    MIERAS NEIL                                                                   ADDRESS ON FILE
    MIGUEL A OROZCO DO NOT USE NEW LL                                             ADDRESS ON FILE
    MIGUEL ORTEGA                                                                 ADDRESS ON FILE
    MIHALK MARK NAC REP                                                           100 CIR CT                                                                                              BEAR CREEK TWP           PA           18702
    MIHALKA ENTERPRISES INC                                                       123 PENINSULA DR                                                                                        BEAR CREEK TWP           PA           18702
    MIKE BROWN                                                                    ADDRESS ON FILE
    MIKE CHIANG                                                                   ADDRESS ON FILE


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                           Name                                Attention                              Address 1                                Address 2                             Address 3                    City        State         Zip          Country
    MIKE CONWAY                                                                      ADDRESS ON FILE
    MIKE HOEFKE                                                                      ADDRESS ON FILE
    MIKE MOBLEY REPORTING                                                            334 S MAIN ST                                                                                               DAYTON                  OH             45402
    MIKE SVEDE                                                                       ADDRESS ON FILE
    MIKES COMPUTER SERVICES                                                          4728 LOEN AVE                                                                                               TERRACE                 BC             V8G 1Z7      CANADA
    MIKES QUALITY PAINTING                                                           429 ELMONT RD                                                                                               VIRGINIA BEACH          VA             23452
    MIL ITF 585562 BC LIMITED                                                        201 32900 S FRASER WAY                                                                                      ABBOTSFORD              BC             V2S 5A1      CANADA
    MILAM HOWARD NICANDRI DEES AND GILLAM                                            ADDRESS ON FILE
    MILES K THOROMAN CPA PC                                                          3338 GWYINNETT PLANTATION WAY          STE B                                                                DULUTH                  GA             30096
    MILIETTE REYES GARCIA                                                            ADDRESS ON FILE
    MILITARY BRIDGE LLC                                                              PO BOX 1362                                                                                                 GLOUCESTER POINT        VA             23062
    MILL END CENTER LLC                                                              4740 VIRGINIA BEACH BLVD                                                                                    VIRGINIA BEACH          VA             23462
    MILL HOUSE PROPERTIES LLC                                                        1943 LYNNHAVEN PKWY                                                                                         VIRGINIA BEACH          VA             23456
    MILLAR TAX SERVICE LLC                                                           1200 NYGAARD ST                        STE 201                                    ATTN NANCY MILLAR         STOUGHTON               WI             53589
    MILLER AND BEAN COFFEE COMPANY                                                   1460 THE QUEENSWAY                     BOX M001                                                             ETOBICOKE               ON             M8Z 1S7      CANADA
    MILLER AND MARTIN                                                                ADDRESS ON FILE
    MILLER CANFILED PADDOCK AND STONE PLC                                            P O DRAWER 640348                                                                                           DETROIT                 MI             48264-0348
    MILLER CHARLES                                                                   ADDRESS ON FILE
    MILLER EVE L                                                                     ADDRESS ON FILE
    MILLER FOOD STORE INC                                                            18610 NW 87 AVE STE 204                                                                                     HIALEAH                 FL             33015
    MILLER JOSEPH                                                                    ADDRESS ON FILE
    MILLER KELLY                                                                     ADDRESS ON FILE
    MILLER PROPERTY MAINTENANCE                                                      245 UNION ST E                                                                                              WATERLONN               ON             N2J 1E3      CANADA
    MILLER RYAN                                                                      ADDRESS ON FILE
    MILLER THOMPSON LLP                                                              2500 20 QUEEN ST W                                                                                          TORONTO                 ON             M5H 3S1      CANADA
    MILLER WEINER COMMUNICATIONS                                                     7004 BLVD E STE 25E                                                                                         GUTTENBURG              NJ             07093
    MILLERS SIGN CO INC                                                              PO BOX 240                             DBA MILLER SIGN                                                      LAGRANGE                IN             46761
    MILLIKEN BRIAN                                                                   ADDRESS ON FILE
    MILLION DOLLAR MEDIA LLC                                                         1460 ROUTE 9 N ST 201                                                                                       WOODBRIDGE              NJ             07095
    MILLS JULIAN                                                                     ADDRESS ON FILE
    MILLWOOD CLEANERS                                                                2401SEABOARD RD                                                                                             VIRGINIA BEACH          VA             23456
    MILNES MOVING AND STORAGE LTD                                                    1301 OSLER ST                                                                                               REGINA                  SASKATCHEWAN   S4R 1W6      CANADA
    MILTON FRIEDMAN                                                                  ADDRESS ON FILE
    MILWAUKEE JOURNAL SENTINEL                                                       PO BOX 661                                                                                                  MILWAUKEE               WI             53201
    MIMCO INC                                                                        6500 MONTANA                                                                                                EL PASO                 TX             79925
    MIMCO INC                                                                        6500 MONTANA AVE                                                                                            EL PASO                 TX             79925
    MIMMS INVESTMENTS                                                                PO BOX 162885                                                                                               ATLANTA                 GA             30321
    MIN CHOI                                                                         ADDRESS ON FILE
    MIN SUN AND SHU FEN CHIANG                                                       ADDRESS ON FILE
    MINA VOGEL                                                                       ADDRESS ON FILE
    MININGHAM BARBARA                                                                ADDRESS ON FILE
    MINISTER OF FINANCE                                                              803 386 BROADWAY                                                                                            WINNIPEG                MB             R3C 3R6      CANADA
    MINISTER OF FINANCE ALBERTA                 TAX AND REVENUE ADMINISTRATION       9811 109 ST                                                                                                 EDMONTON                AB             T5K 2L5      CANADA
    MINISTER OF FINANCE AND CORP RELATIONS                                           PO BOX 9444                                                                                                 VICTORIA                BC             V8W 9W8      CANADA
    MINISTER OF FINANCE AND MUNICIPAL AFFAIRS                                        SHAW BUILDING 2ND FL                   95 ROCHFORD ST                             PO BOX 2000               CHARLOTTETOWN           PE             C1A 7N8      CANADA
    MINISTER OF FINANCE BC                                                           PO BOX 9445 STN PROV GVT                                                                                    VICTORIA                BC             V8W 9V5      CANADA
    MINISTER OF FINANCE MANITOBA                C O MANITOBA TAX ASSISTANCE OFFICE   809 386 BROADWAY                                                                                            WINNIPEG                MB             R3C 3R6      CANADA
    MINISTER OF FINANCE MANITOBA                TAX DIVISION                         401 YORK AVE RM 101                                                                                         WINNIPEG                MANITOBA       R3C 0P8      CANADA
    MINISTER OF FINANCE MANITOBA INACTIVE                                            809 306 BROADWAY                                                                                            WINNIPEG                MANITOBA       R3C 3R6      CANADA
    MINISTER OF FINANCE ONTARIO                 REGIONAL MUNICIPALITY OF YORK        CT HOUSE 50 EAGLE ST W                                                                                      NEWMARKET               ON             L3Y 6B1      CANADA
    MINISTER OF FINANCE QUEBEC                                                       CP 550 SUCCURSALE DESJARDINS                                                                                MONTRÉAL                QB             H5B 1A9      CANADA
    MINISTER OF FINANCE SASKATCHEWAN            CORPORATIONS BRANCH                  200 1871 SMITH ST                                                                                           REGINA                  SK             S4P 4W5      CANADA
    MINISTER OF REVENUE OF QUEBEC                                                    CP 5500                                SUCCURSALE DESJARDINS                                                MONTREAL                QC             H5B 1A8      CANADA
    MINISTRY OF FINANCE EHT DONT USE                                                 33 KING ST W                           PO BOX 620 EHT                                                       OSHAWA                  ON             L1H 8E9      CANADA
    MINNEHAHA LAKE PARTNERS A MINNESOTA
    PARTNERSHIP                                 C O WATSON CENTERS INC               3100 W LAKE ST STE 215                                                                                      MINNEAPOLIS             MN             55416-4597
    MINNESOTA DEPARTMENT OF COMMERCE                                                 85 7TH PL E STE 500                                                                                         ST PAUL                 MN             55101-2198
    MINNESOTA DEPARTMENT OF COMMERCE UCP        UNCLAIMED PROPERTY PROGRAM           85 7TH PL E                            STE 500                                                              SAINT PAUL              MN             55101-2198
    MINNESOTA LAKES BANK                                                             710 BABCOCK BLVD E                                                                                          DELANO                  MN             55328
    MINNESOTA REVENUE                                                                MAIL STATION 1250                                                                                           ST PAUL                 MN             55145-1250
    MINNESOTA REVENUE                                                                MAIL STATION 1275                                                                                           ST PAUL                 MN             55145-1275
    MINNESOTA REVENUE DO NOT USE                                                     MAIL STATION 1765                                                                                           ST PAUL                 MN             55145-1250
    MINNESOTA SECRETARY OF STATE                BUSINESS SERVICES                    60 EMPIRE DR                           STE 100                                                              ST PAUL                 MN             55103
    MINNESOTA UI FUND                                                                PO BOX 64621                                                                                                SAINT PAUL              MN             55164-0621
    MINNIES STORAGE LLC                                                              498 W TELEGRAPH ST                                                                                          WASHINGTON              UT             84780
    MINNILLO LAW GROUP CO LPA                                                        2712 OBSERVATORY AVE                                                                                        CINCINNATI              OH             45208
    MINOLTA BUSINESS EQUIPMENT                                                       1235 N SERVICE RD W                    STE 100                                                              OAKVILLE                ON             L6M 2W2      CANADA
    MINOLTA BUSINESS EQUIPMENT CANADA LTD                                            369 BRITANNIA RD E                                                                                          MISSISSAUGA             ON             L4Z 2H5      CANADA
    MINSTER DISTIBUTORS                                                              215 S OHIO ST                                                                                               MINSTER                 OH             45865
    MINT MAGAZINE                                                                    3708 HEMPLAND RD                       PO BOX 610                                                           MOUNTVILLE              PA             17554
    MINUTEMAN PRESS                                                                  3595 WALKER RD                                                                                              WINDSOR                 ON             N8W 3S5      CANADA
    MIRAMAR PROPERTY INVESTORS LLC                                                   PO BOX 47072                                                                                                TUCSON                  AZ             85733
    MIRAMONTES ROBERT                                                                ADDRESS ON FILE
    MIRCHANDANI FAMILY LIMITED PARTNERSHIP      C O PROPERTY SPECIALISTS INC         6401 1ST AVE S                                                                                              ST PETERSBURG           FL             33707
    MIROIR MAGIQUE CABINE PHOTO                                                      2673 OSTIGUY                                                                                                MONTREAL                QC             H4R 1N3      CANADA
    MIRZA SAGIR AHMED JEWEL DBA SYNERGY BPO
    LLC                                                                              804 KINWEST PKWY                       APT 68                                                               IRVING                  TX             75063

    MISCELLANEOUS AND ORNAMENTAL METALS INC                                          2961 SHORE DR                                                                                               VIRGINIA BEACH          VA             23451
    MISHELOFF ENTERPRISES                                                            27 BLUECOAT                                                                                                 IRVINE                  CA             92620
    MISHELOFF ENTERPRISES DBA SMARTER FINANCE
    USA                                                                              27 BLUECOAT                                                                                                 IRVINE                  CA             92620
    MISSION 2004 GROUP INC                    ATTN SHIRLEY HENAGAN                   8653 TOMMY DR                                                                                               SAN DIEGO               CA             92119
    MISSION 2004 GROUP LLC                                                           8653 TOMMY DR                                                                                               SAN DIEGO               CA             92119
    MISSION SERVICES OF LONDON                                                       415 HAMILTON RD                                                                                             LONDON                  ON             N5Z 1S1      CANADA
    MISSISSIPPI DEPARTMENT OF REVENUE                                                PO BOX 1033                                                                                                 JACKSON                 MS             39215
    MISSISSIPPI DEPT OF REVENUE                                                      PO BOX 23191                                                                                                JACKSON                 MS             39225-3191
    MISSISSIPPI SECRETARY OF STATE                                                   PO BOX 23083                                                                                                JACKSON                 MS             39225-3083
    MISSISSIPPI STATE TAX COMMISSION          OFFICE OF REVENUE                      PO BOX 23050                                                                                                JACKSON                 MS             39225-3050


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                        Name                                   Attention                        Address 1                                  Address 2                           Address 3                    City                   State       Zip          Country
    MISSISSIPPI STATE TREASURER                OFFICE OF THE STATE TREASURER      UNCLAIMED PROPERTY DIVISION           PO BOX 138                                                         JACKSON                            MS           39205-0138
    MISSOURI AMERICAN WATER                                                       PO BOX 6029                                                                                              CAROL STREAM                       IL           60197-6029
    MISSOURI AMERICAN WATER 6029                                                  PO BOX 6029                                                                                              CAROL STREAM                       IL           60197-6029
    MISSOURI DEPARTMENT OF REVENUE                                                PO BOX 3365                                                                                              JEFFERSON CITY                     MO           65105-3365
    MISSOURI DEPARTMENT OF REVENUE                                                PO BOX 898                                                                                               JEFFERSON CITY                     MO           65105-0898
    MISSOURI DEPARTMENT OF REVENUE                                                PO BOX 999                                                                                               JEFFERSON CITY                     MO           65108-0999
    MISSOURI DEPT OF REVENUE                   DIVISION OF TAXATION AND COLLECT   PO BOX 3365                                                                                              JEFFERSON CITY                     MO           65105-3365
    MISSOURI DIRECTOR OF REVENUE                                                  PO BOX 700                                                                                               JEFFERSON CITY                     MO           65105-0700
    MISSOURI DIVISION OF EMPLOYMENT SECURITY                                      PO BOX 59                                                                                                JEFFERSON CITY                     MO           65104-0059
    MISSOURI GAS ENERGY                                                           PO BOX 219255                                                                                            KANSAS CITY                        MO           64121-9255
    MISSOURI SECRETARY OF STATE                                                   600 W MAIN ST                                                                                            JEFFERSON CITY                     MO           65101
    MISSOURI STATE TREASURER UNCLAIMED
    PROPERTY                                   MISSOURI UNCLAIMED PROPERTY        PO BOX 1272                                                                                              JEFFERSON CITY                     MO           65102
    MISSOURI STATE TREASURER UNCLAIMED
    PROPERTY                                   UNCLAIMED PROPERTY                 301 W HIGH ST RM 157                                                                                     JEFFERSON CITY                     MO           65101
    MISTER MOVER                                                                  1787 LASALLE BLVD                     PO BOX 2443 STN A                                                  SUDBURY                            ON           P3A 4S8      CANADA
    MISYS IQ LLC                                                                  229 MCLAWS CIR                                                                                           WILLIAMSBURG                       VA           23185
    MITCH WILLIAMS SHERIFF                                                        ADDRESS ON FILE
    MITCHELL BUILDING CONCEPTS INC             DBA INNOVATIVE CONTRACTING         5716 NORMANDY AVE                                                                                        VIRGINIA BEACH                     VA           23464
    MITCHELL DIANE                                                                ADDRESS ON FILE
    MITCHELL JUDAH                                                                ADDRESS ON FILE
    MITCHELL LEASING COMPANY                                                      PO BOX 25                                                                                                UVALDE                             TX           78802
    MITCHELL PERRAULT INC                                                         582 SOMERSET ST W                                                                                        OTTAWA                             ONTARIO      K1R 5K2      CANADA
    MITRA GOUNEH                                                                  ADDRESS ON FILE

    MJK 30TH REAL ESTATE HOLDING COMPANY LLC                                      790 ESTATE DR                         STE 100                                                            DEER FIELD                         IL           60015
    MKI PRIVATE INVESTIGATION                                                     6366 COMMERCE BLVD 185                                                                                   ROHNERT PARK                       CA           94928
    MKJAS PROPERTIES                           ATTN MICHAEL R ROSS                3991 HAMILTON MIDDLETON RD                                                                               HAMILTON                           OH           45011
    MLESURE ENTERPRISES LLC                                                       12482 BROOKLINE ST                                                                                       CARMEL                             IN           46032
    MLK GRAND PARADE                                                              12910 HARTSHILLS CT                                                                                      HOUSTON                            TX           77044
    MMHKK INC DBA KINGDOM KAPITAL                                                 2922 AVE L                                                                                               BROOKLYN                           NY           11210
    MMP PAINTING                                                                  2912 RIVIERA DR                                                                                          WINDSOR                            ON                        CANADA
    MMS USA INVESTMENTS INC                    DBA COMMISSION JUNCTION LLC        530 E MONTECITO ST STE 106                                                                               SANTA BARBARA                      CA           93013
    MNA REALTY                                 C O RIO DINER                      392 AMBOY AVE                                                                                            WOODBRIDGE                         NJ           08242
    MOATS ANDY                                                                    6615 WARRINER WAY                                                                                        CANAL WINCHESTER                   OH           43110
    MOBILE ALPHA LLC                                                              519 N CHARLES ST STE 350                                                                                 BALTIMORE                          MD           21201
    MOBILE ONE COURIER                                                            1457 MILLER STORE RD                  STE 101                                                            VIRGINIA BEACH                     VA           23455
    MOBILE POSSE INC                                                              1320 OLD CHAIN BRIDGE RD              STE 240                                                            MCLEAN                             VA           22101
    MOBILE REGISTER                                                               PO BOX 2488                                                                                              MOBILE                             AL           36652
    MODERN ENVIRONMENTS                                                           370 CLEVELAND PL                                                                                         VIRGINIA BEACH                     VA           23462-6529
    MODERN OFFICE METHODS INC                                                     4747 LAKE FOREST DR                   STE 200                                                            CINNCINNATI                        OH           45242-3853
    MODIS                                                                         DEPT CH10682                                                                                             PALATINE                           IL           60055-0682
    MODRALLSPERLINGROEHLHARRIS AND SISK PA                                        PO BOX 2168                                                                                              ALBUQUERQUE                        NM           87103-2168
    MOHAMMAD KASSEM                                                               ADDRESS ON FILE
    MOHAVE LOCK AND SAFE                                                          4345 HWY 95 STE B                                                                                        FORT MOHAVE                        AZ           86426
    MOHSEN SAID                                                                   ADDRESS ON FILE
    MOLLOY ASSOCIATES INC DBA MONITOR DAILY                                       919 CONESTOGA RD                      BLDG 3 STE 213                                                     ROSEMONT                           PA           19010-1352
    MOMENTUM BUSINESS CAPITAL INC                                                 4014 CHASE AVE                        UNIT 212                                                           MIAMI BEACH                        FL           33140
    MOMENTUM CAPITAL GROUP LLC                                                    4737 N OCEAN DR                       120                                                                FT LAUDERDALE                      FL           33308
    MONA MOGA LLC                                                                 PO BOX 3209                                                                                              BALTIMORE                          MD           21228
    MONACO PETRA                               C O ART GUARINO                    108 STEPHANIE LN                                                                                         YORKTOWN                           VA           23692
    MONARCH ENTITY SERVICES                    ATTN FEE UNIT                      PO BOX 957                                                                                               WILMINGTON                         DE           19801
    MONARCH FUNDING LLC                                                           44 WHITE OAK LN                                                                                          ABERDEN                            NJ           07747
    MONARK CAPITAL GROUP LLC DBA MONARK
    CAPITAL                                                                       10651 SW 40TH MANOR                                                                                      DAVIE                              FL           33328
    MONERIS                                    ATTN ROMMEL VALENCIA               3300 BLOOR ST 16TH FL                 W TOWER                                                            TORONTO                            ON           M8X 2X2      CANADA
    MONET CAPITAL LLC                                                             495 FLATGUSH AVE                                                                                         BROOKLYN                           NY           11225
    MONEVO INC                                                                    8910 UNIVERSITY CTR LN                STE 400                                                            SAN DIEGO                          CA           92122
    MONEY CLIP MAGAZINE                                                           105 S FIRST COLONIAL RD               STE 115                                                            VIRGINIA BEACH                     VA           23454
    MONEY GROUP LLC                                                               METRO OFFICE PARK BLDG 7              CALLE 1 STE 204                                                    GUAYNABO                           PR           00968
    MONEY MAILER                                                                  14271 CORPORATE DR                                                                                       GARDEN GROVE                       CA           92843
    MONEY MAILER                                                                  PO BOX 1472                                                                                              SEAFORD                            DE           19973
    MONEY MATCHMAKER CO                                                           1750 NE 171ST ST                                                                                         NORTH MIAMI BEACH                  FL           33162
    MONEY WORKS DIRECT CAPITAL LLC                                                1501 BROADWAY                         STE 2006                                                           NEW YORK                           NY           10036
    MONGOOSE METRICS LLC                                                          4500 ROCKSIDE RD STE 120                                                                                 INDEPENDENCE                       OH           44131
    MONICA FLORES                                                                 ADDRESS ON FILE
    MONIGLE ASSOCIATES                                                            150 ADAMS ST                                                                                             DENVER                             CO           80206
    MONITRONICS INTERNATIONAL INC                                                 DEPT CH 8628                                                                                             PALATINE                           IL           60055-8628
    MONOPOLY COMMERCIAL REALTY INC                                                41 MAIN ST                                                                                               UNIONVILLE                         ONTARIO      L3R 2E5      CANADA
    MONROE TRANSFER AND STORAGE CO                                                5845 CURLEW DR                                                                                           NORFOLK                            VA           23502
    MONSTER CA                                                                    MONSTERCA LOCKBOX M2152               CP 11012                                                           SUCCURSALE CENTRE VILLE MONTREAL   QC           H3C 4T9      CANADA
    MONSTER WORLDWIDE CANADA                                                      LOCKBOX M2152 CP 11012                SUCCURSALE CENTRE VILLE                                            MONTREAL                           CA           H3C 4T9
    MONSTER WORLDWIDE INC                                                         PO BOX 740889                                                                                            LOS ANGELES                        CA           90074-0889
    MONSTER WORLDWIDE INC                                                         PO BOX 90364                                                                                             CHICAGO                            IL           60696-0364
    MONSTERCA                                                                     276 SAINT JACQUES ST W                10TH FL                                                            MONTREAL                           QUEBEC       H2Y 1N3      CANADA
    MONSTERTRAK                                                                   11845 W OLYMPIC BLVD STE 500                                                                             LOS ANGELES                        CA           90064
    MONTAGE BUSINESS FINANCIAL LLC                                                8840 WILSHIRE BLVE 273                                                                                   BEVERLY HILLS                      CA           90211
    MONTAGNA PROPERTIES INC                                                       5520 JANET DR                                                                                            NORFOLK                            VA           23513
    MONTANA DEPARTMENT OF REVENUE                                                 PO BOX 8021                                                                                              HELENA                             MT           59604-8021
    MONTANA DEPARTMENT OF REVENUE UNCLAIMED
    PROP                                       UNCLAIMED PROPERTY                 125 N ROBERTS 3RD FL E WING                                                                              HELENA                             MT           59601
    MONTANA DEPT OF REVENUE                                                       PO BOX 8021                                                                                              HELENA                             MT           59604-8021
    MONTANA SECRETARY OF STATE                 SECRETARY OF STATE                 PO BOX 202801                                                                                            HELENA                             MT           59620-2801
    MONTCALM ASSOCIATES INC                                                       115 MAIN ST                                                                                              NASHUA                             NH           03060
    MONTE CARLO INN AND SUITES DOWNTOWN
    MARKHAM                                                                       7255 WARDEN AVE                                                                                          MARKHAM                            ON           L3R 1B4      CANADA
    MONTE CARLO INN OAKVILLE SUITES                                               374 S SERVICE RD                                                                                         OAKVILLE                           ON           L6J 2X6      CANADA
    MONTE CARLO RESORT AND CASINO                                                 3770 LAS VEGAS BLVD S                                                                                    LAS VEGAS                          NV           89109
    MONTE WORLD WIDE STAFFING INC                                                 501 EUCLID ST                                                                                            TORONTO                            OH           43964


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    MONTEREY BEACH PARTY                                                               299 CANNERY ROW                      STE D                                                              MONTEREY                CA           93940
    MONTEREY LICENSES LLC                                                              660 FLORMAN                          STE 100                                                            RAPID CITY              SD           57701
    MONTGOMERY COUNTY AUDITOR                  KARL L KEITH                            PO BOX 972                                                                                              DAYTON                  OH           45422-1031
    MONTGOMERY COUNTY MD                       DEPT OF FINANCE                         255 ROCKVILLE PIKE L 15                                                                                 ROCKVILLE               MD           20850
    MONTGOMERY COUNTY TREASURER VA                                                     755 ROANOKE ST STE 1B                                                                                   CHRISTIANBURG           VA           24073-3171
    MONTGOMERY COUNTY TRUSTEE                                                          350 PAGEANT LN                       STE 101B                                                           CLARKSVILLE             TN           37040
    MONTGOMERY COUNTY TRUSTEE                                                          PO BOX 1005                                                                                             CLARKSVILLE             TN           37041
    MONTGOMERY COUNTY TRUSTEE                                                          PO BOX 1005                                                                                             CLARKSVILLE             TN           37041-1005
    MONTICELLO MARKETPLACE SHOPPES LLC                                                 PO BOX 3580                                                                                             NORFOLK                 VA           23514-3580
                                                                                       SL NUSBAUM REALTY CO ESCROW AGENT
    MONTICELLO MARKETPLACE SHOPPES LLC         DBA MARKETPLACE SHOPPES                 FOR                                  PO BOX 3580                                                        NORFOLK                 VA           23514
    MONTRÉAL SAINT LAURENT                                                             777 BLVD MARCEL LAURIN                                                                                  SAINT LAURENT           QC           H4M 2M7      CANADA
    MONTY TREADWAY PROPERTY TAX                                                        PO BOX 215                                                                                              JONESBOROUGH            TN           37659
    MOONSHOT MARKETING LTD                                                             KAUFMANN ST 2                                                                                           TEL AVIV                                          ISRAEL
    MOONSTAR 2100 LLC                          DBA A AND T MANAGERS                    16408 AVILA BLVD                                                                                        TAMPA                   FL           33613
    MOORE AND VAN ALLEN PLLC                                                           100 N TRYON ST                       STE 4700                                                           CHARLOTTE               NC           28202-4003
    MOORE BUSINESS COMMUNICATION                                                       6100 VIPOND DR                                                                                          MISSISSAUGA             ON           L5T 2X1      CANADA
    MOORE BUSINESS COMMUNICATIONS              ATTN ACCOUNTS RECEIVABLE                6100 VIPOND DR                                                                                          MISSISSAUGA             ON           L5T 2X1      CANADA
    MOORE INGRAM JOHNSON AND STEELE LLP                                                326 ROSWELL ST SE                                                                                       MARIETTA                GA           30060
    MOORE JESSICA                                                                      ADDRESS ON FILE
    MOORE ROBERT                                                                       ADDRESS ON FILE
    MOORE WALLACE BCS                                                                  6100 VIPOND DR                                                                                          MISSISSAUGA             ONTARIO      L5T 2X1      CANADA
    MOORESVILLE MARKETPLACE STATION                                                    6322 PAYSPHERE CIR                                                                                      CHICAGO                 IL           60674
    MORALE WELFARE AND RECREATION DEPT         ATTN TERRY PECK                         1432 HEWITT DR                                                                                          NORFOLK                 VA           23521
    MORAN FOODS INC                                                                    SAVE A LOT                           RE STORE752                                PO BOX 958844           ST LOUIS                MO           63195-8844
    MORAN JERRY                                                                        ADDRESS ON FILE
    MORBEN REALTY CO INC                       DBA RONCO REALTY COMPANY                5330 ALPHA RD STE 200                                                                                   DALLAS                  TX           75240
    MORCOS GEORGE                                                                      ADDRESS ON FILE
    MORDEN KAREN                                                                       ADDRESS ON FILE
    MORENO ESTELA C                                                                    ADDRESS ON FILE
    MORGAN COUNTY TREASURER                                                            180 S MAIN ST                        STE 129                                                            MARTINSVILLE            IN           46151

    MORGAN L FRASER DREAM MAKER DIGITAL MARK                                           PO BOX 2196                                                                                             LEAVENWORTH             WA           98826
    MORGAN STANLEY CAPITAL I INC TRUST         PT CERT SER 2007 IQ16 REMIC I REO C O
    COMMERCIAL MTG                             LINCOLN HARRIS                          4725 PIEDMONT ROW DR STE 800                                                                            CHARLOTTE               NC           28210
    MORGUARD INVESTMENTS LTD                   C O MORGUARD INVESTMENTS                32900 S FRASER WAY STE 201                                                                              ABBOTSFORD              BC           V2S 5A1      CANADA
    MORILLO CARLOS                                                                     ADDRESS ON FILE
    MORNING JOURNAL                                                                    308 MAPLE ST                                                                                            LISBON                  OH           44432
                                               DBA MORRIS HEATING COOLING COMFORT
    MORRIS COMFORT SYSTEMS                     SYSTEMS                                 401 S COLLEGE ST                                                                                        PIQUA                   OH           45356
    MORRIS MEDIA                                                                       3358 OPAL RD                                                                                            NANAIMO                 BC           V9T 2V5      CANADA
    MORRISON AND FOERSTER LLP                                                          PO BOX 742335                                                                                           LOS ANGELES             CA           90074-2335
    MORRISTOWN ROAD LLC                                                                1 INTERNATIONAL BLVD                 STE 400                                                            MAHWAH                  NJ           07495
    MORTON G THALHIMER INC                                                             11100 W BROAD ST                     PO BOX 5160                                                        GLEN ALLEN              VA           23058-5160
    MORTON G THALHIMER INC                                                             PO BOX 5160                                                                                             GLEN ALLEN              VA           23058-5160
    MOSIER PETERSON WILL                                                               ADDRESS ON FILE
    MOSSBERG AND COMPANY INC                                                           301 E SAMPLE ST                                                                                         SOUTH BEND              IN           46601-3547
    MOSTLY RESIDENTIAL PAINTING                                                        5 SANDALWOOD CR                                                                                         LONDON                  ON           N6G 2Z6      CANADA
    MOTEL 6 4052                                                                       2820 CHAMBLEE TUCKER RD                                                                                 ATLANTA                 GA           30341
    MOTIO INC                                                                          7161 BISHOP RD                       STE 200                                                            PLANO                   TX           75024
    MOTION SERVICES LLC                                                                214 S AUDOBON AVE                                                                                       TAMPA                   FL           33609

    MOTOR VEHICLE TRANSACTION RECOVERY FUND    BUREAU OF MOTOR VEHICLES                1101 S FRONT ST                                                                                         HARRISBURG              PA           17104
    MOTUS ADVISORS INC                                                                 6204 LD LOCKETT RD                                                                                      COLLEYVILLE             TX           76034-6539
    MOTUS ADVISORS INC                                                                 6900 REVERCHON CT                                                                                       COLLEYVIELL             TX           76034
    MOULTON BELLINGHAM PC                                                              27 N 27TH ST                         PO BOX 2559                                                        BILLINGS                MT           59101
    MOUNT BEACON CONSULTING INC                                                        1073 MAIN ST                         STE 204                                                            FISHKILL                NY           12524
    MOUNTAIN LAUNDRY CORP                      C O INVESTOR PROPERTY SERVICES          26020 ACERO STE 200                                                                                     MISSION VIJEO           CA           92691
    MOUNTAIN SIXTH ASSOCIATES LLC                                                      567 SAN NICOLAS DR                   STE 130                                                            NEWPORT BEACH           CA           92660
    MOUNTAIN VIEW COFFEE NEWS                                                          BOX 2773                                                                                                DIDSBURY                AB           T0M 0W0      CANADA
    MOUNTAINGATE ASSOCIATES LLC                                                        FILE 30964                           PO BOX 60000                                                       SAN FRANCISCO           CA           94160
    MOUTON LARREY                                                                      ADDRESS ON FILE
    MOVABLE PARTS LLC DBA NEED A NERD                                                  110 N WAYNE ST                                                                                          MILLEDGEVILLE           GA           31061
    MOVEAHEAD BUSINESS CONSULTING LLC                                                  2114 E BLVD                                                                                             KOKOMO                  IN           46904
    MOYOCK GARDENS AND NURSERY INC                                                     684 S MILLS RD                                                                                          MOYOCK                  NC           27958
    MPOWERING AMERICA LLC                                                              2200 PASEO VERDE PKWY                STE 290                                                            HENDERSON               NV           89052
    MQ AND C ADVERTISING INC                   DBA KRISTALYTICS                        PO BOX 1045                                                                                             JACKSON                 WY           83001
    MR DONUT                                                                           8462 N LINDBUGH                                                                                         FLORISSANT              MO           63033
    MR ELECTRIC                                                                        1018 177A STR SW                                                                                        EDMONTON                AB           T6W 2A1      CANADA
    MR FIX IT HOME SERVICES                    C O TERRY JENKINS                       18107 ZEMMA LN                                                                                          HAGERSTOWN              MD           21740
    MR KEY LOCKSMITH                                                                   528 A S CANAL ST                                                                                        NEWTOWN FALLS           OH           44444
    MR MOBILE SIGN                                                                     PO BOX 5                                                                                                GOODWOOD                ON           L0C 1A0      CANADA
    MR T CARTING CORP                                                                  73 10 EDSALL AVE                                                                                        GLENDALE                NY           11385-8220
    MR TECH STUFF INC                                                                  500 GRAPEVINE HWY STE 402                                                                               HURST                   TX           76054-2785
    MRHANDYMAN HOME IMPROVEMENT
    PROFESSIONALS                                                                      9640 BAYVIEW AVE                     UNIT 4                                                             RICHMOND HILL           ON           L4C 9P7      CANADA
    MRI INTERMEDIATE HOLDINGS LLC                                                      28925 FOUNTAIN PKWY                                                                                     SOLON                   OH           44139
    MRM CAPITAL HOLDING DBA MATTHEW MEEH                                               9315 TRINANA CIR                                                                                        WINTER SARDEN           FL           34787
    MRMIKES PLUMBING                                                                   187 918 16 AVE NW                                                                                       CALGARYALBERTA          CA           T2M0K3
    MRP HARRISON LLC                                                                   7777 BONHOMME AVE                    STE 1700                                                           ST LOUIS                MO           63105-1984
    MRP HOT SPRINGS PLAZA LLC                                                          7777 BONHOMME AVE STE 1700           C O MIDWEST RETAIL PROPERTIES                                      ST LOUIS                MO           63105
    MRW SMYRNA JOINT VENTURE                                                           7101 EXECUTIVE CTR DR                STE 200                                                            BRENTWOOD               TN           37027
    MS CLEAN SERVICES INC                                                              2112 OAKLAWN CT                                                                                         VIRGINIA BEACH          VA           23454
    MSA PC                                                                             5033 ROUSE DR                                                                                           VIRGINIA BEACH          VA           23462-3708
    MSC FINANCIAL INC                                                                  2604 E DEMPSTER 201                                                                                     PARK RIDGE              IL           60068
                                               DBA MR HANDYMAN OF ALVINMISSOURI CITY
    MSC VENTURES LLC                           AND STAFFORD                          9119 HWY 6 STE 230                     BOX 321                                                            MISSOURI CITY           TX           77459
    MSDN MAGAZINE                                                                    PO BOX 56621                                                                                              BOULDER                 CO           80321-6621
    MSI DETECTIVE SERVICES                     ATTN PEGGY SHAPIRO                    2406 W FULLERTON AVE                                                                                      CHICAGO                 IL           60647


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                       Name                                   Attention                        Address 1                                Address 2                           Address 3                    City        State        Zip              Country
    MSSSSOFTWARE INC                                                           65 E LAWN CT                                                                                             COVINGTON               GA            30016
    MT RUSHMORE BROADCASTING INC                                               PO BOX 2515                                                                                              CASPER                  WY            82601
    MT VERNON RETAIL LLC                                                       5604 E MERCER WAY                                                                                        MERCER ISLAND           WA            98040
    MT VERNON RETAIL LLC                       C O EILEEN TAKEUCHI             5604 E MERCER WAY                                                                                        MERCER ISLAND           WA            98040
    MTS BROADCASTING                                                           PO BOX 237                                                                                               CAMBRIDGE               MD            21613
    MTS COMMUNICATIONS INC                                                     BOX 4700                                                                                                 WINNIPEG                MB            R3C 3N1      CANADA
    MTS HOLDINGS LLC                                                           2400 SE C ST                                                                                             BENTONVILLE             AR            72712
    MTS MOBILITY                                                               PO BOX 8500                                                                                              WINNIPEG                MB            R3C 4V3      CANADA
    MUDD LEROY                                                                 ADDRESS ON FILE
    MUHAMMAD JIBRAN                                                            ADDRESS ON FILE
    MULHALL ERIC AND FELICIA                                                   ADDRESS ON FILE
    MULLEN COUGHLIN LLC                                                        1275 DRUMMERS LN STE 302                                                                                 WAYNE                   PA            19087
    MULLER BRIAN                                                               ADDRESS ON FILE
    MULROY SCANDAGLIA MARRINSON AND RYAN                                       ADDRESS ON FILE
    MULTI UNITFRANCHISECOM                                                     133 RIVER LANDING DR STE 110                                                                             CHARLESTON              SC            29492
    MULTIFUNDING LLC                                                           921 A BETHLEHEM PIKE                  206                                                                AMBLER                  PA            19002
    MULTIVIEW INC DBA MULTIBRIEFS                                              PO BOX 202696                                                                                            DALLAS                  TX            75320-2696

    MULVANEY BARRY BEATTY LINN AND MAYERS LLP                                  401 W AT ST                           17TH FL                                                            SAN DIEGO               CA            92101
    MUNCHKIN PROPERTIES LLC                   C O HORACE MCCOWAN               PO BOX 3792                                                                                              PARKER                  CO            80134
    MUNICIPAL CONSULTING GROUP                                                 2300 M ST NW                          STE 800                                                            WASHINGTON              DC            20037
    MUNICIPAL REVENUE COLLECTION CENTER                                        PO BOX 195387                                                                                            SAN JUAN                PUERTO RICO   00919-5387
    MUNICIPAL SERVICES BUREAU                                                  PO BOX 16755                                                                                             AUSTIN                  TX            78761-6755
                                                                                                                     OFFICE OF MUNICIPAL REVENUE AND
    MUNICIPIO DE CAROLINA                                                      DEPT OF FINANCE AND BUDGET            CONTRIBUTIONS                              SECTION 8               CAROLINA                PR            00986-0008
    MUNSON CRYSTAL                                                             ADDRESS ON FILE
    MURDOCK KEN                                                                ADDRESS ON FILE
    MURPHY BUSINESS AND FINANCIAL                                              216 F ST 131                                                                                             DAVIS                   CA            95616
    MURPHY JAMES DERRICK                                                       ADDRESS ON FILE
    MURPHY LYNDA J                                                             ADDRESS ON FILE
    MURPHY MICHAEL R                                                           ADDRESS ON FILE
    MURPHYS CABLE WHARF WHALEWATCHING                                          1751 LOWER WATER ST                                                                                      HALIFAX                 NS            B3J 3E4      CANADA
    MURPHYS IRISH PUB                                                          2914 PACIFIC AVE                                                                                         VIRGINIA BEACH          VA            23451
    MURRAY CHRISTOPHER                                                         ADDRESS ON FILE
    MURRAY DUFF ENTERPRISES LIMITED                                            143 WELLINGTON ST W STE 202                                                                              CHATHAM                 ON            N7M 5K4      CANADA
    MURRAY STARLING                                                            27 ASPEN LN                                                                                              POWASSAN                ON            P0H 1Z0      CANADA
    MURRAY THOMAS W                                                            ADDRESS ON FILE
    MURRAY WELLS WENDELIN AND ROBINSON CPAS
    INC                                                                        326 N WAYNE ST                                                                                           PIQUA                   OH            45356-0613
    MUSE DANIEL AND JAMIE                                                      ADDRESS ON FILE
    MUSGRAVE TOM                                                               ADDRESS ON FILE
    MUSHETT MOLLIE                                                             ADDRESS ON FILE
    MUSIAL KENNETH                                                             ADDRESS ON FILE
    MUSIC BY DJ E INC                                                          1618 AMELIA ST                                                                                           NORFOLK                 VA            23504
    MUSKEGON CHARTER TOWNSHIP                                                  1990 E APPLE AVE                                                                                         MUSKEGON                MI            49442-4293
    MUTH ROY                                                                   ADDRESS ON FILE
    MUZAK LLC                                                                  PO BOX 71070                                                                                             CHARLOTTE               NC            28272-1070
    MV CONCORDE PROPERTY MGMT INC                                              400 1500 QUELLETE AVE                 STE 400                                                            WINDSOR                 ON            N8X 1K7      CANADA
    MVP GROUP MARKETING VIA POSTAL                                             2526 S BIRCH ST                                                                                          SANTA ANA               CA            92707
    MWT SUMYOSHI LLC                           DBA OHANA REALTY GROUP          2620 REGATTA DR                       STE 211                                                            LAS VEGAS               NV            89128
    MY BENEFIT PARTNERS LLC                                                    6930 W LINEBAUGH AVE                                                                                     TAMPA                   FL            33625
    MY BROADCASTING CORP                                                       BOX 961 321 B RAGLAN ST S                                                                                RENFREW                 ON            K7V 4H4      CANADA
    MY CORPORATE CASTLES                                                       449 W 79TH ST                         STE 1                                                              CHICAGO                 IL            60620
    MY HERO INC DBA BUSINESS CAPITAL FUNDING                                   12362 BEACH BLVD                      STE 28                                                             STANTON                 CA            90680
    MY LOVED ONES LLC                                                          PO BOX 34409                                                                                             RICHMOND                VA            23234
    MYA MOORE                                                                  ADDRESS ON FILE
    MYERS ANTHONY D                                                            ADDRESS ON FILE
    MYERS TERRY                                                                ADDRESS ON FILE
    MYRAN MAAE                                                                 ADDRESS ON FILE
    MYRNA SHEINBLUM                                                            ADDRESS ON FILE
    MYRON GLASSMAN PHD                                                         ADDRESS ON FILE
    MYY MANAGMENT LLC                          DBA METRO MART USA              1919 METROPOLITAN PKWY SW                                                                                ATLANTA                 GA            30315
    N AND N DEFENSE SHOPPING CENTER GP                                         PO BOX 60250                                                                                             POTOMAC                 MD            20859-0250
    N INVESTMENTS I LLC                                                        1440 N OLIVER AVE                                                                                        WICHITA                 KS            67208
    NABIL SOMO                                                                 ADDRESS ON FILE
    NABLASOL DIGITAL SERVICES PVT LTD                                          M 63B GF LAJPAT NAGAR II                                                                                 NEW DELHI                             110024
    NABLASOL DIGITAL SERVICES PVT LTD                                          M 63B LAJPAT NAGAR II                                                                                    NEW DEHLI                             110024       INDIA
    NACD                                                                       2001 PENNSYLVANIA AVE NW              STE 500                                                            WASHINGTON              DC            20006
    NACTP                                                                      9111 E DOUGLAS AVE                    STE 400                                                            WICHITA                 KS            67207
    NADBRO RIVIERA INC DO NOT USE                                              7321 VICTORIA PARK AVE                UNIT 18                                                            MARKHAM                 ONTARIO       L3R 2Z8      CANADA
    NADIA BABAYI                                                               ADDRESS ON FILE
    NAE FEDERAL CREDIT UNION                                                   CHESAPEAKE GENERAL CT                 307 ALBEMARLE DR 2ND FL                                            CHESAPEAKE              VA            23322
    NAEA                                                                       PO BOX 79411                                                                                             BALTIMORE               MD            21279
    NAELB NATIONAL ASSOCIATION OF EQUIPMENT
    LEASING BROKERS                                                            100 N 20TH ST                         STE 400                                                            PHILADELPHIA            PA            19103
    NAI CAPTIAL MANAGEMENT INC                                                 120 1 2 S EL CAMINO REAL              STE 210                                                            SAN CLEMENTE            CA            92672
    NAI OHIO EQUITIES LLC                      C O 645 BERGEN AVE REALTY LLC   605 S FRONT ST STE 200                                                                                   COLUMBUS                OH            43215
    NAM JIM CORP                                                               490 CENTRAL AVE                                                                                          EAST ORANGE             NJ            07018
    NAME BADGE PRODUCTIONS LLC                                                 PO BOX 620854                                                                                            MIDDLETON               WI            53562
    NAMON ROY BULLARD                                                          ADDRESS ON FILE
    NANCY AND KEVIN JONES                                                      ADDRESS ON FILE
    NANCY E ROBERTS                                                            ADDRESS ON FILE
    NAPA COUNTY TAX COLLECTOR                                                  1195 THIRD ST                         STE 108                                                            NAPA                    CA            94559-3050
    NAPIWOSKI ROYLANE AND THOMAS                                               ADDRESS ON FILE
    NAPLES BEEFS INC                           ATTN DAVID BENNETT OR LAURA     4085 HANCOCK BRIDGE PKWY 108                                                                             N FORT MYERS            FL            33903
    NAPLES COMMERICAL MANAGEMENT LLC           C O RMC PROPERTY GROUP          8902 N DALE MABRY HWY STE 200                                                                            TAMPA                   FL            33614
    NAPOLITANO OZZIE                                                           ADDRESS ON FILE
    NARLAND PROPERTIES VICTORIA SQUARE LTD                                     2223 VICTORIA AVE E                                                                                      REGINA                  SK            S4N 6E4      CANADA
    NARRAGANSETT ELECTRIC                                                      PROCESSING CTR                                                                                           LEAVITTSBURG            OH            01807-0049


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                        Name                                  Attention                            Address 1                                 Address 2                           Address 3                     City        State       Zip          Country
    NASDAQ INC                                 DBA THE NASDAQ STOCK MARKET LLC     ONE LIBERTY PLZ 49TH FL                165 BROADWAY                                                       NEW YORK                 NY           10006
    NASON CHARLES                                                                  ADDRESS ON FILE
    NASSAU BROADCASTING                                                            PO BOX 48146                                                                                              NEWARK                   NJ           07101
    NASSIRI AND JUNG LLP                                                           251 KEARNY ST STE 501                                                                                     SAN FRANCISCO            CA           94108
    NATHANIEL WARREN                                                               ADDRESS ON FILE
    NATIONAL AD FORCE DBA NAF DIGITAL INC                                          210 W ILLINOIS                         1ST FL                                                             CHICAGO                  IL           60654
    NATIONAL ASSOCIATION OF CORPORATE
    DIRECTORS                                                                      1515 N COURTHOUSE RD STE 1200                                                                             ARLINGTON                VA           22201
    NATIONAL ASSOCIATION OF ENROLLED AGENTS                                        PO BOX 49411                                                                                              BALTIMORE                MD           21279-0411
    NATIONAL ASSOCIATION OF ENROLLED AGENTS                                        PO BOX 79411                                                                                              BALTIMORE                MD           21279
    NATIONAL AUTO RESEARCH DIV                                                     PO BOX 404040                                                                                             ATLANTA                  GA           30384-4040
    NATIONAL BOOK NETWORK                                                          PO BOX 890510                                                                                             CHARLOTTE                NC           28289-0510
    NATIONAL BOULEVARD SELF STORAGE                                                10321 NATIONAL BLVD                                                                                       WEST LOS ANGELES         CA           90034
    NATIONAL BUSINESS CAPITAL                                                      1 CORPORATE DR                         STE 202                                                            BOHEMIA                  NY           11716-2663
    NATIONAL BUSINESS INSTITUTE                INSTITUTE FOR PARALEGAL EDUCATION   PO BOS 3187                                                                                               EAU CLAIRE               WI           54702
    NATIONAL CAPITAL LLC                                                           1700 MARKET ST 10TH FL                                                                                    PHILADELPHIA             PA           19103
    NATIONAL CAR RENTAL                                                            PO BOX 402334                                                                                             ATLANTA                  GA           30384-2334
    NATIONAL CAR RENTAL                        O A NATIONAL CAR RENTAL             129 ANGELINE ST N                                                                                         LINDSAY                  ON           K9V 4M9      CANADA
    NATIONAL CAR RENTAL CANADA                                                     3398 HARVESTER RD UNIT 80094           PO BOX 5600                                                        BURLINGTON               ON           L7R 4X3      CANADA
    NATIONAL CENTER FOR PROFESSIONAL
    EDUCATION INC                                                                  PO BOX 560                                                                                                ZACHARY                  LA           70791
    NATIONAL COMPRESSOR EXCHANGE INC                                               75 ONDERDONK AVE                                                                                          RIDGEWOOD                NY           11385
    NATIONAL CORPORATE RESEARCH LTD                                                10 E 40TH ST                           10TH FL                                                            NEW YORK                 NY           10016
    NATIONAL CREDIT ADJUSTERS                                                      PO BOX 3023                                                                                               HUTCHINSON               KS           67504
    NATIONAL CREDITORS CONNECTION INC                                              14 ORCHARD RD                          STE 100                                                            LAKE FOREST              CA           92630
    NATIONAL CUSTOMS MUSEUM FOUNDATION                                             7222 LUDWOOD CT                                                                                           ALEXANDRIA               VA           22306
    NATIONAL DEBT RELIEF LLC                                                       180 MAIDEN LN 30TH FL                                                                                     NEW YORK                 NY           10038
    NATIONAL DEVELOPEMENT GROUP                                                    1481 ATWOOD AVE                                                                                           JOHNSTON                 RI           02919
    NATIONAL DISTRIBUTION SYSTEMS              DIVISION OF WAVE COMMUNICATION      2641 N CLYBOURNE AVE                                                                                      CHICAGO                  IL           60614
    NATIONAL EVENT MANAGEMENT                                                      60 RENFREW DR                          STE 105                                                            MARKHAM                               L3R 0E1      CANADA
    NATIONAL EXEMPTION SERVICE                                                     PO BOX 9020                                                                                               CLEARWATER               FL           33758-9020
    NATIONAL EXTERMINATION COMPANY INC                                             12484 A WAREICK BLVD A                                                                                    NEWPORT NEWS             VA           23606-3000
    NATIONAL FOOTBALL LEAGUE ALUMNI
    ASSOCIATION                                                                    8000 MIDLANTIC DR                      STE 130 S                                                          MOUNT LAUREL             NJ           08054
    NATIONAL FRANCHISE COUNCIL                                                     1615 L ST STE 650                                                                                         WASHINGTON               DC           20036
    NATIONAL FUEL                                                                  PO BOX 371835                                                                                             PITTSBURGH               PA           15250-7835
    NATIONAL FUNDING INC                                                           9820 TOWNE CENTRE DR                   STE 200                                                            SAN DIEGO                CA           92121
    NATIONAL FUNDING SOURCE INC                                                    26 GARFIELD AVE                                                                                           BAYSHORE                 NY           11706
    NATIONAL GRID                                                                  PO BOX 11739                                                                                              NEWARK                   NJ           07101-4739
    NATIONAL GRID 11737                                                            PO BOX 11737                                                                                              NEWARK                   NJ           07101-4737
    NATIONAL GRID 11741                                                            PO BOX 11741                                                                                              NEWARK                   NJ           07101-4741
    NATIONAL GRID 11742                                                            PO BOX 11742                                                                                              NEWARK                   NJ           07101-4742
    NATIONAL GRID 371416                                                           PO BOX 371416                                                                                             PITTSBURGH               PA           15250-7416
    NATIONAL INVESTOR RELATIONS INSTITUTE                                          225 REINEKERSLANE                      STE 560                                                            ALEXANDRIA               VA           22314

    NATIONAL LATINO PEACE OFFICERS ASSOCIATION ATTN LOIS THOMPSON                  PO BOX 6836                                                                                               VIRGINIA BEACH           VA           23453
    NATIONAL LAZER SUPPLY LTD                                                      350 WENTWORTH ST N                                                                                        HAMILTON                 ON           L8L 5W3      CANADA
    NATIONAL LEAD SOURCE DBA NATIONAL
    MARKETING SOURCE                                                               10 FAIRWAY DR                          STE 307                                                            DEERFIELD                IL           33441
    NATIONAL LEASING GROUP INC                                                     1525 BUFFALO PL                                                                                           WINNIPEG                 MB           R3T1L9       CANADA
    NATIONAL LEASING WINNIPEG                                                      1525 BUFFALO PL                                                                                           WINNIPEG                 MB           R3T 1L9      CANADA
    NATIONAL LEGAL RESEARCH GROUP                                                  PO BOX 7187                                                                                               CHARLOTTESVILLE          VA           22906
    NATIONAL MAIL IT INC                                                           PO BOX 19630                                                                                              SHREVEPORT               LA           71149-0630
    NATIONAL MONEY MAN 4 CASH ADVANCE LLC DBA
    MONEY MAN 4 BUSINESS                                                           363 N SAM HOUSTON PKWY E               STE 1100                                                           HOUSTON                  TX           77060
    NATIONAL MONEY MART                                                            GRUBB AND ELLIS THREE LINCOLN CTR      5430 LBJ FWY STE 1400                                              DALLAS                   TX           75240
    NATIONAL MONEY MART COMPANY                                                    102 294 PORTAGE AVE                                                                                       WINNIPEG                 MB           R3C 0B9      CANADA
    NATIONAL NOTARY ASSOC                                                          9350 DE SOTO AVE                       PO BOX 2402                                                        CHATSWORTH               CA           91313-2402
    NATIONAL POST PAYMENT CENTRE                                                   PO BOX 1227                            STATION MAIN                                                       WINNIPEG                 MB           R3C 2Y4      CANADA
    NATIONAL SEMINARS GROUP                                                        PO BOX 419107                                                                                             KANSAS CITY              MO           64141-6107
    NATIONAL SIGNS                                                                 130 12TH AVE E                                                                                            REGINA                   SK           S4N 6L6      CANADA
    NATIONAL SOCIETY OF PUBLIC ACCOUNTANTS                                         NATIONAL SOCIETY OF ACCOUNTANTS        PO BOX 405755                                                      ATLANTA                  GA           30384-5700
    NATIONAL SOFTWARE INC                                                          PO BOX 93001                                                                                              PHOENIX                  AZ           85070
    NATIONAL SPEAKERS ASSOCIATION                                                  1500 S PRIEST DR                                                                                          TEMPE                    AR           85281
    NATIONAL SPEAKERS BUREAU                                                       1663 W 7TH AVE                                                                                            VANCOUVER                BC           V6J 1S4      CANADA
    NATIONAL TAX SERVICES INC                                                      10862 WEISIGER LN                                                                                         OAKTON                   VA           22124
    NATIONAL TECHNICAL INFORMATION SERVICE                                         5285 PORT ROYAL RD                                                                                        SPRINGFIELD              VA           22161
    NATIONAL WASTE SERVICES AND IRS                                                PO BOX 9001154                                                                                            LOUISVILLE               KY           40290-1154
    NATIONWIDE 514540                                                              PO BOX 514540                                                                                             LOS ANGELES              CA           90051-4540
    NATIONWIDE COLUMBUS REAL ESTATE INV                                            4273 WESTLAND MALL                                                                                        COLUMBUS                 OH           43228
    NATIONWIDE COLUMBUS REAL ESTATE
    INVESTMENTS                                                                    4273 WESTLAND MALL                                                                                        COLUMBUS                 OH           43228
    NATIONWIDE CPAS LLC                                                            3707 N 7TH ST                          305                                                                PHOENIX                  AZ           85014
    NATIONWIDE INCOME TAX SERVICES LTD                                             1177 OTTAWA ST                                                                                            WINDSOR                  ON           N8X 2E4      CANADA
    NATIONWIDE NEWSPAPERS                                                          5955 MASTERS BLVD                                                                                         ORLANDO                  FL           32819
    NATIONWIDE YELLOW PAGES SERVICE                                                104 MOUNTAIN CT                                                                                           HACKETTSTOWN             NJ           07840-2300
    NATIONWIDE YELLOW PAGES SERVICES                                               104 MOUNTAIN CT                                                                                           HACKETTSTOWN             NJ           07840-2300
    NATIVE COMMUNICTIONS SOCIETY OF NWT                                            4 LESAARD DR                                                                                              YELLOWKNIFE              NT           XIA 2G5      CANADA
    NATP                                                                           PO BOX 8002                                                                                               APPLETON                 WI           54912-8002
    NATP VA CHAPTER                            C O TERESA STEINIGER                12814 MILL RD                                                                                             FREDERICKSBURG           VA           22407

    NATURAL INTELLIGENCE                                                           BANK LEUMI USA BRANCH TELLER DEPOSIT   579 FIFTH AVE 3RD FL                                               NEW YORK                 NY           10017
    NATVARIAL B PATEL                                                              ADDRESS ON FILE
    NAUTILUS INVESTIGATIONS                                                        9245 SW 157TH ST                       208                                                                MIAMI                    FL           33157
    NAV TECHNOLOGIES INC                                                           12936 S FRONTRUNNER BLVD               STE 550                                                            DRAPER                   UT           84020
    NAVIGATORS BASEBALL TEAM                                                       3949 OLD LAKEISE LAKE RD                                                                                  TERRACE                  BC           V8G 3T9      CANADA
    NAVY EXCHANGE SERVICE COMMAND              DBA NEX NEXCOM                      3280 VIRGINIA BEACH BLVD                                                                                  VIRGINIA BEACH           VA           23452
    NAVY FEDERAL CREDIT UNION                                                      PO BOX 5529                                                                                               SIOUX FALL               SD           57117
    NAVY FEDERAL CREDIT UNION                  SECURITY BRANCH                     PO BOX 2464                                                                                               MERRIFIELD               VA           22116-2464


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    NAZIM CHANDRANI                                                                   ADDRESS ON FILE
    NC CHILD SUPOORT                                                                  NC CHILD SUPPORT                     PO BOX 900012                                                       RALEIGH                  NC           27675-9012
    NC CHILD SUPPORT CENTRALIZED COLLECTIONS                                          PO BOX 900012                                                                                            RALEIGH                  NC           27675-9012
    NC SANITATION INC                                                                 PO BOX 355                                                                                               CHESTER                  WV           26034
    NC SECRETARY OF STATE                      CORPORATIONS DIVISION                  PO BOX 29525                                                                                             RALEIGH                  NC           27626-0525
    NCO FINANCIAL SYSTEMS INC                                                         PO BOX 41457                                                                                             PHILADELPHIA             PA           19101-1457
    NCR CORPORATION                                                                   PO BOX 740162                                                                                            CINCINNATI               OH           45274-0162
    NCSPLUS                                                                           117 E 24TH ST                        FL 5                                                                NEW YORK                 NY           10010
    NDEA GAINES                                                                       7501 SWEETGATE LN                                                                                        DENTON                   TX           76208
    NDNLSNET                                                                          3530 ASHFORD DUNWOODY RD 341                                                                             ATLANTA                  GA           30319
    NEAL BETH                                                                         ADDRESS ON FILE
    NEAL BRAVER                                                                       ADDRESS ON FILE
    NEAL CATHERINE                                                                    ADDRESS ON FILE
    NEBRASKA DEPARTMENT OF BANKING AND
    FINANCE                                                                           1526 K ST                            STE 300                                                             LINCOLN                  NE           68508-2732
    NEBRASKA DEPARTMENT OF REVENUE                                                    PO BOX 94818                                                                                             LINCOLN                  NE           68509-4818
    NEBRASKA DEPT OF REVENUE                                                          PO BOX 94818                                                                                             LINCOLN                  NE           68509-4818
    NEBRASKA YOUTH RUGBY ASSOCIATION                                                  1117 LOCUST AVE                                                                                          PAPILLION                NE           68046
    NEC BUCKNER AND SAMUEL LP                                                         2227 VANTAGE ST                                                                                          DALLAS                   TX           75207
    NEEVIA TECHNOLOGY                                                                 103 NE 4TH ST                                                                                            FT LAUDERDALE            FL           33301
    NEFF AND ASSOCIATES                                                               WHEELER K NEFF ESQ                   118 SCHOOL RD                                                       WILMINGTON               DE           19803
    NEFF COLVIN                                                                       ADDRESS ON FILE
    NEGLIA YOPP REALTY ASSOCIATES                                                     165A EADS ST                                                                                             WEST BABYLON             NY           11704
    NEIL H GREENBERG AND ASSOCIATES PC                                                4242 MERRICK RD                                                                                          MASSAPEQUA               NY           11758
    NEILSON FORMS                                                                     92 BISCAYNE BAY                                                                                          WINNIPEG                 MB           R3T 0N5      CANADA
    NEIMAN MARCUS CAPITAL ONE                                                         PO BOX 5235                                                                                              CAROL STREAM             IL           60197
    NEKOLA RHEA L                                                                     ADDRESS ON FILE
    NELCO                                                                             PO BOX 10208                                                                                             GREEN BAY                WI           54307-0208
    NELCO MECHANICAL LIMITED                                                          77 EDWIN ST                          PO BOX 1088                                                         KITCHENER                ON           N2G 4G6      CANADA
    NELLIE COFFMAN PTSA                                                               34603 PLUMLEY RD                                                                                         CATHEDRAL CITY           CA           92234
    NELSON B AND MARIA E FERREIRA                                                     ADDRESS ON FILE

    NELSON MULLINS RILEY AND SCARBOROUGH LLP                                          PO BOX 11070                                                                                             COLUMBIA                 SC           29211
    NELSON TAPLIN GOLDWATER INC                                                       1555 PALM BEACH LAKES BLVD           STE 1510                                                            WEST PALM BEACH          FL           33401
    NEMITZ VERNON                                                                     ADDRESS ON FILE
    NEOFUNDS BY NEOPOST                                                               PO BOX 6813                                                                                              CAROL STREAM             IL           60197-6813
    NEON NIGHTS INC                                                                   1555 SHELTON AVE                                                                                         NORFOLK                  VA           23502
    NEOPOST CANADA                                                                    150 STEELCASE RD W                                                                                       MARKHAM                  ON           L3R 3J9      CANADA
    NEOPOST USA INC                                                                   478 WHEELERS FARMS RD                                                                                    MILFORD                  CT           06461
    NEPTUNE FESTIVAL                                                                  265 KINGS GRANT RD STE 102                                                                               VIRGINIA BEACH           VA           23452
    NEPTUNES RESTAURANT                                                               2901 ATLANTIC AVE                                                                                        VIRGINIA BEACH           VA           23451
    NERDS ON SITE INC                                                                 383 RICHMOND ST                      STE 900                                                             LONDON                   ON           N6A 3C4      CANADA
    NERDWALLET INC                                                                    55 HAWTHORNE ST                      11TH FL                                                             SAN FRANCISCO            CA           94105
    NESS SECURITY INC                                                                 1730 BUR OAK AVE BLDG G              PO BOX 3009                                                         MARKHAM                  ON           L6E 0J1      CANADA
    NEST PLANNER LLC                                                                  1430 S FEDERAL HWY                   STE 303                                                             DEERFIELD BEACH          FL           33441
                                               A DIVISION OF NESTLE WATERS NORTH
    NESTLE PURE LIFE DIRECT                    AMERICA INC                            PO BOX 856192                                                                                            LOUISVILLE               KY           40285-6192
    NET UNIVERSE INTERNATIONAL CORP                                                   230 N DIXIE HWY                      BAY 32 33                                                           HOLLYWOOD                FL           33020
    NETBANK BUSINESS FINANCE                                                          PO BOX 2597                                                                                              COLUMBIA                 SC           29202
    NETBRANDS MEDIA CORP DBA 24HOUR
    WRISTBANDSCOM                                                                     14550 BEECHNUT ST                                                                                        HOUSTON                  TX           77083
    NETCOM INFORMATION TECHNOLOGY INC                                                 350 5TH AVE                          STE 717                                                             NEW YORK                 NY           10118
    NETIQ CORPORATION                                                                 PO BOX 45297                                                                                             SAN FRANCISCO            CA           94145-0297
    NETSEC                                                                            13525 DULLES TECHNOLOGY DR                                                                               HERDON                   VA           20171-3413
    NETSPEND CORPORATION                                                              5800 AIRPORT BLVD                                                                                        AUSTIN                   TX           78752
    NETSPEND TEXAS                                                                    701 BRAZOS ST                        STE 1300                                                            AUSTIN                   TX           78701
    NETTIZENCOM                                                                       3453 FALCON DR                                                                                           NANAIMO                  BC           V9T 4G7      CANADA
    NETWORK INTELLIGENCE CORP                                                         200 LOWDER BROOK DR                  STE 2000                                                            WESTWOOD                 MA           02090
    NETWORK SOLUTIONS                                                                 PO BOX 17305                                                                                             BALTIMORE                MD           21297-0525
    NETWORK TELSYS INC                                                                STE 422 304 8TH AVE SW                                                                                   CALGARY                  AB           T2P 1C2      CANADA
    NETWRIX SYSTEMS MANAGEMENT AND
    COMPLIANCE                                                                        165 MORNINGSIDE RD                                                                                       PARAMUS                  NJ           07652
    NETWRKZ                                                                           5225 EXECUTIVE BLVD                                                                                      VIRGINIA BEACH           VA           23462
    NETWRKZ                                                                           738 WILLOW BROOK RD                                                                                      CHESAPEAKE               VA           23320
    NEUSTAR                                                                           46000 CTR OAK PLZ                                                                                        STERLING                 VA           20166
    NEUSTAR INFORMATION SERVICES INC           BANK OF AMERICA                        PO BOX 742000                                                                                            ATLANTA                  GA           30374-2000
    NEUVISION INC                                                                     PO BOX 1332                                                                                              CLEARWATER               FL           33757
    NEVADA DEPARTMENT OF TAXATION                                                     1550 E COLLEGE PKWY                  STE 115                                                             CARSON CITY              NV           89706
    NEVADA DEPARTMENT OF TAXATION                                                     PO BOX 52674                                                                                             PHOENIX                  AZ           85072-2674
    NEVADA DEPARTMENT OF TAXATION                                                     PO BOX 7165                                                                                              SAN FRANCISCO            CA           94120-7165
    NEVADA EMPLOYMENT SECURITY DIVISION        CONTRIBUTIONS SEC BOND UNIT            500 E THIRD ST                                                                                           CARSON CITY              NV           89713-0030
    NEVADA ENERGY                                                                     PO BOX 30086                                                                                             RENO                     NV           89520
    NEVADA FINANCIAL INSTITUTIONS DIVISION                                            1830 E COLLEGE PKWY                  STE 100                                                             CARSON CITY              NV           89706
    NEVADA LEGEL NEWS                                                                 930 S 4TH ST 100                                                                                         LAS VEGAS                NV           89101-6845
    NEVADA PACIFIC HOLDINGS 1 LLC                                                     490 GRAND AVE                        STE 200                                                             OAKLAND                  CA           94610
    NEVADA POWER COMPANY                                                              PO BOX 30086                                                                                             LAS VEGAS                NV           89520-3086
    NEVADA UNCLAIMED PROPERTY                                                         555 E WASHINGTON AVE                 STE 4200                                                            LAS VEGAS                NV           89101
    NEW CARROLLTON PLAZA CENTER LLP                                                   PO BOX 60250                                                                                             POTOMAE                  MD           20859
    NEW COVENANT UNITED METHODIST                                                     1710 W DOUGLAS                                                                                           WICHITA                  KS           67203
    NEW CREDIT AMERICA                                                                PO BOX 9125                                                                                              PORTLAND                 OR           97207
    NEW HAMPSHIRE DEPT OF REV ADMIN                                                   PO BOX 637                                                                                               CONCORD                  NH           03302-0637
    NEW HAMPSHIRE DEPT OF REVENUE                                                     PO BOX 1265                                                                                              CONCORD                  NH           03302-1265
    NEW HAMPSHIRE MOTOR SPEEDWAY INC                                                  PO BOX 7888                                                                                              LOUDON                   NH           03307
    NEW HAVEN REGISTER                         ATTN MAUREEN STORLAZZI                 40 SARGEANT DR                                                                                           NEW HAVEN                CT           06511
    NEW JERSEY CORPORATION TAX                 STATE OF NEW JERSEY CBT                DIV OF TAXATIONPO BOX 257                                                                                TRENTON                  NJ           08646-0257
    NEW JERSEY DEPARTMENT OF TREASURY                                                 PO BOX 252                                                                                               TRENTON                  NJ           08625
    NEW JERSEY DEPT OF THE TREASURY            DIVISION OF REVENUE CORP FILING UNIT   PO BOX 308                                                                                               TRENTON                  NJ           08646-0308
    NEW JERSEY DIVISION OF TAXATION            DIVISION OF TAXATION                   PO BOX 283                                                                                               TRENTON                  NJ           08695-0283
    NEW KINGSBRIDGE LLC                                                               270 MADISON AVE                      STE 1503                                                            NEW YORK                 NY           10016


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                         Name                                  Attention                           Address 1                                Address 2                           Address 3                   City        State       Zip          Country
    NEW LEAF FUNDING LLC                                                         104 23 128TH ST                                                                                            SOUTH RICHMOND HILL    NY           11419
    NEW LONDON SHOPPING CENTER LLC              ATTN JOAN K METZ                 174 RIDGE RD                                                                                               JUPITER                FL           33477
    NEW MEXICO DEPARTMENT OF REVENUE                                             PO BOX 25127                                                                                               SANTA FE               NM           87504-5127
    NEW MEXICO GAS COMPANY                                                       PO BOX 27885                                                                                               ALBUQUERQUE            NM           87125-7885
    NEW MEXICO OFFICE OF SUPERINTENENT OF
    INSURANCE                                                                    PO BOX 1689                                                                                                SANTE FE               NM           87504
    NEW MEXICO PUBLIC REGULATION COMMISSION                                      1120 PASEO DE PERALTA                   PO BOX 1269                                                        SANTA FE               NM           87504-1269
    NEW MEXICO TAXATION AND REVENUE
    DEPARTMENT UCP                              UNCLAIMED PROPERTY OFFICE        PO BOX 25123                                                                                               SANTA FE               NM           87504-5123
    NEW MEXICO TAXATION AND REVENUE DEPT        TAXATION AND REVENUE DEPT        PO BOX 25127                                                                                               SANTA FE               NM           87504-5127
    NEW MEXICO TAXATION AND REVENUE DEPT
    UNCLAIM                                     UNCLAIMED PROPERTY OFFICE        PO BOX 25123                                                                                               SANTA FE               NM           87504-5123
    NEW ORLEANS SCHOOL OF COOKING               ATTN SPECIAL EVENTS KRIS BRAVO   524 ST LOUIS ST                                                                                            NEW ORLEANS            LA           70130
    NEW PLAN EXCEL REALTY TRUST                                                  1183 SILAS CREEK PKWY                                                                                      WINSTON SALEM          NC           27127
    NEW PLAN EXCEL REALTY TRUST                                                  PO BOX 402938                                                                                              ATLANTA                GA           30384-2938
    NEW PLAN OF SILVER POINTE LLC                                                PO BOX 409995                                                                                              ATLANTA                GA           30384-9995
    NEW SUDBURY HOLDINGS INC                    NEW SUDBURY CENTRE               1033 BARRYDOWNE RD STE 200                                                                                 SUDBURY                ON           P3A5Z9       CANADA
    NEW THEORY CONCEPTS LLC DBA QUICKFLOW
    FUNDING                                                                      8941 ATLANTA AVE                        STE 377                                                            HUNTINGTON BEACH       CA           92646
    NEW WEST BROADCASTING                                                        1145 KILAUEA AVE                                                                                           HILA                   HI           96720
    NEW WEST HARLEM OWNER LLC                                                    95 DELANCEY ST                                                                                             NEW YORK               NY           10002
    NEW YORK DEPARTMENT OF REVENUE              STATE PROCESSING CENTER          PO BOX 15310                                                                                               ALBANY                 NY           12212-5310
    NEW YORK STATE COMPTROLLER                                                   REMITTANCE CONTROL 2ND FL               110 STATE ST                                                       ALBANY                 NY           12207
    NEW YORK STATE CONTROLLER                   OFFICE OF UNCLAIMED FUNDS        110 STATE ST 8TH FL                                                                                        ALBANY                 NY           12236
    NEW YORK STATE DEPARTMENT OF STATE          DIVISION OF CORPORATIONS         ONE COMMERCE PLZ                        99 WASHINGTON AVE                                                  ALBANY                 NY           12231
    NEW YORK STATE SALES TAX                                                     JAF BUILDING                            PO BOX 1205                                                        NEW YORK               NY           10116-1205
    NEW YORK TRIBECA GROUP LLC                                                   40 WALL ST 43D FL                                                                                          NEW YORK               NY           10005
    NEWAD INC                                                                    4200 BOUL SAINT LAURENT BUREAU 1440                                                                        MONTREAL               QC           H2W 2R2      CANADA
    NEWCAP RADIO CHARLOTTETOWN                                                   176 GREAT GEORGE ST                     STE 320                                                            CHARLOTTETOWN          PE           C1A 4K9      CANADA
    NEWCAP RADIO NEW BRUNSWICK                                                   495A PROSPECT ST                                                                                           FREDERICTION           NB           E3B 9M4      CANADA
    NEWCAP RADIO RED DEER                                                        BAG 5339                                                                                                   RED DEER               AB           T4N 6W1      CANADA
    NEWELL NORMAND SHERIFF AND EX OFFICIO TAX
    COLLECTOR                                   BUREAU OF REVENUE AND TAXATION   PROPERTY TAX DIVISION                   PO BOX 130                                                         GRETNA                 LA           70054-0130
    NEWMANWILLIAMSMISHKINCORVELEYNWOLFE
    AND FARERI                                                                   712 MONROE ST                           PO BOX 511                                                         STROUDSBURG            PA           18360
    NEWPORT NEWS CIRCUIT COURT                                                   2500 WASHINGTON AVE                                                                                        NEWPORT NEWS           VA           23607-4307
    NEWPORT NEWS GENERAL DISTRICT COURT                                          2500 WASHINGTON AVE                     2ND FL                                                             NEWPORT NEWS           VA           23607-4307
    NEWPORT NEWS WATERWORKS                                                      PO BOX 979                                                                                                 NEWPORT NEWS           VA           23607-0979
    NEWPORT NEWS WATERWORKS 979                                                  PO BOX 979                                                                                                 NEWPORT NEWS           VA           23607-0979
    NEWPORT SIGNS                                                                300 KILLALY ST W                                                                                           PORT COLBORNE          ON           L3K 6A6      CANADA
    NEWS ADVERTISER                                                              130 132 COMMERCIAL AVE                                                                                     AJAX                   ON           L1S 2H5      CANADA
    NEWS DAILY DAILY HERALD                                                      PO BOX 368                                                                                                 JONESBORO              GA           30237
    NEWS GLEANER PUBLICATIONS                                                    9999 GANTRY RD                                                                                             PHILADELPHIA           PA           19115
    NEWS JOURNAL CORPORATION                                                     DEPT 39                                 PO BOX 2831                                                        DAYTONA BEACH          FL           32120-2831
    NEWS PRESS INC                                                               8252 W EL CAJON                                                                                            BATON ROUGE            LA           22305
    NEWSDAY INC                                 ATTN NANCY REIBER                235 PINELAW RD                                                                                             MELVILLE               NY           11747
    NEWTON AND SONS REAL ESTATE                                                  170 E TULARE ST                                                                                            DINUBA                 CA           93618
    NEWTON COUNTY COLLECTOR                                                      PO BOX 296                                                                                                 NEOSHO                 MO           64850-0296
    NEWTON MFEEOMEAH U                                                           ADDRESS ON FILE
    NEWWEST ENTERPRISE PROPERTY GROUP SASK
    INC                                                                          2550 12TH AVE                           STE 300                                                            REGINA                 SK           S4P 3X1      CANADA
    NEWWEST ENTERPRISE PROPERTY GROUP SASK
    INC                                         ITF 617377 SASKATCHEWAN LTD      300 2550 12TH AVE                                                                                          REGINA                 SK           S4P 3X1      CANADA
    NEX MEXICO TAXATION AND REVENUE DEPT                                         PO BOX 25127                                                                                               SANTA FE               NM           87504-5127
    NEXT BIG FRANCHISE                                                           155 FLEET ST                                                                                               PORTSMOUTH             NH           03801
    NEXT FINANCIAL HOLDINGS                                                      200 GOLDEN OAK CT STE 110                                                                                  VIRGINIA BEACH         VA           23452
    NEXT JUMP INC                               ATTN ACCTS RECEIVABE             261 FIFTH SVE 8TH FL                                                                                       NEW YORK               NY           10016
    NEXT LEVEL BUSINESS STRATEGIES INC                                           15375 BARRANCA PKWY                     STE G103                                                           IRVINE                 CA           92618
    NEXT LEVEL EVENTS LLC                                                        532 E ANAMOSA ST                                                                                           RAPID CITY             SD           57703
    NEXT MEDIA WRNS                                                              PO BOX 643582                                                                                              CINCINNATI             OH           45264-3582
    NEXTIRAONE BUSINESS COMMUNICATIONS LLC                                       PO BOX 5722                                                                                                HARTFORD               CT           06102-5722
    NEXTMEDIA OUTDOOR INC                                                        PO BOX 6436699                                                                                             CINCINNATI             OH           45264
    NEXTPOINT INVESTORS LLC                                                      500 GRAPEVINE HWY STE 402                                                                                  HURST                  TX           76054-2785
    NEXUS ALLIANCE GROUP INC                                                     12101 VIA HACIENDA                                                                                         EL CAJON               CA           92019
    NEXUS PRIME INC                                                              2001 E 4TH ST                           STE 207                                                            SANTA ANA              CA           92705
    NGOCLONG TRAN                                                                ADDRESS ON FILE
    NHCLC                                                                        10113 CLOVER RANCH RD                                                                                      SACRAMENTO             CA           95829
    NIAGARA FUN TOURS                                                            14 BROOKFIELD CRT                                                                                          FONTHILL               ON           L0S 1E4      CANADA
    NIAGARA HOME HEATING                                                         7186 GARNER RD                                                                                             NIAGARA FALLS          ON           L2H 0X7      CANADA
    NIAGARA PENINSULA ENERGY INC                                                 7447 PIN OAK DR BOX 120                                                                                    NIAGARA FALLS          ON           L2E 6S9      CANADA
    NICHOLAS CARRERA                                                             ADDRESS ON FILE
    NICHOLAS HAMILTON ARCHER                                                     ADDRESS ON FILE
    NICK OF TIME IRRIGATION                                                      1756 MILL WOOD WAY                                                                                         SUFFOLK                VA           23434
    NICKEL ELECTRIC LTD                                                          701 4TH ST                                                                                                 BRANDON                MANITOBA     R7A 3H6      CANADA
    NICOLE KUJAWA                                                                ADDRESS ON FILE
    NICOLE OSSENFORT DO NOT USE                                                  ADDRESS ON FILE
    NICOM TECHNOLOGIES INC                                                       6477 RIDINGS RD                                                                                            SYRACUSE               NY           13206
    NICOR GAS                                                                    PO BOX 416                                                                                                 AURORA                 IL           60568-0001
    NICOR GAS 5407                                                               PO BOX 5407                                                                                                CAROL STREAM                        60197-5407
    NIELSEN BUSINESS MEDIA                                                       PO BOX 15698                                                                                               N HOLLYWOOD            CA           91615
    NIELSEN MEDIA RESEARCH                                                       NSI DEPARTMENT                          299 PARK AVE                                                       NEW YORK               NY           10171
    NIETZ AND GREEN LLC                                                          1045 M MAIN 7B                                                                                             BOWLING GREEN          OH           43402
    NIETZ AND GREEN LLC                                                          1045 N MAIN ST                          STE 7B                                     C O MECCA MANAGEMENT    BOWLING GREEN          OH           43402
    NIFTY NICKEL                                                                 900 S MAIN ST                           PO BOX 1600                                                        LAS VEGAS              NV           89125
    NIGHT MOVES OF DENVER PRIVATE
    INVESTIGATIONS                                                               PO BOX 1135                                                                                                WHEATRIDGE             CO           80034-1135
    NIGHTHAWK INVESTIGATIONS                                                     PO BOX 852968                                                                                              MESQUITE               TX           75185-2968
    NIGHTSTAR CAPITAL INC                                                        4000 N FEDERAL HWY                      STE 202                                                            BOCA RATON             FL           33431
    NIKIFOROS AND GEORGIA VALASKANTJIS                                           ADDRESS ON FILE


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                                                                                                                                   Served via First-Class Mail




                        Name                                  Attention                              Address 1                                  Address 2                           Address 3                     City         State       Zip          Country
    NIKKI MONTGOMERY                                                                 ADDRESS ON FILE
    NIKOLAS EZENNAYA AJAGU                                                           ADDRESS ON FILE
    NILE OLSON                                                                       ADDRESS ON FILE
    NIMON SIGNS                                                                      ADDRESS ON FILE
    NINA CASTELLO                                                                    ADDRESS ON FILE
    NITE 2 LITE COMMERCIAL CLEANING SERVICES                                         1330 TROWBRIDGE DR                      UNIT 48                                                            OSHAWA                   ON            L1G 7L1      CANADA
    NITE MOVES PUBLICATIONS LTD                                                      206 615 8TH ST                                                                                             NEW WESTMINSTER          B.C           V3M 3S3      CANADA
    NIXON PEABODY LLP                                                                100 SUMMER ST                                                                                              BOSTON                   MA            02110-2131
    NJ LAWYERS SERVICE                         ATTN MARCO                            2333 US HWY 22 W                                                                                           UNION                    NJ            07083
    NJC CONSULTING LLC                         DBA BEST SELLER PUBLISHING            1346 WALNUT ST                          205                                                                PASADENA                 CA            91106
    NJEWEL JAY                                                                       ADDRESS ON FILE
    NM TAXATION AND REVENUE DEPARTMENT                                               PO BOX 2527                                                                                                SANTA FE                 NM            87504-2527
    NMSP ITF ARTIS VICTORIA SQUARE LTD         ADMINISTRATION OFFICE                 2223 VICTORIA AVE E                                                                                        REGINA                   SK            S4P 1T7      CANADA
    NO DISTRACTIONS LLC DBA MERCHANT LENDING
    SOLUTIONS                                                                        2170 JOSHUAS PATH                                                                                          MAUPPAUGE                NY            11788
    NO SKY STUDIOS                                                                   1397 LASKIN RD                          STE 200                                                            VIRGINIA BEACH           VA            23451
    NOAM CORPORATION                                                                 ADDRESS ON FILE
    NOBLE LOCKSMITH LTD                                                              249 NOTRE DAME AVE                                                                                         WINNIPEG                 MB            R3B 1N8      CANADA
    NOBLE MANAGEMENT COMPANY                                                         4280 PROFESSIONAL CTR DR                STE 100                                                            PALM BEACH GARDENS       FL            33410
    NOBLE PACIFIC                              ADVERTISING SEA TO SEA INC            19916 OLD OWEN RD PMB 229                                                                                  MONROE                   WA            98272

    NOBLE ROAD PRESBYTERIAN CHURCH             DBA DOUGBE RIVER PRESBYTERIAN SCHOOL 2780 NOBLE RD                                                                                               CLEVELAND HEIGHTS        OH            44121
    NOCO PROPERTIES LLC                                                             2101 ST RITAS LN                                                                                            WILLIAMSVILLE            NY            14221
    NODUS TECHNOLOGIES INC                                                          2099 S STATE SOLLEGE BLVD                STE 250                                                            ANAHEIM                  CA            92806
    NOE MARTINEZ                                                                    ADDRESS ON FILE
    NOLACAPITAL GROUP LLC                                                           1086 BARNSIDE RD                                                                                            ALLENTOWN                PA            18103
    NOLTE RICHARD                                                                   ADDRESS ON FILE
    NOR DON COLLECTION NETWORK INC                                                  1409 EDMONTON TRAIL NE                   STE 202                                                            CALGARY                  AB            T2E 3K8      CANADA
    NOREEN SCHUSTER                                                                 ADDRESS ON FILE
    NORFOLK ADMIRALS                                                                NORFOLK SCOPE                            201 E BRAMBLETON AVE                                               NORFOLK                  VA            23510
    NORFOLK AND PORTSMOUTH BAR ASSOCIATION                                          DOMINION TOWER STE 1330                  999 WATERSIDE DR                                                   NORFOLK                  VA            23510
    NORFOLK CIRCUIT COURT                                                           ADDRESS ON FILE
    NORFOLK ELECTRIC MOTOR SERVICE                                                  3126 E PRINCESS ANNE RD                                                                                     NORFOLK                  VA            23504
    NORFOLK FESTEVENTS LTD                                                          120 W MAIN ST                                                                                               NORFOLK                  VA            23510
    NORFOLK FIRE MARSHALS OFFICE                                                    100 BROOKE AVE STE 400                                                                                      NORFOLK                  VA            23510
    NORFOLK FLORIST AND GIFTS                  BILLING DEPARTMENT                   1220 BAKER RD                                                                                               VIRGINIA BEACH           VA            23455-3658
    NORFOLK LAW LIBRARY                                                             999 WATERSIDE DR                         STE 1300                                                           NORFOLK                  VA            23510
    NORFOLK PARADE INC                                                              211 W GOVERNMENT AVE                                                                                        NORFOLK                  VA            23503
    NORFOLK SECURITY VAULT CORP                DBA THE VAULT                        1209 W 26TH ST                                                                                              NORFOLK                  VA            23508
    NORFOLK STATE UNIVERSITY                                                        700 PARK AVE                                                                                                NORFOLK                  VA            23504
    NORFOLK STATE UNIVERSITY CAREER FAIR                                            700 PARK AVE                             MILLS E GODWIN STUDENT CTR STE 306                                 NORFOLK                  VA            23504
    NORFOLK STATE UNIVERSITY CONTINUING
    EDUCATION                                                                        VA BEACH HIGHER EDUCATION CTR           1881 UNIVERSITY DR                                                 VIRGINIA BEACH           VA            23453
    NORFOLK TIDES BASEBALL CLUB                                                      150 PARK AVE                                                                                               NORFOLK                  VA            23510
    NORFOLK WIRE AND ELECTRONICS                                                     5361 CLEVELAND ST                                                                                          VIRGINIA BEACH           VA            23462
    NORRIS GHOLSTON                                                                  ADDRESS ON FILE
    NORTH AMERICAN CO FOR L AND H                                                    PO BOX 5088                                                                                                SIOUX FALLS              SD            57117-5088
    NORTH AMERICAN INVESTIGATIONS                                                    PO BOX 271322                                                                                              TAMPA                    FL            33688-1322

    NORTH AMERICAN RECEIVABLE MGMT SERVICES                                          350R 1200 PAPINEAU AVE                                                                                     MONTREAL                 QC            H2K 4R5      CANADA

    NORTH AMERICAN SAND SOCCER CHAMPIONSHIP                                          ADDRESS ON FILE
    NORTH AMERICAN VIDEO CORPORATION DBA
    NAVCO                                                                            1335 S ACACIA AVE                                                                                          FULLERTON                CA            92831
    NORTH CAROLINA CHAMBER OF COMMERCE                                               ADDRESS ON FILE
    NORTH CAROLINA DEPARTMENT OF REVENUE                                             PO BOX 25000                                                                                               RALEIGH                  NC            27640-0520
    NORTH CAROLINA DEPT OF REV                                                       ADDRESS ON FILE
    NORTH CAROLINA DEPT OF REVENUE                                                   ADDRESS ON FILE
    NORTH CAROLINA DEPTOF STATE TREASURER      UNCLAIMED PROPERTY PROGRAM            3200 ATLANTIC AVE                                                                                          RALEIGH                  NC            27604-1668
    NORTH CAROLINA INVESTIGATIVE SERVICES      C O RANDY MILLER                      PO BOX 99553                                                                                               RALEIGH                  NC            27624
    NORTH CAROLINA STATE UNIVERSITY            OFFICE OF PROFESSIONAL DEVELOP        BOX 7401 MCKIMMON CTR                                                                                      RALEIGH                  NC            27695-7401
    NORTH CHARLESTON JOINT VENTURE                                                   ADDRESS ON FILE
    NORTH COAST ELECTRIC INC                                                         MAIL BOX 945                            OFFICE SHOP 3 5002 POHLE                                           TERRACE                  BC            V8G 1K5      CANADA
    NORTH CORNERS CENTER                                                             ADDRESS ON FILE
    NORTH DAKOTA OFFICE OF STATE TAX
    COMMISSIONER                               OFFICE OF STATE TAX COMMISSION        600 E BLVD AVE DEPT 127                                                                                    BISMARK                  ND            58505-0553
    NORTH DAKOTA SECRETARY OF STATE                                                  919 S 7TH ST                            SUTE 503                                                           BISMARCK                 ND            58504-5835
    NORTH DAKOTA SECURITIES DEPARTMENT                                               600 E BLVD FIFTH FL                                                                                        BISMARCK                 ND            58505-0510
    NORTH DAKOTA STATE TAX COMMISSIONER        OFFICE OF STATE TAX COMMISSIONER      600 E BLVD AVE                          DEPARTMENT 127                                                     BISMARCK                 ND            58505-0599
    NORTH DAKOTA WORKFORCE SAFETY AND
    INSURANCE                                                                        ADDRESS ON FILE
    NORTH FOREST PROPERTIES 3 LLC                                                    PO BOX 3107                                                                                                BUFFALO                  NY            14240-3107
    NORTH GEORGIA EMC                                                                ADDRESS ON FILE
    NORTH HILLS SCHOOL DISTRIC                                                       ADDRESS ON FILE
    NORTH LIMESTONE LLC                                                              343 WALLER AVE STE 100                                                                                     LEXINGTON                KY            40504
    NORTH MALL ASSOCIATES                                                            33 ROCK HILL RD STE 350                 C O POMEGRANATE RE                                                 BALA CYNWYD              PA            19004
    NORTH RIM PROPERTIES                                                             819 SE MORRISON                                                                                            PORTLAND                 OR            97214
    NORTH SAILS HAMPTON                                                              ADDRESS ON FILE
    NORTH SHORE CAPITAL LLC                                                          1550 S CLOVERDALE RD                    STE 203                                                            BOISE                    ID            83709
    NORTH TEXAS FOOD BANK                                                            ADDRESS ON FILE
    NORTH TEXAS ROVER                                                                ADDRESS ON FILE
    NORTHAMERICAN VAN LINES CANADA                                                   PO BOX 639                              STATION MAIN                                                       EDMONTON                 AB            T5J 2L3      CANADA
    NORTHAMPTON COUNTY GENERAL DISTRICT
    COURT                                                                            5229 THE HORNES                                                                                            EASTVILLE                VA            23347
    NORTHAMPTON COUNTY TREASURER                                                     PO BOX 598                                                                                                 EASTVILLE                VA            23347-0598
    NORTHEAST HOLDING ASSOCIATION LLC                                                223 HARBOR DR                           APT 211                                                            STAMFORD                 CT            06902
    NORTHEAST WEEKLY LTD                                                             9211A 100TH AVE                                                                                            FORT ST JOHN             BC            V1J 1X6      CANADA
    NORTHERN ATHLETIC WEAR AND ADVERTISING                                           107 9856 97 AVE                                                                                            GRANDE PRAIRIE           AB            T8V 7K2      CANADA
    NORTHERN BUSINESS SOLUTIONS                                                      1180 CASSELLS ST                                                                                           NORTH BAY                ON            P1B 4B6      CANADA


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                        Name                                 Attention                                Address 1                             Address 2                           Address 3                    City         State       Zip          Country
    NORTHERN CLEANING CONTRACTORS LTD                                               584 FALCONBRIDGE HWY                                                                                    SUDBURY                 ONTARIO       P3A 4S4      CANADA
    NORTHERN ELECTRIC                                                               4150 VERSATILE PL                                                                                       PRINCE GEORGE           BC            V2N 4K9      CANADA
    NORTHERN LEASING SYSTEMS INC                                                    132 W 31ST ST                         14TH FL                                                           NEW YORK                NY            10001-3405
    NORTHERN LIFE                                                                   158 ELGIN ST                                                                                            SUDBURY                 ON            P3E 3N5      CANADA
    NORTHERN PLAINS RADIO NETWORK                                                   PO BOX 2048                                                                                             WILLISTON               ND            58802
    NORTHERN ROCKIES REG MUNICIPALITY                                               BAG SERVICE 399                                                                                         FORT NELSON             BC            V0C 1R0      CANADA
    NORTHERN SECURITY                                                               721 HOWEY DR                                                                                            SUDBURY                 ON            P3B 1G9      CANADA
    NORTHERN SECURITY                         ATTN ACCOUNTS RECEIVABLE              41 LORNE ST                                                                                             SUDBURY                 ON            P3C 4P1      CANADA
    NORTHERN TOOL AND EQUIPMENT                                                     2800 SOUTHCROSS DR W                                                                                    BURNSVILLE              MN            55306
    NORTHERN UNIFORM SERVICE                                                        2230 ALGONQUIN RD                                                                                       SUDBURY                 ON            P3E 4Z6      CANADA
    NORTHERN VISION DEVELOPMENT LIMITED                                             209 212 MAIN ST                                                                                         WHITEHORSE              YT            Y1A 2B1      CANADA
    NORTHERNLIGHTS IMPROVEMENT LLC            C O DLC MANAGEMENT CORP               580 WHITE PLAINS RD                                                                                     TARRYTOWN               NY            10591
    NORTHGATE ASSOCIATES LIMITED                                                    PO BOX 2476                                                                                             DURHAM                  NC            27715-2476
    NORTHGATE DEVELOPMENTS INC                                                      401 1600 1ST ST E                                                                                       PRINCE ALBERT           SK            S6V 1G7      CANADA
    NORTHGATE MALL LLC                                                              271 NORTHGATE MALL                                                                                      CHATTANOOGA             TN            37415
    NORTHGATE MALL PARTNERSHIP                                                      401 NE NORTHGATE WAY                  STE 210                                                           SEATTLE                 WA            98125
    NORTHGATE MARKETING FUND                                                        PO BOX 2476                                                                                             DURHAM                  NC            27715-2476
    NORTHGATE OLYMPIC PROPERTIES                                                    10701 8TH AVE NE                                                                                        SEATTLE                 WA            98125
    NORTHLAKE INVESTIGATIONS                                                        11120 MOUNT PL                                                                                          CROWN POINT             IN            46307
    NORTHLAND JOINT VENTURE                                                         ADDRESS ON FILE
    NORTHMONT AREA CHAMBER                                                          ADDRESS ON FILE
    NORTHVILLE GREEN ASSOCIATES LLC                                                 115 S MAIN ST                         STE 200                                                           ROYAL OAK               MI            48067
    NORTHWALL ENTERPRISES                                                           ADDRESS ON FILE
    NORTHWEST NEWS GROUP                                                            7717 S ROUTE 31                                                                                         CRYSTAL LAKE            IL            60014
    NORTHWEST TENNESSEE REALTY LLC                                                  313 S THIRD ST                                                                                          UNION CITY              TN            38261
    NORTHWESTEL INC                                                                 PO BOX 2710                                                                                             WHITEHORSE              YT            Y1A 4Z8      CANADA
    NOSSON DREBIN DBA WOLF BUSINESS SOLUTIONS
    INC                                                                             7351 PARK DR E                                                                                          FLUSHING                NY            11367
    NOTARY CLERK OFFICE OF THE SECRETARY                                            PO BOX 1795                                                                                             RICHMOND                VA            23218-1975
    NOVAMEX                                                                         ADDRESS ON FILE
    NOVEDADES TV PUBLISHING LLC                                                     4601 BAKER CT NW                                                                                        ALBUQUERQUE             NM            87114
    NOW NEWSPAPERS                                                                  201A 3430 BRIGHTON AVE                                                                                  BURNABY                 BC            V5A 3H4      CANADA
    NPBA                                                                            ADDRESS ON FILE
    NRAI INC                                                                        PO BOX 4349                                                                                             CAROL STREAM            IL            60197-4349
    NRG INVESTMENTS INC                       MICHAEL ROACH                         1413 COMPTON ST                                                                                         BRANDON                 FL            335511
    NSD NEWCO INC                             DBA NATION MOTOR CLUB LLC             800 W YAMATO RD STE 100                                                                                 BOCA RATON              FL            33431
    NTERSOL                                                                         ADDRESS ON FILE
    NU CAPITAL FUNDING LLC                                                          721 BILLINGS AVE                                                                                        PAULSBORO               NJ            08066
    NUMERACLE INC                                                                   PO BOX 541348                                                                                           WALTHAM                 MA            02454
    NV ENERGY 30150                                                                 PO BOX 30150                                                                                            RENO                    NV            89520-3150
    NVENERGY                                                                        PO BOX 30086                                                                                            RENO                    NV            89520
    NW NATURAL                                                                      ADDRESS ON FILE
    NY STATE DEPT OF TAXATION AND FINANCE     BUSINESS CORPORATION TAX              PO BOX 5564                                                                                             BINGHAMTON              NY            13902-5564
    NYE COMMERCIAL ADVISORS INC                                                     4875 BRUCE B DOWNS BLVD                                                                                 WESLEY CHAPEL           FL            33544
    NYS CORPORATION TAX                                                             PROCESSING UNIT                       PO BOX 1909                                                       ALBANY                  NY            12201-1909
    NYS CORPORATION TAX                       NYS ESTIMATED CORPORATION TAX         PO BOX 4136                                                                                             BINGHAMTON              NY            13902-4136
    NYS UNEMPLOYMENT INSURANCE                                                      ADDRESS ON FILE
    NYSEG                                                                           ADDRESS ON FILE
    NZR RETAIL OF TOLEDO INC                                                        4142 MONROE ST                                                                                          TOLEDO                  OH            43606
    OAK PARK APARTMENTS PARTNERSHIP LLC       C O INLAND COMPANIES                  833 E MICHIGAN ST STE 500                                                                               MILWAUKEE               WI            53202
    OAK PARK CENTER LLC                                                             13817 BRIARLAKE AVE                                                                                     BATON ROUGE             LA            70809
    OAKBRIDGE FUNDING LLC                                                           60 OAK DR                                                                                               SYOSSET                 NY            11791
    OAKSHAW LLC                                                                     753 CHESTNUT RIDGE RD                                                                                   MORGANTOWN              WV            26565
    OAKWOOD FINANCIAL SERVICES LLC                                                  2795 BUCKINGHAM                                                                                         BIRMINGHAM              MI            48009
    OASIS FUNDING NETWORK LLC                                                       4723 W ATLANTIC AVE                   STE 3                                                             DELRAY BEACH            FL            33445
    OATH AMERICAS INC                                                               PO BOX 89 4147                                                                                          LOS ANGELES             CA            90189-4147
    OBENSHAIN FOR ATTORNEY GENERAL                                                  ADDRESS ON FILE
    OBION COUNTY TRUSTEE                                                            PO BOX 147                                                                                              UNION CITY              TN            38281
    OBJECT CLOUDS TECHNOLOGY SOLUTIONS INC                                          2196 BIERCE DR                                                                                          VIRGINIA BEACH          VA            23454
    OBJECT FRONTIER SOFTWARE                                                        ADDRESS ON FILE
    OBJECTIF LUNE INC                                                               2030 BLVD PIE IX STE 500                                                                                MONTREAL                QC            H1V 2C8      CANADA
    OBRIEN ADVERTISING                                                              ADDRESS ON FILE
    OBRIEN ET AL ADVERTISING INC                                                    3113 PACIFIC AVE                                                                                        VIRGINIA BEACH          VA            23451
    OBROS LLC                                                                       3885 ELMORE AVE STE 100                                                                                 DAVENPORT               IA            52807
    OCCUPATIONAL HEALTH CENTERS OF CALIFORNIA
    A MEDICAL CORP                                                                  PO BOX 3700                                                                                             RANCHO CUCAMONGA        CA            91729-3700
    OCCUPATIONAL TAX ADMINISTRATOR                                                  PO BOX 10008                                                                                            OWENSBORO               KY            42302-9008
    OCEAN BLUE FACILITY SOLUTIONS                                                   PO BOX 5088                                                                                             VIRGINIA BEACH          VA            23471
    OCEAN BREEZE WATERPARK                                                          849 GENERAL BOOTH BLVD                                                                                  VIRGINIA BEACH          VA            23451
    OCO OPPORTUNITIES MASTER FUND LP                                                767 THIRD AVE 29TH FL                                                                                   NEW YORK                NY            10017
    ODELL JAMES H                                                                   ADDRESS ON FILE
    ODU OFFICE OF THE UNIVERSITY REGISTRAR                                          116 ROLLINS HALL                                                                                        NORFOLK                 VA            23529
    OFFICE DEPOT                                                                    ADDRESS ON FILE
    OFFICE DEPOT INC                                                                PO BOX 1413                                                                                             CHARLOTTE               NC            28201-1413
    OFFICE DESIGN                                                                   ADDRESS ON FILE
    OFFICE FURNITURE OUTLET                                                         ADDRESS ON FILE
                                              DBA ACCURATE INSTALLATIONS AND MOVING
    OFFICE FURNITURE OUTLET INC               SERVICES                              DBA ELECTROKOTE DBA THE DESK DOCTOR   5595 RABY RD BLDG 3                                               NORFOLK                 VA            23502
    OFFICE MAX IMPRESS                                                              4725 VIRGINIA BEACH BLVD                                                                                VIRGINIA BEACH          VA            23462
    OFFICE OF ATTORNEY GENERAL                                                      ADDRESS ON FILE
    OFFICE OF ATTORNEY GENERAL MD                                                   ADDRESS ON FILE
    OFFICE OF COMPLIANCE                                                            ADDRESS ON FILE

    OFFICE OF SECRETARY OF STATE RHODE ISLAND                                      148 W RIVER ST                                                                                           PROVIDENCE              RI            02904-2615
    OFFICE OF THE ATTORNEY GENERAL                                                 TX CHILD SUPPORT SDU                   PO BOX 659791                                                     SAN ANTONIO             TX            78265-9791
                                                SOUTH DAKOTA STATE TREASURER
    OFFICE OF THE STATE TREASURER SD            UNCLAIMED PROPERTY DIVISION        500 E CAPITAL AVE STE 212                                                                                PIERRE                  SA            57501
    OFFICE PRODUCTS AND SERVICES                                                   257 SHERWOOD CRT                                                                                         OSHAWA                  ON            L1G 6PS      CANADA
    OFFICE PRODUCTS INC                                                            4011 S MAIN ST                                                                                           HARRISONBURG            VA            22801


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                      Name                                     Attention                     Address 1                                 Address 2                           Address 3                    City          State       Zip          Country
    OFFICEMAX NATL ACCT                                                       ADDRESS ON FILE

    OFFICEMAX PUBLIC SITE DONT USE FOR INHOUSE                                ADDRESS ON FILE
    OFFICES ON MAIN LLP                                                       2022 N FERRY ST                       STE 2206                                                           ANOKA                   MN             55303
    OFFICETEAM                                                                ADDRESS ON FILE
    OFFICIAL FRANCHISES LLC                                                   382 NE 191ST ST                       STE 15368                                                          MIAMI                   FL             33179
    OFFPREM TECHNOLO LLC                                                      4342 WHITETAIL WOODS DR                                                                                  BARGERSVILLE            IN             46106
    OFICINA L DE CAROLINA                                                     ADDRESS ON FILE
    OG AND E                                                                  ADDRESS ON FILE
    OG AND E                                                                  ADDRESS ON FILE
    OGDEN CONNIE                                                              ADDRESS ON FILE
    OGDEN NEWELL AND WELCH                                                    ADDRESS ON FILE
    OGDEN SAM                                                                 ADDRESS ON FILE
    OGINO LLC                                                                 1390 WILLOW PASS RD STE 220           C O GALLAGHER AND MIERSCH INC                                      CONCORD                 CA             94520
    OGINO LLC DBA VALLEJO PLAZA CENTER                                        1390 WILLOW PASS RD                   STE220                                                             CONCORD                 CA             94520
    OHANA HANA INC                                                            14032 COLLEGE ST                                                                                         WESTMINSTER             CA             92683
    OHIO BUREAU OF EMPLOYMENT SRV                                             ADDRESS ON FILE
    OHIO BUREAU OF WORKERS COMPENSATION                                       ADDRESS ON FILE
    OHIO CONSUMERS USE TAX RETURN                                             PO BOX 16561                                                                                             COLUMBUS                OH             43266-0061
    OHIO DENTAL ASSOCIATION DAYTON SOCIETY                                    436 PATTERSON RD                                                                                         DAYTON                  OH             45419
    OHIO DEPARTMENT OF COMMERCE DIVISION OF
    UNCLAIMED FUNDS                            DIVISION OF UNCLAIMED FUNDS    77 S HIGH ST 20TH FL                                                                                     COLUMBUS                OH             43215-6108
    OHIO DEPARTMENT OF COMMERCE UNCLAIMED
    PROP                                       DIVISION OF UNCLAIMED FUNDS    77 S HIGH ST 20TH FL                                                                                     COLUMBUS                OH             43215-6108

    OHIO DEPARTMENT OF TAXATION CAT PAYMENTS                                  PO BOX 2678                                                                                              COLUMBUS                OH             43216-2678
    OHIO DEPARTMENT OF TAXATION LICENSES                                      PO BOX 182215                                                                                            COLUMBUS                OH             43218-2215
    OHIO EDISON 3687                                                          ADDRESS ON FILE
    OHIO JOB AND FAMILY SERVICES                                              145 S FRONT ST                        PO BOX 923                                                         COLUMBUS                OH             43213
    OHIO SECRETARY OF STATE                                                   145 BAKER ST                                                                                             MARION                  OH             43301-6293
    OHIO STATE LANTERN                                                        211 JOURNALISM BLDG                   242 W 18TH AVE                                                     COLUMBUS                OH             43210-1107
    OK AND D MARKETING GROUP                                                  3375 N SERVICE RD                     STE A12 15                                                         BURLINGTON              ON             L7N 3G2      CANADA
    OKANAGAN COMPUTER PRODUCTS RECYCLING
    INC                                                                       923 ELLIS ST                                                                                             KELOWNA                 BC             V1Y 1Y9      CANADA
    OKLAHOMA COUNTY TREASURER                                                 PO BOX 268875                                                                                            OKLAHOMA CITY           OK             73126-8875

    OKLAHOMA DEPARTMENT OF CONSUMER CREDIT                                    629 NE 28TH ST                                                                                           OKLAHOMA CITY           OK             73105
    OKLAHOMA DEPARTMENT OF HUMAN SERVICES                                     PO BOX 268809                                                                                            OKLAHOMA CITY           OK             73126-8809
    OKLAHOMA NATURAL GAS                                                      ADDRESS ON FILE
    OKLAHOMA SECRETARY OF STATE                                               2300 N LINCOLN BLVD                   RM 101                                                             OKLAHOMA CITY           OK             73105-4897
    OKLAHOMA STATE TREASURER UNCLAIMED
    PROPERTY DIVISION                           UNCLAIMED PROPERTY DIVISION   9520 N MAY AVE LOWER LEVEL                                                                               OKLAHOMA CITY           OK             73120
    OKLAHOMA TAX COMMISSION                                                   PO BOX 26890                                                                                             OKLAHOMA CITY           OK             73126
    OKLAHOMA TAX COMMISSION                     FRANCHISE TAX                 PO BOX 26920                                                                                             OKLAHOMA CITY           OK             73126-0920
                                                SL NUSBAUM REALTY CO SHARON
    OLD BRANDON FIRST COLONIAL ASSOCIATES LLC   SWANBERG                      PO BOX 3580                                                                                              NORFOLK                 VA             23514
    OLD DOMINION RECOVERY                                                     ADDRESS ON FILE

    OLD DOMINION TREE AND LAWN CARE SPECIALIST                                ADDRESS ON FILE
    OLD DOMINION UNIVERSITY                                                   ADDRESS ON FILE
    OLD DOMINION UNIVERSITY                                                   ADDRESS ON FILE
    OLD DOMINION UNIVERSITY                                                   ADDRESS ON FILE
    OLD DOMINION UNIVERSITY                                                   ADDRESS ON FILE
    OLD DOMINION UNIVERSITY CAREER
    MANAGEMENT CENTER                                                         2202 WEBB CTR                                                                                            NORFOLK                 VA             23529
    OLD DOMINION UNIVERSITY DINING SERVICES                                   1200 WEBB CTR                         DINING SERVICES                                                    NORFOLK                 VA             23529
    OLD DOMINION UNIVERSITY FINANC                                            ADDRESS ON FILE
    OLD DOMINION UNIVERSITY RESEARCH
    FOUNDATION                                                                PO BOX 6369                                                                                              NORFOLK                 VA             23508
    OLD NATIONAL LP                                                           4311 W LOVERS LN STE 100                                                                                 DALLAS                  TX             75209
    OLD TOWNE RETAIL INVESTMENTS LLC           C O CBRE                       PO BOX 13470                                                                                             RICHMOND                VA             23225
    OLEANA PROPER                                                             ADDRESS ON FILE
    OLIVE JOY LASSELL DBA ARRIVATO LLC                                        501 E 102ND AVE                       STE D203                                                           THORNTON                CO             80229
    OLIVER AND WINKLE PC                                                      ADDRESS ON FILE
    OLLO CARD SERVICES                                                        PO BOX 660371                                                                                            DALLAS                  TX             75266
    OLSON ELECTRIC LTD                                                        BOX 2271                                                                                                 SECHELT                 BC             V0N 3A0      CANADA
    OLSON FRED                                                                ADDRESS ON FILE
    OM INTERNATIONAL CORPORATION                                              DR ARUN BAKER C O MOTEL 6             1155 S INTERSTATE 10                                               BEAUMONT                TX             77701
    OMAHA LANCERS HOCKEY CLUB                                                 ADDRESS ON FILE
    OMAHA WORLD HERALD                                                        ADDRESS ON FILE
    OMAR SMOKE ON THE BEACH                                                   176 PATRIOTS POINT RD                                                                                    MOUNT PLEASANT          SC             29464
    OMEGA CAPITAL PARTNERS LP                                                 500 GRAPEVINE HWY STE 402                                                                                HURST                   TX             76054-2785
    OMEGA FUNDING                                                             ADDRESS ON FILE

    OMNINET PROPERTIES MANCHESTER CENTER LLC                                  9420 WILSHIRE BLVD STE 400                                                                               BEVERLY HILLS           CA             90212
    OMNIPRINT                                                                 9700 PHILADELPHIA CT                                                                                     LANHAM                  MD             20797-0613
    OMNITURE INC                                                              DEPT CH 17426                                                                                            PALATINE                IL             60055-7426
    OMS EAST LLC                             C O THE WINBURY GROUP            4520 MAIN ST STE 1000                                                                                    KANSAS CITY             MO             64111
    ON BOARD ADVERTISING INC                                                  364 LIVINGSTONE ST W                                                                                     BARRIE                  ON             L4N 7K7      CANADA
    ON BOARD ADVERTISING INC                                                  364 LIVINGSTONE ST W                                                                                     BARRIE                  ONT.           L4N 7K7      CANADA
    ON THE GO MAGAZINE                                                        2040 MOUNT DR                                                                                            OAKVILLE                ON             L6H 5T3      CANADA
    ONE ACCORD REALTY CORP                                                    922 E 233RD ST                                                                                           BRONX                   NY             10466
    ONE MAIN FINANCIAL                                                        ADDRESS ON FILE
    ONE MAIN FINANCIAL GROUP LLC                                              9139 E STOCKTON BLVD                  STE 1                                                              ELK GROVE               CA             95264
    ONE MAN WITH A PAINTBRUSH                                                 ADDRESS ON FILE
    ONE O ONE DELIVERY SYSTEMS                                                4160 BROWNING RD                                                                                         SECHELT                 BC             V0N 3A1      CANADA
    ONE SOURCE FINANCING LLC                                                  149 W 36TH ST                         12TH FL                                                            NEW YORK CITY           NY             10018
    ONE SOURCE FUNDING LLC                                                    149 W 36TH ST                         12TH FL                                                            NEW YORK CITY           NY             10018
    ONE STOP FUNDING LLC                                                      3330 CUMBERLAND BLVD                  STE 500                                                            ATLANTA                 GA             30339


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                       Name                                Attention                   Address 1                                Address 2                           Address 3                        City          State       Zip          Country
    ONE STOP FUNDING SOLUTIONS LLC                                     3330 CUMBERLAND BLVD                  STE 500                                                               ATLANTA                  GA             30339
    ONE WAVERLY LLC                                                    44 E 8TH ST                           STE 510                                                               HOLLAND                  MI             49423
    ONE WAY FUNDING                                                    ADDRESS ON FILE
    ONEAL WILLIAM                                                      ADDRESS ON FILE
    ONECARD MARKETING INC DBA REVTRAX                                  276 FIFTH AVE STE 608                                                                                       NEW YORK                 NY             10001
    ONEILL AND BORGES LLC                                              250 MUNOZ RIVERA AVE                  STE 800                                                               SAN JUAN                 PR             00918-1813
    ONESOURCE FINANCIAL NETWORK                                        611 GRASSMERE AVE                                                                                           INTERLAKE                NJ             07712
    ONETONE TELECOM INC                                                100 CENTURY PLZ DR STE 9 I                                                                                  SENECA                   SC             29678
    ONLINE DATA EXCHANGE LLC DBA E OSCAR                               DEPT 224501                           PO BOX 55000                                                          DETROIT                  MI             48255-2245
    ONPOINT BUSINESS SOLUTIONS                                         3104 SITIO ISADORA                                                                                          CARLSBAD                 CA             92009
    ONPOINT SOLUTIONS LLC                                              360 RXR PLZ                                                                                                 UNIONDALE                NY             11556
    ONSET CAPITAL CORPORATION                                          STE 300 PARK PL                       666 BURRARD ST                                                        VANCOUVER                BC             V6C 2X8      CANADA
    ONSLOW COUNTY TAX COLLECTOR                                        234 NW CORRIDOR BLVD                                                                                        JACKSONVILLE             NC             28540-5309

    ONTARIO COMMUNITY NEWSPAPER ASSOCIATION                            3050 HARVESTER RD STE 103                                                                                   BURLINGTON               ON             L7N 3J1      CANADA
    ONTARIO HOME RENOVATIONS INC                                       195 NORTON AVE                                                                                              LONDON                   ON             N6J 2H6      CANADA
    ONTREA INC                                                         POLO PARK SHOPPING CENTRE             66Q 1485 PORTAGE AVE                                                  WINNIPEG                 MB             R3G 0W4      CANADA
    ONWUKA CHUKWUDI                                                    ADDRESS ON FILE
    OPAL FINANCIAL GROUP                                               ADDRESS ON FILE
    OPB REALTY INC                                                     86 1225 ST MARYS RD                                                                                         WINNIPEG                 MANITOBA       R2M 5E5      CANADA
    OPEN A FRANCHISE                                                   ADDRESS ON FILE
    OPERATION HOMEFRONT MID ATLANTIC                                   ADDRESS ON FILE
    OPIPOZ LLC                                                         541 BLUE HERON DR                     APT 105                                                               HALLANDLE BEACH          FL             33009-5772
    OPPD                                                               ADDRESS ON FILE
    OPPORTUNITY FINANCE GROUP                                          ADDRESS ON FILE
    OPT GOLDEN HILLS                                                   ADDRESS ON FILE
    OPTIMA HEALTH 2812                                                 ADDRESS ON FILE
    OPTIMA HEALTH 2812COBRA                                            ADDRESS ON FILE
    OPTIMA HEALTH 60594                                                ADDRESS ON FILE
    OPTIMA HEALTH 60594 COBRA                                          ADDRESS ON FILE
    OPTIMA HEALTH 6059400A                                             ADDRESS ON FILE
    OPTIMA HEALTH 6059400A COBRA                                       ADDRESS ON FILE
    OPTIMIZELY INC                                                     PO BOX 748762                                                                                               LOS ANGELES              CA             90074-8762
    OPTIMUM                                                            ADDRESS ON FILE
    OPTIMUM                                                            ADDRESS ON FILE
    OPTIMUM BUSINESS 70340                                             PO BOX 70340                                                                                                PHILADELPHIA             PA             19176-0340
    OPTIONS MEDIA GROUP                                                ADDRESS ON FILE
    OPTIONS NEWSLETTER INC                                             12000 BISCAYNE BLVD                   STE 216                                                               MIAMI                    FL             33181
    OPUBCO COMMUNICATIONS GROUP                                        ADDRESS ON FILE
    OQUINN INVESTMENTS LLC                                             212 S FIRST ST STE 1                                                                                        JESUP                    GA             31545
    ORACLE AMERICA INC                                                 500 ORACLE PKWY                                                                                             REDWOOD SHORES           CA             94065
    ORACLE AMERICA INC                                                 PO BOX 203448                                                                                               DALLAS                   TX             75320-3448
    ORANGE AID MARKETING                                               116 N WESTFIELD                                                                                             WICHITA                  KS             67212
    ORANGE CIRCLE INTERNATIONAL                                        8502 E CHAPMAN AVE                    STE 199                                                               ORANGE                   CA             92869
    ORANGE COUNTY CLERK RECORDER                                       12 CIVIC CTR PLZ                      RM 106                                                                SANTA ANA                CA             92701
    ORANGE COUNTY RECORDER                                             PO BOX 1438                                                                                                 SANTA ANA                CA             92702-1438
    ORANGE COUNTY UTILITIES                                            PO BOX 105573                                                                                               ATLANTA                  GA             30348
    ORANGE PEEL TRANSPORTATION                                         417 THALIA RD                         STE 104                                                               VIRGINIA BEACH           VA             23452
    OREGON DEPARTMENT OF EDUCATION                                     255 CAPITOL ST NE                                                                                           SALEM                    OR             97310-0203
    OREGON DEPARTMENT OF REVENUE                                       PO BOX 14780                                                                                                SALEM                    OR             97309-0469
    OREGON DEPARTMENT OF REVENUE                                       PO BOX 14950                                                                                                SALEM                    OR             97309-0950
    OREGON DEPARTMENT OF STATE LANDS UCP    UNCLAIMED PROPERTY         775 SUMMER ST NE STE 100                                                                                    SALEM                    OR             97301
    OREGON DEPT OF REVENUE                                             ADDRESS ON FILE
    OREGON RV AND STORAGE LLC                                          3032 SCHMIDT LN                                                                                             HUBBARD                  OR             97032
    ORGANIZATIONAL FITNESS LLC                                         2335 SHADOWOOD DR                                                                                           LONG LAKE                MN             55356
    ORIENTAL TRADING                                                   ADDRESS ON FILE
    ORILLIA POWER DISTRIBUTION CORPORATION                             PO BOX 398                                                                                                  ORILLIA                  ON             L3V 6J9      CANADA
    ORION CAPITAL CORP                                                 ADDRESS ON FILE
    ORION WORKS LLC                                                    6523 MARTIN CT NE                                                                                           ALBUQUERQUE              NM             87109
    ORKIN EXTERMINATION COMPANY INC                                    ORKIN TIDEWATER COMMERCIAL            2428 ALMEDA AVE STE 146                                               NORFOLK                  VA             23513
    ORKIN LLC                                                          3330 KELLER SPRINGS RD                STE 250                                                               CARROLLTON               TX             75006
    ORKIN PEST CONTROL INC                                             2428 ALMEDA AVE                       STE 146                                                               NORFOLK                  VA             23513-2448
    ORPHAN HELPERS                                                     ADDRESS ON FILE
    ORRICK HERRINGTON AND SUTCLIFFE LLP                                LOCKBOX 774619                        4619 SOLUTIONS CTR                                                    CHICAGO                  IL             60677-4006
    ORRTAX SOFTWARE INC                     C O MARK CASTRO            15395 SE 30TH PL STE 300                                                                                    BELLEVUE                 WA             98007
    ORSAN AIR SERVICES                                                 8 THORNCLIFFE ST                                                                                            KITCHENER                ON             N2N 1Z2      CANADA
    OSCAR A HERNANDEZ                                                  ADDRESS ON FILE
    OSCAR HERNANDEZ                                                    ADDRESS ON FILE
    OSCARS JEWELERS INC                                                612 HILLTOP W SHPG CTR                                                                                      VIRGINIA BEACH           VA             23451
    OSHAWA OFFICE EQUIPMENT INC                                        543 RITSON RD S                                                                                             OSHAWA                   ON             L1H 5K5      CANADA
    OSHAWA PUC NETWORKS INC                                            100 SIMCOE ST S                                                                                             OSHAWA                   ON             L1H 7M7      CANADA
    OSHAWA REVENUE AND TAX SERVICES                                    50 CENTRE ST S                                                                                              OSHAWA                   ON             L1H 3Z7      CANADA
    OSIKANLU TEWOGBUYI                                                 ADDRESS ON FILE
    OSLER HOSKIN AND HARCOURT LLP                                      PO BOX 50 62ND FL                     1 FIRST CANADIAN PL                        ATTN ACCOUNTS RECEIVABLE   TORONTO                  ON             M5X 1B8      CANADA
    OSOYOOS TIMES LTD                                                  PO BOX 359                                                                                                  OSOYOOS                  B.C.           V0H 1V0      CANADA
    OTERO COUNTY TREASURER                                             1104 N WHITE SANDS BLVD               STE A                                                                 ALAMAGORDO               NM             88310-6901
    OTHA LUKE GOOCH DBA IDEATE SOLUTIONS                               30 87 48TH ST                         APT 2                                                                 ASTORIA                  NY             11103
    OTIS SPUNKMEYER                                                    ADDRESS ON FILE
    OTTAWA WATER AND SEWER BILL                                        PO BOX 3438 STATION D                                                                                       OTTAWA                   ON             K1P 6M9      CANADA
    OTTO BEATTY JR ASSOCIATES                                          233 S HIGH ST                         STE 300                                                               COLUMBUS                 OH             43215
    OTTO GLENN C                                                       ADDRESS ON FILE
    OTTUMWA COURIER                                                    ADDRESS ON FILE
    OUR LADY OF THE VALLEY CATHOLIC CHURCH                             2910 GAULT AVE N                                                                                            FORT PAYNE               AL             35967
    OUTERFUND LLC                                                      7658 NORTHRUP PL                                                                                            SAN DIEGO                CA             92126
    OUTFRONT MEDIA INC                      DBA OUTFRONT MEDIA LLC     405 LEXINGTON AVE                                                                                           NEW YORK                 NY             10174
    OUTFRONT MEDIA SPORTS INC                                          PO BOX 33074                                                                                                NEWARK                   NJ             07188
    OUTLAW COUNTRY LTD                                                 1823 COPPERFIELD BLVD SE                                                                                    CALGARY                  AB             T2Z 0Y8      CANADA
    OUTLIER ANALYTICS                                                  ADDRESS ON FILE



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    OVERHEAD DOOR CO OF NORFOLK                                                ADDRESS ON FILE
    OVERTON MARKETS INC                                                        5859 HARBOUR VIEW BLVD STE 300                                                                             SUFFOLK                  VA             23435
    OWEN RENTALS 808 CAUSEWAY LLC                                              3204 W METAIRIE AVE S                STE C                                                                 METAIRIE                 LA             70001

    OWEN SOUND REGIONAL HOSPITAL FOUNDATION                                    1800 8TH ST E                                                                                              OWEN SOUND               ON             N4K 5N3      CANADA
    OWENS JRM EDWARD                                                           ADDRESS ON FILE
    OXFORD INTRUST FOR CLARICA CENTRE                                          CLARICA CENTRE                       3300 BLOOR ST W                                                       ETOBICOKE                ONTARIO                     CANADA
    OXFORD PROPERTIES GROUP                                                    STE 3555111 NORTHLAND DR NW                                                                                CALGARY                  ALBERTA        T2L 2J8      CANADA
    OXFORD PROPERTIES GROUP INC                                                EDMONTON CITY CENTRE                 803 TD TOWER 10088 102 AVE NW                                         EDMONTON                 AB             T5J 2Z1      CANADA
    OXFORD REALTY                             SANFORD SOLOMON                  68 S FOURTH ST                                                                                             COLUMBUS                 OH             43215
    OXFORD SHOPPING NEWS                      ATTN BARB WATERLAND              16 BROCK ST                                                                                                WOODSTOCK                ON             N4S 3B4      CANADA
    OXNARD CENTER COMPANY                                                      9720 WILSHIRE BLVD STE 210                                                                                 BEVERLY HILLS            CA             90212
    OXNARD CENTER COMPANY                                                      PO BOX 4864                                                                                                WEST HILLS               CA             91308
    OYSTER POINT PLAZA II LLC                 C O DRUCKER AND FALK LLC         11824 FISHING POINT DR                                                                                     NEWPORT NEWS             VA             23606
    OZARK COMMERCIAL HOLDINGS                 ATTN VERDIA WREN                 PO BOX 505                                                                                                 POTOSI                   MO             63664
    P A PRAESEL TAX ASSESSOR COLLECTOR                                         PO BOX 368                                                                                                 ALIEF                    TX             77411
    P AND A ADMINISTRATIVE SERVICES INC                                        17 CT ST STE 500                                                                                           BUFFALO                  NY             14202
    P AND C KOLB CHILDRENS TRUST                                               214 PRODO DR                                                                                               JEFFERSON CITY           MO             65109
    P AND C KOLB CHILDRENS TRUST                                               PO BOX 6850                                                                                                JEFFERSON CITY           MO             65102
    P AND C PROPERTIES                                                         104 BROOKWOOD LN                                                                                           WHITE OAK                TX             75693
    P AND M PROPERTY LLC                                                       108 THIRD ST                                                                                               ELKINS                   WV             26241
    P AND W ENTERPRISES INC                                                    PO BOX 14396                                                                                               NORFOLK                  VA             23518
    P BERNSON INC DBA DIAMOND BAR FUNDING                                      1573 BROADWAY                                                                                              HEWLETT                  NY             11557
    PA DEPARTMENT OF REVENUE                  BUREAU OF CORPORATION TAXES      INQUIRY SECTION DEPT 280423                                                                                HARRISBURG               PA             17128-0423
    PA MARK IT SIGNS LTD                                                       3 4260 5TH AVE E                                                                                           PRINCE ALBERT            SK             S6W OA5      CANADA
    PA SCDU                                                                    ADDRESS ON FILE
    PABLO JAVIER HERNANDEZ CALDERON                                            SM 44 MZ 11CALLE ECLIPSE             LOTE 11                                                               CANCUN                   QUINTANA ROO                MEXICO
    PAC VAN INC                                                                75 REMITTANCE DR STE 3300                                                                                  CHICAGO                  IL             60675-3300
    PACER SERVICE CENTER                                                       PO BOX 5208                                                                                                PORTLAND                 OR             97208-5208
    PACIFIC COPY AND PRINTING                                                  3502 BROADWAY                                                                                              EVERETT                  WA             98201
    PACIFIC ELECTRONIC SECURITY INC                                            12 11191 HORSESHOE WAY                                                                                     RICHMOND                 BC             V6X 4E2      CANADA
    PACIFIC INTERNATINAL BANK                                                  1155 N 130TH ST                                                                                            SEATTLE                  WA             98133
    PACIFIC NORTHERN GAS                                                       PACIFIC NORTHERN GAS LTD             PAYMENT PROCESSING CENTRE                  PO BOX 5500 STN TERMINAL   VANCOUVER                BC             V6B 6P9      CANADA
    PACIFIC NORTHERN GAS LTD                                                   PAYMENT PROCESSING CENTRE            PO BOX 5500 STN TERMINAL                                              VANCOUVER                BC             V6B 6P9      CANADA
    PACIFIC NW HOTELS MANAGEMENT LLC                                           1419 W MAIN ST                                                                                             BATTLE GROUND            WA             98604
    PACIFIC POWER 26000                                                        PO BOX 26000                                                                                               PORTLAND                 OR             97256-0001
    PACIFIC PROPERTY MANAGEMENT INC                                            PO BOX 117870                                                                                              CARROLLTON               TX             75011
                                                                                                                    C O AEA ACCOUNTING AND MANAGMENT
    PACIFIC SQUARE LLC                                                         PO BOX 1743                          SRVC                                                                  WOODINVILLE              WA             98072
    PACIFIC WORLD INVESTMENT INC                                               PO BOX 730666                                                                                              SAN JOSE                 CA             95173
    PADGETT THOMPSON                                                           ADDRESS ON FILE
    PADO JOHN                                                                  ADDRESS ON FILE
    PAETEC COMMUNICATIONS                                                      PO BOX 9001111                                                                                             LOUISVILLE               KY             40290-1111
    PAETEC DBA WINDSTREAM ENTERPRISE                                           PO BOX 9001013                                                                                             LOUISVILLE               KY             40290-1013
    PAGAS MAILING SERVICES                                                     1801 ANACONDA RD                                                                                           TARBORO                  NC             27886
    PAGE MASTER CORPORATION                                                    100 E THOUSAND OAKS BLVD STE 297                                                                           THOUSAND OAKS            CA             91360
    PAGE PLAZA ACQUISITION LP                                                  625 MADISON AVE                      STE 1202                                                              NEW YORK                 NY             10022
    PAGE SCRANTOM SPROUSE TUCKER AND FORD
    PC                                                                         ADDRESS ON FILE
    PAGE SEBASTIEN                                                             ADDRESS ON FILE
    PAGECO INC                                                                 528 SEVEN BRIDGES RD                                                                                       EAST STROUDSBURG         PA             18301
    PAIGE COLONY LTD                                                           2016 JUSTIN RD                       STE 300                                                               LEWISVILLE               TX             75077
    PAIGE COLONY LTD                          C O FIRST COMMERCIAL REALTY      2016 JUSTIN RD 300                                                                                         LEWISVILLE               TX             75077
    PAINT 4 LESS                                                               1439 SACKNER                                                                                               FENTON                   MI             48430
    PAINTED LADY TEA ROOM                                                      ADDRESS ON FILE
    PAK N STOR INC                                                             M23 4020 9 ST SE                                                                                           CALGARY                  ALBERTA        T2G 3C4      CANADA
    PAL TANYA                                                                  ADDRESS ON FILE
    PALACE ENTERTAINMENT                                                       ADDRESS ON FILE
    PALADIN TECHNOLOGIES USA INC                                               13000 GREGG ST                       STE B                                                                 POWAY                    CA             92064
    PALANA JOHN                                                                ADDRESS ON FILE
    PALM BEACH COUNTY BUSINESS TAX            BUSINESS TAX DEPT                PO BOX 3715                                                                                                WEST PALM BEACH          FL             33402-3715
    PALM BEACH COUNTY WATER UTILITIES
    DEPARTMENT                                                                 PO BOX 24740                                                                                               WEST PALM BEACH          FL             33416-4740
    PALM GLEN INVESTORS LLC                   C O RBI MANAGEMENT SERVICE LLC   8131 E INDIAN BEND RD                                                                                      SCOTTSDALE               AZ             85250
    PALMDALE SHOPPING CENTER INC                                               15445 VENTURA BLVD STE 31                                                                                  SHERMAN OAKS             CA             91403
    PAM COTTON                                                                 ADDRESS ON FILE
    PAMAL BROADCASTING                                                         ADDRESS ON FILE
    PAMELA E MOONEYHAN                                                         ADDRESS ON FILE
    PAMELA I PERRY PA                                                          ADDRESS ON FILE
    PAMELA J WILLIAMS COUNTY COLLECTOR                                         1 W LIBERTY                          STE 201                                                               FARMINGTON               MO             63640
    PAMELA MCKINNEY                                                            ADDRESS ON FILE
    PANAYIOTIS ELEFTHERIOU                                                     ADDRESS ON FILE
    PANELING FACTORY OF VA INC                                                 6116 VIRGINIA BEACH BLVD                                                                                   NORFOLK                  VA             23502
    PANOLTIA INC                                                               2012 W STERLING PL                                                                                         APEX                     NC             27502
    PAPA CARD                                                                  ADDRESS ON FILE
    PAPA JOHNS PIZZA                                                           ADDRESS ON FILE
    PAPA JOHNS PIZZA                                                           ADDRESS ON FILE
    PAPAZEKOS WILLIAM                                                          ADDRESS ON FILE
    PAR CONSULTING DBA US BUSINESS FUNDING                                     1 MACARTHUR PL                       STE 350                                                               SANTA ANA                CA             92707
    PAR CONSULTING DBA US BUSINESS FUNDING                                     1 MACATHUR PL                        SUTE 350                                                              SANTA ANA                CA             92707
    PAR INC DBA PAR NORTH AMERICA                                              7835 WOODLAND DR                                                                                           INDIANAPOLIS             IN             46278
    PARADISE BAKERY AND CAFE                                                   ADDRESS ON FILE
    PARADISE MECHANICAL                                                        ADDRESS ON FILE
    PARAMOUNT PAYMENT SYSTEMS                                                  841 E FAIRVIEW AVE                   STE 101                                                               MERIDIAN                 ID             83642
    PARAMOUNT SIGNS                                                            ADDRESS ON FILE
    PARAMOUNT TECHNOLOGIES INC                                                 382 NE 191ST ST                                                                                            MIAMI                    FL             33179-3899
    PARAMOUNT TECHNOLOGIES INC                                                 PMB 58356                            382 NE 191ST ST                                                       MIAMI                    FL             33179
    PARCELS INC                                                                PO BOX 27                                                                                                  WILMINGTON               DE             19889
    PARDOT LLC                                                                 PO BOX 203141                                                                                              DALLAS                   TX             75320-3141


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                        Name                                 Attention                               Address 1                               Address 2                           Address 3                      City        State       Zip          Country
    PARHAM SHOPPING CENTER LLC                                                      500 E PRATT ST STE 250                                                                                   BALTIMORE                 MD           21202
    PARICHKOV JOANNA                                                                ADDRESS ON FILE
    PARIVEDA SOLUTIONS INC                                                          2811 MCKINNEY AVE STE 220                                                                                DALLAS                    TX           75204
    PARK AVENUE LIMOUSINES                                                          ADDRESS ON FILE
    PARK CENTRE PLAZA LLC                                                           PO BOX 3334                                                                                              CLARKSVILLE               IN           47131
    PARK PLAZA HOTEL                                                                5807 FERRY ST                                                                                            NIAGARA FALLS             ON           L2G 1S8      CANADA
    PARK RIDGE BUSINESS CENTER INC                                                  10475 E PARK MEADOWS DR               STE 600                                                            LITTLETON                 CO           80124
    PARK SIGN                                                                       24 STEWART RD                                                                                            COLLINGWOOD               ON           L9Y 4K1      CANADA
    PARKER ALLEN INVESTMENTS LLC                                                    225 S HURSTBOURNE PKWY                STE 103                                                            LOUISVILLE                KY           40222
    PARKER CARY                                                                     ADDRESS ON FILE
    PARKER EXCHANGE LLC                       C O LOUP MANAGEMENT COMPANY INC       44 INVERNESS DR E BLDG E                                                                                 ENGLEWOOD                 CO           80112
    PARKER KIM                                                                      ADDRESS ON FILE
    PARKER STEVENSON BROKERAGE CORP           DBA PS PROPERLY MANAGEMENT            4030 TRUXIL RD STE D                                                                                     SACRAMENTO                CA           95834
    PARKINSON COACH LINES 2000 INC                                                  10 KENNEDY RD N                                                                                          BRAMPTON                  ONTARIO      L6V 1X4      CANADA
    PARKS AND RECREATION                                                            151 DUNDAS ST RM 302                                                                                     LONDON                    ON           N6A 4        CANADA
    PARKS BEN                                                                       ADDRESS ON FILE
    PARKVIEW 2001 BOYS SOCCER                                                       C O 8951 146A ST                                                                                         EDMONTON                  AB           T5R 0X2      CANADA
    PARKVIEW ADVANCE LLC                                                            31 QUARRY DOCK RD                                                                                        BRANFORD                  CT           06405
    PARROTT PAT                                                                     ADDRESS ON FILE
    PARS INTERNATIONAL CORP                                                         253 W 35TH ST                         7TH FL                                                             NEW YORK                  NY           10001
    PARTNER FOR CARE                                                                RM 026A CENTENNIAL BLDG               1276 S PARK ST                                                     HALIFAX                   NS           B3H 2Y9      CANADA
    PARTNERS IN LEADERSHIPLLC                                                       27555 YNEZ RD                         STE 300                                                            TEMECULA                  CA           92591
    PARTNERS IN MEDIA LTD DO NOT USE                                                15265 CAPITOL PORT STE 100                                                                               SAN ANTONIO               TX           78249
    PARTNERS IN MISSSION FOOD BANK                                                  140 HICKSON AVE                                                                                          KINGSTON                  ON           K7K 2N6      CANADA
    PARTY TIME ENTERTAINMENT                  MARK ABERNATHY                        PO BOX 7420                                                                                              RICHMOND                  VA           23221
    PAS PROPERTIES LLC                                                              404 IDLEBROOK DR                                                                                         WADSWORTH                 OH           44281
    PASADENA SERVICE FCU                                                            670 N ROSEMEAD BLVD                                                                                      PASADENA                  CA           91107
    PASADENA WATER AND POWER                                                        PO BOX 7120                                                                                              PASADENA                  CA           91109-7125
    PASCO COUNTY TAX COLECTOR                                                       PO BOX 276                                                                                               DADE CITY                 FL           33526-0276
    PASHA MISSAGHI                                                                  ADDRESS ON FILE
    PASSALACQUA REAL ESTATE                                                         2109 N FRANKLIN DR                                                                                       WASHINGTON                PA           15380
    PAT KELLY                                                                       ADDRESS ON FILE

    PATH IQ                                   SHARED SERVICES ACCOUNTS RECEIVABLE   1010 SAINTE CATHERINE ST W STE 200                                                                       MONTREAL                  QUEBEC       H3B 5L1      CANADA
    PATHFINDER COMMUNICATIONS INC             DBA WMEE FM                           2915 MAPLES RD                                                                                           FORT WAYNE                IN           46816
    PATHWARD NATIONAL ASSOCIATION                                                   5501 S BROADBAND LN                                                                                      SIOUX FALLS               SD           57108
    PATIENT FIRST                                                                   ADDRESS ON FILE
    PATRECE S SCOTT                                                                 ADDRESS ON FILE
    PATRICIA BAILO                                                                  ADDRESS ON FILE
    PATRICIA BLAU                                                                   ADDRESS ON FILE
    PATRICIA HARMON                                                                 ADDRESS ON FILE
    PATRICIA K HEISS                                                                ADDRESS ON FILE
    PATRICIA RAHNEMA LIVING TRUST                                                   PO BOX 4442                                                                                              LAKE HAVASU CITY          AZ           86405
    PATRICK A COZZA                                                                 ADDRESS ON FILE
    PATRICK CLAIR                                                                   ADDRESS ON FILE
    PATRICK FUKUSHIMA                                                               ADDRESS ON FILE
    PATRICK GAUL DBA COASTAL FUNDING GROUP                                          PO BOX 206                                                                                               TERRE HILL                PA           17517
    PATRICK HANDYMAN LLC                                                            32 PICARD TERRACE                                                                                        FRAMINGHAM                MA           01702
    PATRICK HULLER                                                                  ADDRESS ON FILE
    PATRICK WY TAM TRUST                                                            151 W SPRING CREEK                                                                                       PLANO                     TX           75023-4622
    PATRIOT TAX SERVICE LLC                                                         7054 MADRID AVE                                                                                          JACKSONVILLE              FL           32217
    PATRIOTIC FESTIVAL II                                                           ADDRESS ON FILE
    PATRON PROPERTIES LLC                     C O WALL AND ASSOCIATES               190 SPERRY RD                                                                                            BETHANY                   CT           06524
    PATSY IRENE GILLIAM                                                             ADDRESS ON FILE
    PATTI D HARTLE                                                                  ADDRESS ON FILE
    PAU STORE IT 1994 LTD                                                           RR5 SITE 15 BOX 15                                                                                       PRINCE ALBERT             SK           B8V 5R3      CANADA
    PAUL ALLEN                                                                      ADDRESS ON FILE
    PAUL AND CHRISTINE GREUBEL FAMILY TRUST                                         11571 LAS LUCES                                                                                          SANTA ANA                 CA           92705
    PAUL BENJAMIN TICHENOR                                                          ADDRESS ON FILE

    PAUL BLANCOS GOOD CAR COMPANY RIVERSIDE                                         8205 INDIANA AVE                                                                                         RIVERSIDE                 CA           92504
    PAUL BROCK                                                                      ADDRESS ON FILE
    PAUL CROSBY TRUST                         C O KATRINA CROSBY                    221 E CT ST                                                                                              WASHINGTON COURT HOUSE    OH           43160
    PAUL D AND CONNIE F SIMMONS                                                     ADDRESS ON FILE
    PAUL ECKERT                                                                     ADDRESS ON FILE
    PAUL EDWARD SIMS JR                                                             ADDRESS ON FILE
    PAUL FINANCIAL GROUP INC                                                        4304 MACARTHUR BLVD                                                                                      OAKLAND                   CA           94619
    PAUL GARRY MCKIRDY JR                                                           ADDRESS ON FILE
    PAUL GLUCK                                                                      ADDRESS ON FILE
    PAUL GLUCK                                                                      ADDRESS ON FILE
    PAUL GREUBEL                                                                    ADDRESS ON FILE
    PAUL HASTINGS LLP                                                               515 S FLOWER ST STE 2500                                                                                 LOS ANGELES               CA           90071
    PAUL HASTINGS LLP                                                               LOCKBOX 4803                          PO BOX 894803                                                      LOS ANGELES               CA           90189-4803
    PAUL KEMSKE                                                                     ADDRESS ON FILE
    PAUL PENNY                                                                      ADDRESS ON FILE
    PAUL R ST LOUIS                                                                 ADDRESS ON FILE
    PAUL RIGGLE AND SONS INC                                                        795 INDUSTRIAL BLVD                                                                                      NEW KENSINGTON            PA           15068
    PAUL ROSARIO                                                                    ADDRESS ON FILE
    PAUL ROSARIO                                                                    ADDRESS ON FILE
    PAUL W HERRELL                                                                  ADDRESS ON FILE
    PAULA JEAN GRIFFIN 2015 TRUST             DBA NORTHLAND CENTER                  2919 PAPER LN                                                                                            NEWPORT BEACH             CA           92660
    PAULA PISANO DBA VENTURELYNK CAPITAL                                            183 SOUNDVIEW DR                                                                                         PORT WHSHINGTON           NY           11050
    PAULK AND PAULK DBA SNELLING STAFFING
    SERVICES                                                                        640 INDEPENDENCE PKWY                 STE 400                                                            CHESAPEAKE                VA           23320
    PAWS ANIMAL WILDLIFE SANCTUARY INC        C O MERCEDES COUNTY                   PO BOX 157                                                                                               WATERLOO                  SC           29384
    PAXSON COMMUNICATIONS                                                           PO BOX 930467                                                                                                                      GA           31193-0467
    PAYCHEX BENEFIT TECHNOLOGIES DBA
    BENETRAC                                                                        LOCKBOX 732954                        PO BOX 732954                                                      DALLAS                    TX           75373-2954
    PAYDAY BROKERS                                                                  408 CUMMINGS RD                                                                                          VIRGINIA BEACH            VA           23452


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    PAYDAY LOAN LLC                                                         300 S HARBOR BLVD                    STE 500                                                            ANAHEIM                 CA           92805
    PAYDAY LOAN LLC                                                         300 S HARBOR BLVD 500                                                                                   ANAHEIM                 CA           92805
    PAYDAY PERX                                                             132 N HIGH ST                        STE A                                                              GAHANA                  OH           43230
    PAYLIANCE                                                               2 EASTON OVAL                        STE 310                                                            COLUMBUS                OH           43219
    PAYNE GATES FARTHING AND RADD                                           15TH FL DOMINION TOWER               999 WATERSIDE DR                                                   NORFOLK                 VA           23510
    PAYNEARME                                                               292 GIBRALTAR AVE                    STE 104                                                            SUNNYVALE               CA           94085
    PAYNTER REED                                                            ADDRESS ON FILE
    PAYPOINT MERCHANT SERVICES INC                                          5737 KANAN RD                        STE 310                                                            AGOURA HILLS            CA           91301
    PB CAPITAL FUNDING LLC                                                  3305 SW BICOPA PL                                                                                       PALM CITY               FL           34990
    PBCC 856460 DO NOT USE                                                  PO BOX 856460                                                                                           LOUISVILLE              KY           40285-6460
    PBCC DO NOT USE                                                         PO BOX 856460                                                                                           LOUISVILLE              KY           40285-5460
    PCCHL                                                                   117A STE 112 RINK ST                                                                                    PETERSBOROUGH           ON           K9J 2J6      CANADA
    PCIP CREDIT IV LLC                                                      8214 WESTCHESTER DR STE 910                                                                             DALLAS                  TX           75225
    PCS                                                                     1948 E SANTA FE                                                                                         LOATHE                  KS           66062
    PCS INC                                                                 1948 E SANTA FE                      STE A                                                              OLATHE                  KS           66062
    PCS USA                                                                 4541 PASEO BLVD                                                                                         KANSAS CITY             MO           64110
    PDQ ISRAEL FAMILY FORREST OAKS LLC                                      1750 FARM TO MARKET RD                                                                                  COXSACKIE               NY           12051
    PEACE RUBY                                                              200 MAYMOUNT DR                                                                                         DURHAM                  NC           27703
    PEACH FUZZ ENTERTAINMENT LLC                                            PO BOX 8925                                                                                             NORFOLK                 VA           23503
    PEACOCK W H                                                             65 FRAZIER DR                                                                                           BROOKS                  GA           30205
    PEAK DESIGN                                                             1212 WOODROW AVE                                                                                        NORFOLK                 VA           23507
    PEARCE KEITH                                                            ADDRESS ON FILE
    PEARCE R KEITH                                                          ADDRESS ON FILE
    PEARL BETA FUNDING LLC                                                  525 WASHINGTON BLV 22ND FL                                                                              JERSEY CITY             NJ           07310
    PEARL MEYER AND PARTNERS LLC          DEPARTMENT 41287                  PO BOX 650823                                                                                           DALLAS                  TX           45265
    PEARL MEYER AND PARTNERS LLC          DEPARTMENT 41287                  PO BOX 650823                                                                                           DALLAS                  TX           75265
    PEARLHARBOR HARVEST LAKESHORE LLC                                       ORSWELL EVENTS                       16301 NE 8TH ST 270                                                BELLVUE                 WA           98008
    PEARS DANIEL                                                            ADDRESS ON FILE
    PECK LINDA                                                              ADDRESS ON FILE
    PECO 37629                                                              PAYMENT PROCESSING                   PO BOX 37629                                                       PHILADELPHIA            PA           19101-0629
    PECO ARC INSTITUTIONAL REIT LLC       TRAMWAY STATION LLC               PO BOX 639345                                                                                           CINCINNATI              OH           45263-9345
    PECO ENERGY 8699                                                        PO BOX 8699                                                                                             PHILADELPHIA            PA           19101
    PEEKSKILL PROPERTIES                                                    3021 WESTCHESTER AVE                                                                                    BRONX                   NY           10461
    PEEL PRODUCTIONS                                                        410 285 KING ST                                                                                         LONDON                  ON           N6B 3M6      CANADA
    PEGASUS CONSULTING                                                      55 EGLINTON AVE E                    STE 208                                                            TORONTO                 ON           M4P 1G8      CANADA
    PELLER ESTATES                                                          290 JOHN ST E RR1                                                                                       NIAGARA ON THE LAKE     ON           L0S 1J0      CANADA
    PELMOREX CANADA                                                         2655 BRISTOL CIR                                                                                        OAKVILLE                ON           L6H 7W1      CANADA
    PEMBROKE PINES MEDIA                                                    1705 LAKE ST                                                                                            ELMIRA                  NY           14901
    PEMBROKE SQUARE ASSOCIATES            C O ARAGONA VILLAGE               4460 CORPORATION LN 300                                                                                 VIRGINIA BEACH          VA           23462
    PEMBROKE SQUARE ASSOCIATES            C O PEMBEROKE MALL                4460 CORPORATION LN STE 300                                                                             VIRGINIA BEACH          VA           23462
    PENA MICHAEL                                                            ADDRESS ON FILE
    PENA VICTORIA                                                           ADDRESS ON FILE
    PENCOR INSTALLATIONS                                                    13154 BASELINE RD                                                                                       THAMESVILLE             ON           N0P 2K0      CANADA
    PENDER AND COWARD                                                       4TH FL GREENWICH CENTRE              192 BALLARD CT                                                     VIRGINIA BEACH          VA           23462-6557
    PENGUIN PROPERTIES LLC                                                  1330 BAUER BLVD                                                                                         ST LOUIS                MO           63132
    PENGUIN PUTNAM INC                                                      4920 COLLECTIONS CTR DR                                                                                 CHICAGO                 IL           60693
    PENNER INTERNATIONAL INC                                                PO BOX 2620                                                                                             STEINBACH               MB           R0A 2A0      CANADA
    PENNER SIGNS                                                            BOX 302 RR 1                                                                                            STEINBACH               MB           R5G 1L9      CANADA
    PENNSYLVANIA SCDU 0661000240          CASE 0661000240                   PO BOX 69112                                                                                            HARRISBURG              PA           17106-9112
    PENNSYLVANIA SCDU 2235100157                                            PENNSYLVANIA SCDU                    PO BOX 69112                                                       HARRISBURG              PA           17106-9112
    PENNSYLVANIA TURNPIKE COMMISSION      VIOLATION PROCESSING CENTER       8000C DERRY ST                                                                                          HARRISBURG              PA           17111
    PENNYSAVER                                                              380 HUNT CLUB RD                     PO BOX 9729                                STATION T               OTTAWA                  ON           K1G 5H7      CANADA
    PENNYSAVER                            HARTE HANKS SHOPPERS INC          PO BOX 886082                                                                                           LOS ANGELES             CA           90088-6082
    PENNYSAVER GROUP INC                                                    PO BOX 959                                                                                              HANOVER                 MD           21076
    PENSACOLA HANDYMAN LLC                                                  4730 WOODCLIFF DR                                                                                       PENSACOLA               FL           32504
    PENSKE TRUCK LEASING COLP                                               2675 MORGANTOWN RD                   PO BOX 1321                                                        READING                 PA           19603-1321
    PENTAD PROPERTIES INC                                                   PENTAD PROPERTIES INC                655 E 400 S 201                                                    SALT LAKE CITY          UT           84102
    PENTON MEDIA                                                            731 MAIN ST STE C3                                                                                      MONROE                  CT           06468
    PENTON MEDIA INC                                                        1100 SUPERIOR AVE                    STE 800                                                            CLEVELAND               OH           44114
    PENTON TECHNOLOGY MEDIA INC                                             2420 RELIABLE PKWY                                                                                      CHICAGO                 IL           60686-0024
    PENTRY JAMES                                                            47 CAMPBELL AVE                                                                                         BARRIE                  ON           L4N2T2       CANADA
    PEOPLE G2                                                               135 S STATE COLLEGE BLVD             STE 200                                                            BREA                    CA           92821
    PEOPLE SOFT INC                                                         7676 HILLMONT                        STE 195                                                            HOUSTON                 TX           77040
    PEOPLEREADY INC                                                         PO BOX 820145                                                                                           PHILADELPHIA            PA           19182-0145
    PEOPLES                                                                 PO BOX 644760                                                                                           PITTSBURGH              PA           15264-4760
    PEOPLES INCOME TAX                                                      1601 WILLOW LAWN DR 309                                                                                 RICHMOND                VA           23230
    PEOPLES LARRY                                                           2304 7TH AVE                                                                                            NEW YORK                NY           10030
    PEOPLES REALTY INC                                                      NICK LLC VIA PEOPLES REALTY INC      2330 PARK PL DR                                                    GRETNA                  LA           70056
    PEPCO POWER                                                             PO BOX 13608                                                                                            PHILADELPHIA            PA           19101-3608
    PEPE LEPEW                                                              24 GEORGE ST N                                                                                          BRAMPTON                ONTARIO      L6X 1R2      CANADA
    PEPPERWEED CONSULTING LLC                                               9465 COUNSELORS ROW STE 200                                                                             INIDIANAPOLIS           IN           46240
    PER MAR SECURITY SERVICES                                               PO BOX 1101                                                                                             DAVENPORT               IA           52805-1101
    PERCONTE SALVATORE                                                      ADDRESS ON FILE
    PEREZ LEPKOWSKI MARIA                                                   ADDRESS ON FILE
    PEREZ LOPEZ RENE                                                        ADDRESS ON FILE
    PEREZ OLGA COLLAZO                                                      ADDRESS ON FILE
    PERFECT COPY AND PRINT                LIBERTY TAX SERVICE               1813 E OLIVE WAY                                                                                        SEATTLE                 WA           98102
    PERFECT EVENT RENTALS                                                   532 VIRGINIA BEACH BLVD                                                                                 VIRGINIA BEACH          VA           23451
    PERFECT PEN AND STATIONERY                                              PO BOX 4090                          STATION A                                                          TORONTO                 ON           M5W 0E9      CANADA
    PERFECT PROMOS                                                          4006 KERLEY CT                                                                                          HUTTO                   TX           78634
    PERFECT VISION MEDIA                                                    2950 BUSKIRK AVE STE 300                                                                                WALNUT CREEK            CA           94597
    PERFECTION LAWNS INC                                                    8538 HOKE RD                                                                                            CLAYTON                 OH           45315-9728
    PERFORMLINE INC                                                         58 S ST                              2ND FL                                                             MORRISTOWN              NJ           07960
    PERIMETER ASSOCAITES LLC              C O WHEELER REAL ESTATE COMPANY   2529 VIRGINIA BEACH BLVD 200                                                                            VIRGINIA BEACH          VA           23452
    PERISCOPEIQ INC                                                         6666 PASSER RD                                                                                          COPPERSBURG             PA           18036
    PERKAL ALBERT AND FRANK FITZPATRICK                                     ADDRESS ON FILE
    PERKINS COIE                                                            ADDRESS ON FILE
    PERKS CARD                                                              11 OVAL DR                           STE 168                                                            ISLANDIA                NY           11749



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                         Name                                 Attention                            Address 1                                    Address 2                           Address 3                            City         State       Zip          Country
    PERO SEO INC                                                                    103 ASHGROVE AVE                                                                                                 DARTMOUTH                  NOVA SCOTIA   B2V1G2       CANADA
    PERRY BROADCASTING COMPANY                                                      1525 SE FLOWERMOUND RD                                                                                           LAWTON                     OK            73501
    PERRY JOHNSON ANDERSON MILLER AND
    MOSKOWITZ LLP TRUST                                                             438 FIRST ST 4TH FL                                                                                              SANTA ROSA                 CA            95401
    PERSONAL CONCEPTS                           COMPLIANCE SERVICE DEPARTMENT       3200 E GUASTI RD STE 300                                                                                         ONTARIO                    CA            91761
    PERSONAL MANAGEMENT SERVICES LLC                                                PO BOX 416                                                                                                       PINEVILLE                  NC            28134-0416
    PERSONIFIED LLC                                                                 14096 COLLECTION CTR DR                                                                                          CHICAGO                    IL            60693-0140
    PERSONNEL DATA SYSTEMS INC                                                      470 NORRISTOWN RD STE 202                                                                                        BLUE BELL                  PA            19422-2321
    PERTH AMBOY CHECK CASHING SERVICE                                               321 MAPLE ST                                                                                                     PERTH AMBOY                NJ            08861
    PETER CHIN PROPERTY MANAGER LLC                                                 11824 FISHING POINT DR                                                                                           NEWPORT NEWS               VA            23606
    PETER E DAVIS                                                                   ADDRESS ON FILE
    PETER KANG                                                                      ADDRESS ON FILE
    PETER KASANDRINOS AND GEORGE
    KASANDRINOS                                                                     ADDRESS ON FILE
    PETER P KICI DBA QUICK RPO MARKETING LLC                                        784 MILLS ESTATE PL                                                                                              CHULUOTA                   FL            327666
    PETER SUCHOWER                                                                  ADDRESS ON FILE
    PETER WORONIECKI                                                                ADDRESS ON FILE
    PETERBOROUGH CURLING CLUB                                                       2195 LANSDOWNE ST W                                                                                              CAVAN MONAGHAN             ON            K9J 0G5      CANADA
    PETERBOROUGH HUMANE SOCIETY                                                     385 LANSDOWNE ST E                                                                                               PETERBOROUGH               ON            K9L 2A3      CANADA
    PETERBOROUGH PETES HOCKEY CLUB LTD                                              PETERBOROUGH MEMORIAL CENTRE             151 LANSDOWNE ST W                                                      PETERBOROUGH               ON            K9J 1Y4      CANADA
    PETEREIT INVESTMENTS INC                                                        8220 LOUETTA RD                          STE 162                                                                 SPRING                     TX            77379
    PETERS DONNA                                                                    ADDRESS ON FILE
    PETERS EDGAR                                                                    ADDRESS ON FILE
    PETERS ESQ ALEXIA E                                                             ADDRESS ON FILE
    PETERS STEVE                                                                    ADDRESS ON FILE
    PETERSBURG GENERAL DISTRICT COURT                                               35 E TABB ST                                                                                                     PETERSBURG                 VA            23803
    PETERSBURG GENERAL DISTRICT COURT                                               PO BOX 180                                                                                                       FREDERICKSBURG             VA            22404-0180
    PETTIGREW CHARLES R                                                             ADDRESS ON FILE
    PETTINARO ENTERPRISES HOLDINGS LLC          DBA FOX RUN SHOPPING CENTER LLC     234 N JAMES ST                                                                                                   NEWPORT                    DE            19804
    PETZ ENTERPRISES INC                                                            7575 W LINNE RD                                                                                                  TRACY                      CA            95304
    PETZA DONALD                                                                    ADDRESS ON FILE
    PEVIN RANDALL                                                                   ADDRESS ON FILE
    PFAM TRAN TONI                                                                  92 OVAL RD                                                                                                       IRVINE                     CA            92604
    PFI PROCESS FORWARDING INTERNATIONAL                                            633 YESLER WAY                                                                                                   SEATTLE                    WA            98104
    PFM MARKETING LLC                                                               53 PRESIDENTS WALK                                                                                               WILLIAMSVILLE              NY            14221
    PG AND E                                                                        PO BOX 997300                                                                                                    SACRAMENTO                 CA            95899
    PG FLOOR FASHIONS LTD                                                           140 1990 OGILVIE ST S                                                                                            PRINCE GEORGE              B.C.          V2N 1X11     CANADA
    PG LASER GRAPHICS LTD                                                           775A 2ND AVE                                                                                                     PRINCE GEORGE              BC            V2L 3A4      CANADA
    PGIOIA LLC                                                                      321 BARBARA ST                                                                                                   STATEN ISLAND              NY            10306
    PGP CAPITAL ADVISORS LLC                                                        865 S FIGUEROA ST                        STE 1330                                                                LOS ANGELES                CA            90017
    PHAROS HOLDINGS LLC                                                             630 FREEDOM BSINESS CTR DR 3RD FL        DBA LIGHTHOUSE SERVICES LLC                                             KING OF PRUSSIA            PA            19406
    PHILADELPHIA GAS WORKS                                                          PO BOX 17606                                                                                                     BALTIMORE                  MD            21297
    PHILBIN AND ASSOCIATES INC                                                      81 STATE ST                                                                                                      SPRINGFIELD                MA            01103
    PHILIP A LYNCH                                                                  ADDRESS ON FILE
    PHILIP A SHEELY                                                                 ADDRESS ON FILE
    PHILIP C DRAKE                                                                  ADDRESS ON FILE
    PHILIPPINE NURSES ASSOCIATION                                                   817 COPPERSTONE CIR                                                                                              CHESAPEAKE                 VA            23320
    PHILLIPS AND COHEN ASSOCIATES LTD                                               1004 JUSTISON ST                                                                                                 WILMINGTON                 DE            19801
    PHILLIPS EDWIN                                                                  ADDRESS ON FILE
    PHILLIPS LYTLE HITCHCOCK BLAINE AND HUBER
    LLP                                         ATTORNEYS AT LAW                    3400 HSBC CTR                                                                                                    BUFFALO                    NY            14203
    PHILLIPS LYTLE LLP                          ATTORNEYS AT LAW                    3400 HSBC CTR                                                                                                    BUFFALO                    NY            14203
    PHILLIPS MCFALL MCCAFFREY MCVAY AND
    MURRAH PC                                   CORPORATE TOWER                     THIRTEENTH FL                            101 N ROBINSON                                                          OKLAHOMA CITY              OK            73102
    PHILLIPS TOURS                                                                  6132 SYLVAN ST                                                                                                   NORFOLK                    VA            23508
    PHILLYCOM                                                                       417 N 8TH ST                                                                                                     PHILADELPHIA               PA            19123
    PHOENIX FINANCE LLC                                                             2329 W MARICOPA ST                                                                                               PHONEIX                    AZ            85009
    PHOENIX HEATING AND AIR                                                         70 CLIPPER RD UNIT 214                                                                                           NORTH YORK                               MEJ 4E3      CANADA
    PHOENIX PAPER SHREDDING                                                         76 HOKA                                                                                                          WINNIPEG                   MB            R2C 3N2      CANADA
    PHOENIX PROMOTIONAL PRODUCTS                                                    PO BOX 400                                                                                                       RED OAK                    IA            51566
    PHOENIX SPEEDWAY LLC                        DBA PHOENIX INTERNATIONAL RACEWAY   125 S AVONDALE BLVD                      STE 200                                                                 AVONDALE                   AZ            85323
    PHOENIX THEATRE                                                                 PO BOX 565                                                                                                       FORT NELSON                BC            V0C 1R0      CANADA
    PHONE BOOK COMPANY                                                              SITE 200 BOX 20 RR2                                                                                              BRANDON                    MB            R7A 5Y2      CANADA
    PIB INVESTIGATIONS                                                              614 N SALINA ST                                                                                                  SYRACUSE                   NY            13208
    PICUS ATLANTIC TELECOM                                                          2877 GUARDIAN LN 301                                                                                             VIRGINIA BEACH             VA            23452
    PIEDMONT NATURAL GAS                                                            PO BOX 1246                                                                                                      CHARLOTTE                  NC            28201-1246
    PIEDMONT SERVICE GROUP                                                          29691 NETWORK PL                                                                                                 CHICAGO                    IL            60673-1296
    PIER COMMUNICATION INC                                                          PO BOX 302                                                                                                       CARSELAND                  TB            T0J 0M0      CANADA
    PIERCE AND THORNTON                                                             TOWN POINT CTR STE 801                   150 BOUSH ST                                                            NORFOLK                    VA            23510
    PIERCE COUNTY BUDGET AND FINANCE                                                PO BOX 11621                                                                                                     TACOMA                     WA            98411-6621
    PIGEON LLC                                                                      1600 VALLEY RIVER DR 160                                                                                         EUGENE                     OR            97401
    PIKE PEAK PL                                                                    PO BOX 1813                                                                                                      COLORADO SPRINGS           CO            80901-1813
    PILLAR TO POST                                                                  3445 GLENWOOD AVE                                                                                                WINDSOR                    ON            N9E 2Y4      CANADA
    PILOT MEDIA 826526                                                              PO BOX 826526                                                                                                    PHILADELPHIA               PA            19182-6526
    PILOT ONLINE                                                                    PO BOX 1254                                                                                                      NORFOLK                    VA            23501
    PIN MINISTRY C O P4P                                                            2621 ATWOODTOWN RD                                                                                               VIRGINIA BEACH             VA            23456

    PINAR CENTER LLC                                                                PO BOX 11229                             DBA PINAR PLZ                              C O SOUTHERN MAINT AND DEV LP KNOXVILLE                 TN            37939
    PINE GROVE LLC                                                                  2684 E HUNTINGTON DR                                                                                              FLAGSTAFF                 AZ            86004
    PINE TREE INN                                                                   2932 VIRGINIA BEACH BLVD                                                                                          VIRGINIA BEACH            VA
    PING NU TECHNOLOGIES INC                                                        PO BOX 38                                                                                                         MANAKIN SABOT             VA            23103
    PING YO INC                                                                     6429 MONTESITO ST                                                                                                 BOCA RATON                FL            33496
    PINGLOGIX LLC                                                                   2470 SAINT ROSE PKWY                     STE 214                                                                  HENDERSON                 NV            89074
    PINKERTON CONSULTING AND INVESTIGATIONS                                         33505 W 14 MILE RD 90                                                                                             FARMINGTON HILLS          MI            48331
    PINPOINT IT SERVICES                                                            1340 N GREAT NECK RD                     1272 367                                                                 VIRGINIA BEACH            VA            23454-2268
    PINPOINT LEADS AND MARKETING LLC                                                949 A CLINT MOORE RD                                                                                              BOCA RATON                FL            33487
    PINTO OLIVIA                                                                    ADDRESS ON FILE
    PIOLIN PRODUCTIONS INC                                                          5279 LEBANON RD                          STE 144 BOX 280                                                         FRISCO                     TX            75034
    PIONEER VILLAGE SHOPPING CENTER                                                 PO BOX 72                                                                                                        MOUNTAIN CITY              TN            37683


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                        Name                                 Attention                              Address 1                              Address 2                           Address 3                      City        State       Zip          Country
    PIPELINE ELECTRIC INC                                                          732 EDEN WAY N 504                   STE E                                                              CHESAPEAKE                VA           23325
    PIPER JAFFRAY AND CO                      ATTN TREASURY J09STR                 800 NICOLLET AVE ST 1000                                                                                MINNEAPOLIS               MN           55402
    PIPER MARBURY RUDNICK AND WOLFE                                                135 S LASALLE ST                     DEPT 5266                                                          CHICAGO                   IL           60674-5266
    PIPER PEST CONTROL                                                             PO BOX 1337                                                                                             BARRIE                    ON           L4M 5R4      CANADA
    PIPER RUDNICK LLP                                                              PO BOX 75190                                                                                            BALTIMORE                 MD           21275
    PIPKINS INVESTIGATION INC                                                      9800 NW FWY                          STE 306                                                            HOUSTON                   TX           77092
    PIQUA AREA CHAMBER OF COMMERCE                                                 PO BOX 1142                                                                                             PIQUA                     OH           45356
    PITCAIRN ADVISORY INC                                                          5014 WALNUT CREEK DR                                                                                    ANN ARBOR                 MI           48105
    PITCHENGINE                                                                    PO BOX 1103                                                                                             RIVERTON                  WY           82501
    PITNEY BOWES 190 LEASE                                                         PO BOX 190                                                                                              ORANGEVILLE               ON           L9W 2Z6      CANADA
    PITNEY BOWES 223648 RESERVE ACCT          RESERVE ACCOUNT                      PO BOX 223648                                                                                           PITTSBURGH                PA           15250-2648
    PITNEY BOWES 278                                                               PO BOX 278                                                                                              ORANGEVILLE               ON           L9W 2Z7      CANADA
    PITNEY BOWES 371874 PURCHASE POWER                                             PO BOX 371874                                                                                           PITTSBURGH                PA           15250
    PITNEY BOWES 371887                                                            PO BOX 371887                                                                                           PITTSBURGH                PA           15250-7887
    PITNEY BOWES 371896                                                            PO BOX 371896                                                                                           PITTSBURGH                PA           15250-7896
    PITNEY BOWES 856460                                                            PO BOX 856460                                                                                           LOUISVILLE                KY           40285-6460
    PITNEY BOWES BANK PURCHASE POWER                                               PO BOX 981026                                                                                           BOSTON                    MA           02298-1026
    PITNEY BOWES DANKA B9226                                                       PO BOX 9100 POSTAL STATION F                                                                            TORONTO                   ON           M4Y 3A5      CANADA

    PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC                                     PO BOX 371887                                                                                           PITTSBURGH                PA           15250-7887
    PITNEY BOWES INC 856390                                                        PO BOX 856390                                                                                           LOUISVILLE                KY           40285
    PITNEY BOWES PRESORT SERVICES INC                                              DEPT CH 14035                                                                                           PALATINE                  IL           60055-4035
    PITNEY WORKS                                                                   PO BOX 280                                                                                              ORANGEVILLE               ON           L9W 2Z7      CANADA
    PITNEYWORKS                                                                    PO BOX 85042                                                                                            LOUISVILLE                KY           40285-5042
    PITT NEWS THE                                                                  426 WILLIAM PITT UNION               UNIVERSITY OF PITTSBURGH                                           PITTSBURGH                PA           15260
    PITTA AND DREIER LLP                                                           499 PARK AVE 15TH FL                                                                                    NEW YORK                  NY           10022
    PITTSBURGH POST GAZETTE                                                        34 BLVD OF THE ALLIES                                                                                   PITTSBURGH                PA           15222
    PIZZARAGEOUS                                                                   21021 MANESSA CR                                                                                        HUNTINGTON BEACH          CA           92646
    PJGLOBAL LLC                                                                   8 THE GREEN 7761                                                                                        DOVER                     DE           19901
    PJP MARKETING INC                                                              34 E MAIN ST                         STE 239                                                            SMITHTOWN                 NY           11787
    PJR PROPERTIES LLC                         C O PIGGLY WIGGLY MIDWEST           2215 UNION AVE                                                                                          SHEBOYGAN                 WI           53081
    PKF MUELLER LLP                                                                1707 N RANDALL RD STE 200                                                                               ELGIN                     IL           60123
    PLAIN AND SIMPLE SPORTS AND PROMOWEAR                                          289 BERING AVE                                                                                          TORONTO                   ON           M8Z 3A5      CANADA
    PLANET CENTRAL                                                                 1506 WILLOW LAWN DR                  STE 100                                                            RICHMOND                  VA           23230
    PLANET DEPOS LLC                                                               PO BOX 791571                                                                                           BALTIMORE                 MD           21279-1571
    PLANIT TECHNOLOGY GROUP                                                        100 LANDMARK SQUARE                                                                                     VIRGINIA BEACH            VA           23452
    PLANK CROSSING SHOPPING CENTER                                                 PO BOX 66865                                                                                            BATON ROUGE               LA           70896
    PLANO MOLDING COMPANY                                                          431 E S ST                                                                                              PLANO                     IL           60545
    PLATER SHANTYA                                                                 ADDRESS ON FILE
    PLATFORM ADVERTISING INC                   C O NCS6644 VALJEAN AVENUE          100                                                                                                     VAN NUYS                  CA           91604
    PLATINUM ASSOCIATES LLC                    C O VELICK PROPERTIES LLC           31800 NORTHWESTERN HWY STE 310                                                                          FARMINGTON HILLS          MI           48334
    PLATINUM FINANCIAL SERVICES                                                    PO BOX 10247                                                                                            ROCKVILLE                 MD           20849-0247
    PLATINUM LITIGATION SOLUTIONS LLC                                              325 N ST PAUL                        STE 1100                                                           DALLAS                    TX           75202
    PLATINUM SIGNS                                                                 231 WYANDOTTE ST E                                                                                      WINDSOR                   ON           N9A 3H5      CANADA
    PLAVE KOCH PLC                                                                 11250 ROGER BACON DR                 STE 5                                                              RESTON                    VA           20190
    PLAYBACK NOW                                                                   3139 CAMPUS DR STE 700                                                                                  NORCROSS                  GA           30071-1477
    PLAZA 5 INC                                                                    8469 SENECA TURNPIKE                 STE 203                                                            NEW HARTFORD              NY           13413
    PLAZA MANAGEMENT TRUST                                                         PO BOX 808 RPO GATEWAY                                                                                  SURREY                    BC           V3Z 0T8      CANADA
    PLAZA NORTH STATION LLC                                                        6852 PAYSPHERE CIR                                                                                      CHICAGO                   IL           60674
    PLAZA PROPERTIES                                                               3016 MARYLAND AVE                    PO BOX 09601                                                       COLUMBUS                  OH           43209
    PLAZAQ LLC                                                                     PO BOX 360963                                                                                           SAN JUAN                               00936-0983
    PLIMUS                                                                         3830 VALLEY CENTRE DR                STE 705 294                                                        SAN DIEGO                 CA           92130
    PLIXER LLC                                                                     68 MAIN ST STE 4                                                                                        KENNEBUNK                 ME           04043
    PLOMBERIE CHAUFFAGE D BROCHU INC                                               607 FILIATRAULT                                                                                         ST LAURENT                QB           H4L 3V3      CANADA
                                               DBA CENTER ON PLUM CREEK SHOPPING
    PLUM CREEK CENTRE LLC                      CTR                                 7800 S ELATI ST STE 300                                                                                 LITTLETON                 CO           80120-8071
    PLUMBING NOW INC                                                               4255 7TH CONCESION UNIT 5            RR1                                                                WINDSOR                   ON           N9A 6J3      CANADA
    PLURALSIGHT LLC                                                                67 S MAIN ST STE 300                                                                                    LAYTON                    UT           84041
    PLUSHLAND INC                                                                  701 E 3RD SREET                      STE 380                                                            LOS ANGELES               CA           90013
    PLUSMEDCREDIT DBA ONE STEP FUNDING                                             419 OLD NEWPORT BLVD                 STE B                                                              NEWPORT BEACH             CA           92663
    PM GROUP GULF COAST INC                                                        6119 VILLAGE OAKS DR                                                                                    PENSACOLA                 FL           32504
    PNC                                                                            ZINASHE MERETE                       201 E FIFTH ST                                                     CINCINNATI                OH           45202
    PNC BANK 856177                                                                PO BOX 856177                                                                                           LOUISVILLE                KY           40285-6177
    PNE INVESTMENTS LLC                                                            9461 CLARKVILLE BLVE 408                                                                                BEVERLY HILLS             CA           90212
    PNM                                                                            PO BOX 27900                                                                                            ALBUQUERQUE               NM           87125-7900
    POCKET SOFT INC                                                                7676 HILLMONT ST STE 195                                                                                HOUSTON                   TX           77040
    PODOBNIKAR MICHAEL                                                             ADDRESS ON FILE
    POE CANDY MORRIS                                                               ADDRESS ON FILE
    POINT ADVERTISING LLC                                                          8900 STATE LINE RD                   STE 200                                                            LEAWOOD                   KS           66206
    POINTBREAK MANAGEMENT LLC                                                      2129 E SPRING ST                                                                                        NEW ALBANY                IN           47150
    POINTER AND ASSOCIATES INC                                                     247 MARBLE PL                                                                                           NEWMARKET                 ON           L3X 2Y3      CANADA
    POINTER LARRY AND JANICE                                                       23059 HOPE DALE AVE                                                                                     PARKER                    CO           80138-8496
    POINTS EAGLE RADIO INC                                                         9111 W IPPERWASH RD                  6                                                                  FOREST                    ON           N0N 1J0      CANADA
    POLAK CONSULTING INC                                                           166 MARTIN DR RR1                                                                                       BELLE RIVER               ON           N0R 1A0      CANADA
    POLARIS LEASING                                                                1 TERRACON PL                                                                                           WINNIPEG                  MANITOBA     R2J 4B3      CANADA
    POLICE SAFETY MAGAZINE                                                         617 YONGE ST STE 7                                                                                      TORONTO                   ON           M4Y 1S5      CANADA
    POLK                                                                           PO BOX 77709                                                                                            DETROIT                   MI           48277-0709
    POLK COUNTY PUBLISHING CO INC                                                  PO BOX 129                                                                                              BENTON                    TN           37307
    POLLARD AND BAGBY INC                                                          PO BOX 2488                                                                                             RICHMOND                  VA           23218-2488
    POLLARDS CHICKEN                                                               8370 TIDEWATER DR                                                                                       NORFOLK                   VA           23518
    POLO PARK SHOPPING CENTRE                                                      66Q 1485 PORTAGE AVE                                                                                    WINNIPEG                  MB           R3G 0W4      CANADA
    POLY MAIL MEDIA GROUP                                                          75 SUPERIOR BLVD                                                                                        MISSISSAUGA               ON           L5T 2X9      CANADA
    POMEGRANATE RE LLC                                                             123 COULTER AVE                      STE 100                                                            ARDMORE                   PA           19003
    POMPLUN DONNA                                                                  ADDRESS ON FILE
    PONTE ANDRES                                                                   ADDRESS ON FILE
    PONTE INVESTMENTS LLC                                                          18 IMPERIAL PL                       STE 1D                                                             PROVIDENCE                RI           02903
    PONTE KATHY                                                                    ADDRESS ON FILE
    POP YOUR NEEDS                             DBA FASTSIGNS                       PO BOX 10656                                                                                            SAN JUAN                  PR           00922
    POPCRUMBS LLC                                                                  734 WALT WHITMAN RD                  STE 405                                                            MELVILLE                  NY           11747


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    POPE DARREN                                                                       ADDRESS ON FILE
    POQUOSON SEAFOOD FESTIVAL                                                         830 POQUOSON AVE                                                                                          POQUOSON                        VA             23662
    PORT CHARLOTTE MALL LLC                                                           1441 TAMIAMI TRAIL STE 608                                                                                PORT CHARLOTTE                  FL             33948
    PORTAGE PLACE SHOPPING CENTRE             PORTAGE PLACE CENTRE INC                232B 393 PORTAGE AVE                                                                                      WINNIPEG                        MN             R3B 3H6
    PORTER BENJAMIN                                                                   ADDRESS ON FILE
    PORTER ERIC                                                                       ADDRESS ON FILE
    PORTER REALTY COMPANY INC                                                         4801 RADFORD AVE                                                                                          RICHMOND                        VA             23230
    PORTFOLIO MEDIA INC DBA LAW360                                                    111 W 19TH ST 5TH LOOR                                                                                    NEW YORK                        NY             10011
    PORTFOLIO RECOVERY ASSOCIATES LLC         VIRGINIA BEACH DISTRICT COURT           2425 NIMMO PKWY BLD 10 2ND FL                                                                             VIRGINIA BEACH                  VA             23456
    PORTFOLIO WEEKLY                                                                  PO BOX 1348                                                                                               NORFOLK                         VA             23501
    PORTLAND GENERAL ELECTRIC                                                         PO BOX 4438                                                                                               PORTLAND                        OR             97208-4438
    PORTS EVENTS                                                                      355 CRAWFORD ST 101                                                                                       PORTSMOUTH                      VA             23704
    PORTSMOUTH CITY TREASURER                                                         801 CRAWFORD ST                                                                                           PORTSMOUTH                      VA             23704-0820
    POST TRIBUNE PUBLISHING INC                                                       PO BOX 4290                                                                                               CAROL STREAM                    IL             60197-4290
    POSTAGE BY PHONE                                                                  PO BOX 1040 STN A                                                                                         TORONTO                         ON             M5W 3C8      CANADA
    POSTCARD PORTABLES GRANDE PRAIRIE                                                 711073 RGE RD 55                                                                                          COUNTY OF GRANDE PRAIRIE NO 1   AB             T8W 5A6      CANADA
    POSTCARD PORTABLES LTD                                                            27 JUPP PL                                                                                                REGINA                          SK             S4S 6R1      CANADA
    POSTCARD PORTABLES REGINA                                                         3235 THAMES CRESCENT                                                                                      REGINA                          SASKATCHEWAN   S4V 2Y1      CANADA
    POSTMASTER                                                                        PO BOX FEE PAYMENT                    212B US HWY 64 AND 264                                              MANTEO                          NC             27954-9998
    POSTMEDIA CANADA                                                                  PO BOX 7400                                                                                               LONDON                          ON             N5Y 4X3      CANADA
    POTATOHEAD SIGNS                                                                  687 GYRFALCON CT                                                                                          WINDSOR                         CO             80550
    POTATOHEAD SIGNS                                                                  9351 EASTMAN PARK DR                  STE 100                                                             WINDSOR                         CO             80550
    POTOMAC ELECTRIC POWER CO                                                         PO BOX 97274                                                                                              WASHINGTON                      DC             20090-7274
    POTOMAC INVESTIGATIONS INC                                                        PO BOX 3184                                                                                               OAKTON                          VA             22124-3184
    POTTS JASON AND ALLISON                                                           ADDRESS ON FILE
    POTVIN WILLIAM                                                                    ADDRESS ON FILE
    POURBAIX JEREMY                                                                   ADDRESS ON FILE
    POWER DIRECT                                                                      4400 MACARTHUR BLVD STE 200                                                                               NEWPORT BEACH                   CA             92660
    POWER MANAGEMENT                                                                  1189 GENEVA AVE N                                                                                         OAKDALE                         MN             55128-5746
    POWER MARKETING INC                                                               701 AOUTH ROSEMARY AVE                STE 313                                                             WEST PALM BEACH                 FL             33401
    POWER PLAY MARKETING                                                              30150 TELEGRAPH RD STE 105                                                                                BINGHAM FARMS                   MI             48025
    POWER STREAM                                                                      161 CITYVIEW BLVD                                                                                         VAUGHN                          ON             L4H 0A9      CANADA
    POWNALL SPORTS STADIUM                                                            145 POWNAL RD                                                                                             VERNON                          PE             C1B 3S2      CANADA
    PPL ELECTRIC UTILITIES                                                            2 N 9TH ST                            CPC GENN 1                                                          ALLENTOWN                       PA             18101
    PR NEWSWIRE ASSOCIATION LLC                                                       GPO BOX 5897                                                                                              NEW YORK                        NY             10087-5897
    PRACTICAL LAW COMPANY                     PRACTICAL LAW                           PO BOX 71464                                                                                              CHICAGO                         IL             60694-1464
    PRAGMATIC WORKS INC                                                               400 COLLEGE DR                        STE 216                                                             MIDDLEBURG                      FL             32068
    PRAIRIE SIGNS                                                                     12 8MCDONALD ST                                                                                           REGINA                          SK             S4N 4X6      CANADA
    PRASCUS LARRY                                                                     ADDRESS ON FILE
    PRATE PROPERTIES LLC                                                              368 W LIBERTY ST STE F                                                                                    WAUCONDA                        IL             60084
    PRATER BRUCE                                                                      ADDRESS ON FILE
    PRATT GEORGE T                                                                    ADDRESS ON FILE
    PRATTS CATERING                                                                   1225 E STONE DR                                                                                           KINGSPORT                       TN             37660
    PRECISION INVESTIGATIONS AND CONSULTING                                           8216 PRINCETON GLENDALE RD            260                                                                 WEST CHESTER                    OH             45069
    PRECISION PLACEMENTS INC                                                          ONE COLUMBUS CTR                      STE 600 PMB 015                                                     VIRGINIA BEACH                  VA             23462
    PREDATOR OR VICTIM INVESTIGATIONS INC                                             PO BOX 3048                                                                                               WILLIAMSBURG                    VA             23187
    PREFERRED APARTMENT COMMUNITIES
    OPERATING PARTNERSHIP LP                  DBA NEW MARKET DISSTONLLC               3284 NORTHSIDE PKWY NW                STE 150                                                             ATLANTA                         GA             30327
    PREFERRED DIRECT MARKETING SERVICES INC                                           5209 E VIRGINIA BEACH BLVD                                                                                NORFOLK                         VA             23502
    PREFERRED GROUP                                                                   154 STATE ST                          STE 103                                                             NORTH HAVEN                     CT             06473-2224
    PREIT ASSOCIATES LP CHERRY HILL CENTER                                            2000 ROUTE 38                         STE 514                                                             CHERRY HILL                     NJ             08002
    PREIT ASSOCIATES LP JACKSONVILLE MALL                                             375 JACKSONVILLE MALL                                                                                     JACKSONVILLE                    NC             28546
    PREIT ASSOCIATES LP PALMER MALL                                                   123 PALMER PARK MALL                                                                                      EASTON                          PA             18045
    PREIT ASSOCIATES LP VALLEY MALL                                                   17301 VALLEY MALL RD                                                                                      HAGERSTOWN                      MD             21740
    PREIT RUBIN INC                                                                   200 S BROAD ST 3RD FL                                                                                     PHILADELPHIA                    PA             19102
    PREMATIC SERVICE CORPORATION                                                      PAYMENT PROCESSING CTR                PO BOX 894731                                                       LOS ANGELES                     CA             90189
    PREMIER COMFORT SERVICES                                                          PO BOX 3487                                                                                               LOGANVILLE                      GA             30052
    PREMIER COMMERCIAL                                                                13011 LANSDOWNE DR                                                                                        FISHERS                         IN             46038
    PREMIER EQUITY FUNDING INC                                                        2003 VAN OWEN ST                                                                                          WINNETKA                        CA             91306
    PREMIER PACIFIC COACH LINES                                                       STE 210 4331 VANGUARD RD                                                                                  RICHMOND                        BC             V6X 2P6      CANADA
    PREMIER PAINTING AND SERVICES LLC                                                 1707 HAMILTON DR                                                                                          MUNCIE                          IN             47303
    PREMIERE CONFERENCING                                                             PO BOX 9100 POSTAL STATION F                                                                              TORONTO                         ON             M4Y 3A5      CANADA
    PREMIERE LENDING LLC                                                              169 COMMACK RD H189                                                                                       COMMACK                         NY             11725
    PREMIERE SPEAKERS BUREAU                                                          109 INTERNATIONAL DR                  STE 300                                                             FRANKLIN                        TN             37067
    PREMIUM FINANCING SPECIALISTS                                                     2890 NIAGARA FALLS BLVD               PO BOX 726                                                          AMHERST                         NY             14226-0726
    PREMIUM MERCHANT FUNDING ONE LLC                                                  40 WALL ST                            STE 501                                                             NEW YORK                        NY             10005
    PREMIUM PUBLISHING CORP                                                           958 COXWELL AVE                                                                                           TORONTO                         ON             M4C 3G3      CANADA
    PREMNATH KUNCHAM LOKANA                                                           310 DUNDAS 907                                                                                            LONDON                          ON             N6B 3R6      CANADA
    PRENSA LATINA                                                                     ADDRESS ON FILE
    PREPETIT SIDNEY                                                                   5850 CORAL RIDGE DR                                                                                       CORAL SPRINGS                   FL             33076
    PRESBYTERIAN COMMUNITY CENTER INC                                                 1228 JAMISON AVE SE                                                                                       ROANOKE                         VA             24013
    PRESCOTT INTEREST LTD                                                             7979 INWOOD RD                        STE 225                                                             DALLAS                          TX             75209
    PRESCOTT TINA                                                                     5930 RED BLUFF RD APT 412                                                                                 PASADENA                        TX             77505
    PRESIDIO                                                                          7601 ORA GLEN DR STE 100                                                                                  GREENBELT                       MD             20770
    PRESIDIO HOLDINGS INC                     DBA PRESIDIO NETWORKED SOLUTIONS        PO BOX 822169                                                                                             PHILADELPHIA                    PA             19182-2169

    PRESIDIO HOLDINGS INC                      DBA PRESIDIO NETWORKED SOLUTIONS LLC   12120 SUNSET HILLS RD STE 202                                                                             RESTON                          VA             20190
    PRESLEY PUBLIC RELATIONS AND MARKETING LLC
    DBA PRESLEY MEDIA                                                                 1211 APPLEWOOD DR STE 1                                                                                   PAPILLION                       NE             68046
    PRESTIGE BUSINESS FINANCIAL SERVICES LLC                                          PO BOX 30800 PMB 184                                                                                      HONOLULU                        HI             96820
    PRESTIGE FLOORS INC                                                               361 EDWIN DR                                                                                              VIRGINIA BEACH                  VA             23462
    PRESTIGE HEATING AND AIR CONDITIONING INC                                         1244 RED BANK RD                                                                                          GOOSE CREEK                     SC             29445
    PRESTIGE INVESTIGATIONS INCORPORATED                                              514 WARREN AVE                                                                                            MAMARONECK                      NY             10543
    PRESTIGE OFFICE COFFEE SERVICE                                                    1604 N MISSILE WAY                                                                                        ANAHEIM                         CA             92801
    PRESTO DIRECT INC                                                                 1638 W WASHINGTON ST                                                                                      HARPERS FERRY                   WV             25425
    PREVISION CAPITAL LLC                                                             5050 BROADWAY                         STE 3B                                                              WOODSIDE                        NY             11377
    PRICE DEVELOPMENT COMPANY INC                                                     PO BOX 1165                                                                                               DADE CITY                       FL             33526-1165
    PRICE LAW GROUP APC                                                               15760 VENTURA BLVD                    1100                                                                ENCINO                          CA             91436
    PRICES ALARM SYSTEMS LTD                                                          843 FORT ST                                                                                               VICTORIA                        BC             V8W 1H6      CANADA


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                        Name                                   Attention                            Address 1                                  Address 2                           Address 3                    City          State       Zip          Country
    PRICEWATERHOUSECOOPERS LLP                                                      18 YORK ST                              STE 2600                                                           TORONTO                 ON             M5J 0B2      CANADA
    PRICEWATERSCOOPERS LLP                                                          PO BOX 514038                                                                                              LOS ANGELES             CA             90051-4038
    PRIDE OF WINDSOR CRUISES                                                        1402 75 RIVERSIDE DR E                                                                                     WINDSOR                 ON             N9A 7C4      CANADA
    PRIMAL WEAR INC                                                                 7700 CHERRY CREEK S DR                  STE 106                                                            DENVER                  CO             80231
    PRIMARY COLOR SYSTEMS CORP DBA PR1MARY
    COLOR                                       ATTN A R                            265 BRIGGS AVE                                                                                             COSTA MESA              CA             92626
    PRIME CONCEPTS GROUP INC                                                        7570 W 21ST ST N                        STE 1038A                                                          WICHITA                 KS             67205
    PRIME PLUS CAPITAL                                                              111 TOWN SQUARE PL                      STE 1203                                                           JERSEY CITY             NJ             07310
    PRIME POINT MEDIA                                                               PO BOX 924314                                                                                              NORCROSS                GA             30010
    PRIME TIME INVESTMENTS LLC                                                      PO BOX 163                                                                                                 EASTWOOD                KY             40018
    PRIME TIME PUBLISHING CO                                                        HRLD R T BULV MG SSR MILI               17400 JUDSON RD                                                    SAN ANTONIA             TX             78247
    PRIME WEST                                                                      PO BOX 2609                                                                                                MOUNT VERNON            WA             98273
    PRIMEPAY LLC                                                                    596 LANCASTER AVE                                                                                          MALVERN                 PA             19355
    PRIMEX PROPERTIES INC                                                           203 1811 VICTORIA ST                                                                                       PRINCE GEORGE           BC             V2L 2L5      CANADA
    PRIMSTOR UTAH SPARKS LLC                                                        201 S FIGUEROA ST ST 300                C O PRIMESTOR DEVELOPMENT INC                                      LOS ANGELES             CA             90012
    PRINCE GEORGE COUNTY MD                                                         PO BOX 17578                                                                                               BALTIMORE               MD             21297-1578
    PRINCIPAL FINANCIAL GROUP                                                       111 W STATE ST                                                                                             MASON CITY              IA             50401
    PRINCIPAL FINANCIAL GROUP                                                       711 HIGH ST                                                                                                DES MOINES              IA             50392

    PRINCIPAL RETIREMENT AND INCOME SOLUTIONS                                       710 9TH ST                                                                                                 DES MOINES              IA             50309-1502
    PRINT MATE GRAPHICS LTD                                                         60 COPERNICUS BLVD                                                                                         BRANTFORD               ONTARIO        N3P 1K5      CANADA
    PRINTED PROMOTIONS INC                                                          11516 N PORT WASHINGTON BLVD            STE 8B                                                             MEQUON                  WI             53092
    PRINTERS ASSOCIATES                                                             660 E RIDGE                                                                                                SOUTH LYON              MI             48178
    PRINTING AND FINISHING                                                          UNIT 6 800 DENISON ST                                                                                      MARKHAM                 ON             L3R 5R3      CANADA
    PRIORITY HEALTH CARE INC                    ATTN CASHIER                        PO BOX 17499                                                                                               BALTIMORE               MD             21297-1499
    PRIORITY LEASING RECOVERING DIVISION                                            174 GREEN ST                                                                                               MELROSE                 MA             02176
    PRIORITY STAFFING SERVICES INC                                                  PO BOX 13188                                                                                               MILWAUKEE               WI             53213
    PRIORITY STAFFING USA INC                                                       PO BOX 1706                                                                                                SCOTTSDALE              AZ             85252-1706
    PRISCILLA MARQUEZ                                                               ADDRESS ON FILE
    PRISTINE SCREENS                                                                ADDRESS ON FILE
    PRIVATE INVESTIGATIONS OF VIRGINIA          ATTN AL WHITEHURST                  3208 106 HOLLAND RD                                                                                        VIRGINIA BEACH          VA             23453
    PRIVATE INVESTIGATIVE SERVICES                                                  1142 CARDINAL DR                                                                                           LIBERTY                 MO             64068
    PRIVATE SERVICES GROUP                                                          451 SUNRISE HWY                         STE 2                                                              LYNBROOK                NY             11563-3037
    PRNEWSWIRE ASSOC LLC                                                            GPO BOX 5897                                                                                               NEW YORK                NY             10087-5897
    PRO ADVANCE GROUP INC                                                           960 S BROADWAY                          STE 120                                                            HICKSVILLE              NY             11801
    PRO CLEAN                                                                       2700 BAYOU CANE DR                                                                                         MARRERO                 LA             70072
    PRO SOURCE LENDING GROUP LLC                                                    123 NW 13TH                             STE 201                                                            BOCA RATON              FL             33432
    PRO TAX LLC                                                                     1020 BATTLEFILELD BLVD N                STE E                                                              CHESAPEAKE              VA             23320
    PRO WINDOW INC                                                                  1604 VIRGINIA BEACH BLVD                                                                                   VIRGINIA BEACH          VA             23454
    PROCALCINC                                                                      20 WOODGREEN LN                                                                                            ROSLYN HEIGHTS          NY             11577
    PROCESS FORWARDING INTERNATIONAL                                                910 FIFTH AVE                                                                                              SEATTLE                 WA             98104
    PROCOM INSURANCE BROKERS                                                        D1055212 48 ST                                                                                             RED DEER                ALBERTA        T4N 7C3      CANADA
    PROFESSIONAL CONSULTING GROUP                                                   PO BOX 62152                                                                                               VIRGINIA BEACH          VA             23466-9998
    PROFESSIONAL GLASS SERVICE LLC              DBA PROFESSIONAL GLASS              505 S HARBOR BLVD                                                                                          SNATA ANA               CA             92704
    PROFESSIONAL GROUNDS MANAGEMENT DONT
    USE                                                                             5004 CHURCHILL CT                                                                                          VIRGINIA BEACH          VA             23464
    PROFESSIONAL INSTALLATION NETWORK INC       DBA PIN                             9015 STERLING ST STE 100                                                                                   IRVING                  TX             75063
    PROFESSIONAL INTEGRATIONS LLC                                                   2472 CHAMBERS RD                        STE 240                                                            TUSTIN                  CA             92780
    PROFESSIONAL INVESTIGATIONS INC                                                 810 W ST GERMAIN ST STE 3               PO BOX 541                                                         ST CLOUD                MN             56302
    PROFESSIONAL PLUMBING SOLUTIONS OF
    FISHERS                                                                         13187 LA CANADA BLVD                                                                                       FISHERS                 IN             46038
    PROFESSIONAL PRINTING CENTER                                                    817 YUPO CT                                                                                                CHESAPEAKE              VA             23320
    PROFESSIONAL SOFTWARE AND SERVICES                                              36955 TREASURY CTR                                                                                         CHICAGO                 IL             60694-9400
    PROGRESS INDEX                                                                  PO BOX 71                               15 FRANKLIN ST                                                     PETERSBURG              VA             23804-0071
    PROGRESS PUBLISHING                                                             PO BOX 81                                                                                                  CAMPBELL RIVER          BC             V9W 4Z9      CANADA
    PROGRESSIVE                                                                     DEPT 0594                                                                                                  CAROL STREAM            IL             60132-0594
    PROGRESSIVE BUSINESS COMPLIANCE                                                 PO BOX 3014                                                                                                MALVERN                 PA             19355-9790
    PROGRESSIVE BUSINESS FUNDING INC                                                853 CAMINO DEL MAR                      STE 200                                                            DEL MAR                 CA             92014
    PROGRESSIVE BUSINESS PUBLICATIONS           INTERNATIONAL CREDIT RECOVERY INC   300 MAIN ST                             PO BOX 992                                                         VESTAL                  NY             13851
    PROGRESSIVE GRAPHICS                                                            2860 CRUSADER CIR                                                                                          VIRGINIA BEACH          VA             23453
    PROGRESSIVE INSURANCE                                                           PO BOX 31033                                                                                               TAMPA                   FL             33633-1292
    PROJECT SHARE                                                                   4129 STANLEY AVE UNIT 2                                                                                    NIAGRARA FALLS          ON             L2E 7H3      CANADA
    PROLIFICS INC                                                                   111 N MAGNOLIA AVE                      STE 1550                                                           ORLANDO                 FL             32801
    PROMAX PUBLICATIONS                                                             226 RUE FULLUM                                                                                             MONTREAL                QC             H2K 3P2      CANADA
    PROMEDIA                                                                        13499 BISCAYNE BLVD                     STE TS 4 5 6                                                       MIAMI                   FL             33181
    PROMEDIA INC                                                                    13499 BISCAYNE BLVD                     STE ST 4 5 6                                                       NORTH MIAMI             FL             33181
    PROMENADE NORTH                             C O GVA KIDDER MATHEWS              PO BOX 34860                                                                                               SEATTLE                 WA             98124-1860
    PROMISE TRUST DBA PROMISE EMPOWERMENT
    SERVICES                                                                        8540 BRAVESTONE WAY                                                                                        INDIANAPOLIS            IN             46239
    PROMO COSTUMES INC                                                              381 W CTR ST                            PO BOX 37                                                          MARION                  OH             43302
    PROMO DIRECT                                                                    931 AMERICAN PACIFIC DR                 STE 100                                                            HENDERSON               NV             89014
    PROMOCALL LLC                                                                   824 MIDDLE FORK PL                                                                                         CHULA VISTA             CA             91914
    PROMOTE A BOOK INC                                                              12903 S 300 E                                                                                              DRAPER                  UT             84020
    PROMOTION                                                                       18 HUDSON ST                                                                                               MECHANICSVILLE          NY             12118
    PROMOTION MARKETING AND DESIGN INC                                              647 NEAL DR                                                                                                PETERBOROUGH            ONT.           K9J 6X7      CANADA
    PROMPT CAPITAL FUNDING LLC                                                      3041 AVE U                                                                                                 BROOKLYN                NY             11229
    PROPERT MANAGEMENT GROUP LLC                                                    1055 ST CHARLES AVE                     STE 701                                                            NEW ORLEANS             LA             70130
    PROPERTIES UNLIMITED REALTY LTD             ATTN MS WENDY LEBLANC               206 LAIRD DR                            STE 203                                                            TORONTO                 ON             M4G 3W4      CANADA
    PROPERTY MANAGEMENT UNLIMITED LLC                                               150 E KING ST                                                                                              STRASBURG               VA             22657
    PROSHRED SECURITY                                                               PO BOX 989                                                                                                 STITTSVILLE             ON             K2S 1B1      CANADA
    PROSPER MARKETPLACE INC                                                         PO BOX 396081                                                                                              SAN FRANCISCO           CA             94139
    PROTECH SAFE AND SECURITY                                                       80 BRADFORD ST                          STE 222                                                            BARRIE                  ON             L4N 6S7      CANADA
    PROTECTION ONE ALARM SERVICE                                                    PO BOX 5714                                                                                                CAROL STREAM            IL             60197
    PROTECTIVE LIFE INSURANCE COMPANY                                               PO BOX 105638                                                                                              ATLANTA                 GA             30348-5638
    PROTELEC                                                                        200 1450 MOUNTAIN AVE                                                                                      WINNIPEG                MB             R2X 3C4      CANADA
    PROTEMPS                                                                        4455 S BLVD STE 400                                                                                        VIRGINIA BEACH          VA             23452
    PROTHONOTARY SUPERIOR COURT OF PA                                               530 WALNUT ST                           SUITR 315                                                          PHILADELPHIA            PA             19106
    PROVENTURE COMMERCIAL                                                           750 OLD HICKORY BLOVD STE 2                                                                                BRENTWOOD               TN             37027
    PROVEST HOLDINGS LLC                                                            4520 SEEDLING CIR                                                                                          TAMPA                   FL             33614


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                       Name                               Attention                              Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    PROVGAS                                                                       100 WEYBOSSET ST                                                                                        PROVIDENCE              RI           02903-2822
    PROVIDE PLAZA INC                                                             4400 BENBROOK HWY                                                                                       FORT WORTH              TX           76116
    PROVINCE LLC                                                                  2360 CORPORATE CIR STE 330                                                                              HENDERSON               NV           89074
    PROVINCE LLC DBA PROVINCE FIDUCIARY
    SERVICES                                                                      2360 CORPORATE CIR STE 330                                                                              HENDERSON               NV           89074
    PROVINCIAL LOCKSMITH INC                                                      572 DUNDAS ST                                                                                           LONDON                  ON           N6B 1W8      CANADA
    PROVINCIAL MAT SERVICE LTD                                                    307 TALBOT AVE                                                                                          WINNIPEG                MB           R2L 0P9      CANADA
    PROVVIDENZA AND WRIGHT CPAS LLC                                               121 SULLYS TRAIL                     STE 12                                                             PITTSFORD               NY           14534

    PROXIMITY PARTNERS LP                  DT LAND GROUP INC C O SOVEREIGN BANK   150 S BELL AVE                                                                                          CEDAR PARK              TX           78613
    PRSA NATIONAL                                                                 33 MAIDAN LN 11TH FL                                                                                    NEW YORK                NY           10038-5150
    PRSA TREASURER                         ATTN KELLEY DASPIT APR                 105 MANASSAS LOOP                                                                                       YORKTOWN                VA           23693
    PRUCO LIFE INSURANCE CO                                                       213 WASHINGTON ST                                                                                       NEWARK                  NJ           07102-2992
    PRUDENTIAL                                                                    PO BOX 856138                                                                                           LOUISVILLE              KY           40285
    PRUDENTIAL TOWNE REALTY                                                       582 LYNNHAVEN PKWY                   STE 400                                                            VIRGINIA BEACH          VA           23452
    PRUDENTIAL VARIABLE CONTRACT REAL
    PROPERTU PARTNERSHIP                   DBA HAMPTON TOWNE CENTER LLC           C O THE SHOPPING CTR GROUP LLC       300 GALLERIA PKWY 12 FL                                            ATLANTA                 GA           30339
    PRUDENTIAL VARIABLE CONTRACT REAL                                             C O THE SHOPPING GENTER GROUP 300
    PROPERTY PARTNERSHIP                   DBA HAMPTON TOWNE CENTER LLC           GALLERIA PKWY                        12TH FL                                                            ALTANTA                 GA           30339
    PS BUSINESS PARKS                                                             2599 E 28TH ST 204                                                                                      SIGNAL HILL             CA           90755
    PS BUSINESS PARKS LP                   ATTN JENNIFER BREY                     PO BOX 849406                                                                                           LOS ANGELES             CA           90084
    PSE AND G CO                                                                  PO BOX 14444                                                                                            NEW BRUNSWICK           NJ           08906-4444
    PSEGLI                                                                        PO BOX 9039                                                                                             HICKSVILLE              NY           11802-9039
    PSI FULFILLMENT                                                               2314 RUTLAND DR STE 225                                                                                 AUSTIN                  TX           78758
    PSNC ENERGY                                                                   PO BOX 100256                                                                                           COLUMBIA                SC           29202
    PTI MARKETING TECHNOLOGIES                                                    201 LOMAS SANTA FE DR 300                                                                               SOLANA BEACH            CA           92075
    PUB CLUB LEADS                                                                774 S PLACENTIA AVE                  STE 301                                                            PLACENTIA               CA           92870
    PUBLIC AFFAIRS INTERNATIONAL           ATTN KETAN SHAH                        11120 NEW HAMPSHIRE AVE 203                                                                             SIVER SPRING            MD           20904
    PUBLIC COMPANY ACCOUNTING OVERSIGHT
    BOARD                                                                         PO BOX 418631                                                                                           BOSTON                  MA           02241-8631
    PUBLIC RELATIONS SOCIETY OF AMERICA
    HAMPTON RDS CHAPTER                                                           1340 N GREAT NECK RD                 1272 119                                                           VIRGINIA BEACH          VA           23454
    PUBLIC STORAGE                                                                2275 N SEMORAN BL                                                                                       ORLANDO                 FL           32807
    PUBLIC STORAGE                                                                701 WESTERN AVE                                                                                         GLENDALE                CA           91201
    PUBLIC STORAGE                                                                710 SE 8TH AVE                                                                                          TOPEKA                  KS           66607-1806
    PUBLIC STORAGE INC                     C O PRESIDENT REAL ESTATE DIV          701 WESTERN AVE                                                                                         GLENDALE                CA           91201
    PUBLIC WORKS AND UTILLITIES                                                   PO BOX 2922                                                                                             WICHITA                 KS           67201-2922
    PUENTE HILLS SUBARU                                                           17801 E GALE AVE                                                                                        PUENTE HILLS            CA           91748
    PUGET SOUND ENERGY                                                            PO BOX 91269                                                                                            BELLEVUE                WA           98009-9269
    PUGET SOUND RETAIL LLC                                                        1402 E PIKE ST                                                                                          SEATTLE                 WA           98122
    PUNGO STRAWBERRY FESTIVAL                                                     PO BOX 6158                                                                                             VIRGINIA BEACH          VA           23456
    PURCHASE POWER                                                                PO BOX 371874                                                                                           PITTSBURGH              PA           15250-7874
    PURCHASE POWER 371874                                                         PO BOX 371874                                                                                           PITTSBURGH              PA           15250-7874
    PURCHASE POWER 856042                                                         PO BOX 856042                                                                                           LOUISVILLE              KY           40285-6042
    PURDY PROFESSIONAL SERVICES LLC        DBA PURDY FINANCIAL                    2809 ACKLEY AVE                                                                                         RICHMOND                VA           23228
    PURE MARKETING GROUP                                                          225 CURIE DR                         STE 1300                                                           ALPHARETTA              GA           30005
    PURE VU WINDOW CLEANING                                                       3020 ACADEMY DR                                                                                         WINDSOR                 ON           N9E 2H4      CANADA
    PUROCLEAN RESTORATION CLEANING                                                3729 MARTHA BERRY HWY                                                                                   ROME                    GA           30165
    PUROLATOR COURIER LTD                                                         PO BOX 1100                          ETOBICOKE POSTAL STATION A                                         ETOBICOKE               ON           M9C 5K2      CANADA
    PUROLATOR PO BOX 7006 DO NOT USE                                              PO BOX 7006                          31 ADELAIDE ST E                                                   TORONTO                 ON           M5C 3E2      CANADA
    PVA REALTY TRUST                                                              2100 SE RANCYH RD                                                                                       JUPITER                 FL           33478
    PYLES MARK                                                                    ADDRESS ON FILE
    PYP ENTERPRIESES INC                                                          13155 SW 134TH ST                    STE 215                                                            MIAMI                   FL           33186
    PYRAMID CABILING CONCEPTS INC                                                 26 SIERRA BLANCO                                                                                        FOOTHILL RANCH          CA           92610
    PYRAMID COMPANY OF BUFFALO             THE CLINTON EXCHANGE                   4 CLINTON SQUARE                                                                                        SYRACUSE                NY           13202
    Q PONZ INC                                                                    125 NASHDENE RD UNIT 1                                                                                  SCABOROUGH              ON           M1V 2W3      CANADA
    Q4 INC                                                                        469 A KING ST W                                                                                         TORONTO                 ON           M5V 1K4      CANADA
    QBKS CONSULTING LLC                    C O PETER SCHMIDT                      412 W CLINTON ST                                                                                        NEW BEDFORD             MA           02740
    QCORP LLC                                                                     1389 S LOS ALTOS DR                                                                                     CHANDLER                AZ           85286
    QKC MAUI MZB LLC                                                              275 W KAAHUMANU AVE STE 1200                                                                            KAHULUI                 HI           96732
    QQ LEADS LLC                                                                  1181 E SNELL RD                                                                                         ROCHESTER               MI           48306
    QS AND L INC                                                                  2499 NUMBER TEN LN                                                                                      CHESAPEAKE              VA           23323
    QSIGNS LLC                                                                    540 S OCOEE ST                                                                                          CLEVELAND               TN           37311
    QUAD CORP                                                                     PO BOX 6632                                                                                             VIRGINIA BEACH          VA           23456
    QUAD DIRECT                                                                   PO BOX 930505                                                                                           ATLANTA                 GA           31193
    QUAD LOGISTICS HOLDING LLC             DBA QUADEXPRESS                        N61 W23044 HARRYS WAY                                                                                   SUSSEX                  WI           53089
    QUADEXPRESS                                                                   PO BOX 644840                                                                                           PITTSBURGH              PA           15264-4840
    QUADIENT FINANCE USA INC               D B A NEOFUNDS TOTALFUNDS              PO BOX 6813                                                                                             CAROL STREAM            IL           60197-6813
    QUADIENT LEASING USA INC                                                      DEPT 3682                            PO BOX 123682                                                      DALLAS                  TX           75312-3682
    QUADIENT LEASING USA INC                                                      PO BOX 123682 DEPT 3682                                                                                 DALLAS                  TX           75312-3682
    QUAGGA                                                                        90 BLUE RAVINE RD STE 195                                                                               FOLSOM                  CA           95630
    QUALITY ENTERTAINMENT                                                         81 AURIGA DR UNIT 9                                                                                     OTTAWA                  ON           Y2E 7Y5      CANADA
    QUALITY FOODS OF ANDERSON REALTY LLC                                          PO BOX 549                                                                                              COMMERCE                GA           30529
    QUALITY PROCESS SERVICES INC                                                  PO BOX 61129                                                                                            VIRGINIA BEACH          VA           23466-1129
    QUALYS INC                                                                    1600 BRIDGE PKWY 2ND FL                                                                                 REDWOOD SHORES          CA           94065
    QUANTCAST CORPORATION                                                         PO BOX 204215                                                                                           DALLAS                  TX           75320-4215
    QUATRUS GROUP                                                                 3 CAPRICE CT                                                                                            KITCHENER               ON           N2M 5M2      CANADA
    QUATRUS GROUP THE FRANCHISE MALL                                              3 CAPRICE CT                                                                                            KITCHENER               ONTARIO      N2M 5M2      CANADA
    QUATTLEBAUM GROOMS TULL AND BURROWS
    PLLC                                                                          111 CTR ST                           STE 1900                                                           LITTLE ROCK             AR           72201
    QUE PASA                                                                      PO BOX 12876                                                                                            WINSTON SALEM           NC           27117
    QUEBRACHO PROPERTIES LLC                                                      151 S PIONEER DR                                                                                        ABILENE                 TX           79605
    QUEDITION INC                                                                 825 RENE LEVESQUE E                  STE 303                                                            MONTREAL                OC           H2L 0A1      CANADA
                                           DBA HAMPTON ROADS MOVING AND
    QUEENEY ENTERPRISES INC                STORAGE                                2006 NORTHGATE COMMERCE PKWY                                                                            SUFFOLK                 VA           23435
    QUEENS CENTER REIT LLC                 QUEENS CENTER SPE LLC                  PO BOX 849433                                                                                           LOS ANGELES             CA           90084-9413
    QUEST ASSOCIATES OF OHIO INC                                                  4771 GLENDALE MILFORD RD                                                                                CINCINNATI              OH           45242
    QUEST SOFTWARE INC                                                            4 POLARIS WAY                                                                                           ALISO VIEJO             CA           92656
    QUEST SOFTWARE INC                                                            PO BOX 731381                                                                                           DALLAS                  TX           75373-1381


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                        Name                                  Attention                        Address 1                               Address 2                           Address 3                      City        State          Zip          Country
    QUESTIONMARK CORPORATION                                                   535 CONNECTICUT AVE STE 100                                                                             NORWALK                   CT              06854
    QUICK AND EASY FUNDING LLC                                                 1800 NW COPORATE BLVD                STE 300                                                            BOCA RATON                FL              33431
    QUICK CAPITAL FUNDING LLC                                                  19800 MAC ARTHUR BLVD                STE 300 117                                                        IRVINE                    CA              92612
    QUICKFINDER                                                                36786 TREASURY CTR                                                                                      CHICAGO                   IL              60694-6700
    QUICKFINDER INC                                                            36786 TREASURY CTR                                                                                      CHICAGO                   IL              60694-6700
    QUICKSIE WQXE FM 983                                                       233 W DIXIE AVE                                                                                         ELIZABETHTOWN             KY              42701
    QUICKSILVER FUNDING                                                        10130 MALLARD CREED RD STE 300       DBA SILVER CONSULTANTS LLC                                         CHARLOTTE                 NC              28262
    QUICKSTRIKE CAPITAL INC                                                    2200 N FEDERAL HWY                   STE 221                                                            BOCA RATON                FL              33431
    QUIK LOANS                                                                 3520 17 AVE SE                                                                                          CALGARY                   AB              T2A 0R7      CANADA
    QUILL                                                                      PO BOX 94081                                                                                            PALATINE                  IL              60094-4081
    QUILL CORPORATION 37600                                                    PO BOX 37600                                                                                            PHILADELPHIA              PA              19101-0600
    QUIMBY ENTERPRISES                                                         PO BOX 287                                                                                              BUFFALO                   NY              14223-0287
    QUIMBY SIGNS INC                                                           PO BOX 287                                                                                              BUFFALO                   NY              14223-0287
    QUINN EMANUEL URQUHART OLIVER AND HEDGES
    LLP                                                                        865 S FIGERIA ST                     10TH FL                                                            LOS ANGELES               CA              90017
    QUINSTREET                                                                 PO BOX 49316                                                                                            SAN JOSE                  CA              95161-9316
    QUINSTREET INC                                                             QSPL DEPT LA 24814                                                                                      PASADENA                  CA              91185-4814
    QVC                                                                        PO BOX 1900                                                                                             WEST CHESTER              PA              19380
    QW EXPRESS PA                                                              PO BOX 644840                                                                                           PITTSBURGH                PA              15264
    QWEST COMMUNICATIONS 856169                BUSINESS SERVICES               PO BOX 856169                                                                                           LOUISVILLE                KY              40285-6169
    QWEST DEX DENVER MARKETING                 ACCOUNTS RECEIVABLE DEPT        DEPARTMENT 334                                                                                          DENVER                    CO              80271
    QWEST PHOENIX AZ 52187                                                     PO BOX 52187                                                                                            PHOENIX                   AZ              85072-2187
    QWEST SEATTLE                                                              PO BOX 12480                                                                                            SEATTLE                   WA              98111-4480
    QWEXPRESS                                                                  13158 COLLECTIONS CTR DR                                                                                CHICAGO                   IL              60693
    QWIK DELIVERIES                                                            299 4819 48 AVE                                                                                         RED DEER                  AB              T4N 3T2      CANADA
    R A HEALES AND ASSOCIATES                                                  8525 EDINBROOK CROSSING              STE 4                                                              MINNEAPOLIS               MN              55443
    R AND A CONTRACTING                                                        42 MILL LN                                                                                              BOWMANVILLE               ON              L1C 3K2      CANADA
    R AND B FURNITURE APPLIANCES                                               510 A W BANKHEAD                                                                                        NEW ALBANY                MS              38652
    R AND C GLASS SERVICE                                                      6 FORESTGROVE CIR                                                                                       BRAMPTON                  ON              L6Z 4T2      CANADA
    R AND D 110 LLC                                                            44 WOODGATE RD                                                                                          TONAWANDA                 NY              14150-8132
    R AND D STATE STREET LLC                                                   3804 HAWTHORN CT                                                                                        WAUKEGAN                  IL              60007
    R AND J PUBLIC RELATIONS INC                                               1140 ROUTE 22 E STE 200                                                                                 BRIDGEWATER               NJ              08807
    R AND L CARRIERS                                                           PO BOX 271                                                                                              WILMINGTON                OH              45177-0271
    R AND R ASSET                                                              922 AVE R                                                                                               BROOKLYN                  NY              11223
    R AND R SHREDDDING                                                         774 ORIBI DR                                                                                            CAMPBELL RIVER            BC              V9W 8B2      CANADA
    R AND R SMITH ENTERPRISES INC              DBA THE HANDYMAN COMPANY        1120 KAPP DR                                                                                            CLEARWATER                FL              33765
    R AND Z ENTERPRISES INC                    DBA PINS AND FRIENDS            1105 TWEEN HILLS FOREST TRAIL                                                                           BRISTOL                   TN              37620
    R BRANCH LLC                                                               7096 HOWARD ST STE B                                                                                    SPARTANBURG               SC              29303
    R CLINTON STACKHOUSE JR                    CHAPTER 13 TRUSTEE              PO BOX 79993                                                                                            BALTIMORE                 MD              21279-0993
    R E L ROOF SYSTEMS                                                         3708 MEADOWGLEN RD                                                                                      VIRGINIA BEACH            VA              23456
    R FISHER                                                                   950 4 ST SW                                                                                             DRUMHELLER                AB              T0J 0Y6      CANADA
    R MILLER AND ASSOCIATES LLC                                                PO BOX 40579                                                                                            ALBUQUERQUE               NM              87196
    R R DONNELLY RECEIVABLES                                                   PO BOX 905151                                                                                           CHARLOTTE                 NC              28290-5151
    R R ROBERTSON LLC                          DBA R3 INVESTIGATIONS           444 E SOUTHERN AVE                                                                                      TEMPE                     AZ              85282
    RA GRAHAM CONTRACTORS LTD                                                  14 170 W BEAVER CREEK RD                                                                                RICHMOND HILL             ON              L4B 1L6      CANADA
    RACHEL YAKUBOV DBA CREDIT LIFT LLC                                         8804 136TH ST                                                                                           RICHMOND HILL             NY              11418
    RACING TOWARD DIVERSITY                                                    PO BOX 2121                                                                                             CARY                      NC              27512
    RACING TOWARDS DIVERSITY MAGAZINE                                          PO BOX 2121                                                                                             CARY                      NC              27512
    RADIAN6 TECHNOLOGIES                                                       30 KNOWLEDGE PARK DR                 2ND FL                                                             FREDERICTON               NEW BRUNSWICK   E3C 2R2      CANADA
    RADIO MEDFORD                                                              1438 ROSSANLEY DR                                                                                       MEDFORD                   OR              97501
    RADIO ONE                                                                  PO BOX 641397                                                                                           CINCINNATI                OH              45264-1397
    RADIO ONE INC                                                              717 E DAVID RD                                                                                          DAYTON                    OH              45429
    RADIO ONE INC WFXC K                                                       PO BOX 402618                                                                                           ATLANTA                   GA              30384-2618
    RADIO ONE INC WQOK FM                                                      PO BOX 402618                                                                                           ATLANTA                   GA              30384-2618
    RADIO ONE INDIANAPOLIS                                                     WHHH FM                              21 E ST JOSEPH ST                                                  INDIANAPOLIS              IN              46204
    RADIO ONE OF TEXAS LP                                                      PO BOX 847339                                                                                           DALLAS                    TX              75284
    RADIO ONE RICHMOND                                                         PO BOX 402019                                                                                           ATLANTA                   GA              30384-2019
    RADIO SERVICES                                                             3501 ALGONQUIN RD 358                                                                                   ROLLING MEADOWS           IL              60008
    RADISSON HOTEL AND SUITES FALLSVIEW                                        6733 FALLSVIEW BLVD                                                                                     NIAGARA FALLS             ON              L2G 3W7      CANADA
    RADISSON HOTEL NORFOLK                                                     700 MONTICELLO AVE                                                                                      NORFOLK                   VA              23510
    RADIUS INTELLIGENCE INC                                                    353 SACRAMENTO ST                    STE 2000                                                           SAN FRANCISCO             CA              94111
    RADLYN MENDOZA ESQ                                                         ADDRESS ON FILE
    RAGAN COMMUNICATIONS INC                                                   PO BOX 5970                                                                                             CAROL STREAM              IL              60197
    RAHARNEY CAPITAL LLC                       ATTN SEAN MURRAY                325 GOLD ST                          STE 502                                                            BROOKLYN                  NY              11201
    RAHIMI A FARID                                                             ADDRESS ON FILE
    RAINBOW CINEMA MAGIC LANTERN THEATRES                                      320 20 ST W                                                                                             SASKATOON                 SK              S7M 0X2      CANADA
    RAINBOW NEAR AND PLASTIC SIGNS LTD                                         1451 STAR TOP RD                                                                                        OTTAWA                    ON              K1B 3S5      CANADA
    RAINBOW SIGN MANUFACTURING INC                                             132 RIVALDA RD                                                                                          TORONTO                   ON              M9M 2M8      CANADA
    RAINER AND LLOYD LLC DBA FAST ADVANCE
    FUNDING                                                                    22 N 3RD ST                                                                                             PHILADELPHIA              PA              19106
    RAINSTAR CAPITAL GROUP LLC                                                 PO BOX 140991                                                                                           GRAND RAPIDS              MI              45914
    RAJESH SAPKOTA                                                             ADDRESS ON FILE
    RAJIV EMMANUWEL                                                            ADDRESS ON FILE
    RALIS SERVICES                                                             ONE CITY BLVD W                      STE 1900                                                           ORANGE                    CA              92868
    RALLKA LLC                                                                 13170 B CENTRAL AVE SE               PMB 157                                                            ALBUQUERQUE               NM              87123
    RALLS SUSAN                                                                ADDRESS ON FILE
    RALPH AND SONS PEST CONTROL DO NOT USE                                     3908 TIMBERHILL PL                                                                                      VIRGINIA BEACH            VA              23452
    RALPH D GENUA JR                                                           ADDRESS ON FILE
    RALPH ROSENBERG COURT REPORTERS INC                                        1001 BISHOP ST STE 2460                                                                                 HONOLULU                  HI
    RALSTON PLAZA SHOPPING CENTER LLC          C O MC COMMERCIAL REAL ESTATE   1355 S COLORADO BLVD STE C 402                                                                          DENVER                    CO              80222
    RAM ATTORNEY INVESTIGATIONS                                                3807 W SIERRA HWY                    6 4484                                                             ACTON                     CA              93510
    RAM CLEANING SERVICES                                                      1 3611 27TH ST NE                                                                                       CALGARY                   AB              T1Y 5E4      CANADA
    RAM PRIVATE PROCESS SERVERS LLC                                            225 E ELMIRA                                                                                            SAN ANTONIO               TX              78212
    RAMADA INN AT NAGS HEAD BEACH                                              1701 S VA DARE TRPO BOX 2716                                                                            KILL DEVIL HILLS          NC              27948
    RAMAN GROVER                                                               ADDRESS ON FILE
    RAMBONE DISPOSAL SVC INC                                                   2153 REAR PLAINFIELD PIKE                                                                               JOHNSTON                  RI              02919
    RAMESES SHRINE CIRCUS                                                      3100 KEELE ST                                                                                           TORONTO                   ON              M3M 2H4      CANADA
    RAMESH KRISHNAN                                                            ADDRESS ON FILE
    RAMIREZ VERONICA                                                           ADDRESS ON FILE


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    RAMUNDO MICHAEL                                                                 ADDRESS ON FILE
    RAN VENTURE GROUP DBA RAN FUNDING                                               1940 HARRISON ST                      STE 202                                                            HOLLYWOOD                FL           33020
    RANA OMAR SHOMAN DBA AUTO TITLE
    REGISTRATION OL 87245                                                           615 W ARROW HWY                                                                                          GLENDORA                 CA           91740
    RANCHO REALTY 1975 LTD                      CMMERCIAL DIVISION                  C O DEER VALLEY SHOPPING CENTR        9 1221 CANYON MEADOWS DR                                           CALGARY                  ALBERTA      T2J 6G3      CANADA
                                                DBA WADDINGHAM FAMILY REVOCABLE
    RAND E WADDINGHAM TRUSTEE                   LIVING TRUST                        1564 NE 501                                                                                              ANDREWS                  TX           79714
    RANDALL FABER                                                                   ADDRESS ON FILE
    RANDALL HAMILTON                                                                ADDRESS ON FILE
    RANDALL MATHEW MILLER                                                           ADDRESS ON FILE
    RANDALL PARK RENTALS LLC                                                        222 N ST                                                                                                 MADISON                  WI           53704
    RANDOLPH SCOTT                                                                  ADDRESS ON FILE
    RANDOLPH THOMAS GONZALES JR DBA RANDY
    GONZALES JR AND COMPANIES L                                                     600 W BROADWAY                        STE 700                                                            SAN DIEGO                CA           92101
    RANDOM HOUSE INC                                                                DEPT 0919                             PO BOX 120001                                                      DALLAS                   TX           75312-0919
    RANDSTAD                                                                        PO BOX 2084                                                                                              CAROL STREAM             IL           60132-2084
    RANDSTAD NORTH AMERICA INC                  DBA RANDSTAD PROFESSIONALS USLLC    PO BOX 847872                                                                                            DALLAS                   TX           75284-7872
    RANDSTAD TECHNOLOGIES                                                           3625 CUMBERLAND BLVD                                                                                     ATLANTA                  GA           30339
    RANDY GUBA                                                                      ADDRESS ON FILE
    RANDY JOWERS DBA JOWERS SING CO                                                 411 HAZELWOOD RD                                                                                         MARTIN                   TN           38237
    RANDY PETERSON                                                                  ADDRESS ON FILE
    RANFURLY DEVELOPMENTS INC                   C O GREGORY SHARER AND STUART PA    100 SECOND AVE S STE 600                                                                                 ST PETERSBURG            FL           33701
    RANTS BALLROOM                                                                  3912 VIRGINIA BEACH BLVD STE 102                                                                         VIRGINIA BEACH           VA           23452
    RAPID CITY JOURNAL AND BLACK HILLS WEEKLY
    GROUP                                                                           PO BOX 742548                                                                                            CINCINNATI               OH           45274-2548
    RAPID CITY PROFESSIONAL HOCKEY LLC                                              444 MOUNT RUSHMORE RD N                                                                                  RAPID CITY               SD           57701
    RAPIDES PARISH SALES AND USE TAX
    DEPARTMENT                                                                      5606 COLISEUM BLVD                                                                                       ALEXANDRIA               LA           71303
    RAPIDES PARISH SHERIFFS OFFICE                                                  PO BOX 1590                                                                                              ALEXANDRIA               LA           71309-1590
    RAPIDSCALE INC                                                                  PO BOX 92126                                                                                             LAS VEGAS                NV           89193-2126
    RAQUEL T PEREZ LOPEZ                                                            ADDRESS ON FILE
    RASSIER PROPERTIES GREENLAWN CROSSING
    ILLC                                                                            321 HARTZ AVE                         STE 7                                                              DANVILLE                 CA           94526
    RASTCO LLC                                                                      291 S LA CIENEGA BLVD                 STE 311                                                            BEVERLY HILLS            CA           90211
    RATNER AND PRESTIA PC                                                           PO BOX 980                            STE 301 ONE WESTLAKES BERWYN                                       VALLEY FORGE             PA           19482-0980
    RATTANDEEP SINGH                                                                ADDRESS ON FILE
    RAUL CRUZ MEDRANO                                                               ADDRESS ON FILE
    RAVENELL KAREN                                                                  ADDRESS ON FILE
    RAVING FANS INC                                                                 22232 HAZEL CREST                                                                                        MISSION VIEJO            CA           92692
    RAWLCO RADIO LTD                                                                715 SASKATCHEW CRESCENT W                                                                                SASKATOON                SK           S7M 5V7      CANADA
    RAWLCO TRANSIT                                                                  210 2401 SASKATCHEWAN DR                                                                                 REGINIA                  SK           S4P 4H8      CANADA
    RAY ABEL RENTALS                                                                415 N DIXIE AVE                                                                                          COOKEVILLE               TN           38501
    RAY MAAGERO                                                                     ADDRESS ON FILE
    RAY MORIER RAYNOVATIONS                                                         1844 OAKWOOD RD                                                                                          INNISFIL                 ON           L9S 2W1      CANADA
    RAY STONE INC                                                                   550 HOWE AVE 200                                                                                         SACRAMENTO               CA           95825
    RAYFORD SELENA A                                                                ADDRESS ON FILE
    RAYL INVESTMENTS LLC                                                            4901 W 136TH ST                       DBA EXECUTIVE SUITES AND SERVICES                                  LEAWOOD                  KS           66224
    RAYMOND A DUNN II                                                               ADDRESS ON FILE
    RAYMOND BEASLEY                                                                 ADDRESS ON FILE
    RAYMOND C WIESE                                                                 ADDRESS ON FILE
    RAYMOND D NATIONS                                                               459 MARTHA LEE DR                                                                                        HAMPTON                  VA           23666
    RAYMOND JAMES AND ASSOCIATES INC                                                880 CARILLON PKWY                                                                                        ST PETERSBURG            FL           33716
    RAYMOND JAMES AND ASSOCIATESINC                                                 880 CARILLON PKWY                     PO BOX 12749                                                       ST PETERSBURG            FL           33733-2749
    RAYNE PLASTIC SIGNS INC                                                         813 S ADAMS AVE                                                                                          RAYNE                    LA           70578
    RAYNER ELECTRIC INC                                                             112 W ASH ST                                                                                             PIQUA                    OH           45356
    RAYNOVATIONS                                                                    1844 OAKWOOD RD                                                                                          INNISFIL                 ON           L9S 2W1      CANADA
    RAYSACK HOLDING LLC                                                             25 S RAYMOND AVE                      STE 319                                                            ALHAMBRA                 CA           91801
    RAZ ENT LLC                                 ATTN ROYA ARJMANDZADEH              PO BOX 1625                                                                                              LOWEL                    AR           72745
    RB LEASING                                                                      289 N BOGEY CIR                                                                                          NORTH SALT LAKE          UT           84054
    RB LEASING INC                                                                  1 GATEWAY BLVD                        STE 201                                                            BRAMPTON                 ONTARIO      L6T 0G3      CANADA
    RBC                                         SWAYAMBHU SAM MUKHERJEE             2 BLOOR ST E 2ND FL                                                                                      TORONTO                  ON           M4W 1A8      CANADA
    RBC BANK                                                                        131 N CHURCH ST                                                                                          ROCKY MOUNT              NC           27803
    RBC CENTURA                                                                     PO BOX 6057                                                                                              ROCKY MOUNT              NC           27802-6057
    RBC ROYAL BANK                                                                  CREDIT CARD PAYMENT CENTRE            PO BOX 4016 STATION A                                              TORONTO                  ON           M5W 2E6      CANADA
    RBM FUNDING SOLUTIONS LLC                                                       83 30 PARSONS BLVD                    2ND FL                                                             JAMAICA                  NY           11432
    RBS CITIZENS NA                                                                 8614 WESTWOOD CTR DR                  STE 250                                                            VIENNA                   VA           22182
    RBS INC                                                                         PO BOX 50803                                                                                             MIDLAND                  TX           79710-0803
    RC CAPITAL SOLUTIONS LLC                                                        655 NE TRIESTE LN                                                                                        BOCA RATON               FL           33932
    RC FLOORING AND GRANITE                                                         3031 QUEBEC ST                        STE 120                                                            DALLAS                   TX           75247
    RCAP LEASING                                ATTN PORTFOLIO ADMINISTRATION       5575 N SERVICE RD STE 200                                                                                BURLINGTON               ON           L7L 6M1      CANADA
    RCC SHOPPES AT WEST MARKET LLC              C O HACKNEY REAL ESTATE SERVICES    PO BOX 17710                                                                                             RICHMOND                 VA           23226
    RCE PROPERTIES                                                                  714 CORPORATION ST                                                                                       ABERDEEN                 SD           57401
    RCG VENTURES III LP DO NOT USE              DBA RCG CARROLLTON LLC              3060 PEACHTREE RD NW STE 400                                                                             ATLANTA                  GA           30305
    RCL FINANCE INC                                                                 715 W ABRAM ST                                                                                           ARLINGTON                TX           76013
    RCN                                                                             PO BOX 11816                                                                                             NEWARK                   NJ           07101-8116
    RCP GROUP LLC                                                                   5427 CTR POINT RD NE                                                                                     CEDAR RAPIDS             IA           52402
    RDP REEL PROPERTIES                                                             500 S GRANDSTAFF DR STE A                                                                                AUBURN                   IN           46706
    RE MAX CHATHAM KENT REALTY INC                                                  171 KEIL DR S STE 6                                                                                      CHATHAM                  ON           N7M 3H3      CANADA
    RE MAX ORILLIA 1996 LTD BROKERAGE                                               97 NEYWASH ST AT FRONT                PO BOX 2118                                                        ORILLIA                  ON           L3V 6R9      CANADA
    RE RE COME INC                              DBA NEW YORT CONSTRUCTION           160 PEMBROKE ST                                                                                          BROOKLYN                 NY           11235
    RE TAX LLC                                                                      3462 JUNCTION BLVD                                                                                       JACKSON HEIGHTS          NY           11372
    REACH FOUNDATION INC                                                            809 BRANDON AVE STE 208                                                                                  NORFOLK                  VA           23517
    REACH MARKETING LLC                                                             2 BLUE HILL PLZ                       CONCOURSE BOX 1526                                                 PEARL RIVER              NY           10965
    REACT MOBILE SIGN RENTALS INC                                                   PO BOX 31061                          RPO ARLINGTON                                                      WINNIPEG                 MB           R3E 3N1      CANADA
                                                A DIVISION OF NESTLE WATERS NORTH
    READYREFRESH BY NESTLE                      AMERICA INC                         PO BOX 856192                                                                                            LOUISVILLE               KY           40285-6192
    REAL CARE PROPERTIES                                                            419 W 49TH ST 106                                                                                        HIALEAH                  FL           33012
    REAL ESTATE ASSOCIATES                                                          PO BOX 52328                                                                                             DURHAM                   NC           27717
    REAL ESTATE INVESTMENTS INC                                                     261 E LIVINGSTON AVE                  STE A                                                              COLUMBUS                 OH           43215-5748


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    REAL ESTATE R US INC                       C O LANDMARK PROPERTIES         324 MAIN ST                                                                                              DAVENPORT                IA           52801
    REAL GREENWOOD                                                             115 ELGIN ST W                        PO BOX 1173                                                        ALEXANDRIA               ON           K0C 1A0      CANADA
    REAL IT CARE LLC                                                           136 CATAWISSA AVE                     PO BOX 3573                                                        WILLIAMSPORT             PA           17701
    REALNET AMERICAN WAY ACQUISTIONS LLC       C O MAKOWSKY RINGEL GREENBERG   PO BOX 241990                                                                                            MEMPHIS                  TN           38124
    REALSTAR REALTORS LLC                                                      3959 ELECTRIC RD STE 100                                                                                 ROANOKE                  VA           24018
    REB ENTERPRISES IV LLC                                                     PO BOX 1666                                                                                              SHINGLE SPRINGS          CA           95682
    REBECA TORRES                                                              ADDRESS ON FILE
    REBECCA DOE                                                                ADDRESS ON FILE
    REBECCA M LEE                                                              ADDRESS ON FILE
    RECARDO WILKERSON DBA NEXT LEVEL CAPITAL
    SOLUTIONS                                                                  3728 PEACHTREE DUNWOODY RD NE                                                                            ATLANTA                  GA           30342
    RECEIVABLE MANAGEMENT SERVICES                                             91 SKYWAY AVE                         STE 105                                                            TORONTO                  ON           M9W 0B2      CANADA
    RECEIVER GENERAL                                                           1050 NOTREDAME AVE                                                                                       SUDBURY                  ON           P3A 5C2      CANADA
    RECEIVER GENERAL                                                           TAX CENTRE                            275 POPE RD STE 103                                                SUMMERSIDE               PE           C1W 6A2      CANADA
    RECEIVER GENERAL                           CANADA REVENUE AGENCY           875 HERON RD                                                                                             OTTAWA                   ON           K1A 1B1      CANADA
                                                                               OTTAWA TECHNOLOGY CTR ALLOCATION      875 HERON RD 5TH FL ATTN GAETAN
    RECEIVER GENERAL OTTAWA                                                    UNIT                                  GOSSELIN                                                           OTTAWA                   ON           K1A 1B1      CANADA
    RECOLOGY VALLEJO                                                           2021 BROADWAY                                                                                            VALLEJO                  CA           94589
    RECORD THE                                 ATTN CIRCULATION                PO BOX 900                                                                                               STOCKTON                 CA           95201
    RECORDER OF MORTGAGES                                                      PARISH OF ACADIA
    RECRUIT MILITARY                                                           422 W LOVELAND AVE                                                                                       LOVELAND                 OH           45140
    RECYCLE SERVICES NORTHWEST DBA BIG HAUL
    JUNK BUSTERS                                                               13914 250TH AVE SE                                                                                       MONROE                   WA           98272
    RED DOOR CAPITAL GROUP                                                     1002B S CHURCH AVE                    UNIT 10942                                                         TAMPA                    FL           33679
    RED LOCK LLC DAVID WINIARCZYK              DBA LIBERTY TAX SERVICE         2258 BUCKINGHAM CT                                                                                       HENDERSON                NV           89074
    RED RIVER BROADCAST GROUP                                                  PO BOX 9115                                                                                              FARGO                    ND           58106
                                               C O BIRTCHER ANDERSON REALTY
    RED ROCK SHOPPING CENTER LLC               MANAGEMENT INC                  6655 W SAHARA AVE STE B200                                                                               LAS VEGAS                NV           89146
    RED ROOF 610 TROUTVILLE                                                    3231 LEE HWY S                                                                                           TROUTVILLE               VA           24175
    RED ROOF INN 220                                                           24903 I 45 N                                                                                             SPRING                   TX           77380
    RED ROOF INN 506                                                           32000 US HWY 19 N                                                                                        PALM HARBOR              FL           34684
    RED ROOF INN 511 BRUNSWICK GA                                              121 TOURIST DR                                                                                           BRUNSWICK                GA           31520
    RED ROOF INN 547 LINCOLN NE                                                6501 N 28TH ST                                                                                           LINCOLN                  NE           68504
    RED ROOF INN 570 WILLIAMSPORT MD                                           310 E POTOMAC ST                                                                                         WILLIAMSPORT             MD           21795
    RED ROOF INN 584 FAYETTEVILLE AR                                           1000 S FUTRALL DR                                                                                        FAYETTEVILLE             AR           72701
    RED ROOF INN 593                                                           157 EISENHOWER DR                                                                                        COMMERCE                 GA           30529
    RED ROOF INN 628 DOVER DE                                                  652 N DUPONT HWY                                                                                         DOVER                    DE           19901
    RED ROOF INN 629 MISHAWKA IN                                               1325 E UNIVERSITY DR CT                                                                                  GRANGER                  IN           46530
    RED ROOF INN 636 PHOENIX AZ                                                502 W CAMELBACK RD                                                                                       PHOENIX                  AZ           85013
    RED ROOF INN ALBUQUERQUE                                                   603 ALBUQUERQUE AIRPORT               2601 MULBERRY SE                                                   ALBUQUERQUE              NM           87106
    RED ROOF INN AND SUITES NO 569                                             200 SIXTH ST                                                                                             CORALVILLE               IA           52241
    RED ROOF INN AT UNIVERSAL STUD                                             5621 MAJOR BLVD                                                                                          ORLANDO                  FL           32819
    RED ROOF INN BEDFORD HEIGHTS                                               24801 ROCKSIDE RD                                                                                        BEDFORD HEIGHTS          OH
    RED ROOF INN BUENA PARK                                                    7121 BEACH BLVD                                                                                          BUENA PARK               CA           90620
    RED ROOF INN BUENA PARK CA                                                 7121 BEACH BLVD                                                                                          BUENA PARK               CA           90620
    RED ROOF INN BURLINGTON NC                                                 2133 W HARTFORD RD                                                                                       BURLINGTON               NC           27215
    RED ROOF INN CEDAR RAPIDS IA                                               1220 PARK PL NE                                                                                          CEDAR RAPIDS             IA           52402
    RED ROOF INN CLARKSVILLE                                                   197 HOLIDAY DR                                                                                           CLARKSVILLE              TN           37040
    RED ROOF INN CORPUS CHRISTI TX                                             6805 S PADRE ISLAND DR                                                                                   CORPUS CHRISTI           TX           78412
    RED ROOF INN DALLAS 849800                                                 PO BOX 849800                                                                                            DALLAS                   TX           75284-9800
    RED ROOF INN DENVER CO                                                     6890 TOWER RD                                                                                            DENVER                   CO           80249
    RED ROOF INN FAYETTEVILLE NC                                               1569 JIM JOHNSON RD                                                                                      FAYETTEVILLE             NC           28301
    RED ROOF INN FLORENCE KY                                                   7454 TURFWAY RD                                                                                          FLORENCE                 KY           41042
    RED ROOF INN FRESNO                                                        6730 N BLACKSTONE                                                                                        FRESNO                   CA           93710
    RED ROOF INN GA 30341                                                      2822 CHAMBLEE TUCKER RD                                                                                  ATLANTA                  GA           30341
    RED ROOF INN HUNTERSVILLE NC                                               13830 STATESVILLE RD                                                                                     HUNTERSVILLE             NC           28078
    RED ROOF INN INDIANAPOLIS IN                                               2631 S LYNHURST DR                                                                                       INDIANAPOLIS             IN           46241
    RED ROOF INN NLITTLE ROCK AR                                               5711 PRITCHARD DR                                                                                        N LITTLE ROCK            AR           72117
    RED ROOF INN RALEIGH NC                                                    3201 WAKE FOREST                                                                                         RALEIGH                  NC           27609
    RED ROOF INN RICHMOND VA                                                   5701 CHAMBERLAYNE RD                                                                                     RICHMOND                 VA           23227
    RED ROOF INN SAVANNAH GATEWAY                                              405 AL HENDERSON BLVD                                                                                    SAVANNAH                 GA           31419
    RED ROOF INN SEATTLE WA                                                    12430 68TH AVE NE                                                                                        KIRKLAND                 WA           98034
    RED ROOF INN SOUTH UNIVERSITY                                              3505 S STATE ST                                                                                          ANN ARBOR                MI           48108
    RED ROOF INN STOCKBRIDGE GA                                                637 HWY 138                                                                                              STOCKBRIDGE              GA           30281
    RED ROOF INN TROY IL                                                       2030 FORMOSA RD                                                                                          TROY                     IL           62294
    RED ROOF INN WEST MEMPHIS AR                                               1401 N INGRAM                                                                                            WEST MEMPHIS             AR           72301
    RED ROOF INNS 219 HOUSTON                                                  9005 AIRPORT BLVD                                                                                        HOUSTON                  TX           77061
    RED ROOF INNS 46530 GRANGER                                                1325 E UNIVERSITY DR CT                                                                                  GRANGER                  IN           46530
    RED ROOF INNS 520 SACRAMENTO                                               3796 NORTHGATE BLVD                                                                                      SACRAMENTO               CA           95834
    RED ROOF INNS 576 DES MOINES IA                                            4950 NE 14 ST                                                                                            DES MOINES               IA           50313
    RED ROOF INNS 579 MUSIC VALLEY                                             5460 MUSIC VALLEY DV STE 118                                                                             NASHVILLE                TN           37214
    RED ROOF INNS 93967                                                        LOCKBOX ADDRESS                       PO BOX 93967                                                       CHICAGO                  IL           60673-3967
    RED ROOF INNS ATLANTA AIRPORT NORTH                                        1200 VIRGINIA AVE                                                                                        ATLANTA                  GA           30344
    RED ROOF INNS AUSTIN                                                       8210 INTERREGIONAL HWY 35                                                                                AUSTIN                   TX           78753
    RED ROOF INNS CARROLLTON TX                                                1720 S BROADWAY                                                                                          CARROLLTON               TX           75006
    RED ROOF INNS CHATTANOOGA TN                                               RRI 509                               6521 RINGGOLD RD                                                   CHATTANOOGA              TN           37412
    RED ROOF INNS FRESNO CA 93722                                              5021 N BARCUS AVE                                                                                        FRESNO                   CA           93722
    RED ROOF INNS GARDEN GROVE                                                 12625 HARBOR BLVD                                                                                        GARDEN GROVE             CA           92840
    RED ROOF INNS HOUSTON TX                                                   15701 PARK TEN PL                                                                                        HOUSTON                  TX           77084
    RED ROOF INNS LINCOLN NE                                                   6501 N 28TH ST                                                                                           LINCOLN                  NE           68504
    RED ROOF INNS MOBILE                                                       5450 COCA COLA RD                                                                                        MOBILE SOUTH             AL           36619
    RED ROOF INNS OKLAHOMA                                                     309 S MERIDIAN AVE                                                                                       OKLAHOMA CITY            OK           73108
    RED ROOF INNS PLANO TX                                                     301 RUISSEAU DR                                                                                          PLANO                    TX           75023
    RED ROOF INNS SOUTHAVEN MS                                                 8734 HAMILTON RD                                                                                         SOUTHAVEN                MS           38671
    RED ROOF INNS SOUTHERN CA                                                  12625 HARBOR BLVD                                                                                        GARDEN GROVE             CA           92840
    RED ROOF INNS STOCKTON                                                     RRI 521 STOCKTON                      2654 W MARCH LN                                                    STOCKTON                 CA           95207
    RED ROOF INNS WOODLAND HILLS                                               20157 VENTURA BLVD                                                                                       WOODLAND HILLS           CA           91364
    RED SKYE WIRELESS LLC                                                      11754 WESTLINE INDUSTRIAL DR                                                                             ST LOUIS                 MO           63146



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    RED WING OFFICE ENVIRONMENTS AND SERVICES                                        BOX 65 SITE 1 RR1                                                                                          DEWINTON                AB           T0L 0X0      CANADA
    RED ZEBRA BROADCASTING                    ATTN JACK KOTARIDES                    545 S BIRDNECK RD                                                                                          VIRGINIA BEACH          VA           23451
    RED ZEBRA BROADCASTING LLC                                                       8121 GEORGIA AVE STE 1050                                                                                  SILVER SPRINGS          MD           20910
    REDBACK DECALS                                                                   12824 141 ST                                                                                               EDMONTON                AB           T5L 4N8      CANADA
    REDCLIF REALTY MANAGEMENT INC                                                    600 234 DONALD ST                                                                                          WINNIPEG                MB           R3C 1M8      CANADA
    REDGATE SOFTWARE                                                                 PO BOX 845066                                                                                              BOSTON                  MA           02284-5066
    REDSTONE ADVERTISING                                                             25180 N ALMA SCHOOL PKWY                103 223                                                            SCOTTSDALE              AZ           85262
    REDSTONE FCU                                                                     220 WYNN DR                                                                                                HUNTSVILLE              AL           35893
    REDSTONE INVESTMENT GROUP LLC                                                    7701 MAJESTIC WAY                                                                                          ROCKVILLE               MD           20855
    REDWOOD FIRE AND CASUALTY INSUR CO        ATTN ACCOUNTING DEPT                   525 MARKET ST STE 3110                                                                                     SAN FRANCISCO           CA           94105
    REDWOOD FIRE AND CASUALTY INSURANCE
    COMPANY                                                                          1314 DOUGLAS ST                                                                                            OMAHA                   NE           68102
    REDWOOD GROWTH CAPITAL LLC                                                       500 7TH AVE 8TH FL                                                                                         NEW YORK                NY           10018
    REDWOOD PLAZA INVESTMENTS LP                                                     7700 COLLEGE TOWN DR                    STE 118                                                            SACRAMENTO              CA           95826
    REED JEROME                                                                      ADDRESS ON FILE
    REED SMITH LLP                                                                   2672 PAYSPHERE CIR                                                                                         CHICAGO                 IL           60674
    REELIO INC                                                                       41 ELIZABETH ST STE 701                                                                                    NEW YORK                NY           10013
    REFE MICHAEL                                                                     ADDRESS ON FILE
    REFINITIV US LLC                          FKA THOMSON REUTERS MARKETS LLC        PO BOX 415983                                                                                              BOSTON                  MA           02241-5983
    REFUSE SPECIALISTS LLC                                                           15030 VENTURA BLVD                      STE 395                                                            SHERMAN OAKS            CA           91403
    REGAL CASH GROUP INC                                                             2474 MCDONALD AVE                                                                                          BROOKLYN                NY           11229
    REGAL ELECTRIC 2003 LTD                                                          479 HOCHELAGA ST W                                                                                         MOOSE JAW               SK           S6H 2G8      CANADA
    REGAL FLOORS INC                                                                 4873 SULLIVANT AVE                                                                                         COLUMBUS                OH           43228
    REGAL TOURS INC                                                                  3114 KELLEY CHAPEL RD                                                                                      DECATUR                 GA           30034
    REGAN STRAND                                                                     9600 PARK DR                                                                                               FORT WORTH              TX           76179
    REGENCY CENTERS LP                                                               PO BOX 532955                           C O REGENCY CENTERS LP                                             ATLANTA                 GA           30353
    REGENCY CENTERS LP                        DBA EQUITY ONE FLORIDA PORTFOLIO LLC   PO BOX 740462                                                                                              ATLANTA                 GA           30374-0462
                                              DBA FL NAPLES WALK SHOPPING CENTER
    REGENCY CENTERS LP                        LLC                                    PO BOX 534495                                                                                              ATLANTA                 GA           30353-4495
    REGENT BROADCASTING OF ST CLOUD                                                  SDS 12 2375                             PO BOX 86                                                          MINNEAPOLIS             MN           55486-2375
    REGENT COMMUNICATIONS                                                            14 LAFAYETTE SQUARE STE 1200                                                                               BUFFALO                 NY           14203
    REGENT COMMUNICATIONS                                                            600 MAIN ST                                                                                                WINDSOR                 CO           80550
    REGENT COMMUNICATIONS                                                            WGNA FM                                 PO BOX 643244                                                      CINCINNATI              OH           45264-3244
    REGENT LAW OFFICE OF CAREER AND ALUMNI
    SERVICES                                                                         RH 247                                                                                                     VIRGINIA BEACH          VA           23464
    REGENT UNIVERSITY                                                                1000 REGENT UNIVERSITY DR                                                                                  VIRGINIA BEACH          VA           23464-9800
    REGINA FOOD BANK                                                                 445 WINNIPEG ST                                                                                            REGINA                  SK           S4R 8P2      CANADA
    REGIONAL CABLE NETWORK                                                           1000 WILLOW CIR                                                                                            HAGERSTOWN              MD           21740
    REGIONAL DEVELOPMENT PARTNER MCKNIGHT
    SEIBERT LP                                                                       600 GRANT ST STE 4800                   US STEEL TOWER                                                     PITTSBURGH              PA           15219
    REGIONAL DEVELOPMENT PARTNERS MCKNIGHT
    ROAD LP                                                                          5544 DARLINGTON RD                                                                                         PITTSBURGH              PA           15217
    REGIONAL FOOD BANK OF OKLAHOMA INC                                               3355 S PURDUE AVE                                                                                          OKLAHOMA CITY           OK           73179
    REGIONAL INCOME TAX AGENCY                                                       PO BOX 94951                                                                                               CLEVELAND               OH           44101-4951
    REGIONAL MAPLE LEAF COMMUNICATIONS INC                                           10213 111 ST NW                                                                                            EDMONTON                AB           T5K 2V6      CANADA
    REGIONS                                                                          CINDY FORRESTER                         3700 GLENWOOD AVE STE 100                                          RALEIGH                 NC           27612
    REGISTER TAPE NETWORK                                                            PO BOX 204277                                                                                              DALLAS                  TX           75320-4277
    REGISTER TAPE NETWORK                                                            PO BOX 5990                                                                                                VALENCIA                CA           91385-5990
    REGISTERED AGENT SOLUTIONS INC                                                   1701 DIRECTORS BLVD STE 300                                                                                AUSTIN                  TX           78744-1044
    REGISTERED AGENT SOLUTIONS INC                                                   515 CONGRESS AVE                        STE 2300                                                           AUSTIN                  TX           78701
    REGUS                                                                            2850 HORIZON RIDGE PKWY                 STE 200                                                            HENDERSON               NV           89052
    REGUS MANAGEMENT GROUP LLC                                                       PO BOX 842456                                                                                              DALLAS                  TX           75284
    REHHAN C MERZOUG S DBA PRIME CAPITAL                                             2700 DORR AVE 716                                                                                          FAIRFAX                 VA           22031
    REICH LAW FIRM                                                                   801 MAIN ST                                                                                                ADEL                    IA           50003
    REICHARDT ALEX                            DESIGN AND RENDERING SVCS              5521 WHIRLWAY RD                                                                                           VIRGINIA BEACH          VA           23462
    REID PROPERTY MANAGEMENT LLC                                                     9564 SILVERDALE WAY NW 200                                                                                 SILVERDALE              WA           98383
    REIL CAPITAL LLC                                                                 252 W 37TH ST                           STE 1204                                                           NEW YORK                NY           10018
    REILLY KEVIN                                                                     ADDRESS ON FILE
    REIN INC                                  BILLING DEPARTMENT                     4575 BONNEY RD                                                                                             VIRGINIA BEACH          VA           23462
    REK TRAVEL CHICAGO CHARTER EXPRESS                                               5362 W LAWRENCE UNIT CW                                                                                    CHICAGO                 IL           60630
    RELIABLE BUSINESS COMMUNICATIONS INC                                             808 SANDOVAL DR                                                                                            VIRGINIA BEACH          VA           23454
    RELIABLE DISTRIBUTION NETWORK                                                    25 BOXWOOD LN                                                                                              CHEEKTONWAGA            NY           14227
    RELIANCE FIELD SERVICES                                                          9971 BIRD RD                                                                                               MIAMI                   FL           33165
    RELIANCE HOME COMFORT                                                            PAYMENT PROCESSING CENTRE               PO BOX 4504 STATION A                      25 THE ESPLANADE        TORONTO                 ON           MSW 4J8      CANADA
    RELIANCE PROTECTRON INC                                                          8481 LANGELIER                                                                                             MONTREAL                QC           H1P 2C3      CANADA
    RELIANCE STAFFING AND RECRUITING          ATTN PAT MUTH                          303 LYNNHAVEN PKWY STE 100                                                                                 VIRGINIA BEACH          VA           23452
    RELIANT                                                                          PO BOX 650475                                                                                              DALLAS                  TX           75265-0475
    RELONG LLC                                                                       PO BOX 826                                                                                                 PROSPECT                KY           40059
    REM AND SON LICENSED ELECTRICAL
    CONTRACTORS CORP                                                                 583 NOSTREND AVE                                                                                           BROOKLYN                NY           11216
    REM DIRECT INC                                                                   221 N CENTRAL 415                                                                                          MEDFORD                 OP           97501
    REMAX PREFERRED REALTY                                                           1091 GEORGIA HWY 24 E                                                                                      STATESBORO              GA           30461
    REMOTESITE TRAINING INC                                                          PO BOX 784                                                                                                 CLAYTON                 NC           27528
    RENAUD COOK DRURY MESAROS PA                                                     ONE N CENTRAL AVE                       STE 85004                                                          PHOENIX                 AZ           85004
    RENEE M SCHWERDT                                                                 ADDRESS ON FILE
    RENEE WILKERSON                                                                  ADDRESS ON FILE
    RENI PUBLISHING                                                                  150 THIRD ST SW                                                                                            WINTER HAVEN            FL           33880
    RENO MEDIA GROUP                                                                 961 MATELY LN                           STE 120                                                            RENO                    NV           89502
                                              DBA RENO GAZETTE JOURNAL MASON
    RENO NEWSPAPER INC                        VALLEY NEWS                            955 KUENZLI ST                                                                                             RENO                    NV           89502
    RENO SPARKS INDIAN COLONY                 ATTN TAX AND REVENUE                   98 COLONY RD                                                                                               RENO                    NV           89502
    RENTOKIL                                                                         30 ROYAL CREST CT UNIT 11                                                                                  MARKHAM                 ON           L3R 928      CANADA
    REPUBLIC BANK AND TRUST CO                                                       601 W MARKET ST                                                                                            LOUISVILLE              KY           40202
    REPUBLIC BANK AND TRUST COMPANY                                                  601 W MARKET ST                                                                                            LOUISVILLE              KY           40202
    REPUBLIC LEASING COMPANY                                                         PO BOX 2597                                                                                                COLUMBIA                SC           29202
    REPUBLIC SERVICES 352 9001154                                                    PO BOX 9001154                                                                                             LOUISVILLE              KY           40290-1154
    REPUBLIC SERVICES 9001099                                                        PO BOX 9001099                                                                                             LOUISVILLE              KY           40290-1099
    REPUBLIC WASTE SERVICES                                                          PO BOX 105437                                                                                              ATLANTA                 GA           30348-5437


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    REPUBLIC WASTE SERVICES KY                                                           PO BOX 9001831                                                                                            LOUISVILLE               KY           40290-1831
    RESHIFT MEDIA                                                                        2 BERKELEY ST STE 310                    STE 400                                                          TORONTO                  ON           M5A 4J5      CANADA
    RESHIFT MEDIA INC                                                                    140 YONGE ST STE 200                                                                                      TORONOTO                 ON           M5C 1X6      CANADA
    RESOLUTION CANADA INC                                                                ERIC SWETSKY BARRISTER                   25 SYLVAN VALLEY WAY                                             TORONTO                  ON           M5M 4M4      CANADA
    RESOLUTION INC                                                                       PO BOX 1624                                                                                               BRATTLEBORO              VT           05301-1624
    RESOLVE HOLDINGS CORP                                                                120 S OLIVE AVE                          STE 303                                                          WEST PALM BEACH          FL           33401
    RESOURCE ASSOCIATES GRANT WRITING AND                                                EVALUATION SERVICES INC                  418 W BORADWAY STE C                                             FARMINGTON               NM           87401
    RESTORATION SERVICES INC                     DBA SERVPRO OF VIRGINIA BEACH           2633 PRODUCTION RD                                                                                        VIRGINIA BEACH           VA           23454
    RESULT RADIO                                                                         5100 S TENNIS LN                                                                                          SIOUX FALLS              SD           57108
    RETAIL ALLIANCE                                                                      500 PLUME ST                             STE 500                                                          NORFOLK                  VA           23510
    RETAIL OPPORTUNITY INVESTMENTS
    PARTNERSHIP LP                               DBA ROIC SANTA ANA LLC                  PO BOX 749814                                                                                             LOS ANGELES              CA           90074
    RETAIL PLANNING CORPORATION                                                          35 JOHNSON FERRY RD                                                                                       MARIETTA                 GA           30068
    RETAIL SERVICES WIS CORPORATION              DBA WIS INTERNATIONAL                   PO BOX 200081                                                                                             DALLAS                   TX           75320-0081
    RETIRECO SOLUTIONS LLC                                                               PO BOX 180050                                                                                             DELAFIELD                WI           53018
    RETS TECH CENTER INC                         DBA ASPE A DIVISION OF FORTIS COLLEGE   PO BOX 5488                                                                                               CARY                     NC           27512
    RETURN ON MEDIA INC                                                                  3344 SEACREST DR                                                                                          CARLSBAD                 CA           92008
    RETURN PATH INC                                                                      3 PARK AVE                               41ST FL                                                          NEW YORK                 NY           10016
    REVENU QUEBEC                                                                        3800 RUE DE MOELY                                                                                         QUEBEC                   QUEBEC       G1X 4A5      CANADA
    REVENUE QUEBEC                                                                       CP 3000                                  SUCCURSALE PL DESJARDINS                                         MONTREAL                 QC           H5B 1A4      CANADA
    REVIEW                                                                               210 E 4TH ST                                                                                              EAST LIVERPOOL           OH           43920
    REVISTA COMPRA MIAMI                                                                 15675 SW 74TH CIR DR 9                                                                                    MIAMI                    FL           33193
    REVOLUTION FINANCIAL LP                                                              500 GRAPEVINE HWY                        STE 345                                                          HURST                    TX           76054
    REX DE JAAGER                                                                        ADDRESS ON FILE
    REX FILBRUN FARMS INC                                                                180 SCHNORF JONES RD                                                                                      LAURA                    OH           45337
    REXER NICOLE                                                                         ADDRESS ON FILE
    REXPERT SOUNDS ENTERTAINMENT                 REX DE JAAGER                           5936 WOODHAVEN CT                                                                                         VIRGINIA BEACH           VA           23464
    REZA A AMSARI                                                                        ADDRESS ON FILE
    REZA ANSARI                                                                          ADDRESS ON FILE

    RFS BUSINESS FUNDING LLC DBA RAPID FINANCE                                           4500 E W HWY 6TH FL                                                                                       BETHESDA                 MD           20814
                                                 C O HENRY S MILLER BROKERAGE AUSTIN
    RGFT INVESTMENT LP                           INC                                     9442 N CAPITALOF TX HWY BLDG 1 STE 500                                                                    AUSTIN                   TX           78759
    RH JONES AND SON MECHANICAL LTD                                                      2082 QUINN ST                                                                                             PRINCE GEORGE            BC           V2N 1X5      CANADA
    RHINES WILLIAM                                                                       ADDRESS ON FILE
    RHODE ISLAND DIVISION OF TAXATION                                                    ONE CAPITOL HILL                                                                                          PROVIDENCE               RI           02908
    RHODE ISLAND DIVISION OF TAXATION            STATE OF RI DIVISION OF TAXAT           ONE CAPITOL HILL STE 9                                                                                    PROVIDENCE               RI           02908-5811
    RHONDA TIPTON                                                                        ADDRESS ON FILE
    RHONI CYR                                                                            265 MOUNTAIN ST                                                                                           SUDBURY                  ON           P3B 2T8      CANADA
    RIA GROUP                                                                            PO BOX 6159                                                                                               CAROL STREAM             IL           60197-6159
    RIBBLE STEPHAN                                                                       ADDRESS ON FILE
    RIBBON EXCHANGE                                                                      PO BOX 117                                                                                                GRANTHAMS LANDING        BC           V0N 1X0      CANADA
    RICARDO A GARCIA                                                                     ADDRESS ON FILE
    RICARDO CORTEZ DBA COAST 2 COAST
    ACCOUNTING AND FINANCE LLC                                                           9649 S 51ST ST                                                                                            PHOENIX                  AZ           85044
    RICHARD A MARTIN AND JUNE E MARTIN                                                   ADDRESS ON FILE
    RICHARD AUTHIER                                                                      ADDRESS ON FILE
    RICHARD E JACOBS GROUP INC                                                           25425 CENER RIDGE RD                                                                                      CLEVELAND                OH           44145-4122
    RICHARD EITZEN                                                                       ADDRESS ON FILE
    RICHARD ERNST                                                                        ADDRESS ON FILE
    RICHARD G YOUNGER JR                                                                 ADDRESS ON FILE
    RICHARD INVESTMENT CO                                                                PO BOX 3026                                                                                               SANTA BARBARA            CA           93130-3026
    RICHARD J DONZELL JR DBA ABIGAILS ATTIC                                              2021 A CUNNINGHAM DR                     STE 6                                                            HAMPTON                  VA           23666
    RICHARD L STRICKLIN                                                                  ADDRESS ON FILE
    RICHARD L WEAVER                                                                     ADDRESS ON FILE
    RICHARD MATTHEW                                                                      ADDRESS ON FILE
    RICHARD PAUL SOTER JR                                                                ADDRESS ON FILE
    RICHARD R ALDERMAN                                                                   ADDRESS ON FILE
    RICHARD SHAPIRO HOLDINGS LIMITED                                                     546 QUEENS AVE                                                                                            LONDON                   ON           N6B 1Y8      CANADA
    RICHARD VALLENS CONSULTING                                                           40 FOXHILL                                                                                                IRVINE                   CA           92604
    RICHARD W COLTON                                                                     ADDRESS ON FILE
    RICHARD W EICHHORN                                                                   ADDRESS ON FILE
    RICHARD W YOON APPRAISAL                                                             2078 WALSH AVE C2                                                                                         SANTA CLARA              CA           95050
    RICHARDS CORETTA                                                                     ADDRESS ON FILE
    RICHARDS LAYTON AND FINGER                                                           920 N KING ST                                                                                             WILMINGTON               DE           19801
    RICHARDS LAYTON AND FINGER PA                                                        920 N KING ST                                                                                             WILMINGTON               DE           19801
    RICHES MCKENZIE AND HERBERT LLP                                                      STE 1800 2 BLOOR ST E                                                                                     TORONTO                  CA           M4W 3J5
    RICHLAND COUNTY CIRCUIT COURT                C O RICHLAND COUNTY JUDICIAL CTR        1701 MAIN ST RM 101                                                                                       COLUMBIA                 SC           29202
    RICHLAND COUNTY REGISTER OF DEEDS                                                    PO BOX 192                                                                                                COLUMBIA                 SC           28202
    RICHMOND GLOBE                               C O ORTON DEVELOPMENT INC               3049 RESEARCH DR                                                                                          RICHMOND                 CA           94806
    RICHMOND POST                                                                        PO BOX 1350                                                                                               OAKLAND                  CA           94604-1350
    RICHMOND TIMES DISPATCH                                                              PO BOX 27775                                                                                              RICHMOND                 VA           23261-7775
    RICHMONDS EXCAVATING                                                                 3160 PALMYRA RD SW                                                                                        WARREN                   OH           44481
    RICK J TREMBLAY                                                                      ADDRESS ON FILE
    RICKIE DEEMS                                                                         ADDRESS ON FILE
    RICKIE STAFFORD                                                                      ADDRESS ON FILE
    RICOH USA INC                                                                        70 VALLEY STREAM PKWY                                                                                     MALVERN                  PA           19355
    RIDDLE EQUIPMENT COMPANY INC                                                         PO BOX 160                                                                                                CARTHAGE                 NC           28327
    RIDDLE RIC                                                                           12832 TEXAS SAGE CT                                                                                       AUSTON                   TX           78732
    RIDENOUR STEVEN                                                                      ADDRESS ON FILE
    RIDGE STONE CAPITA INC                                                               18575 JAMBOREE RD                        STE 380                                                          IRVINE                   CA           92612
    RIDGEWAYS JANITORIAL SERVICE                                                         7461 FENNER ST                                                                                            NORFOLK                  VA           23505
    RIDGEWAYS VIRGINIA BEACH                                                             PO BOX 61669                                                                                              VIRGINIA BEACH           VA           23462
    RIESBECK CONTRACTING                                                                 608 16TH ST                                                                                               VIRGINIA BEACH           VA           23454
    RIESCO FLOORING                                                                      RR 4 1120 MALAVIEW RD                                                                                     GIBSONS                  BC           V0N 1V4      CANADA
    RIEXINGER AUTOMOTIVE LTD                                                             PO BOX 1625                                                                                               CAMROSE                  ALBERTA      T4V 1X6      CANADA
    RIEZMAN BERGER PC                                                                    7700 BONHOMME AVE                        SEVENTH FL                                                       ST LOUIS                 MO           63105
    RIGGINS VICKEY                                                                       ADDRESS ON FILE
    RIGHT1DATA                                                                           4833 FRONT ST                            STE B204                                                         CASTLE ROCK              CO           80104


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    RIGHTNOW TECHNOLOGIES INC                                               40 ENTERPRISE BLVD                   PO BOX 9300                                                        BOZEMAN                 MT           59718-9300
    RIGHTWAY FLOORING                                                       2101 BEDELL RD 3                                                                                        GRAND ISLAND            NY           14072
    RIKER DANZIG                                                            ADDRESS ON FILE
    RILLON SARAH                                                            ADDRESS ON FILE
    RIMM KAUFMAN GROUP LLC                                                  PO BOX 64897                                                                                            BALTIMORE               MD           21264-4897
    RINCON ASSOCIATES LLC                                                   400 MALL BLVD                        STE M                                                              SAVANNAH                GA           31406
    RINI REALTY COMPANY                                                     DEPT 771814                          PO BOX 77000                                                       DETROIT                 MI           48277-1814
    RIOS HILANO                                                             ADDRESS ON FILE
    RISE                                                                    1200 E CAMPBELL RD                   STE 108 LOCKBOX NUMBER 679900                                      RICHARDSON              TX           75081
    RISE                                                                    PO BOX 101808                                                                                           FORT WORTH              TX           76185
    RISE BROADBAND                                                          PO BOX 844580                                                                                           BOSTON                  MA           02284-4580
    RISE MANAGEMENT                                                         147 CARONDELET ST STE 1137                                                                              NEW ORLEANS             LA           70130
    RISE MT LLC                                                             280 W KAGY BLVD                      SUTE D 121                                                         BOZEMAN                 MT           59715
    RITCHIE HENSON                                                          ADDRESS ON FILE
    RIVER CITY BANK                            ATTN JANET DOAN              PO BOX 389                                                                                              IRVINGTON               KY           40146
    RIVER CITY MOVING AND DELIVERY                                          PO BOX 1653                                                                                             MUSCATINE               IA           52761
    RIVER CROSSING OWNER LLC                                                1735 PARK AVE                        STE 300                                                            NEW YORK                NY           10035
    RIVER OAKS PROPERTIES LTD                                               5678 N MESA ST                                                                                          EL PASO                 TX           79912-5425
    RIVERBAY PLAZA BH LLC                                                   1274 49TH ST 302                                                                                        BROOKLYN                NY           11219
    RIVERDALE EQUITIES LTD                                                  6132 RIVERDALE AVE                                                                                      BRONX                   NY           10471
    RIVERFORK DEVELOPMENT LLC                                               10504 BAYLESS LN                                                                                        FORT WAYNE              IN           46804
    RIVERO ROBERT E                                                         ADDRESS ON FILE
    RIVERSIDE COUNTY CLERK                                                  2720 GATEWAY DR                                                                                         RIVERSIDE               CA           92502
    RIVERTOWNE PROPERTY CO LC                                               2011 E RIVERSIDE DR                                                                                     AUSTIN                  TX           78741
    RJP HOME SERVICES LLC                                                   12302 AMANDA COVE TRAIL                                                                                 JACKSONVILLE            FL           32225
    RJS MARINE INC                                                          1800 I35 200                                                                                            CARROLLTON              TX           75006
    RK BUICK INC                                                            2661 VIRGINIA BEACH BLVD                                                                                VIRGINIA BEACH          VA           23452
    RM SPACE LLC                                                            3000 NE 30TH PL                      STE 104                                                            FT LAUDERDALE           FL           33306
    RM TAXES LLC                                                            24342 EL MOLINA AVE                                                                                     VALENCIA                CA           91355
    RME LLC                                    DBA RME360                   4805 INDEPENDENCE PKWY               STE 250                                                            TAMPA                   FL           34634
    RMG MANAGEMENT INC GELB ENTERPRISES                                     17547 VENTURA BLVD STE 201                                                                              ENCINO                  CA           91316
    RMR LABZ LLC                                                            27762 ANTONIO PKWY                   STE L1 455                                                         LADERA RANCH            CA           92694
    RNC HOLDINGS LLC                                                        PO BOX 16150                                                                                            WILMINGTON              NC           28408
    RNJ MANAGEMENT                                                          BOX 68025                            28 CROWFOOT TERRACE NW                                             CALGARY                 AB           T3G 3N8      CANADA
    RNS HANDYMAN LLC                                                        2706 ZIA CT                                                                                             FARMINGTON              NM           87401
    ROA REALTIES INC                                                        4920 DE MAISONNEUVE BLVD W           STE 107                                                            WESTMOUNT               QC           H3Z1N1       CANADA

    ROANOKE COUNTY CLERK OF THE CIRCUIT COURT                               305 E MAIN ST                                                                                           SALEM                   VA           24153
    ROANOKE GAS COMPANY                                                     PO BOX 70848                                                                                            CHARLOTTE               NC           28272-0848
    ROARK SPECIAL PROJECTS                                                  1600 N 35TH ST                                                                                          ROGERS                  AR           72756
    ROBBY JOE GOSS JR                                                       ADDRESS ON FILE
    ROBERGE AND ROBERGE                                                     ADDRESS ON FILE
    ROBERT A SCHNEIDER                                                      ADDRESS ON FILE
    ROBERT A WEIDNER                                                        ADDRESS ON FILE
    ROBERT AND NATALIE WHITE LLP                                            14016 WATERS EDGE TRAIL                                                                                 NEW BERLIN              WI           53151
    ROBERT C MATHWIG                                                        ADDRESS ON FILE
    ROBERT D BUTLER                                                         ADDRESS ON FILE
    ROBERT D MORGAN III                                                     ADDRESS ON FILE
    ROBERT E BAUMANN                                                        ADDRESS ON FILE
    ROBERT GAVER                                                            ADDRESS ON FILE
    ROBERT HALF FINANCE AND ACCOUNTING                                      FILE 73484                           PO BOX 60000                                                       SAN FRANCISCO           CA           94160-3484
    ROBERT HALF FINANCE AND ACCOUNTING                                      PO BOX 743295                                                                                           LOS ANGELES             CA           90074-3295
    ROBERT HALF INTERNATIONAL INC             DBA ACCOUNTEMPS               12400 COLLECTIONS CTR DR                                                                                CHICAGO                 IL           60693

    ROBERT HALF INTERNATIONAL INC TECHNOLOGY   DBA ROBERT HALF TECHNOLOGY   12400 COLLECTIONS CTR DR                                                                                CHICAGO                 IL           60693
    ROBERT HOWARD                                                           ADDRESS ON FILE
    ROBERT J LOUGEN JR                                                      ADDRESS ON FILE
    ROBERT J OLSON                                                          ADDRESS ON FILE
    ROBERT JAKOVICH                                                         ADDRESS ON FILE
    ROBERT L CUMMINS REVOCABLE TRUST           D B A ORBISON SQUARE         502 W 6TH ST                                                                                            TULSA                   OK           74119
    ROBERT MCLAUGHLIN                                                       ADDRESS ON FILE
    ROBERT P ARNDT                                                          ADDRESS ON FILE
    ROBERT R HUETHER                                                        ADDRESS ON FILE
    ROBERT RHOADES                                                          ADDRESS ON FILE
    ROBERT SANCHEZ                                                          ADDRESS ON FILE
    ROBERT SCHATZMAN                                                        ADDRESS ON FILE
    ROBERT STERN                                                            ADDRESS ON FILE
    ROBERT T JOHNSON                                                        ADDRESS ON FILE
    ROBERT T SEYMOUR                                                        ADDRESS ON FILE
    ROBERT W LINKONIS                                                       ADDRESS ON FILE
    ROBERTO AYALA                                                           ADDRESS ON FILE

    ROBERTS AND ROBERTS SYNERGY CONSULTANT                                  2141 DARTMOUTH CT                                                                                       MCDONOUGH               GA           30253
    ROBERTS RESTRETCH                                                       4607 KENNEBECK AVE                                                                                      NORFOLK                 VA           23513
    ROBERTS SHARYL                                                          ADDRESS ON FILE
    ROBERTS TAMMY                                                           ADDRESS ON FILE
    ROBERTSON AND FUTERAL                                                   1004 ANNAKNAPP BLVD                  2ND FL                                                             MT PLEASANT             SC           29464
    ROBERTSON DENNIS                                                        ADDRESS ON FILE
    ROBIN CANO DBA CANO CAPITAL LLC                                         3408 CARICA DR                                                                                          INDIANAPOLIS            IN           46203
    ROBIN FUNDING GROUP                                                     1967 WEHULE DR                       STE H086                                                           BUFFOLO                 NY           14221
    ROBIN MANESS                                                            ADDRESS ON FILE
    ROBINSON ACCOUNTING AND TAX                                             1992 SANDEE CRESCENT                                                                                    VIRGINIA BEACH          VA           23454
    ROBINSON CURLEY AND CLAYTON PC                                          STE 1700                             300 S WACKER DR                                                    CHICAGO                 IL           60606
    ROBINSON JR WILLIAM B                                                   ADDRESS ON FILE
    ROBINSON WILLIAM B                                                      ADDRESS ON FILE
    ROBINWOOD ENTERPRISES INC                                               42 MAYFIELD DR                                                                                          MASTIC BEACH            NY           11951
    ROBMOR INVESTMENTS DBA NORTH POINTE
    SHOPPING CENTER                                                         940 CALLE NEGOCIO                    STE 200                                                            SAN CLEMENTE            CA           92673
    ROBSON GEORGE T                                                         ADDRESS ON FILE


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                       Name                                   Attention                         Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    ROBYN PROMOTIONS AND PRINTING                                               7717 W BRITTON RD                                                                                        OKLAHOMA CITY           OK           73132
    ROC FUNDING GROUP LLC                                                       260 CHRISTOPHER LN                    STE 3D                                                             STATEN ISLAND           NY           10314
    ROCCO PALAZZOLO                                                             ADDRESS ON FILE
    ROCHESTER WABASH LLC                                                        PO BOX 1207                           DBA HAWTHORNE PLZ                                                  WALLED LAKE             MI           48390
    ROCK COUNTY TREASURER                                                       PO BOX 1508                                                                                              JANESVILLE              WI           53547-1508
    ROCK GROVE ASSOCIATES LP                                                    1390 PICCARD DR STE 120                                                                                  ROCKVILLE               MD           20850
    ROCK HILL PARTNERS LLC                                                      1330 BAUR BLVD                                                                                           ST LOUIS                MO
    ROCK HONDA                                                                  ADDRESS ON FILE
    ROCK NEWTON CITIZEN                                                         969 S MAIN ST                                                                                            CONYERS                 GA           30012
    ROCK SOLID LP                                                               225 MAIN ST                           STE 300                                                            DAYTON                  TN           37321
    ROCKET DADDY INC DBA ONELOANPLACECOM                                        3717 APALACHEE PKWY                   STE 201                                                            TALLAHASSE              FL           32311
    ROCKET MEDIA INC                                                            501 PROGRESS LN                                                                                          VIRGINIA BEACH          VA           23454
    ROCKET SIGNS                                                                2928 GRAMERCY ST                                                                                         POMONA                  CA           91787
    ROCKHURST UNIV CONTINUING EDUCATION
    CENTER                                                                      PO BOX 419107                                                                                            KANSAS CITY             MO           64141-6107
    ROCKY VIEW PUBLISHING LTD                                                   403 2903 KINGSVIEW BLVD                                                                                  AIRDRIE                 AB           T4A 0C4      CANADA
    RODATUS JAMES                                                               ADDRESS ON FILE
    RODGERS ROSALIND                                                            ADDRESS ON FILE
    RODNEY KEITH RICHEY                                                         ADDRESS ON FILE
    RODOLFO LIZARDO                                                             ADDRESS ON FILE
    RODRIGUEZ ZSANDOR ALEX                                                      ADDRESS ON FILE
    ROETZEL AND ANDRESS                                                         ADDRESS ON FILE
    ROGER L VON AMELUNXEN FOUNDATION INC                                        104 15 100TH ST                                                                                          OZONE PARK              NY           11417
    ROGER N DUPONT                                                              ADDRESS ON FILE
    ROGERS 9100                                                                 PO BOX 9100                                                                                              DON MILLS               ON           M3C 3P9      CANADA
    ROGERS CABLE COMMUNICATIONS INC 4100                                        ROGERS PAYMENT CENTRE                 PO BOX 4100                                                        DON MILLS               ON           M3C 3N9      CANADA
    ROGERS EDWARD                                                               ADDRESS ON FILE
    ROGERS MEDIA                              CASH MANAGEMENT                   1 MOUNT PLEASANT RD 5TH FL                                                                               TORONTO                 ON           M4Y 2Y5      CANADA
    ROGERS MEDIA INC                                                            230 1 THE BOARDWALK                                                                                      KITCHENER               ON           N2N 0B1      CANADA
    ROGERS MEDIA INC                          CASH MANAGEMENT                   333 BLOOR ST E 6TH FL                                                                                    TORONTO                 ON           M4W 1G9      CANADA
    ROGERS TELECOM BUSINESS                                                     PO BOX 9100                                                                                              DON MILLS               ON           M3C 3P9      CANADA
    ROKFI LLC                                                                   1069 MAINT ST STE 345                                                                                    HOLBROOK                NY           11741
    ROLAND BELANGER                                                             371 COUNTY RD 17                                                                                         SMITHS FALLS            ON           K7A 4S5      CANADA
    ROLANDS NEON SIGNS                                                          3240 JEFFERSON BLVD                                                                                      WINDSOR                 ON           N8T 2W8      CANADA
    ROLEG INC                                                                   19TH ATLANTIC AVE                                                                                        VIRGINIA BEACH          VA           23451
    ROLLINS INC                               DBA ORKIN LLC                     2170 PIEDMONT RD NE                                                                                      ATLANTA                 GA           30328
    ROMERO ENRIQUE MORENO                                                       ADDRESS ON FILE
    ROMISCO SIGN SYSTEMS                                                        214 E TACOMA ST                                                                                          SIERRA VISTA            AZ           85636-0880
    ROMSTAR TRANSPORT                                                           505 RUE LOCKE                                                                                            SAINT LAURENT           QC           H4T 1X7      CANADA
    RON HARDWICK DBA COMMERCIAL LOAN
    SOLUTIONS LLC                                                               522 W 2ND ST STE 103                                                                                     MUSCLE SHOALS           AL           35661
    RON WRIGHT TAX ASSESSOR COLLECTOR                                           PO BOX 961018                                                                                            FORT WORTH              TX           76161-0018
    RONALD A MARRON DBA LAW OFFICES OF
    RONALD A MARRON                                                             651 ARROYO DR                                                                                            SAN DIEGO               CA           92103
    RONALD A NATION                                                             ADDRESS ON FILE
    RONALD BURK                                                                 ADDRESS ON FILE
    RONALD COPE                                                                 ADDRESS ON FILE
    RONALD ENDRES                                                               ADDRESS ON FILE
    RONALD G PARSONS                                                            ADDRESS ON FILE
    RONALD LEVINE ATTORNEY AT LAW                                               ADDRESS ON FILE
    RONALD LUBIN II                                                             ADDRESS ON FILE

    RONALD MCDONALD HOUSE CHARITIES ALBERTA                                     9419 117 AVE                                                                                             GRAND PRAIRIE           AB           T8V 4P7      CANADA
    RONALD THIEBEN                                                              ADDRESS ON FILE
    RONEY COMPANY HOLDINGS LLC DBA SOLVERE
    ONE LLCSOON01                                                               22365 BRODERICK DR STE 100                                                                               DULLES                  VA           20166
    RONNING LAND CORPORATION                  C O RONNING PROPERTY MANAGEMENT   4401 E 6TH ST                                                                                            SIOUX FALLS             SD           57103
    ROOD DONNY                                                                  ADDRESS ON FILE
    ROOSEVELT SK PROPERTY CORP                                                  PO BOX 917                                                                                               ROOSEVELT               NY           11575
    ROOTER MAN PLUMBING AND DRAIN SERVICE                                       1156 JEZERO CRESCENT                                                                                     OAKVILLE                ON           L6H 0B4      CANADA
    ROQUEMORE HOLDINGS LLC                                                      329 OAKS TRAIL DR                     STE 212                                                            GARLAND                 TX           75032
    ROSALLIN DAIGS                                                              ADDRESS ON FILE
    ROSE CITY RADIO KXJM                                                        0234 SW BANCROFT                                                                                         PORTLAND                OR           97239
    ROSE ISLAND LIGHTHOUSE FOUNDATION                                           PO BOX 1419                                                                                              NEWPORT                 RI           02840
    ROSEMONT ELEMENTARY SCHOOL                                                  257 ROSEMONT RD                                                                                          VIRGINIA BEACH          VA           23453
    ROSENCO INTERNATIONAL LLC                                                   5710 E TROPICANA AVE                  STE 2106                                                           LAS VEGAS               NV           89122
    ROSENTHAL INSURANCE CONSULTING                                              PO BOX 35220                                                                                             RICHMOND                VA           23235-0220
    ROSEWORKS LLC                                                               61 E MAIN ST                          STE 2                                                              WILMINGTON              OH           45177
    ROSS JANELL                                                                 ADDRESS ON FILE
    ROSS RICHARD AND REBECCA                                                    ADDRESS ON FILE
    ROSS WALKER                                                                 ADDRESS ON FILE
    ROTARY INTERNATIONA ROTARY CLUB OF THE
    HIGH DESERT HESPERIA                                                        PO BOX 376                                                                                               VICTORVILLE             CA           92395
    ROTARY INTERNATIONAL NORTHMONT ROTARY                                       PO BOX 342                                                                                               ENGLEWOOD               OH           45322
    ROUND ROCK INDEPENDENT SCHOOL DISTRICT                                      1311 ROUND ROCK AVE                                                                                      ROUND ROCK              TX           78681
    ROUND ROCK LEADER THE                                                       PO BOX 459                                                                                               ROUND ROCK              TX           78680
    ROUND SKY INC                                                               848 N RAINBOW BLVD 326                                                                                   LAS VEGAS               NV           89107
    ROUNDREE LLC                                                                PO BOX 7                                                                                                 ASHEVILLE               NC           28802-0007
    ROUNDTREE LLC                             C O GRAHAM                        PO BOX 7                                                                                                 ASHEVILLE               NC           28802-0007
    ROUSE PROPERTIES INC                                                        SDS 12 3093PO BOX 86                                                                                     MINNEAPOLIS             MN           55486-3093
    ROUSE PROPERTIES INC                      DBA LAKELAND SQUARE MALL LLC      SDS 12 303PO BOX 86                                                                                      MINNEAPOLIS             MN           55486-3093
    ROUSE PROPERTIES INC                      DBA PIERRE BOSSIER MALL LLC       SDS 12 1591PO BOX 86                                                                                     MINNEAPOLIS             MN           55486-1591
    ROUSE PROPERTIES INC                      DBA SIKES SENTER LLC              3111 MIDWESTERN PKWY STE 280                                                                             WICHITA FALLS           TX           76308
    ROUSE PROPERTIES INC                      DBA TRACY MALL PARTNERS LP        SDS 12 1385                           PO BOX 86                                                          MINNEAPOLIS             MN           55486-1385
    ROUSE SIRINE ASSOCIATES LTD                                                 333 OFFICE SQUARE LN                  STE 100                                                            VIRGINIA BEACH          VA           23462
    ROVER MARINE                                                                ADDRESS ON FILE
    ROVERS PROCESS SERVICE                                                      7850 MISSION CTR CT                                                                                      SAN DIEGO               CA           92108
    ROY COUCH                                                                   ADDRESS ON FILE
    ROY SANDERS SALES                                                           161 CAVAN ST                                                                                             PORT HOPE               ON           L1A 3B8      CANADA


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    ROYAL HOST HOTELS AND RESORTS                                                     6009 QUINPOOL RD                      10TH FL                                                            HALIFAX                  NS           B3K 5J7      CANADA
    ROYAL IMPORTS GROUP INC                                                           6915 DIXIE RD                         UNIT 13 16                                                         MISSISSAUGA              ON           L5T 2G2      CANADA
    ROYAL LEPAGE BINDER REAL ESTATE 640                                               2480 OUELLETTE AVE                                                                                       WINDSOR                  ON           N8X 1L4      CANADA
    ROYAL MANITOBA THEATRE CENTRE               ATTN THOMAS URISH                     174 MARKET AVE                                                                                           WINNIPEG                 MB           R38 0P8      CANADA
    ROYAL MOTAL INC                                                                   3527 LOADSTONE DR                                                                                        SHERMAN OAKS             CA           91403
    ROYAL PLUMBING AND HEATING INC                                                    2501 PENTATHLON ARCH                                                                                     VIRGINIA BEACH           VA           23456
    ROYAL SONESTA HOTEL                                                               PO BOX 54530                                                                                             NEW ORLEANS              LA           70154-4530
    ROYALS OK LUNCH INC                                                               324 SW 16TH ST                                                                                           BELLE GLADE              FL           33430
    ROYER COOPER COHEN BRAUNFELD LLC                                                  101 W ELM ST                          STE 400                                                            CONSHOHOCKEN             PA           19428
    ROYNAT INC                                  C O CGI CREDIT GUARD INC              STE 808 1112 W PENDER ST                                                                                 VANCOUVER                BC           V6E 2S1      CANADA
    RPF CONSULTING LLC                                                                6478 PUTNAM FORD DR                   STE 119                                                            WOODSTOCK                GA           30189
                                                C O FREEHOLD MANAGEMENT INC AS AGENT
    RPI SKILLMAN ABRAMS SC LTD                  FOR                                  THE OWNERS OF CREEKSIDE SHOPPING CTR 2929 CARLISLE ST STE 170                                             DALLAS                   TX           75204
    RPM MANAGEMENT COMPANY INC                                                       PO BOX 7300                                                                                               LITTLE ROCK              AR           72217
    RPM PRODUCTIONS INC                         DBA LAWRENCEBURG SPEEDWAY            930 PRIBBLE CIR                                                                                           LAWRENCEBURG             IN           47025

    RPP PM LLC DBA REMAX PRESTIGE PROPERTIES                                          2404 STOCKTON HILL RD                 STE A                                                              KINGMAN                  AZ           86401
    RR DONNELLEY                                                                      PO BOX 932721                                                                                            CLEVELAND                OH           44193
    RRI MANAGEMENT LLC                                                                505 PARK AVE                                                                                             NEW YORK                 NY           10022
    RRSP                                                                              TD CANADA TRUST                       ATTN YASMEEN KAY                           15 WESTNEY RD N         AJAX                     ON           L1T 1P4      CANADA
    RRTC TECHNOLOGY                                                                   PO BOX 3605                                                                                              CHARLOTTEVILLE           VA           22903
    RS RIZZARDI INVESTIGATION SERVICES                                                18600 BROOKFIELD LAKE DR              STE 54                                                             BROOKFIELD               WI           53045
    RS SIGNS                                                                          23013 OLD FORT TRAIL                                                                                     STURGEON COUNTY          AB           T8L 5E1      CANADA
    RS WATER HOLDINGS LLC                                                             3201 PREMIER DR STE 300               DBA CULLIGAN OF DFW                                                IRVING                   TX           75063
    RSM US LLP                                                                        5155 PAYSPHERE CIR                                                                                       CHICAGO                  IL           60674
    RSN CONSULTANTS INC                                                               2001 HOLLYWOOD BLVD 302               STE 305                                                            HOLLYWOOD                FL           33020
    RSRP AKRON LLC                                                                    PO BOX 2265                                                                                              STOW                     OH           44224
    RSVP LOANS                                                                        500 GRAPEVINE HWY                     STE 375                                                            HURST                    TX           76054
    RT FIFTEENTH PENSION PROPERTIES             RED CLIFF REALTY MANAGEMENT           400 435 4 AVE SW                                                                                         CALGARY                  AB           T2P 3A8      CANADA
    RT GOLDEN HILLS LP                                                                6359 AUBURN BLVD                      STE B                                                              CITRUS HEIGHTS           CA           95621
    RT GOLDIN HILLS LP                                                                6359 AUBURN BLVD STE B                                                                                   CITRUS HEIGHTS           CA           95621
    RTB TOURS                                                                         PO BOX 27015 TUSCANY PO                                                                                  CALGARY                  AB           T3L 2Y1      CANADA
    RUBEN DREWERY                                                                     ADDRESS ON FILE
    RUBEN RAMIREZ DBA CABLES AND MORE                                                 300 N RESLER                          STE F                                                              EL PASO                  TX           79912
    RUBENSTEIN WILLIAM                                                                ADDRESS ON FILE
    RUCAREAL LTD                                                                      27 QUEEN ST E                                                                                            BRAMPTON                 ON           L6W 2A7      CANADA
    RUCIO NIEVES                                                                      ADDRESS ON FILE
    RUDEE OPERATIONS LLC                        DBA RUDEE TOURS                       242 MUSTANG TRAIL STE 1                                                                                  VIRGINIA BEACH           VA           23452
    RUDOLPH DAVID                                                                     ADDRESS ON FILE
    RUDOLPHI ELAINE                                                                   ADDRESS ON FILE
    RUG WORKS                                   C O AVON HOWARD JR                    1020 BRYCE LN                                                                                            VIRGINIA BEACH           VA           23464
    RUGGIERO SAMANTHA                                                                 ADDRESS ON FILE
    RUGGS OFFICE FURNITURE WHOLESALE INC        DBA LEN RUGGS OFFICE FURNITURE        6431 STATE RT 96                                                                                         VICTOR                   NY           14564
    RUMPKE OF OHIO INC                                                                PO BOX 538710                                                                                            CINCINNATI               OH           45253-8710
    RUSH LEGAL TABS INC                                                               50 DEY STRET                                                                                             JERSEY CITY              NJ           07306
    RUSHMORE RADIO                                                                    PO BOX 2480                                                                                              RAPID CITY               SD           57709
    RUSSELL BYRUM SIGNS INC                                                           1006 JOHNSON LN                                                                                          MIDLOTHIAN               TX           76065
    RUSSELL JERRY                                                                     ADDRESS ON FILE
    RUSSELL L RINER                                                                   ADDRESS ON FILE
    RUSSELL MACEJAK                                                                   ADDRESS ON FILE
    RUTH GUERRA                                                                       ADDRESS ON FILE
    RUTHERFORD COUNTY                                                                 116 W LYTLE ST                        STE 5101                                                           MURFREESBORO             TN           37130
    RVS REALTY LLC                              C O BELL MOORE GROUP INC              5200 PARK RD                          STE 120                                                            CHARLOTTE                NC           28209
    RYALS TERESA                                                                      ADDRESS ON FILE
    RYAN ALLISON DBA ELETE REALTY LLC                                                 23645 VIA CORSA                                                                                          VALENCIA                 CA           91355
    RYAN BURNS                                                                        ADDRESS ON FILE
    RYAN CHILDERS                                                                     ADDRESS ON FILE
    RYAN DODSON                                                                       ADDRESS ON FILE
    RYAN NICOL                                                                        ADDRESS ON FILE

    RYAN RICHARD MCLAIN DBA GRAVITY FINANCE LLC                                       14852 W CALAVAR RD                                                                                       SURPRISE                 AZ           85379
    RYAN ZAWADZKI                                                                     ADDRESS ON FILE
    RYC PROPERTIES LLC                                                                7640 ABERCORN ST                                                                                         SAVANNAH                 GA           31406
    RYTEPATH INC                                                                      24791 SAUSALITO ST                                                                                       LAGUNA HILLS             CA           92653
    RYZE BEYOND LTD                                                                   YITSHAK SEDEH ST 6                                                                                       TEL AVIV                                           ISRAEL
    RZ AND SAJ ENTERPRISE                                                             298 RUSSELL WOODS DR                                                                                     TECUMSEH                 ON           N8N 4K5      CANADA
    S AND H RISNER INC                                                                PO BOX 204703                                                                                            DALLAS                   TX           75320-4703
    S AND P RENTAL                                                                    441 N RIVERSIDE DR                                                                                       ESPANOLA                 NM           87532
    S AND T BANK                                ATTN AJFA REMITTANCE DEPT             PO BOX 280                                                                                               INDIANA                  PA           15701
    S BUCKNER INVESTMENTS INC                                                         PO BOX 29181                                                                                             DALLAS                   TX           75229
    S CARLISLE CO                                                                     2549 PENN AVE                                                                                            PITTSBURGH               PA           15222-4603
    S J MEYER AND ASSOCIATES INC                                                      370 HULS DR                                                                                              ENGLEWOOD                OH           45315
    S L K INVESTIGATIONS                                                              2212 E 5TH AVE                                                                                           TAMPA                    FL           33605
    S M INVESTIGATIONS AND SECURITY LLC                                               240 PLEASANT ST                                                                                          METHUEN                  MA           01844
    S SQUARED BUSINESS SOLUTIONS INC                                                  10001 SHAWNEE LN                                                                                         SPOTSYLVANIA             VA           22553
    SABER PROPERTY MANAGEMENT                                                         11777 SAN VICENTE BLVD STE 620                                                                           LOS ANGELES              CA           90049
    SABRE REALTY MANAGEMENT                                                           16475 DALLAS PKWY                     STE 800                                                            ADDISON                  TX           75001
    SABRINA GREER                                                                     ADDRESS ON FILE
    SABRINA SIMMONS                                                                   ADDRESS ON FILE
    SABRINA WHITFIELD                                                                 ADDRESS ON FILE
    SACCO SCHOOLS LIMITED                                                             15 SIMCOE ST S                                                                                           OSHAWA                   ON           L1H 4G1      CANADA
    SACRAMENTO COUNTY SHERIFF DEPT                                                    3341 POWER RD INN                     STE 313                                                            SACRAMENTO               CA           95826
    SACRAMENTO MUNICIPAL UTILITY DISTRICT                                             PO BOX 15830                                                                                             SACRAMENTO               CA           958052
    SADDLEBACK RESOLUTION GROUP LLC                                                   17192 MURPHY AVE                      STE 17474                                                          IRVINE                   CA           92606

    SADDLEBACK VALLEY UNIFIED SCHOOL DISTRICT                                         25631 PETER S HARTMAN WAY                                                                                MISSION VIEJO            CA           92691
    SADIE SALAZAL DBA FINANCIAL FLY LLC                                               1151 NE 16TH CT                       APT 14                                                             FOR LAUDERDALE           FL           33305
    SAEPIO TECHNOLOGIES                                                               600 BROADWAY STE 400                                                                                     KANSAS CITY              MO           64105
    SAFARI MAIL HOUS                                                                  PO BOX 980                                                                                               SHARPES                  FL           32959


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    SAFE AND GREEN INC                                                               3710 3RD AVE SW                                                                                            NAPLES                 FL           34117
    SAFE CREDIT UNION                                                                PO BOX 1910                                                                                                FOLSOM                 CA           95763
    SAFE TECH ALARM SYSTEMS                                                          121 WILLOWDALE AVE STE 202                                                                                 NORTH YORK             ON           M2N 6A3      CANADA
    SAFEMASTERS CO INC                                                               PO BOX 1937                             DEPT 84                                                            INDIANAPOLIS           IN           46206
    SAGARIA LAW PC                             ATTN SCOTT JOHNSON                    3017 DOUGLAS BLVD 200                                                                                      ROSEVILLE              CA           95661
    SAGE SOFTWARE INC                                                                14855 COLLECTIONS CTR DR                                                                                   CHICAGO                IL           60693
    SAGE THREE LLC                                                                   1040 ARROWSMITH ST                                                                                         EUGENE                 OR           97402
    SAGEO WILLIAMS COMMUNICATION                                                     PO BOX 0745                                                                                                CAROL STREAM           IL           60132-0745
    SAGEWORKS INC                                                                    5444 WADE PARK BLVD                     STE 400                                                            RALEIGH                NC           27607
    SAIA MOTOR FREIGHT INC                                                           PO BOX A STA 1                                                                                             HOUMA                  LA           70363
    SAIYED INVESTMENT PROPERTIES LLC                                                 6051 HOLLYWOOD BLVD                     STE 214                                                            LOS ANGELES            CA           90028
    SAJE COMM INC                                                                    1633 BABCOCK PMB 408                                                                                       SAN ANTONIO            TX           78229
    SAKURA BPO LLC                                                                   1450 N TUSTIN AVE                       STE 206                                                            SANTA ANA              CA           92705
    SALAZAR CONNECT INC                        DBA SALAZAR INVESTIGATIONS            11555 HERON BAY BLVD STE 200                                                                               CORAL SPRINGS          FL           33076
    SALEM CHRISTIAN ACADEMY DEVELOPMENT
    COMPANY                                    DBA ACADEMY SQUARE LLC                4915 SW GRIFFITH DR STE 300                                                                                BEAVERTON              OR           97005
    SALEM HIGH SCHOOL                                                                1993 SUNDEVILS DR                                                                                          VIRGINIA BEACH         VA           23464
    SALES AND USE TAX                                                                PO BOX 999                                                                                                 TRENTON                NJ           08646-0999
    SALES TAX RESOURCE GROUP                                                         16882 BOLSA CHICA                       STE 206                                                            HUNTINGTON BEACH       CA           92649
    SALESFORCECOM                              THE LANDMARK ONE MARKET STREET        STE 300                                                                                                    SAN FRANCISCO          CA           94105
    SALINA MEDIA GROUP                                                               PO BOX 80                                                                                                  SALINA                 KS           67402-0080
    SALS AUTO SERVICE LTD                                                            526 S SERVICE DR                                                                                           MISSISSAUGA            ON           L5G 2S6      CANADA
    SALT LAKE PRIVATE DETECTIVES                                                     PO BOX 845                                                                                                 WEST JORDAN            UT           84084
    SALTED SERVICES INC                                                              ONE BROADWAY 14TH FL                                                                                       CAMBRIDGE              MA           02142
    SALVATORE BRUZZESE                                                               ADDRESS ON FILE
    SAM AND JOSEI SAIA                                                               ADDRESS ON FILE
    SAMBROOK MEDIA CORP                                                              10 ALEXANDRIA HUNTER PL                                                                                    MARKHAM                ON           L6E 1A8      CANADA
    SAMEER FINO FLP NO ONE                                                           1316 PRESCOTT                                                                                              MURPHY                 TX           75094
    SAMMY ORTIZ                                                                      ADDRESS ON FILE
    SAMS CLUB 8222                                                                   PO BOX 9001152                                                                                             LOUISVILLE             KY           40290-1152
    SAMS CLUB CANADA                                                                 329 RUTHERFORD RD S                                                                                        BRAMPTON               ON           L6W 4R9      CANADA
    SAMUEL BENNY AND LALITHA                                                         ADDRESS ON FILE
    SAMUEL BROWN DBA BIG HORN FUNDING LLC                                            1201 MONSTER RD SW 302                                                                                     RENTON                 WA           98057
    SAMUEL MARKUM                                                                    ADDRESS ON FILE
    SAMUEL RETAIL LTD                                                                11311 N CENTRAL EXPRESSWAY              STE 200                                                            DALLAS                 TX           75243
    SAN ANTONIO EXPRESS NEWS                                                         PO BOX 80087                                                                                               PRESCOTT               AZ           86304-8087
    SAN ANTONIO SOCCER ACADEMY                                                       1546 W MAGNOLIA AVE                                                                                        SAN ANTONIO            TX           78201
    SAN ANTONIO SPURS                          ATTN FINANCE DEPARTMENT               ONE AT AND T CTR                                                                                           SAN ANTONIO            TX           78219
    SAN BENE PROPERTIES LLC                    C O DAVID PEREZ                       251 N SAM HOUSTON BLVD                                                                                     SAN BENITO             TX           78586
    SAN DIEGO GAS AND ELECTRIC 25111                                                 PO BOX 25111                                                                                               SANTA ANA              CA           92799-5111
    SAN JOAQUIN COUNTY CLERK                                                         6 S EL DORADO ST 2ND FLR                                                                                   STOCKTON               CA           95202
    SAN JUAN ASSOCIATES                                                              2325 SAN PEDRO NE                       STE 2A                                                             ALBUQUERQUE            NM           87110
    SAN JUAN SIGNS INC                                                               736 E MAIN ST                                                                                              FARMINGTON             NM           87401
    SAN MARCOS PLAZA LLC                                                             PO BOX 10789                                                                                               NEWPORT BEACH          CA           92658-5008
    SAN PABLO PARTNERS II LLC                                                        2275 WINCHESTER BLVD                                                                                       CAMPBELL               CA           95003-3425
    SAN PABLO RETAIL PARTNERS LLC              C O STANLEY GROUP                     18840 SAROTOGA LOS GATOS RD                                                                                LOS GATOS              CA           95030
    SANCO BUSINESS SOLUTIONS LLC                                                     9431 HAVEN AVE                                                                                             RANCHO CUCAMONGA       CA           91730
    SAND SHARK LIMOS                                                                 1941 GENERAL BOOTH BLVD                                                                                    VIRGINIA BEACH         VA           23454
    SANDBOX MARKETING INC DBA SANDBOX SIGN
    COMPANY                                                                          1137 W KATELLA AVE                                                                                         ORANGE                 CA           92867
    SANDER NORBERT                                                                   ADDRESS ON FILE
    SANDERS GALE AND RUSSELL INC                                                     PO BOX 1048                                                                                                NEW HAVEN              CT           06504
    SANDERS INVESTIGATION SERVICE                                                    PO BOX 662                                                                                                 TUPELO                 MI           38802
    SANDERS LEE                                                                      ADDRESS ON FILE
    SANDERS SERVICE COMPANY                                                          412 PARKER ST                                                                                              NORTH LITTLE ROCK      AR           72114
    SANDHILL MEDIA KADQ                                                              ADDRESS ON FILE
                                                                                                                             C O COMMERCIAL REAL ESTATE
    SANDIA VISTA CENTER LLC                                                          5951 JEFFERSON ST NE STE A              MANAGEMENT LLC                                                     ALBUQUEQUE             NM           87109
    SANDIEGO PROCESS SERVING                                                         8360 MIRAMAR PL STE C                                                                                      SAN DIEGO              CA           92121
    SANDRA COMPHER                                                                   ADDRESS ON FILE
    SANDRA ESQUIVEL                                                                  ADDRESS ON FILE
    SANDRA L ESQUEDA INC                       DBA SUPERIOR REAL ESTATE SERVICES     140 N KENAZO STE I                                                                                         HORIZON CITY           TX           79928

    SANDRA LOVAGLIO DBA PARADIGM FUNDING LLC                                         17 JONHSON AVE                                                                                             MONROE TOWNSHIP        NJ           08831
    SANDRA RODRIGUEZ                                                                 ADDRESS ON FILE
    SANDRA STOLICH                                                                   ADDRESS ON FILE
    SANDSTONE PROPERTIES INC                                                         10877 WILSHIRE BLVD                     STE 1105                                                           LOS ANGELES            CA           90024
    SANFORD HERALD                                                                   ADDRESS ON FILE
    SANGAMON DIRKSEN LLC                                                             41 JAMISON DR                                                                                              CLIFTON PARK           NY           12065
    SANSONE GROUP                                                                    120 SOUTHCENTRAL AVE                    STE 500                                                            ST LOUIS               MO           63105
    SANTA BARBARA TAX PRODUCTS GROUP                                                 11085 N TORREY PINES RD                 STE 210                                                            LA JOLLA               CA           92037
    SANTA RITA GARDENS A CALIFORNIA GENERAL
    PARTNERSHIP                                                                      550 HOWE AVE STE 200                                                                                       SACRAMENTO             CA           95825
                                               DBA VILLAGE OF SANTO DOMINGO RENTAL
    SANTAL CORPORATION                         OFFICE                                8530 W SAHARA AVE                                                                                          LAS VEGAS              NV           89117
    SANTANA JESSICA                                                                  ADDRESS ON FILE
    SANTARO SIGNS                                                                    ADDRESS ON FILE
    SANTAS LITTLE HELPERS LLC                                                        3165 LAKESHORE DR                                                                                          TALLAHASSEE            FL           32312
                                               C O GREATER OSHAWA CHAMBER OF
    SANTAS PARADE OF LIGHTS OSHAWA             COMMERCE                              44 RICHMOND ST W                                                                                           OSHAWA                 ON           L1G 1C7      CANADA
    SAP AMERICA INC                                                                  PO BOX 7780 824024                                                                                         PHILADELPHIA           PA           19182-4024
    SAPPHIRE TECHNOLOGIES                                                            PO BOX 30727                                                                                               HARTFORD               CT           06150
    SARA J RAMIREZ                                                                   ADDRESS ON FILE
    SARA MUSCHWECK                                                                   ADDRESS ON FILE
    SARA WILLSON                                                                     ADDRESS ON FILE
    SARAC LTD                                                                        102 LEMANS DR APT 3                                                                                        YOUNGSTOWN             OH           44512
    SARAH DEIERLEIN NIESCHALK                                                        ADDRESS ON FILE
    SARAH NIESCHALK                                                                  ADDRESS ON FILE
    SARATEK TECHNOLOGY LTD                                                           6720 4TH AVE SE                                                                                            CALGARY                AB           T2A 3H7      CANADA


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                       Name                                     Attention                            Address 1                                  Address 2                           Address 3                     City        State         Zip          Country
    SARAYAN BUILDING SOLUTIONS DBA STRATUS
    BUILDING SOLUTIONS                                                               200 N MARYLAND AVE                      STE 101                                                            GLENDALE                 CA             91206
    SARCOM                                                                           4740A INTERSTATE DR                                                                                        CINCINNATI               OH             45246
    SARKAUSKAS BRAD                                                                  ADDRESS ON FILE
    SARKAUSKAS PROPERTIES LLC                                                        14 E DAVENPORT ST                                                                                          RHINELANDER              WI             54501
    SAS INSTITUTE INC                                                                SAS CAMPUS DR                                                                                              CARY                     NC             27513
    SAS INSTUTITE INC                                                                PO BOX 406922                                                                                              ATLANTA                  GA             30384-6922
    SASK POWER                                                                       2025 VICTORIA AVE                                                                                          REGINA                   SASKATCHEWAN   S4P 0S1      CANADA
    SASKATCHEWAN WORKERS COMPENSATION
    BOARD                                                                            200 1881 SCARTH ST                                                                                         REGINA                   SK             S4P 4L1      CANADA
    SASKATOON MEDIA GROUP                                                            366 3 AVE S                                                                                                SASKATOON                SK             S7K 1M5      CANADA
    SASKENERGY                                                                       1601 WINNIPEG ST                                                                                           REGINA                   SK             S4P 4E7      CANADA
    SASKTEL SERVICES                                                                 PO BOX 2121                                                                                                REGINA                   SK             S4P 4C5      CANADA
    SATURDAY PROPETIES INC                                                           SATURDAY PARK                           4445 HWY 40 E STE 101                                              ST MARYS                 GA             31558
    SAUNDERS BARLOW RIDDICK BABINEAU FARMER
    AND BREWBAKER PC                          ATTN LINDA EURE                        705 W WASHINGTON ST                                                                                        SUFFOLK                  VA             23434
    SAUNDERS DANNALIE                                                                ADDRESS ON FILE
    SAUNDERS TODD                                                                    ADDRESS ON FILE
    SAVANT LIVING                                                                    230 CLEARFIELD AVE STE 113                                                                                 VIRGINIA BEACH           VA             23462
    SAVANT LTD                                                                       PO BOX 61746                                                                                               VIRGINIA BEACH           VA             23466
    SBB LLC                                                                          774 CASTLE ROCK DR                                                                                         SOUTHLAKE                TX             76092
    SBC 630047 DALLAS                                                                PO BOX 630047                                                                                              DALLAS                   TX             75263-0047
    SBC 930170 DALLAS                                                                PO BOX 930170                                                                                              DALLAS                   TX             75393
    SBC DALLAS                                                                       PO BOX 650661                                                                                              DALLAS                   TX             75265-0661
    SBC SACRAMENTO                                                                   PAYMENT CTR                                                                                                SACRAMENTO               CA             95887-0001
    SBC SAGINAW                                                                      PO BOX 5030                                                                                                SAGINAW                  MI
    SBC SMARTPAGESCOM                                                                PO BOX 650098                                                                                              DALLAS                   TX             75265-0098
    SBC TAX COLLECTOR                                                                172 W THIRD ST                                                                                             SAN BERNARDINO           CA             92415
    SBF FINANCE AND TECHNOLOGY LLC                                                   2200 RENAISSANCE BLVD                   STE 170                                                            KING OF PRUSSIA          PA             19406
                                              C O TERRA PACIFIC REAL ESTATE SERVICES
    SBP ENTERPRISES LLC                       INC                                    2009 POTERSFIELD WAY STE P                                                                                 UPLAND                   CA             91786
    SBSA INVESTMENTS LLC                                                             7154 S MEMORIAL                                                                                            TULSA                    OK             74133
    SC DEPARTMENT OF CONSUMER AFFAIRS                                                239 GREYSTONE BLVD                      STE 400                                                            COLUMBIA                 SC             29210-8004
    SC DEPARTMENT OF REVENUE                  CORPORATION VOUCHER                    PO BOX 100153                                                                                              COLUMBIA                 SC             29202
    SC DEPT OF REVENUE                                                               PO BOX 2535                                                                                                COLUMBIA                 SC             29202-2535
    SC INC                                                                           600 12TH ST                             STE 175                                                            GOLDEN                   CO             80401
    SC PASSANISI INVESTIGATIONS                                                      1055 W COLLEGE AVE                      STE 283                                                            SANTA ROSA               CA             95401
    SC STATE TREASURERS OFFICE UPP            UNCLAIMED PROPERTY PROGRAM             1200 SENATE ST STE 214                  WADE HAMPTON BUILDING                                              COLUMBIA                 SC             29201
    SCAN SOUND INC                                                                   265 S FEDERAL HWY                       UNIT 163                                                           DEERFIELD BEACH          FL             33441-4146
    SCANA ENERGY                                                                     PO BOX 100157                                                                                              COLUMBIA                 SC             29202-3157
    SCANDAGLIA AND RYAN                                                              ADDRESS ON FILE
    SCARBOROUGH MIRROR                                                               100 TEMPO AVE                                                                                              TORONTO                  ONTARIO        M2H 3S5      CANADA
    SCAROLA TONY                                                                     ADDRESS ON FILE
    SCC CONSULTING LLC DBA SIMPLE CHOICE
    CAPITAL                                                                          75 CLINTON ST                           STE 2                                                              STATEN ISLAND            NY             10304
    SCC1                                                                             4911 S MERIDIAN AVE                                                                                        WICHITA                  KS             67217
    SCG PINOLE VALLEY SHOPPING CENTER LLC                                            PO BOX 740127                                                                                              LOS ANGELES              CA             90074-0127
    SCHEIDERICH MICHAEL                                                              ADDRESS ON FILE
    SCHERBA INDUSTRIES INC                                                           2880 INTERSTATE PKWY                                                                                       BRUNSWICK                OH             44212
    SCHINDLER ELEVATOR CORPORATION                                                   PO BOX 93050                                                                                               CHICAGO                  IL             60673-3050
    SCHOENEBECK MIKE                                                                 ADDRESS ON FILE
    SCHOSTAK BROTHERS AND CO INC                                                     PO BOX 673505                                                                                              DETROIT                  MI             48267-3505
                                              JUBILEE LIMITED PARTNERSHIP C O
    SCHOTTENSTEIN PROPERTIES LLC              SCHOTTENSTEIN PRP GRP                  DEPARTMENT L 2632                                                                                          COLUMBUS                 OH             43260
    SCHULTZ HEIDI                                                                    ADDRESS ON FILE
    SCHUMACHER LANE PLLC                                                             9303 AUTUMN SUN                                                                                            SAN ANTONIO              TX             78254
    SCHWABE WILLIAMSON AND WYATT PC                                                  1211 SW FIFTH AVE STE 1900                                                                                 PORTLAND                 OR             97204-3795
    SCHWARTZ HARVEY                           C O MICHELLE HELMER                    953 E BRADLEY AVE                                                                                          EL CAJON                 CA             92021
    SCOOP REPRINTSOURCE                                                              32 C MAUCHLY                                                                                               IRVINE                   CA             92618
    SCOOTER SOFTWARE                                                                 2828 MARSHALL CT                        STE 112                                                            MADISON                  WI             53705
    SCORE FOUNDATION DO NOT USE DUP                                                  1175 HERNDON PKWY                       STE 900                                                            HERNDON                  VA             20170
    SCOREREWARDS CREDIT CARD SYNCHRONY                                               PO BOX 530916                                                                                              ATLANTA                  GA             30353
    SCOTSMAN PRESS                            ATTN GREG ANGWIN                       750 W GENESEE ST                                                                                           SYRACUSE                 NY             13204
    SCOTT AND ASSOCIATES INVESTIGATIONS INC                                          PO BOX 59593                                                                                               GREENSBORO               NC             27429
    SCOTT C GRAY                                                                     ADDRESS ON FILE
    SCOTT CURTIS                                                                     ADDRESS ON FILE
    SCOTT HARRIS                                                                     ADDRESS ON FILE
    SCOTT JANETTE                                                                    ADDRESS ON FILE
    SCOTT PETRIE BRANDER WALTERS AND WRIGHT
    LLP                                                                              MAIN OFFICE                             200 252 PALL MALL ST                                               LONDON                   ON             N6A 5P6      CANADA
    SCOTT PETRIE LLP                          LAW FIRM                               200 252 PALL MALL ST                                                                                       LONDON                   ON             N6A 5P6      CANADA
    SCOTT TERRELL                                                                    ADDRESS ON FILE
    SCOTT ZMUDZINSKI                                                                 ADDRESS ON FILE
    SCOTTCORP INC                             ARBOR GRIVE LEASING OFFICE             855 W JACKMAN ST                                                                                           LANCASTER                CA             93534
    SCOUT VENTURES LLC                                                               114 STUART RD NE NO 333                                                                                    CLEVELAND                TN             37312
    SCUGOG MECHANICAL                                                                136 PING GATE RD                                                                                           PORT PERRY               ON             L9L 1B5      CANADA
    SD HOUSING 1 LLC                                                                 1938 KELLOGG AVE                                                                                           CARLSBAD                 CA             92008
    SD VICTORIEN RONDEAU                                                             1011 123 FAIRFORD ST E                                                                                     MOOSE JAW                SK             S6H 7T4      CANADA
    SDA MIDWEST MANAGEMENT LLC                                                       PO BOX 10096                                                                                               TERRE HAUTE              IN             47801-0096
    SDCTTC PPT                                                                       PO BOX 129009                                                                                              SAN DIEGO                CA             92112
    SDM ENTERPRISES DBA VERSA BUSINESS
    SYSTEMS                                                                          9635 PHILADELPHIA RD                    STE 100                                                            ROSEDALE                 MD             21237
    SEA GREEN CUSTOMS                                                                10789 CHILLINGHAM DR                                                                                       LAS VEGAS                NV             89183
    SEABOARD PROPERTIES LLC                                                          1000 STUYVESANT AVE                                                                                        UNION                    NJ             07083
    SEAFRONT MARKETING                                                               76 E MERRITT ISLAND CSWY                STE 206                                                            MERRITT ISLAND           FL             32952
    SEAL CHARLES                                                                     ADDRESS ON FILE
    SEAL ENTERPRISES LLC                                                             4450 CHICKEE HUT CT                     303                                                                BONITA SPRINGS           FL             34134
    SEAN ALAN OLARTE                                                                 ADDRESS ON FILE
    SEARCH ROI LLC                                                                   8900 STATE LINE RD                      STE 200                                                            LEAWOOD                  KS             66206


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                        Name                                   Attention                             Address 1                                Address 2                           Address 3                    City          State       Zip          Country
    SEARS CANADA                                                                     290 YONGE ST                           STE 700                                                           TORONTO                 ON             M5B 2C3      CANADA
    SEARS CARPET AND UPHOLSTERY CLEANING                                             360 EUGENIE E                          UNIT 206                                                          WINDSOR                 ONT.           N8X 2Y1      CANADA
    SEARS NATIONAL BANK                                                              PO BOX 182156                                                                                            COLUMBUS                OH             43218-2156
    SEASCAPE CONSULTING GROUP INC                                                    PO BOX 1663                                                                                              VIRGINIA BEACH          VA             23451
    SEASIDE AUDIO                                                                    1509 MAYFAIR CT                                                                                          VIRGINIA BEACH          VA             23452
    SEATTLE CITY LIGHT                                                               CTY OF SEATLE DEPT OF FINANCE          PO BOX 34905                                                      SEATTLE                 WA             98124-1905
    SEBASTIAN DRI DBA SEQUOIA CAPITAL LLC                                            6251 SW 30TH ST                                                                                          MIAMI                   FL             33155
    SEBATIEN PEREIRA                                                                 19 STONEGATE DR                                                                                          ST CATHARINES           ON             L2P 3K9      CANADA
    SECOND CHANCE LENDING OF CALIFORNIA                                              60 SUTTON PL E                                                                                           PALM DESERT             CA             82211
    SECOND CITY WORKS INC                                                            1616 N WELLS ST                                                                                          CHICAGO                 IL             60614
    SECOND HALF SOLUTIONS INC                  DBA ACCOUNTING PRACTICE SALES         6650 E WALNUT ST                                                                                         NEW ALBANY              OH             43054
    SECOND ROUND LP                                                                  PO BOX 41955                                                                                             AUSTIN                  TX             78704
    SECR TELECOM INC                                                                 PO BOX 45263                                                                                             ST LOUIS                MO             63145-5263
    SECRETARY OF STATE                                                               MEMORIAL HALL 1ST FL                   120 SW 10TH AVE                                                   TOPEKA                  KS             66612-1594
    SECRETARY OF STATE                         CORPORATIONS BUREAU                   325 DON GASPAR STE 300                                                                                   SANTA FE                NM             87501
    SECRETARY OF STATE ALABAMA                 ATTN BUSINESS ENTITIES DIVISION       PO BOX 5616                                                                                              MONTGOMERY              AL             36103
    SECRETARY OF STATE AR                      CORPORATIONS DIVISION                 STATE CAPITOL                                                                                            LITTLE ROCK             AR             72201-1094
    SECRETARY OF STATE BE CERTIFICATION AND
    RECORDS                                                                          BE CERTIFICATION AND RECORDS                                                                             DOVER                   DE             19904
    SECRETARY OF STATE CA                      STATEMENT OF INFORMATION UNIT         PO BOX 944230                                                                                            SACRAMENTO              CA             94244-2300
    SECRETARY OF STATE CONNECTICUT             COMMERCIAL RECORDING DIVISION         PO BOX 150470                                                                                            HARTFORD                CT             06115-0470
    SECRETARY OF STATE CT                      COMMERCIAL RECORDING DIVISION         PO BOX 150470                                                                                            HARTFORD                CT             06115
    SECRETARY OF STATE DELAWARE                DIVISION OF CORPORATION               PO BOX 898                                                                                               DOVER                   DE             19903
                                               OFFICE OF THE SECRETARY OF STATE CORP
    SECRETARY OF STATE GA                      DIVISION                              315 W TOWER 2 MARTIN LUTHER KING DR                                                                      ATLANTA                 GA             30334-1530
    SECRETARY OF STATE IA                      BUSINESS SERVICE DIVISION             LUCAS BUILDING 1ST FL                                                                                    DES MOINES              IA             50319
    SECRETARY OF STATE ID                                                            450 N 4TH ST                           PO BOX 83720                                                      BOISE                   ID             83720-0080
    SECRETARY OF STATE IL                      DEPT OF BUSINESS SERVICES             501 S SECOND ST                                                                                          SPRINGFIELD             IL             62756
    SECRETARY OF STATE IN                      BUSINESS SERVICE DIVISION             302 W WASHINGTON ST RM E018                                                                              INDIANAPOLIS            IN             46204-2700
                                                                                     CREDIT SERVICES ORGANIZATION
    SECRETARY OF STATE IOWA                    SECRETARY OF STATE                    REGISTRATION                           LUCAS STATE OFFICE BUILDING 1ST FL                                DESMOINES               IA             50319
    SECRETARY OF STATE KS                                                            MEMORIAL HALL 1ST FL                   120 SW 10TH AVE                                                   TOPEKA                  KS             66612-1594
    SECRETARY OF STATE KY                      ALISON GRIMES SECRETARY OF STATE      PO BOX 718                                                                                               FRANKFORT               KY             40602
    SECRETARY OF STATE LA                      COMMERCIAL DIVISION                   PO BOX 94125                                                                                             BATON ROUGE             LA             70804-9125
    SECRETARY OF STATE MO                                                            PO BOX 1366                                                                                              JEFFERSON CITY          MO             65102
    SECRETARY OF STATE MO                      DIVISION OF FINANCE                   PO BOX 716                                                                                               JEFFERSON CITY          MO             65102-0716
    SECRETARY OF STATE MS                                                            PO BOX 136                                                                                               JACKSON                 MS             39205-0136
    SECRETARY OF STATE MS                                                            PO BOX 136                                                                                               JACKSON                 MS             39205-1035
    SECRETARY OF STATE MT                                                            PO BOX 202801                                                                                            HELENA                  MT             59620-2801
    SECRETARY OF STATE NC                      CORPORATIONS DIVISION                 PO BOX 29622                                                                                             RALEIGH                 NC             27626-0622
    SECRETARY OF STATE ND                                                            600 E BLVD AVE DEPT 108                                                                                  BISMARCK                ND             58505-0500
    SECRETARY OF STATE NE                                                            RM 1301 STATE CAPITOL                  PO BOX 94608                                                      LINCOLN                 NE             68509
    SECRETARY OF STATE NEBRASKA                                                      1201 N ST STE 120                                                                                        LINCOLN                 NE             68508
    SECRETARY OF STATE NM                                                            325 DON GASPER STE 300                                                                                   SANTA FE                NM             87501
    SECRETARY OF STATE NV                      STATUS DIVISION                       202 N CARSON ST STE 4                                                                                    CARSON CITY             NV             89701-4520
    SECRETARY OF STATE OF TEXAS                                                      PO BOX 12887                                                                                             AUSTIN                  TX             78711-2887
    SECRETARY OF STATE OH                                                            180 E BROAD ST                         16TH FL                                                           COLUMBUS                OH             43215
    SECRETARY OF STATE OK                                                            2300 N LINCOLN BLVD                    RM 101 STATE CAPITOL BLDG                                         OKLAHOMA CITY           OK             73105-4897
    SECRETARY OF STATE OR                      CORPORATION DIVISION                  255 CAPITAL ST NE STE 151                                                                                SALEM                   OR             97310-1327
    SECRETARY OF STATE SC                      ATTN CORPORATE                        1205 PENDLETON ST STE 525                                                                                COLUMBIA                SC             29201
    SECRETARY OF STATE TEXAS                   CORPORATIONS S                        PO BOX 13697                                                                                             AUSTIN                  TX             78711-3697
    SECRETARY OF STATE TN                                                            312 EIGHT AVE N 6TH FL                 WILLIAM R SNODGRASS TOWER                                         NASHVILLE               TN             37243
    SECRETARY OF STATE W VIRGINIA              NATALIE E TENNANT                     1900 KANAWHA BLVD E BLDG I STE 157 K                                                                     CHARLESTON              WV             25305
    SECRETARY OF STATE WASHINGTON              CORPORATIONS DIVISION                 801 CAPITAL WAY S                      PO BOX 40234                                                      OLYMPIA                 WA             98504-0234
    SECRETARY OF STATE WY                      STATE CAPITOL BLDG ROOM 110           200 W 24TH ST                                                                                            CHEYENNE                WY             82002-0020
    SECRETARY OF STATEIL                       ATTN INDEX DEPARTMENT                 111 E MONROE                                                                                             SPRINGFIELD             IL             62756
    SECURCARE VALUE PROPERTIES                                                       5808 HWY 271 S                                                                                           FORTH SMITH             AR             72908
    SECURE MOBILE SHREDDING                                                          16 HARVEY PL                                                                                             WHITEHORSE              YT             Y1A 5X6      CANADA
    SECURINT FINANCIAL SERVICES INC DBA
    SECURINT FINANCING                                                               4734 RUSSETT                                                                                             SKOKIE SKOKIE           IL             60076
    SECURITY ANALYSIS ASSOC INC                                                      PO BOX 3357                                                                                              GAITHERSBURG            MD             20885-3357
    SECURITY AND INVESTIGATIVE SUPPORT
    SERVICES INC                                                                     PO BOX 2633                                                                                              JACKSON                 MS             39207
    SECURTEK MONITORING SOLUTIONS                                                    70 1ST AVE N                                                                                             YORKTON                 SK             S3N 1J6      CANADA
    SEDRAK PARTNERS                                                                  2424 W PIONEER PKWY                                                                                      PANTEGO                 TX             76013
    SEEK CAPITAL LLC                                                                 6420 WILSHIRE BLVD                     STE 600                                                           LOS ANGELES             CA             90048
    SEETO PAULINE                                                                    ADDRESS ON FILE
    SEFFNER GROUP LLC                                                                1245 CT ST                             STE 102                                                           CLEARWATER              FL             33756
    SEGRA                                                                            PO BOX 580062                                                                                            CHARLOTTE               NC             28258-0062
    SELECTA 1050AM WVXX                                                              700 MONTICELO AVE                      STE 301                                                           NORFOLK                 VA             53510
    SELECTCOM INC                                                                    202 338 MONTREAL RD                                                                                      OTTAWA                  ON             K1L 6B3      CANADA
    SELF STORAGE SOLUTIONS LLC                                                       12 DOUGLAS LN                                                                                            WATERFORD               CT             06385
    SELFIE MIRROR INC                                                                408 SKYVIEW SHORES MANOR NE                                                                              CALGARY                 AB             T3N OH4      CANADA
    SELLINGER KEN                                                                    ADDRESS ON FILE
    SELVAGGI WILLIAM                                                                 ADDRESS ON FILE

    SEMAY RASHAD DBA TITANS CAPITAL PARTNERS                                         2024 N BROADWAY                        STE 210                                                           SANTA ANA               CA             92706
    SEMCASTING INC                                                                   41 HIGH ST                                                                                               NORTH ANDOVER           MA             01845
    SEMCO ENERGY                                                                     PO BOX 5004                                                                                              PORT HURON              MI             48061-5004
    SEMIH CIRIT                                                                      ADDRESS ON FILE
    SEMINOLE HERALD                                                                  ADDRESS ON FILE
    SEMPER DETECTIVE AGENCY                                                          413 BLOOMFIELD AVE                                                                                       NEWARK                  NJ             07107
    SENATOR NICKEY                                                                   347 MIDLAND AVE APT 1                                                                                    MIDLAND                 ON             L4R3K8       CANADA
    SENDERO BUSINESS SERVICES LP               DBA SENDERO                           2100 ROSS AVE                          STE 400                                                           DALLAS                  TX             75201
    SENDERO BUSINESS SERVICES LP               DBA SENDERO                           2100 ROSS AVE                          SUTIE 400                                                         DALLAS                  TX             75201
    SENDGRID                                                                         101 SPEAR ST 5TH FL                                                                                      SAN FRANCISCO           CA             94105
    SENECA CENTER LLC                                                                1223 N ROCK RD BLDG B                                                                                    WICHITA                 KS             67206
    SENIOR CONNECTOR                                                                 BOX 729                                                                                                  KAMLOOPS                BC             V2C 5M4      CANADA
    SENIOR LIFESTYLES INC                                                            2927 EMMORTON RD                                                                                         ABINGDON                MD             21009


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                        Name                                  Attention                            Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    SENIOR SOURCE                                                                  501 INDEPENDENCE PKWY                 STE 110                                                            CHESAPEAKE              VA           23320
    SENIORITY MAGAZINE                                                             258 GRANBY ST                                                                                            NORFOLK                 VA           23510
    SENTARA EXECUTIVE EVALUATION CENTER                                            229 W BUTE ST                         STE 910                                                            NORFOLK                 VA           23510
    SENTARA HEALTHCARE                                                             6015 POPLAR HALL DR                                                                                      NORFOLK                 VA           23502
    SENTARA MEDICAL GROUP                      D B A EXECUTIVE EVALUATION CENTER   301 RIVERVIEW AVE STE 390                                                                                NORFOLK                 VA           23510
    SENTINEL RECORD                                                                300 SPRING ST                                                                                            HOT SPRINGS             AR           71901
    SENTRA FUNDING LLC                                                             64 KEEPSAKE                                                                                              IRVINE                  CA           92618
    SEOMOZ                                                                         12211 PIKE ST                         STE 200                                                            SEATTLE                 WA           98122
    SERAFIN CONSTRUCTION                                                           44 SCHOOL ST                                                                                             W SENECA                NY           14224
    SERAPH LEGAL PA                                                                1614 N 19TH ST                                                                                           TAMPA                   FL           33605
    SERGEI VASILUK                                                                 ADDRESS ON FILE
    SERGIO CHUC BELIZE CENTER                                                      3546 PANDORA AVE                                                                                         BOYNTON BEACH           FL           33436-3420
    SERGIO JEAN LOUIS                                                              ADDRESS ON FILE
    SERGIO ROD DESIGNS                                                             3846 ALY SHEBA DR                                                                                        CLARKSVILLE             TN           37042
    SERPE RYAN LLP                                                                 1115 BROADWAY 12TH FL                                                                                    NEW YORK                NY           10010
    SERVICE EXPERTS                                                                3194 DEVON DR                                                                                            WINDSOR                 ON           N8X 4L2      CANADA
    SERVICE EXPERTS HEATING AND AIR
    CONDITIONING LLC                           DBA PARDEE HEATING AND AIR          1952 BELGRADE AVE                                                                                        CHARLESTON              SC           29407
    SERVICE GLASS                                                                  PO BOX 3678                           5412 49TH AVE                                                      FORT NELSON             BC           V0C 1R0      CANADA
    SERVICE UP LLC                                                                 620 SHELL RD                                                                                             CHESAPEAKE              VA           23323
    SERVICEMASTER CLEAN OF BARRIE ORILLIA                                          49 MORROW RD UNIT 14                                                                                     BARRIE                  ON           L4N 3V7      CANADA
    SERVICING SOLUTIONS                                                            1900 S STATE COLLEGE                  STE 400                                                            ANAHEIM                 CA           92806
    SERVING BY IRVING INC                                                          WOOLWORTH BLDG                        233 BROADWAY ST STE 2201                                           NEW YORK                NY           10279
    SERVITOR TRAINING SERVICES                                                     99 B SHEPPARD AVE W                                                                                      TORONTO                 ON           M2N 1M4      CANADA
    SERVOR INC                                                                     3420 PUMP RD 114                                                                                         RICHMOND                VA           23233
    SERVPRO OF SOUTH CHATTANOOGA                                                   PO BOX 630                                                                                               CHATTANOOGA             TN           37401
    SERYUS PROPERTY GROUP LLC                                                      239 WALKER ST SW UNIT B                                                                                  ATLANTA                 GA           30313
    SESSIONS ISRAEL AND SHARTLE LLC                                                LAKEWAY TWO STE 200                   3850 N CAUSEWAY BLVD                                               METAIRIE                LA           70002-7227
    SEVAA                                      AFRAM FEST 2002                     PO BOX 366                                                                                               NORFOLK                 VA           23501
    SEVEN ELEVEN HAWAII INC                    C O SOFOS REALTY                    600 KAPIOLANI BLVD STE 200                                                                               HONOLULU                HI           96813
    SEVEN SEAS FUNDING LLC                                                         1191 BROADWAY                                                                                            BROOKLYN                NY           11226
    SEVERAL BRANDS LLC                                                             12333 SOWDEN RD                       STE B56440                                                         HOUSTON                 TX           77080
    SEVERSON AND WERSON                                                            ONE EMBARCADERO CTR                                                                                      SAN FRANCISCO           CA           94111
    SEVERSON AND WERSON A PROFESSIONAL
    CORPORATION                                                                    595 MARKET ST                         STE 2600                                                           SAN FRANCISCO           CA           94105
    SEVERSON AND WERSON A PROFESSIONAL
    CORPORATION                                                                    ONE EMBARCADERO CTR STE 2600                                                                             SAN FRANCISCO           CA           94111
    SEWARD AND KISSEL LLP                                                          ONE BATTERY PARK PLZ                                                                                     NEW YORK                NY           10004
    SEYFARTH SHAW LLP                                                              233 WACKER DR STE 8000                                                                                   CHICAGO                 IL           60606
    SEYMOUR DALEY                                                                  1101 2739 VICTORIA PARK AVE                                                                              SCARBOROUGH             ON           M1T 1A7      CANADA
                                                                                                                         DBA SFP POOL FIVE SHOPPING CENTERS
    SFP BVT PORTFOLIO LP                                                           17800 LAUREL PARK DR N STE 200C       LP                                                                 LIVONIA                 MI           48152
    SGS BOULEVARD LLC                           C O GREENHILL REALTY COMPANY       4901 FAIRMONT AVE STE 200                                                                                BETHESDA                MD           20814
    SGS CONSUMER FINANCE INC                                                       201 E ABRAM ST                        STE 120                                                            ARLINGTON               TX           76010
    SGS CREDIT SERVICES INC                                                        201 E ABRAM ST                        STE 120                                                            ARLINGTON               TX           76010
    SGS FUNDING INC                                                                201 E ABRAM ST                        STE 120                                                            ARLINGTON               TX           76010
    SGS WA INC                                                                     201 E ABRAM ST                        STE 120                                                            ARLINGTON               TX           76010
    SHAFER AND ASSOCIATES PC                                                       2921 PIEDMONT RD NE                   STE B                                                              ATLANTA                 GA           30305
    SHAH PAUL                                                                      ADDRESS ON FILE
    SHAHANI RAVI                                                                   ADDRESS ON FILE
    SHAKE IT UP BARTENDING                                                         1629 E MONTECITO AVE                                                                                     PHOENIX                 AZ           85016
    SHAKED LAW GROUP PC                                                            63 CARTHAGE RD                                                                                           SCARSDALE               NY           10583
    SHAKER MZL LLC                              C O WINSLOW PROPERTY MANAGEMENT    80 HAYDEN AVE                                                                                            LEXINGTON               MA           02421
    SHAMIEH ELIAS                                                                  ADDRESS ON FILE
    SHAMROCK SPORTSFEST                                                            2865 LYNNHAVEN DR C 5                                                                                    VIRGINIA BEACH          VA           23451
    SHANE MANESS                                                                   ADDRESS ON FILE
    SHANNER AND ASSOCIATES INC                                                     7777 ALVARADO RD                      STE 307                                                            LA MESA                 CA           91942
    SHANNON HARRIS DBA STELLAR BUSINESS
    FUNDING                                                                        382 SE 14TH ST                                                                                           SUMMERFIELD             FL           34491
    SHANNON SQUARE LLC                                                             181 S FRANKLIN AVE STE 503                                                                               VALLEY STREAM           NY           11581
    SHANTORIA CLARK                                                                ADDRESS ON FILE
    SHARED INSIGHTS                                                                LOCK BOX 83109                                                                                           WOBURN                  MA           01813-3109
    SHARED TECHNOLOGIES INC                                                        DEPT 145                              PO BOX 4869                                                        HOUSTON                 TX           77210-4869
    SHARICE MAYFIELD DBA ELITE BUSINESS FUNDING
    LLC                                                                            3340 MULBERRY COVE DR                                                                                    AUBURN                  GA           30011
    SHARP ELECTRONICS CORPORATION               DBA SHARP BUSINESS SYSTEMS         DEPT LA 21565                                                                                            PASADENA                CA           91185-1565
    SHARP ENTERPRISES INC                       DBA A AND B PRINTING               400 ENTERPRISE DR                                                                                        FORT LORAMIE            OH           45845

    SHARP PROCESS AND INVESTIGATIVE SERVICES                                       6710 EMBASSEY BLVD                    STE 201                                                            PORT RICHEY             FL           34668
    SHARPS AUDIO VISUAL LTD                                                        1936 27 AVE NE                                                                                           CALGARY                 ALBERTA      T2E 7A5      CANADA
    SHAUNTELLE JOHNSON                                                             ADDRESS ON FILE
    SHAW CABLE                                                                     PO BOX 2468                           STATION MAIN                                                       CALGARY                 AB           T2P 4Y2      CANADA
    SHAW CABLESYSTEMS GP                                                           PO BOX 2468                           STATION MAIN                                                       CALGARY                 AB           T2P 4Y2      CANADA
    SHAW RYAN D                                                                    ADDRESS ON FILE
    SHAWN EDWARD LOW                                                               ADDRESS ON FILE
    SHAWN VADNAIS                                                                  ADDRESS ON FILE
    SHAYNAS CORNER LLC                                                             10783 NARCOOSSEE RD STE 117                                                                              ORLANDO                 FL           32832
    SHDR                                                                           FEE PROCESSING GROUP                  PO BOX 1033                                                        CHARLESTON              WV           25324
    SHEA BROS DRAINAGE                                                             995 TALBOT RD                                                                                            WINDSOR                 ON           N9H 1A4      CANADA
    SHEARD JR AL                                                                   ADDRESS ON FILE
    SHECKELS LAWN SERVICES AND LANDSCAPING
    LLC                                                                            5164 STRATFORD CHASE DR                                                                                  VIRGINIA BEACH          VA           23464
    SHEDRAK KORIL DBA ALL SYSTEMS HVAC                                             6400 N KENTON                                                                                            LINCOLNWOOD             IL           60712
    SHEETS GENE                                                                    ADDRESS ON FILE
    SHELBURNE MINOR HOCKEY ASSOCIATION                                             PO BOX 96 STN MAIN                                                                                       SHELBURNE               ON           L9V 3L8      CANADA
    SHELBY COUNTY                                                                  ADDRESS ON FILE
    SHELBY JONES                                                                   ADDRESS ON FILE
    SHELDON BERK DBA ADDISON FUNDING                                               1022 OLANCHA DR                                                                                          LOS ANGELES             CA           90065
    SHELDON MATTHEW                                                                ADDRESS ON FILE


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    SHELDON MATTHEW                                                             ADDRESS ON FILE
    SHELDON SADA                                                                ADDRESS ON FILE
    SHELL ENERGY SERVICES CO LLC                                                PO BOX 659583                                                                                             SAN ANTONIO               TX           78265-9583
    SHELTON SHIRLEY                                                             ADDRESS ON FILE
    SHENA MEYER                                                                 ADDRESS ON FILE
    SHENANDOAH AREA AGENCY ON AGING                                             207 MOSBY LN                                                                                              FRONT ROYAL               VA           22630
    SHENANDOAH LEGAL GROUP PC                   ATTOTNEYS FOR JEROME REED       310 JEFFERSON ST SE                                                                                       ROANOKE                   VA           24002
    SHEPARD HYKEN                                                               ADDRESS ON FILE

    SHEPPARD BRETT STEWART HERSCH AND KINSEY                                    9100 COLLEGE POINTE CT                                                                                    FORT MYERS                FL           33919
    SHEPPARD JONATHAN                                                           ADDRESS ON FILE

    SHEPPARD MULLINS RICHTER AND HAMPTON LLP                                    43RD FL                                333 S HOPE ST                                                      LOS ANGELES               CA           90071-1448
    SHERATON LABELS INC                                                         112 5726 BURLEIGH CRESCENT SE                                                                             CALGARY                   ON           T2H 1Z8      CANADA
    SHERATON NORFOLK WATERSIDE                                                  777 WATERSIDE DR                                                                                          NORFOLK                   VA           23510
    SHERATON OCEANFRONT                                                         3501 ATLANTIC AVE                                                                                         VIRGINIA BEACH            VA           23451
    SHERATON SAN DIEGO HOTEL AND MARINA         ATTN REBECCA FLORES             1380 HARBOR ISLAND DR                                                                                     SAN DIEGO                 CA           92101
    SHERI BERND                                                                 ADDRESS ON FILE
    SHERI PARI                                                                  ADDRESS ON FILE
    SHERIDAN ROSS PC                                                            1560 BROADWAY                          STE 1200                                                           DENVER                    CO           80202
    SHERINIAN AND HASSO LAW FIRM KRISTIN
    PETERSON                                                                    521 E LOCUST ST                        STE 300                                                            DES MOINES                IA           50309
    SHERLOCK INVESTIGATIONS                                                     154 W 70TH ST                          STE 212                                                            NEW YORK                  NY           10023
    SHERWOOD DIGITAL COPY CENTRE                                                3300 BLOOR ST W                        STE 159 RETAIL LEVEL                                               ETOBICOKE                 ON           M8X 2W8      CANADA
    SHES THE BOSS PAINTING COMPANY                                              PO BOX 30831                                                                                              CLARKSVILLE               TN           37040
    SHI INTERNATIONAL CORP                                                      PO BOX 952121                                                                                             DALLAS                    TX           75395-2121
    SHIEKH ELLAHI                                                               ADDRESS ON FILE
    SHIFT UP LLC                                                                3628 PING DR                                                                                              RAPID CITY                SD           57703
    SHINE FM CKRD                                                               13 7619 50TH AVE                                                                                          RED DEER ALBERTA          AB           T4P 1M6      CANADA
    SHIP IT                                                                     3600 EAGLE WAY                                                                                            TWINSBURG                 OH           44087-2380
    SHIRLEY J MITCHELL                                                          ADDRESS ON FILE
    SHIRLEY PLAZA REALTY CORP                                                   PO BOX 22011                                                                                              GREAT NECK                NY           11022

    SHLOMO FEINSTEIN DBA SAPPHIRE FUNDING LLC                                   728 A MARLIN AVE                                                                                          LAKEWOOD                  NJ           08701
    SHON SCOTT                                                                  7 VICTORIA ST                                                                                             ORANGEVILLE               ONTARIO      L9W 3V6      CANADA
    SHOP TUTORS                                                                 80 RIVER ST                            STE 3C                                                             HOBOKEN                   NJ           07030
    SHOPAYGO LLC                                                                4004 ATLANTIC AVNUE 1102                                                                                  VIRGINIA BEACH            VA           23451
    SHOPFUNDER LLC                                                              260W 35TH ST STE PH                                                                                       NEW YORK                  NY           10001
    SHOPPER                                                                     PO BOX 45606                                                                                              BATON ROUGE               LA           70985
    SHOPPER COUPONS                                                             206 615 8TH ST                                                                                            NEW WESTMINSTER           BC           V3M 3S3      CANADA
    SHOPPERS REALTY INC                         ATTN REAL ESTATE SERVICES       243 CONSUMERS RD 8TH                                                                                      NORTH YORK                ON           M2J 4W8      CANADA
    SHOPPES AT TELEGRAPH SQUARE LLC                                             385 SUGAR LEO RD                                                                                          ST GEORGE                 UT           84790
    SHOPS AT HAMPTON TOWNE CENTRE LLC                                           4300 SIGMA RD                          STE 100                                                            DALLAS                    TX           75244
    SHOPS AT TANFORAN REIT INC                                                  PO BOX 398352                                                                                             SAN FRANCISCO             CA           94139-8352
    SHORE DRIVE PLAZA LLC                                                       929 UPPER HASTINGS WAY                                                                                    VIRGINIA BEACH            VA           23452
    SHORE FUNDING SOLUTIONS                                                     3 HUNTINGTON QUADRANGLE                STE 1N15                                                           MELVILLE                  NY           11747
    SHORE INVESTIGATIONS INC                                                    927 EASTERN SHORE DR                                                                                      SALISBURY                 MD           21804
    SHORELINE LENDING INC                                                       2445 MORENA BLVD                       STE 207                                                            SAN DIEGO                 CA           92110
    SHORESIDE LOANS                             C O 100 CANAL POINT BLVD        STE 208                                                                                                   PRINCETON                 NJ           08540
    SHOREWORX COMMUNICATIONS INC                                                4605 BEHRWALD AVE                                                                                         CLEVELAND                 OH           44144
    SHOUTLET INC                                                                ONE ERDMAN PL STE 102                                                                                     MADISON                   WI           53717
    SHOW ME MERCHANTS LLC                                                       809 SW 19TH ST                                                                                            FORT LAUDERDALE           FL           33315
    SHOWTIME EXPRESS                                                            1411 W PLACITA LAS PALMAS                                                                                 TUCSON                    AZ           85704
    SHRADER SCOTT                                                               ADDRESS ON FILE
    SHRED IT                                                                    6838 FAIRFIELD BUSINESS DR                                                                                FAIRFIELD                 OH           45014
    SHRED IT ALUMINUM                                                           2350 ALUMINUM DR                                                                                          HAMPTON                   VA           23661
    SHRED IT C O STERICYCLE ULC                                                 PO BOX 15781 STATION A                                                                                    TORONTO                   ON           M5W 1C1      CANADA
    SHRED IT CANADA WINNIPEG                                                    UNIT 4 2073 LOGAN AVE                                                                                     WINNIPEG                  MB           R2R 0J1      CANADA
    SHRED IT INTERNATIONAL INC                  C O T10243C                     PO BOX 15781 STN A                                                                                        TORONTO                   ON           M5W 1C1      CANADA
    SHRED IT NEW ORLEANS                                                        110 WIDGEON DR                         STE 100                                                            ST ROSE                   LA           70087
    SHRED IT OMAHA                                                              25265 NETWORK DR                                                                                          CHICAGO                   IL           60673-1252
    SHRED IT PRIVIDENCE                                                         1 WHOLESALE WAY                                                                                           CRANSTON                  RI           02920
    SHRED IT US HOLDCO INC                      DBA SHRED IT USA LLC            28161 N KEITH DR                                                                                          LAKE FOREST               IL           60045
    SHRED IT US JV LLC DBA SHRED IT USA LLC                                     28883 NETWORK PL                                                                                          CHIAGO                    IL           60673-1288
    SHRED IT USA 28883 NETWORK PLACE                                            28883 NETWORK PL                                                                                          CHICAGO                   IL           60673-1288
    SHRED IT USJV LLC                           DBA SHRED IT USA LLC            PO BOX 13574                                                                                              NEW YORK                  NY           10087-3574
    SHREWSBURY SELF STORAGE                                                     20 ONION BLVD                                                                                             SHREWSBURY                PA           17361
    SHRM                                                                        PO BOX 791139                                                                                             BALTIMORE                 MD           21279-1139
    SHRUTI KIDBILE                                                              ADDRESS ON FILE
    SHUGERT MELANIE                                                             ADDRESS ON FILE
    SHURGARD OF QUEEN ANNE                                                      3000 15TH AVE W                                                                                           SEATTLE                   WA           98119
    SHUTTER COMPANY                             D B A SHUTTER COMPANY           8500 D GLAZEBROOK AVE                                                                                     RICHMOND                  VA           23228
    SHWAB FINANCIAL SERVICES INC                                                5005 PRESTON HWY STE 101                                                                                  LOUISVILLE                KY           40213
    SHYWORDS TRAFFIC NETWORK                                                    95 ROYAL CREST CT                      UNIT 5                                                             MARKHAM                   ONTARIO      L3R 9X5      CANADA
    SIDDIQI BILAL A                                                             ADDRESS ON FILE
    SIDE MACK AND SONS                                                          125 1 N MAIN ST                                                                                           MOORESVILLE               NC           28115
    SIDEM LLC                                   DBA IRS NATIONWIDE TAX FORUMS   1775 EYE ST NW STE 1150                                                                                   WASHINGTON                DC           20006
    SIDLEY AUSTIN LLP                                                           ONE S DEARBORN ST                                                                                         CHICAGO                   IL           60603
    SIEMENS BUILDING TECHNOLOGIES LTD                                           PO BOX 9411                            STN A                                                              TORONTO                   ON           M5W 4E1      CANADA
    SIERRA JOSHUA J                                                             ADDRESS ON FILE
    SIERRA RADIO NETWORK                                                        3015 JOHNSONVILLE RD                                                                                      SUSANVILLE                CA           96130
    SIFEN DEVELOPMENT INC                                                       2900 SABRE ST STE 75                                                                                      VIRGINIA BEACH            VA           23452
    SIGN A RAMA                                                                 1093 JOHN COUNTER BLVD                                                                                    KINGSTON                  ON           K7K6C7       CANADA
    SIGN A RAMA CO                                                              3448 N ACADEMY BLVD                                                                                       COLORADO SPRINGS          CO           80917
    SIGN A RAMA NC                                                              14311 A3 REESE BLVD                                                                                       HUNTERSVILLE              NC           28078
    SIGN A RAMA PR                                                              1185 JESUS T PINERO AVE                PUERTO NUEVO                                                       SAN JUAN                  PR           00920
    SIGN AND AWNING SYSTEMS INC                                                 2785 US HWY 301 N                                                                                         DUNN                      NC           28334
    SIGN CITY                                                                   360 UNIVERSITY AVE                                                                                        CHARLOTTETOWN             PE           C1A 4M7      CANADA
    SIGN DEPOT                                                                  2138 W BUSH BLVD                                                                                          TAMPA                     FL           33612


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    SIGN DISTRIBUTION WAREHOUSE                                                    1321 KILKEE CT                                                                                             GARLAND                 TX            75044
    SIGN EXPERTS LTD                                                               219 CEDARWOOD RD SW                                                                                        CALGARY                 AB            T2W 3G8      CANADA
    SIGN FX INC                                                                    18 J ENTERPRISE AVE                                                                                        NAPEAN                  ON            K2G 0A6      CANADA
    SIGN MASTER                                                                    PO BOX 6015                                                                                                JONESBORO               AR            72403-6015
    SIGN NOW                                                                       111 W BROADWAY                                                                                             MISSOULA                MT            59802
    SIGN ON THE LINE INC                                                           100 SPECTRUM CTR DR                     STE 520                                                            IRVINE                  CA            92618
    SIGN SERVICE AND MFG CO                                                        10014 N GOVERNMENT WAY                                                                                     HAYDEN                  ID            83835
    SIGNAGE                                                                        3 19 RUTHESFORD RD S                                                                                       BRAMPTON                ON            L6W 3J3      CANADA
    SIGNARAMA BURNABY                                                              4301 CANADA WAY                                                                                            BURNABY                 BC            V5G 1J3      CANADA
    SIGNARAMA MARKHAM                                                              2600 JOHN ST UNIT 106                                                                                      MARKHAM                 ON            L3R 3W3      CANADA
    SIGNARAMA TAMPA BAY                                                            7211 US HWY 19 N                                                                                           PINELLAS PARK           FL            33781
    SIGNATURE LEASING AND CAPITAL CORP                                             1129 NORTHERN BLVD                      STE 404                                                            MANHASSET               NY            11030
    SIGNATURE MANAGEMENT COMPANY                                                   244 MUSTANG TRAIL STE 6                                                                                    VIRGINIA BEACH          VA            23452
    SIGNATURE PRINTING AND GRAPHICS                                                889 POPLAR HALL DR                                                                                         NORFOLK                 VA            23502
    SIGNATURE SIGNS                                                                130 ATHABASCA ST W                                                                                         MOOSE JAW               SK            S6H 2C3      CANADA
    SIGNET SIGNS                                                                   2640 ARKANSAS AVE                                                                                          NORFOLK                 VA            23513
    SIGNHYPE                                                                       908 CALDWELL BLVD                                                                                          NAMPA                   ID            83651
    SIGNIFICO                                                                      69 MAIN ST S BOX 1425                                                                                      ALEXANDRIA              ON            K0C 1A0      CANADA
    SIGNMASTERS                                                                    246 PENNSYLVANIA AVE                                                                                       VIRGINIA BEACH          VA            23462
    SIGNS CAD CORP DBA CAD SIGNS                                                   169 LODI ST                                                                                                HACKENSACK              NJ            07601
    SIGNS FOR THE TIMES                                                            5485 HWY 11 E                                                                                              PINEY FLATS             TN            37686
    SIGNS GALORE INC                                                               25 BEASLEY DR                                                                                              KITCHNER                ONTARIO       N2E 1W7      CANADA
    SIGNS MAGIC                               DBA SIGNS NOW 74                     716 N WEINBACH AVE                                                                                         EVANSVILLE              IN            47711
    SIGNS OF LIFE LLC                                                              101 A PAN RIDGE CT                                                                                         POINT HARBOR            NC            27964
    SIGNS ON TIME                                                                  22314 PERRY HWY STE 1                                                                                      ZELIENOPLE              PA            16063
    SIGNS PLAQUES AND MORE                                                         4400 HOLLAND RD                         HOLLAND PLZ SHOPPES II                                             VIRGINIA BEACH          VA            23452
    SIGNSCAPES INC                                                                 21477 BRIDGE ST                         STE F                                                              SOUTHFIELD              MI            48033
    SIGNSHARKS SIGN SERVICE                                                        7030 N MAIN ST                                                                                             JACKSONVILLE            FL            32208
    SIGNWORK BY CHUCK KISH                                                         616 N STATELINE RD                                                                                         MASURY                  OH            44438
    SIGRID RAUDALES                                                                ADDRESS ON FILE
    SILEMIN MIKE                                                                   ADDRESS ON FILE
    SILK FM BROADCASTING LTD                                                       1598 PANDOSY ST                                                                                            KELOWNA                 BC            V1Y 1P4      CANADA
    SILVER HORN II LLC                        C O CRAWFORD HOYING REAL ESTATE      555 METRO PL N STE 600                                                                                     DUBLIN                  OH            43107
    SILVER SAGE SHOPPING CENTER                                                    4545 ALLSTATE DR                                                                                           RIVERSIDE               CA            92501
    SILVERCREST ADVERTISING                   ATTN WILLIAM ROGRIGUEZ               6818 CHRISHOLM AVE                                                                                         VAN NUYS                CA            91406
    SILVERCREST ADVERTISING INC                                                    6818 CHISHOLM AVE                                                                                          VAN NUYS                CA            91406
    SILVERHAWK INVESTIGATIONS                                                      268 N 115TH ST                          STE 1 A                                                            OMAHA                   NE            68154
    SILVERLAND INVESTMENT LLC                 C O BLR COMMERCIAL REAL ESTATE INC   2423 W MARCH LN STE 202                                                                                    STOCKTON                CA            95207
    SILVERMAN AND COMPANY INC                                                      9545 KENWOOD RD                         STE 404                                                            CINCINNATI              OH            45242
    SILVERPOP SYSTEMS INC                                                          PO BOX 347925                                                                                              PITTSBURGH              PA            15251-4925
    SILVERSCAPES INC                                                               1558 S OAK ST                                                                                              CASPER                  WY            82601
    SILVERTIP PROMOTIONS AND SIGNS                                                 105 2905 KENNEY ST                                                                                         TERRACE                 BC            V8G 3E8      CANADA
    SIMAS PROPERTIES 1 LLC                                                         31505 1500E                                                                                                WENDELL                 ID            83355
    SIMMONS DAVID                                                                  ADDRESS ON FILE
    SIMMONS MEDIA GROUP KXRK                                                       515 S 700 E                             STE 1C                                                             SALT LAKE CITY          UT            84102
    SIMMONS SHANE                                                                  ADDRESS ON FILE
    SIMON CAPITAL GP                                                               SOUTHERN PARK MALL                      7401 MARKET ST                                                     YOUNGSTOWN              OH            44512
    SIMON PROPERTY GROUP                                                           SOUTHERN PARK MALL                      7401 MARKET ST                                                     YOUNGSTOWN              OH            44512
    SIMON PROPERTY GROUP LP                   ATTN DANIEL SEGAL                    225 W WASHINGTON ST                                                                                        INDIANAPOLIS            IN            46204
    SIMON SALEEM DBA FUNDCAPA LLC                                                  439 NW BROADWAY 28                                                                                         PORTLAND                OR            97209
    SIMON W HENDERSHOT III                                                         ADDRESS ON FILE
    SIMONS WILLIAM                                                                 ADDRESS ON FILE
    SIMPLE FAST LOANS INC                                                          8601 DUNWOODY PL                        STE 406                                                            ATLANTA                 GA            30350
    SIMPLE MERCHANT SOLUTIONS INC                                                  PO BOX 7764                                                                                                PORT ST LUCIE           FL            34985
    SIMPLIFY COMPLIANCE LLC                                                        100 WINNERS CIR STE 300                                                                                    BRENTWOOD               TN            37024-5094
    SIMPLY CAPITAL SOURCE INC                                                      1322 E14TH ST                                                                                              BROOKLYN                NY            11230
    SIMPLY COMP                                                                    302 6339 200TH ST                                                                                          LANGLEY                 BC            V2Y 1A2      CANADA
    SIMPLY FINTECH INC                                                             430 LONGFELLOW AVE                                                                                         HERMOSA BEACH           CA            90254
    SIMPOVA WEB COMMERCE                                                           PO BOX 1329                                                                                                BALWIN                  MO            63022-1329
    SIMPSON CHASITY                                                                ADDRESS ON FILE
    SIMRAN INC                                                                     173 PACIFIC HWY S                                                                                          MONMOUTH                OR            97361
    SIMTRAX COURIER                                                                15 GLENDALE AVE                                                                                            LONDON                  ON            N6J 2H9      CANADA
    SINCLAIR TELEVISION GROUP                                                      10706 BEAVER DAM RD                                                                                        COCKEYSVILLE            MD            21030
    SINGH JAIDEEP                                                                  ADDRESS ON FILE
    SINTAY RYAN                                                                    ADDRESS ON FILE
    SIOUX FALLS SHOPPING NEWS                                                      4005 S WESTERN AVE                      PO BOX 5184                                                        SIOUX FALLS             SD            57117
    SIOUX FALLS STAMPEDE                      ATTN ROGER KASA                      1919 W 57TH ST                                                                                             SIOUX FALLS             SD            57108
    SIR RAMIKINC                                                                   ADDRESS ON FILE
    SISKIND CROMARTY IVEY AND DOWLER LLP                                           680 WATERLOO ST                         PO BOX 2520                                                        LONDON                  ON            N6A 3V8      CANADA
    SISKINDS THE LAW FIRM                                                          680 WATERLOO STPO BOX 2520                                                                                 LONDON                  ON            N6A 3V8      CANADA
    SISMAS GROUP INC DBA POLYMORPHIC                                               2123 E GLENOAKS BLVD                                                                                       GLENDALE                CA            91206
    SISSON WARREN SINCLAIR                                                         FIRST RED DEER PL                       600 4911 51ST ST                           ATTN MICHAEL KEYES      RED DEER                ALBERTA       T4N 6V4      CANADA
    SIX C D ASSOCIATES                                                             PO BOX 890731                                                                                              CHARLOTTE               NC            28289-0731
    SKADDEN ARPS SLATE INACTIVE                                                    FOUR TIMES SQUARE                                                                                          NEW YORK                NY            10036-6522

    SKADDEN ARPS SLATE MEAGHER AND FLOM LLP                                        PO BGX 1764                                                                                                WHITE PLAINS            NY            10602

    SKADDEN ARPS SLATE MEAGHER AND FLOM LLP                                        PO BOX 1764                                                                                                WHITE PLAINS            NY            106202
    SKAGGS BONNIE                                                                  ADDRESS ON FILE
    SKAGGS FAUCETTE LLP                                                            FOUR EMBARCADERO CTR                    STE 1400                                                           SAN FRANCISCO           CA            94111
    SKAGIT COUNTY TREASURER                   KATIE JUNGQUIST                      PO BOX 518                                                                                                 MOUNT VERNON            WA            98273
    SKEEY INTERACTIVE LLC                                                          PO BOX 291                                                                                                 BURLINGTON              MA            01803
    SKIAVO LANA                                                                    ADDRESS ON FILE
    SKILLPATH SEMINARS                                                             PO BOX 804441                                                                                              KANSAS CITY             MO            64180-4441
    SKINNER BROS TRANSPORT LTD                                                     PO BOX 386                                                                                                 FORT NELSON             BC            V0C 1R0      CANADA
    SKIP TO LINE 71 LLC                       C O MICHELLE BLACKSBERG              3234 43RD ST 1                                                                                             ASTORIA                 NY            10018
    SKLARIN COMMUNICATIONS LLC                                                     40 NEIL DR                                                                                                 SMITHTOWN               NY            11787
    SKOOTER HOME IMPROVEMENT                                                       2683 MALLEK RD                                                                                             JUNCTION CITY           WI            54443
    SKY FUNDING GROUP                                                              555 S RENTON VILLAGE PL                 STE 625                                                            RENTON                  WA            98057


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    SKYGRADE CORP DBA SKYGRADE BUSINESS
    CAPITAL                                                                     73 63 188TH ST                                                                                            FRESH MEADOWS            NY           11366
    SKYLAR NEILSON                                                              ADDRESS ON FILE
    SKYLAR ZORIK                                                                ADDRESS ON FILE
    SKYTOP BUSINESS LOANS LLC                                                   517 S MAIN ST                                                                                             OLD FORGE                PA           18518
    SL BEACH LLC                                                                PO BOX 5620                                                                                               NEWPORT BEACH            CA           92662

    SL NUSBAUM                                                                  COLLEGE PARK SQUARE ASSOCIATES LLLP    PO DRAWER 3580                                                     NORFOLK                  VA           23514
    SL NUSBAUM INSURANCE AGENCY INC                                             500 W 21ST ST STE 300                                                                                     NORFOLK                  VA           23517
    SL NUSBAUM REALTY CO                                                        PO BOX 601882                                                                                             CHARLOTTE                NC           28260-1882
    SL NUSBAUM REALTY COMPANY                                                   PO BOX 3580                                                                                               NORFOLK                  VA           23514
    SLACK CAPITAL                                                               120 NEWPORT CTR DR                     STE 19                                                             NEWPORT BEACH            CA           92660
    SLAIT CONSULTING                                                            100 LANDMARK SQUARE                                                                                       VIRGINIA BEACH           VA           23452
    SLAPNIK MARTIN                                                              574 HWY 17 N                                                                                              N MYRTLE BEACH           SC           29582
    SM LAW GROUP APC                                                            16130 VENTURA BLVD                     STE 660                                                            ENCINO                   CA           91436
    SMA COMMUNICATIONS LLC                                                      1040 BAYVIEW DR 114                                                                                       FORT LAUDERDALE          FL           33304
    SMALL BUSINESS FINANCIAL EXCHANGE INC      C O EINSTEIN AND BURT            24100 CHAGRIN BLVD 450                                                                                    CLEVELAND                OH           44122
    SMALL BUSINESS FUNDING SOLUTIONS DBA SMALL
    BUSINESS CAPITAL SOLU                                                       3611 14TH AVE                          STE 426                                                            BROOKLYN                 NY           11218
    SMALLBUSINESSOPPORTUNITYCOM                                                 3870 PEACHTREE INDUSTRIAL BLVD         STE 150 120                                                        DULUTH                   GA           30096

    SMARK ASSOCIATES INC DBA KEEP YOU FUNDED                                    6851 JERICHO TPKE                      STE 165                                                            SYOSSET                  NY           11791
    SMART CITY NETWORKS LP                                                      5795 W BADURA AVE                      STE 110                                                            LAS VEGAS                NV           89118
    SMART CITY NETWORKS VA BEACH                                                1000 19TH ST                                                                                              VIRGINIA BEACH           VA           23451
    SMART DM                                                                    822 AIRPARK CTR DR                                                                                        NASHVILLE                TN           37217
    SMART JOHN                                                                  ADDRESS ON FILE
    SMART TRADING COMPANY                      C O FAIRWAY MANAGEMENT COMPANY   PO BOX 179                                                                                                WOODBRIDGE               CA           95258
    SMARTBEAR SOFTWARE INC                                                      DEPT 3247                              PO BOX 123247                                                      DALLAS                   TX           75312-3247
    SMARTMONEYCOM                                                               PO BOX 25883                                                                                              LEHIGH VALLEY            PA           18002-5883
    SMARTREMINDERSCOM INC                                                       1437 DONELSON PIKE                                                                                        NASHVILLE                TN           37217
    SMARTSOURCE RENTALS                                                         PO BOX 289                                                                                                LAUREL                   NY           11948
    SMC SQUARED LLC                                                             1800 CAMAN PARK DR                                                                                        ALLEN                    TX           75002
    SMG                                        DBA IRVING CONVENTION CENTER     500 W LAS COLINAS BLVD                                                                                    IRVING                   TX           75039
    SMITH AND GORDON HOLDINGS GROUP INC DBA
    FAST CAPITAL                                                                2417 ALBEMARLE RD 9C                                                                                      BROOKLYN                 NY           11226
    SMITH CARROAD LEVY AND FINKEL LLP                                           5036 JERICHO TURNPIKE                                                                                     COMMACK                  NY           11725
    SMITH CATHY                                                                 ADDRESS ON FILE
    SMITH FULCHER VALERIE M                                                     ADDRESS ON FILE
    SMITH GAMBRELL AND RUSSELL LLP                                              STE 3100 PROMENADE II                  1230 PEACHTREE ST NE                                               ATLANTA                  GA           30309-3592
    SMITH GLEN AND BETTY                                                        ADDRESS ON FILE
    SMITH GLORIA S                                                              ADDRESS ON FILE
    SMITH INDUSTRIES                                                            18 HUDSON ST                                                                                              MECHANICSVILLE           NY           12118
    SMITH INDUSTRIES INACTIVE                                                   18 HUDSON ST                                                                                              MECHANICSVILLE           NY           12118
    SMITH JASON                                                                 ADDRESS ON FILE
    SMITH KAREN                                                                 ADDRESS ON FILE
    SMITH KENNETH E                                                             ADDRESS ON FILE
    SMITH LISA                                                                  ADDRESS ON FILE
    SMITH STEVE                                                                 ADDRESS ON FILE
    SMITHBOWER DANIEL                                                           ADDRESS ON FILE
    SMITTYS BICYCLE SHOP AND LOCKSMITH SERVICE
    LLC                                                                         1032 COVINGTON AVE                                                                                        PIQUA                    OH           45356
    SMOKING GUN ENTERTAINMENT                                                   832 DURHAM AVE SW                                                                                         CALGARY                  AB           T2T 5R2      CANADA
    SMOM GOLF                                                                   PO BOX 298                                                                                                HORSEHEADS               NY           14845
    SMS MEDIA GROUP INNC                                                        65 ENTERPRISE                                                                                             ALISO VIEJO              CA           92656
    SMS VENTURES INC                                                            1111 BROADHOLLOW RD                    STE 330                                                            FARMINGDALE              NY           11735
    SMULLEN WILLIAM                                                             ADDRESS ON FILE
    SNAGAJOB INC                                                                32978 COLLECTION CTR DR                                                                                   CHICAGO                  IL           60693-0329
    SNAPPING SHOALS EMC                                                         PO BOX 73                                                                                                 COVINGTON                GA           30015-0073
    SNAPPY HELPSERS INC                                                         1749 W GOLF RD                         UNIT 182                                                           MOUNT PROSPECT           IL           60056
    SNELL AND WILMER LLP                                                        ONE ARIZONA CTR                        400 E VAN BUREN ST STE 100                                         PHOENIX                  AZ           85004-2202
    SNELLING 10291                                                              PO BOX 650765                                                                                             DALLAS                   TX           75265-0765
    SNELLING PERSONEL SERVICES                                                  1417 N BATTLEFIELD BLVD                STE 150                                                            CHESAPEAKE               VA           23320
    SNI COMPANIES                                                               PO BOX 840912                                                                                             DALLAS                   TX           75284-0912
    SNIPES DALE AND HEATHER                                                     ADDRESS ON FILE
    SNO KING SIGNS                                                              625 ALOHA WAY                                                                                             EDMONDS                  WA           98020
    SNOHOMISH COUNTY TREASURER                                                  PO BOX 34171                                                                                              SEATTLE                  WA           98124-1171
    SNOWBALL ENTERPRISES LLC                                                    1089 TREEFERN DR                                                                                          VIRGINIA BEACH           VA           23451
    SNOWFLAKE INC                                                               PO BOX 734951                                                                                             DALLAS                   TX           75373-4951
    SNOWSHOE PROPERTIES MANAGEMENT                                              OLD SPRUCE MANAGEMENT                  HC 69 BOX 24                                                       SLATYFORK                WV           26291
    SNVC                                                                        PO BOX 79796                                                                                              BALTIMORE                MD           21279-0796
    SOASTA INC                                                                  444 CASTRO ST STE 400                                                                                     MOUNTAIN VALLEY          CA           94041
    SOBRO 2535 LLC                                                              50 REMSEN RD                                                                                              GREAT NECK               NY           11024
    SOCAL SUBPOENA                                                              115 PINE AVE STE 320                                                                                      LONG BEACH               CA           90802
    SOCALGAS                                                                    PO BOX C                                                                                                  MONTEREY PARK            CA           91756-5111
    SOCI INC                                                                    533 F ST STE 300                                                                                          SAN DIEGO                CA           92101
    SOCIAL 123 LLC                                                              599 CROSSVILLE RD STE 110                                                                                 ROSWELL                  GA           30075
    SOCIALCOM INC DBA AUDIENCE X                                                3535 HAYDEN AVE                        STE 250                                                            CULVER CITY              CA           90232

    SOCIETY FOR HUMAN RESOURCE MANAGEMENT                                       PO BOX 791139                                                                                             BALTIMORE                MD           21279-1139
    SOCK PUPPET LLC                                                             2311 N 45TH ST                         STE 111                                                            SEATTLE                  WA           98103
    SOFTCHOICE CORP                                                             PO BOX 18892                                                                                              NEWARK                   NJ           07191-8892
    SOFTWARE DIMENSIONS                                                         636 MENDELSSOHN AVE N                                                                                     GOLDEN VALLEY            MN           55427
    SOJO BASKETBALL EXTRAVAGANZA                                                PO BOX 389169 9196                                                                                        CINCINNATI               OH           45238
    SOLANO COUNTY TREASURER                    TAX COLLECTOR COUNTY CLERK       675 TEXAS ST STE 1900                                                                                     FAIRFIELD                CA           94533-6342
    SOLANO GLASS COMPANY INC                                                    1230 WESTERN ST D                                                                                         FAIRFIELD                CA           94533
    SOLANO HEATING AND AIR CONDITIONING                                         401 RAILROAD AVE                                                                                          SUISUN CITY              CA           94585
    SOLANO JUSTICE BUILDING                                                     321 TUOLUMNE ST                                                                                           VALLEJO                  CA           94590
    SOLANO MALL LP                             SOLANO C O BANK OF AMERICA       FILE 55720                                                                                                LOS ANGELES              CA           90074-5720



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    SOLANO STORAGE CENTER LLC                    C O RHW CAPITAL MANAGEMENT GROUP LLC 1820 W ORANGEWOOD AVE STE 203                                                                               ORANGE                   CA           92868
    SOLARIS BY DESIGN                                                                 90 BASALTIC UNIT 5 AND 6                                                                                    CONCORD                  ON           L4K 1G6      CANADA
    SOLARWINDS INC                                                                    PO BOX 730720                                                                                               DALLAS                   TX           75373-0720
    SOLEDAD CENTER LLC                                                                122 W SIERAA MADRE BLVD STE D                                                                               SIERRA MADRE             CA           91024
    SOLES4SOULS INC                                                                   2900 LEBANON RD                          STE 210                                                            NASHVILLE                TN           27214
    SOLIUM TRANSCENTIVE LLC                                                           TWO ENTERPRISE DR                                                                                           SHELTON                  CT           06484
    SOLOMON AND SOLOMAN PC                                                            COLUMBIA CIR BOX 15019                                                                                      ALBANY                   NY           12212
    SOLOMON PAGE GROUP LLC                                                            PO BOX 75015                                                                                                CHICAGO                  IL           60675-5015
    SOLVABLE LLC                                                                      27702 CROWN VALLEY PKWY D 4              130                                                                LADERA RANCH             CA           92694
    SOMMARI MUWWAKKIL                                                                 ADDRESS ON FILE
    SONDRA MOORE                                                                      ADDRESS ON FILE
    SONITROL OF TIDEWATER                                                             800 SEAHAWK CIR                          STE 134                                                            VIRGINIA BEACH           VA           23452
    SONNENBERG INSURANCE INC                                                          2410 W BAY DR                                                                                               LARGO                    FL           33770
    SONNY COSTANTINI                                                                  ADDRESS ON FILE
    SONWELL NEON SYSTEMS                                                              1240 36 AVE NE                                                                                              CALGARY                  AB           T2E 6M8      CANADA
    SOO CURLERS                                                                       124 ANITA BLVD                                                                                              SAUL STE MARIE           ON           P6A 5N7      CANADA
    SOOJIN AVALON PLAZA LLC                                                           3530 WILSHIRE BLVD                       1740                                                               LOS ANGELES              CA           90010
    SOONER CAPITAL LLC                                                                1027 S MAIN                              STE 203                                                            JOPLIN                   MO           64801
    SOONER TWO LLC DBA MIDWEST PROPERTIES
    AND MANAGEMENT                                                                     1027 S MAINE STE 203                                                                                       JOPLIN                   MO           64801
    SORSHER ALEKSANDER                                                                 ADDRESS ON FILE
    SORSHER ALEX AND YANA                                                              ADDRESS ON FILE
    SOS ADVANCE LLC                                                                    4904 CHURCH AVE                                                                                            BROOKLYN                 NY           11203
    SOS CHILDRENS SAFETY MAGAZINE                                                      200 10355 JASPER AVE                                                                                       EDMONTON                 AB           T5J 1Y6      CANADA
    SOS COMMUNICATIONS LTD                                                             201 12904 50 ST                                                                                            EDMONTON                 AB           T5A 4L2      CANADA
    SOS MARKETING                                                                      15 DANSLEY AVE                                                                                             TORONTO                  ON           M6M 2P5      CANADA
    SOS TONERS INC                                                                     3501 GLEN ERIN DR UNIT 107                                                                                 MISSISSAUGA              ON           L5L-2E9      CANADA
    SOS TOYS                                                                           15 DENSLEY AVNEUE                                                                                          TORONTO                  ON           M6M 2P5      CANADA
    SOUND EXPRESSIONS LLC                                                              20 CALAIS DR                                                                                               READING                  PA           19605
    SOUND INVESTMENTS LTD                                                              4650 LAKELSE AVE                                                                                           TERRACE                  BC           V8G 1R2      CANADA
    SOUNDS GOOD INC                              WBXQ WBRX                             4000 FIFTH AVE                                                                                             ALTOONA                  PA           16602
    SOURCE BOOK PUBLICATIONS                                                           1814 FRANKLIN ST                        STE 820                                                            OAKLAND                  CA           94612
    SOURCE CREATIVE OFFICE INTERIORS                                                   18600 MACARTHUR BLVD                    STE 400                                                            IRVINE                   CA           92612
    SOURCE MEDIA                                                                       PO BOX 71924                                                                                               CHICAGO                  IL           60691-9961
    SOURCE MEDIA LLC DBA ARIZENT                                                       PO BOX 74008866                                                                                            CHICAGO                  IL           60674-8866
    SOURCE OFFICE FURNISHINGS                                                          250 STEELCASE RD E                                                                                         MARKHAM                  ON           L3R 1G2      CANADA
    SOURCEGAS ARKANSAS INC                                                             PO BOX 660559                                                                                              DALLAS                   TX           75266-0559
    SOURCEMEDIA LLC                                                                    PO BOX 71633                                                                                               CHICAGO                  IL           60694-1633
    SOUTH BAY COMMUNICATIONS INC                                                       PO BOX 1791                                                                                                CHESAPEAKE               VA           23327-1791
    SOUTH BEND TRIBUNE CORPORATION               DBA SOUTH BEND TRIBUNE                225 W COLFAX AVE                                                                                           SOUTH BEND               IN           46626
    SOUTH BROADWAY INVESTMENTS INC                                                     1813 S FLORENCE                                                                                            WICHITA                  KS           67209

    SOUTH CAROLINA DEPT OF CONSUMER AFFAIRS                                            PO BOX 5246                                                                                                COLUMBIA                 SC           29250
    SOUTH CAROLINA DEPT OF REVENUE                                                     300A OUTLET POINTE BLVD                 PO BOX 125                                                         COLUMBIA                 SC           29210
    SOUTH CAROLINA STATE BOARD OF FINANCIAL
    INSTITUTIONS                                                                       1205 PENDELTON ST                       STE 306                                                            COLUMBIA                 SC           29201

    SOUTH CENTRAL INDUSTRIAL PROPERTIES XIV LP                                         PO BOX 7008                                                                                                WACO                     TX           76714
    SOUTH COAST GROUP LLC                                                              PO BOX 724498                           DBA SCGIX TARRYMORE LLC                                            ATLANTA                  GA           31139
    SOUTH DAKOTA DEPT OF LABOR                                                         420 S ROOSEVELT BOX 4730                                                                                   ABERDEEN                 SD           57402-4730
    SOUTH DAKOTA DEPT OF REVENUE                 DAWN WOODS SPECIAL TAX DIV            445 E CAPITOL AVE                                                                                          PIERRE                   SD           57501-3185
    SOUTH DAKOTA DIVISION OF BANKING                                                   1601 N HARRISON AVE                     STE 1                                                              PIERRE                   SD           57501
    SOUTH END CAPITAL CORPORATION                                                      5 RIVER RD                              STE 154                                                            WILTON                   CT           06897
    SOUTH TRUST BANK ESCROW ACCOUNT                                                    FBO JTH TAX INC
    SOUTH WESTGATE LLC                           DBA WESTGATE SHOPPING CENTER          11440 SAN VICENTE BLVD STE 200                                                                             LOS ANGELES              CA           90049
    SOUTHEASTERN COMPUTER CENTER INC                                                   4809 N PALAFOX ST                                                                                          PENSACOLA                FL           32505-2907
    SOUTHERN BROADCASTING COMPANIES INC                                                1010 TOWER PL                                                                                              BOGART                   GA           30622
    SOUTHERN CALIFORNIA EDISON                                                         PO BOX 600                                                                                                 ROSEMEAD                 CA           91771--001
    SOUTHERN CALIFORNIA EDISON PO 300                                                  PO BOX 300                                                                                                 ROSEMEAD                 CA           91772
    SOUTHERN CALIFORNIA LEASING INC                                                    180 E MAIN ST                           STE 204                                                            TUSTIN                   CA           92780
    SOUTHERN CALIFORNIA SHREDDING INC                                                  20492 CRESCENT BAY DR 112                                                                                  LAKE FOREST              CA           92630
    SOUTHERN COAST PROPERTIES LLC                                                      730 GENERAL STEWART WAY                                                                                    HINESVILLE               GA           31313
    SOUTHERN COMMERICAL CORPORATION                                                    303 S CHURCH ST                                                                                            HENDERSONVILLE           NC           28792
    SOUTHERN COMPANY GAS                                                               PO BOX 530552                                                                                              ATLANTA                  GA           30353-0552
    SOUTHERN ENTERTAINMENT                                                             303 LYNNHAVEN PKWY                      STE 200                                                            VIRGINIA BEACH           VA           23452
    SOUTHERN NATIONAL INC                                                              PO BOX 5968                                                                                                CHATTANOOGA              TN           37406-0968
    SOUTHERN PROFESSIONAL INVESTIGATIONS                                               PO BOX 1367                                                                                                LAWRENCEVILLE            GA           30046-1367
    SOUTHERN RHODE ISLAND NEWSPAPERS                                                   187 MAIN ST                                                                                                WAKEFIELD                RI           02879
    SOUTHERN WISCONSIN BROADCASTING LLC          WCLO AM WJVL FM                       ONE S PARKER DR BOX 5001                                                                                   JANESVILLE               WI           53547-5001
    SOUTHGATE PROPERTIES LTD                                                           391 FRESHWATER DR                                                                                          LORAIN                   OH           44052
    SOUTHLAKE LEASING AND MGMT DBA REGENT
    SERVICES                                                                           101 SAINT LOUIS AVE                                                                                        FORT WORTH               TX           76104
    SOUTHPOINTE ON HIGH LLC                                                            150 E BROAD ST STE 310                                                                                     COLUMBUS                 OH           43215
    SOUTHRING SC COMPANY LTD                     DBA SOUTHGATE SHOPPING CENTER         5410 HOMBERG DR STE A                                                                                      KNOXVILLE                TN           37919
    SOUTHSIDE CHAPTER OF MADD                                                          PO BOX 56032                                                                                               VIRGINIA BEACH           VA           23456
    SOUTHSIDE SOCCER LEAGUE                                                            730 LAS PUERTAS                                                                                            SAN ANTONIO              TX           78245
    SOUTHTRUST BANK                              ATTN ROSE DAUGHERTY                   641 LYNNHAVEN PKWY                                                                                         VIRGINIA BEACH           VA           23510
    SOUTHWARD AND ASSOCIATES INC                 DBA SINNEN GREEN AND ASSOCIATES INC   120 LANDMARK SQUARE STE 102                                                                                VIRGINIA BEACH           VA           23452
    SOUTHWEST GAS                                                                      PO BOX 24531                                                                                               OAKLAND                  CA           94623-1531
    SOUTHWEST GAS CORPORATION                                                          PO BOX 98890                                                                                               LAS VEGAS                NV           89193-8890
    SOUTHWEST OFFICE SYSTEMS INC                                                       PO BOX 612248                                                                                              DALLAS FORT WORTH        TX           75261-2248
    SOUTHWESTERN BELL                                                                  PO BOX 930170                                                                                              DALLAS                   TX           75393-0170
    SOUTHWESTERN MANAGEMENT AND REALTY
    TEAM                                                                               6955 N DURANGO DR                       STE 1115 107                                                       LAS VEGAS                NV           89149
    SOUTHWIND ACQUISITION LLC                                                          PO BOX 252451                                                                                              WEST BLOOMFIELD          MI           48325
    SOVOS COMPLIANCE LLC                                                               PO BOX 347977                                                                                              PITTSBURGH               PA           15251-4977
    SOWDER SANDY                                                                       ADDRESS ON FILE
    SPANISH NEWS INC                             DBA PERIODICO BUENA SUERTE            7324 SW FWY 1720                                                                                           HOUSTON                  TX           77074


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    SPARACIA LLC                                                                        8922 15TH AVE                          STE 1B                                                             BROOKLYN                 NY           11228
    SPARK COMMUNICATIONS GROUP LLC                DBA SEESPARKGO                        PO BOX 49745                                                                                              ATHENS                   GA           30604
    SPARK LLC                                                                           300 LAS OLAS WAY CU1                   STE 436                                                            FORT LAUDERDALE          FL           33301
    SPARKFLY PERKS                                                                      1440 DUTCH VALLEY PL NE 1000                                                                              ATLANTA                  GA           30324
    SPARKLE INTERNATIONAL INC                                                           110 RIVIERA DR UNIT 10                                                                                    MARKHAM                  ON           L3R 5M1      CANADA
    SPARTAN DETECTIVE AGENCY                                                            PO BOX 686                                                                                                SPARTANBURG              SC           29304
    SPARTAN MARKETING INC                                                               PO BOX 10                                                                                                 OAK RIDGE                NC           27310
    SPATIAL DATA INC                                                                    536 SILICON DR                         STE 101                                                            SOUTHLAKE                TX           76092
    SPATIAL INSIGHTS INC                                                                4938 HAMPDEN LN                        PMB 338                                                            BETHESDA                 MD           20814
    SPCA GRANDE PRAIRIE AND DISTRICT SPCA
    CHARITY                                                                             12220 104 AVE                                                                                             GRANDE PRAIRIE           AB           T8V 8A8    CANADA
    SPEAK INC                                                                           10680 TREENA ST                        STE 230                                                            SAN DIEGO                CA           92131
    SPEAK INC CO                                                                        2229 MARIPOSA AVE                                                                                         BOULDER                  CO           80302
    SPEAKER AGENCY                                                                      4712 ADMIRALTY WAY 844                                                                                    MARINA DEL RAY           CA           90292
    SPEAKERS BUREAU OF CANADA INC                                                       16815 88 AVE NW STE 154                                                                                   EDMONTON                 AB           T5R 5Y7    CANADA
    SPEAKERS GROUP INC                                                                  4 LARCHWOOD AVE                                                                                           PETERBOROUGH             ON           K9J 1M6    CANADA
    SPEAKERS SPOTLIGHT                                                                  179 JOHN ST STE 302                                                                                       TORONTO                  ON           ON M5T 1X4 CANADA
    SPEAKERS SPOTLIGHT                                                                  179 JOHNS ST                           STE 302                                                            TORONTO                  ON           M5T 1X4    CANADA
    SPECIAL COUNSEL II                                                                  PO BOX 1024140                                                                                            ATLANTA                  GA           30368-4140
    SPECIAL DELIVERY                                                                    2702 1ST AVE N                                                                                            FARGO                    ND           58102
    SPECIAL OLYMPICS VIRGINIA                                                           ME KIRBY                               C O CYCLEMANIA                             401 ALBEMARLE DR        CHESAPEAKE               VA           23322
    SPECIALITY SERVICES AND INSTALLATIONS                                               260 S HWY 79                           APT 1 2                                                            PANAMA CITY              FL           32413
    SPECIALIZED INVESTIGATIONS                    ATTN RICHARD HARER                    9255 CORBIN AVE 200                                                                                       NORTHRIDGE               CA           91324
    SPECIALTY TECHNICAL PUBLISHERS                                                      UNIT 10 1225 E KEITH RD                                                                                   NORTH VANCOUVER BC                    V7J IJ3    CANADA
    SPECK ALYSA                                                                         600 S KISNER CIR                                                                                          INDEPENDENCE             MO           64056
    SPECTRUM 60074                                                                      PO BOX 60074                                                                                              CITY OF INDUSTRY         CA           91716-0074
    SPECTRUM BUSINESS 4617                                                              PO BOX 4617                                                                                               CAROL STREAM             IL           60197-4617
    SPECTRUM BUSINESS 6030                                                              PO BOX 6030                                                                                               CAROL STREAM             IL           60197-6030
    SPECTRUM BUSINESS 7186                        CHARTER COMMUNICATIONS                PO BOX 7186                                                                                               PASADENA                 CA           91109-7186
    SPECTRUM BUSINESS 7195                                                              PO BOX 7195                                                                                               PASADENA                 CA           91109-7195
    SPECTRUM BUSINESS CHARTER 94188               CHARTER COMMUNICATIONS                PO BOX 94188                                                                                              PALATINE                 IL           60094-4188
    SPECTRUM BUSINESS TIME WARNER CABLE                                                 TIME WARNER CABLE NE                   PO BOX 901                                                         CAROL STREAM             IL           60132-0901
    SPECTRUM ENTERPRISE                           DBA TIME WARNER CABLE                 BOX 223085                                                                                                PITTSBURGH               PA           15251-2085
    SPECTRUM I MERCHANT LLC                                                             PO BOX 5160                                                                                               GLEN ALLEN               VA           23058-5160
    SPECTRUM PROPERTY MANAGEMENT                                                        8799 BALBOA AVE STE 260                                                                                   SAN DIEGO                CA           92123-1562
    SPEEDPAY INC                                                                        PO BOX 745374                                                                                             ATLANTA                  GA           30374-5374
    SPEEDPRO                                                                            UNIT H 1420 CLARENCE AVE                                                                                  WINNIPEG                 MB           R3T 1T6    CANADA
    SPEEDWELL HOLDINGSLLC DBA ACQUIRE
    INTERACTIVE LLC                                                                     325 E WARM SPRINGS RD                  STE 101                                                            LAS VEGAS                NV           89119
    SPEEDY CASH 3                                                                       10404 VENICE BLVD                                                                                         LOS ANGELES              CA           90232
    SPEEDY DISPOSAL                                                                     PO BOX 2128                                                                                               STOCKBRIDGE              GA           30281
    SPEEDY MONEY NETWORK                                                                471 OUELLETTE                                                                                             WINDSOR                  ON           N9A AJ2      CANADA
    SPEL GROUP LLC                                                                      4117 CATHERDRAL FALLS AVE                                                                                 N LAS VEGAS              NV           89085
    SPENCER SQUARE HOLDINGS INC                                                         1649 FORUM PL                                                                                             WEST BEACH               FL           33401
    SPENCER SQUARE HOLDINGSUSE SPEN13             C O MEREDITH REALTY                   1649 FORUM PL STE 11                                                                                      WEST PALM BEACH          FL           33405
    SPIRE ENERGY                                                                        DRAWER 2                                                                                                  ST LOUIS                 MO           63171
    SPIRIT CRUISES LLC                                                                  109 E MAIN ST                          STE 500                                                            NORFOLK                  VA           23510
    SPLINTER FAMILY TRUST RENTALS CO                                                    366 KING ST E                          STE 400                                                            KINGSTON                 ON           K7K 6Y3      CANADA
    SPOMER TODD                                                                         ADDRESS ON FILE
    SPONSORSHIPS UNLIMITED                                                              201 A 76TH ST                                                                                             VIRGINIA BEACH           VA           23451
    SPORTAGA                                                                            666 WONDERLAND RD N                                                                                       LONDON                   ON           N6H 4K9      CANADA
    SPORTS ADVISORY SERVICES INC                                                        9900 SARA GUICH CIR                                                                                       PARKER                   CO           80138
    SPRING SUITES                                                                       1680 W THORNHILL DR                                                                                       TAYLORSVILLE             UT           84123
    SPRINGCMINC                                                                         180 N LASALLE ST                       6TH FL                                                             CHICAGO                  IL           60601

    SPRINGDALE HEATING AND AIR CONDITIONING LLC                                         3871 OLD TASSO RD NE                                                                                      CLEVELAND                TN           37312
    SPRINGDALE LLC                                                                      3457 WILMINGTON RD                                                                                        NEW CASTLE               PA           16105

    SPRINGFIELD FALCONS                           DBA SPRINGFIELD FALCONS HOCKEY CLUB   45 FALCONS WAY                                                                                            SPRINGFIELD              MA           01103
    SPRINGS LEASING CORP                                                                PO BOX 667843                                                                                             CHARLOTTE                NC           28266-7843
    SPRINT 143489 IRVING TX                                                             PO BOX 143489                          DEPT E                                                             IRVING                   TX           75014-3489
    SPRINT 219100 CANADA                                                                PO BOX 219100                                                                                             KANSAS CITY              MO           64121
    SPRINT 530503 ATLANTA GA                                                            PO BOX 530503                                                                                             ATLANTA                  GA           30353-0503
    SPRINT 530504 ATLANTA GA                                                            PO BOX 530504                                                                                             ATLANTA                  GA           30353-0504
    SPRINT 740503 ATLANTA GA                                                            PO BOX 740503                                                                                             ATLANTA                  GA           30374-0503
    SPRINT 78931 PHOENIX AZ                                                             PO BOX 78931                                                                                              PHOENIX                  AZ           85062-8931
    SPRINT 79133                                                                        PO BOX 79133                                                                                              PHOENIX                  AZ           85062-9133
    SPRINT 930331                                                                       PO BOX 930331                                                                                             ATLANTA                  GA           31193-0331
    SPRINT 96064 CHARLOTTE NC                                                           PO BOX 96064                                                                                              CHARLOTTE                NC           28296-0064
    SPRINT CANADA INC COMMERCIAL                                                        2550 VICTORIA PARK AVE                 STE 400                                                            NORTH YORK               ON           M2J 5E6      CANADA
    SPRINT CELL PHONE                                                                   PO BOX 4181                                                                                               CAROL STREAM             IL           60197-4181
    SPRINT CELL PHONES                                                                  PO BOX 4181                                                                                               CAROL SPRINGS            IL           60197-4181
    SPRINT CHICAGO 88026                                                                PO BOX 88026                                                                                              CHICAGO                  IL           60680-1206
    SPRINT CINCINNATI                                                                   38 FOUNTAIN SQUARE PLZ                 PO BOX 740336                                                      CINCINNATI               OH           45263
    SPRINT CONFERENCING SERVICES                                                        PO BOX 101343                                                                                             ATLANTA                  GA           30392-1343
    SPRINT DALLAS                                                                       PO BOX 650338                                                                                             DALLAS                   TX           75265-0338
    SPRINT JACKSONVILLE FL                                                              PO BOX 600670                                                                                             JACKSONVILLE             FL           32260-0670
    SPRINT KANSAS CITY                                                                  PO BOX 219623                                                                                             KANSAS CITY              MO           64121-9623
    SPRINT PCS 4181                                                                     PO BOX 4181                                                                                               CAROL STREAM             IL           60197-4181
    SPRINT YELLOW PAGES 805056                                                          PO BOX 805056                                                                                             KANSAS CITY              MO           64180-5056
    SPRINT YELLOW PAGES BRISTOL TN                CUSTOMER CARE                         1615 BLUFF CITY HWY                                                                                       BRISTOL                  TN           37620
    SPROUSE FIRE AND SAFETY 1996 CORP                                                   1323 9TH AVE SE                                                                                           CALGARY                  AB           T2G 0T2      CANADA
    SQUARE CAPITAL VR                                                                   29053 NETWORK PL                                                                                          CHICAGO                  IL           60673
    SQUARECO PROPERTIES INC                                                             1550 KINGSTON RD                       STE 300                                                            PICKERING                ON           L1V 1C3      CANADA
    SQUARMILNERPETERSONMIRANDA AND
    WILLIAMSON LLP                                                                      18500 VON KARMAN AVE                   10TH FL                                                            IRVINE                   CA           92612

    SQUIRE ONE PRESCOTT SQUARE WOODRUFF LLC                                             110 PAINTERS MILL RD                   STE 11                                                             OWINGS MILL              MD           21117
    SRDS                                                                                PO BOX 88988                                                                                              CHICAGO                  IL           60695-1988


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                        Name                                   Attention                                Address 1                                 Address 2                           Address 3                    City        State       Zip          Country
    SRP                                                                                 PO BOX 2950                                                                                               PHOENIX                 AZ           85062-2950
    SRW INC                                     ATTN PATRICIA D ROGOSKI                 1672 CARRUTHERS PL                                                                                        MEMPHIS                 TN           38112-5205
    SRX PROPERTIES LLC                                                                  8816 SIX FORKS RD STE 201              DBA S BOSTON TRI RIVERS SRX LLC                                    RALIEGH                 NC           27615
    SS AND G PROPERTIES OF NC LLC               C O SIGNATURE MANAGEMENT INC            PO BOX 26104                                                                                              WINSTON SALEM           NC           27114
    SS DEVELOPMENT LLC                                                                  1181 BIRDNECK LAKE DR                                                                                     VIRGINIA BEACH          VA           23451
    SSBV LLC                                    DBA BUSINESSLOANSCOM                    1209 ORANGE ST                                                                                            WILMINGTON              DE           19801
    SSG BRIAN FREEMAN MEMORIAL                  C O GLEN FREEMAN                        1400 OLD WOLFE RD                                                                                         CALEDONIA               MS           39740
    ST ALBERT 1996 GIRLS SOCCER                                                         C O 61 RIEL DR                                                                                            ST ALBERT               AB           T8N 1N2      CANADA
    ST CHARLES COUNTY COLLECTOR                 C O MICHELLE D MCBRIDE                  201 N SECOND ST RM 134                                                                                    SAINT CHARLES           MO           63301-2889
                                                ATTN COLDWELL BANKER PREMIER
    ST JOE PLAZA INC                            PROPERTIES                              211 ST JOE PLZ DR                                                                                         PALM COAST              FL           32164
    ST JOSEPH MEDIA                                                                     111 QUEEN ST E STE 450                                                                                    TORONTO                 ON           M5C 1S2      CANADA
    ST JUDE CHILDRENS RESEARCH HOSPITAL         ALPHA MEDIA                             616 AMELIA ST                          STE 200                                                            FREDERICKSBURG          VA           22401
    ST LOUIS POST DISPATCH                                                              PO BOX 66992                                                                                              ST LOIUS                MO           63166-6992
    ST PETERSBURG TIMES                                                                 PO BOX 175                                                                                                ST PETERBURG            FL           33731
    ST THOMAS ENERGY INC                                                                PO BOX 460                             STN MAIN ST                                                        ST THOMAS               ON           N5P 3V2      CANADA
    ST VITAL CENTRE                                                                     86 1225 ST MARYS RD                                                                                       WINNIPEG                MANITOBA     R2M 5E5      CANADA
    STACEY J BARNES                                                                     ADDRESS ON FILE
    STACEY JAMES BARNES THE SOUNDSIDE
    SMOKERS                                                                             103 CYGNET CT                                                                                             CURRITUCK               NC           27929
    STACILYN SPENCER                                                                    ADDRESS ON FILE
    STAFFMARK INC                                                                       PO BOX 957870                                                                                             ST LOUIS                MO           63195
    STAGE RIGHT LIGHTING                                                                2401 BOWLAND PKWY                                                                                         VIRGINIA BEACH          VA           23454
    STAGEVISION RENTALS INC                                                             5610 MCADAM RD                                                                                            MISSISSAUGA             ON           L4Z 1P1      CANADA
    STAIRWAY LENDING LLC                                                                2140 11TH AVE S                        STE 22                                                             BIRMINGHAM              AL           35205
    STALLINGS AND RICHARDSON PC                                                         2101 PARKS AVE PAVILION CTR            STE 801 PO BOC 1687                                                VIRGINIA BEACH          VA           23451-4131
    STAN JACKSON                                                                        ADDRESS ON FILE
    STANDARD FINANCING                                                                  1655 RICHMOND AVE                      STE B                                                              STATEN ISLAND           NY           10314
    STANDARD LIFE                                                                       PO BOX 4002                            STATION B                                                          MONTREAL                QUEBEC       H3B 4M2      CANADA
    STANDARD LIFE INSURANCE                                                             PO BOX 5676                                                                                               PORTLAND                OR           97228-5676
    STANDARD RADIO                                                                      300 435 BERNARD AVE                                                                                       KELOWNA                 BC           V1Y 6N8      CANADA
    STANDARD RADIO CHRE FM                                                              12 YATES ST BOX 610                                                                                       ST CATHARINES           ON           L2R 6Z4      CANADA
    STANDARD RADIO MIX999                                                               2 ST CLAIR AVE W                                                                                          TORONTO                 ON           M4V 1L6      CANADA
    STANDRIDGE ADAM                                                                     ADDRESS ON FILE
    STANDRIDGE BETTY JANE                                                               ADDRESS ON FILE
    STANGLAND BILL                                                                      ADDRESS ON FILE
    STANLEY CONVERGENT SECURITY SOLUTIONS                                               DEPT CH 10651                                                                                             PALATINE                IL           60055-0651

    STANLEY G PHELPS DBA 9 INCH MARKETING LLC                                           208 CANDIA LN                                                                                             CARY                    NC           27519
    STANLEY H GOLDSTEIN                                                                 ADDRESS ON FILE
    STANLEY LANDE AND HUNTER                                                            ADDRESS ON FILE
    STANLEY S BURNS DBA LIVE CALLS MEDIA                                                6925 OAKLAND MILLS RD                  STE 280                                                            COLUMBIA                MD           21045
    STANLEY STEEMER                                                                     ADDRESS ON FILE
    STANSBURY TOM                                                                       ADDRESS ON FILE
    STANTON CHASE                                                                       ADDRESS ON FILE
    STANTON ROSEMARY                                                                    ADDRESS ON FILE
    STANTON XPRESS URGENT CARE                                                          12860 BEACH BLVD STE E                                                                                    STANTON                 CA           90680
    STAPLES COMMUNICATIONS                                                              PO BOX 5722                                                                                               HARTFORD                CT           06120-5722
    STAPLES CONTRACT AND COMMERICAL INC         DBA STAPLES BUSINESS ADVANTAGE          DEPT DC                                PO BOX 415256                                                      BOSTON                  MA           02241-5256
    STAPLES DO NOT USE                                                                  PO BOX 8601M STN CENTRE VILLE                                                                             MONTREAL                QC           H3C 3V2      CANADA
    STAPLES INC                                 DBA DEX IMAGING INC                     5109 W LEMON ST                                                                                           TAMPA                   FL           33609
    STAR PEST CONTROL                                                                   3 HALL CRESCENT                                                                                           BRAMPTON                ON           L6X 3J9      CANADA
    STAR RADIO GROUP                                                                    616 AMELIA ST                                                                                             FREDERICKSBURG          VA           22401
    STAR SECURITY AND INVESTIGATION                                                     7034 INDIANAPOLIS RD                   PO BOX 4392                                                        HAMMOND                 IN           46324
    STAR TELEGRAM                                                                       400 W 7TH ST                                                                                              FORT WORTH              TX           76102
    STAR TELEGRAM                                                                       PO BOX 901051                                                                                             FORT WORTH              TX           76101-2051
    STAR WEST SOLANO LLC                                                                PO BOX 74887                                                                                              CLEVELAND               OH           44194
    STARK EXTERMINATORS                                                                 808 HUFFMAN ST                                                                                            GREENSBORO              NC           27405
    STARKART CANADA LIMITED                                                             100 ALLSTATE PKWY                      STE 303                                                            MARKHAM                 ON           L3R 6H3      CANADA
    STARKS ANDREW                                                                       ADDRESS ON FILE
    STARLITE JANITORS                                                                   PO BOX 17 MATSQUI STN                                                                                     ABBOTSFORD              BC           V4X 3R2      CANADA
    STARPATHS INC                                                                       PO BOX 15719                                                                                              COLORADO SPRINGS        CO           80935-5719
    STARRCO GP                                                                          2401 KEITH ST                                                                                             CLEVELAND               TN           37311
    STARRCO GP DO NOT USE                                                               2401 KEITH ST                          PO BOX 2338                                                        CLEVELAND               TN           37320.2338
    STARTING POINT CAPITAL INC                                                          11435 WESTONHILL DR                                                                                       SAN DIEGO               CA           92126
    STATE CENTRAL COLLECTION UNIT                                                       PO BOX 6219                                                                                               INDIANAPOLIS            IN           46206-6219
    STATE CORPORATION COMMISSION                                                        CLERKS OFFICE                          PO BOX 1197                                                        RICHMOND                VA           23218
    STATE CORPORATION COMMISSION                                                        CLERKS OFFICE                          PO BOX 7607                                                        MERRIFIELD              VA           22116-7607
    STATE CORPORATION COMMISSION                                                        PO BOX 1197                                                                                               RICHMOND                VA           23218-1197
    STATE CORPORATION COMMISSION                ATTN CLERKS OFFICE                      PO BOX 7621                                                                                               MERRIFIELD              VA           22116-7621
    STATE CORPORATION COMMISSION OF VIRGINIA                                            TYLER BUILDING 1ST FL                  1300 E MAIN ST                                                     RICHMOND                VA           23219
    STATE CORPORTATION COMMISSION                                                       PO BOX 85022                                                                                              RICHMOND                VA           23261-5022
    STATE CORPROATION COMMISSION                                                        1300 MAIN ST TYLER BLDG 1ST FL         PO BOX 1197                                                        RICHMOND                VA           23219
    STATE DISBURSEMENT UNIT                                                             PO BOX 5400                                                                                               CAROL STREAM            IL           60197-5400
    STATE FARM INSURANCE                        INSURANCE SUPPORT CENTER                PO BOX 588004                                                                                             NORTH METRO             GA           30029-8004
    STATE MARSHAL                                                                       PO BOX 1044                                                                                               NIANTIC                 CT           06357
    STATE OF ALABAMA                            OFFICE OF THE ATTORNEY GENERAL          501 WASHINGTON AVE                                                                                        MONTGOMERY              AL           36104
    STATE OF ALABAMA OFFICE OF STATE
    TREASURER UNCLAIMED PROPERTY                UNCLAIMED PROPERTY DIVISION             100 N UNION ST                         STE 636                                                            MONTGOMERY              AL           36104
    STATE OF ALABAMA TREASURER                  UNCLAIMED PROPERTY                      PO BOX 302520                                                                                             MONTGOMERY              AL           36130-2520
                                                DIVISION OF CORPORATIONS BUSINESS AND
    STATE OF ALASKA                             PROFESSIONAL                            PO BOX 110806                                                                                             JUNEAU                  AK           99811
    STATE OF ALASKA                             OFFICE OF THE ATTORNEY GENERAL          1031 W 4TH AVE STE 200                                                                                    ANCHORAGE               AK           99501
    STATE OF ARIZONA                            OFFICE OF THE ATTORNEY GENERAL          2005 N CENTRAL AVE                                                                                        PHOENIX                 AZ           85004
    STATE OF ARKANSAS                                                                   PO BOX 8055                                                                                               LITTLE ROCK             AR           72203-8055
    STATE OF ARKANSAS                           OFFICE OF THE ATTORNEY GENERAL          323 CTR ST STE 200                                                                                        LITTLE ROCK             AR           72201
    STATE OF CA BOARD OF EQUALIZATION           SPECIAL TAXES AND FEES                  PO BOX 942879                                                                                             SACRAMENTO              CA           94279-6001
    STATE OF CA DEPT OF BUSINESS OVERSIGHT      ATTN FSD INQUIRIES                      1515 K ST 200                                                                                             SACRAMENTO              CA           95814
    STATE OF CALIFORINA DPFI                                                            320 W 4TH ST                                                                                              LOS ANGELES             CA           90013


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                        Name                                     Attention                          Address 1                                Address 2                           Address 3                    City        State       Zip      Country
    STATE OF CALIFORNIA                          DEPARTMENT OF CORPORATION          320 W 4TH ST STE 750                                                                                     LOS ANGELES             CA           90013
    STATE OF CALIFORNIA                          OFFICE OF THE ATTORNEY GENERAL     PO BOX 944255                                                                                            SACRAMENTO              CA           94244-2550
    STATE OF CALIFORNIA DEPT OF BUSINESS
    OVERSIGHT                                                                       320 W 4TH ST STE 750                                                                                     LOS ANGELES             CA           90013-2344
    STATE OF CALIFORNIA FRAN TAX BOARD                                              PO BOX 942857                                                                                            SACRAMENTO              CA           94257-0511
    STATE OF COLORADO                            OFFICE OF THE ATTORNEY GENERAL     RALPH L CARR JUDICIAL BUILDING        1300 BROADWAY 10TH FL                                              DENVER                  CO           80203
    STATE OF CONNECTICUT                         DEPARTMENT OF REVENUE SERVICES     25 SIGOURNEY ST                                                                                          HARTFORD                CT           06106
    STATE OF CONNECTICUT                         OFFICE OF THE ATTORNEY GENERAL     55 ELM ST                                                                                                HARTFORD                CT           06106
    STATE OF CONNECTICUT DEPT OF LABOR                                              DEPT 417329                           PO BOX 2905                                                        HARTFORD                CT           06104-2905
    STATE OF DELAWARE                                                               DEPARTMENT OF JUSTICE                 CARVEL STATE OFFICE BUILDING               820 N FRENCH ST         WILMINGTON              DE           19801
    STATE OF DELAWARE                            DIVISION OF CORPORATIONS           DEPT 74072                                                                                               BALTIMORE               MD           21274-4072

    STATE OF DELAWARE DIVISON OF CORPORATIONS                                       PO BOX 5509                                                                                              BINGHAMTON              NY           13902-5509
    STATE OF DELAWARE KENT COURTHOUSE                                               38 THE GREEN                                                                                             DOVER                   DE           19901

    STATE OF DELAWARE NEW CASTLE COURTHOUSE                                         500 N KING ST                         STE 500 LL1                                                        WILMINGTON              DE           19801-3746
    STATE OF DELAWARE OFFICE OF THE STATE BANK
    COMMISSIONER                                                                    1110 FORREST AVE                                                                                         DOVER                   DE           19904
    STATE OF DELAWARE SUSSEX COURTHOUSE                                             1 THE CIR                             STE 2                                                              GEORGETOWN              DE           19947
    STATE OF DELAWARE UNCLAIMED                DELAWRE DEPARTMENT OF FINANCE        OFFICE OF UNCLAIMED PROPERTY          PO BOX 8923                                                        WILMINGTON              DE           19899
    STATE OF FLORIDA                           OFFICE OF THE ATTORNEY GENERAL       THE CAPITOL PL01                                                                                         TALLAHASSEE             FL           32399
    STATE OF FLORIDA DISBURSEMENT UNIT
    139500028287FC                                                                  PO BOX 8500                                                                                              TALLAHASSEE             FL           32315-8500
    STATE OF GEORGIA                           OFFICE OF THE ATTORNEY GENERAL       40 CAPITOL SQ SW                                                                                         ATLANTA                 GA           30334
    STATE OF HAWAII                                                                 335 MERCHANT ST                       PO BOX 40                                                          HONOLULU                HI           96810
    STATE OF HAWAII                            OFFICE OF THE ATTORNEY GENERAL       425 QUEEN ST                                                                                             HONOLULU                HI           96813
    STATE OF HAWAII DEPARTMENT OF TAXATION                                          PO BOX 1530                                                                                              HONOLULU                HI           96806-1530
    STATE OF HAWAII UNCLAIMED PROPERTY
    PROGRAM                                                                         PO BOX 150                                                                                               HONOLULU                HI           96810
    STATE OF IDAHO                             OFFICE OF THE ATTORNEY GENERAL       700 W JEFFERSON ST STE 210                                                                               BOISE                   ID           83720
    STATE OF ILLINOIS                                                               500 S SECOND ST                                                                                          SPRINGFIELD             IL           62706
    STATE OF ILLINOIS                          OFFICE OF THE ATTORNEY GENERAL       JAMES R THOMPSON CTR                  100 W RANDOLPH ST                                                  CHICAGO                 IL           62706
    STATE OF INDIANA                           DIVISION OF UNLAIMED PROPERTY        PO BOX 2504                                                                                              GREENWOOD               IN           46143
    STATE OF INDIANA                           OFFICE OF THE ATTORNEY GENERAL       INDIANA GOVERNMENT CTR S              302 W WASHINGTON ST 5TH FL                                         INDIANAPOLIS            IN           46204
    STATE OF INDIANA UNCLAIMED PROPERTY        INDIANA ATTORNEYS GENERAL OFFICE     DIVISION OF UNCLAIMED PROPERTY        35 S PARK BLVD                                                     GREENWOOD               IN           46143
    STATE OF IOWA                              OFFICE OF THE ATTORNEY GENERAL       HOOVER STATE OFFICE BUILDING          1305 E WALNUT ST RM 109                                            DES MOINES              IA           50319
    STATE OF KANSAS                            OFFICE OF THE ATTORNEY GENERAL       120 SW 10TH AVE 2ND FL                                                                                   TOPEKA                  KS           66612
    STATE OF KENTUCKY                          OFFICE OF THE ATTORNEY GENERAL       CAPITOL BUILDING                      700 CAPITOL AVE STE 118                                            FRANKFORT               KY           40601
    STATE OF LOUISIANA                                                              DEPARTMENT OF REVENUE
    STATE OF LOUISIANA                         OFFICE OF THE ATTORNEY GENERAL       1885 N THIRD ST                                                                                          BATON ROUGE             LA           70802
    STATE OF MAINE                             OFFICE OF THE ATTORNEY GENERAL       6 STATE HOUSE STATION                                                                                    AUGUSTA                 ME           04333
    STATE OF MARYLAND                          OFFICE OF THE ATTORNEY GENERAL       200 ST PAUL PL                                                                                           BALTIMORE               MD           21202
    STATE OF MARYLAND DEPT OF ASSESSMENTS
    AND TAXATION                                                                    PERSONAL PROPERTY DIVISION            301 W PRESTON ST                                                   BALTIMORE               MD           21201-2395
    STATE OF MASSACHUSETTS                     OFFICE OF THE ATTORNEY GENERAL       1 ASHBURTON PL 20TH FL                                                                                   BOSTON                  MA           02108
    STATE OF MICHIGAN                                                               525 W OTTOWA ST                       G MENNEN WILLIAMS BUILDING FIRST FL                                LANSING                 MI           48933
    STATE OF MICHIGAN                                                               PO BOX 30774                                                                                             LANSING                 MI           48909
    STATE OF MICHIGAN                          CORPORATIONS DIVISION                PO BOX 30702                                                                                             LANSING                 MI           48909
    STATE OF MICHIGAN                          OFFICE OF THE ATTORNEY GENERAL       G MENNEN WILLIAMS BUILDING 7TH FL     525 W OTTAWA ST                                                    LANSING                 MI           48909
    STATE OF MICHIGAN 30113                    MICHIGAN DEPARTMENT OF TREASURY      PO BOX 30113                                                                                             LANSING                 MI           48909
                                               DEPT OF LICENSING AND REGULATORY
    STATE OF MICHIGAN 30702                    AFFAIRS                              PO BOX 30702                                                                                             LANSING                 MI           48909
    STATE OF MICHIGAN 30804                    MICHIGAN DEPARTMENT OF TREASURY      PO BOX 30804                                                                                             LANSING                 MI           48909
    STATE OF MICHIGAN UNCLAIMED PROPERTY       MICHIGAN DEPARTMENT OF TREASURY      UNCLAIMED PROPERTY DIVISION           7285 PARSONS DR                                                    DIMONDALE               MI           48821
    STATE OF MINNESOTA                         OFFICE OF THE ATTORNEY GENERAL       445 MINNESOTA ST STE 1400                                                                                ST PAUL                 MN           55101
    STATE OF MISSISSIPPI                       OFFICE OF THE ATTORNEY GENERAL       WALTER SILLERS BUILDING               550 HIGH ST STE 1200                                               JACKSON                 MS           39201
    STATE OF MISSISSIPPI                       UNCLAIMED PROPERTY DIVISION          501 N W ST STE 1101A                                                                                     JACKSON                 MS           39201
    STATE OF MISSOUR                           CORPORATIONS DIVISION                PO BOX 778                            600 W MAIN ST RM 322                                               JEFFERSON CITY          MO           65102
    STATE OF MISSOURI                          DEPARTMENT OF REVENUE                PO BOX 3365                                                                                              JEFFERSON CITY          MO           65105-3365
    STATE OF MISSOURI                          OFFICE OF THE ATTORNEY GENERAL       SUPREME CT BUILDING                   207 W HIGH ST                                                      JEFFERSON CITY          MO           65101
    STATE OF MONTANA                           OFFICE OF THE ATTORNEY GENERAL       215 N SANDERS                         JUSTICE BUILDING THIRD FL                                          HELENA                  MT           59601
    STATE OF NEBRASKA                          OFFICE OF THE ATTORNEY GENERAL       2115 STATE CAPITOL                                                                                       LINCOLN                 NE           68509
    STATE OF NEBRASKA UNCLAIMED PROPERTY                                            NEBRASKA STATE TREASURER              UNCLAIMED PROPERTY DIVISION                809 P ST                LINCOLN                 NE           68508-1390
    STATE OF NEVADA                                                                 PO BOX 3239                                                                                              CARSON CITY             NV           89702
    STATE OF NEVADA                            OFFICE OF THE ATTORNEY GENERAL       OLD SUPREME CT BUILDING               100 N CARSON ST                                                    CARSON CITY             NV           89701

    STATE OF NEVADA BUSINESS LICENSE RENEWAL                                        PO BOX 52614                                                                                             PHOENIX                 AZ           85072-2614
    STATE OF NEVADA UNCLAIMED PROP               OFFICE OF THE STATE TREASURER      UNCLAIMED PROPERTY DIVISION           555 E WASHINGTON AVE STE 5200                                      LAS VEGAS               NV           89101-1070
    STATE OF NEW HAMPSHIRE                                                          PO BOX 637                                                                                               CONCORD                 NH           03302-0637
    STATE OF NEW HAMPSHIRE                       CORPORATE DIVISION DEPT OF STATE   107 N MAIN ST                                                                                            CONCORD                 NH           03301-4989
    STATE OF NEW HAMPSHIRE                       OFFICE OF THE ATTORNEY GENERAL     NH DEPARTMENT OF JUSTICE              33 CAPITOL ST                                                      CONCORD                 NH           03301
    STATE OF NEW JERSEY                                                             PO BOX 059                                                                                               TRENTON                 NJ           08625-0059
    STATE OF NEW JERSEY                          OFFICE OF THE ATTORNEY GENERAL     RICHARD J HUGHES JUSTICE COMPLEX      25 MARKET ST 8TH FL W WING                                         TRENTON                 NJ           08611
    STATE OF NEW JERSEY DIVISION OF TAXATION     DIVISION OF TAXATION               PO BOX 666                                                                                               TRENTON                 NJ           08646-0666

    STATE OF NEW JERSEY LABOR AND WORKFORCE      DIVISION OF EMPLOYER ACCOUNTS      PO BOX 059                                                                                               TRENTON                 NJ           08646-0059
    STATE OF NEW JERSEY SALES AND USE                                               PO BOX 999                                                                                               TRENTON                 NJ           08646-0999
    STATE OF NEW MEXICO                          OFFICE OF THE ATTORNEY GENERAL     408 GALISTEO ST                       VILLAGRA BUILDING                                                  SANTA FE                NM           87501

    STATE OF NEW MEXICO FINANCIAL INSTITUTIONS                                      2550 CERRILLOS RD                     3RD FL                                                             SANTE FE                NM           87505
    STATE OF NEW YORK                            ACCOUNTS DB PENALTY                20 PARK ST RM 301                                                                                        ALBANY                  NY           12207-1674
    STATE OF NEW YORK                            OFFICE OF THE ATTORNEY GENERAL     THE CAPITOL                           2ND FL                                                             ALBANY                  NY           12224
    STATE OF NJ DIVISION OF TAXATION             REVENUE PROCESSING CTR             PO BOX 666                                                                                               TRENTON                 NJ           08646-0666
    STATE OF NORTH CAROLINA                      OFFICE OF THE ATTORNEY GENERAL     114 W EDENTON ST                                                                                         RALEIGH                 NC           27603
    STATE OF NORTH DAKOTA                        OFFICE OF THE ATTORNEY GENERAL     STATE CAPITOL 600 E BLVD AVE          DEPT 125                                                           BISMARCK                ND           58505
    STATE OF OHIO                                OFFICE OF THE ATTORNEY GENERAL     STATE OFFICE TOWER                    30 E BROAD ST 14TH FL                                              COLUMBUS                OH           43215
    STATE OF OKLAHOMA                            OFFICE OF THE ATTORNEY GENERAL     313 NE 21ST ST                                                                                           OKLAHOMA CITY           OK           73105
    STATE OF OREGON                              OFFICE OF THE ATTORNEY GENERAL     1162 CT ST NE                                                                                            SALEM                   OR           97301
    STATE OF PENNSYLVANIA                        OFFICE OF THE ATTORNEY GENERAL     STRAWBERRY SQUARE 16TH FL                                                                                HARRISBURG              PA           17120


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                       Name                                    Attention                              Address 1                                  Address 2                           Address 3                     City        State       Zip          Country
    STATE OF RHODE ISLAND                      DIVISION OF TAXATION                   ONE CAPITOL HILL STE 9                                                                                     PROVIDENCE               RI           02908-5811
    STATE OF RHODE ISLAND                      OFFICE OF THE ATTORNEY GENERAL         150 S MAIN ST                                                                                              PROVIDENCE               RI           02903

    STATE OF RI DEPT OF BUS REG                                                       1511 PONTIAC AVE                       JOHN O PASTORE COMPLEX BUILDING 69 1                                CRANSTON                 RI           02920
    STATE OF SOUTH CAROLINA                    OFFICE OF THE ATTORNEY GENERAL         REMBERT C DENNIS BLDG                  1000 ASSEMBLY ST RM 519                                             COLUMBIA                 SC           29201
    STATE OF SOUTH DAKOTA                      OFFICE OF THE ATTORNEY GENERAL         1302 E HWY 14 STE 1                                                                                        PIERRE                   SD           57501
    STATE OF TENNESSEE                                                                CREDIT SERVICES BUSINESS               500 JAMES ROBERTSON PKWY                    CROCKET TOWER 9TH FL    NASHVILLE                TN           37243
    STATE OF TENNESSEE                                                                EMPLOYER ACCOUNTS OFFICE               1309 POPLAR AVE                                                     MEMPHIS                  TN           38174
    STATE OF TENNESSEE                         OFFICE OF THE ATTORNEY GENERAL         301 6TH AVE N                                                                                              NASHVILLE                TN           37243
    STATE OF TEXAS                             OFFICE OF THE ATTORNEY GENERAL         300 W 15TH ST                                                                                              AUSTIN                   TX           78701
    STATE OF TEXAS SECRETARY OF STATE                                                 1019 BRAZOS 5TH FL                                                                                         AUSTIN                   TX           78701
    STATE OF UTAH                              DEPARTMENT OF FINANCIAL INSTITUTIONS   PO BOX 146800                                                                                              SALT LAKE CITY           UT           84114
    STATE OF UTAH                              DIVISION OF FINANCIAL INSTITUTIONS     324 S STATE ST                         STE 201                                                             SLC                      UT           84111
    STATE OF UTAH                              OFFICE OF THE ATTORNEY GENERAL         UTAH STATE CAPITOL COMPLEX             350 N STATE ST STE 230                                              SALT LAKE CITY           UT           84114
                                               OFFICE OF THE ATTORNEY GENERAL SEAN D
    STATE OF UTAH                              REYES                                 STATE CAPITOL RM 236                                                                                        SALT LAKE CITY           UT           84114
    STATE OF VERMONT                           OFFICE OF THE ATTORNEY GENERAL        109 STATE ST                                                                                                MONTPELIER               VT           05609
    STATE OF VIRGINIA                          OFFICE OF THE ATTORNEY GENERAL        202 N NINTH ST                                                                                              RICHMOND                 VA           23219
    STATE OF WASHINGTON                        OFFICE OF THE ATTORNEY GENERAL        1125 WASHINGTON ST SE                                                                                       OLYMPIA                  WA           98501
    STATE OF WASHINGTON                        OFFICE OF THE ATTORNEY GENERAL        PO BOX 40100                                                                                                OLYMPIA                  WA           98504-00
                                               WASHINGTON DEPT OF REVENUE
    STATE OF WASHINGTON UNCLAIMED PROPERTY     UNCLAIMED PROPERTY SECTION            2500 E VALLEY RD STE C                                                                                      RENTON                   WA           98057
    STATE OF WEST VIRGINIA                     OFFICE OF THE ATTORNEY GENERAL        STATE CAPITOL 1900 KANAWHA BLVD E       BUILDING 1 RM E 26                                                  CHARLESTON               WV           25305
                                               STATE TAX DEPT TAXPAYER SERVICES
    STATE OF WEST VIRGINIA                     DIVISION                              PO BOX 2745                                                                                                 CHARLESTON               WV           25330

    STATE OF WEST VIRGINIA REVENUE DIVISION    STATE TAX DEPARTMENT REVENUE DIVISION PO BOX 266                                                                                                  CHARLESTON               WV           25330-2666
    STATE OF WISCONSIN                                                               30 W MIPPIN ST 9TH FL                   PO BOX 8696                                                         MADISON                  WI           53708
    STATE OF WISCONSIN                         OFFICE OF THE ATTORNEY GENERAL        17 W MAIN ST RM 114 E P                                                                                     MADISON                  WI           53702
    STATE OF WISCONSIN BUREAU OF TAX AND
    ACCTG                                                                             PO BOX 7945                                                                                                MADISON                  WI           53707-7945

    STATE OF WISCONSIN EDUCATIONAL APPROVAL    BOARD                                  30 W MIFFLIN ST 9TH FL                                                                                     MADISON                  WI           53703
    STATE OF WYOMING                           OFFICE OF THE ATTORNEY GENERAL         KENDRICK BUILDING                      2320 CAPITOL AVE                                                    CHEYENNE                 WY           82002
    STATE PROCESS SERVERS                                                             520 W 9460 S                                                                                               SANDY                    UT           84070
    STATE TAX COMMISSION MS                    OFFICE OF REVENUE                      PO BOX 23050                                                                                               JACKSON                  MS           39225-3050
    STATE TAX DEPARTMENT                                                              PO BOX 1826                                                                                                CHARLESTON               WV           25327-1826
    STATE TREASURER OF MISSISSIPPI UNCLAIMED
    PROPERTY                                   UNCLAIMED PROPERTY DIVISION         501 N W ST                                STE 1101A                                                           JACKSON                  MS           39201
                                               UNCLAIMED PROPERTY STATE TREASURERS
    STATE TREASURER OF SC UCP                  OFFICE                              1200 SENATE ST STE 214                    WADE HAMPTON BUILDING                                               COLUMBIA                 SC           29201
    STATE TREASURER OF SOUTH CAROLINA                                              1200 SENATE ST                            STE 214                                     WADE HAMPTON BLDG       COLUMBIA                 SC           29201
                                               SOUTH CAROLINA STATE TREASURERS
    STATE TREASURERS OFFICE UPP                OFFICE                              UNCLAIMED PROPERTY PROGRAM                1200 SENATE ST RM 224                                               COLUMBIA                 SC           29201
    STATESIDE PRIVATE CAPITAL INC                                                  155 N WACKER DR                           STE 4250                                                            CHICAGO                  IL           60606
    STATESMEN JOURNAL                                                              280 CHURCH ST NE                                                                                              SALEM                    OR           97301
    STATEWIDE ACCESS LLC                                                           1011 CAMINO DEL RIO S                     440                                                                 SAN DIEGO                CA           92108
    STATEWIDE ACCESS LLC DBA QUOTE 2 FUND                                          1011 CAMINO DEL RIO S                     440A                                                                SAN DIEGO                CA           92108
    STAUFFER AND CAMERER INVESTMENTS                                               12172 WILDLIFE RD                                                                                             NEOSHO                   MO           64850
    STAUNTON INVESTMENTS INC PIQUA             DBA GOIN POSTAL PIQUA               1268 E ASH ST                                                                                                 PIQUA                    OH           45356
    STAVE LARRY                                                                    ADDRESS ON FILE
    STEADY CAPITAL LLC                                                             497 ROCKAWAY AVE                          STE 2                                                               VALLEY STREAM            NY           11581
    STEEL SECURITY                                                                 24 JOHNNIE DR                                                                                                 ST CHARLES               MO           63304
    STEELTIDE INC                                                                  2132 MILL CORSSING DR                     APT 116                                                             VIRGINIA BEACH           VA           23454
    STEEPLE SQUARE LLC                                                             283 SECOND ST PIKE                        STE 180                                                             SOUTHAMPTON              PA           18966
    STEFAN BELL                                                                    ADDRESS ON FILE
    STEFFES TIM                                                                    ADDRESS ON FILE
    STEINBERG JESSE                                                                ADDRESS ON FILE
    STEINER CONSTRUCTION SERVICES INC                                              3610 COUNTY RD 101                                                                                            WAYZATA                  MN           55391
    STEPAN HARUTYUNYAN                                                             ADDRESS ON FILE
    STEPHANIE GONZALEZ                                                             ADDRESS ON FILE
    STEPHANIE JACKSON                                                              ADDRESS ON FILE
    STEPHANY CRUZ                                                                  ADDRESS ON FILE
    STEPHANY CRUZ                                                                  ADDRESS ON FILE
    STEPHEN AND COLEEN SAWYER                                                      ADDRESS ON FILE

    STEPHEN F WILLIAMS DBA SFW ENTERPRISES LLC                                        4717 S JACKSON ST 113                                                                                      SAN ANGELO               TX           76903
    STEPHEN G BELL                                                                    ADDRESS ON FILE
    STEPHEN HOLT JASPER COUNTY COLLECTOR                                              PO BOX 421                                                                                                 CARTHAGE                 MO           64836-0421
    STEPHEN J FELT DBA CREATIVE BUSINESS
    FINANCE LLC                                                                       7830 W ALAMEDA AVE                     STE 103 252                                                         LAKEWOOD                 CO           80226
    STEPHEN J RUDOLPH                                                                 ADDRESS ON FILE
    STEPHEN M HOWELL                                                                  ADDRESS ON FILE
    STEPHEN WARREN RICHARD III                                                        ADDRESS ON FILE
    STEPHSON CARPET CLEANING                                                          11769 MILNOR RD                                                                                            PICKERINGTON             OH           43147
    STEPP BENJAMIN                                                                    ADDRESS ON FILE
    STERLING BALIFFS INC                                                              1001 PETROLIA RD                                                                                           TORONTO                  ON           M3J 2X7      CANADA
    STERLING CHURCH ST FURNITURE 132 62 4931   VIRGINIA BEACH GEN DIST COURT          2425 NIMMO PKWAY CIVIL RM B                                                                                VIRGINIA BEACH           VA           23456-9002
    STERLING PROCESS SERVICES INC                                                     524 S ANDREWS AVE                      STE 303 N                                                           FORT LAUDERDALE          FL           33301
    STERLING SHOPPING CENTER ASSOCIATES LLC    C O ETKIN EQUITIES                     PO BOX 79001 DRAWER 1363                                                                                   DETROIT                  MI           48279-1363
    STERLING TOM                                                                      ADDRESS ON FILE
    STETZ FRANK P                                                                     ADDRESS ON FILE
    STEVE FRAZIER                                                                     ADDRESS ON FILE
    STEVE G RODRIGUEZ                                                                 ADDRESS ON FILE
    STEVE JACUZZI                                                                     ADDRESS ON FILE
    STEVE LEPKOWSKI DO NOT USE                                                        ADDRESS ON FILE
    STEVE M BALLARD                                                                   ADDRESS ON FILE
    STEVE NEWLIN                                                                      ADDRESS ON FILE
    STEVEN HALL AND PARTNERS                                                          645 5TH AVE                            6TH FL                                                              NEW YORK                 NY           10022-5910


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    STEVEN J ROTTMAN PC                                                               269 S BEVERLY DR 346                                                                                    BEVERLY HILLS           CA           90212
    STEVEN S LITTLE                                                                   ADDRESS ON FILE
    STEVENS BONNIE                                                                    ADDRESS ON FILE
    STEVENS PAINTING COMPANY                                                          419 N DONK ST                                                                                           MARYVILLE               IL           62062
    STEVENS PROPERTIES INC                                                            51830 GRAND RIVER AVE                                                                                   WIXOM                   MI           48393
    STEVERN M ZINZ                                                                    ADDRESS ON FILE
    STEWART TECHNOLOGIES INC                                                          7061 DEEPAGE DR                      STE 104                                                            COLUMBIA                MD           21045
    STIKEMAN ELLIOTT LLP                                                              5300 COMMERCE CT W                   199 BAY ST                                                         TORONTO                 ON           M5L 1B9      CANADA
    STIKEMAN ELLIOTT LLP                                                              5300 COMMERCE CT W                   199 BAY ST                                                         TORONTO                 ONTARIO      M5L 1B9      CANADA
    STILES JONATHAN                                                                   ADDRESS ON FILE
    STILL HOPE FOUNDATION INC                                                         121 W TAZEWELL ST                    PO BOX 3458                                                        NORFOLK                 VA           23514
    STILL HOPE FOUNDATION INC                                                         121 W TAZEWELL ST                    PO BOX 3458                                                        NORFOLK                 VA           23514-3458
    STINE MARGARET A                                                                  ADDRESS ON FILE
    STINGRAY                                                                          4920 59TH ST                                                                                            RED DEER                AB           T4N 2N1      CANADA
    STINGRAY RADIO INC                         DBA RADIO STINGRAY INC                 176 GREAT GEORGE ST                  STE 320                                                            CHARLOTTETOWN           PE           C1A 4K9      CANADA
    STINTSON DOUGLAS                                                                  ADDRESS ON FILE
    STITES AND HARBISON PLLC                                                          400 W MARKET ST                      STE 1800                                                           LOUISVILLE              KY           40202-3352
    STIX HOLDINGS LLC DBA PICK UP STIX                                                24422 AVENIDA DE LA CARLOTA          STE 360                                                            LAGUNA HILLS            CA           92653
    STM LIQUIDATING TRUST DBA SHOOT THE MOON
    LLC                                                                               7201 E CAMELBACK RD 250                                                                                 SCOTTSDALE              AZ           85251
    STOCKTON BRANCH WEBER FACILITY                                                    222 E WEBER AVE                                                                                         STOCKTON                CA           95202
    STOKES TIMMS BELL AND VAIDEN PC                                                   150 BOUSH ST                                                                                            NORFOLK                 VA           23510
    STOLL KEENON OGDEN PLLC                                                           2000 PNC PLZ                         500 W JEFFERSON ST                                                 LOUISVILLE              KY           40202-2828
    STONE AND ASSOCIATES INC                                                          219 E WASHINGTON ST SU                                                                                  GREENVILLE              SC           29601
    STONE CYNTHIA                                                                     ADDRESS ON FILE
    STONE STEVEN                                                                      ADDRESS ON FILE
    STOP GO NETWORKS LIMITED                   ATTN LESTTER VELASCO                   PO BOX 49087 GARDEN CITY                                                                                WINNIPEG                MANITOBA     R2V 4G8      CANADA
    STOP HUNGER NOW                                                                   615 HILLSBOROUGH ST                  STE 200                                                            RALEIGH                 NC           27603
    STOR OFFICE FURNITURE                                                             106 3420 12TH ST NE                                                                                     CALGARY                 AB           T2E 6N1      CANADA
    STORAGEMART                                                                       110 GUIDED CT                                                                                           ETOBICOKE               ON           M9V 4K6      CANADA
    STOREFRONT LENDERS LLC                                                            1111 N BRAND BLVD                    STE 401                                                            GLENDALE                CA           91202
    STORY MIKE                                                                        ADDRESS ON FILE
    STOSCH DACEY AND GEORGE PC                 MARKEL BULDING AT INNSBROOK            4551 COX RD STE 110                                                                                     GLEN ALLEN              VA           23060-6740
    STRADA CAPITAL CORPORATION                                                        23046 AVENIDA DE LA CARLOTA          STE 350                                                            LAGUNA HILLS            CA           92653
    STRAIT LAURAN                                                                     ADDRESS ON FILE
    STRATEGIC ART SOLUTIONS LLC                                                       113 82ND ST                                                                                             VIRGINIA BEACH          VA           23451
    STRATEGIC CAPITAL PARTNERS LLC                                                    14100 GOODMAN ST                                                                                        OVERLAND PARK           KS           66223
    STRATEGIC COMMERCIAL CONSULTING LLC DBA
    BUSINESS FUNDING EASY                                                             309 E 87TH ST 5T                                                                                        NEW YORK                NY           10128
    STRATEGIC DEALER SOLUTIONS DBA BROOKVALE
    FUNDING                                                                           6135 PARK S DR                                                                                          CHARLOTTE               NC           28210
    STRATEGIC MARKETING SERVICES                                                      4 BEAVERBROOK RD                     126                                                                LINCOLN PARK            NJ           07035
    STRATEGY WISE DIRECT MARKETING                                                    1225 9TH ST E                                                                                           SASKATOON               SK           S7H 0N7      CANADA
    STRATEGYTRAILS                             ATTN OLEG KALENICHENKO                 508 BIRCHWATER AVE                                                                                      CHESAPEAKE              VA           23320
    STRATFORD HOUSE OF BLESSING FOOD DRIVE                                            423 ERIE ST                                                                                             STRAFORD                ON           N5A 2N3      CANADA
    STRAWBERRY PLAZA LLC                                                              7171 SW 62ND AVE                     STE 503                                                            SOUTH MIAMI             FL           33143
    STRAYER UNIVERSITY                                                                246 CENTRAL PARK AVE                 STE 350                                                            VIRGINIA BEACH          VA           23462
    STREAM ENERGY                                                                     PO BOX 650026                                                                                           DALLAS                  TX           75265
    STREAMLOGICS INC                                                                  555 RICHMOND ST W BOX 106            STE 400                                                            TORONTO                 ON           M5V 3B1      CANADA
    STREAMSETS INC                                                                    150 SPEAR ST                         STE 300                                                            SAN FRANCISCO           CA           94105
    STREETSEEN MEDIA                                                                  48 EASTON RD                                                                                            BRANTFORD               ON           N3P 1J5      CANADA
    STRETCH INVESTMENTS INC                                                           25283 CABOT RD                       STE 214                                                            LAGUNA HILLS            CA           92653
    STRETTO INC                                                                       410 EXCHANGE                         STE 100                                                            IRVINE                  CA           92602
    STRICTLY NEON INC                                                                 4608 W 137TH                                                                                            CRESTWOOD               IL           60418
    STRIGHT LINE SOURCE INC                                                           215 RXR PLZ                                                                                             UNIONDALE               NY           11556
    STRING FLAGS CANADA                                                               1268A ST CLAIRE AVE W                                                                                   TORONTO                 ON           M6E 1B9      CANADA
    STROHACKER INVESTIGATIONS                  ATT ROY STROHACKER                     1111 CRESTWOOD BLVD A                                                                                   LAKE WORTH              FL           33460
    STROIA MATTHEW                                                                    ADDRESS ON FILE
    STRONGMAN SERVICES                         ATTN DOMINIC PAOLO                     125 VERNON AVE                                                                                          YONKERS                 NY           10704
    STRUCTURAL EDGE ENGINEERING INC                                                   3595 LINDA ST                                                                                           INNISFIL                ON           L9S 2L2      CANADA
    STRUCTURAL PRESERVATION CORPORATION                                               3 NOTTINGHAM PL                                                                                         GREAT NECK              NY           11023
    STRYKER SEVICES LLC                                                               3036 WATERSIDE CIR                                                                                      BOYNTON BEACH           FL           33435
    STUART AND ASSOCIATES PC                                                          712 MAIN                             STE 1100                                                           HOUSTON                 TX           77002
    STUART RHODES                                                                     ADDRESS ON FILE
    STUART TODD HAYNES                                                                ADDRESS ON FILE

    STUBLEN AND SONS CONTRACTING SERVICES INC D B A STUBLEN ROOFING                   4052 DEVON DR                                                                                           CHESAPEAKE              VA           23221
    STUDENTS IN FREE ENTERPRISE                                                       JACK SHEWMAKER SIFE WORLD HQ         1959 E KERR ST                                                     SPRINGFIELD             MO           65803-4775
    STUDIO CENTER                                                                     161 BUSINESS PARK DR                                                                                    VIRGINIA BEACH          VA           23462
    STURDIVANTS MECHANICAL LLC                                                        PO BOX 226                           101 BUTTERFIELD COACH RD                                           SPRINGDALE              AR           72765
    STYLISTIC NEWS                                                                    4661 HAYGOOD RD                      UNIT 107                                                           VIRGINIA BEACH          VA           23455
    SUBROGATION MANAGEMENT TEAM LLC                                                   10615 PERRIN BEITEL STE 501                                                                             SAN ANTONIO             TX           78217
    SUBURBAN BUILDING SERVICES                                                        27140 OHIO AVE NE                                                                                       KINGSTON                WA           98346
    SUBURBAN JOURNALS                                                                 1714 DEER TRACKS TRAIL                                                                                  ST LOUIS                MO           63131
    SUBURBAN LODGE                                                                    300 GALLERIA PKWY                    STE 1200                                                           ATLANTA                 GA           30339
    SUBURBAN NEWS PUBLICATIONS                                                        PO BOX 29912                                                                                            COLUMBUS                OH           43229
    SUCCESS IN MEDIA INC                                                              4 CARLTON DR                                                                                            MASSAPEQUA              NY           11758
    SUCCESS MAGAZINE                                                                  205 LEXINGTON AVE                    STE 510                                                            NEW YORK                NY           10016
    SUCCESS PARTNERS HOLDING CO               DBA DIRECT SELLING NEWS                 PO BOX 671186                                                                                           DALLAS                  TX           75267-1186
    SUCCESSORIESCOM LLC                                                               2915 S CONGRESS AVE                  BLDG B UNIT BH                                                     DELRAY BEACH            FL           33445
    SUDBURY BROADCASTING GROUP                                                        PO BOX 989                                                                                              BLYTHEVILLE             AR           72316
    SUDBURY COFFEE NEWS                                                               3 LANDSEND ST                                                                                           SUDBURY                 ON           P3C 1B9      CANADA
    SUDBURY WOLVES                                                                    PO BOX 4100                                                                                             SUDBURY                 ON           P3A 5Y9      CANADA
    SUDBURY WOLVES HOCKEY CLUB LIMITED                                                240 ELGIN ST                                                                                            SUDBURY                 ON           P3E 3N6      CANADA
    SUDDENLINK                                                                        PO BOX 660365                                                                                           DALLAS                  TX           75266-0365
    SUDDENLINK BUSINESS 70340                                                         PO BOX 70340                                                                                            PHILADELPHIA            PA           19176-0340
                                              DBA SUFFOLK VILLAGE SL NUSBAUM REALTY
    SUFFOLK BLOCK ASSOC LLC                   AGENT                                   PO BOX 3580                                                                                             NORFOLK                 VA           23501
    SUFFOLK BLOCK ASSOCIATES LLC                                                      SL NUSBAUM REALTY CO                 PO BOX 3580                                                        NORFOLK                 VA           23514


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    SUFFOLK FESTIVALS INC                                                    1410 AIRPORT RD                       PO BOX 1852                                                        SUFFOLK                   VA           23439-1852
    SUFFOLK NEWS HERALD                                                      PO BOX 1220                                                                                              SUFFOLK                   VA           23439-1220
    SUFFOLK TELEPHONE BOOK                                                   424 MARKET ST STE 104                                                                                    SUFFOLK                   VA           23434
    SUGARCRM INC                                                             DEPT LA 23968                                                                                            PASADENA                  CA           91185
    SUGARMAN CARLA                                                           ADDRESS ON FILE
    SUITEBRIAR                                                               2550 JAMES MAURY DR                                                                                      HERNDON                   VA           20171
    SULAIMAN LAW GROUP LTD DBA ATLAS
    CONSUMER LAW                                                             2500 S HIGHLAND AVE                   STE 200                                                            LOMBARD                   IL           60148
    SULEIMAN MAMDOH                                                          ADDRESS ON FILE
    SULLIVAN COUNTY CLERK                                                    3258 HWY 126 STE 101                                                                                     BLOUNTVILLE               TN           37617
    SULLIVAN DAN                                                             ADDRESS ON FILE
    SULLIVAN DANIEL                                                          ADDRESS ON FILE
    SULLIVAN SQUARE INC                     C O MAST EVANS AND ISENHOUR      PO BOX 1029                                                                                              CONOVER                   NC           28513
    SUMER FOX                                                                ADDRESS ON FILE
    SUMMIT 5 LLC                                                             383 INVERNESS PKWY STE 340                                                                               ENGLEWOOD                 CO           80112
    SUMMIT PROPERTY MANAGEMENT LLC          ATTN AARON GINGERELLI            500 N HIGGING AVE STE 208                                                                                MISSOULA                  MT           59802
    SUN BOWL ASSOCIATION                                                     4150 PINNACLE ST SUTIE 100                                                                               EL PASA                   TX           79902
    SUN CAPITAL CORP                                                         PO BOX 1161                                                                                              NEW YORK                  NY           10150
    SUN LAI                                                                  ADDRESS ON FILE
    SUN LIFE AND HEALTH INSURANCE COMPANY                                    PO BOX 843201                                                                                            KANSAS CITY               MO           64184-3201
    SUN LIFE ASSURANCE COMPANY OF CANADA                                     150 W MAIN ST                         STE 1100                                                           NORFOLK                   VA           23510
    SUN MEDIA                                                                VANCOUVER 24 HOURS                    24 W 2ND AVE                                                       VANCOUVER                 BC           V5Y 1B3      CANADA
    SUN SENTINEL                                                             500 E BROWARD BLVD                                                                                       FT LAUDERDALE             FL           33394
    SUN SOOK KIM                                                             ADDRESS ON FILE
    SUN TRUST BANK                                                           303 PEACHTREE ST NE                   23RD FL                                                            ATLANTA                   GA           30308
    SUNBELT TEMPORARIES AND CONTRACT
    SERVICES                                                                 297 INDEPENDENCE BLVD                 BLDG 6 STE 325                                                     VIRGINIA BEACH            VA           23462
    SUNCOAST LOCK AND TROPHIES                                               PO BOX 1922                                                                                              SECHELT                   BC           V0N 3A0      CANADA
    SUNDANCE INTERNATIONAL EVENTS INC                                        48 CRAMPTON DR                                                                                           BELMONT                   ON           N0L 1B0      CANADA
    SUNDAY TIMES                                                             PO BOX 3000                           44 FAIRFORD ST W                                                   MOOSE JAW                 SK           S6H 6E4      CANADA
    SUNLAN CORPORATION                                                       8502 E CHAPMAN AVE                    STE 375                                                            ORANGE                    CA           92869
    SUNLAND LLC                                                              2960 C ST                             STE 202                                                            ANCHORAGE                 AK           99503
    SUNNY 1019 KBTO FM                                                       PO BOX 28                                                                                                BOTTINEAU                 ND           58318
    SUNRISE PLAZA ASSOCIATES LP                                              45 N STATION PLZ STE 315                                                                                 GREAT NECK                NY           11021
    SUNSET PORTFOLIOS LLC                                                    44 MARINER WAY                                                                                           MONSEY                    NY           10952
    SUNSET WEST INVESTIGATIONS                                               13502 WHITTIER BLVD                   STE H 124                                                          WHITTIER                  CA           90605
    SUNSHINE COAST CREDIT UNION                                              PO BOX 715                            985 GIBSONS WAY                                                    GIBSONS                   BC           V0N 1V0      CANADA
    SUNSHINE JUNK REMOVAL LTD                                                7607 176 ST NW                                                                                           EDMONTON                  AB           T5T 0J4      CANADA
    SUNSHINE MAINTENANCE AND REMODELING                                      1103 N 4TH ST                                                                                            KILLEEN                   TX           76541
    SUNTRUST BANK COMMERCIAL CREDIT SVCS    COMMERCIAL CREDIT SERVICES       PO BOX 26202                                                                                             RICHMOND                  VA           23260-6202
    SUNTRUST BANK CORPORATE CREDIT CARD                                      PO BOX 791250                                                                                            BALTIMORE                 MD           21279-1250
    SUNTRUST CAPITAL MARKETS INC            ATTN ROBERT A ETHRIDGE           3333 PEACHTREE RD NE 10TH FL                                                                             ATLANTA                   GA           30326
    SUNTRUST ROBINSON HUMPHREY                                               3333 PEACHTREE RD NE                                                                                     ATLANTA                   GA           30326
    SUPER MEX RESTAURANTS INC                                                712 E 1ST ST                                                                                             LONG BEACH                CA           90620
    SUPER SYSTEMS INCORPORATED                                               1835 SAVOY DR                         STE 206                                                            ATLANTA                   GA           30341
    SUPERINTENDENT OF FINANCIAL SERVICES    ATTENTION LICENSING BUREAU       ONE COMMERCE PLZ                                                                                         ALBANY                    NY           12257
    SUPERIOR EXECUTIVE TRANSPORTATION                                        405 CEDAR LN                                                                                             VIRGINIA BEACH            VA           23452
    SUPERIOR INVESTIGATIVE SERVICES                                          340 COOLEY ST 143                                                                                        SPRINGFIELD               MA           01128
    SUPERIOR PRESS                                                           PO BOX 844550                                                                                            LOS ANGELES               CA           90084-4550
    SUPERIOR RECYCLE CENTRE INC                                              715 ISBISTER ST                                                                                          WINNIPEG                  MB           R2Y 1R2      CANADA
    SUPERIOR SECURITY                                                        800 SEAHAWK CIR                       STE 134                                                            VIRGINIA BEACH            VA           23452
    SUPERIOR SECURITY SERVICES                                               PO BOX 132                                                                                               WATERLOO                  IA           50704
    SUPERIOR SERVICES COLUMBUS                                               1515 HARMON AVE                                                                                          COLUMBUS                  OH           43223-3309
    SUPERMEDIASTORECOM                                                       17936 AJAX CIR                                                                                           CITY OF INDUSTRY          CA           91748
    SUPERMONEY LLC                                                           3100 S HARBOR BLVD                    STE 190                                                            SANTA ANA                 CA           92704
    SUPREME BASIC                                                            1135 8TH AVE                                                                                             REGINA                    SK           S4R 1E1      CANADA
    SUPREME COURT APPELLATE DIV             FIRST DEPARTMENT                 27 MADISON AVE                                                                                           NEW YORK                  NY           10010
    SUPREME COURT OF FLORIDA                                                 CLERKS OFFICE                         500 SOUTRH DUVAL ST                                                TALLAHASSEE               FL           32399-1927
    SUPREME MARKETING GROUP INC                                              4700 NW 2ND AVE                       STE 301                                                            BOCA RATON                FL           34341
    SURESITE                                                                 210 N BREIEL BLVD                     STE 200                                                            MIDDLETOWN                OH           45042
    SURETEC                                                                  1330 POST OAK BLVD                    STE 1100                                                           HOUSTON                   TX           77056
    SUREWEST ACCT 104340                                                     14859 W 95TH ST                                                                                          LENEXA                    KS           66215
    SURFMYADSCOM                                                             321 SANTA MONICA BLVD 300                                                                                SANTA MONICA              CA           90401
    SURGENT MCCOY CPE LLC                                                    237 LANCASTER AVE                                                                                        DEVON                     PA           19333
    SURPLUS LIQUIDATOR                                                       101 ELM ST                                                                                               SUDBURY                   ON           P3C 1T3      CANADA
    SURROUND INTEGRATED                                                      2285 WYECROFT RD                                                                                         OAKVILLE                  ON           L6L 5L7      CANADA
    SUSAN BOWEN                                                              ADDRESS ON FILE
    SUSAN FERNER                                                             ADDRESS ON FILE
    SUSAN GULLIXSON                                                          ADDRESS ON FILE
    SUSAN K WATERMAN                                                         ADDRESS ON FILE
    SUSAN PHUNG                                                              ADDRESS ON FILE
    SUSAN SPAR                                                               ADDRESS ON FILE
    SUTHERLAND ASBILL AND BRENNAN LLP                                        999 PEACHTREE ST NE                   STE 2300                                                           ATLANTA                   GA           30309-3996
    SUTHERLIN REAL ESTATE HOLDINGS LLC                                       800 WILLAMETTE ST                     STE 800                                                            EUGENE                    OR           97401
    SUTHERLIN SANITARY SERVICE                                               PO BOX 4790                                                                                              SUTHERLIN                 OR           97479-1931
    SUTTON FUNDING NY INC                                                    135 E 57TH ST FL 14                                                                                      NEW YORK                  NY           10022
    SW CONCEPTSLLC                                                           9050 EXECUTIVE PARK DR STE B 102                                                                         KNOXVILLE                 TN           37923
    SW SOLUTIONS LLC DBA SHANNON WOODS                                       31 PLYMOUTH RD                                                                                           MASSAPEQUA                NY           11758
    SWADESH ENTERPRISES INC                 C O AMIT CHANDEL                 150 AMBLING DR                                                                                           BREA                      CA           92821
    SWAIN BROS                              DIVISION OF 629379 ONTARIO INC   374 LACROIX ST                                                                                           CHATHAM                   ON           N7M 2W3      CANADA
    SWAN CITY HOCKEY ASSOCIATION            Q A THE GRANDE PRAIRIE STORM     BOX 625                                                                                                  GRAND PRAIRIE             AB           T8V 3A8      CANADA
    SWAN DUST CONTROL                                                        35 UNIVERSITY AVE E                                                                                      WATERLOO                  ON           N2J 2V9      CANADA
    SWD LLP                                                                  6014 OLD DAWSON RD                                                                                       ALBANY                    GA           31721
    SWF INVESTMENTS LLC                     DBA THE RICHDEN COMPANY          1410 W IRVING PARK RD                 1F                                                                 CHICAGO                   IL           60613
    SWIFTPAGE ACT LLC                                                        621 17TH ST STE 500                                                                                      DENVER                    CO           80293
    SWIFTPAGE E                                                              383 INVERNESS PKWY                    STE 340                                                            ENGLEWOOD                 CO           80112
    SWIGART LAW GROUP APC                                                    2221 CAMINO DEL RIO S                 STE 308                                                            SAN DIEGO                 CA           92108
    SWISHMAILCOM                                                             154 68 26TH AVE                                                                                          FLUSHING                  NY           11354
    SWISS HAMILTON                                                           2670 DANFORTH AVE                     STE 100                                                            TORONTO                   ON           M4C 1L7      CANADA


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                        Name                                   Attention                              Address 1                               Address 2                           Address 3                     City        State       Zip          Country
    SYCOM TECHNOLOGIES LLC                                                           PO BOX 70909                                                                                             RICHMOND                 VA           23255-0909
    SYDNEY R MICHAEL INVESTIGATIONS                                                  860 BOARDMAN CANFIELD RD              STE 200A                                                           YOUNGSTOWN               OH           44512
    SYDNEY R STONE AND CO LTD                                                        6338 VISCOUNT RD                                                                                         MISSISSAUGA              ON           L4V 1H3      CANADA
    SYDNEYSTONE PRINTFINISHING                                                       6338 VISCOUNT RD                                                                                         MISSISSAUGA              ON           L4V 1H3      CANADA
    SYKES RICHARD                                                                    ADDRESS ON FILE
    SYKESBOURDONAHERN AND LEVY PC             NORFOLK GENERAL DISTRICT COURT         811 E CITY HALL AVE                                                                                      NORFOLK                  VA           23510
    SYLVAN ASSOCIATES                                                                11225 SE 6TH ST STE 220                                                                                  BELLEVUE                 WA           98004
    SYLVANA SHEWBRIDGE                                                               1255 HURON ST APT 904                                                                                    LONDON                   ON           N5Y 4I6      CANADA
    SYMANTEC CORPORATION                                                             350 ELLIS ST                                                                                             MOUNTAIN VIEW            CA           94043
    SYMMETRY LABS LLC                                                                235 E BROADWAY 8TH FL                                                                                    LONG BEACH               CA           90802
    SYNC STREAM SOLUTIONS LLC                                                        8564 JEFFERSON HWY                    STE B                                                              BATON ROUGE              LA           70809
    SYNCB JCP                                                                        PO BOX 960090                                                                                            ORLANDO                  FL           32896
    SYNCB TJX COS DC                                                                 PO BOX 530949                                                                                            ATLANTA                  GA           30353
    SYNCB WALMART                                                                    PO BOX 965024                                                                                            ORLANDO                  FL           32896
    SYNCHRONY BANK                                                                   PO BOX 960061                                                                                            ORLANDO                  FL           32896
    SYNCHRONY BANK PHILLIPS 66                                                       PO BOX 530942                                                                                            ATLANTA                  GA           30353
    SYNCHRONY CARD BARCLAYS                                                          PO BOX 960013                                                                                            ORLANDO                  FL           32896
    SYNDICUS LLC                                                                     11601 WILSHIRE BLVD 5TH FL                                                                               LOS ANGELES              CA           90025
    SYNDICUS LLC                                                                     360 N PACIFIC COAST HWY               STE 2000                                                           EL SEGUNDO               CA           90245
    SYNERFAC                                                                         8280 GREENSBORO DR 570                                                                                   MCLEAN                   VA           20176
    SYNERGETIC CAPITAL FUND LLC                                                      5827 LONGFORD RD                                                                                         DAYTON                   OH           45424
    SYNERGY TECHNICAL                                                                PO BOX 1179                                                                                              MECHANICSVILLE           VA           23111
    SYNOVUS                                   MARIE MCLESTER                         3400 OVERTON PARK DR SE STE 500                                                                          ATLANTA                  GA           30339
    SYNOVUS BANK                                                                     1148 BROADWAY ST                                                                                         COLUMBUS                 GA           31901
    SYSFOB                                                                           110 W MERCHANT ST                                                                                        AUDUBON                  NJ           08106
    SYSTEMS C S SERVICES INC                                                         14571 OLD DAYTON RD                                                                                      WEST ALEXANDRIA          OH           45381
    T AND C TAX SERVICES LLC                                                         1089 MEDFORD CTR                                                                                         MEDFORD                  OR           97504
    T AND C TAX SERVICES LLC                                                         152 MAIN ST                                                                                              SPRINGFIELD              OR           97477
    T AND T COURIER AND TRUCKING                                                     6298 THORNBERRY CRESCENT                                                                                 WINDSOR                  ON           N8T 3A3      CANADA
    T GORDON WYLLIE REAL ESTATE LIMITED                                              6287 CLARE CRES                                                                                          NIAGARA FALLS            ON           L2G 2C9      CANADA
    T STEPHENS JOHNSON AND ASSOC INC                                                 3650 MANSELL RD STE 495                                                                                  ALPHARETTA               GA           30022
    TA BANDERA II LTD                                                                403 JULIE RIVERS DR                                                                                      SUGAR LAND               TX           77478
    TA BANDERA II LTD                         C O CENCOR REALTY SVC                  PO BOX 660394                                                                                            DALLAS                   TX           75266-0394
    TABLEAU SOFTWARE INC                                                             PO BOX 204021                                                                                            DALLAS                   TX           75320-4021
    TACO MESA                                                                        647 W 19TH ST                                                                                            COSTA MESA               CA
    TACOMA PUBLIC UTILITIES                                                          PO BOX 11010                                                                                             TACOMA                   WA           98411-1010
    TADS DELI                                                                        600 NORFOLK AVE                                                                                          VIRGINIA BEACH           VA           23451
    TAG INK INC                                                                      723 WOODIS AVE                        STE 3                                                              NORFOLK                  VA           23510
    TAINA CONSULTING OLGA ROENA                                                      OLGA LYDIA TORRES ROENA               1904 HAVERHILL CT                                                  VIRGINIA BEACH           VA           23453
    TAKE 5 SOLUTIONS                                                                 333 S CONGRESS AVE                    STE 303                                                            DELRAY BEACH             FL           33445
    TAKE A LEAP OF FAITH INC                  C O G STONE AND ASSOCIATES INC         4 115 FIRST ST STE 241                                                                                   COLLINGWOOD              ON           L9Y 4W3      CANADA

    TAL GILAD DBA ADVENTURE FUNDING GROUP LLC                                        755 RIVERSIDE DR                      APT 1337                                                           CORAL SPRINGS            FL           33071
    TALBOT MARKETING                                                                 POSTAL STATION A                      PO BOX 7805                                                        TORONTO                  ON           M5W 2R2      CANADA
    TALENTWISE DONT USE                                                              PO BOX 3876                                                                                              SEATTLE                  WA           98124-3876
    TALENTWISE INC                                                                   PO BOX 3876                                                                                              SEATTLE                  WA           98124-3876
    TALENTWISE SOLUTIONS LLC                  FKA INTELIUS SCREENING SOLUTIONS LLC   PO BOX 3876                                                                                              SEATTLE                  WA           98124-3876
    TALIN ZAKARYAN                                                                   ADDRESS ON FILE
    TALK BUSINESS START UPS                                                          23417 DOGWOOD CT                                                                                         LEWES                    DE           19958
    TALK MEDIA                                                                       2369 A QUEEN ST E                                                                                        TORONTO                  ON           M4E 1H2      CANADA
    TALKPOINT COMMUNICATIONS                                                         PO BOX 27346                                                                                             NEW YORK                 NY           10087
    TALL GRASS PUBLIC RELATIONS INC                                                  4912 S TECHNOPOLIS DR                                                                                    SIOUX FALLS              SD           57106
    TALLEY SIGN COMPANY                                                              1908 CHAMBERLAYNE AVE                                                                                    RICHMOND                 VA           23222
    TALLWOOD DRAMA BOOSTER INC                                                       1668 KEMPSVILLE RD                                                                                       VIRGINIA BEACH           VA           23464
    TALLY ANCHOR SIGN CO                                                             1044 RURITAN BLVD                                                                                        CHESAPEAKE               VA           23324
    TALLY HO DISTRIBUTING CO LTD                                                     6058 TECUMSEH RD E                                                                                       WINDSOR                  ON           N8T 1E3      CANADA
    TALON DETECTIVE AGENCY INC                                                       PO BOX 898                                                                                               MECHANICSVILLE           MD           20659
    TALX CORPORATION                                                                 4076 PAYSPHERE CIR                                                                                       CHICAGO                  IL           60674
    TALX CORPORATION                                                                 4076 PAYSPHERE CIR                                                                                       CHICAGO                  IL           60674-4076
    TAM OSHANTER PLAZA                        C O E KIRSH                            220 DUNCAN MILL RD STE 602                                                                               TORONTO                  ON           M3B 3J5      CANADA
    TAM TRUST PATRICK W Y                                                            211 N RECORD ST                       STE 425                                                            DALLAS                   TX           73202
                                              DBA PEGASUS COMMUNICATIONS
    TAMER CHRISTO DBA PCS INC                 SOLUTIONS                              1948 E SANTA FE STE A                                                                                    OLATHE                   KS           66062
    TAMMY BATES                                                                      ADDRESS ON FILE
    TAMMY VIGEN                                                                      ADDRESS ON FILE
    TAMPA BAY INTERCONNECT                                                           11500 9TH ST N                                                                                           ST PETERSBURG            FL           33716
    TAMPA BAY INVESTIGATIONS                                                         2834 UPTON ST S                                                                                          GULFPORT                 FL           33711
    TAMPA EMPLOYMENT GUIDE                                                           PO BOX 22846                                                                                             TAMPA                    FL           33622-2846
    TAMPA TRIBUNE                                                                    4412 N 56TH ST                                                                                           TAMPA                    FL           33610
    TAN HSING                                                                        ADDRESS ON FILE
    TANDEM SARASOTA                                                                  PO BOX 406104                                                                                            ATLANTA                  GA           30384-6104
    TANGUAY MAGILL AMERICAN LEGION POST 80                                           566 ENFIEILD ST                                                                                          ENFIELD                  CT           06082
    TANQUE VERDE RANCH                                                               14301 E SPEEDWAY                                                                                         TUCSON                   AZ           85748
    TANVENTURE LLC                                                                   200 BROADHOLLOW RD                    STE 207                                                            MELVILLE                 NY           11747
    TANYA HANG                                                                       ADDRESS ON FILE
    TAP FINANCIAL LLC                                                                5300 OAKBROOK PKWY                    STE 360                                                            NORCROSS                 GA           30093
    TAP TITLE ABSTRACT CO                                                            50 FOOTE HILL RD                                                                                         NORTHFORD                CT           06472
    TAPASTATE LLC                                                                    PO BOX 1687                                                                                              BRISTOL                  TN           37621
    TAPES PLUS ADVERTISING                                                           5224 INTERLACHEN BLVD                                                                                    EDINA                    MN           55436
    TAPIS RICHARD RANGER CARPET INC                                                  350 MAIN ST S                         U2                                                                 ALEXANDER                ON           K0C 1A0      CANADA
    TAPSCO ALARMS LIMITED OSHAWA                                                     1059 BASSWOOD CRT                                                                                        OSHAWA                   ON           L1H 2G9      CANADA
    TAPSCO ALARMS WHITBY                                                             910 DUNDAS ST W                       PO BOX 10025                                                       WHITBY                   ON           L1P 1P7      CANADA
    TARA ENERGY                                                                      PO BOX 301438                                                                                            DALLAS                   TX           75303-1410
    TARA MCMILLAN DBA DEBRIZ VARNISH PROPERTY
    CLEANUP                                                                          9026 WOOTEN RD                                                                                           CHATTANOOGA              TN           37416
    TARGET CARD                                                                      PO BOX 660170                                                                                            DALLAS                   TX           75266
    TARGET CORPORATION DBA TARGET CORP GIFT
    CARDS                                                                            MAIL STOP TFS 2B H                    3701 WAYZATA BLVD                                                  MINNEAPOLIS              MN           55416
    TARGET DIRECT                                                                    446 BENTON RD                         PO BOX 430                                                         HAVERHILL                NH           03774-0430


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                        Name                                Attention                               Address 1                               Address 2                           Address 3                    City        State       Zip          Country
    TARGET INFORMATION SERVICES                                                     525 W MAIN ST                                                                                           MILAN                   MI           48160
    TARGET MARKETING                                                                100 SUNNYSIDE BLVD                                                                                      WOODBURY                NY           11797
    TARGUS INFO                                                                     8010 TOWERS CRESCENT DR              5TH FL                                                             VIENNA                  VA           23454
    TARR KATHY                                                                      ADDRESS ON FILE
    TARRYMORE SQUARE                                                                PO BOX 50497 GROUP 62                                                                                   WOBURN                  MA           01815
    TASK CO BUILDING MAINTENANCE                                                    95 WELLINGTON AVE W                                                                                     OSHAWA                  ON           L1H 3X8      CANADA
    TATINA M TUCKER                                                                 ADDRESS ON FILE
    TAUNTON MUNICIPAL LIGHTING PLANT                                                PO BOX 870                                                                                              TAUNTON                 MA           02780-0870
    TAX ANALYSTS                                                                    400 S MAPLE AVE STE 400                                                                                 FALLS CHURCH            VA           22046
    TAX COLLECTOR CITY OF NORWALK CT                                                125 E AVE                                                                                               NORWALK                 CT           06851
    TAX DISTRICT LEXINGTON FAYETTE URBAN
    COUNTY GOVERNMENT                                                               200 E MAIN ST                                                                                           LEXINGTON               KY           40507
    TAX ENGINECOM INC                                                               350 N 400 W                                                                                             KAYSVILLE               UT           84037
    TAX FILER EMPOWERMENT CANADA             DAN PFEFFER EXECUTIVE DIRECTOR         1420 220 LAURIER AVE W                                                                                  OTTAWA                  ON           K1P 5Z9      CANADA
    TAX FREEDOM FIGHTERS                                                            55 W MAIN                                                                                               LEHI                    UT           84043
    TAX HEROES LLC RALPH LOWTHER                                                    1745 NATHAN DEAN BYP                                                                                    ROCKMART                GA           30153
    TAX MATERIALS INC                                                               15105 MINNETONKA INDUSTRIAL RD       STE 221                                                            MINNETONKA              MN           55345-2106
    TAX SWAMIS LLC                                                                  222 N MAIN ST                        STE 7                                                              NATICK                  MA           01760
    TAXATION AND REVENUE DEPARTMENT                                                 PO BOX 2527                                                                                             SANTE FE                NM           87504-2527
    TAXME LLC                                                                       1638 UNION BLVD                                                                                         ALLENTOWN               PA           18109
    TAXPAYER SERVICES DIVISION GA            GEORGIA INCOME TAX DIVISION            PO BOX 740320                                                                                           ATLANTA                 GA           30374-0320
    TAYLOE ASSOCIATES INC                                                           PO BOX 3475                                                                                             NORFOLK                 VA           23514-3475
    TAYLOR AL                                                                       ADDRESS ON FILE
    TAYLOR AND ZIEGENBEIN                                                           ADDRESS ON FILE
    TAYLOR BILLY AND PATTY                                                          ADDRESS ON FILE
    TAYLOR CORPORATION                       DBA COMPLYRIGHT HR DIRECT G NEIL       PO BOX 669390                                                                                           POMPANO BEACH           FL           33069
    TAYLOR DOCUMENT MANAGEMENT                                                      4555 PROGRESS RD                     PO BOX 2556                                                        NORFOLK                 VA           23502
    TAYLOR JOHANNA                                                                  ADDRESS ON FILE
    TAYLOR KELLYE                                                                   ADDRESS ON FILE
    TAYLOR MADE GROUP ENTERTAINMENT                                                 1102 RED HOLLOW DR                                                                                      N LAS VEGAS             NV           89031
    TAYLOR MARGARET                                                                 ADDRESS ON FILE
    TAYLOR MARGARET H                                                               ADDRESS ON FILE
    TAYLOR PAUL                                                                     ADDRESS ON FILE
    TAYLOR RESEARCH AND INVESTIGATION                                               15757 COIT RD STE 400                                                                                   DALLAS                  TX           75248
    TAYLOR SOFTWARE INC                                                             120 W MADISON ST                     STE 500                                                            CHICAGO                 IL           60602
    TAYLOR SPENCER                                                                  ADDRESS ON FILE

    TBB LONG NECK LLC                        C O EMORYHILL REAL ESTATE SERVICES INC 10 CORPORATE CIR STE 100                                                                                NEW CASTLE              DE           19720
    TBMC LLC                                                                        2 BRIDLE CT                                                                                             OYSTER BAY              NY           11771-3308
    TCS CORPORATE SERVICES                                                          PO BOX 671160                                                                                           DALLAS                  TX           75267-1160
    TD BANKNORTH NA                                                                 PO BOX 1377                                                                                             LEWISTON                MA           04243-1377
    TD HOLDING LLC                                                                  PO BOX 626                                                                                              WINCHESTER              OR           97495
    TDF INTERNATIONAL INC                    C O KINLOCH AND ASSOCIATES PC          8808 CENTRE PARK DR STE 300                                                                             COLUMBIA                MD           21045
    TDI DYNAMIC CANADA                                                              1870 BIRCHMOUNT RD                                                                                      TORONTO                 ON           M1P 2J7      CANADA
    TDI LLC MSP DESIGN GROUP                 DBA MSP DESIGN GROUP                   641 PHOENIX DR                                                                                          VIRGINIA BEACH          VA           23452
    TDI TRANSPORTATION DISPLAY INC                                                  275 MADISON AVE                                                                                         NEW YORK                NY           10016
    TDWI REGISTRATION                                                               177 UNIVERSITY OF OREGON                                                                                EUGENE                  OR           97403-1277
    TEA MEDIA MANAGEMENT                                                            ONE BATTERYMARCH PARK                                                                                   QUINCY                  MA           02169
    TEAGLE AND LITTLE PRINTING                                                      1048 W 27TH ST                                                                                          NORFOLK                 VA           23517
    TEALIUM INC                                                                     DEPT CH 19762                                                                                           PALATINE                IL           60055-9762
    TEAM KIA EL CAJON                                                               541 N JOHNSON AVE                                                                                       EL CAJON                CA           92020
    TEAM SANDTASTIC                          C O MARK MASON                         509 SAPPHIRE DR                                                                                         SARASOTA                FL           34234
    TEAMMATES MENTORING PROGRAM OF COUNCIL
    BLUFFS                                                                          300 W BROADWAY                       STE 1600                                                           COUNCIL BLUFFS          IA           51503
    TEAMVIEWER GMBH                                                                 KUHNBERGSTR 16                                                                                          GOEPPINGEN                           73037
    TECH CONFERENCE INC                                                             731 MAIN ST STE C3                                                                                      MONROE                  CT           06468
    TECHINN 360                                                                     OFFICE 303 303 A MAKKAH TOWER        ADAM JEE RD                                                        RAWALPINDI
    TECHNICAL REGISTRATION EXPERTS                                                  303 W STATE ST                                                                                          GENEVA                  IL           60134
    TECHNIQUE MFG                                                                   80 HAFNER AVE                                                                                           PITTSBURGH              PA           15223
    TECHOUNDS LLC                                                                   16B JOURNEY                          STE 150                                                            ALISO VIEJO             CA           92656
    TECHREPUBLIC                                                                    PO BOX 389                                                                                              NEWBURGH                NY           12551-0389
    TECO                                                                            PO BOX 31318                                                                                            TAMPA                   FL           33631-3318
    TECO 21218                                                                      PO BOX 31318                                                                                            TAMPA                   FL           33631-2218
    TED DEMARINO                                                                    ADDRESS ON FILE
    TED LAGMAN                                                                      ADDRESS ON FILE
    TEK SYSTEMS                                                                     PO BOX 198568                                                                                           ATLANTA                 GA           30384-8568
    TEKGUARD IT SOLUTIONS                                                           21 4350 23 ST                                                                                           EDMONTON                AB           T6T 1X8      CANADA
    TEKSAVVY                                                                        800 RICHMOND ST                      STE 205                                                            CHATHAM                 ON           N7M5J5       CANADA
    TEKSHARK INC                             DBA NUVEM CONSULTING                   2329 N CAREER AVE STE 313                                                                               SIOUX FALLS             SD           57107
    TEKWORKS INC                                                                    13000 GREGG ST                                                                                          POWAY                   CA           92064
    TEL E CONNECT INVESTMENTS LTD                                                   101 TORO RD                          UNIT 28                                                            DOWNSVIEW               ONTARIO      M3J 2Z1      CANADA
    TELEGRAPH HERALD                                                                801 BLUFF ST                                                                                            DUBUQUE                 IA           52001-0688
    TELEMUNDO ODESSA MIDLAND                                                        PO BOX 60150                                                                                            MIDLAND                 TX           79711
    TELEPHONE AND MAIN ASSOCIATES LLC        C O SANDSTONE PROPERTIES               10877 WILSHIRE BLVD 1105                                                                                LOS ANGELES             CA           90024
    TELEPHONE DOCTOR                                                                30 HOLLENBERG CT                                                                                        ST LOUIS                MO           63044
    TELL A PHONE GUY                                                                9679 YORK RD                                                                                            CANFIELD                ON           NOA 1C0      CANADA
    TELLIGENT                                                                       17950 PRESTON RD STE 310                                                                                DALLAS                  TX           75252
    TELNET COMMUNICATIONS                                                           MCLAUGHLIN SQUARE                    50 RICHMOND ST E STE 107                                           OSHAWA                  ON           L1G 7C7      CANADA
    TELUS BURLINGTON                                                                PO BOX 5300                                                                                             BURLINGTON              ON           L7R 4S8      CANADA
    TELUS COMMUNICATIONS VANCOUVER                                                  PO BOX 7575                                                                                             VANCOUVER               BC           V6B 8N9      CANADA
    TELUS MOBILITY                                                                  PO BOX 8950                          STATION TERMINAL                                                   VANCOUVER               BC           V6B 3C3      CANADA
    TEMECULA EQUITY GROUP LLC DBA OVERFLOW
    WORKSCOM                                                                        25220 HANCOCK AVE                    STE 220                                                            MUTTIETA                CA           92562
    TEMECULA NISSAN                                                                 41895 MOTOR CAR PKWY                                                                                    TEMECULA                CA           92591
    TEMPLE TERRACE ASSOCIATES LLC            C O RMC PROPERTY GROUP                 1733 W FLETCHER AVE                                                                                     TAMPA                   FL           33612
    TENAMARIE HAWK                                                                  ADDRESS ON FILE
    TENDER HEARTS PROPERTIES LLC                                                    23968 E HINSDALE PL                                                                                     AURORA                  CO           80016
    TENERY TERRY L                                                                  ADDRESS ON FILE
    TENGCHONG INVESTMENT INC                                                        625 EBYCREST RD                                                                                         WATERLOO                ON           N2J 4G8      CANADA


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    TENNESSE DEPT OF REVENUE                                                       500 DEADERICK ST                        ANDREW JACKSON STATE BLDG                                          NASHVILLE               TN           37242
    TENNESSEE AMEICAN H2O CO                                                       PO BOX 75146                                                                                               BALTIMORE               MD           21275-0146
    TENNESSEE AMERICAN WATER                                                       PO BOX 6029                                                                                                CAROL STREAM            IL           60197-6029
    TENNESSEE CHILD SUPPORT                   RECEIPTING UNIT                      PO BOX 305200                                                                                              NASHVILLE               TN           37229
    TENNESSEE DEPART OF REVENUE INACTIVE      REVENUE ENFORCEMENT                  PO BOX 2026                                                                                                JOHNSON CITY            TN           37605
    TENNESSEE HIGHER EDUCATION COMMISSION                                          PKWY TOWERS STE 1900                    404 JAMES ROBERTSON PKWY                                           NASHVILLE               TN           37243-0830
    TENNESSEE PROCESS SERVICES CORP                                                4500 CASTLEMAN LN                                                                                          KNOXVILLE               TN           37921
    TENNESSEE SECRETARY OF STATE                                                   DEPT OF STATE CORPORATE FILING          312 ROSA L PARKS AVE 6TH FL                                        NASHVILLE               TN           37243
    TENNEY MEDIA GROUP                                                             PO BOX 203                                                                                                 CLINTON                 NY           13323
    TENTEK INC                                                                     101 N BRAND BLVD                        STE 1250                                                           GLENDALE                CA           91203
    TERAGO NETWORKS INC                                                            PO BOX 8956                             STATION A                                                          TORONTO                 ON           M5W 2C5      CANADA
    TERASEN GAS                                                                    PO BOX 6666 STN TERMINAL                                                                                   VANCOUVER               BC           V6B 6M9      CANADA
    TERESA A SPARKS                                                                2403 N BUCKLES ST                                                                                          MUNCIE                  IN           47303
    TERESA M BRASHEARS                                                             ADDRESS ON FILE
    TERESAS HOME SEWING                                                            BOX 645                                                                                                    BURFORD                 ON           N0E 1A0      CANADA
    TERMINIX INTERNATIONAL COMPANY LIMITED
    PARTNERSHIP                                                                    PO BOX 742592                                                                                              CINCINNATI              OH           45274-2592
    TERRACE CURLING ASSOCIATES                                                     3210 SCHOOL ST                                                                                             TERRACE                 BC           V8G 5L9      CANADA
    TERRACE REALTY AND MANAGEMENT INC                                              PO BOX 732                                                                                                 WARRENVILLE             IL           60555-0732
    TERRACOM                                                                       WATERFRONT CTR STE 650                  1010 WISCONSIN AVE NW                                              WASHINGTON              DC           20007
    TERRI MARSH                                                                    ADDRESS ON FILE
    TERRILYN KAJANDER                                                              ADDRESS ON FILE
    TERRY BRIDGE DBA BRIDGE INVESTMENTS LLC                                        3595 LAYHIGH RD                                                                                            HAMILTON                OH           45013
    TERRY LEE HARMON DBA HARMON SIGNS LLC                                          5110 KENNEBECK AVE                                                                                         NORFOLK                 VA           23513
    TERRY PECK SIGNS LTD                                                           PO BOX 923                              240 WILLIAM ST S                                                   CHATHAM                 ON           N7M 5L3      CANADA
    TERSIET WORKNEH                                                                ADDRESS ON FILE
    TESLA ELECTRIC WINDSOR INC                                                     7212 9TH CONCESSION RR 1                                                                                   MAIDSTONE               ONTARIO      N0R 1K0      CANADA
    TEST VENDOR                                                                    100 TEST RD                                                                                                VIRGINIA BEACH          VA           23320
    TEST VENDOR AMEX                                                               1716 CORPORATE LANDING PKWY                                                                                VIRGINIA BEACH          VA           23454
    TETRO TRONICS                                                                  110 RIVIERA DR UNIT 15                                                                                     MARKHAM                 ON           L3R 5M1      CANADA
    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                                           PO BOX 149348                                                                                              AUSTIN                  TX           78714-9348
    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS      UNCLAIMED PROPERTY DIVISION          PO BOX 12019                                                                                               AUSTIN                  TX           78711-2019
    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
    UNCLAIMED PROPERTY                        UNCLAIMED PROPERTY DIVISION          111 E 17TH ST                                                                                              AUSTIN                  TX           78774
    TEXAS GAS SERVICE                                                              PO BOX 219913                                                                                              KANSAS CITY             MO           64121-9913
    TEXAS STATE COMPTROLLER                                                        111 E 17TH ST                                                                                              AUSTIN                  TX           78774-0100
    TEXAS STATE DISBURSEMENT UNIT                                                  PO BOX 659791                                                                                              SAN ANTONIO             TX           78265-9791
    TEXAS WORKFORCE COMMISSION                LABOR LAW PAYMENT DIVISION           PO BOX 684483                                                                                              AUSTIN                  TX           78768-4483
    TGF LENDING DBA SYLVAN FINANCIAL GROUP                                         14 RIDGEDALE AVE                        STE 203                                                            CEDAR KNOLLS            NJ           07927
    THA PATIO SHOP                                                                 605S FRONT ST STE 200                   C O OHIO EQUITIES                                                  COLUMBUS                OH           43215
    THAIS CAPITAL INVESTMENT GROUP                                                 11602 BELLAIRE BLVD                     STE H                                                              HOUSTON                 TX           77072
    THALHIMER COMMERCIAL REAL ESTATE          ATTN MICHAEL A SHAIA                 PO BOX 702                                                                                                 RICHMOND                VA           23218-0702
    THANE FOWLER                                                                   ADDRESS ON FILE
    THATS GREAT NEWS                                                               PO BOX 877                                                                                                 CHESHIRE                CT           06410
    THE ABERDEEN AMERICAN NEWS                                                     124 S SECOND ST                         PO BOX 4430                                                        ABERDEEN                SD           57402
    THE ACCOUNTING SOURCE                                                          118 ALBERT ST                                                                                              REGINA                  SK           S4R 2N2      CANADA
    THE AIRDRIE ECHO                                                               112 1 AVE NE                                                                                               AIRDRIE                 AB           T4B 0R6      CANADA
    THE ALBERMARLE POTATO FESTIVAL            SOUTHGATE MALL MANAGERS OFFICE       1409 W EHINGHAUS ST                                                                                        ELIZABETH CITY          NC           27909
    THE ALS ASSOCIATION                                                            1275 K ST NW                            STE 250                                                            WASHINGTON              DC           20005
    THE AMERICAN MALL OF MEMPHIS LLC                                               4451 MALL OF MEMPHIS STE 28                                                                                MEMPHIS                 TN           38118
    THE ARIZONA REPUBLIC                      CUSTOMER ACCOUNTING SERVICES         PO BOX 200                                                                                                 PHOENIX                 AZ           85001-0200
    THE ASCENDANT GROUP                                                            9097 ATLEE STATION RD STE 200                                                                              MECHANICSVILE           VA           23116
    THE ASCENDANT GROUP LLC DO NOT USE                                             11539 B NUCKOLS RD                                                                                         GLEN ALLEN              VA           23059
    THE ATLANTA JOURNAL CONSTITUTI                                                 PO BOX 105375                                                                                              ATLANTA                 GA           30348-5375
    THE BALTIMORE SUN                                                              PO BOX 1013                                                                                                BALTIMORE               MD           21203-1013
    THE BARGAINS GROUP LTD                                                         890 CALEDONIA RD                                                                                           TORONTO                 ON           M6B 3Y1      CANADA
    THE BARNETT GROUP OF MISSISSIPPI LLC                                           986 MADISON AVE                         STE 1B                                                             MADISON                 MS           39110
    THE BASEPOINT FOUNDATION                                                       77 BEDFORD RD                                                                                              KATONAH                 NY           10536-2141
    THE BLOOR WEST VILLAGER                                                        100 TEMPO AVE                                                                                              TORONTO                 ON           M2H 3S5      CANADA
    THE BOND EXCHANGE                                                              24800 CHRISANTA DR                      STE 160                                                            MISSION VIEJO           CA           92691
    THE BOSTON GLOBE                                                               PO BOX 4074                                                                                                WOBURN                  MA           01888-4074
    THE BOTTOM LINE                                                                312 N PALM CANYON DR                                                                                       PALM SPRINGS            CA           92262
    THE BRAVA GROUP INC DBA INTER CAPITAL
    NETWORK                                                                        10620 TREENA ST                         STE 230                                                            SAN DIEGO               CA           92131
    THE BREEZE                                                                     PO BOX 6888                                                                                                LAWTON                  OK           73506
    THE BRIDGEBUILDER COMPANY                                                      PO BOX 65908                                                                                               CHARLOTTE               NC           28265
    THE BROOKS AND COUNTY CHRONICLE                                                BOX 1568                                127 2ND ST W                                                       BROOKS                  AB           T1R 1C4      CANADA
    THE BROOKS BULLETIN                                                            BOX 1450                                124 3RD ST W                                                       BROOKS                  AB           T1R 1C3      CANADA
    THE BUFFALO NEWS                                                               ONE NEW PLZ                             PO BOX 100                                                         BUFFALO                 NY           14240
                                              DBA BLOOMBERG BNA TAX MGMT INC BNA
    THE BUREAU OF NATIONAL AFFAIRS INC        BNA SOFTWARE BNA BOOKS               1801 S BALL ST                                                                                             ARLINGTON               VA           22202
    THE BUSINESS AND TAX CENTRE                                                    STE 356 2335 162 AVE SW                                                                                    CALGARY                 ALBERTA      T2Y 4S6      CANADA
    THE BUSINESS EXCHANGE                                                          9033 LESLIE ST                          UNIT 2                                                             RICHMOND HILL           ON           L4B 4K3      CANADA
    THE BUSINESS JOURNAL KANSAS CITY                                               1101 WALNUT                             STE 800                                                            KANSAS CITY             MO           64106-2122
    THE CABBAGE FACTORY                                                            5594 N HOLLYWOOD AVE                    203                                                                WHITEFISH BAY           WI           53217
    THE CADILLAC FAIRVIEW CORPORATION LIMITED                                      66Q 1485 PORTAGE AVE                                                                                       WINNIPEG                MB           R3G 0W4      CANADA
    THE CANADIAN FRANCHISE AND DEALERSHIP
    MAGAZINE                                                                       5784 GREENBORO DR                                                                                          MISSISSAUGA             ON           L5M 5T1      CANADA
    THE CANADIAN INSTITUTE OF CHARTERED
    ACCOUNTANTS                                                                    277 WELLINGTON ST W                                                                                        TORONTO                 ON           M5V 3H2      CANADA
    THE CAREER CENTER UNIVERSITY OF MICHIGAN                                       3200 STUDENT ACTIVITIES BLDG            515 E JEFFERSON                                                    ANN ARBOR               MI           48109-1316
    THE CARING CUPBOARD                                                            803 TALBOT ST                                                                                              ST THOMAS               ON           N5P 1E4      CANADA
    THE CARNAHAN FAMILY TRUST ANN CARNAHAN AS
    TRUSTEE                                                                        408 LENNOX CIR                                                                                             FULLERTON               CA           92835
    THE CAVALIER                                                                   4201 ATLANTIC AVE                                                                                          VIRGINIA BEACH          VA           23451
    THE CAVALIER HOTEL                                                             4201 ATLANTIC AVE                                                                                          VIRGINIA BEACH          VA           23451
    THE CHESTERMERE ANCHOR                                                         PO BOX 127                                                                                                 CHESTERMERE             AB           T1X 1K8      CANADA
    THE CHEUNG LAW FIRM PLLC                  ATTN DAVID CHEUNG                    2901 W PARKER RD                        STE 863975                                                         PLANO                   TX           75023
    THE CITY OF CALGARY                       FINANCE TAX SERVICE                  3RD FL 800 MACLEOD TR SE                PO BOX 2405 STN M                                                  CALGARY                 AB           T2P 3L9      CANADA


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                        Name                                   Attention                             Address 1                               Address 2                           Address 3                      City        State       Zip          Country
    THE CITY OF KENORA                                                               1 MAIN ST S                                                                                             KENORA                    ON           P9N 3X2      CANADA
    THE CITY OF LONDON                                                               PO BOX 5035                                                                                             LONDON                    ON           N6A 4L9      CANADA
    THE CITY OF TERRACE                                                              5003 GRAHAM AVE                                                                                         TERRACE                   BC           V8G 1B3      CANADA
    THE CITY OF WINNIPEG                        TAX BRANCH ADMIN BUILDING            510 MAIN ST                                                                                             WINNIPEG                  MB           R3B 3M2      CANADA
    THE CLARION LEDGER                                                               201 S CONGRESS ST                                                                                       JACKSON                   MS           39201
    THE COLUMBUS DISPATCH                       THE DISPATCH PRINTING COMPANY        PO BOX 182537                                                                                           COLUMBUS                  OH           43218-2537
    THE COLUMBUS DISPATCH DO NOT USE                                                 CLASSIFIED REMITTANCE PROCESSI       DEPT 1801                                                          COLUMBUS                  OH           43271-1801
    THE COMMERCIAL APPEAL                                                            PO BOX 1729                                                                                             MEMPHIS                   TN           38101
    THE COMMUNITY NETWORK                                                            2121 CARING AVE                      STE 205A                                                           OTTAWA                    ON           K2A 1H2      CANADA
    THE COMPLIANCE GROUP INC                                                         PO BOX 4010                                                                                             CASTAIC                   CA           91310-4010
    THE COMPUTER SOLUTION COMPANY OF VA INC     DBA TCSC                             1525 HUGUENOT RD                                                                                        MIDLOTHIAN                VA           23113
    THE COOPER FAMILY LIMITED PARTNERSHIP                                            PO BOX 7086                                                                                             ALEXANDRIA                LA           71306
    THE CORPORATION OF THE CITY OF OSHAWA       ATTN CITY CLERK                      50 CENTRE ST S                                                                                          OSHAWA                    ON           L1H 3Z7      CANADA
    THE CORPORATION OF THE CITY OF WINDSOR      WFCU COMMUNITY CENTRE                ATTN PATRICIA FOWLES                 8787 MCHUGH ST                                                     WINDSOR                   ON           N8S 0A1      CANADA
    THE COSTUME BAZAAR INC                                                           1593 STATE ST                                                                                           NEW HAVEN                 CT           00651
    THE COUPON GUIDE INC                                                             PO BOX 322                                                                                              VILLA RIDGE               MO           63089
    THE COURIER JOURNAL                                                              LOUISVILLE COURIER JOURNAL           PO BOX 630537                                                      CINCINNATI                OH           45263-0537
    THE CREEKMORE LAW FIRM PC FBO CLIVENS AND
    ANDREA GOLDMAN                                                                   52 PONDVIEW CT                                                                                          DALEVILLE                 VA           24083
    THE CROWLEY POST SIGNAL                                                          PO BOX 1589                          620 N PARKERSON                                                    CROWLEY                   LA           70526
    THE DAILY                                                                        144 COMMUNICATIONS BOX 353720                                                                           SEATTLE                   WA           98195
    THE DAILY COURIER                                                                550 DOYLE AVE                                                                                           KELOWNA                   BC           V1Y 7V1      CANADA
    THE DAILY GLOBE                                                                  PO BOX 639                                                                                              WORTHINGTON               MN           56187
    THE DAILY HELMSMAN                                                               113 MEEMAN JOURNALISM BLDG                                                                              MEMPHIS                   TN           38152-3290
    THE DAILY RECORD                                                                 11 E SARATOGA ST                                                                                        BALTIMORE                 MD           21202
    THE DAILY REPUBLIC                                                               PO BOX 1288                          120 S LAWLER                                                       MITCHELL                  SD           57301
    THE DAILY STANDARD                                                               123 E MARKET ST                      PO BOX 140                                                         CELINA                    OH           45822
    THE DALLAS MORNING NEWS                                                          PO BOX 630061                                                                                           DALLAS                    TX           75263-0061
    THE DALLAS MORNING NEWS DBA DMN MEDIA                                            PO BOX 660040                                                                                           DALLAS                    TX           75266-0040
    THE DAYTON BUILDERS EXCHANGE INC            DBA BUILDERS EXCHANGE OF DAYTON      2077 EMBURY PARK RD                                                                                     DAYTON                    OH           45414
    THE DESERT SUN                              VIVA PUBLICATIONS                    68 625 PEREZ RD UNIT 6                                                                                  CATHEDRAL CITY            CA           92234
    THE DESK DOCTOR                                                                  23RD ST AND LLEWELLYN AVE                                                                               NORFOLK                   VA           23514
    THE DISTILLATA COMPANY                                                           PO BOX 93845                                                                                            CLEVELAND                 OH           44101-5845
    THE DOUGHNUT CUPBOARD                                                            1115 N HWY 67                                                                                           FLORISSANT                MO           63031
    THE DRUM CAFE                                                                    162 2190 W BROADWAY                                                                                     VANCOUVER                 BC           V6K 4W3      CANADA
    THE EAST TEXAS PEDDLER                      C O DONNA PARKS                      PO BOX 824                                                                                              LUFKIN                    TX           75902
    THE EDMONTON SUN                                                                 250 4990 92 AVE                                                                                         EDMONTON                  ALBERTA      T6B 3A1      CANADA
    THE ELITE FLEET COURIER                                                          BOX 6058 STN D                                                                                          CALLGARY                  AB           T2P 2C7      CANADA
    THE ESTATE OF HELLON LIGHTNER                                                    2100 TANNEHILL DR                    APT 2067                                                           HOUSTON                   TX           77008-3127
    THE FAIRWAY GROUP                                                                475 THOMPSON DR                      UNITS 1 4                                                          CAMBRIDGE                 ON                        CANADA
    THE FAQUIER CITIZEN                                                              17 S FIFTH ST                        PO BOX 3430                                                        WARRENTON                 VA           20188-8030
    THE FLAGSHIP                                                                     PO BOX 2754                                                                                             NORFOLK                   VA           23501-2754
    THE FLORIDA TIMES UNION                     DEPARTMENT ADV LDR                   PO BOX 45008                                                                                            JACKSONVILLE              FL           32232-5008
    THE FLYER                                                                        PO BOX 5059                                                                                             TAMPA                     FL           33675-5059
    THE FLYER SHOP                                                                   201 5011 11 ST SE                                                                                       CALGARY                   AB           T2H 1M7      CANADA
    THE FRANCHISE HANDBOOK                                                           1020 N BROADWAY STE 111                                                                                 MILWAUKEE                 WI           53202
    THE FRANCHISING COMPANY LLC                                                      4548 LAKE FOREST DR                                                                                     OWENSBORO                 KY           42303
    THE FRYE FOUNDATION                                                              PO BOX 212033                                                                                           COLUMBIA                  SC           29221
    THE FUNDING FAMILY LLC                                                           4 BROWER AVE                         STE 3                                                              WOODMERE                  NY           11598
    THE FUNDING FEDERATION LLC                                                       2713 CONEY ISLAND AVE                                                                                   BROOKLYN                  NY           11235
    THE FUNDING NETWORK LLC                                                          1450 BROADWAY                        STE 802                                                            NEW YORK                  NY           11018
    THE FUNDING NINJAS LLC                                                           1720 MONROE DR NE                                                                                       ATLANTA                   GA           30324
    THE GEORGIA ALABAMA ADVERTISER                                                   PO BOX 298                                                                                              RANBURNE                  AL           36273
    THE GOURMET GANG                                                                 PO BOX 62759                                                                                            VIRGINIA BEACH            VA           23466
    THE GRAND FM 929                                                                 6 100 MCQUEEN BLVD                                                                                      FERGUS                    ON                        CANADA
    THE GRAPHICS DEPARTMENT INC                                                      2033 S STATE COLLEGE BLVD                                                                               ANAHEIM                   CA           92806
    THE GRAPHIX HOUSE LLC                                                            105 B PKWY                                                                                              BOERNE                    TX           78006
    THE GREENSHEET                                                                   PO BOX 561288                                                                                           DALLAS                    TX           75356-1288
    THE GREUBEL FAMILY TRUST DTD 9 11 79                                             12781 PANORAMA CREST                                                                                    SANTA ANA                 CA           92705
    THE GUIDANCE CENTER                                                              110 CAMPUS DR                                                                                           BRADFORD                  PA           16701
    THE HABIT RESTAURANTS LLC                   ATTN SAMANTHA MANNES                 17320 RED HILL 140                                                                                      IRVINE                    CA           92614
    THE HAMPTON ROADS AREA SENIOR SOURCE        C O FAIRFAX PUBLISHING COMPANY       PO BOX 490713                                                                                           LAWRENCEVILLE             GA           30049-0713
    THE HARTFORD                                                                     PO BOX 660916                                                                                           DALLAS                    TX           75266-0916
    THE HARTFORD CA                                                                  PO BOX 79212                                                                                            CITY OF INDUSTRY          CA           91716-9212
    THE HERALD LANCE METRO TIME HEADLINER                                            1465 ST JAMES ST                                                                                        WINNIPEG                  MB           R3H 0W9      CANADA
    THE HERTZ CORPORATION                       COMMERCIAL BILLING DEPARTMENT 1124   PO BOX 121124                                                                                           DALLAS                    TX           75312-1124
    THE HILL COUNTY COMMUNITY JOURNAL                                                303 EARL GARRETT                                                                                        KERRVILLE                 TX           78028
    THE HOLLAND SENTINEL                                                             54 WTH ST                                                                                               HOLLAND                   MI           49423
    THE HOME DEPOT                                                                   PO BOX 6029                                                                                             THE LAKES                 NV           88901-6029
    THE HOME DEPOT CRC                                                               PO BOX 6029                                                                                             THE LAKES                 NV           88901-6029

    THE HOSPITAL ACTIVITY BOOK FOR CHILDREN LTD                                      PO BOX 2423                          STN A                                                              SUDBURY                   ON           P3A 4S8      CANADA
    THE HUNTINGTON NATIONAL BANK                COMMERCIAL LOAN                      PO BOX 182519                                                                                           COLUMBUS                  OH           43218
    THE INDEPENDENT JOURNAL                                                          PO BOX 340                                                                                              POTOSI                    MO           63664
    THE INDIANAPOLIS STAR                                                            PO BOX 145                                                                                              INDIANAPOLIS              IN           46206-0145
    THE INSTITUTE OF INTERNAL AUDITORS                                               CNL BANK                             PO BOX 31280                                                       TAMPA                     FL           33631-3280
    THE INSTITUTE OF INTERNAL AUDTORS INC                                            1035 GREENWOOD BLVD                  STE 401                                                            LAKE MARY                 FL           32746
    THE IQ GROUP LTD                                                                 712 MISSISSIPPI AVE                                                                                     SIGNAL MOUNTAIN           TN           37377
    THE IRREGARDLESS CATERING                                                        901 W MORGAN ST                                                                                         RALEIGH                   NC           27603
    THE IRVIN LAW FIRM                                                               FBO ANA L SZAWRONSKI
    THE JEFF ELSTON REVOCABLE TRUST                                                  404 CLIPPER RD                                                                                          SPRINGFIELD               IL           62711
    THE JEWEL 985                                                                    127 YORK ST                                                                                             OTTAWA                    ON           K1N 5T4      CANADA
    THE JEWISH POST AND NEWS                                                         113 HUTCHINGS ST                                                                                        WINNIPEG                  MB           R2X 2V4      CANADA
    THE JIM PATTISON GROUP                                                           177 LOMBARD AVE 3RD FL                                                                                  WINNIPEG                  MB           R38 0W5      CANADA
    THE JOURNAL NEWSPAPERS                      BILLING DEPT                         6408 EDSALL RD                                                                                          ALEXANDRIA                VA           22312-6475
    THE KANSAS CITY STAR                                                             PO BOX 27 255                                                                                           KANSAS CITY               MO           64180-0255
    THE KATSIAS COMPANY                                                              2901 S LYNNHAVEN RD STE 340                                                                             VIRGINIA BEACH            VA           23452
    THE KHOURY GROUP                                                                 3711 W CHESTER PIKE                                                                                     NEWTOWN SQUARE            PA           19073



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                        Name                                       Attention                         Address 1                                 Address 2                           Address 3                     City        State         Zip          Country
    THE LADY TRAINER INC DBA MANHATTAN
    SOLUTIONS                                                                         54 NOLL ST                                                                                               BROLLKLYN                NY             11206
    THE LAMONT LEADER                                                                 BOX 1079                                                                                                 LAMONT                   AB             T0B 2R0      CANADA
    THE LEADER POST                                                                   PO BOX 2020                                                                                              REGINA                   SASKATCHEWAN   S4P 3G4      CANADA
    THE LERU COMPANY                                                                  3003 ENGLISH CREEK AVE STE D13A       DBA RITHCHIE HWY SHOPPING CTR                                      EGG HARBOR TOWNSHIP      NJ             08234
    THE LEX GROUP VA                                                                  PO BOX 1111                                                                                              RICHMOND                 VA             23218
    THE LIBERAL                                                                       9350 YONGE ST                                                                                            RICHMOND HILL            ON             L4C 4Y6      CANADA
    THE LONDON COMMUNITY NEWS                                                         METRO MEDIA S W GROUP                 80 1074 DEARNESS DR                                                LONDON                   ON             N6E 1N9      CANADA
    THE LONDON PENNYSAVER                                                             PO BOX 2280                                                                                              LONDON                   ON             N6A 4G1      CANADA

    THE LOOMIS CORPORATION                       DBA THE LOOMIS AGENCY LUMINOUS SOUND 17120 DALLAS PKWY 200                                                                                    DALLAS                   TX             75248
    THE LOUISIANA HOME AND FOREIGN MISSIONS
    BAPTIST CONVENTION INC                                                            104 ANGELI DR                                                                                            HAMMOND                  LA             70401
    THE MACDONALD BROADCASTING COMPANY                                                PO BOX 25008                          600 W CAVANAUGH                                                    LANSING                  MI             48909
    THE MAILBOX                                                                       1810 S FRENCH AVE                                                                                        SANFORD                  FL             32771
    THE MARGARITA MAN                                                                 2965 VIRGINIA BEACH BLVD                                                                                 VIRGINIA BEACH           VA             23452
    THE MARKETPLACE AT CALLINGWOOD TENANTS
    OWNERS ASSOCIATION                                                                PO BOX 78193 CALLINGWOOD                                                                                 EDMONTON                 AB             T5T 6A1      CANADA
    THE MASA CORPORATION                                                              PO BOX 10263                                                                                             NORFOLK                  VA             23513
    THE MASON RICHARDSON CORP LLC                                                     18 ALLISON CT                                                                                            HAUPPAUGE                NY             11788
    THE MASTERS BUILDER                                                               9536 E CTR ST                                                                                            WINDHAM                  OH             44288
    THE MCCAMMON GROUP LTD                       THE REYNOLDS BUILDING                6641 W BROAD ST STE 400                                                                                  RICHMOND                 VA             23230
    THE MCGRAW HILL COMPANIES                                                         PO BOX 7247 7020                                                                                         PHILADELPHIA             PA             19170-7020
    THE MENTOR GROUP                             ATTENTION ACCOUNTING DEPARTMENT      32158 CAMINO CAPISTRANO STE A378                                                                         CAMINO CAPISTRANO        CA             92675
    THE MERGIS GROUP                                                                  PO BIX 100153                                                                                            ATLANTA                  GA             30384-0153
    THE MIAMI HERALD                                                                  ONE HERALD PLZ                                                                                           MIAMI                    FL             33132
    THE MIAMI HURRICANE                                                               UNIVERSITY OF MIAMI                   PO BOX 248132                                                      CORAL GABLES             FL             33124
    THE MICHIGAN PENSION GROUP                                                        15 CAPITAL AVE NE STE 225                                                                                BATTLE CREEK             MI             49017
    THE MID NORTH MONITOR                                                             46 MEAD BLVD APT 1                                                                                       ESPANOLA                 ON             P5E 1E8      CANADA

    THE MIRCHANDANI FAMILY LIMITED PARTNERSHIP   C O PROPERTY SPECIALIST INC          6415 1ST AVE S                                                                                           ST PETERSBURG            FL             33707
    THE MIRROR                                                                        1316 ALASKA AVE                                                                                          DAWSON CREEK             BC             V1G 1Z3      CANADA
    THE MONTGOMERY STRATEGIES GROUP LLC          MICHAEL W ROBINSON                   5711 OGDEN RD                                                                                            BETHESDA                 MD             20816
    THE MOOSE JAW AND DISTRICT FOOD BANK                                              305 FAIRFORD ST W                                                                                        MOOSE JAW                SK             S6H 1V8      CANADA
    THE MORTGAGE LICENSING GROUP                                                      310 S TWIN OAKS VALLEY RD             STE 107 290                                                        SAN MARCOS               CA             92078
    THE NATIONAL UNDERWRITER COMPANY             DBA JUDY DIAMOND ASSOCIATES          39686 TREASURY CTR                                                                                       CHICAGO                  IL             60694
    THE NEW YORK STATE SOCIETY OF CERTIFIED
    PUBLIC ACCOUNTANTS                                                                14 WALL ST                            19TH FL                                                            NEW YORK                 NY             10005
    THE NEWS HERALD                                                                   7085 MENTOR AVE                                                                                          WILLOUGHBY               OH             44094
    THE NEWS OBSERVER                                                                 PO BOX 2222                                                                                              RALEIGH                  NC             27602-2222
    THE NEWSPAPERS OF WEST GEORGIA                                                    PO BOX 460                            901 HAYS MILL RD                                                   CARROLLTON               GA             30117-0460
    THE NEWSY NEIGHBOUR MAGAZINE                                                      716 CENTRE ST N                                                                                          LANGDON                  AB             T0J 1X1      CANADA
    THE NORFOLK AND PORTSMOUTH BAR
    ASSOCIATION                                                                       999 WATERSIDE DR                      STE 1330                                                           NORFOLK                  VA             23510
    THE OFFICE FURNITURE SPECIALIST INC                                               1606 TREEHOUSE LN N                                                                                      KELLER                   TX             76262
    THE OHIO MUNICIPAL LEAGUE                                                         175 S THIRD ST                        STE 510                                                            COLUMBUS                 OH             43215
    THE OHIO SECRETARY OF STATE                                                       PO BOX 670                                                                                               COLUMBUS                 OH             43216
    THE ORIGINAL SIGNMAN LLC                                                          3480 W BROWARD                                                                                           FORT LAUDERDALE          FL             33312
    THE ORLANDO SENTINEL                                                              PO BOX 5151                                                                                              CHICAGO                  IL             60680-5151
    THE OSHAWA EXPRESS                                                                774 SIMCOA ST S                                                                                          OSHAWA                   ON             L1H 4K6      CANADA
    THE PANGBURN GROUP INC                                                            PO BOX 900                            301 MAJOR PKWY                                                     NEW ROADS                LA             70760
    THE PANGBURN GROUP INC                       ATTN JOHN IEZZI                      3901 WESTERRE PKWY STE 300                                                                               RICHMOND                 VA             23233
    THE PATAWARAN GROUP LLC                                                           17827 OLDE OAKS ESTATE CT                                                                                CYPRESS                  TX             77433
    THE PETTIT COMPANY INC                                                            12807 ROSSMERE CT                                                                                        MIDLOTHIAN               VA             23114
    THE PHILLIPS VENTURE GROUP LLC                                                    PO BOX 2000                                                                                              HENDERSONVILLE           NC             28793
    THE PHONE BOOK COMPANY                                                            5018 45TH ST                          STE 201                                                            RED DEER                 ALBERTA        T4N 1K9      CANADA
    THE PHONE GUIDE                                                                   4575 BLAKIE RD                        SECOND FL                                                          LONDON                   ON             N6L 1P8      CANADA
    THE PINK PAGES                                                                    1255 BAY ST STE 700                                                                                      TORONTO                  ON             M5V 2B6      CANADA
    THE POST AND COURIER                                                              134 COLUMBUS ST                                                                                          CHARLESTON               SC             29403-4800
    THE POSTAL CENTER OF NEWNAN                                                       8 AMLAJACK BLVD                                                                                          NEWNAN                   GA             30265-1010
    THE POTTERS HOUSE OF DALLAS INC                                                   6777 W KIEST BLVD                                                                                        DALLAS                   TX             75236
    THE PREEMINENCE GROUP INC                                                         786 MEACHAM AVE                                                                                          ELMONT                   NY             11003
    THE PRESIDIO CORPORATION                                                          5100 J PHILADELPHIA WAY                                                                                  LANHAM                   MD             20706-4412
    THE PRESS ROOM LTD                                                                1134 SANFORD ST                                                                                          WINNIPEG                 MB             R3E 2Z9      CANADA
    THE PRESS ROOM LTD DO NOT USE                                                     495 D MADISON ST                                                                                         WINNIPEG                 MB             R3J 1J2      CANADA
    THE PRESS ROOM LTD GM FUNDS                                                       1134 SANFORD ST                                                                                          WINNIPEG                 MB             R3E 2Z9      CANADA
    THE PROS AT 82ND STREET INC                                                       18610 NW 87TH AVE STE 204                                                                                HIALEAH                  FL             33015
    THE PROVIDENCE JOURNAL CO                                                         75 FOUNTAIN ST                                                                                           PROVIDENCE               RI             02902
    THE PUBLICITY HOUND                                                               3434 COUNTY KK                                                                                           PORT WASHINGTON          WI             53074
    THE QUALITY INN                                                                   1308 BUCKLEY RD                                                                                          N SYRACUSE               NY             13212
    THE RADIO NETWORK                                                                 40 SHOSHONE AVE                                                                                          GREEN RIVER              WY             82935
    THE REAL DEAL                                                                     158 W 29TH ST                         4TH FL                                                             NEW YORK                 NY             10001
    THE RECORD                                                                        501 BROADWAY                                                                                             TROY                     NY             12180-3381
    THE REPORTER                                                                      5683 COWRIE ST                        BOX 1388                                                           SECHELT                  BC             V0N 3A0      CANADA

    THE REVIEW NEWSPAPER KRONER PUBLICATIONS                                          PO BOX 27                                                                                                HUBBARD                  OH             44425
    THE RICHDEN COMPANY DO NOT USE                                                    27830 NETWORK PL                                                                                         CHICAGO                  IL             60673-1278
    THE ROSEMYR CORPORATION                                                           231 S GARNETT ST                                                                                         HERNDERSON               NC             27536
    THE SALES STAFF LLC DBA SALESSTAFF                                                10701 CORPORATE DR STE 340                                                                               STAFFORD                 TX             77477
    THE SANDERLING INN RESORT                                                         1461 DUCK RD                                                                                             DUCK                     NC             27949
    THE SAULT STAR                                                                    145 OLD GARDEN RIVER RD                                                                                  SAULT STE MARIE          ON             P6A 5M5      CANADA
    THE SCHERRER GROUP                                                                6519 WOODLAWN AVE N                                                                                      SEATTLE                  WA             98103
    THE SCHREIBER LAW FIRMLLX                                                         53 STILES RD                          STE A102                                                           SALEM                    NH             03079
    THE SCORE FOUNDATION                                                              1175 HERNDON PKWY                     STE 900                                                            HERNDON                  VA             20170
    THE SEATTLE TIMES                                                                 PO BOX C34805                                                                                            SEATTLE                  WA             98124-1805
    THE SENTINAL                                                                      PO BOX 85252 APPO                                                                                        CALGARY                  AB             T2A 7R7      CANADA
    THE SHARING PLACE                                                                 22 W ST S                                                                                                ORILLIA                  ON             L3V 5G3      CANADA
    THE SHELBYVILLE NEWS                                                              PO BOX 432                                                                                               SHELBYVILLE              IN             46176-0432
    THE SHERWIN WILLIAMS COMPANY                                                      PO BOX 277501                                                                                            ATLANTA                  GA             30384-7501


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                        Name                                       Attention                           Address 1                                Address 2                           Address 3                     City         State       Zip          Country
    THE SHOPPING CENTER GROUP OF                THE VIRGINAS INC                       534 SETTLERS LANDING RD                                                                                  HAMPTON                  VA            23669
    THE SHOPS AT NORTHGATE LLC                                                         PO BOX 2476                                                                                              DURHAM                   NC            27715
    THE SHOPS ON STEELES AND 404 PROMOTION      ATTN MALL MANAGEMENT OFFICE            2900 STEELES AVE E STE 204                                                                               THORNHILL                ONTARIO                    CANADA
    THE SIGN GUY                                                                       39 PENSE BAY                                                                                             REGINA                   SK            S4R 7Z1      CANADA
    THE SIGNS ACADEMY                                                                  2131 WILLIAMS PKWY UNIT 7                                                                                BRAMPTON                 ON            L6S 5Z4      CANADA
    THE SME SOLUTION LLC                                                               5348 VEGAS DR 244                                                                                        LAS VEGAS                NV            89108
    THE SNUG                                                                           1453 W 49TH ST                                                                                           LOS ANGELES              CA            90062
    THE SOUTHWEST BOOSTER                                                              PO BOX 1300                                                                                              SWIFT CURRENT            SK            S9H 3X4      CANADA
    THE SPANISH GROUP LLC                                                              1 PARK PLZ                            STE 600                                                            IRVINE                   CA            92614
    THE STAFFING PEOPLE OF GEORGIA INC                                                 400 W LAMAR ST                                                                                           AMERICUS                 GA            31709
    THE STANDARD                                                                       182 NORTHPORT RD UNIT 10                                                                                 PORT PERRY               ON            L9L 1B2      CANADA
    THE STANDARD EYE INSURANCE                                                         PO BOX 82588                                                                                             LINCOLN                  NE            68501-2588
    THE STANDARD INSURANCE COMPANY                                                     PO BOX 5676                                                                                              PORTLAND                 OR            97228-5676
    THE STATE BAR OF CALIFORNIA                                                        POBOX 842142                                                                                             LOS ANGELES              CA            90084-2142
    THE STATE BAR OF CALIFORNIA                 OFFICE OF FINANCE MBS                  THE STATE BAR OF CALIFORNIA           180 HOWARD ST                                                      SAN FRANCISCO            CA            94105-1639
    THE STATE BAR OF CALIFORNIA                 OFFICE OF FINANCE MBS                  180 HOWARD ST                                                                                            SAN FRANCISCO            CA            94105-1639
    THE STATE INSURANCE FUND                                                           DISABILITY BENEFITS                   PO BOX 4779                                                        SYRACUSE                 NY            13221-4788
    THE STATIONERY HOUSE INC                    DBA DRAWING BOARD PRINTING             101 E NINTH ST                                                                                           WAYNESBORO               PA            17268
    THE STROLLING SILVER STRINGS                                                       322 SHIRLEY AVE                                                                                          NORFOLK                  VA            23517
    THE STURDEVANT LAW FIRM A PROFESSIONAL
    CORPORATION                                                                        4040 CIVIC CTR DR                     STE 200                                                            SAN RAFAEL               CA            94903
    THE SUN                                                                            PO BOX 34298                                                                                             SEATTLE                  WA            01298
    THE SUN                                                                            PO BOX 34298                                                                                             SEATTLE                  WA            98124-1298
    THE TALKING PHONE BOOK                                                             PO BOX 5168                                                                                              BUFFALO                  NY            14240-5168
    THE TELEGRAM                                                                       PO BOX 5970                           ONE COLUMBUS DR                                                    ST JOHNS                 NL            A1C 5X7      CANADA
    THE THEME FACTORY OF PHILADELPHIA                                                  2901 N 18TH ST                                                                                           PHILADELPHIA             PA            19132
    THE TIMES HERALD                                                                   PO BOX 591                            410 MARKLEY                                                        NORRISTOWN               PA            19404-0591
    THE TODD ORGANIZATION OF VIRGINIA LLC                                              3901 WESTERRE PKWY STE 300                                                                               RICHMOND                 VA            23233
    THE TOLEDO BLADE                                                                   541 N SUPERIOR ST                                                                                        TOLEDO                   OH            43660-0002
    THE TORGON GROUP                                                                   4950 YOUNGE ST                                                                   STE 1010                TORONTO                  ON            M2N 6K1      CANADA
    THE TREASURER CITY OF TORONTO                                                      METRO HALL 24TH FL                    55 JOHN ST                                                         TORONTO                  ON            M5V 3C6      CANADA
    THE TREND ORGANIZATION LLC                  C O ADAM TREND                         217 E JUSTIS ST                                                                                          WILMINGTON               DE            19804
    THE UBYSSEY                                                                        RM 23 6138 SUB BLDG UBC                                                                                  VANCOUVER                BC            V6T 1Z1      CANADA
    THE UBYSSEY                                                                        RM 23 6138 SUB BLVD UBC                                                                                  VANCOUVER                BC            V6T 1Z1      CANADA
    THE ULTIMATE SOFTWARE GROUP INC                                                    PO BOX 930953                                                                                            ATLANTA                  GA            31193-0953
    THE UNIVERSITY OF VIRGINIA                  CAVALIER DAILY INC                     PO BOX 400703                                                                                            CHARLOTTESVILLE          VA            22904
    THE UPS STORE                                                                      1115 N SERVICE RD W                   UNIT 1                                                             OAKVILLE                 ON            L6M 2V9      CANADA
    THE VELASCO FAMILY IRREVOCABLE TRUST                                               1117 ELDRIDGE PKWY                                                                                       HOUSTON                  TX            77077
    THE VENETIAN                                                                       3355 LAS VEGAS BLVD S                                                                                    LAS VEGAS                NV            89109
    THE VENTURE FORUM                           C O PREFERRED MANAGEMENT               1500 HUGUENOT RD STE 104                                                                                 MIDLOTHIAN               VA            23113
    THE VENUE CHANNEL                                                                  14 TRESILLIAN RD                                                                                         TORONTO                  ON            M3H 1L6      CANADA
    THE VINDICATOR                                                                     PO BOX 780                                                                                               YOUNGSTOWN               OH            44501-0780
    THE VIRGINIAN PILOT                                                                PO BOX 79917                                                                                             BALTIMORE                MD            21279-0917
    THE WALL STREET JOURNAL                     WALL STREET JOURNAL OR BARRONS         BOX 4137                                                                                                 NEW YORK                 NY            10261-4137
    THE WATER H20LE INC                                                                1444 SOUTHER BLVD STE C2 A                                                                               VIRGINIA BEACH           VA            23454
    THE WEEKLY VILLAGER                                                                10661 HIGHLAND AVE                    PO BOX 331                                                         GARRETTSVILLE            OH            44231-0331
    THE WEST COAST FRANCHISE EXPO               MART FRANCHISE VENTURE LLC             210 ROUTE 4 E                                                                                            PARAMUS                  NJ            07652
    THE WEST GEORGIA SHOPPER                                                           104 KINGSBRIDGE DR                                                                                       CARROLLTON               GA            30117
    THE WESTIN NOVA SCOTIAN                                                            1181 HOLLIS ST                                                                                           HALIFAX                  NOVA SCOTIA   B3H 2P6      CANADA
    THE WHITLOCK GROUP                                                                 230 CLEARFIELD AVE STE 103                                                                               VIRGINIA BEACH           VA            23462
    THE WILLERTON GROUP INC                                                            505 HOOD RD                           UNIT 9                                                             MARKHAM                  ON            L3R 5V6      CANADA
    THE WINDSOR STAR                                                                   167 FERRY ST                                                                                             WINDSOR                  ON            N9A 4M5      CANADA
    THE WOOTEN BUILDING                                                                109 E 10TH ST                         STE 300                                                            AUSTIN                   TX            78701
    THE YGS GROUP                                                                      3650 W MARKET ST                                                                                         YORK                     PA            17404
    THE ZONE                                                                           TOP FL 2750 QUADRA ST                                                                                    VICTORIABC                             V8T 4E8      CANADA
    THEO BEER CONSULTING AND CONTRACTING                                               971 COPPERFIELD DR                                                                                       OSHAWA                   ON            L1K 2E9      CANADA
    THEODIS ELZIE                                                                      ADDRESS ON FILE
    THEODORE JANKOWSKI                                                                 ADDRESS ON FILE
    THEODORE KEVIN LOWRY                                                               ADDRESS ON FILE
    THEORDORE DEMARINO                                                                 ADDRESS ON FILE
    THEOTIS H BROWN II                                                                 ADDRESS ON FILE
    THERESA CIARFALIO DBA TRC UNLIMITED INC                                            2264 SAXTONS RIVER RD                                                                                    HENDERSON                NV            89044
    THERESA SPEIGHTS                                                                   ADDRESS ON FILE
    THERMOL TROL SYSTEMS                                                               504 VIKING DR                                                                                            VIRGINIA BEACH           VA            23452
    THG FUNDING CORP                                                                   295 GOOLSBY BLVD                                                                                         DEERFIELD BEACH          FL            33442
    THIBODEAU JOE                                                                      ADDRESS ON FILE
    THIELDONNA C                                                                       5632 SUMMIT ARCH                                                                                         VIRGINIA BEACH           VA            23462
    THIESS ROBERT                                                                      ADDRESS ON FILE
    THINCIT LLC                                                                        200 S 10TH ST                         STE 900                                                            RICHMOND                 VA            23219
    THINKING PHONE INC FUZE                     ATTN BOX 347284                        500 ROSS ST 154 0455                                                                                     PITTSBURGH               PA            15251
    THIRD DAY RENTALS LLC                                                              1402 LINKHAW RD                                                                                          LUMBERTON                NC            28358

    THIRD DISTRICT PTA                          ATTN AMY STAHLER FINANCIAL SECRETARY   1312 LA SIERRA DR                                                                                        SACRAMENTO               CA            95864
    THIRD DOOR MEDIA INC                                                               279 NEWTON TURNIKE                                                                                       REDDING                  CT            06896
    THIRD MILLENNIUM                            ATTN IAN MATHERS                       118 DAGENAIS DR                                                                                          YELLOWKNIFE              YT            X1A 3J8      CANADA
    THIRD STAGE INC                                                                    4108 COURTLAND DR                                                                                        METAIRIE                 LA            70002
    THOMAS A AND SANDRA K MUNDY                                                        ADDRESS ON FILE

    THOMAS AND KATHERINE GREUBEL FAMILY TRUST                                          19652 VISTA DEL VALLE                                                                                    SANTA ANA                              92705

    THOMAS AQUINAS DUFFY PROPERTIES LLC         C O AVISION YOUNG SOUTHERN CALIFORNIA 555 S FLOWER ST STE 3200                                                                                  LOS ANGELES              CA            90071
    THOMAS BEEBE DBA AFTER HOURS PLUMBING                                             3709 TABLE ROCK LN                                                                                        VIRGINIA BEACH           VA            23452
    THOMAS BUTTERFIELD                                                                ADDRESS ON FILE
    THOMAS E FISCHER                                                                  ADDRESS ON FILE
    THOMAS HENGGELER ENTERPRISES LLC                                                  5009 GLADSTONE BLVD                                                                                       KANSAS CITY              MO            64123
    THOMAS J DELESSIO                                                                 ADDRESS ON FILE
    THOMAS NELSON COMMUNITY COLLEG              CASHIERS OFFICE                       PO BOX 9407                                                                                               HAMPTON                  VA            23670
    THOMAS PORTS                                                                      ADDRESS ON FILE
    THOMAS ROY JARRETT JR                                                             ADDRESS ON FILE


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                         Name                                  Attention                    Address 1                                Address 2                           Address 3                     City        State         Zip          Country
    THOMAS TAYLOR                                                          ADDRESS ON FILE
    THOMAS TRAILER AND TRUCK SERVICE INC                                   3215 S MILITARY HWY                                                                                       CHESAPEAKE               VA             23323
    THOMAS W MULLINS                                                       ADDRESS ON FILE
    THOMAS WOTRING DBA OLYMPUS AND
    WATERFORD                                                              1612 LAURELGLEN RD                                                                                        GAUTIER                  MS             39553
    THOMASON LAW FIRM LLC                                                  111 LOMAS BLVD NW                      STE 502                                                            ALBUQUERQUE              NM             87102
    THOMPSON COBURN LLP                                                    PO BOX 18379M                                                                                             ST LOUIS                 MO             63195
    THOMPSON CORBETT WEBSTER LLP                                           1620 ONE LONDON PL                     255 QUEENS AVE                                                     LONDON                   ON             N6A 5R8      CANADA
    THOMPSON CORBETT WEBSTER LLP                                           STE 2006                               140 FULLARTON ST                                                   LONDON                   ON             N6A 5P2      CANADA
    THOMPSON FINANCIAL SERVICES INC                                        1701 DISCOVERY DR                                                                                         WENTZVILLE               MO             63385
    THOMPSON TAX BUSINESS                                                  21 TRAFALGAR SQUARE                                                                                       VALLEY STREAM            NY             11581
    THOMSON REUTERS                                                        610 OPPERMAN DR                        PO BOX 64833                                                       EAGAN                    MN             55123
    THOMSON REUTERS CANADA                                                 PO BOX 1991                            STATION B                                                          TORONTO                  ON             M5T 3G1      CANADA
    THOMSON REUTERS GRC INC                                                PO BOX 417175                                                                                             BOSTON                   MA             02241-7175
    THOMSON REUTERS MARKETS LLC                                            PO BOX 415983                                                                                             BOSTON                   MA             02241
    THOMSON REUTERS TAX AND ACCOUNTING INC                                 36337 TREASURY CTR                                                                                        CHICAGO                  IL             60694-6300
    THOMSON REUTERS WEST                                                   PAYMENT CTR                            PO BOX 6292                                                        CAROL STREAM             IL             60197-6292
    THOMSON TAX AND ACCOUNTING                                             33317 TREASURY CTR                                                                                        CHICAGO                  IL             60694-3300
    THORNE DONNELLY                                                        ADDRESS ON FILE
    THORNHILL PLAZA                                                        2571 CLARK ST                                                                                             TERRACE                  BC                          CANADA
    THORNTON FRANK                                                         ADDRESS ON FILE
    THRIFTY CAR RENTAL                                                     PO BOX 21568                                                                                              TULSA                    OK             74121-1568
    THRIFTY CAR RENTAL DO NOT USE                                          DEPT 2241                                                                                                 TULSA                    OK             74182
    THRIFTY CAR RENTAL MISSOURI                                            960 N KIRKWOOD RD                                                                                         KIRKWOOD                 MO             63122
    THRIFTY CAR RENTAL SUBROGATION DEPT         DTG OPERATIONS INC         SUBROGATION DEPT                       DEPT 927                                                           TULSA                    OK             74182
    THRIFTY NICKEL                                                         1211 WSW LOOP 323                                                                                         TYLER                    TX             75701
    THRIFTY NICKEL LLC ALABAMA                                             855 DOWNTOWNER BLVD                    STE 113                                                            MOBILE                   AL             36609
    THURMAN GAINES                                                         ADDRESS ON FILE
    TIDBITS OF RIVERS AND LAKES                 NORDHOUGEN PUBLISHING      911 WESTERN RD 6                                                                                          WAHPETON                 ND             57075
    TIDEWATER ARTS OUTREACH                                                809 BRANDON AVE                                                                                           NORFOLK                  VA             23517
    TIDEWATER CHAPTER VTAA                                                 2737 N LANDING RD                                                                                         VIRGINIA BEACH           VA             23456
    TIDEWATER COMMERICAL CEILINGS AND WALLS
    INC                                                                    908 BUSINESS PARK DR                                                                                      CHESAPEAKE               VA             23320-2445
    TIDEWATER COMMUNICATIONS LLC                                           870 GREENBRIER CIR                     STE 399                                                            CHESAPEAKE               VA             23320
    TIDEWATER COMMUNITY COLLEGE                                            1700 COLLEGE CRES                                                                                         VIRGINIA BEACH           VA             23453-1999
    TIDEWATER DJS                                                          9 RESEARCH DR                                                                                             HAMPTON                  VA             23666
    TIDEWATER GRAPHICS                          DBA MINUTEMAN PRESS        1628 INDEPENDENCE BLVD                 STE 1536                                                           VIRGINIA BEACH           VA             23455
    TIDEWATER HISPANIC                                                     PO BOX 64128                                                                                              VIRGINIA BEACH           VA             23467-4128
    TIDEWATER NEON SIGNS INC                                               2333 VIRGINIA BEACH BLVD                                                                                  VIRGINIA BEACH           VA             23454
    TIDEWATER SITTING SERVICE INC                                          1112 GEORGE ST                                                                                            NORFOLK                  VA             23502
    TIDEWATER TOASTERS                                                     4525 MAIN ST                                                                                              VIRGINIA BEACH           VA             23462
    TIDY CASTLE                                                            2 3415 DIXIE RD 347                                                                                       MISSISSAUGA              ON             L4Y 4J6      CANADA
    TIFFANY BRADY                                                          ADDRESS ON FILE
    TIFFANY MEANS DBA ALLIED BUSINESS LENDING
    LLC                                                                    4230 N OAKLAND AVE                     STE 170                                                            SHOREWOOD                WI             53211
    TIFFANY POLK DBA SINGLE MOM WITH A VISION
    LLC                                                                    8035 JONES VAUGHN CREEK RD             LOT E                                                              ST GRANCISVILLE          LA             70775
    TIFFIN AVENUE INVESTORS                                                655 FOX RUN RD STE B                                                                                      FINDLAY                  OH             45840
    TIFTON RETAIL I LLC                                                    1810 WATER PL                          STE 220                                                            ATLANTA                  GA             30339
    TIGER FERA INVESTMENT INC                   C O OBALLA REALTY LTD      505 2950 GLEN DR                                                                                          COQUITLAM                BC             V3B 0J1      CANADA
    TIGER TOMS                                                             ADDRESS ON FILE
    TILLEKE AND GIBBINS INTERNATIONAL LTD                                  LOCK BOX 30562                         4 CHASE METROTECH CTR 7TH FLR                                      BROOKLYN                 NY             11245
    TILLER GENE                                                            ADDRESS ON FILE
    TILLER TAX COMPANY                                                     4513 DEAN DR                                                                                              WILMINGTON               NC             28405
    TIM BURTONS HOLDING LIMITED                                            305 HODSON RD                                                                                             REGINA                   SASKATCHEWAN   S4N 5W5      CANADA
    TIM MAGERLE                                                            ADDRESS ON FILE
    TIM TRAVAILLE                                                          ADDRESS ON FILE
    TIMA ABRAMS                                                            ADDRESS ON FILE
    TIMBER WOLF SIGNS AND DISPLAYS                                         1692861 ONTARIO LTD                    PO BOX 36                                                          COBOURG                  ON             K9A 4K2      CANADA
    TIMBERCREEK CENTER PARTNERS LP                                         2660 TOWNSGATE RD                      STE 130                                                            WEST LAKE VILLAGE        CA             91361
    TIMBERLAND HEATING AND AIR                                             3042 BUD DIAMOND RD                                                                                       JAY                      FL             32565
    TIME WARNER BOOK GROUP                                                 PO BOX 8828                                                                                               BOSTON                   MA             02114-8828
    TIME WARNER CABLE 1060                                                 PO BOX 1060                                                                                               CRAOL STREAM             IL             60132-1060
    TIME WARNER CABLE 1104                                                 PO BOX 1104                                                                                               CAROL STREAM             IL             60132
    TIME WARNER CABLE 11820                                                PO BOX 11820                                                                                              NEWARK                   NJ             07101-8120
    TIME WARNER CABLE 4617                                                 PO BOX 4617                                                                                               CAROL STREAM             IL             60197-4617
    TIME WARNER CABLE 60074                                                PO BOX 60074                                                                                              CITY OF INDUSTRY         CA             91716-0074
    TIME WARNER CABLE 70872                                                PO BOX 70872                                                                                              CHARLOTTE                NC             28272-0872
    TIME WARNER CABLE 742663                                               PO BOX 742663                                                                                             CINCINNATI               OH             45274-2663
    TIME WARNER CABLE 916                                                  PO BOX 916                                                                                                CAROL STREAM             IL             60132-0916
    TIME WARNER CABLE NORTHEAST 901                                        PO BOX 901                                                                                                CAROL STREAM             IL             60132-0901
    TIMELESS CONSTRUCTION AND RENOVATIONS                                  100 POST OAK CT                                                                                           KILL DEVIL HILLS         NC             27948
    TIMES AND TRANSCRIPT                                                   939 MAIN ST                                                                                               MONCTON                  NB             E1C 8P3      CANADA
    TIMES HERALD                                                           440 CURTOLA PKWY                       PO BOX 3188                                                        VALLEJO                  CA             94590
    TIMES HERALD                                                           PO BOX 3000                                                                                               MOOSE JAW                SK             S6H 6E4      CANADA
    TIMES NEWS                                                             PO BOX 4807                                                                                               JOHNSON CITY             TN             37602-4807
    TIMES UNION                                                            PO BOX 4803                                                                                               HOUSTON                  TX             77210-4803
    TIMOTHY B MAGERLE                                                      ADDRESS ON FILE
    TIMOTHY BENNETT                                                        ADDRESS ON FILE
    TIMOTHY K HINDERKS                                                     ADDRESS ON FILE
    TIMPER TRISH                                                           ADDRESS ON FILE
    TINA MCCARTY BOIKE                                                     ADDRESS ON FILE
    TINKER HURD AND ASSOCIATES                                             PO BOX 940174                                                                                             HOUSTON                  TX             77094
    TIOGA CONTRACTORS LLC                                                  136 S NORWOOD DR                                                                                          HURST                    TX             76053
    TIP TOP CAPITAL INC                                                    3977 NOSTRAND AVE                                                                                         BROOKLYN                 NY             11235
    TIPPER MELODY                                                          214 SUTTON AVE                                                                                            WINNIPEG                 MB             R2G0B8       CANADA
    TIPPO BAY DEVELOPMENT CO                    C O LAMAR COMPANIES        365 S ST                                                                                                  MORRISTOWN               NJ             07960
    TISA CARPER STONE                                                      ADDRESS ON FILE
    TISA CARPER STONE                                                      ADDRESS ON FILE


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                        Name                                    Attention                           Address 1                                Address 2                           Address 3                      City        State       Zip          Country
    TISON COMMERCIAL PROPERTIES INC                                                 780 PILOT HOUSE DR                    STE 100 D                                                          NEWPORT NEWS              VA           23606
    TITAN OUTDOOR LLC                                                               4636 E MARGINAL WAY S                 STE B 100                                                          SEATTLE                   WA           98134
    TITLEMAX                                                                        4785 E KINGS CANYON RD                                                                                   FRESNO                    CA           93702
    TJX REWARDS SYNCB                                                               PO BOX 530948                                                                                            ATLANTA                   GA           30353
    TK BUSINESS FINANCING CORP                                                      12225 W ELECTRA LN                                                                                       SUN CITY                  AZ           85373
    TKL EAST LLC                                                                    DEPT 73401                            PO BOX 67000                                                       DETROIT                   MI           48267-0734
    TKL EAST LLC DBA MARLEY STATION                                                 REF ACCT 37506563393                  PO BOX 404551                                                      ATLANTA                   GA           30384-4551
    TLG STOREFRONT AND GLASS INC                                                    1279 152ND ST APT 1                                                                                      WHITESTONE                NY           11357
    TLJ ENTERPRISES                                                                 3 3624 OLD LAKELSE LAKE DR                                                                               TERRACE                   BC           V8G 5A7      CANADA
    TLO LLC                                                                         PO BOX 209047                                                                                            DALLAS                    TX           75320-9047
    TLO LLC                                                                         POB 811660                                                                                               BOCA RATON                FL           33481
                                                C O STARWOOD RETAIL PARTNERS ATTN
    TM WELLINGTON GREEN MALL LP                 KATHLEEN HACKETT                    PO BOX 865099                                                                                            ORLANDA                   FL           32825
    TMI TAX SERVICES INC                                                            14700 EXCELSIOR BLVD                                                                                     MINNETONKA                MN           55345-6637
    TMJ BLDG LLC                                                                    130 NELSON BLVD                                                                                          ROME                      GA           30165
    TMP DIRECTIONAL MARKETING                                                       PO BOX 90362                                                                                             CHICAGO                   IL           60696
    TN DEPARTMENT OF LABOR AND WORKFORCE
    DEVELOPMNENT                                                                    220 FRENCH LANDING DR                                                                                    NASHVILLE                 TN           37243
    TN HOCKEY LP                                                                    345 GRAHAM AVE                        ATTN MELISSA WUIRCH                        2ND FL                  WINNIPEG                  MB           R3C 5S6      CANADA
    TNP SRT BLOOMINGDALE HILLS LLC                                                  PO BOX 77055                                                                                             CLEVELAND                 OH           44194
    TOBY F COOPERMAN                                                                ADDRESS ON FILE
    TODAY MANAGEMENT WINDSOR INC                                                    3235 ELECTRICITY DR                                                                                      WINDSOR                   ON           N8W 5J1      CANADA
    TODAYS FRANCHISE                                                                430000 W 9 MILE RD                    305                                                                NOVI                      MI           48375
    TODD M PARKER DBA INNOVATIVE BUSINESS
    CAPITAL LLC                                                                     109 SE 2ND AVE 2                                                                                         HALLANDALE BEACH          FL           33009
    TODD STAHL                                                                      ADDRESS ON FILE
    TODD TAGGART II DBA SIGNS BY SUNDOWN INC                                        4635 S APOLLO ST                                                                                         FORT MOHAVE               AZ           86426
    TOM AND LARRY INC                                                               412 77 EDMONTON ST                                                                                       WINNIPEG                  MB           R3C 4H8      CANADA
    TOM CAVALIERE                                                                   ADDRESS ON FILE
    TOM CHAN                                                                        ADDRESS ON FILE
    TOM HERSKOVITS                                                                  ADDRESS ON FILE
    TOMAHAWK PROPERTIEX LLC                                                         PO BOX 1018                                                                                              SHALIMAR                  FL           32579
    TOMAS RIVERA SANCHEZ                                                            ADDRESS ON FILE
    TOMS SIGNS                                                                      RR22 1528 HENDERSON AVE                                                                                  ROBERTS CREEK             BC           V0N 2W2      CANADA
    TONER INK LTD                                                                   204 669 RIDLEY PL                                                                                        ANNACIS ISLAND            BC           V3M 6Y9      CANADA
    TONER TECH DOCUMENT SOLUTIONS                                                   108 8575 GOVERNMENT ST                                                                                   BURNABY                   BC           V3N 4V1      CANADA
    TONER THOMAS                                                                    ADDRESS ON FILE
    TONOPAH CRAIG ROAD COMPANY LLP                                                  26135 MUREAU RD 200                   C O MAURY ABRAMS LLC                                               CALABASAS                 CA           91302
    TONY DIGIOVANNI                                                                 ADDRESS ON FILE
    TONY HOLLAND                                                                    ADDRESS ON FILE
    TONY JULIANO                                                                    ADDRESS ON FILE
    TONY PRICE DBA                                                                  ADDRESS ON FILE
    TONYS LOCK                                                                      PO BOX 1922                                                                                              SECHELT                   BC           V0N 3A0      CANADA
    TOOELE COUNTY ASSESSOR                                                          47 S MAIN                                                                                                TOOELE                    UT           84074
    TOOELE PLAZA                                                                    1783 W CARRIAGE SQUARE                                                                                   TAYLORSVILLE              UT           84129
    TOP NOTCH NETWORKING                                                            15401 ANACAPA RD                                                                                         VICTORVILLE               CA           92392
    TOP TO BOTTOM REMODELING                                                        374 E JENKINS AVE                                                                                        COLUMBUS                  OH           43207
    TOPMARK FUNDING LLC                                                             516 GIBSON DR                         STE 160                                                            ROSEVILLE                 CA           95678
    TOPPAN MERRILL USA INC                      DBA TOPPAN MERRILL LLC              1501 ENERGY PARK DR                                                                                      ST PAUL                   MN           55108-5229
    TOPPAN VINTAGE INC                          DBA TOPPAN MERRILL LLC              PO BOX 74007295                                                                                          CHICAGO                   IL           60674
    TORANTO ZOO                                                                     361 A OLD FINCH AVE                                                                                      TORONTO                   ON           M1B 5K7      CANADA
    TORERO SPECIALTY PRODUCTS                   DBA LOOKOURWAY                      222 E HUNTINGTON DR STE 225                                                                              MONROVIA                  CA           91016
    TORNOE JUAN GUILLERMO                                                           ADDRESS ON FILE
    TORONTO FIRE WATCH TORONTO PROFESSIONAL
    FIRE FIGHTERS ASSOCIATI                                                         600 20 HUGHSON ST S                                                                                      HAMILTON                  ON           L8N 2A1      CANADA
    TORONTO HYDRO                                                                   PO BOX 4490 STATION A                                                                                    TORONTO                   ON           M5W 4H3      CANADA
    TORONTO POLICE ASSOCIATION                                                      600 20 HUGHSON ST S                                                                                      HAMILTON                  ON           L8N 2A1      CANADA
    TORONTO PROFESSIONAL FIREFIGHTERS                                               BOX 157 253 COLLEGE ST                                                                                   TORONTO                   ON           M5T 1R5      CANADA
    TORONTO REVENUE SERVICES                                                        BOX 6000                                                                                                 TORONTO                   ON           M2N 5V3      CANADA
    TORONTO SUN                                                                     333 KING ST E                                                                                            TORONTO                   ONTARIO      M5A 3X5      CANADA
    TORONTO WINDOW CLEANERS INC                                                     2 CROWN HEIGHTS CRESCENT                                                                                 VAUGHAN                   ON           L4J 5T8      CANADA
    TORRES FLAGS                                                                    710 BRUNDAGE LN 96                                                                                       BAKERSFIELD               CA           93304
    TORREY SQUARE SHOPPING PLAZA LP                                                 11237 S W FWY                         STE 100                                                            HOUSTON                   TX           77031
    TORRO LLC                                                                       975 E WOOD OAK LN                     STE 110                                                            MURRAY                    UT           84117
    TORRY LISA                                                                      ADDRESS ON FILE
    TOSHIBA AMERICA INFO SYSTEMS                                                    PO BOX 642111                                                                                            PITTSBURGH                PA           15264-2111

    TOTAL ADMINISTRATIVE SERVICES CORPORATION                                       CLIENT INVOICES                       PO 88278                                                           MILWAUKEE                 WI           53288-0001
    TOTAL LEASE CONCEPTS                                                            255 W FALLBROOK STE 104                                                                                  FRESNO                    CA           93711
    TOTAL LOAN SERVICES LLC                                                         205 SUGAR CAMP CIR                                                                                       DAYTON                    OH           45409-1970
    TOTAL PRINTING SRVICES                                                          65 DEWDNEY AVE 2ND FL                                                                                    WINNIPEG                  MANITOBA     R3B 0E1      CANADA
    TOTAL WINE AND MORE                                                             536 W 21ST ST                                                                                            NORFOLK                   VA           23517
    TOUCH OF ELEGANCE LTD                                                           300 WOODBROOK RUN                                                                                        NEWPORT NEWS              VA           23606
    TOUCH TONE MARKETING INC                                                        1280 PERIMETER PKWY                                                                                      VIRGINIA BEACH            VA           23454
    TOWER PARK MANAGEMENT CORP                                                      735 THIMBLE SHOALS BLVD STE 100                                                                          NEWPORT NEWS              VA           23606
    TOWERS REALTY GROUP                                                             1420 TAYLOR AVE UNIT 100                                                                                 WINNEPEG                  MANITOBA     R3N 1Y6      CANADA
    TOWLE DENNISON AND MANISCALCO LLP                                               10866 WILSHIRE BLVD                   STE 600                                                            LOS ANGELES               CA           90024
    TOWN AND COUNTRY                                                                3500 AMERICAN BLVD W                  STE 200                                                            BLOOMINGTON               MN           55431
    TOWN AND COUNTRY CITY INC                   C O CASTO                           PO BOX 1450                                                                                              COLUMBUS                  OH           43216
    TOWN AND COUNTRY SHOPPER                                                        609 15TH AVE                                                                                             BROOKINGS                 SD           57006
    TOWN AND COUNTRY SHOPPING CENTER            C O NORTHMARQ                       3500 AMERICAN BLVD W 200                                                                                 BLOOMINGTON               MN           55431
    TOWN CENTER KIWANIS CLUB                                                        PO BOX 62111                                                                                                                       VA           23462
    TOWN OF ABINGDON                                                                PO BOX 1776                                                                                              ABINGDON                  VA           24212
    TOWN OF APPLE VALLEY                                                            14955 DALE EVANS PKWY                                                                                    APPLE VALLEY              CA           92307
    TOWN OF CALEDON PARKS AND RECREATION                                            6311 OLD CHURCH RD                                                                                       CALEDON                   ON           L7C 1J6      CANADA
    TOWN OF CHEEKTOWAGA VICKIE L DANKOWSKI                                          CHEEKTOWAGA TOWN HALL                 3301 BROADWAY ST                                                   CHEEKTOWAGA               NY           14227
    TOWN OF CHRISTIANSBURG                      TAX DEPT                            100 E MAIN ST                                                                                            CHRISTIANBURG             VA           24073-3029
    TOWN OF DERRY                               C O TAX COLLECTOR UTILITY           PO BOX 9573                                                                                              MANCHESTER                NH           03108-9573
    TOWN OF ELKTON                                                                  PO BOX 157                            100 RAILROAD AVE                                                   ELKTON                    MD           21922


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                                                                                                                                     Served via First-Class Mail




                        Name                                     Attention                               Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    TOWN OF EXMORE                                                                       PO BOX 647                                                                                               EXMORE                  VA           23350
    TOWN OF FRONT ROYAL                                                                  DEPT OF FINANCE                       PO BOX 1560                                                        FRONT ROYAL             VA           22630-1560
    TOWN OF GIBSONS                                                                      474 S FLETCHER RD                     PO BOX 340                                                         GIBSONS                 BC           V0N 1V0      CANADA
    TOWN OF IRMO                                                                         7300 WOODROW ST                                                                                          IRMO                    SC           29063
    TOWN OF KNIGHTDALE                                                                   PO BOX 1267                                                                                              KNIGHTDALE              NC           27545-1267
    TOWN OF MARION                                                                       PO BOX 1005                                                                                              MARION                  VA           24354
    TOWN OF NUTTER FORT                                                                  1415 BUCKHANNON PIKE                                                                                     NUTTER FORT             WV           26301
    TOWN OF ORANGEVILLE                                                                  87 BROADWAY                                                                                              ORANGEVILLE             OW           L9W 1K1      CANADA
    TOWN OF RIB MOUNTAIN                                                                 3700 N MOUNTAIN RD                    CLERK TREASURER                                                    WAUSAU                  WI           54401-9274
    TOWN OF SOUTH BOSTON                          FINANCE DEPARTMENT                     455 FERRY ST                                                                                             SOUTH BOSTON            VA           24592
    TOWN OF STONEHAM                                                                     ONLINE PAYMENTS
    TOWNE NORTH S C PARTNERS LTD                                                         14001 DALLAS PKWY                     11TH FL                                                            DALLAS                  TX           75240
    TOWNE STORAGE WASHINGTON DAM                                                         1281 E WASHINGTON DAM RD                                                                                 WASHINGTON              UT           84780
    TOWNEBANK                                                                            6001 HARBOR VIEW BLVD                                                                                    SUFFOLK                 VA           23435
    TOWNSHIP OF SPRINGWATER                                                              2231 NURSERY RD                                                                                          MIESING                 ON           L0L 1Y2      CANADA
    TOWNSHIP OF UNION FIRE DEPARTMENT                                                    1 BOND DR                                                                                                UNION                   NJ           07083
    TOWNSQUARE MEDIA                              ATTN DEBBIE MCLEMORE                   150 N NICHOLS                                                                                            CASPER                  WY           82601
    TOWNSQUARE MEDIA BANGOR LLC                                                          49 ACME RD                                                                                               BREWER                  ME           04412
    TOWNSQUARE MEDIA INC                                                                 TOWNSQUARE MEDIA PESQUE ISLE          PO BOX 7753                                                        GRAND FALLS             NB           E3Z 3E8      CANADA
    TRA INVESTMENT                                                                       3324 HARDWICK PL                                                                                         HARVEY                  LA           70072
    TRAC THE REGISTERED AGENT COMPANY                                                    715 ST PAUL ST                                                                                           BALTIMORE               MD           21202
    TRACE INVESTIGATIONS INC                      C O DON C JOHNSON CLI                  PO BOX 2603                                                                                              BLOOMINGTON             IN           47402
    TRACEY NEUBERGER 2020 FAMILY TRUST U A D 1
    17 2020                                                                              44 OLD ROARING BROOK RD MOUNT                                                                            KISCO                   NY           10549-3714
    TRACEY NEUBERGER 2020 FAMILY TRUST U A D 11
    17 20                                                                                44 OLD ROARING BROOK RD                                                                                  MOUNT KISCO             NY           10549-3714
    TRACEY SMITH DBA VLS FUNDING LLC                                                     27890 CLINTON KEITH RD D299                                                                              MURRIETA                CA           92562
    TRACIA M LARIMER DBA AZARA MORTGAGE LLC                                              2583 NW MONTEREY PINES DR                                                                                BEND                    OR           97703
    TRACY CONSIDINE PA                                                                   1 SLEIMAN PKWY                        STE 210                                                            JACKSONVILLE            FL           32216
    TRACY HOWE                                                                           ADDRESS ON FILE
    TRADEMARK ENTERPRISES LLC                                                            102 FAIRWAY GARDENS                                                                                      HURRICANE               WV           25526
    TRAIL OF THE LAKES MUD                                                               11111 KATY FREWAY 725                                                                                    HOUSTON                 TX           77079-2197
    TRAINING RESOURCE CLINIC                                                             3803 HOLLY LN                                                                                            RALIEGH                 NC           27612
    TRAININGABCCOM                                                                       136 GRANVILLE ST                      2ND FL                                                             GAHANNA                 OH           43230
    TRAMMEL CROW CO                                                                      25 N CASCADE AVE                      STE 201                                                            COLORADO SPRINGS        CO           80909
    TRAMMELL CROW                                 C O COMPASS BANK                       PO BOX 22055                                                                                             TEMPE                   AZ           85285
    TRANE PARTS                                                                          PO BOX 6276                                                                                              CHESAPEAKE              VA           23323
    TRANS CAN MINI STOR INC                                                              355 PARK AVE E                        ATTN UNIT 506                                                      BRANDON                 MB           R7A 7A5      CANADA
    TRANS CANADA BUILDING                                                                604 5290 1A ST SW                                                                                        CALGARY                 AB           T2H 0G3      CANADA
    TRANS UNION LLC                                                                      PO BOX 99506                                                                                             CHICAGO                 IL           60693-9506
    TRANS UNITED INC                                                                     1123 N STATE RD 149                                                                                      BURNS HARBOR            IN           46304
    TRANSAD INC                                                                          1480 NE SID UHINCK RD                 STE 104                                                            SILVERDALE              WA           98383
    TRANSCENTIVE                                                                         COMPUTERSHARE                         14257 COLLECTION CTR DR                                            CHICAGO                 IL           60693
    TRANSCENTIVE                                                                         PO BOX 18798                                                                                             NEWARK                  NJ           07191-8798
    TRANSCOOL INC                                                                        411 INDUSTRIAL RD                     UNIT 20                                                            LONDON                  ON           N5V 3L3      CANADA
    TRANSIT PRODUCTIONS INC                                                              108 DAVENTRY LN                       STE 300                                                            LOUISVILLE              KY           40223
                                                                                                                               DBA TRANSPERFECT TRANSLATIONS
    TRANSPERFECT HOLDINGS LLC                                                            1250 BROADWAY 32ND FL                 INTERNATIONAL INC                                                  NEW YORK                NY           10001
    TRANSWEST INVESTIGATIONS INC                                                         3255 WILSHIRE BLVD                    STE 800                                                            LOS ANGELES             CA           90010
    TRAVELERS INSURANCE                                                                  CL REMITTANCE CTR                                                                                        HARTFORD                CT           06183-1008
    TRAVIS BROADCASTING                                                                  WNHT HITS 963                         2000 LOWER HUNTINGTON RD                                           FORT WAYNE              IN           46819
    TRAVIS COUNTY CLERK                                                                  5501 AIRPORT BLVD                                                                                        AUSTIN                  TX           78751-1410
    TRAVIS CU                                                                            PO BOX 8000                                                                                              TRAVIS AFB              CA           94535
    TRAVIS GRUBER DBA TRUCORE CAPITAL                                                    840 W 1340 N                                                                                             OGDEN                   UT           84404
    TRAVIS MILLS GROUP LLC                                                               747 WESTERN AVE                                                                                          MANCHESTER              MN           04351
    TRB FUNDING LLC                                                                      3517 E EXPEDITION WY                                                                                     PHX                     AZ           85050
    TREASURE COAST FOOD BANK INC                                                         3051 INDUSTRIAL 25TH ST                                                                                  FORT PIERCE             FL           34946-8635
    TREASURER CITY OF NORFOLK                                                            PO BOX 3215                                                                                              NORFOLK                 VA           23514-3215
    TREASURER CITY OF ROANOKE                                                            PO BOX 1451                                                                                              ROANOKE                 VA           24007-1451
    TREASURER CITY OF VA BEACH RE TAX                                                    MUNICIPAL CTR BUILDING 1              2401 COURTHOUSE DR                                                 VIRGINIA BEACH          VA           23456-9018
    TREASURER COUNTY OF GLOUCESTER                BUSINESS LICENSE                       COMMISSIONER OF THE REVENUE           6489 MAIN ST STE 137                                               GLOUCESTER              VA           23061-6102
    TREASURER COUNTY OF YORK PPT                                                         PO BOX 79172                                                                                             BALTIMORE               MD           21279-0172
                                                  STATE CORP COMMISSION DIV SECURITIES
    TREASURER OF COMMONWEALTH OF VIRGINIA         RETAIL                                 1300 E MAIN ST 9TH FL                                                                                    RICHMOND                VA           23219
    TREASURER OF ROANOKE COUNTY                                                          PO BOX 20409                                                                                             ROANOKE                 VA           24018
    TREASURER OF STATE OH                                                                PO BOX 16560                                                                                             COLUMBUS                OH           43216-6560
                                                                                                                               DISCLOSURE SCANNING OPERATION STOP
    TREASURER OF THE UNITED STATES                                                       INTERNAL REVENUE SERVICEPO BOX 621506 93A                                                                ATLANTA                 GA           30362
    TREASURER OF VA 068585574 2                                                          PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VA 142527932                                                            PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VA 229438214                     DIVISION OF CHILD SUPPORT              ENFORCEMENT                           PO BOX 570                                                         RICHMOND                VA           23218-0570
    TREASURER OF VA 235231244                     DIV OF CHILD SUPPORT ENFORCE           PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VA 570 84 9089                                                          PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VA REF373901783                  DIV OF CHILD SUPPORT                   PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VA REF549497675                  DIV OF CHILD SUPPORT                   PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VA STATE BAR DUES                VIRGINIA STATE BAR                     DEPARTMENT 931                                                                                           ALEXANDRIA              VA           22334-0931
    TREASURER OF VIRGINIA 0001705934              DIVISION OF CHILD SUPPORT ENF          PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 0002585274              DIVISION OF CHILD SUPPORT              PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 0002959980              DIVISION OF CHILD SUPPORT              PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 040606779                                                      PO BOX 570                                                                                               RICHMOND                VA           23218
    TREASURER OF VIRGINIA 040606779               DIV OF CHILD SUPPORT ENFORC            PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 052646925                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 068585574                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 072601522                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 167688373                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 171461035                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 224865677                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 225410315                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570
    TREASURER OF VIRGINIA 226112508                                                      PO BOX 570                                                                                               RICHMOND                VA           23218-0570


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                                                                                                                                      Served via First-Class Mail




                       Name                                      Attention                             Address 1                                   Address 2                           Address 3                      City        State       Zip          Country
    TREASURER OF VIRGINIA 226170215                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 226940248                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 228270402                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 228290337                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 231335459                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 231989916                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 28172244                                                     PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 425576970                                                    PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 511 68 6403                                                  PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA 568 25 7716                                                  PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
                                                STATE CORPORATION COMMISSION CLERKS
    TREASURER OF VIRGINIA MERRIFIELD            OFFICE                              PO BOX 7607                                                                                                    MERRIFIELD                VA           22116-7621
                                                VIRGINIA DEPARTMENT OF AGRICULTURE
    TREASURER OF VIRGINIA PO BOX 526            AND CONSUMER SERVICES               PO BOX 526                                                                                                     RICHMOND                  VA           23218-0526
    TREASURER OF VIRGINIA PO7621                                                    CLERKS OFFICE                               PO BOX 7621                                                        MERRIFIELD                VA           22116-7621

    TREASURER OF VIRGINIA REFERENCE 227989331   DIVISION OF CHILD SUPPORT              PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
                                                SECRETARY OF THE COMMONWEALTH
    TREASURER OF VIRGINIA RICHMOND              NOTARY DIV                             PO BOX 1795                                                                                                 RICHMOND                  VA           23218
    TREASURER OF VIRGINIA SS 467 31 6606        DIVISON OF CHILD SUPPORT               PO BOX 570                                                                                                  RICHMOND                  VA           23218-0570
    TREASURER OF VIRGINIA TECH                  INCOME TAX SCHOOL REGISTRAR            702 UNIVERSITY CITY BLVD                 MC 0272                                                            BLACKSBURG                VA           24061
    TREASURER OF VIRGINIA UNCLAIMED PROP        DIVIDION OF UNCLAIMED PROPERTY         PO BOX 2478                                                                                                 RICHMOND                  VA           23218-2478

    TREASURER OF VIRGINIA UNCLAIMED PROPERTY    DIVISION OF UNCLAIMED PROPERTY         101 N 14TH ST 3RD FL                                                                                        RICHMOND                  VA           23219
    TREASURER OF VIRGINIA VIRGINIA STATE BAR    VIRGINIA STATE BAR                     DEPARTMENT 931                                                                                              ALEXANDRIA                VA           22334-0931
    TREASURER OF VIRGINIA VIRGINIA STATE BAR    VIRGINIA STATE BAR MEMBERSHIP DEPT     1111 E MAIN ST STE 700                                                                                      RICHMOND                  VA           23219-3565
    TREASURER SMYTH COUNTY                                                             PO BOX 549                                                                                                  MARION                    VA           24354-0549
    TREASURER STATE OF CONNECTICUT UNCLAIMED
    PROP                                        UNCLAIMED PROPERTY DIVISION            55 ELM ST                                5TH FL                                                             HARTFORD                  CT           06106
    TREASURER STATE OF IOWA                     CORP TAX RETURN PROCESSING             PO BOX 10468                                                                                                DES MOINES                IA           50306-0468
    TREASURER STATE OF IOWA UNCLAIMED           TREASURER OF STATE UNCLAIMED
    PROPERTY                                    PROPERTY DIVISION                      PO BOX 10430                                                                                                DES MOINES                IA           50306-0430
    TREASURER STATE OF MAINE                                                           PO BOX 9101                                                                                                 AUGUSTA                   ME           04332-9101
    TREASURER STATE OF MAINE                                                           POB 1062                                                                                                    AUGUSTA                   ME           014332-106
    TREASURER STATE OF MAINE UNCLAIMED
    PROPERTY                                    UNCLAIMED PROPERTY                     111 SEWALL ST 3RD FL                     39 STATE HOUSE STATION                                             AUGUSTA                   ME           04333-0339
    TREASURER STATE OF NEW HAMPSHIRE
    UNCLAIMED PROPERTY                          STATE TREASURY                         ABANDONED PROPERTY DIVISION              25 CAPITOL ST RM 205                                               CONCORD                   NH           03301-6312
                                                                                       DIVISION OF REVENUE CORPORATE FILING
    TREASURER STATE OF NEW JERSEY               NEW JERSEY DEPT OF THE TREASURER       UNIT                                     PO BOX 308                                                         TRENTON                   NJ           08646-0308
    TREASURER STATE OF NEW JERSEY UNCLAIMED
    PROP                                        UNCLAIMED PROPERTY ADMINISTRATION      PO BOX 214                                                                                                  TRENTON                   NJ           08695-0214
    TREASURER STATE OF TENNESSEE UCP            UNCLAIMED PROPERTY DIVISION            PO BOX 198649                                                                                               NASHVILLE                 TN           37219-8649
    TRELIANT LLC                                                                       1255 23RD ST NW                          STE 500                                                            WASHINGTON                DC           20037
    TRELLENE LLOYD                                                                     ADDRESS ON FILE
    TREMAYNE LAY BAUER COLEMAN                                                         7777 BONHOMME AVE                        STE 1600                                                           ST LOUIS CLAYTON          MO           63105
    TREMENDOUS LIFE BOOKS                                                              118 W ALLEN ST                                                                                              MECHANICSBURG             PA           17055
    TREMONT CENTER LLC                                                                 5676 RIVERDALE AVE                       STE 307                                                            BRONX                     NY           10471
    TREND CAPITAL HOLDINGS INC                                                         13115 NE 4TH ST                          STE 110                                                            VANCOUVER                 WA           98684
    TREND CAPITAL HOLDINGS INC DBA LEAD
    ECONOMY LLC                                                                        300 DELAWARE AVE                         STE 210                                                            WILMINGTON                DE           19801
    TRENDWAY CORPORATION                                                               PO BOX 9016                              13467 QUINCY ST                                                    HOLLAND                   MI           49422
    TRETCHLER SHAWN                                                                    ADDRESS ON FILE
    TREVIZO ALBERT                                                                     ADDRESS ON FILE
    TRI CITIES THRIFTY NICKEL                                                          124 W SPRINGBROOK DR                                                                                        JOHNSON CITY              TN           37604
    TRI CITY HOLDINGS INCORPORATED                                                     720 4TH ST                                                                                                  WATERVLIET                NY           12189
    TRI COUNTY BROADCASTING INC                                                        1010 2ND ST N                                                                                               SAUK RAPIDS               MN           56379
    TRI MOR PROPERTIES INC                                                             PO BOX 1674                                                                                                 GRANITE CITY              IL           62040
    TRI STARR INVESTIGATIONS INC                                                       3525 HWY 138 SW                                                                                             STOCKBRIDGE               GA           30281
    TRI STATE FIRE SYSTEMS INC                                                         PO BOX 22364                                                                                                BULLHEAD CITY             AZ           86439
    TRIAD INVESTIGATIVE AND EXECUTIVE
    PROTECTION LLC                                                                     PO BOX 249                                                                                                  TOMS RIVER                NJ           08754
    TRIAD RETAIL                                                                       1410 N W SHORE BLVD                      STE 200                                                            TAMPA                     FL           33607
    TRIANGLE RENT A CAR INC                                                            PO BOX 58536                                                                                                RALEIGH                   NC           27658
    TRIBUNE                                                                            206 KING ST                                                                                                 STURGEON FALLS            ON           P2B 1R7      CANADA
    TRIBUNE AND GEORGIAN                                                               PO BOX 470                               707 OSBORNE ST                                                     ST MARYS                  GA           31558
    TRIBUNE INTERACTIVE                                                                PO BOX 7293                                                                                                 CHICAGO                   IL           60680-7293
    TRIBUNE PUBLISHING COMPANY LLC                                                     435 N MICHIGAN AVE                                                                                          CHICAGO                   IL           60611

    TRIBUNE PUBLISHING COMPANY LLC              DBA VIRGINIAN PILOT MEDIA COMPANIES LLC 160 N STETSON 40TH FL                                                                                      CHICAGO                   IL           60601
    TRIGON BLUE CROSS BLUE SHIELD                                                       PO BOX 580463                                                                                              CHARLOTTE                 NC           28258-0463
    TRIGON DENTAL ALTERNATIVES                  DENTAL ADMINISTRATIVE OFFICES           PO BOX 25005                                                                                               RICHMOND                  VA           23260-5005
    TRILOGY SOFTWARE INC                                                                800 1333 8TH ST SW                                                                                         CALGARY                   AB           T2R 1M6      CANADA
    TRIMEX MOBILE MARKETING                                                             2945 A S FAIRVIEW ST                                                                                       SANTA ANA                 CA           92704
    TRINEX COMMERCIAL FINANCE INC                                                       11801 PIERCE ST                         STE 200                                                            RIVERSIDE                 CA           92505
    TRINITY BF HOLDINGS INC                                                             722 THROGS NECK EXPWY                   2                                                                  BRONX                     NY           10465
    TRINITY DEVELOPMENT LLC                                                             10442 LOVELL CTR DR                                                                                        KNOXVILLE                 TN           37922-3227
    TRINITY EQUITY GROUP LLC                                                            49 STONE WALL DR                                                                                           STAMFORD                  CT           06905
    TRINITY HILLS PROP LLC                                                              PO BOX 4398                                                                                                EASTMAN                   GA           31023
    TRINITY JOHNSON CITY LLC                                                            6312 KINGSTON PIKE STE C                                                                                   KNOXVILLE                 TN           37919
    TRINITY ONE                                                                         PO BOX 1438                                                                                                COCHRANE                  AB           T4C 1B4      CANADA
    TRION GROUP INC                                                                     PO BOX 2672                                                                                                OMAHA                     NE           68108-2672
    TRIPLE V MECHANICAL CORP                                                            1480 THIERIOT AVE                       STE 5L                                                             BRONX                     NY           10460
    TRITON INTERNATIONAL                                                                842 MADISON ST 3L                                                                                          BROOKLYN                  NY           11221
    TRIUMPH CENTURY BOULEVARD LLC                                                       8120 WOODMONT AVE STE 800                                                                                  BETHESDA                  MD           20814
    TROPICAL SMOOTHIE CAFE                                                              871 READING RD                                                                                             VIRGINIA BEACH            VA           23451
    TROPICANA 26 LLC                            FOREVER 99 REALTY                       6440 W DESERT INN RD                                                                                       LAS VEGAS                 NV           89146
    TROPICANA SQUARE LLC                                                                1771 E FLAMINGO RD                      STE 113A                                                           LAS VEGAS                 NV           89119
    TROUTMAN PEPPER HAMILTON SANDERS LLP                                                600 PEACHTREE ST NE                     STE 3000                                                           ATLANTA                   GA           30308


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                      Name                                   Attention                     Address 1                           Address 2                                Address 3                    City        State       Zip          Country
    TROUTMAN PEPPER HAMILTON SANDERS LLP                                    BANK OF AMERICA PLSTE 5200           600 PEACHTREE ST NE                                                ATLANTA                 GA           30308-2216
    TROUTMAN SANDERS LLP VA BEACH                                           222 CENTRAL PARK AVE STE 2000                                                                           VIRGINIA BEACH          VA           23462

    TROUTMAN SANDERS MAYS AND VALENTINE LLP                                 BANK OF AMERICA PLZ                  600 PEACHTREE ST NE STE 5200                                       ATLANTA                 GA           30308-2216
    TROVATO JENNIFER L                                                      ADDRESS ON FILE
    TROY MARTINEZ                                                           ADDRESS ON FILE
    TRU TOUCHING HUMANS LLC                    DBA TRUTH                    5800 DEMOCRACY DR STE 200                                                                               PLANO                   TX           75024
    TRUCK LOAN CENTER DBA RB LEASING INC                                    21 HECCOP CIR                                                                                           BRAMPTON                ON           L6T OM8      CANADA
    TRUCK SKIN                                                              PO BOX 633723                                                                                           CINCINNATI              OH           45263-3723
    TRUDI S BARR                                                            ADDRESS ON FILE
    TRUE EAGLE CAPITAL LLC                                                  714 AVE T                                                                                               BROOKLYN                NY           11223
    TRUIST                                     JOYE THOMAS                  303 PEACHTREE ST NE 24TH FL                                                                             ATLANTA                 GA           30308
    TRUIST BANK                                                             PO BOX 58007                                                                                            CHARLOTTE               NC           28258-0007
    TRUMBULL COUNTY HEALTH DEPARTMENT                                       176 CHESTNUT AVE NE                                                                                     WARREN                  OH           44483
    TRUMBULL COUNTY TREASURER                                               160 HIGH ST NW                                                                                          WARREN                  OH           44481-1090
    TRUREED LLC                                                             3720 BOXWOOD DR                                                                                         GRAND PRAIRIE           TX           75052
    TRUST CAPITAL FUNDING LLC                                               10 KEARNEY RD                        STE 102                                                            NEEDHAM                 MA           02494
    TRUST CAPITAL LLC                                                       2036 HORNBLEND ST                    STE B                                                              SAN DIEGO               CA           92109
    TRUSTARC INC                                                            2121 N CALIFORNIA BLVD               STE 290                                                            WALNUT CREEK            CA           94596
    TRUSTE                                                                  835 MARKET ST                        STE 800 BOX 137                                                    SAN FRANCISCO           CA           94103
    TRUSTPILOT INC                                                          PO BOX 392680                                                                                           PITTSBURGH              PA           15251-9680
    TRUSTSCIENCECOM USA INC                                                 8 THE GREEN                          STE A                                                              DOVER KENT              DE           19901
    TSANG REALTY LLC                                                        20 CARLYLE DR                                                                                           GLEN COVE               NY           11542
    TSE BONITO WATER                                                        PO BOX 2430                                                                                             WINDOW ROCK             AZ           86515
    TSX INC                                                                 100 ADELAIDE ST W                    STE 300                                                            TORONTO                 ON           M5H 1S3      CANADA
    TSX TRUST COMPANY                                                       100 ADELAIDE ST W                    STE 301                                                            TORONTO                 ON           M5H 4H1      CANADA
    TUCKER III RONALD                                                       ADDRESS ON FILE
    TUCOEMAS FEDERAL CU                                                     PO BOX 5011                                                                                             VISALIA                 CA           93277
    TUCSON NEWPAPERS                                                        PO BOX 78955                                                                                            PHOENIX                 AZ           85062
    TUCSON RODEO PARADE                                                     PO BOX 1788                                                                                             TUCSON                  AZ           85702
    TUDOR CAPITAL LLC                                                       1524 SW 18TH TERR                                                                                       FT LAUDERDALE           FL           33312
    TUFFYS HOLDINGS LTD C O WESTWOOD PUB                                    233 CHERRY AVE                                                                                          PRINCE GEORGE           BC           V2N 4T3      CANADA
    TUITION GUARANTY FUND                                                   PO BOX 198865                                                                                           NASHVILLE               TN           37219-8865
    TULANE HULLABALOO                                                       ADDRESS ON FILE
    TULARE COUNTY TAX COLLECTOR                                             221 S MOONEY BLVD                    RM 104E                                                            VISALIA                 CA           93291-4593
    TULSA COUNTY TREASURER                                                  500 S DENVER AVE                     3RD FL                                                             TULSA                   OK           74103-3840
    TUMBLEWEED SIGN CO                                                      BOX 309                              325 ROBLIN BLVD E                                                  WINKLER                 MB           R6W 4A5      CANADA
    TUNSTILL MICHAEL                                                        ADDRESS ON FILE
    TURFLAND MALL                                                           2033 TURFLAND MALL                   TURFLAND MALL MANAGEMENT OFF                                       LEXINGTON               KY           40504
    TURLOCK LANDER PARTNERS LLC                                             PO BOX 14176                                                                                            FREMONT                 CA           94539
    TURN KEY INVESTMENTS                                                    3505 LINCOLN WAY STE 102                                                                                AMES                    IA           50014
    TURNER JENNA                                                            ADDRESS ON FILE
    TURNER MOMENTUM INVESTMENTS LLC                                         500 GRAPEVINE HWY STE 402                                                                               HURST                   TX           76054-2785
    TURNER PADGET GRAHAM AND LANEY PA                                       1901 MAIN ST 17TH FL                 PO BOX 1473                                                        COLUMBIA                SC           29202
    TUSCALOOSA NEWS                                                         315 28TH AVE                                                                                            TUSCALOOSA              AL           35401
    TUSTIN URGENT CARE APC                                                  17612 E 17TH ST                      STE 101                                                            TUSTIN                  CA           92780-1962
    TV 48 WCPX AZTECA AMERICAN                                              854 E BROAD ST                                                                                          COLUMBUS                OH           43205
    TWC PROPRIETARY SCHOOLS                    TEXAS WORKFORCE COMMISSION   101 E 15TH ST                                                                                           AUSTIN                  TX           78778-0001
    TWEEDS LOCKSMITH INC SECURITY HARDWARE                                  601 ELM AVE                                                                                             PORTSMOUTH              VA           23704
    TWILIO INC                                                              375 BEAL ST STE 300                                                                                     SAN FRANCISCO           CA           94105
    TWIN BROOK CROSSINGS LLC                                                18167 US HWY 19 N                    STE 450                                                            CLEARWATER              FL           33764
    TWIN CITY PRINTING                                                      4150 E 43RD ST                       PO BOX 15368                                                       NORTH LITTLE ROCK       AR           72231
    TWIN DIXIE LANES INC                                                    PO BOX 14147                                                                                            LOUISVILLE              KY           40214
    TWIN RIVERS PROPERTIES LLC                                              2031 COLLIER CORPORATE PKWY                                                                             ST CHARLES              MO           63303
    TWIN TECHNOLOGIES                                                       6360 FRENCHS HOLLOW RD                                                                                  ALTAMONT                NY           12009
    TWO AMIGOS                                                              511 ROSS AVE E                                                                                          REGINA                  SK           S4N 4W5      CANADA
    TWO DAY FUNDING INC                                                     3009 ARTHUR KILL RD                                                                                     STATEN ISLAND           NY           10312
    TWO MEN AND A TRUCK                                                     1728287 ONTARIO INC                  110 SAUNDERS RD UNIT 11                                            BARRIE                  ON           L4N 9A8      CANADA
    TX CHILD SUPPORT SDU                                                    PO BOX 659791                                                                                           SAN ANTONIO             TX           78265-9791
    TXU ENERGY                                                              PO BOX 650638                                                                                           DALLAS                  TX           75265-0638
    TY CO PETROLEUM GROUP LLC                                               1402 E PIKE ST                                                                                          SEATTLE                 WA           98122
    TYDON SAFETY CONSULTING INC                                             4417 WALSH AVE                                                                                          TERRACE                 BC           V8G 4V7      CANADA
    TYLER STEPHEN                                                           ADDRESS ON FILE
    TYLER STEPHEN DEE                                                       ADDRESS ON FILE
    TYRIAN BULL FUNDING LLC                                                 120 W 45ST ST                        6TH FL                                                             NEW YORK                NY           10036
    TYRLAN BULL FUNDING LLC                                                 120 W 45TH ST                        6TH FL                                                             NEW YORK                NY           10036
    U HAUL                                                                  PO BOX 9950                                                                                             STONEY CREEK            ON           L8G 4P1      CANADA
    UBIQUS REPORTING INC                                                    61 BROADWAY                          STE 1400                                                           NEW YORK                NY           10006
    UBONG ETUK                                                              7337 106 ST                                                                                             GRANDE PRAIRIE          AB           T8W 2P8      CANADA
    UBS                                                                     PO BOX 8100                                                                                             LITTLE ROACK            AR           72203-8100
    UC ADVANTAGE INC                                                        92 ARGONAUT                          STE 200                                                            ALISO VIEJO             CA           92656
    UCN                                                                     PAYMENT CTR 5450                     PO BOX 410468                                                      SALT LAKE CITY          UT           84141
    ULINE CANADA CORPORATION                                                BOX 3500                             RPO STREETSVILLE                                                   MISSISSAUGA             ON           L5M OS8      CANADA
    ULINE SHIPPING SUPPLY SPECIALISTS                                       2200 S LAKESIDE DR                                                                                      WAUKEGAN                IL           60085
    ULMER AND BERNE LLP                                                     PO BOX 74529                                                                                            CLEVELAND               OH           44194-4529
    ULTIMATE PROMOTIONS INC                                                 105 10126 120 AVE                                                                                       GRANDE PRAIRIE          AB           T8V 8H9      CANADA
    ULTRA CAPITAL SOLUTIONS INC                                             2174 HEWLETT AVE                     STE 204                                                            MERRICK                 NY           11566

    UNA COGAVIN DBA CONVERT WRITE CONSULTING                                1657 GREENWICH ST                                                                                       SAN FRANCISCO           CA           94123
    UNAM FAMILIA SIN FRONTERAS                                              1716 CORPORATE LANDING PKWY                                                                             VIRGINIA BEACH          VA           23454
    UNAM FOUNDATION                                                         600 HEMISFAIR PARK                                                                                      SAN ANTONIO             TX           78283-0426
    UNCLE BOBS SELF STORAGE                                                 597 CENTRAL DR                                                                                          VIRGINIA BEACH          VA           23454
    UNCLE SAMS TAXES LLC                                                    ONE TIME TRAVEL FEE FOR WITNESS
    UNDERGROUND ELEPHANT INC                                                DEPT LA 24006                                                                                           PASADENA                CA           91185-4006
    UNIFIRST CANADA LTD LTEE                                                2190 WINSTON PARK DR                                                                                    OAKVILLE                ON           L6H 5W1      CANADA
    UNIKO PROPERTY GROUP LTD                                                416A 16 AVE NE                                                                                          CALGARY                 AB           T2E 1K2      CANADA
    UNION ENERGY                                                            BOX 99 STN COMMERCE CRT                                                                                 TORONTO                 ON           M5L 1L6      CANADA
    UNION GAS                                                               PO BOX 4001 STN A                                                                                       TORONTO                 ON           MSW 0G2      CANADA
    UNIONFRIENDLYCOM                                                        PO BOX 5791                                                                                             PAHRUMP                 NV           89041


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                        Name                                      Attention                             Address 1                                Address 2                           Address 3                     City        State        Zip         Country
    UNITED BUSINESS FUNDING LLC                                                        627 HORSEBLOCK RD                      FL 2                                                               FARMINGVILLE             NY           11738
    UNITED CAPITAL FUNDS                                                               501 NE 5TH TERR                        714                                                                FORT LAUDERDALE          FL           33301
    UNITED CAPITAL SOURCE INC DBA UCS                                                  111 GREAT NECK RD                      STE 416                                                            GREAT NECK               NY           11021
    UNITED CHECK CASHING                                                               5005 PRESTON HWY                       STE 101                                                            LOUISVILLE               KY           40213
    UNITED CHURCH OF GOD                                                               701 PHILLIPS AVE                                                                                          TOLED                    OH           43612-1332
    UNITED CONSULTANCY SERVICES INC                                                    14101 PARKE LONG CT                    STE Y                                                              CHANTILLY                VA           20151
    UNITED FULFILLMENT SOLUTIONS INC                                                   423 BUSSEN UNDERGROUND RD                                                                                 ST LOUIS                 MO           63129
    UNITED HEALTHCARE                                                                  DEPT CH 10151                                                                                             PALATINE                 IL           60055-0151
    UNITED HEALTHCARE                                                                  PO BOX 94017                                                                                              PALATINE                 IL           60094-4017
    UNITED HEALTHCARE HEALTH INSURANCE                                                 PO BOX 94017                                                                                              PALATINE                 IL           60094-4017
    UNITED MAINTENANCE SERVICES INC                                                    355 CRAWFORD ST                        STE 504                                                            PORTSMOUTH               VA           23704
    UNITED MERCHANTS ASSOCIATION LLC                                                   469 SEVENTH AVE                                                                                           NEW YORK                 NY           10018
    UNITED PARCEL SERVICE CANADA LTD                                                   PO BOX 2127 CRO                                                                                           HALIFAX                  NS           B3J 3B7      CANADA
    UNITED REALTY GROUP INC                                                            1200 S PINE ISLAND RD                  STE 600                                                            PLANTATION               FL           33324
    UNITED SERVICE ORGANIZATIONS INC                                                   2111 WILSON BLVD STE 1200                                                                                 ARLINGTON                VA           22201
    UNITED SHIPPING SOLUTIONS                                                          5114 GREENWICH RD                                                                                         VIRGINIA BEACH           VA           23462
    UNITED STATE TREASURY                                                              201 W RIVER CTR BLVD                   EXTRACTING STOP 312                                                COVINGTON                KY           41011
    UNITED STATES HISPANIC CHAMBER OF
    COMMERCE                                                                           1424 K ST NW STE 401                                                                                      WASHINGTON               DC           20005
    UNITED STATES INVESTIGATIVE AND PROTECTION
    AGENCY                                       MICHAEL MOUNTS                        71 SKYLINE DR                                                                                             ST ALBANS                WV           25177
    UNITED STATES POST OFFICE                                                          6305 SUNSET CORPORATE DR                                                                                  LAS VEGAS                NV           89120
    UNITED STATES POSTAL SERVICE HASLER                                                PO BOX 0527                                                                                               CAROL STREAM             IL           60132-0527
    UNITED STATES POSTAL SERVICE PITTSFORD                                             5607 PALMYRA RD                                                                                           PITTSFORD                NY           14534-9998
    UNITED STATES PROCESS SERVICE CORP                                                 285 266 ELMWOOD AVE                                                                                       BUFFALO                  NY           14222
    UNITED STATES TREASURY                                                             INTERNAL REVENUE SERVICE               1973 N RULON WHITE BLVD                                            OGDEN                    UT           84201
    UNITED STATES TREASURY                                                             INTERNAL REVENUE SERVICE               ATTN AUR                                   PO BOX 219983           KANSAS CITY              MO           64121
    UNITED STATES TREASURY                                                             INTERNAL REVENUE SERVICE                                                                                  CINCINNATI               OH           45999-0039
    UNITED STATES TREASURY                                                             INTERNAL REVENUE SERVICE                                                                                  OGDEN                    UT           84201-0102
    UNITED STATES TREASURY                                                             INTERNAL REVENUE SERVICE               PO BOX 145577                                                      CINCINNATI               OH           45250-5577
    UNITED STATES TREASURY GA                                                          IRS FOIA REQUEST                       PO BOX 621506 STOP 93A                                             ATLANTA                  GA           30362-3006
    UNITED STATES TREASURY IRS CA                                                      INTERNAL REVENUE SERVICE                                                                                  FRESNO                   CA           93888-0422
    UNITED STATES TREASURY IRS UTAH                                                    INTERNAL REVENUE SERVICE                                                                                  OGDEN                    UT           84201-0039
    UNITED STATES TREASURY LEVY BALDEEP          ATTN NATALIE CASSADINE                290 BROADWAY FOLEY SQ 6TH FL                                                                              NEW YORK                 NY           10007
    UNITED STATES TREASURY NC                                                          INTERNAL REVENUE SERVICE               PO BOX 1235                                                        CHARLOTTE                NC           28201-1235
    UNITED STATES TREASURY NY LEVY                                                     999 STEWART AVE                        COLLECTION GROUP 24 STE 110                                        BETHPAGE                 NY           11714-3632
    UNITED TAX SERVICE                                                                 22421 POWHATAN RD                      STE 1                                                              APPLE VALLEY             CA           92308
    UNITED VAN LINES LLC                                                               22304 NETWORK PL                                                                                          CHICAGO                  IL           60673-1223
    UNITED WAY OF TULARE COUNTY                                                        1975 S BLACKSTONE                                                                                         TULARE                   CA           93274
    UNITED YELLOW PAGES INC                                                            12442 KNOTT ST                         2ND FL                                                             GARDEN GROVE             CA           92841-2832
    UNITEK EDUCATION                             UNITEK INC                            4670 AUTO MALL PKWY                                                                                       FREEMONT                 CA           94538
    UNITY COMMUNICATIONS INC                                                           PO BOX 45263                                                                                              ST LOUIS                 MO           63145-5263
    UNITY TELECOM                                                                      8 250 HARRY WALKER PKY N                                                                                  NEWMARKET                ON           L3Y 784      CANADA
    UNIVERSAL TAX SYSTEMS INC                                                          6 MATHIS DR NW                                                                                            ROME                     GA           30165-2729
    UNIVERSITY HILLS WEST LLC                                                          88 INVERNESS CIR E                     STE A 207                                                          ENGLEWOOD                CO           80112-5521
    UNIVERSITY JOINT VENTURE                     C O THE SEMPLER COMPANY               PO BOX 409824                                                                                             ATLANTA                  GA           30384-9824
    UNIVERSITY OF MISSOURI KANSAS CITY           UNIVERSITY NEWS                       5327 OLMES                                                                                                KANSAS CITY              MO           64118
    UNIVERSITY OF ST THOMAS                      INST FOR FRANCHISE MANAGEMENT         TMH 470 1000 LASALLE AVE                                                                                  MINNEAPOLIS              MN           55403-2005
    UNIVEST II CORPORATION                                                             100 CORPORATE PKWY                     STE 500                                                            AMHERST                  NY           14226
    UNIVISION GROUP                                                                    PO BOX 2334                                                                                               CAROL STREAM             IL           60132-2334
    UNIVISION KABE KBTF                                                                5801 TRUXTON AVE                                                                                          BAKERSFIELD              CA           93309
    UNIVISION RADIO                                                                    5100 S W FWY                                                                                              HOUSTON                  TX           77056
    UNIVISION RADIO CHICAGO                                                            625 N MICHIGAN AVE                     STE 300                                                            CHICAGO                  IL           60611
    UNIVISION RADIO FRESNO INC                                                         1981 N GATEWAY BLVD                    STE 101                                                            FRESNO                   CA           93727
    UNIVISION RADIO NEW MEXICO INC                                                     8009 MARBLE AVE NE                                                                                        ALBUQERQUE               NM           87110
    UNIVISION RECEIVABLE CO LLC                                                        PO BOX 337                                                                                                TEANECK                  NJ           07666
    UNIVISION TX LP                                                                    1777 NE LOOP 410                       STE 400                                                            SAN ANTONIO              IX           78217-5217
    UNLIMITED NET RESOURCES LLC                  DBA RX MARKETING GROUP                17595 HARVARD AVE STE 685                                                                                 IRVINE                   CA           92614
    UOFC VOLUNTEER TAX PROGRAM                   ATTN STUDENT UNION                    251 MAC EWEN STUDENT CENTRE            2500 UNIVERSITY DR NW                                              CALGARY                  AB           T2N 1N4      CANADA
    UPCRUNCH INC                                                                       801 S OLIVE ST                         STE 1813                                                           LOS ANGELES              CA           90014
    UPGRADE INC                                                                        DEPT LA 24576                                                                                             PASADENA                 CA           91185
    UPLAND SOFTWARE INC                                                                PO BOX 205921                                                                                             DALLAS                   TX           75320-5921
    UPPER QUADRANT                                                                     1835 ALEXANDER BELL DR                 STE 200                                                            RESTON                   VA           20191
    UPPERLINE CAPITAL LLC                                                              11 PUTNAM DR                                                                                              ATLANTA                  GA           30342
    UPS                                                                                PO BOX 809488                                                                                             CHICAGO                  IL           60680-9488
    UPS BROKERAGE                                                                      PO BOX 6155                                                                                               MONCTON                  NB           E1C 0E2      CANADA
    UPS CANADA                                                                         PO BOX 4900 STATION A                                                                                     TORONTO                  ON           M5W 0A7      CANADA
    UPS CAROL STREAM IL                                                                LOCKBOX 577                                                                                               CAROL STREAM             IL           60132-0577
    UPS CUSTOMHOUSE BROKERAGE INC                                                      PO BOX 34486                                                                                              LOUISVILLE               KY           40232
    UPS EXPEDITED MAIL SERVICES INC              DBA UPS MAIL INNOVATIONS INC          55 GLENLAKE PKWY NE                                                                                       ATLANTA                  GA           30328
    UPS FREIGHT                                                                        PO BOX 533238                                                                                             CHARLOTTE                NC           28290-3238
    UPS FREIGHT                                                                        PO BOX 650690                                                                                             DALLAS                   TX           75265-0690
    UPS GROUND FREIGHT INC                                                             PO BOX 650690                                                                                             DALLAS                   TX           75265-0690
    UPS STORE 329                                                                      7357 WOODBINE AVE                                                                                         MARKHAM                  ON           L3R 6L3      CANADA
    UPS SUPPLY CHAIN SOLUTIONS INC                                                     28013 NETWORK PL                                                                                          CHICAGO                  IL           60673-1280
    UPS SUPPLY CHAIN SOLUTIONS INC DONT USE      ATTN CUSTOMS BROKERAGE SVCS           PO BOX 34486                                                                                              LOUISVILLE               KY           40232
    UPS UPS SCS DALLAS                                                                 PO BOX 650690                                                                                             DALLAS                   TX           75265-0690
    UPSWING CAPITAL GROUP LLC                                                          16 CLIFTON AVE S 200                                                                                      LAKEWOOD                 NJ           08701
    URBAN EDGE PROPERTIES LP                     DBA UE BURNSIDE PLAZA LLC             210 ROUTE 4 E                                                                                             PARAMUS                  NJ           07652
    URBAN LEAGUE OF HAMPTON ROADS INC                                                  PO BOX 2176                                                                                               NORFOLK                  VA           23501-2176
    URIBE TRUCKING INC DBA ALEX MOVING AND
    STORAGE                                                                            542 FLYNN RD                                                                                              CAMARILLO                CA           93012
    US BANK                                      KAREN A BONIS                         201 W 2ND ST                                                                                              DAVENPORT                IA           52801-1810
                                                 AS ASSIGNEE FOR PRESIDIO TECHNOLOGY
    US BANK NATIONAL ASSOCIATION                 CAPITAL LLC                           1310 MADRID ST STE 100                                                                                    MARSHALL                 MN           56258
    US DATA CORPORATION                                                                17310 WRIGHT ST                        STE 100                                                            OMAHA                    NE           68130
    US DISTRICT COURT                                                                  600 GRANBY ST                                                                                             NORFOLK                  VA           23510
    US DISTRICT COURT EAST DISTRICT OF VA                                              1000 E MAIN ST STE 305                                                                                    RICHMOND                 VA           23219
    US FUNDING SERVICE INC                                                             7675 MAPLE AVE                         STE 200                                                            PENNSAUKEN               NJ           08109


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                         Name                                  Attention                             Address 1                                Address 2                           Address 3                    City           State         Zip          Country
    US LEC OF NORTH CAROLINA INC                                                    PO BOX 601310                                                                                             CHARLOTTE                  NC             28260-1310
    US NEWSPAPERS                                                                   5150 E LA PALMA AVE                    STE 202                                                            ANAHEIM HILLS              CA             92807
    US POSTAL SERVICE                                                               PO BOX 7247 0255                                                                                          PHILADELPHIA               PA             19170-0255
    US POSTAL SERVICE                           ATTN BOX SECTION                    1075 N TUSTIN ST                                                                                          ORANGE                     CA             92863-9998
    US RETAIL INCOME FUND VIII B LP                                                 PO BOX 931623                                                                                             ATLANTA                    GA             31193-1623
    US SECURITIES AND EXCHANGE COMMISSION                                           100 F ST NE                                                                                               WASHINGTON                 DC             20549
    US SMALL BUSINESS ADMINISTRATION            ATTN ROBIN BLACKWELL                501 GLOUCESTER ST STE 201                                                                                 BRUNSWICK                  GA             31520
    USA HOSTS LTD                                                                   DEPT 77 52214                                                                                             CHICAGO                    IL             60678
    USA LEASING LTD                                                                 35110 EUCLID AVE                                                                                          WILLOUGBY                  OH             44094-4510
    USA TODAY                                                                       7950 JONES BRANCH DR                   7TH FL                                                             MCLEAN                     VA             22102
    USB PROPERTIES                                                                  289 N BOGEY CIR                                                                                           NORTH SALT LAKE            UT             84054
    USC EDUCATIONAL FOUNDATION                                                      730 DEVINE ST STE 108                                                                                     COLUMBIA                   SC             29208
    USDIGITALMEDIA                                                                  1929 W LONE CACTUS DR                                                                                     PHOENIX                    AZ             85027
    USER TESTING INC                                                                2672 BAYSHORE PKWY                     703                                                                MOUNTAIN VIEW              CA             94043
    USERWORKS INC                                                                   1738 ELTON RD                          STE 138                                                            SILVER SPRING              MD             20903
    USHA RUMMUY                                                                     63 RUE PENON                                                                                              SALABERRY DE VALLEYFIELD   QC             H5B 0A8      CANADA
    USHYEE                                                                          601 ALLUVION ST                                                                                           BALTIMORE                  MD             21230
    USI TECHNOLOGY INC                          DBA UPSELLITCOM INC                 PO BOX 2870                                                                                               CAMARILLO                  CA             93011
    USILACS                                                                         1309 COFFEEN AVE STE 1200              DBA TITANIUM CAPITAL SOLUTIONS                                     DHERIDAN                   WY             82801
    USMAN HUSSEIN                                                                   4234 ADRIATIC SEA WAY                                                                                     SACRAMENTO                 CA             95834-7608
    USO OF HAMPTON ROADS                        ATTN LINDA WAGNER                   1168 GATOR BLVD                                                                                           VIRGINIA BEACH             VA             23459
    USPS PROFESSIONAL PRINTING                  ATTN MAILING DEPARTMENT             817 YUPO CT                                                                                               CHESAPEAKE                 VA             23320-3626
    USWEST COMMUNICATIONS                                                           PO BOX 12480                                                                                              SEATTLE                    WA             98111-4480
    UTAH DEPARTMENT OF FINANCIAL INSTITUTIONS                                       324 S STATE ST                         STE 201                                                            SALT LAKE CITY             UT             84111
    UTAH DEPARTMENT OF REVENUE                  CORPORATE PARTNERSHIP TAX PAYMENT   210 N 1950 W                                                                                              SALT LAKE CITY             UT             84134-0180
    UTAH DEPT WORKFORCE SERVICES                                                    140 E 300 S                            PO BOX 45233                                                       SALT LAKE CITY             UT             84145-0233
    UTAH FOOD BANK                                                                  3150 S 900 W                                                                                              SALT LAKE CITY             UT             84119-3316
    UTAH STATE TAX COMMISSION                                                       210 N 1950 W                                                                                              SALT LAKE CITY             UT             84134-0180
    UTAH STATE TREASURER                        UNCLAIMED PROPERTY                  PO BOX 142321                                                                                             SALT LAKE CITY             UT             84114-2321
    UTAH STATE TREASURER                        UNCLAIMED PROPERTY DIVISION         PO BOX 142321                                                                                             SALT LAKE CITY             UT             84114-2321
    UTILITIES KINGSTON                                                              PO BOX 790                                                                                                KINGSTON                   ON             K7L 4X7      CANADA
    UTILITY BILLING SERVICES                                                        PO BOX 8100                                                                                               LITTLE ROCK                AR             72203-8100
                                                DBA VANGUARD CLEANING SYSTEMS OF
    V AND E SYSTEMS AND SERVICES LLC            HAMPTON ROADS                       1403 GREENBRIER PKWY STE 450                                                                              CHESAPEAKE                 VA             23320
    V12 GROUP                                                                       2 BRIDGE AVE                           BLDG 6 FL 3                                                        RED BANK                   NJ             07701
    V2K WINDOW FASHIONS                                                             2952 BRUCE STATION                                                                                        CHESAPEAKE                 VA             23321
    VA ABC                                                                          1103 S MILITARY HWY                                                                                       CHESAPEAKE                 VA             23320
    VA HEATING AND ELECTRICAL SERVICES LLC                                          155 GREEN VIEW RD                                                                                         MOYOCK                     NC             27958
    VACO RICHMOND LLC                                                               5410 MARYLAND WAY                      STE 460                                                            BRENTWOOD                  TN             37027
    VAIL SOUTH INC                              DBA VAIL AUTOMOTIVE                 5659 E VIRGINIA BEACH BLVD                                                                                NORFOLK                    VA             23502
    VALASSIS CANADA INC                                                             47 JUTLAND RD                                                                                             TORONTO                    ON             M8Z 2G6      CANADA
    VALASSIS COMMUNICATIONS INC                                                     90469 COLLECTION CTR DR                                                                                   CHICAGO                    IL             60693
    VALASSIS INTERACTIVE INC                                                        PO BOX 3245                                                                                               BOSTON                     MA             02241-3245
    VALENTINA ALMA PRATO CECILIO                                                    SM 51 MZ 20 COCODRILO 356              LOTE 1                                                             CANCUN                     QUINTANA ROO                MEXICO

    VALERY SCANCELLA DBA VS GLOBAL FUNDING LLC                                      2750 OCEAN CLUB BLV                    STE 204                                                            HOLLYWOOD                  FL             33019
    VALHEN                                     ATTN JUAN P ESPINOZA TREASURER       SR ASST DIR DIV INIT VIRGINIA TECH     104 BURRUSS HALL                                                   BLACKSBURG                 VA             24060
    VALLEJO SANITATION AND FLOOD CONTROL
    DISTRICT                                                                        450 RYDER ST                                                                                              VALLEJO                    CA             94590
    VALLEY VOICE                                                                    PO BOX 571                                                                                                VISALIA                    CA             93279
    VALLEY WEST GLASS                                                               1 34100 S FRASER WAY                                                                                      ABBOTSFORD                 BC             V2S 2C6      CANADA
    VALLEYVIEW VALLEY VIEWS                                                         BOX 787                                                                                                   VALLEYVIEW                 AB             T0H 3N0      CANADA
    VALPAK OF BLAIR COUNTY                                                          146 LEHIGH DR                                                                                             HOLLIDAYSBURG              VA             16648
    VALPAK OF CANADA LIMITED                                                        LOCK BOX NUMBER T9620                  PO BOX T9620POSTAL STATION A                                       TORONTO                    ON             M5W 1P8      CANADA
    VALPAK OF CATAWBA VALLEY                                                        2954 ORCHID LN                                                                                            VALDESE                    NC             28690
    VALPAK OF EASTERN CAROLINA                                                      187 101 WIND CHIME CT                                                                                     RALEIGH                    NC             27615
    VALPAK OF EDMONTON                                                              7515 MOUNT LAWN RD                                                                                        EDMONTON                   AB             T2E 1K2      CANADA
    VALPAK OF GREATER KANSAS CITY                                                   9714 ROSEHILL RD                                                                                          LENEXA                     KS             66215
    VALPAK OF PG COUNTY                                                             1400 MERCANTILE LN STE 2                                                                                  LARGO                      MD             20774
    VALSAINT EDITH                                                                  ADDRESS ON FILE
    VALUE CARD ALLIANCE LLC                                                         2010 W PARKSIDE LN                                                                                        PHOENIX                    AZ             85027
    VALUE MOMENTUM                                                                  3001 HADLEY RD UNIT 8                                                                                     SOUTH PLAINSFIELD          NJ             07080
    VALUMAIL MAGAZINE                                                               2004 GRAND STE 102                                                                                        KANSAS CITY                MO             64108
    VAN HORN ERIK                                                                   ADDRESS ON FILE
    VAN HOUTTE COFFEE SERVICE INC                                                   1722 S OGILVIE ST                                                                                         PRINCE GEORGE              BC             V2N 1W9      CANADA
    VAN RU CREDIT CORP                                                              PAYMENT PROCESSING CTR                 PO BOX 46249                                                       LINCOLNWOOD                IL             60646-0249
    VAN UNNIK JUDY                                                                  ADDRESS ON FILE
    VANASSE HANGEN BRUSTLIN INC                                                     101 WALNUT ST                          PO BOX 9151                                                        WATERTOWN                  MA             02471
    VANASSE HANGEN BRUSTLIN INC                                                     101 WALNUT ST                          PO BOX 9151                                                        WATERTOWN                  MA             02471-9151
    VANCOUVER ISLAND NEWSPAPER GROUP INC       ADVERTISING DEPARTMENT               B1 2575 MCCULLOUGH RD                                                                                     NANAIMO                    BC             V9S 5W5      CANADA
    VANDEVENTER BLACK LLP                                                           101 W MAIN ST STE 500                                                                                     NORFOLK                    VA             23510
    VANDEVENTER BLACK LLP                                                           500 WORLD TRADE CTR                                                                                       NORFOLK                    VA             23510
    VANHORN AND VANHORN INC                                                         215 W MAIN ST                                                                                             CLARKSBURG                 WV             26301
    VANN VIRGINIA CTR FOR ORTHOPAE                                                  230 CLEARFIELD AVE 124                                                                                    VIRGINIA BEACH             VA             23462
    VANTAGE PRODUCTIONS                                                             1 110 PRINCESS ST                                                                                         WINNIPEG                   MB             R3B 1K7      CANADA
    VAQUERO FINANCIAL SERVICES LLC                                                  2041 INCROCIATO                                                                                           NEW BRAUNFELS              TX             78132
    VASA SITHAMBARANATHAN                                                           6 GRIFFITHS DR                                                                                            AJAX                       ON             L1T 3J3      CANADA
    VB DAM INVESTMENT CORP                     DBA SECURIS OF HAMPTON ROADS         2551 ELTHAM AVE                        STE G                                                              NORFOLK                    VA             23513
    VC ROOMS LLC                                                                    265 E MARION AVE 119                                                                                      PUNTA GORDA                FL             33950
    VD INNOVATION                                                                   7289 FOSTER LN                                                                                            NOKESVILLE                 VA             20181
    VECTOR CAPITAL SOLUTIONS LLC                                                    1 PENN PLZ 36TH FL                                                                                        NEW YORK                   NY             10119
    VECTREN ENERGY DELIVERY                                                         PO BOX 4849                                                                                               HOUSTON                    TX             77210-4849
    VEDIAN LLC                                                                      PO BOX 4322                                                                                               WILMINGTON                 NC             28406
    VEGA NANCY                                                                      ADDRESS ON FILE
    VELLO HOLDINGS LIMITED                                                          8 11 SIMS CRESCENT                                                                                        RICHMOND HILL              ON             L4B 1C9      CANADA
    VELOCITY EQUITY LP                                                              1859 BOLDEN DR                                                                                            MOUNT PLEASANT             SC             29466
    VELOCITY SOFTWARE LLC                                                           1919 S HIGHLAND AVE                    BUILDNG C STE 208                                                  LOMBARD                    IL             60148
    VELOPERSCOM INC                                                                 405 LEXINGTON CT                                                                                          YORKTOWN                   VA             23693
    VENABLE LLP                                                                     PO BOX 62727                                                                                              BALTIMORE                  MD             21264-2727


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                        Name                                   Attention                         Address 1                                Address 2                           Address 3                      City        State       Zip          Country
    VENTANILLA DE SALUD WITH TX AHEC                                             E COASTAL REGION                      PO BOX 2                                                           LA MARQUE                 TX           77568
    VENTURA COUNTY STAR                                                          PO BOX 6711                                                                                              VENTURA                   CA           93006
    VENTURE DIRECT WORLDWIDE 9020            ATTN DAN STEELE                     708 3RD AVE 12TH FL                                                                                      NEW YORK                  NY           10017
    VENTURE DIRECT WORLDWIDE 9484                                                PO BOX 9484                                                                                              UNIONDALE                 NY           11555-9484
    VENTURE SOURCING GROUP                                                       5400 TOMKEN RD                                                                                           MISSISSAUGA               ON           L4W 1P2      CANADA
    VENTURE TOURS INC                                                            600 S MILITARY HWY                                                                                       VIRGINIA BEACH            VA           23464
    VENTURY CAPITAL INC                                                          2803 W BUSCH BLVD                     STE 220                                                            TAMPA                     FL           33618
    VERGE AMERICA LTD                                                            263 ROUTE 17K STE 2005                                                                                   NEWBURGH                  NY           12550
    VERI TAX                                                                     30 EXECUTIVE PARK                     STE 200                                                            IRVINE                    CA           92614
    VERIDIAN                                                                     BOX 4466 STN A                                                                                           TORONTO                   ON           M5W 4C5      CANADA
    VERISIGN                                                                     POBOX 1656                                                                                               HERNDON                   VA           20172-1656
    VERIZON                                                                      26000 CANNON RD                                                                                          CLEVELAND                 OH           44146
    VERIZON                                                                      PO BOX 660108                                                                                            DALLAS                    TX           75266-0108
    VERIZON 15043                                                                PO BOX 15043                                                                                             ALBANY                    NY           12212-5043
    VERIZON 15124                                                                PO BOX 15124                                                                                             ALBANY                    NY           12212-5124
    VERIZON 30001                                                                PO BOX 30001                                                                                             INGLEWOOD                 CA           90313-0001
    VERIZON 4830                                                                 PO BOX 4830                                                                                              TRENTON                   NJ           08650-4830
    VERIZON 4833 TRENTON NJ                                                      PO BOX 4833                                                                                              TRENTON                   NJ           08650-4833
    VERIZON 660720                                                               PO BOX 660720                                                                                            DALLAS                    TX           75266
    VERIZON ALBANY                                                               PO BOX 15062                                                                                             ALBANY                    NY           12212-5062
    VERIZON BALTIMORE 17398                                                      PO BOX 17398                                                                                             BALTIMORE                 MD           21297-0429
    VERIZON BALTIMORE 17577                                                      PO BOX 17577                                                                                             BALTIMORE                 MD           21297-0513
    VERIZON CANADA                           C O T11138C                         PO BOX 11000 STN A                                                                                       TORONTO                   ON           M5W 2G5      CANADA
    VERIZON COMMUNICATIONS 920041 TX                                             PO BOX 920041                                                                                            DALLAS                    TX           75392-0041
    VERIZON DFW AIRPORT                                                          PO BOX 619009                                                                                            DFW AIRPORT               TX           75261-9009
    VERIZON DIRECTORIES CORP                                                     PO BOX 619480                                                                                            D FW AIRPORT              TX           75261-9480
    VERIZON FLORIDA INC 920041                                                   PO BOX 920041                                                                                            DALLAS                    TX           75392-0041
    VERIZON FREEHOLD                         ATTN DONNA DEAN                     175 W MAIN ST                                                                                            FREEHOLD                  NJ           07728
    VERIZON PA                                                                   PO BOX 28000                                                                                             LEHIGH VALLEY             PA           18002-8000
    VERIZON PO BOX 64809 BALTIMORE                                               PO BOX 64809                                                                                             BALTIMORE                 MD           21264-4809
    VERIZON RECEIVABLES MANAGEMENT CALL
    CENTER                                                                       1135 E CHOCOLATE AVE                                                                                     HERSHEY                   PA           17033
    VERIZON SOUTH DALLAS                                                         PO BOX 920041                                                                                            DALLAS                    TX           75392-0041
    VERIZON SOUTH TAMPA                                                          PO BOX 31122                                                                                             TAMPA                     FL           33631-3122
    VERIZON WIRELESS 16810                                                       PO BOX 16810                                                                                             NEWARK                    NJ           07101-6810
    VERIZON WIRELESS 17464                                                       PO BOX 17464                                                                                             BALTIMORE                 MD           21297-1464
    VERIZON WIRELESS DALLAS                                                      PO BOX 660108                                                                                            DALLAS                    TX           75266-0108
    VERIZON WIRELESS PA                                                          PO BOX 25505                                                                                             LEHIGH VALLEY             PA           18002-5505
    VERMONT DEPARTMENT OF REVENUE            VERMONT DEPT OF TAXES               133 STATE ST                                                                                             MONTPELIER                VT           05633-1401

    VERMONT DEPARTMENT OF TAXES SETTLEMENT                                       133 STATE ST                          MONTPELIER                                                         VTY                                    05633-1401
    VERMONT SECRETARY OF STATE                                                   128 STATE ST                                                                                             MONTPELIER                VT           05633-1104
    VERRA MOBILITY CORPORATION               DBA PLATEPASS LLC                   1150 N ALMA SCHOOL RD                                                                                    MESA                      AZ           85201
    VERSA BUSINESS SYSTEMS                                                       9635 PHILADELPHIA RD                  STE 100                                                            ROSEDALE                  MD           21237-4158
    VERSATILE CONSTRUCTION COMPANY INC                                           3194 HERBERT FAUCETTE RD                                                                                 BULLOCK                   NC           27507
    VERSTANDIG BROADECASTING                                                     PO BOX 788                                                                                               GREENCASTLE               PA           17228
    VERTEX BUSINESS INTERIORS                                                    14712 SINCLAIR CR                     STE B                                                              TUSTIN                    CA           92780-7225
    VERTICAL MEASURES LLC                                                        4545 E SHEA BLVD STE 100                                                                                 PHOENIX                   AZ           85028
    VERTICAL SIGN SERVICE LLC                                                    425 GOLDEN OAKS DR                                                                                       NORMAN                    OK           73072
    VERTIS B HADLEY                                                              ADDRESS ON FILE
    VERVEBA LLC                                                                  3010 LBJ FWY                          STE 1200                                                           DALLAS                    TX           75234
    VERVENT INC                              ATTN ACCOUNTING DEPARTMENT          PO BOX 911007                                                                                            SAN DIEGO                 CA           92191-1007
    VESTIGANT LLC                                                                PO BOX 23                                                                                                MCLEAN                    VA           22101-0023
    VETERANS BUSINESS SERVICES                                                   400 S WASHINGTON ST                                                                                      EASTON                    MD           21601
    VETERANS CAPITAL INC DBA GREEN POINT                                         2001 US HWY 46                                                                                           PARSIPPANY                NJ           07054
    VIACOM OUTDOOR CANADA                                                        377 HORNER AVE                                                                                           TORONTO                   ONTARIO      M8W 1Z6      CANADA
    VIBES TECHNOLOGIES INC                                                       SDS 12 0975                           PO BOX 86                                                          MINNEAPOLIS               MN           55486-0976
                                             FRESNO COUNTY AUDITOR CONTROLLER
    VICKI CROW CPA                           TREASURER                           PO BOX 1192                                                                                              FRESNO                    CA           93715-1192
    VICOM                                                                        5361 CLEVELAND ST                                                                                        VIRGINIA BEACH            VA           23462
    VICTOR M VELEZ                                                               ADDRESS ON FILE
    VICTOR RAMOS                                                                 ADDRESS ON FILE
    VICTORIA E CODY                                                              ADDRESS ON FILE
    VICTORIA GRIZZLIES HOCKEY INC                                                6 1767 ISLAND HWY                                                                                        VICTORIA                  BC           V9B 1J1      CANADA
    VICTORIA RADIOWORKS LTD                                                      PO BOX 3487                                                                                              VICTORIA                  TX           77903
    VICTORIA WOOTEN                                                              ADDRESS ON FILE
    VICTORY CHRISTIAN FELLOWSHIP             C O ROLAND M AQUINO                 144 COLLEGE POINT BLVD                                                                                   COLLEGE POINT             NY           11356
    VICTORY MEDIA INC                                                            429 MILL ST                                                                                              CORAPOLIS                 PA           15108
    VICTORY RECOVERY SERVICES INC                                                PO BOX 1025                                                                                              BUFORD                    GA           30515
    VIDEO ATLANTIC TELEPRODUCTIONS                                               604 B JACK RABBIT RD                                                                                     VIRGINIA BEACH            VA           23451
    VIDEO NEWS INC                                                               PO BOX 6121                                                                                              VIRGINIA BEACH            VA           23456
    VIDEOTRON GP 11427                                                           PO BOX 11427 DOWNTOWN BRANCH                                                                             MONTREAL                  QUEBEC       H3C 5H6      CANADA
    VIDEOTRON SENC                                                               CP 11078                              SUCC CENTRE VILLE                                                  MONTREAL                  QB           H3C 5B7      CANADA
    VIETIMEX LLC                                                                 1 SKYCREST                                                                                               MISSION VIEJO             CA           92692
    VIGGEY PROPERTIES LLC                                                        4110 CENTRAL AVE STE 204                                                                                 COLUMBIA HEIGHTS          MN           55421
    VIGRINIA STATE UNIVERSITY                OFFICE OF DEVELOPMENT STORUM HALL   ATTN MARIO WHITE                      PO BOX 9027                                                        PETERSBURG                VA           23806
    VILLA AVE PARTNERS LLC                   ATTN RAJ DESAI                      24891 SUNNYMEAD BLVD                                                                                     MORENO VALLEY             CA           92553
    VILLA LUISA LLC                          C O GIBRALTAR LLC                   720 SENECA ST                                                                                            SEATTLE                   WA           98101
    VILLAGE AUTO OUTLET                      KENNETH GRAY                        900 N MIAMI BLVD                                                                                         DURHAM                    NC           27703
    VILLAGE AUTO OUTLETT                                                         900 N MIAMI BLVD                                                                                         DURHAM                    NC           27703
    VILLAGE DEVELOPERS                                                           348 CLEARVIEW DR                                                                                         RINGGOLD                  GA           30736
    VILLAGE HALLOWEEN PARADE                                                     463 W ST APT D 405                                                                                       NEW YORK                  NY           10014
    VILLAGE OF DEPEW                         ATTN TREASURERS OFFICE              85 MANITOU ST                                                                                            DEPEW                     NY           14043
    VILLAGE OF LIBERTYVILLE                                                      PO BOX 4299                                                                                              CAROL STREAM              IL           60197-4299
    VILLAGE OF MIDLOTHIAN LICENSES                                               14801 S PULASKI RD                                                                                       MIDLOTHIAN                IL           60445
    VILLAGE OF MIDLOTHIAN UTILITIES          ATTN UTILITY BILLING                14801 PULASKI RD                                                                                         MIDLOTHIAN                IL           60445-3499
    VILLAGE OF SCHAUMBURG                    ATTN COMMUNITY DEVELOPMENT          101 SCHAUMBURG CT                                                                                        SCHAUMBURG                IL           60193-1899
    VILLAGE SOUTH SHOPPING CENTER                                                348 CLEARVIEW DR                                                                                         RINGGOLD                  GA           30736



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                        Name                                     Attention                              Address 1                                 Address 2                           Address 3                     City        State       Zip          Country
    VILLAGE SQUARE SHOPPING CENTER OF WINTER
    HAVEN LLC                                                                           PO BOX 17 09 08                                                                                           HIALEAH                  FL           33017
    VILLAS AL LAGO DEVELOPMENT CORP                                                     1001 PONCE DE LEON BLVD                STE E                                                              CORAL GABLES             FL           33134
    VILLE DE MONTREAL                                                                   CP 11461                               SUCCURSALE CENTRE VILLE                                            MONTREAL                 QC           H3C 5L8      CANADA
    VIMEO INC                                                                           555 W 18TH ST                          2ND FL                                                             NEW YORK                 NY           10011
    VINCENT GUZMAN                                                                      ADDRESS ON FILE
    VINEY BAGGA                                                                         ADDRESS ON FILE
    VINNEDGE BUILDING LP                                                                2100 N MAIN ST STE 211                                                                                    FORT WORTH               TX           76106
    VINSON AND ELKINS LLP                                                               1001 FANNIN ST                         STE 2500                                                           HOUSTON                  TX           77002
    VINTAGE CORPORATION                                                                 4631 W 20TH ST RD                      STE 100                                                            GREELEY                  CO           80634
                                                                                                                               DBA VINTAGE PRINTING AND
    VINTAGE FORMS LLC                                                                   PO BOX 1025                            DISTRIBUTION                                                       LOUISVILLE               KY           40201
    VIOLET MINTS LLC                                                                    1055 ST CHARLES AVE                    STE 701                                                            NEW ORLEANS              LA           70130
    VIRANTE INC                                                                         101 J MORRIS COMMONS LN                STE 105                                                            MORRISVILLE              NC           27560
    VIRESCENT INC                                                                       1615 BROADWAY BLVD NE                                                                                     ALBUQUERQUE              NM           87102
    VIRGELIA PRODUCTIONS                                                                3010 WILSHIRE BLVD                                                                                        LOS ANGELES              CA           90010
    VIRGIN 985 FM                                                                       300 1110 CENTRE ST N                                                                                      CALGARY                  AB           T2E 2R2      CANADA
    VIRGIN PULSE INC                                                                    DEPT 3310                              PO BOX 123310                                                      DALLAS                   TX           75312-3310
    VIRGINIA AQUARIUM AND MARINE SCIENCE
    CENTER                                                                              717 GENERAL BOOTH BLVD                                                                                    VIRGINIA BEACH           VA           23451
    VIRGINIA BAR ASSOCIATION                                                            PO BOX 79767                                                                                              BALTIMORE                MD           21279-0767

    VIRGINIA BEACH CHORALE INC                    C O THALIA TRINITY PRESBYTERIAN CHURCH 420 THALIA RD                                                                                            VIRGINIA BEACH           VA           23452-1852
    VIRGINIA BEACH CITY TREASURER                                                        PARKS SPECIAL EVENTS OFFICE           312 EDWIN DR                                                       VIRGINIA BEACH           VA           23462-4523
    VIRGINIA BEACH CONSTRUCTION                                                          1624 FLAMMARION CT                                                                                       VIRGINIA BEACH           VA           23454
    VIRGINIA BEACH CONVENTION AND VISITORS
    BUREAU                                                                              RESORT MGMT AND SPECIAL EVENTS OFFICE 2101 PARKS AVE STE 502                                              VIRGINIA BEACH           VA           23451
    VIRGINIA BEACH CONVENTION CENTER              ATTN ACCOUNTS RECEIVABLE              1000 19TH ST                                                                                              VIRGINIA BEACH           VA           23451
    VIRGINIA BEACH DEVELOPMENT AUTHORITY                                                222 CENTRAL PARK AVE STE 1000                                                                             VIRGINIA BEACH           VA           23462
    VIRGINIA BEACH ELECTRIC SERVICE INC                                                 2520 HORSE PASTURE RD                 PO BOX 56252                                                        VIRGINIA BEACH           VA           23453
    VIRGINIA BEACH EVENTS UNLIMITED                                                     265 KINGS GRANT RD STE 102                                                                                VIRGINIA BEACH           VA           23452
    VIRGINIA BEACH FIELDHOUSE                                                           2157 LANDSTOWN RD                                                                                         VIRGINIA BEACH           VA           23456
    VIRGINIA BEACH HIGHER EDUCATION CENTER                                              1881 UNIVERSITY DR                                                                                        VIRGINIA BEACH           VA           23456
    VIRGINIA BEACH RESORT HOTEL                                                         2800 SHORE DR                                                                                             VIRGINIA BEACH           VA           23451
    VIRGINIA BUILDING SERVICES INC                                                      PO BOX 68474                                                                                              VIRGINIA BEACH           VA           23471
    VIRGINIA BUREAU OF FINANCILA INSTITUTIONS                                           1300 E MAIN ST                        STE 800                                                             RICHMOND                 VA           23218
    VIRGINIA BUSINESS                                                                   PO BOX 85333                                                                                              RICHMOND                 VA           23293
    VIRGINIA CHAPTER NATP                         TERESA C STEINIGER DIRECTOR           12814 MILL RD                                                                                             FREDRICKSBURG            VA           22407
    VIRGINIA CLE                                                                        CLE REGISTRATIONS                     PO BOX 4468                                                         CHARLOTTESVILLE          VA           22905
    VIRGINIA DEPARTMENT OF MOTOR VEHICLES                                               PO BOX 27412                                                                                              RICHMOND                 VA           23269-0001

    VIRGINIA DEPARTMENT OF TAXATION 20544817700                                         PO BOX 27407                                                                                              RICHMOND                 VA           23261

    VIRGINIA DEPARTMENT OF TAXATION 22313496400                                         PO BOX 27407                                                                                              RICHMOND                 VA           23261
    VIRGINIA DEPARTMENT OF TAXATION 413 17 1046                                         PO BOX 27407                                                                                              RICHMOND                 VA           23261-7407
    VIRGINIA DEPT OF AGRICULTURE AND CONSUMER
    SERVICES                                                                            PO BOX 526                                                                                                RICHMOND                 VA           23218-0526
    VIRGINIA DEPT OF TAXATION                                                           PO BOX 27407                                                                                              RICHMOND                 VA           23261-7407
    VIRGINIA FARM BUREAU                                                                1057 PRINCESS ANNE                                                                                        VIRGINIA BEACH           VA           23457
    VIRGINIA FOUNDATION FOR RESEARCH AND
    ECONOMIC                                                                            EDUCATION INC                          PO BOX 8650                                                        RICHMOND                 VA           23226
    VIRGINIA FREE                                                                       ADDRESS ON FILE

    VIRGINIA GENERAL BOOTH LLC                                                          702 E SIMPSON ST 1338                  C O CEDAR REALTY TRUST INC TINA DIETZ                              MECHANICSBURG            PA           17055

    VIRGINIA INDEPENDENT CHILDCARE HOMES ASSN                                      3061 COBBLESTONE DR                                                                                            VIRGINIA BEACH           VA           23452
    VIRGINIA LAW FOUNDATION                                                        600 E MAIN ST                               STE 2040                                                           RICHMOND                 VA           23219
    VIRGINIA LAWYERS WEEKLY                                                        801 E MAIN ST                               STE 701                                                            RICHMOND                 VA           23219
    VIRGINIA LAWYERS WEEKLY                                                        SDS 12 2632                                 PO BOX 86                                                          MINNEAPOLIS              MN           55486-2632
    VIRGINIA NATURAL GAS 5409                                                      PO BOX 5409                                                                                                    CAROL STREAM             IL           60197-5409
    VIRGINIA NATURAL GAS INC 70840                                                 PO BOX 70840                                                                                                   CHARLOTTE                NC           28272-0840
    VIRGINIA POWER                                                                 PO BOX 26543                                                                                                   RICHMOND                 VA           23290-0001
    VIRGINIA SACRAMENTO INVESTMENTS LLC                                            1508 S CHICKASAW TRAIL                                                                                         ORLANDO                  FL           32825
    VIRGINIA SHREDDERS INC DBA SHRED IT                                            1005 THOMAS ST                              PO BOX 3801                                                        HAMPTON                  VA           23663-3801
    VIRGINIA SHREDDERS INC DBA SHRED IT                                            PO BOX 3801                                                                                                    HAMPTON                  VA           23663
    VIRGINIA STATE BAR 1111 E MAIN                                                 1111 E MAIN STE                             STE 700                                                            RICHMOND                 VA           23219
    VIRGINIA STATE BAR 707 MAIN                                                    707 E MAIN ST                               STE 1500                                                           RICHMOND                 VA           23219-2800
    VIRGINIA STATE BAR 8TH AND MAIN BLDG
    RICHMOND                                                                       EIGHTH AND MAIN BUILDING                    707 E MAIN ST STE 1500                                             RICHMOND                 VA           23219-2800
    VIRGINIA STATE BAR ALEXANDRIA             VIRGINIA STATE BAR                   PO BOX 34931                                                                                                   ALEXANDRIA               VA           22334-0931
    VIRGINIA STATE BAR EAST FRANKLIN STREET
    RICHMOND                                                                       701 E FRANKLIN ST                           STE 1120                                                           RICHMOND                 VA           23219
    VIRGINIA STATE BAR NEWPORT NEWS           JOHN ALLEN WALDROP                   FERGUSON ENTERPRISES INC                    12500 JEFFERSON AVE                                                NEWPORT NEWS             VA           23602
    VIRGINIA STATE CORPORATION COMMISSION                                          SCC CLERKS OFFICE                           PO BOX 1197                                                        RICHMOND                 VA           23218
    VIRGINIA STORAGE SYSTEMS INC                                                   PO BOX 5606                                                                                                    CHESAPEAKE               VA           23324
    VIRGINIA TECH                                                                  COLLEGE MEDIA SOLUTIONS                     615 N MAIN ST                                                      BLACKSBURG               VA           24060
    VIRGINIA TOY                                                                   2503 SQUADRON CT                                                                                               VIRGINIA BEACH           VA           23453
    VISALIA NUMBER ONE LTD                    C O MANCO ABBOTT INC                 PO BOX 9440                                                                                                    FRESNO                   CA           93792
    VISIBILITY SIGNAGE EXPERTS                                                     687 GYRFALCON CT UNIT F                     DBA POTATOHEAD SIGNS                                               WINDSOR                  CO           80550
    VISINET                                                                        715 MIDDLE GROUND BLVD                                                                                         NEWPORT NEWS             VA           23606
    VISION CRITICAL COMMUNICATIONS US INC                                          700 858 BEATTY ST                                                                                              VANCOUVER                BC           V6B 1C1      CANADA
    VISION REAL ESTATE                                                             5544 FRANKLIN RD                            STE 200                                                            NASHVILLE                TN           37220
    VISION SERVICES                                                                495 WESTGATE DR                                                                                                BROCKTON                 MA           02301
    VISTA GRAPHIC INC                                                              1264 PERIMETER PKWY                                                                                            VIRGINIA BEACH           VA           23454
                                              C O MEB COMMERCIAL MANAGEMENT
    VISTA PLAZA INVESTMENTS LLC               GROUP LLC                            1215 E MISSOURI AVE STE A                                                                                      PHOENIX                  AZ           85014
                                              C O PERSONAL TOUCH PROPERTY SERVICES
    VISTA PLAZA INVESTMENTS LLC               INC                                  PO BOX 88033                                                                                                   PHOENIX                  AZ           85080-8033
    VISTA RADIO                                                                    1055 MOOSE FM                               152 HIGHLAND ST UPPER BOX 960                                      HALIBURTON               ON           K0M 1S0      CANADA


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                        Name                                 Attention                                Address 1                           Address 2                               Address 3                    City         State       Zip          Country
    VISTA RADIO LTD                                                                  152 HIGHLAND ST UPPER LEVEL           PO BOX 960                                                         HALIBURTON              ON            K0M 1S0      CANADA
    VISTA RADIO LTD 2DAY FM                                                          2DAY FM                               201 910 FITZGERALD AVE                                             COURTENAY               BC            V9N 2R5      CANADA
    VISTARY USA INC                                                                  3374 STAR PINE CT                                                                                        DULUTH                  GA            30096
    VISUAL DESIGNS INC                                                               2420 VIRGINIA BEACH BLVD              STE 133                                                            VIRGINIA BEACH          VA            23454
    VISUAL HARBOR LLC                                                                911 WESTWIND PL                                                                                          VIRGINIA BEACH          VA            23452
    VISUAL MARKETING GROUP LLC                                                       353 PIERPOINT AVE STE 200                                                                                SALT LAKE CITY          UT            84101-1712
    VISUAL SCIENCES INC OMNITURE                                                     550 E TIMPANOGOS CIR                                                                                     OREM                    UT            84097
    VISUAL STUDIO MAGAZINE                                                           PO BOX 58870                                                                                             BOULDER                 CO            80322-8870
    VITAL REALTY INC                                                                 1987 CEDAR SWAMP RD                                                                                      GLEN HEAD               NY            11545
    VITAL SIGNS                                                                      1915 PARK MANOR BLVD                                                                                     PITTSBURGH              PA            15205
    VITAL SIGNS PROMOTIONS LTD                                                       90 RIVIERA DR                                                                                            MARKHAM                 ONTARIO       L3R 5M1      CANADA
    VITRUE                                                                           500 ORACLE PKWY                                                                                          REDWOOD CITY            CA            94065
    VMY PROPERTIES LLC                        C O 312 MANAGEMENT                     5918 LOVELL AVE                                                                                          FORT WORTH              TX            76107
    VNEG PROPERTY MANAGEMENT LLC                                                     27 EMERALD GLEN                                                                                          LAGUNA NIGUEL           CA            92677
    VO TRANG                                                                         ADDRESS ON FILE
    VOAPPS INC                                                                       5725 BUFORD HYW NE                    STE A 207                                                          ATLANTA                 GA            30340
    VOCUS INC                                                                        PO BOX 17482                                                                                             BALTIMORE               MD            21297-1482
    VOCUS INC                                                                        PO BOX 417215                                                                                            BOSTON                  MA            02241-7215
    VOCUS SOCIAL MEDIA LLC                                                           1729 TELEGRAPH AVE                    3RD FL                                                             OAKLAND                 CA            94612
    VOHRA ENTERPRISES LLC                                                            CRYSTAL CTR                           2506 25TH AVE N STE 1                                              TEXAS CITY              TX            77590
    VOLL PROPERTIES LLC                                                              4512 AUGUSTA NATIONAL DR                                                                                 FLOYDS KNOBS            IN            47119
    VOLUNTEER HAMPTON ROADS                                                          400 W OLNEY RD STE B                                                                                     NORFOLK                 VA            23507
    VONAGE BUSINESS                                                                  3200 WINDY HILL RD                    STE 200 E                                                          ATLANTA                 GA            30339
    VORA FINANCIAL SERVICES LLC               C O SONIA AND NEERAJ VORA              6941 NW 112TH AVE                                                                                        DORAL                   FL            33178
    VOUCHFOR                                                                         200 ADELAIDE ST W                     STE 011                                                            TORONTO                 OC            M5H 1W7      CANADA
    VOYAGERNET                                                                       PO BOX 790352                                                                                            ST LOUIS                MO            63179-0352
    VPC GROUP                                                                        500 N BIRDNECK RD                     STE 200                                                            VIRGINIA BEACH          VA            23451
    VRJ DPB LLC                                                                      2000 S 10TH ST                                                                                           MCALLEN                 TX            78503
    VSC DAWSON LLC                                                                   RICHARD D GUAGLIARDO                  PO BOX 549                                                         CUTHBERT                GA            39840-0549
    VSC FIRE AND SECURITY INC                                                        10343 B KINGS ACRES RD                                                                                   ASHLAND                 VA            23005
    VSD LLC                                                                          4460 CORPORATION LN                   STE 200                                                            VIRGINIA BEACH          VA            23462
    VTAA TIDEWATER CHAPTER                    C O DAVID BAIRD                        1055 LITTLE BAY AVE                                                                                      NORFOLK                 VA            23503
    VTAA VIRGINIA TECH ALUMI ASSOCIATION      PRUDENTIAL MCCARDEL REALTY             4135 IRONBOUND RD                                                                                        VIRGINIA BEACH          VA            23188
    VUKAJ PROPERTIES LLC                                                             PO BOX 40                                                                                                DAVISON                 MI            48423
    VULLINGS LAW GROUP LLC                                                           3953 RIDGE PIKE                       STE 102                                                            COLLEGEVILLE            PA            19426
    W C AND I INC                                                                    3720 NO CLINTON                                                                                          FORT WAYNE              IN            46805
    W C HANDYMAN SERVICES                                                            1341 JEFFERSON ST NW                                                                                     WASHINGTON              DC            20011
    W E WELLER HEATING AND A C                                                       8120 TURNER RD                                                                                           NORFOLK                 VA            23518
    W3GLOBAL INC                                                                     1701 LEGACY DR STE 1000                                                                                  FRISCO                  TX            75034
    W4 LLC                                                                           2644 30TH ST                          STE 100                                                            SANTA MONICA            CA            90405
    W4 LLC                                                                           DEPT LA 23609                                                                                            PASADENA                CA            91185-3609
    WA GROUP INC                                                                     20500 S LAGRANGE RD 3                                                                                    FRANKFORT               IL            60423
    WAAL SECURITY EAST INC                                                           23 BLUMENWEG                                                                                             BLACKSTOCK              ON            L0B 1B0      CANADA
    WADDELL RAPONI                                                                   1002 WHARF ST                                                                                            VICTORIA                BC            V8W 1T4      CANADA
    WADDELL RAPONI LAWYERS                                                           1002 WHARF ST                                                                                            VICTORIA                BC                         CANADA
    WADE POWELL AND ASSOCIATES INC                                                   PEMBROKE FOUR STE 515                 291 INDEPENDENCE BLVD                                              VIRGINIA BEACH          VA            23462
    WADE THOMAS AND ASSOCIATES                                                       700 N COLORADO BLVD STE 181                                                                              DENVER                  CO            80206
    WADSWORTH ALLIANCE CORPORATION                                                   1400 TROUVILLE AVE                                                                                       NORFOLK                 VA            23505-2944
    WADSWORTH ALLIANCE CORPORATION INC DO
    NOT USE                                                                          1400 TROUVILLE AVE                                                                                       NORFOLK                 VA            23505
    WADZITA JEANIN                                                                   ADDRESS ON FILE
    WAFX                                                                             870 GREENBRIER CIR STE 399                                                                               CHESAPEAKE              VA            23320
    WAGEWORKS INC                                                                    PO BOX 45772                                                                                             SAN FRANCISCO           CA            94145-0772
    WAGGS LTD                                                                        24 ONTARIO ST                                                                                            ORILLIA                 ONTARIO       L3V 6H1      CANADA
    WAGNER DIANE                                                                     ADDRESS ON FILE
    WAHOO INC                                                                        1873 S BELLAIRE ST                    STE 1110                                                           DENVER                  CO            80222
    WAIT JUDITH                                                                      ADDRESS ON FILE
    WAKE COUNTY REVENUE DEPARTMENT                                                   PO BOX 580084                                                                                            CHARLOTTE               NC            28258-0084
    WAKEFIELD COURTHOUSE                                                             725 CT ST                                                                                                MARTINEZ                CA            94553
    WAKG                                                                             PO BOX 1629                                                                                              DANVILLE                VA            24543
    WAL MART                                                                         ADDRESS ON FILE
    WALBERG RON                                                                      ADDRESS ON FILE
    WALCORSE LLC                                                                     PO BOX 161150                                                                                            AUSTIN                  TX            78716

    WALDROP LEGAL AND BUSINESS SOLUTIONS PLLC                                        210 ROBERTSON ST                                                                                         WILLIAMSBURG            VA            23185
    WALISER DON                                                                      ADDRESS ON FILE
    WALK SHANNON                                                                     ADDRESS ON FILE
    WALKER AND LABERGE CO INC                                                        7613 SEWELLS POINT RD                                                                                    NORFOLK                 VA            23513
    WALKER TANYA                                                                     ADDRESS ON FILE
    WALKER VERNON                                                                    ADDRESS ON FILE
    WALKERTOWN HOLDINGS LLC                                                          316 WELLING CIR                                                                                          GREENVILLE              SC            29607
    WALL 2 WALL MEDIA                                                                500 401 THE W MALL                                                                                       ETOBICOKE               ON            M9C 5J5      CANADA
    WALL EINHORN AND CHERNITZER                                                      PO BOX 3610                                                                                              NORFOLK                 VA            23514
    WALL ST CAPITAL INFUSION LLC DBA EMPIRE
    CAPITAL                                                                          347 OREGON ST                         STE D                                                              HOLLYWOOD               FL            33019
    WALL STREET JOURNAL                                                              PO BOX 7020                                                                                              CHICOPEE                MA            01021-7020
    WALLA WALLA COUNTY TREASURER                                                     PO BOX 777                                                                                               WALLA WALLA             WA            99362
    WALLACE MEDICAL CONCERN                   ATTN MS MARIA PEREZ                    124 NE 1818ST AVE STE 103                                                                                PORTLAND                OR            97233
    WALLER SHOPS LLC                                                                 12975 SHELBYVILLE RD                  STE 100                                                            LOUISVILLE              KY            40243
    WALLETRON INC                                                                    626 ARDMORE AVE                                                                                          ARDMORE                 PA            19003
    WALLWIN ELECTRIC                                                                 50 INNISFIL ST                                                                                           BARRIE                  ON            L4N 4K5      CANADA
    WALMART STORES INC                                                               1301 SE 10TH ST                                                                                          BENTONVILLE             AR            72716
    WALMART SYNCB                                                                    PO BOX 960024                                                                                            ORLANDO                 FL            32896
    WALNUT AVENUE PARTNERS                                                           106 E 8TH AVE                                                                                            ROME                    GA            30161
    WALNUT AVENUE PARTNERS LLC                                                       106 E 8TH AVE                                                                                            ROME                    GA            30161

    WALNUT CREEK HOLDINGS INC                 DBA FBO LAGUNA VILLAGE INVESTORS LLC   PO BOX 905                                                                                               CONCORD                 CA            94522
    WALNUT HILL WEST LLC                                                             2639 WALNUT HILL LN                   STE 200                                                            DALLAS                  TX            75229
    WALSH MEDIA INC                                                                  2100 CLEARWATER DR                    STE 300                                                            OAK BROOK               IL            60523


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    WALTER EWELL                                                                       ADDRESS ON FILE

    WALTER F HENNE VALLEY SAFETY EQUIPMENT CO DBA VALLEY SAFETY EQUIPMENT CO       PO BOX 258                                                                                                  PIQUA                     OH           45356
    WALTER NEILSON                                                                 ADDRESS ON FILE
    WALTERS MEDIA GROUP                                                            16 CORALWIND                                                                                                ALISO VIEJO               CA           92656-1429
    WALTHER KIRSTEN                                                                ADDRESS ON FILE
    WALTI JUDI                                                                     ADDRESS ON FILE
    WALTON EMC                                                                     PO BOX 1347                                                                                                 MONROE                    GA           30655-1347
    WAPPINGER SHOPPING CENTER LLC                                                  500 5TH AVE 39TH FL                      C O CENTURION REALTY LLC                                           NEW YORK                  NY           10110
    WARD BROS COUNTY LOCKSMITHS                                                    4763 COUNTY RD 2 RR 1                                                                                       PORT HOPE                 ON           L1A 3V5      CANADA
    WARNE RITA S                                                                   ADDRESS ON FILE
    WARP CARTOONS                                                                  2048 BIERCE DR                                                                                              VIRGINIA BEACH            VA           23454
    WARREN AND EKBLAD                                                              ADDRESS ON FILE
    WARREN GLEN WIELANDT                                                           ADDRESS ON FILE
    WARREN NAM                                                                     ADDRESS ON FILE
    WARREN SINCLAIR LLP                                                            FIRST RED DEER PL                        600 4911 51 ST                                                     RED DEER                  AB           T4N 6V4      CANADA
    WARREN TOWLER AS RECEIVER GENERAL                                              STE 210 1140 HOMER ST                                                                                       VANCOUVER                 BC           V6B 2X6      CANADA
    WARWICK MALL                                                                   400 BALD HILL RD STE 100                                                                                    WARWICK                   RI           02886
    WARWICK MALL JOHN T BRENNAN                                                    PO BOX 2513                                                                                                 PROVIDENCE                RI           02906
                                              C O BAKER STOREY MCDONALD PROPERTIES
    WARWICK THORNTON DICKSON LLC              INC                                  3011 ARMORY DR STE 120                                                                                      NASHVILLE                 TN           37204
    WASAGA DISTRIBUTION INC                                                        950 RIVER RD W                           PO BOX 20                                                          WASAGA BEACH              ON           L9Z 1A2      CANADA
    WASHINGTON COUNTY NEWS                                                         PO BOX 609                                                                                                  BRISTOL                   VA           24203
    WASHINGTON COUNTY SERVICE AUTHORITY                                            25122 REGAL DR                           PO BOX 1447                                                        ABINGDON                  VA           24212-1447
    WASHINGTON COUNTY TREASURER PPT                                                1 GOVERNMENT CTR PL                      STE B                                                              ABINGDON                  VA           24210-8484
    WASHINGTON DEPT OF LABOR AND INDUSTRIES                                        PO BOX 24106                                                                                                SEATTLE                   WA           98124-6524
    WASHINGTON DEPT OF REVENUE UNCLAIMED
    PROP                                      UNCLAIMED PROPERTY SECTION           2500 E VALLEY RD STE C                                                                                      RENTON                    WA           98057
    WASHINGTON GAS                                                                 PO BOX 37747                                                                                                PHILADELPHIA              PA           19101-5047
    WASHINGTON GAS                                                                 PO BOX 96502                                                                                                WASHINGTON                DC           20090-6502
    WASHINGTON GRAPHICS INC                                                        9449 151ST AVE NE                                                                                           REDMOND                   WA           98052
    WASHINGTON GT INVESTMENTS                                                      3308 FRIDAY CREEK RD                                                                                        BURLINGTON                WA           98233
    WASHINGTON POST                                                                BACKCOPY DEPT                            1150 15TH ST NW                                                    WASHINGTON                DC           20071
    WASHINGTON PRIME GROUP LP                 C O SIMON PROPERTY GROUP             ATTN DANIEL SEGAL                        225 W WASHINGTON ST                                                INDIANAPOLIS              IN           46204

    WASHINGTON STATE DEPARTMENT OF REVENUE                                             ON LINE
    WASHINGTON STATE DEPT OF REV                                                       PO BOX 47464                                                                                            OLYMPIA                   WA           98504-7464
    WASHINGTON STATE TREASURER                                                         150 ISRAEL RD SW                     DEPT OF FINANCE SECURITIES DIVISION                                TUMWATER                  WA           98501
    WASHINGTON STATE TREASURER                  DEPARTMENT OF FINANCIAL INSTITUTIONS   PO BOX 41200                                                                                            OLYMPIA                   WA           98504-1200
    WASHINGTON TIMES                                                                   3600 NEW YORK AVE NE                                                                                    WASHINGTON                DC           20002
    WASSERMAN MANCINI AND CHANG PC                                                     1915 I ST NW STE 400                                                                                    WASHINGTON                DC           20006
    WASTE INDUSTRIES                                                                   PO BOX 580027                                                                                           CHARLOTTE                 NC           28258-0027
    WASTE INDUSTRIES DO NOT USE                                                        PO BOX 580495                                                                                           CHARLOTTE                 NC           28258-0495
    WASTE MANAGEMENT 13648                      AS PAYMENT AGENT                       PO BOX 13648                                                                                            PHILADELPHIA              PA           19101-3648
    WASTE MANAGEMENT 541065                     AS PAYMENT AGENT                       PO BOX 541065                                                                                           LOS ANGELES               CA           90054-1065
    WASTE MANAGEMENT INC DO NOT USE                                                    3016 YADKIN RD                                                                                          CHESAPEAKE                VA           23323
    WASTE MANAGEMENT LAMP TRACKER INC                                                  PO BOX 9001097                                                                                          LOUISVILLE                KY           40290-1097
    WASTE MANAGEMENT OF COLUMBUS                                                       PO BOX 9001175                                                                                          LOUISVILLE                KY           40290-1175
    WASTE MANAGEMENT OF MI INC                                                         PO BOX 4648                                                                                             CAROL STREAM              IL           60197-4648
    WASTE MANAGEMENT OF VIRGINIA INC                                                   PO BOX 13648                                                                                            PHILADELPHIA              PA           19101-3648
    WASTE MANAGEMENT RECYCLE AMERICA                                                   PO BOX 73356                                                                                            CHICAGO                   IL           60673
    WASTE WATCHERS LLC                                                                 PO BOX 61081                                                                                            N CHARLESTON              SC           29419-1081
    WATER STREET CAPITAL PARTNERS LLC                                                  589 MARTIN LUTHER KING BLVD                                                                             NEWARK                    NJ           07102
    WATER WORKS NEWPORT NEWS                    DEPARTMENT OF PUBLIC UTILITIES         PO BOX 979                                                                                              NEWPORT NEWS              VA           23607-0979
    WATER WORKS SPRINKLER SYSTEM INC                                                   5055 HWY 90                                                                                             PACE                      FL           32571
    WATERBURY ORCHARDS LLC                                                             1801 OAKLAND BLVD STE 310                                                                               WALNUT CREEK              CA           94596-7014
    WATERFIELD PAINTING CO                                                             263 SEDGEFIELD AVE                                                                                      VIRGINIA BEACH            VA           23462
    WATERFORD PLAZA LLC                                                                31731 NORTHWESTERN HWY               STE 250 W                                                          FARMINGTON HILLS          MI           48334
    WATERHOUSE MECHANICAL                                                              17308 106A AVE                                                                                          EDMONTON                  ALBERTA      T5S 1E6      CANADA
    WATERLOO CEDAR FALLS COURIER
    HOMETOWNER                                                                         501 COMMERCIAL ST                    PO BOX 540                                                         WATERLOO                  IA           50704
    WATERMASTER WYANDOTTE CENTER                                                       1160 GOODALE BLVD                                                                                       COLUMBUS                  OH           43212
    WATERS INCORPORATED                                                                301 S MCDOWELL ST                    STE 210                                                            CHARLOTTE                 NC           28204
    WATERS KRISTOPHER                                                                  ADDRESS ON FILE
    WATERTOWN MALL ASSOCIATES LP                ATTN PAT STENSON                       550 ARSENAL ST                                                                                          WATERTOWN                 MA           02472
    WATERWORKS BOARD OF SECTION                                                        PO BOX 1159                                                                                             RAINSVILLE                AL           35986
    WAVF FM                                                                            1964 ASHLEY RIVER RD                                                                                    CHARLESTON                SC           29407
    WAVY TV                                                                            300 WAVY ST                                                                                             PORTSMOUTH                VA           23704
    WAXIES ENTERPRISES LLC DBA WAXIE SANITARY
    SUPPLLY                                                                            PO BOX 748802                                                                                           LOS ANGELES               CA           90074-8802
    WAYLOR INDUSTRIES LTD                                                              PO BOX 591                                                                                              TARRACE                   BC           V8G 4B5      CANADA
    WAYNE NABORS                                                                       ADDRESS ON FILE
    WAYNE ST INVESTMENTS LLC                                                           PO BOX 613                                                                                              PIQUA                     OH           45356-0613
    WAYNEMEDAHSCMANAGEMENT                      HSC MANAGEMENT CORP                    102 GRAMATAN AVE                                                                                        MT VERNON                 NY           10550
    WAYNES WINDOWS                                                                     50 BALMORAL AVE                                                                                         WELLAND                   ON           L3B 1S6      CANADA
    WBA ASSOCIATES                              DBA STAPLETON NORTH TOWN LLC           50 PUBLIC SQUARE STE 700                                                                                CLEVELAND                 OH           44113
    WBBM FM                                                                            22557 NETWORK PL                                                                                        CHICAGO                   IL           60673-1225
    WBCV RADIO                                  RADIO SERVICES                         135 S LASALLE DEPT 2685                                                                                 CHICAGO                   IL           60674-2685
    WBL CALIFORNIA LLC                                                                 3090 BRISTOL ST                      STE 160                                                            COSTA MESA                CA           92626
    WBNS AM FM                                                                         DEPT L 1739                                                                                             COLUMBUS                  OH           43260-1739
    WBQB FM                                                                            PO BOX 269                                                                                              FREDERICKSBURG            VA           22404
    WBTU FM ARTISTIC MEDIA PARTNERS                                                    2100 GOSHEN RD STE 232                                                                                  FT WAYNE                  IN           46808
    WBYR 989 FM                                                                        1005 PRODUCTION RD                   PO BOX 80397                                                       FORT WAYNE                IN           46808
    WBZX FM                                                                            1458 DUBLIN RD                                                                                          COLUMBUS                  OH           43215
    WC SERVICES AND CONTRACTING LLC                                                    3633 RIVERSIDE DR                                                                                       NORFOLK                   VA           23502
    WCFX                                                                               5847 VENTURE WAY                                                                                        MT PLEASANT               MI           48858
    WCKX FM                                                                            PO BOX 641205                                                                                           CINCINNATI                OH           45264-1205
    WCLX FM                                                                            LOCK BOX 60222PO BOX 60222                                                                              CHARLOTTE                 NC           28260-
    WCVQ FM Q 108                                                                      1640 OLD RUSSELLVILLE PIKE                                                                              CLARKSVILLE               TN           37043


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    WCWSR LLC                                   C O WESTBROOK AND ASSOC        701 E CHATHAM ST                                                                                        CARY                    NC            27511
    WD WITH AND ASSOCIATES                                                     760 11012 MACLEOD TRAIL S                                                                               CALGARY                 ALBERTA       T2J 6A5      CANADA
    WDEF TV                                                                    3300 BROAD ST                                                                                           CHATTANOOGA             TN            37408
    WDKX RADIO                                                                 683 E MAIN ST                                                                                           ROCHESTER               NY            14605
    WE ADVANCE NOW INC                                                         776 W BEECH ST                                                                                          LONG BEACH              NY            11561
    WE ARE TITANS                                                              259 GRANBY ST 300                                                                                       NORFOLK                 VA            23510
    WE ENERGIES                                                                PO BOX 6042                                                                                             CAROL STREAM            IL            60197-6042
    WE FINANCE                                                                 PO BOX 20017                                                                                            PERTH                   ON            K7H 3M6      CANADA
    WE FUND CAPITAL INC                                                        1936 E DEERE AVE                     STE 110                                                            SANTA ANA               CA            92705
    WE FUND LLC                                                                95 NEW DORP PLZ                      2ND FL                                                             STATEN ISLAND           NY            10306
    WE LEND YOU LLC                                                            160 NEWPORT CTR DR                                                                                      NEWPORT BEACH           CA            92660
    WE ROTH CONSTRUCTION LTD                                                   STE 203 21 GLADSTONE AVE                                                                                OSHAWA                  ON            L1J 4E3      CANADA
    WEAVER AND TIDWELL LLP                                                     2821 W 7TH ST STE 700                DBA WEAVER                                                         FORT WORTH              TX            76107
    WEAVER REAL ESTATE APPRAISAL                                               25745 SPICER ST                                                                                         SEAFORD                 DE            19973
    WEB BY NUMBERS LLC                                                         40896 BIRDSTONE LN                                                                                      ALDIE                   VA            20105
    WEB SCRIBBLE SOLUTIONS INC                                                 216 RIVER ST STE 200                                                                                    TROY                    NY            12180
    WEB SOLUTIONS TECHNOLOGY                                                   3817 MCCOY DR                        STE 105                                                            AURORA                  IL            60504
    WEBB CINDY                                                                 3009 CAPE HENRY CT                                                                                      VIRGINIA BEACH          VA            23451
    WEBB COMMERCIAL CAPITAL LLC                                                2229 SW 44TH ST                                                                                         CAPE CORAL              FL            33914
    WEBBANK DFS                                                                PO BOX 6403                                                                                             CAROL STREAM            IL            60197
    WEBBANK FINGERHUT                                                          PO BOX 0260                                                                                             ST CLOUD                MN            56395
    WEBBANK FINGERHUT                                                          PO BOX 70281                                                                                            PHILADELPHIA            PA            19176
    WEBBER ENDEAVORS INC                                                       PO BOX 3656                                                                                             BRANDON                 FL            33509-3656
    WEBBER KAREN AND RAY                                                       3317 UMBRELLA TREE DR                                                                                   EDGEWATER               FL            32141
    WEBFILINGS LLC                                                             2625 N LOOP DR STE 2105                                                                                 AMES                    IA            50010
    WEBRECON LLC                                                               2025 E BELTLINE SE                   STE 105                                                            GRAND RAPIDS            MI            49546
    WEBSTER LLC                                                                392 E TREMONT AVE                                                                                       BRONZ                   NY            10457
    WEBTEKS INC                                                                676 INDEPENDENCE PKWY                STE 120                                                            CHESAPEAKE              VA            23320
    WEBTIMECLOCKCOM                                                            4238 CORTE FAVOR                                                                                        SAN DIEGO               CA            92130
    WEBTRENDS                                                                  UNIT 06                              PO BOX 5000                                                        PORTLAND                OR            97208-5000
    WECOMPETE INC DBA WECOMPETE LENDERS                                        102 CHRISTOPHER COLUMBUS DR 1010                                                                        JERSEY CITY             NJ            07302
    WEEMS AND ASSOCIATES                                                       3505 BRAINERD RD STE 6                                                                                  CHATTANOOGA             TN            37411
    WEHMEYER PAMELA                                                            1407 N VETERANS PKWY                 STE 12                                                             BLOOMINGTON             IL            91704
    WEILER MARK                                                                ADDRESS ON FILE
    WEINGARTEN NOSTAT INC                                                      PO BOX 201692                                                                                           HOUSTON                 TX            77216-1692
    WEINGARTEN REALTY                                                          PO BOX 301263                                                                                           DALLAS                  TX            75303-1263
    WEINGARTEN REALTY                           C O WRI GOLDENSTATE LLC        PO BOX 203007                                                                                           HOUSTON                 TX            77216-3007
    WEINGARTEN REALTY INVESTORS                                                PO BOX 200518                                                                                           HOUSTON                 TX            77216
    WEINGARTEN REALTY INVESTORS                                                PO BOX 200518                                                                                           HOUSTON                 TX            77216-0518
    WEINGARTEN REALTY INVESTORS                 DBA WEINGARTEN NOSTAT INC      PO BOX 301074                                                                                           DALLAS                  TX            75303-1074
    WEINGARTEN REALTY INVESTORS                 DBA WRI GOLDEN STATE LLC       PO BOX 301312                                                                                           DALLAS                  TX            75303-1312
    WEINGARTEN REALTY INVESTORS 924133 DO NOT
    USE                                                                        2600 CITADEL PLZ DR STE 125                                                                             HOUSTON                 TX            77008
    WEINHEIMER SCHADEL AND HABER PC                                            602 LAW AND FINANCE BUILDING         429 FOURTH AVE                                                     PITTSBURGH              PA            15219
    WEINSTEIN AND RILEY                                                        2001 WESTERN AVE                     STE 400                                                            SEATTLE                 WA            98121
    WEIR AND PARTNERS LLP                                                      1339 CHESTNUT ST                     STE 500                                    THE WIDENER BUILDING    PHILADELPHIA            PA            19107
    WELCOME WAGON                                                              3761 VICTORIA PARK AVE               UNIT 10                                                            TORONTO                 ON            M1W 3S3      CANADA
    WELDON HUSTON AND KEYSER LLP                                               BANK ONE BUILDING8TH AND 9TH FL                                                                         MANSFIELD               OH            44902-1692
    WELLINGTON ADVERTISER                                                      BOX 252                                                                                                 FERGUS                  ON            N1M 2W8      CANADA
    WELLPORT BROADCASTING                                                      860 FORKS RD W                                                                                          WELLAND                 ON            L3B 5R6      CANADA
    WELLS FARGO                                                                1525 W WT HARRIS BLVD                                                                                   CHARLOTTE               NC            28262
    WELLS FARGO                                 BRITTIANY GARRETT              440 MONTICELLO AVE STE 1100                                                                             NORFOLK                 VA            23510
    WELLS FARGO EQUIPMENT FIN CO 7446                                          PO BOX 7446 STATION A                                                                                   TORONTO                 ON            M5W 3C1      CANADA
    WELLS FARGO SHAREOWNER SERVICES                                            WF 8113                              PO BOX 1450                                                        MINNEAPOLIS             MN            55485-8113

    WELLS FARGO VENDOR FINANCIAL SERVICES LLC                                  PO BOX 030310                                                                                           LOS ANGELES             CA            90030--310

    WELLS FARGO VENDOR FINANCIAL SERVICES LLC                                  PO BOX 3072                                                                                             CEDAR RAPIDS            IA            52406-3072
    WEN DONG                                                                   ADDRESS ON FILE
    WENDY A PROWS                                                              ADDRESS ON FILE
    WENDY LANE                                                                 ADDRESS ON FILE

    WERE PRETTY DAM QUICK DELIVERY SERVICE INC                                 PO BOX 64851                                                                                            ROCHESTER               NY            14624
    WERQ AND WOLB                                                              1705 WHITEHEAD RD                                                                                       BALTIMORE               MD            21207
    WERRES CORPORATION                                                         807 E S ST                                                                                              FREDERICK               MD            21701
    WESBILD SHOPPING CENTERS                                                   1450 JOHNSON ST                                                                                         COQUITLAM               BC            V3E 2T1      CANADA
    WESLEY L KARLSON FAMILY TRUST                                              35 VAN ENGELEN DR                                                                                       BURLEY                  ID            83318
    WESLEY R HOUSE                                                             ADDRESS ON FILE
    WESLEY WATKINS                                                             ADDRESS ON FILE
    WESNER ESQ ARTHUR                                                          ADDRESS ON FILE
    WESR                                                                       PO BOX 460                                                                                              ONLEY                   VA            23418
    WEST BROAD BUILDING LLC                                                    4200 ROCKSIDE RD STE 208             ATTN PETER MCCABE                                                  INDEPENDENCE            OH            44131
    WEST CENTRAL FLORIDA OIL CO                                                PO BOX 1721                                                                                             TARPON SPRINGS          FL            34688
    WEST CORPORATION                           DBA WEST LLC                    11808 MIRACLE HILLS DR                                                                                  OMAHA                   NE            68154
    WEST EDMONTON MALL                                                         STE 1755 8882 170 ST                                                                                    EDMONTON                AB            T5T 4J2      CANADA
    WEST FARGO PIONEER                                                         PO BOX 457                                                                                              WEST FRAGO              ND            57078-0457
    WEST FERRIS INTERMEDIATE AND SECONDARY
    SCHOOL                                                                     60 MARSHALL PARK DR                                                                                     NORTH BAY               ON            P1A 2P2      CANADA
    WEST HEALTH ADVOCATE SOLUTIONS INC                                         PO BOX 200603                                                                                           DALLAS                  TX            75320-0603
    WEST KERR CURRENT                                                          107A HWY 39                                                                                             INGRAM                  TX            78025
    WEST MAIN PARTNERS                                                         PO BOX 58055                                                                                            NASHVILLE               TN            37205
    WEST MARKET SHOPPING CENTER LLC                                            1074 W SANTA FE                                                                                         OLATHE                  KS            66061
    WEST MICHIGAN MAINTENANCE SERVICES LLC                                     1805 PORTER ST SW                    DBA GRAND RAPIDS GLASS LLC                                         WOMING                  MI            49519
    WEST NIPISSING FOOD BANK                                                   109 THIRD ST UNIT 3                                                                                     SURGEON FALLS           ON            P2B 3A7      CANADA
    WEST NORTH HOLDINGS INC                    DBA DIAMOND SPRINGS RVA LLC     PO BOX 38668                                                                                            RICHMOND                VA            23231
    WEST PALM PLAZA INC                                                        8165 NW 155 ST                                                                                          MIAMI LAKES             FL            33016
    WEST VA STATE TAX DEPARTMENT               TAX ACCOUNTING ADMIN DIVISION   PO BOX 2666                                                                                             CHARLESTON              WV            25330
    WEST VALLEY PLAZA WEST LLC                                                 DEPT 771818                          PO BOX 77000                                                       DETROIT                 MI            48277-1818
    WEST VIRGINIA RADIO CORP OF CHARLESTON                                     1111 VIRGINIA ST E                                                                                      CHARLESTON              WV            25301


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                        Name                                    Attention                            Address 1                                 Address 2                             Address 3                      City        State         Zip          Country
    WEST VIRGINIA STATE TAX DEPT                                                     PO BOX 11425                                                                                                CHARLESTON                WV             25339
    WEST VIRGINIA STATE TREASURY                                                     W VIRGINIA OFFICE OF STATE TREASURER   UNCLAIMED PROPERTY DIVISION                322 70TH ST               CHARLESTON                WV             25304
    WESTAFF CA INC                            ATTN LEGAL DEPARTMENT                  PO BOX 9280                                                                                                 WALNUT CREEK              CA             94598
    WESTAR                                                                           1011 J KRAMER BLVD                                                                                          REGINA                    SK             S4S 5W4      CANADA
    WESTAR                                                                           PO BOX 758500                                                                                               TAPEKA                    KS             66675-8500
    WESTBROOK AND ASSOCIATES                                                         701 E CHATHAM ST STE 201                                                                                    CARY                      NC             27511
    WESTCOAST PHONEMAN                                                               1210 SUNNYSIDE                                                                                              GIBSONS                   BC             V0N 1V3      CANADA
    WESTECH CONSULTING LIMITED                                                       4569 MARINEVIEW CRES                                                                                        NORTH VANCOUVER           BC             V7R 3P3      CANADA
    WESTERN ASSOCIATES INC                                                           124 E MAIN                             PO BOX 297                                                           MARION                    KS             66861-0297
    WESTERN CPE LLC                                                                  243 PEGASUS DR                                                                                              BOZEMAN                   MT             59718
                                              C O CBC ADVISORS INC DBA FIVE POINTS
    WESTERN MANAGEMENT CO                     PLAZA                                  PO BOX 712139                                                                                               COTTONWOOD                UT             84171-2139
    WESTERN MEDIA GROUP SALES CO INC                                                 1682 W 7TH AVE                         STE 210                                                              VANCOUVER                 BC             V6J 4S6      CANADA
    WESTERN NEW YORK DATA CABLING LLC                                                73 RED OAK DR                                                                                               WILLIAMSVILLE             NY             14221
    WESTERN OFFICE PRODUCTS                   DBA OFFICE WORKS DBA TNN IMAGING       15401 ANACAPA RD                                                                                            VICTORVILLE               CA             92392
    WESTERN RESERVE REALTY GROUP INC                                                 PO BOX 458                                                                                                  GIRARD                    OH             44420
    WESTERN UNION                                                                    PO BOX 60524                                                                                                CITY OF INDUSTRY          CA             91716-0524
    WESTERN UNION FINANCIAL SERVICES          FIRST DATA PROPERTIES FIN DEPT         12500 E BELFORD AVE M 16 S                                                                                  ENGLEWOOD                 CO             80112
    WESTERN UPSTATE REALTY INC                                                       685 B HWY 123                                                                                               SENECA                    SC             29678
    WESTERN WHEEL                                                                    BOX 150                                                                                                     OKOTOKS                   AB             T1S 2A2      CANADA
    WESTFIELD MALL                            ATTN BRENDA SANDERS                    1350 TRANS BLVD                                                                                             FAIRFIELD                 CA             94533
    WESTFIELD PROPERTY MANAGEMENT LLC                                                PO BOX 57187                                                                                                LOS ANGELES               CA             90074-7187
    WESTGATE BROCKTON MALL MEMBER LLC         DBA KILLEEN MALL LLC                   124 JOHNSON FERRY RD NE                                                                                     ATLANTA                   GA             30328
                                              JDP MANAGEMENT LLC ATTN SHELLY
    WESTGATE ENTERPRISES LLC                  MENDELSON                              2440 W STADIUM BLVD                                                                                         ANN ARBOR                 MI             48103
    WESTGATE LAW                                                                     15760 VENTURA BLVD                     STE 880                                                              ENDINO                    CA             91436-3018
    WESTGUARD INSURANCE COMPANY                                                      PO BOX 785570                                                                                               PHILADELPHIA              PA             19178-5570
    WESTKEY GRAPHICS LTD                                                             8315 RIVERBEND CT                                                                                           BUMABY                    BC             V3N 5E7      CANADA
    WESTLAKE ASSOCIATES INC                                                          2810 EASTLAKE AVE E                                                                                         SEATTLE                   WA             98102
    WESTLAND SQUARE ASSOCIATES LTD                                                   31100 PINETREE RD                                                                                           PEPPER PIKE               OH             44124
    WESTMAN COMMUNICATIONS                                                           1906 PARK AVE                                                                                               BRANDON                   MB             R7B 0R9      CANADA
    WESTMINSTER EDUCATION                                                            320 ROYAL AVE                          STE 1702                                                             NEW WESTMINSTER           BC             V3L 5C6      CANADA
    WESTON COMPANIES                                                                 PO BOX 17847                                                                                                MEMPHIS                   TN             38187-0847
    WESTON RANCH STERLING PROPERTIES LLC                                             73 700 DIANH SHORE DR                  STE 401                                                              PALM DESERT               CA             92211
    WESTON RANCH STERLING PROPERTIES LLC                                             73 700 DINAH SHORE DR                  STE 401                                                              PALM DESERT               CA             92211
    WESTRIDGE PROPERTIES INC                                                         610 CLOVER HILL RD                                                                                          SOMERSET                  PA             15501
    WESTSOUND PLAZA LLC                                                              9204 UTAH ST NE                                                                                             BREMERTON                 WA             98311
    WESTWOOD FINANCIAL CORPORATION                                                   11440 SAN VICENTE BLVD                 STE 200                                                              LOS ANGELES               CA             90049
    WESTWOOD HOLDINGS LLC                     C O OMNE PARTNERS                      13340 CALIFORNIA ST STE 100                                                                                 OMAHA                     NE             68154
    WEX HEALTH INC                            DBA WEX                                4321 20TH AVE S                                                                                             FARGO                     ND             58103
    WFLS                                                                             616 AMELIA ST                                                                                               FREDERICKSBURG            VA             22401
    WFMS LICO INC                                                                    6810 N SHADELAND AVE                                                                                        INDIANAPOLIS              IN             46220
    WGH RADIO                                                                        5589 GREENWICH RD                      200                                                                  VIRGINIA BEACH            VA             23462
    WGM RE NC LLC                                                                    PO BOX 188                                                                                                  MARLETTE                  MI             48453
    WGME INC DBA WGME TV                                                             81 NORTHPORT DR                                                                                             PORTLAND                  ME             04103
    WGNT UPN 27                                                                      PO BOX 905880                                                                                               CHARLOTTE                 NC             28290
    WH NORMANDY CREEK LP                                                             6502 SLIDE RD                          STE 200                                                              LUBBOCK                   TX             79424
    WHEATEN FINANCIAL INC                                                            130 MCCORMICK AVE                      STE 103                                                              COSTA MESA                CA             92626
    WHEATLAND MALL                                                                   1150 CENTRAL AVE N                                                                                          SWIFT CURRENT             SASKATCHEWAN   S9H 4C8      CANADA
    WHEATLAND WATERS INC                      DBA CULLIGAN OF GREATER KANSAS CITY    PO BOX 2170                                                                                                 OLATHE                    KS             66051-2170
    WHEELER PROPERTIES INC                                                           1130 38TH AVE                          STE B                                                                GREELEY                   CO             80634

    WHEELS FINANCIAL GROUP LLC DBA LOANMART                                          PO BOX 845788                                                                                               LOS ANGELES               CA             90084
    WHEREOWARE LLC                                                                   505 HUNTMAR PARK DR 200                                                                                     HERNDON                   VA             20170
    WHICHFRANCHISEORG                                                                1000 PARKVIEW DR                       UNIT 720                                                             HALLANDALE BEACH          FL             33009
    WHISPER CONCERTS INC                                                             3212 STAPLEFORD CHASE                                                                                       VIRGINIA BEACH            VA             23452
    WHISPER WALLS OF VA LTD                                                          3616 MILL BRIDGE WAY                                                                                        CHESAPEAKE                VA             23323
    WHITAKERS HOLDINGS LLC                                                           420 HWY 15 501                                                                                              CHARTHAGE                 NC             28327
    WHITBY HYDRO ELECTRIC CORPORATION                                                100 TAUNTON RD E                       POBOX 59                                                             WHITBY                    ON             L1N 5R8      CANADA
    WHITE BEAR SERVICES                                                              PO BOX 1303                                                                                                 DUBUQUE                   IA             52004-1303
    WHITE DIRECTORY PUBLISHERS INC                                                   1945 SHERIDAN DR                                                                                            BUFFALO                   NY             14223
    WHITE ELECTRIC COMPANY                                                           117 BUTTERNUT LN                                                                                            VIRGINIA BEACH            VA             23452
    WHITE ERIKA AND ANTOINE                                                          ADDRESS ON FILE
    WHITE GLOVE WINDOW CLEANING               C O DAVID LEBEL                        6 ST LAWRENCE PL                                                                                            COBOURG                   ON             K9A 4G8      CANADA
    WHITE RIVER FIRST NATION                                                         17 A B RAINBOW RIDGE RD                                                                                     BIRCH ISLAND              ON             P0P 1A0      CANADA
    WHITE SARAH                                                                      ADDRESS ON FILE
    WHITE SPUNNER AND ASSOCIATES INC                                                 DEPT 5086                              PO BOX 331                                                           MOBILE                    AL             36601-0331
    WHITE STEVE                                                                      ADDRESS ON FILE
    WHITE STONE CONTRACTING LLC                                                      511 REDDICK RD                                                                                              NEWPORT NEWS              VA             23608
    WHITEHEAD DON                                                                    ADDRESS ON FILE
    WHITEHEAD LAND LLC                                                               8021 LIBERTY RD                                                                                             BALTIMORE                 MD             21244
    WHITEHEAD THOMAS                                                                 ADDRESS ON FILE
    WHITEHURST JOYCE AND WENDELL                                                     ADDRESS ON FILE
    WHITEHURST LINDA                                                                 ADDRESS ON FILE
    WHITEWAY CONSTRUCTION INC                                                        94 STANELY AVE                                                                                              KITCHENER                 ONTARIO        N2K 3V9      CANADA
    WHITEWOOD TAX SOLUTIONS LLC                                                      1231 GATEWAY CENTRE CROSSING                                                                                RICHMOND                  VA             23225
    WHITFIELD COUNTY TAX COMMISSIONER                                                1013 RIVERBURCH PKWY                                                                                        DALTON                    GA             30721
    WHITLOCK GROUP                                                                   230 CLEARFIELD AVE                     STE 103                                                              VIRGINIA BEACH            VA             23462
    WHITMORE RICHARD                                                                 ADDRESS ON FILE
    WHITNEY KIM                                                                      ADDRESS ON FILE
    WHITTAKER NORTHWEST PARTNERS 1                                                   1600 VALLEY RIVER DR 160                                                                                    EUGENE                    OR             97401
    WHITTIER VALERIE                                                                 ADDRESS ON FILE
    WHITTLESEY MCDOWELL AND RIGA                                                     46 W MAIN ST                           PO BOX 127                                                           MAPLE SHADE               NJ             08052
    WHLR JANAF LLC                                                                   2529 VIRGINIA BEACH BLVD                                                                                    VIRGINIA BEACH            VA             23452
    WHOLESALE CHESS                                                                  393 W IRONWOOD DR                                                                                           SALT LAKE CITY            UT             84115
    WHORTON PHILIP                                                                   ADDRESS ON FILE
    WHYTE HIRSCHBOECK DUDEK SC                                                       555 E WELLS ST                         STE 1900                                                             MILWAUKEE                 WI             53202-3819
    WICK PUBLICATIONS                                                                PO BOX 12861                                                                                                GRAND FORKS               ND             58208-2861
    WICKFIRE LLC                                                                     2028 E BEN WHITE BLVD                  STE 240 73367                                                        AUSTIN                    TX             78741


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                         Name                                   Attention                       Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    WIDERFUNNEL MARKETING INC                                                  409 GRANVILLE ST STE 551                                                                                  VANCOUVER               BC           V6C 1T2      CANADA
    WIDEWATERS GROUP                           ATTN ACCOUNTS RECEIVABLE        PO BOX 3                                                                                                  DEWITT                  NY           13214-0003
    WIEL AM                                    COMMONWEALTH BROADCASTING INC   406 S MULBERRY                                                                                            ELIZABETHTOWN           KY           42701
    WIERCINSKI DEBBIE                                                          ADDRESS ON FILE
    WIGGIN AND DANA LLP                        ATTN A R                        PO BOX 1832                                                                                               NEW HAVEN               CT           06508-1832
    WILBUR S LAKE                                                              ADDRESS ON FILE
    WILCOX LISA                                                                ADDRESS ON FILE
    WILD WINGS PROPERTY                                                        2916 COVERT AVE STE B                                                                                     EVANSVILLE              IN           47714
    WILEN GROUP                                                                5 WELLWOOD AVE                                                                                            FARMINGTON              NY           11735
    WILHELMI CONSULTING GROUP LLC                                              25 N RIVER LN 1492                                                                                        GENEVA                  IL           60134
    WILKES BROADCASTING                        C O BANK OF AMERICA             PO BOX 504470                                                                                             ST LOUIS                MO           63150
    WILL L SANIO DBA SCF FUNDING                                               2657 REGENCY DR W                                                                                         TUCKER                  GA           30084
    WILLCOX AND SAVAGE                                                         ADDRESS ON FILE
    WILLIAM B DANIELS JR                                                       ADDRESS ON FILE
    WILLIAM C PRUNESTI DBA WCP FINANCIAL LLC                                   10618 GLENDWILD RD                                                                                        SILVER SPRING           MD           20901
    WILLIAM CADE                                                               ADDRESS ON FILE
    WILLIAM CRAIG ONEAL                                                        ADDRESS ON FILE
    WILLIAM D SUMMERS                                                          ADDRESS ON FILE
    WILLIAM E NEAL ELECTRIC                                                    2508 MEIGGS RD                                                                                            CHESAPEAKE              VA           23323
    WILLIAM E WOOD AND ASSOCIATES              ATTN STEPHANIE CARLOCK          800 NEWTOWN RD                                                                                            VIRGINIA BEACH          VA           23462

    WILLIAM E WOOD AND ASSOCIATES FOUNDATION                                   222 MUSTANG TRAIL                                                                                         VIRGINIA BEACH          VA           23452
    WILLIAM E WOODS ASSOCIATES                 ATTN JADE SANDOW                400 NEWTOWN RD                                                                                            VIRGINIA BEACH          VA           23462
    WILLIAM EDWARD HODGES                                                      ADDRESS ON FILE
    WILLIAM EDWARD MEMORY JR                                                   ADDRESS ON FILE
    WILLIAM H DELP III                                                         ADDRESS ON FILE
    WILLIAM H JOHNSON                                                          ADDRESS ON FILE
    WILLIAM H SMITH JR                                                         ADDRESS ON FILE
    WILLIAM HALL                                                               ADDRESS ON FILE
    WILLIAM IDE                                                                ADDRESS ON FILE
    WILLIAM JOHNSON                                                            ADDRESS ON FILE
    WILLIAM JUSTIN                                                             ADDRESS ON FILE
    WILLIAM L MANDELBAUM                                                       ADDRESS ON FILE
    WILLIAM P ROGOWSKI RECEIVER OF TX                                          ADDRESS ON FILE
    WILLIAM ROBERT DEVINNEY                                                    ADDRESS ON FILE
    WILLIAM ROBERT HALL DBA HALL ASSOCIATES
    CONSULTING                                                                 15075 LINDENBERRY LN                                                                                      DUMFRIES                VA           22025
    WILLIAM ROCHEFORT                                                          ADDRESS ON FILE
    WILLIAM STRETLOW                                                           ADDRESS ON FILE
    WILLIAM VAN DIEPEN                                                         ADDRESS ON FILE
    WILLIAM WRIGHT                                                             ADDRESS ON FILE
    WILLIAMS AND CONNOLLY LLP                                                  725 12TH ST NW                                                                                            WASHINGTON              DC           20005
    WILLIAMS AND WILLIAMS                                                      1612 NE EXPRESSWAY                                                                                        ATLANTA                 GA           30329
    WILLIAMS CHAS                                                              ADDRESS ON FILE
    WILLIAMS DONALD AND DAWN                                                   ADDRESS ON FILE
    WILLIAMS ERIC                                                              ADDRESS ON FILE
    WILLIAMS MICHAEL                                                           ADDRESS ON FILE
    WILLIAMS MULLEN                                                            ADDRESS ON FILE
    WILLIAMS SCOTSMAN INC CHESAPEAKE                                           800 PROFESSIONAL PL W                                                                                     CHESAPEAKE              VA           23320
    WILLIAMS SCOTSMAN INC CHICAGO                                              PO BOX 91975                                                                                              CHICAGO                 IL           60693-1975
    WILLIAMS STEVE                                                             ADDRESS ON FILE
    WILLIAMSON ELECTRIC                                                        1035 MEDWAY PARK DR                                                                                       LONDON                  ON           N6G 0E4      CANADA
    WILLIE REX ANDERS                                                          ADDRESS ON FILE
    WILLIS BRENT                                                               ADDRESS ON FILE
    WILLIS WILLIAM                                                             ADDRESS ON FILE
    WILLKIE FARR AND GALLAGHER LLP                                             787 SEVENTH AVE                        38TH FL                                                            NEW YORK                NY           10019-6099
    WILLKIE FARR AND GALLAGHER LLP                                             787 SEVENTH AVE                                                                                           NEW YORK                NY           10019
    WILLOW BEND TOWNE CENTRE LTD                                               5300 W CYPRESS ST                      STE 200                                                            TAMPA                   FL           33607
    WILLOW GROVE CENTER LLC                                                    1616 17TH ST STE 562                                                                                      DENVER                  CO           80202
    WILLOW VALLEY ASSOCIATES INC               ATTN PAT LA STELLA              200 WILLOW VALLEY SQUARE                                                                                  LANCASTER               PA           17602
    WILMINGTON PAINTING INC                                                    515 MCEACHERN CT                                                                                          WILMINGTON              NC           28412
    WILSHIRE CENTER                                                            607 S HILL ST                          STE 702                                                            LOS ANGELES             CA           90014
    WILSHIRE CONSUMER CREDIT                                                   PO BOX 849083                                                                                             LOS ANGELES             CA           90084
    WILSON COUNTY                              JIM MAJOR TRUSTEE               PO BOX 865                                                                                                LEBANON                 TN           37088
    WILSON ELSER MOSKOWITZ EDELMAN AND
    DICKER LLP                                 ACCOUNTING DEPARTMENT           150 E 42ND ST                                                                                             NEW YORK                NY           10017-5639
    WILSON HANDYMAN AND CLEANING SERVICE                                       5546 ABILENE RD                                                                                           FARMVILLE               VA           23901
    WILSON STACY                                                               ADDRESS ON FILE
    WIMBUSH CRYSTAL                                                            5217 ROUNDSTONE WAY 307                                                                                   CHARLOTTE               NC           28216
    WINCHESTER REAL ESTATE                                                     800 CTR ST                                                                                                ESPANOLA                ONTARIO      P5E 1J3      CANADA
    WINDHAM PROFESSIONALS INC                                                  382 MAIN ST                                                                                               SALEM                   NH           03079-2412
    WINDHAM PROFESSIONALS INC                                                  384 MAIN ST                                                                                               SALEM                   NH           03079
    WINDHAM REVENUE DEPARTMENT                                                 PO BOX 195                                                                                                WILLIMANTIC             CT           06226-0195
    WINDHAM RT 32 ASSOCIATES LLC                                               PO BOX 476                                                                                                STRORRS                 CT           06268
    WINDMILL HILL LLC                                                          DEPT 401                               PO BOX 220                                                         BETTENDORF              IA           52722-0004
    WINDSOR ESSEX COUNTY PENNYSAVER                                            4525 RHODES DR                         UNIT 400                                                           WINDSOR                 ON           N8W 5R8      CANADA
    WINDSOR ESSEX FOOD BANK ASSOCIATION                                        6955 CANTELON DR                                                                                          WINDSOR                 ON           N8T 3J9      CANADA
    WINDSOR FAMILY CREDIT UNION                                                3290 JEFFERSON BLVD STE 201                                                                               WINDSOR                 ON           N8T 2W8      CANADA
    WINDSOR POLICE SERVICES                    ALARM DIVISION                  PO BOX 60                                                                                                 WINDSOR                 ON           N9A 6J5      CANADA
    WINDSOR RACEWAY                                                            5555 OJIBWAY PKWY                                                                                         WINDSOR                 ON           N9A 6P6      CANADA
    WINDSOR SPITFIRES INC                                                      334 WYANDOTTE ST E                                                                                        WINDSOR                 ON           N9A 3H6      CANADA
    WINDSTREAM 9001908                                                         PO BOX 9001908                                                                                            LOUISVILLE              KY           40290-1908
    WINDSTREAM COMMUNICATIONS                                                  PO BOX 9001908                                                                                            LOUISVILLE              KY           40290-1908
    WINDWARD PROMENADE LLC                                                     3350 RIVERWOOD PKWY SE                 STE 450                                                            ATLANTA                 GA           30339
    WINE AND DINE EVENTS GROUP                                                 PO BOX 204                                                                                                ST HELENA               CA           94574
    WING HING METAL WORKS                                                      63 SILVER STAR BLVD                    UNIT 1B                                                            SCARBOROUGH             ON           M1V 5E5      CANADA
    WINMAR                                                                     6 MCKENZIE LN                                                                                             MOOSE JAW               SK           S6J 1M7      CANADA
    WINNIPEG FREE PRESS                                                        1355 MOUNTAIN AVE                                                                                         WINNIPEG                MB           R2X 3B6      CANADA
    WINNIPEG HUMANE SOCIETY                                                    45 HURST WAY                                                                                              WINNIPEG                MB           R3T 0R3      CANADA


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    WINNIPEG JETS HOCKEY CLUB                                                       2ND FL 345 GRAHAM AVE                                                                                        WINNIPEG                MB            R3C 5S6      CANADA
    WINNIPEG OMG                                                                    BOX 2454                                                                                                     LLOYDMINSTER            SK            S9V 1W5      CANADA
    WINNIPEG SYMPHONY ORCHESTRA                                                     2110 ONE LOMBARD PL                                                                                          WINNIPEG                MB            R3B 0X3      CANADA
    WINNIPEG WATER AND WASTE DEPARTMENT        WATER AND WASTE DEPARTMENT           510 MAIN ST                                                                                                  WINNIPEG                MANITOGA      R3B 3M1      CANADA
    WINPARK DORCHESTER PROPERTIES                                                   585 RIVER AVE                                                                                                WINNIPEG                MB            R3L 2S9      CANADA
    WINTERBERRIES DECORATING CONCEPTS                                               6436 MARMOT RD                                                                                               SECHELT                 BC                         CANADA
    WIRED SECURITY INCORPORATED                                                     2549 EASTBLUFF DR 197                                                                                        NEWPORT BEACH           CA            92660
    WIRTJES KATHLEEN                                                                ADDRESS ON FILE
    WISAL BABAR                                                                     ADDRESS ON FILE
    WISCONSIN DEPARTMENT OF REVENUE                                                 PO BOX 3028                                                                                                  MILWAUKEE               WI            53201-3028
    WISCONSIN DEPARTMENT OF REVENUE                                                 PO BOX 930208                                                                                                MILWAUKEE               WI            53293-0208

    WISCONSIN DEPARTMENT OF REVENUE INACTIVE                                        PO BOX 8960                                                                                                  MADISON                 WI            53708-8960
    WISCONSIN DEPT OF FINANCIAL INSTITUTIONS                                        4822 MADISON YARDS 4TH FL N                                                                                  MADISON                 WI            53705

    WISCONSIN DEPT OF WORKFORCE DEVELOPMENT                                         PO BOX 7945                                                                                                  MADISON                 WI            53707
                                                                                                                                                                     ATTN EDUCATIONAL APPROVAL
    WISCONSIN EDUCATIONAL APPROVAL BOARD                                            4822 MADISON YARDS WAY                3RD FL                                     PROGRAM                     MADISON                 WI            53705
    WISCONSIN STATE TREASURY UNCLAIMED
    PROPERTY                                   OFFICE OF STATE TREASURER            UNCLAIMED PROPERTY UNIT               1 S PICKNEY ST 360                                                     MADISON                 WI            53703
                                               DEPARTMENT OF WORKFORCE
    WISCONSIN UNEMPLYMENT INS                  DEVELOPMEMT                          UNEMPLYMENT INSURANCE DIVISION        PO BOX 8914                                                            MADISON                 WI            53708
    WITHLACOOCHEE RIVER ELECTRIC                                                    BAYONET POINT HUDSON                  6840 STATE RD 52                                                       HUDSON                  FL            34667
    WITHLACOOCHEE RIVER ELECTRIC                                                    PO BOX 100                                                                                                   DADE CITY               FL            33526-0100
    WITMAN PROPERTIES INC                                                           26 CAMDEN ST                                                                                                 SOUTH HADLEY            MA            01075
    WITMER COLLETTE                                                                 ADDRESS ON FILE
    WJF ENTERPRISES LTD                        DBA SIGNATURE FLOORS AND INTERIORS   4555 EXCEL PKWY STE 700                                                                                      ADDISON                 TX            75001
    WJMZ FM                                                                         222 N MAIN ST                         STE 402                                                                GREENVILLE              SC            29601
    WJNT NEWS TALK RADIO                                                            PO BOX 1248                                                                                                  JACKSON                 MS            39215
    WJTT FM                                                                         409 CHESTNUT ST                       STE A 154                                                              CHATTANOOGA             TN            37402
    WKBX FM                                    RADIO KINGS BAY INC                  PO BOX 2525                                                                                                  KINGSLAND               GA            31548-2525
    WKHX FM WYAY FM WDWD                       ATTN CHERYL C KIEWIT                 210 INTERSTATE N STE 100                                                                                     ATLANTA                 GA            30339
    WKLC INC                                   DBA WKLC FM                          100 KANAWHA TERRACE                                                                                          ST ALBANS               WV            25177
    WKMO FM                                    COMMONWEALTH BROADCASTING INC        406 S MULBERRY                                                                                               ELIZABETHTOWN           KY            42701
    WKMY                                       MID MICHIGAN RADIO GROUP             2495 N CEDAR ST                                                                                              HOLT                    MI            48842
    WKOC 937 FM                                                                     500 DOMINION TOWER                    999 WATERSIDE DR                                                       NORFOLK                 VA            23510
    WKPT AM KINGSPORT TN                                                            PO BOX 1971                           222 COMMERCE ST                                                        KINGSPORT               TN            37660
    WLKI FM                                                                         PO BOX 999                                                                                                   ANGOLA                  IN            46703
    WLVY RADIO                                                                      1705 LAKE ST                                                                                                 ELMIRA                  NY            14901
    WM CHARLES EALY AND CO                                                          2585 W HOLT RD                                                                                               MASON                   MI            48854
    WM CORPORATE SERVICES INC 4648             AS PAYMENT AGENT                     PO BOX 4648                                                                                                  CAROL STREAM            IL            60197-4648
    WM GRACE DEVELOPMENT CO                                                         7575 N 16TH ST STE 1                                                                                         PHOENIX                 AZ            85020-4689
    WM RECYCLE AMERICA                                                              PO BOX 73356                                                                                                 CHICAGO                 IL            60673-7356
    WNCI RADIO                                                                      2323 W FIFTH AVE                                                                                             COLUMBUS                OH            43204
    WNIS 790AM 999 WATERSIDE                                                        500 DOMINION TOWER                    999 WATERSIDE DR                                                       NORFOLK                 VA            23510
    WNKI                                       C O CHEMUNG CO RADIO INC             2205 COLLEGE AVE                                                                                             ELMIRA                  NY            14903
    WNNC RADIO                                                                      PO BOX 940                                                                                                   NEWTON                  NC            28658
    WNOR RADIO                                                                      870 GREENBRIER CIR STE 399                                                                                   CHESAPEAKE              VA            23320
    WOKN FM 995                                                                     1705 LAKE ST                                                                                                 ELMIRA                  NY            14901
    WOLCOTT RIVERS GATES                                                            ADDRESS ON FILE
    WOLFF BRAD                                                                      ADDRESS ON FILE
    WOLFF OWEN AND HEATHER                                                          ADDRESS ON FILE
    WOLFINGBARGER TRACY E                                                           ADDRESS ON FILE
    WOLFPACK TAX INC                                                                5321 SADDLEWOOD LN                                                                                           CHARLOTTE               NC            28227
    WOLFSON CASH                                                                    7704 MICHAEL CT                                                                                              MCKINNEY                TX            75071
    WOLVES SOCCER CLUB                                                              11319 105 ST                                                                                                 GRAND PRAIRIE           AB            T8V 7P1      CANADA
    WOMADZ LLC                                                                      222 S CHURCH ST                                                                                              CHARLOTTE               NC            28202
    WOMBLE BOND DICKINSON LLP                                                       ONE W FOURTH ST                                                                                              WINSTON SALEM           NC            27101
    WON G CHU                                                                       ADDRESS ON FILE
    WONDERLIC INC                                                                   400 LAKEVIEW PKWY                     STE 200                                                                VERNON HILLS            IL            60061
    WOOD CLIFTON                                                                    ADDRESS ON FILE
    WOOD JENNIFER                                                                   ADDRESS ON FILE
    WOOD SMITH HENNING AND BERMAN LLP                                               2525 E CAMELBACK RD                   STE 450                                                                PHOENIX                 AZ            85016
    WOODHOUSE GROUP                                                                 2 207 MADISON AVE S                                                                                          KITCHENER               ON            N2G 3M7      CANADA
    WOODLIEF GLENN                                                                  ADDRESS ON FILE
    WOODRUFF ROEBUCK WATER DISTRICT                                                 PO BOX 182                                                                                                   WOODRUFF                SC            29388
    WOODS ROGERS VANDEVENTER BLACK PLC                                              101 W MAIN ST                         STE 500                                                                NORFOLK                 VA            23510
    WOODSON ELECTRIC LLC                                                            3707 VA BEACH BLVD                    STE 208                                                                VIRGINIA BEACH          VA            23452
    WOODWARD HOBSON AND FULTON LLP                                                  2500 NATIONAL CITY TOWER                                                                                     LOUISVILLE              KY            40202-3175
    WOOLFSTON AND WOOLFSTON IN TRUST                                                1000 FINCH AVE W                                                                                             TORONTO                 ON            M3J 2V5      CANADA
    WORKER TRAINING FUND                                                            PO BOX 6285                                                                                                  INDIANAPOLIS            IN            46206
    WORKFLOWONE                                                                     3701 E VA BEACH BLVD                                                                                         NORFOLK                 VA            23502
    WORKFRONT INC                                                                   3301 N THANKSGIVING WAY               STE 100                                                                LEHI                    UT            84043
    WORKING MOTHER MEDIA                                                            2 PARK AVE                                                                                                   NEW YORK                NY            10016
    WORKIVA INC                                                                     2900 UNIVERSITY BLVD                                                                                         AMES                    IA            50010
    WORKIVA LLC                                                                     2900 UNIVERSITY BLVD                                                                                         AMES                    IA            50010
    WORKMAN NYDEGGER                                                                1000 EAGLE GATE TOWER                 60 E S TEMPLE                                                          SALT LAKE CITY          UT            84111
    WORKPLACE INTERIORS LLC                                                         400 PACKETTS LANDING                                                                                         FAIRPORT                NY            14450
    WORKPLACE SAFETY AND INSURANCE BOARD                                            PO BOX 4115                           STATION A                                                              TORONTO                 ON            M5W 2V3      CANADA
    WORKWAY                                                                         105 DECKER CT                         STE 560                                                                IRVING                  TX            75062
    WORLD BUSINESS LENDERS LLC                                                      120 W 45TH ST                         29TH FL                                                                NEW YORK                NY            10036
    WORLD CLASS EXHIBIT                                                             515 TUNSTALL AVE                                                                                             BLACKSTONE              VA            23824
    WORLD OF WATER                                                                  722 18TH ST                                                                                                  BRANDON                 MB            R7A 5B5      CANADA
    WORLD OFFICE SYSTEMS INC                                                        PO BOX 1316                                                                                                  MATHEWS                 VA            23109
    WORLD PAY                                                                       600 MORGAN FALLS RD                   STE 260                                                                ATLANTA                 GA            30350
    WORLD POND HOCKEY CHAMPIONSHIP                                                  159 MAIN ST                                                                                                  PLASTER ROCK            NB            E7G 2H2      CANADA
    WORLDCOM CANADA LTD                                                             LOCKBOX NO T57443C                    PO BOX 57443 STATION A                                                 TORONTO                 ON            M5W 5M5      CANADA
    WORLDWIDE CAPITAL MANAGEMENT INC                                                6 VENTURE                             STE 305                                                                IRVINE                  CA            92618
    WORLDWIDE FRANCHISING NETWORK                                                   1814 FRANKLIN ST                      STE 800                                                                OAKLAND                 CA            94612


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                       Name                               Attention                          Address 1                                Address 2                           Address 3                      City        State       Zip          Country
    WORLDWIDE IMAGING                                                        16525 SHERMAN WAY                     STE C 11                                                           VAN NUYS                  CA           91406
    WORLDWIDE MEDIA INC                                                      PO BOX 129                                                                                               HIGHLANDS                 NC           28741
    WORTHINGTON FORD                                                         2950 N BELLFLOWER BLVD                                                                                   LONG BEACH                CA           90815
    WORXTIME LLC                                                             4076 PAYSHPERE CIR                                                                                       CHICAGO                   IL           60674
    WOUNDED WEAR INC                                                         1001 LAUREL AVE                                                                                          CHESAPEAKE                VA           23325
    WOW BUSINESS                                                             PO BOX 4350                                                                                              CAROL STREAM              IL           60197-4350
    WOW ENTERTAINMENT INC                                                    1735 EMERALDE SEA DR                                                                                     CHESAPEAKE                VA           23323
    WPL ENTERPRISE LLC                                                       TWO CITY PL STE 200                                                                                      ST LOUIS                  MO           63141
    WPOW POWER 96 FM                                                         20295 NW 2ND AVE 3RD FL                                                                                  MIAMI                     FL           33169
    WPP GROUP USA INC DBA WUNDERMAN DATA
    PRODUCTS KBM GROUP LLC                                                   PO BOX 951067                                                                                            DALLAS                    TX           75395-1067
    WPPL FM                                ATTN VICKY PULLIAM                PO BOX 938                                                                                               BLUE RIDGE                GA           30513
    WPTE RADIO                                                               236 CLEARFIELD AVE                    STE 206                                                            VIRGINIA BEACH            VA           23462
    WQMG FM                                                                  7819 NATIONAL SERVICE RD 401                                                                             GREENSBORO                NC           27409
    WQOK FM                                                                  PO BOX 402618                                                                                            ATLANTA                   GA           30384-2618
    WQXE FM 983                                                              233 W DIXIE AVE                                                                                          ELIZABETHTOWN             KY           42701
    WRAZ TV                                                                  PO BOX 60928                                                                                             CHARLOTTE                 NC           28260
    WRD SHIPPENSBURG LP                                                      123 COULTER AVE STE 200                                                                                  ARDMORE                   PA           19003
    WRIGHT DAVID                                                             ADDRESS ON FILE
    WRIGHTS MEDIA                                                            2407 TIMBERLOCH PL                    B                                                                  THE WOODLANDS             TX           77380
    WROX RADIO                                                               999 WATERSIDE DR STE 500                                                                                 NORFOLK                   VA           23510
    WRS CENTERS I LLC                                                        PO BOX 535659                                                                                            ATLANTA                   GA           30353-5642
    WRSV FM RADIO                                                            PO BOX 2666                                                                                              ROCKY MOUNT               NC           27802
    WRZI FM                                COMMONWEALTH BROADCASTING INC     406 S MULBERRY                                                                                           ELIZABETHTOWN             KY           42701
    WRZK FM                                                                  222 COMMERCE ST                                                                                          KINGSPORT                 TN           37660
    WSKY TV                                                                  PO BOX 269                                                                                               KITTY HAWK                NC           27949
    WSRADIO                                                                  6150 LUSK BLVD STE B102                                                                                  SAN DIEGO                 CA           92121
    WSTO FM SOUTH CENTRAL COMMUNICATIONS                                     PO BOX 3848                                                                                              EVANSVILLE                IN           47736
    WTAII PLLC                                                               PO BOX 609                                                                                               VIENNA                    VA           22183
    WTAR NEWS TALK RADIO 850AM                                               500 DOMINION TOWER                    999 WATERSIDE DR                                                   NORFOLK                   VA           23510
    WTB LANGUAGE GROUP INC                 DBA WINTRANSLATION                2197 RIVERSIDE DR STE 602                                                                                OTTAWA                    ON           K1H 7X3      CANADA
    WTHX FM                                COMMONWEALTH BROADCASTING INC     403 S MULBERRY                                                                                           ELIZABETHTOWN             KY           42701
    WTKR TV                                                                  720 BOUSH ST                                                                                             NORFOLK                   VA           23510-1583
    WTT SE                                                                   PO BOX 4846                                                                                              CAROLINA                  PR           00984-4644
    WTTE TV                                                                  1261 DUBLIN RD                                                                                           COLUMBUS                  OH           43215
    WTVZ TV                                                                  900 GRANBY ST                                                                                            NORFOLK                   VA           23510
    WULF THOMAS W                                                            ADDRESS ON FILE
    WURST ANNE                                                               ADDRESS ON FILE
    WVEA TV                                                                  2610 W HILLSBOROUGH AVE                                                                                  TAMPA                     FL           33614
    WVEC TV                                                                  PO BOX 223021                                                                                            PITTSBURGH                PA           15251-2021
    WVEE FM CBS RADIO                                                        1201 PEACHTREE ST NE 800                                                                                 ATLANTA                   GA           30361
    WVIC FM                                MID MICHIGAN RADIO GROUP          2495 N CEDAR ST                                                                                          HOLT                      MI           48842
    WVT ENTERPRISES INC                    DBA TYSON ENTERPRISES             PO BOX 14299                                                                                             SAVANNAH                  GA           31416
    WWDE RADIO                                                               236 CLEARFIELD AVE                                                                                       VIRGINIA BEACH            VA           23462
    WWOC FM                                                                  LOCKBOX 60222PO BOX 6022                                                                                 CHARLOTTE                 NC           28260-0222
    WWR PROPERTIES                                                           3803 BRIDGEPORT WAY W                                                                                    UNIVERSITY PLACE          WA           98466
    WXGM                                                                     PO BOX 634                                                                                               GLOUCESTER                VA           23061
    WXII                                                                     700 COLISEUM DR                                                                                          WINSTON SALEM             NC           27106
    WXLK FM                                                                  3934 ELECTRIC RD SW                                                                                      ROANOKE                   VA           24018
    WXSS                                                                     11800 W GRANGE AVE                                                                                       HALES CORNERS             WI           53130
    WY HERITAGE GROVE LLC                                                    2115 WINWOOD ST                                                                                          LAS VEGAS                 NV           89108
    WYATT JENNIFER                                                           ADDRESS ON FILE
    WYCHE PROFESSIONAL ASSOCIATES                                            PO BOX 728                                                                                               GREENVILLE                SC           29602
    WYCLIFFE PROPERTY MANAGEMENT LTD                                         2900 STEELES AVE E STE 204                                                                               THORNHILL                 ON           L3T 4X1      CANADA
    WYLWOOD AND ASSOCIATES                                                   6233 WEBSTER RD                                                                                          ORCHARD PARK              NY           14127
    WYOMING CAVALRY                                                          PO BOX                                                                                                   CASPER                    WY           82605
    WYOMING SECRETARY OF STATE                                               2020 CAREY AVE                                                                                           CHEYENNE                  WY           82002-0020
    WYOMING SECRETARY OF STATE             STATE CAPITOL BUILDING ROOM 110   200 W 24TH ST                                                                                            CHEYENNE                  WY           82002-0020
    WYRE ELECTRICAL CONTRACTING INC                                          PO BOX 3393                                                                                              LAWRENCE                  KS           66046-0393
    WZRX RADIO                                                               GOSPEL 1590AM                         PO BOX 9734                                                        JACKSON                   MS           39286
    X POSURE MARKETING                                                       8 DUNLOP VILLAGE CIR                                                                                     COLONIAL HEIGHTS          VA           23834
    X1 TECHNOLOGIES                        ATTN ACCOUNTS RECEIVABLE          130 W UNION ST                                                                                           PASADENA                  CA           91103
    XAD INC                                DBA GROUND TRUTH                  1 WORLD TRADE CTR                                                                                        NEW YORK                  NY           10007
    XBRAND ENTERPRISES LLC                                                   3955 W SUNSET DR                      STE 105                                                            LAS VEGAS                 NV           89118
    XCEL ENERGY                                                              PO BOX 9477                                                                                              MPLS                      MN           55484-9477
    XENTEL DM INC                                                            BAY 24 3710 WESTWINDS DR NE                                                                              CALGARY                   AB           T3J 5H3      CANADA
    XERO SOFTWARE CANADA LTD                                                 1333 8 ST SW                          STE 800                                                            CALGARY                   AB           T2R 1M6      CANADA
    XEROX CANADA LTD                                                         PO BOX 15602 STN A                                                                                       TORONTO                   ON           M5W 1C1      CANADA
    XEROX CORPORATION 7405                                                   PO BOX 7405                                                                                              PASADENA                  CA           91109-7405
    XEROX CORPORATION 827181                                                 PO BOX 827181                                                                                            PHILADELPHIA              PA           19182-7181
    XEROX CORPORATION 827598                                                 PO BOX 827598                                                                                            PHILADELPHIA              PA           19182-7598
    XL SPECIALTY INSURANCE COMPANY                                           SEAVIEW HOUSE 70 SEAVIEW AVE                                                                             STAMFORD                  CT           06902
    XOSOFT                                                                   1601 TRAPELO RD                       STE 383                                                            WALTHAM                   MA           02451
    XPENSETRAX                                                               8210 CAHILL DR                                                                                           AUSTIN                    TX           78729
    XPRESS NSTALLS                                                           1370 KIRKGATE CT                                                                                         CARMEL                    IN           46033
    XPRESSDOCSCOM                                                            PO BOX 471099                                                                                            FORT WORTH                TX           76147
    XRUN INC                                                                 PO BOX 1774                                                                                              RICHMOND                  VA           23116
    XTENSION TECHNOLOGIES                                                    23151 ALCALDE DR                      STE C 9                                                            LAGUNA HILLS              CA           92653-1419
    YA SOLUTIONS INC                                                         138 CAVENDIS CT                                                                                          OAKVILLE                  ONTARIO      L6J 5S2      CANADA
    YAHOO HOLDINGS INC                                                       PO BOX 89 4147                                                                                           LOS ANGELES               CA           90189-4147
    YAHOO INC                                                                PO BOX 89 4147                                                                                           LOS ANGELES               CA           90189-4147
    YAHOO USA                                                                721 FIRST AVE                                                                                            SUNNYVALE                 CA           94089
    YAKES JEFF                                                               ADDRESS ON FILE
    YALE NEWBERRY LLC                      C O LINCOLN HARRIS CSG            1004 GERVAIS ST ST 217                                                                                   COLUMBIA                  SC           29201
    YALE NEWBERRY LLC                      C O YALE REALTY SERVICES CORP     10 NEWKING ST 102                                                                                        WHITE PLAINS              NY           10604
    YARIVETTE ROSADO                                                         ADDRESS ON FILE
    YARMOUTH JR A HOCKEY                                                     PO BOX 188                                                                                               YARMOUTH                  NS           B5A 4B2      CANADA
    YARNELL JASON AND LISA                                                   ADDRESS ON FILE



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    YATES PROPERTIES                                                       PO BOX 757                                                                                              CULPEPER                VA           22701
    YBM INC                                                                1090 W 35TH ST                                                                                          NORFOLK                 VA           23508
    YEAGER AMY                                                             ADDRESS ON FILE
    YEIMAR SERVICES                                                        905 BECONTREE CT                                                                                        VIRGINIA BEACH          VA           23462
    YELLOW BOOK USA                                                        44 900 SAN PABLO                                                                                        PALM DESERT             CA           92260
    YELLOW FREIGHT SYSTEM INC                                              10990 ROE AVE                                                                                           OVERLAND PARK           KS           66211-1213
    YELLOW PAGES GROUP                                                     2891 SUNRIDGE WAY                                                                                       CALGARY                 AB           T1Y 7H9      CANADA
    YELLOW TRANSPORTATION                                                  PO BOX 905175                                                                                           CHARLOTTE               NC           28290-5175
    YELP INC                                                               140 NEW MONTGOMERY ST 9TH FL                                                                            SAN FRANCISCO           CA           94105
    YEON J KIM                                                             ADDRESS ON FILE
    YESCO ONTARIO EAST                                                     495 OCONNOR DR                                                                                          KINGSTON                ON           K7P 1J9      CANADA
    YESENIA MELENDEZ GONZALEZ                                              ADDRESS ON FILE
    YESHIVA OF GREATER WASHINGTON                                          2010 LINDEN LN                                                                                          SILVER SPRING           MD           20910
    YEXT INC                                                               1 MADISON AVE 5TH FL                                                                                    NEW YORK                NY           10010
    YFC ENTERPRISES LLC                                                    640 S GARFIELD ST                                                                                       DENVER                  CO           80209-3509
    YIFEI WANG                                                             ADDRESS ON FILE
    YIRA GRIEGO                                                            ADDRESS ON FILE
    YMCA MT TRASHMORE                                                      4441 S BLVD                                                                                             VIRGINIA BEACH          VA           23452
    YMCA YOUTH SPORTS                                                      1426E LINCOLN WAY                                                                                       CHEYENNE                WY           82001
    YOGESWAR INC                                                           8021 LIBERTY RD                                                                                         BALTIMORE               MD           21244
    YOLANDA BUSSEY                                                         ADDRESS ON FILE
    YOMO MANAGEMENT                                                        PO BOX 850                                                                                              SMITHERS                BC           V0J 2N0      CANADA
    YONATHAN LALLOUZ DBA HANOVER CAPITAL
    GROUP LLC                                                              160 PEARL ST                                                                                            NEW YORK                NY           10005
    YONGE KINGSTON CENTRE INC                                              2851 JOHN ST STE 1                                                                                      MARKHAM                 ON           L3R 5R7      CANADA
    YORK ADAMS TAX BUREAU                                                  1405 N DUKE ST                                                                                          YORK                    PA           17404
    YORK ADAMS TAX BUREAU                                                  PO BOX 12009                                                                                            YORK                    PA           17402
    YORK EGLINTON BIA                                                      605 OAKWOOD AVE                                                                                         TORONTO                 ON           M6E 2X9      CANADA
    YORK ELECTRIC COOPERATIVE INC                                          PO BOX 150                                                                                              YORK                    SC           29745-0150
    YORK NEWSPAPER                            ATTN LISA LEHR               1891 LOUCKS RD                                                                                          YORK                    PA           17404
    YORK REGION PROFESSIONAL FIRE                                          FIGHTERS BENEVOLENT FUND             PO BOX 95                                                          NEWMARKET               ON           L3Y 4W3      CANADA
                                                                                                                DBA YORK RIVER CROSSING SHOPPING
    YORK RIVER CROSSING ASSOCIATES                                         735 THIMBLE SHOALS BLVD STE 100      CTR LLC                                                            NEWPORT NEWS            VA           23606
    YORK SHAUN                                                             ADDRESS ON FILE
    YOSHARA MONCADA                                                        ADDRESS ON FILE
    YOUNG AUDIENCES VIRGINIA                                               420 N CTR DR 239                                                                                        NORFOLK                 VA           23502
    YOUNG BOLD AND BEAUTIFUL                  C O FLOYD GREEN JR           3114 MERCER UNIVERSITY DR STE 200                                                                       ATLANTA                 GA           30341
    YOUNG DON NAM                                                          ADDRESS ON FILE
    YOUNG FITNESS INC                                                      STE 840                              10310 JASPER AVE                                                   EDMONTON                AB           T5J 1Y8      CANADA
    YOUR FRANCHISES LLC                                                    2870 PEACHTREE RD 915 3661                                                                              ATLANTA                 GA           30305
    YOUR OWN FRANCHISE INC                                                 3 JAMISON CT                                                                                            EAST BRUNSWICK          NJ           08816
    YP HOLDINGS LLC                           DBA YP LLC                   PO BOX 5010                                                                                             CAROL STREAM            IL           60197-5010
    YP LLC DBA YELLOWPAGESCOM LLC                                          PO BOX 500452                                                                                           ST LOUIS                MO           63150
    YPPA                                                                   820 KIRTS BLVD                       STE 100                                                            TROY                    MI           48084
    YRC REIMER                                                             PO BOX 3531 STATION A                                                                                   TORONTO                 ON           M5W 3G4      CANADA
    YUEN LUI SQUARE LLC                                                    2015 TERRY AVE 309                                                                                      SEATTLE                 WA           98121
    YUK YUKS ON TOUR                                                       920 YONGE ST                         STE 806                                                            TORONTO                 ON           M4W 3C7      CANADA
    YUKON QUEST INTERNATIONAL CANADA                                       2 1109 FIRST AVE                                                                                        WHITEHORSE              YT           Y1A 5G4      CANADA
    YULEE STATE LLC                           C O RMW PROPERTIES           PO BOX 128                                                                                              ST AUGUSTINE            FL           32085-0128
    YUN AND SIMONIAN PC                                                    355 S GRAND AVE STE 2450                                                                                LOS ANGELES             CA           90071
    YUSEF HAMIDEH                                                          ADDRESS ON FILE
    YUYU BARBEN                                                            ADDRESS ON FILE
    YVONNE NAVARRO                                                         ADDRESS ON FILE
    YWCA                                                                   314 N HACKBERRY 101                                                                                     SAN ANTONIO             TX           78202
    YWCA OF S HAMPTON ROADS                                                5215 COLLEY AVE                                                                                         NORFOLK                 VA           23508
    Z COMPANY STORES                                                       753 VOYAGER CT                                                                                          VIRGINIA BEACH          VA           23454
    Z1035                                                                  5302 DUNDAS ST W                                                                                        TORONTO                 ONTARIO      M9B 1B2      CANADA
    ZACHARY FIDDLE                                                         ADDRESS ON FILE
    ZADA LLC DABA METRO INVESTIGATIONS LLC                                 8401 SHELBYVILLE RD STE 103                                                                             LOUISVILLE              KY           40222
    ZAHER MAHMOUD A                                                        ADDRESS ON FILE
    ZAHN COURT REPORTING LTD                                               208 E PLUME ST STE 214                                                                                  NORFOLK                 VA           23510
    ZAHN HALL AND ZAHN LTD                                                 MONTICELLO ARCADE STE 306            208 E PLUME ST                                                     NORFOLK                 VA           23510-1757
    ZAIR MANAGEMENT COMPANY                                                45619 VAN DYKE AVE                                                                                      UTICA                   MI           48317
    ZARES LLC                                                              803 SUNCHASE ST                                                                                         SAN JUAN                TX           78589
    ZAW NAING                                                              4263 BAY ST                          APT 213                                                            FREMONT                 CA           94538
    ZAYMA REALTY HOLDINGS INC                                              55 KING ST W STE 801                                                                                    KITCHENER               ON           N2G 4W1      CANADA
    ZBL CAPITAL GROUP INC                                                  71 GROVE AVE                                                                                            CEDARHURST              NY           11516
    ZEAL CAPITAL MANAGEMENT LLC                                            2001 ROSS AVE STE 700 119            DBA ZEAL IT CONSULTANTS                                            DALLAS                  TX           75201
    ZEE CALLS LLC                                                          525 ENGLISH PL                                                                                          MAMARONECK              NY           10543
    ZEIGLER FLORISTS INC                                                   31 OLD ITHACA RD                                                                                        HORSEHEADS              NY           14845
    ZELDES NEEDLE AND COOPER                                               ADDRESS ON FILE
    ZEMANIAN LAW GROUP                                                     223 E CITY HALL AVE                  STE 201                                                            NORFOLK                 VA           23510
    ZEMOG INVESTMENTS INC DBA GREEN EXPRESS
    CAPITAL                                                                4410 SW 133RD AVE                                                                                       MIAMI                   FL           33175
    ZENCAP LLC                                                             1810 E SAHARA AVE                    STE 212                                                            LAS VEGAS               NV           89104
    ZENCZAK LIVING TRUST                      C O GRAHAM TOWN CENTER       PO BOX 1135                                                                                             TACOMA                  WA           98401
    ZENDESK INC                                                            1019 MARKET ST                                                                                          SAN FRANCISCO           CA           94103
    ZENITH INSURANCE COMPANY                                               4415 COLLECTIONS CTR DR                                                                                 CHICAGO                 IL           60693
    ZEPHYR CONSTRUCTION                                                    1012 QUEEN ANNE AVE                                                                                     SEATTLE                 WA           98109
    ZERO IN MEDIA LLC                                                      PO BOX 9019                                                                                             HICKSVILLE              NY           11802
    ZERO PARALLEL LLC                                                      505 N BRAND BLVD                     STE 1450                                                           GLENDALE                CA           91203
    ZFERRAL INC DBA AMBASSADOR SOFTWARE                                    301 W FOURTH ST                      STE 301                                                            ROYAL OAK               MI           48067
    ZHI YING ZHU DBA WFF CAPITAL LLC                                       154 GRAND ST                                                                                            NEW YORK                NY           10013
    ZHONG XI YUAN                                                          ADDRESS ON FILE
    ZIAD NAIME                                                             ADDRESS ON FILE
    ZIMMERMAN FRED J                                                       ADDRESS ON FILE
    ZIP CAPITAL GROUP LLC                                                  26 EXECUTIVE PARK                    STE 100                                                            IRVINE                  CA           92614
    ZIRIMWABADABO HUBARUGIRA                                               312 301 TRAYNOR AVE                                                                                     KITCHENER               ON           N26 2H3      CANADA
    ZOHO CORPORATION                                                       PO BOX 894926                                                                                           LOS ANGELES             CA           90074-2760


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                                                                                                                      Exhibit D
                                                                                                                Served via First-Class Mail




                        Name                             Attention                   Address 1                               Address 2                           Address 3                  City        State       Zip          Country
    ZONC ENTERPRISES INC                  C O ZANE WEBBER            707 GREEN COVE DR                                                                                       BRANDON               FL           33510
    ZONES                                                            10 FOUR SEASONS PL                   STE 803                                                            TORONTO               ON           M9B 6H7      CANADA
    ZONES                                                            PO BOX 34740                                                                                            SEATTLE               WA           98124-1740
    ZONES IT SOLUTIONS INC                                           1102 15TH ST SW STE 102              DBA ZONES LLC                                                      AUBURN                WA           98001
    ZONES LLC                                                        PO BOX 34740                                                                                            SEATTLE               WA           98124
    ZOOM ANALYTICS LTD                                               PO BOX 6728                                                                                             PETAH TIKVA                        4934829      ISRAEL
    ZR CONSULTING LLC                                                15340 GOODHUE ST                                                                                        WHITTIER              CA           90604
    ZUBI ADVERTISING SERVICES INC                                    2990 PONCE DE LEON BLVD STE 600                                                                         CORAL GABELS          FL           33134
    ZULIANI GLASS CENTRE                                             1800 WALKER RD                                                                                          WINDSOR               ON           N8W 3P4      CANADA
    ZURICH KEMPER                                                    ADDRESS ON FILE
    ZXUH ANGIE                                                       ADDRESS ON FILE




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